          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 1 of 801




                                                                                                FILED
 1
     ELIZABETH TIGANO                                                       tSS                 OCT 07 2024
     MARY BERNSTEIN
 2   3416 Deerwood Terrace, #113                                                       CLERK, U.S. DISTRICT COURT
     Fremont, CA 94536                                                                NORTH DISTRICT OF CALIFORNIA
                                                                                            SAN JOSE OFFICE
 3   Email: mbernsteinpurple@hotmail.com
     (510) 938-6280
 4
     Plaintiffs Pro Se
 5

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 7
                                    IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10
                                                      SAN JOSE DIVISION
                                                                t'-
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12
     ELIZABETH TIGANO, MARY
     BERNSTEIN
                                                                       QaseNo.
                                                                                          24 0700
                                                                         VERIFIED COMPLAINT
                                                                                                                                       VKD
13             Plaintiffs,                                               JURY TRIAL DEMANDED 1
                                                                         Pursuant to Fed. R. Civ. P. 38 (a), (b) & (c)
14             vs.                                                       Plaintiff hereby demand a trial by jury on all
                                                                         issues. RULE 38. RIGHT TO A JURY
15
     ALAMEDA COUNTY SUPERIOR COURT,                                      TRIAL; DEMAND
16   a California Court with Jurisdiction over
     Alameda County, KEITH KERN FONG
17   EUMI K. LEE, JENNA M. WHITMAN;
     ELIZABETH RILES; SUSAN LEW; MARK
18
     P. FICKES, BENTRISH SATARZADEH,
19   JOHN DOE 1-50; MARY ROE 1-50; XYZ
     CORP 1-50; ABC LLC 1-50; The names of
20   the "John Doe 1-50" "Mary Roe 1-50", "XYZ
     Corp, 1-50", and "ABC LLC, 1-50",
21
     defendants being fictitious, and unknown to
22   the Plaintiff,

23             Defendants.
24

25

26
     1 Senate judiciary act of 1789 specifically gave people to right represent in court perhaps you are not familiar
27
     Two cases haines v kerner 404 US 519 (1972) Erickson v Pardus 551 US 89 (2007)
     This is a prose complaint entitled to a liberal reading and Jess stringent standards as this complaint was prepared without the
28       assistance of legal counsel.

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                                                        I. THE PARTIES
16           I. Plaintiff Elizabeth Tigano is a citizen of the United States and resides in and resides in
                Alameda County, California. She is a qualified individual with cognitive disabilities
17
                as is defined by 42 U.S.C. 12101 et. seq., and has need of reasonable accommodations
18              of the judicial division of the State of California in Alameda County for the purpose of
                testifying a civil litigation, in which PlaintiffTigano's fundamental right to basic
19              human need such as shelter, and/or housing was at issue. 2 Plaintiff was diagnosed
                with the following mental and neurological disorders and related cognitive disabilities:
20

21   2 Psalm 37 1 Fret not yourself because of evildoers;
        be not envious of wrongdoers!
22   2 For they will soon fade like the grass
        and wither like the green herb
     10 In just a little while, the wicked will be no more;
23      though you look carefully at his place, he will not be there.
     11 But the meek shall inherit the land
24      and delight themselves in abundant peace.
     12 The wicked plots against the righteous
25      and gnashes his teeth at him,
     13 but the Lord laughs at the wicked,
26      for he sees that his day is coming.
     14 The wicked draw the sword and bend their bows
        to bring down the poor and needy,
27
        to slay those whose way is upright;
     15 their sword shall enter their own heart,
28      and their bows shall be broken.

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                  Schizophrenia, PTSD Post traumatic Stress Disorder, Disassociative Identity Disorder,
1
                  Bipolar l & 2. Plaintiff Tigano medicated disabled entire childhood has never
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                  obtained employment as was determined severely disabled social security benefits
                  since age 18. Plaintiff Tigano has been hospitalized in psychiatric hospital multiple
3                 times throughout life. 3 Plaintiff is a Mother.


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13   Woe to Those Who Rely on Egypt
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       • Isaiah 31 Woe to Those Who Rely on Egypt 1 Woe to those who go down to Egypt for
           help, who rely on horses, who trust in the multitude of their chariots and in the great
15         strength of their horsemen, but do not look to the Holy One of Israel, or seek help
           from the Lord.
16
     Matthew 6:5~15
17
     The Lord's Prayer
     5 "And when you pray, you must not be like the hypocrites. For they love to stand and pray in the synagogues and at the street
18       corners, that they may be seen by others. Truly, I say to you, they have received their reward. 6 But when you pray, go into
         your room and shut the door and pray to your Father who is in secret. And your Father who sees in secret will reward you.
19   7 "And when you pray, do not heap up empty phrases as the Gentiles do, for they think that they will be heard for their many
         words. 8 Do not be like them, for your Father knows what you need before you ask him. 9 Pray then like this:
20   "Our Father in heaven,
     hallowed be your name.[a]
21   IO Your kingdom come,
     your will be done,[b]
        on earth as it is in heaven.
22
     11 Give us this day our daily bread,[c}
     12 and forgive us our debts,
23      as we also have forgiven our debtors.
     13 And lead us not into temptation,
24      but deliver us from evil.{d]
     14 For if you forgive others their trespasses, your heavenly Father will also forgive you, 15 but if you do not forgive others their
25        trespasses, neither will your Father forgive your trespasses.
     Matthew 6:9 Or Let your name be kept holy, or Let your name be treated with reverence
26   Matthew 6: IO Or Let your kingdom come, let your will be done
     Matthew 6: 11 Or our bread for tomorrow
     Matthew 6: 13 Or the evil one; some manuscripts add For yours is the kingdom and the power and the glory, forever. Amen
27
     Matthew 6:5~15
     Matthew 6: 13 The Greek for temptation can also mean testing.
28   Matthew 6: 13 Or from evil; some late manuscripts one,/ for yours is the kingdom and the power and the glory forever. Amen.

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          2. Plaintiff Mary Bernstein is a citizen of the United States and resides in Alameda
1
             County, California. She is a qualified individual with cognitive disabilities as is
2            defined by 42 U.S.C, 12101 et. seq., and has needed the services/reasonable
             accommodations of the judicial division of the State of California in Alameda County
3            for the purpose of a civil litigation, in which Plaintiff's fundamental right to basic
             human need such as shelter, and/or housing was at issue. Plaintiff was diagnosed with
 4
             the following mental and neurological disorders and related cognitive disabilities:
 5           Post-Traumatic Stress Disorder, Anxiety Disorder, Major Depressive Disorder,
             Bipolar 1, Personality Disorder, Attention Deficit Hyperactive Disorder. Plaintiff
 6           Maiy Bernstein was diagnosed age 5 as suffering ADHD hyperactivity and prescribed
             Ritalin for years which was administered by her mother as well as the school nurse at
 7
             Blenman Elementary School. Plaintiff worked for many years in legal field;
 8           permanently disabled 2012. Plaintiff is a GrandMother. Plaintiff Mother was disabled
             and Plaintiff a member of family with disabled younger ones children. Plaintiff does
 9           not want such horrific behavior to be experienced by future generations by Comis
             towards disabled persons. Plaintiff hopes that this experience does not happen to other
10
             disabled persons in Court.
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18                     '       '.,,_              ·.-,             ,--~
          4. Defendant Alameda County Superior Court is the trial couit in Alameda County. State
19           of California ("California") is the governmental entity responsible for the operation of
             the Alameda County Superior Court. Defendant State of California is a political
20           subdivision of the United States of America and as such it and its political
             subdivisions are subject to the laws of the United States of America. They are
21
             specifically charged under the terms of the United States Constitution and the
22           California Constitution with providing the service of courts and judicial proceedings.
             All counties of the State of California are political subdivisions of the State of
23           California and are required under the Constitution of the State of California to provide
             courthouses that provide services to all persons including residents of this State and
24
             indigent qualified individuals with cognitive disabilities as defined by 42 U.S.C.
25            12131. Judicial Council of California is a political subdivision of the State of
             California charged with establishing The Rules of Court for all courts in this State.
26           Plaintiff is challenging the alleged policy against appointment of counsel. It is a well-
27
             established principle of law that a party seeking to demonstrate standing must assert an
             injury that is "actual or imminent, not conjectural or hypothetical." Plaintiff Mary
28           Bernstein has current case Mary Bernstein v. Associa, et al. Alameda County Superior
                                                  - 22-

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             Court Case No. HG 18897381 personal injury matter scheduled for trial January 6
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3                             SUPERIOR COURT OF CALIFORNIA
                                   COUNTY OF ALAMEDA                                                                   FILED
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                  COUR1HOUSEACORESS:                                                                             CoJntr l1 M11nlda
                  Haym,m Hall of J11stfo"                                                                          1C/J3/2024
                  24405 Amador St«!et. Hayward, CA 114544                                               ClU lhK! ,Emituom:urcu Cf1l 0::11
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 6                PLAINTIFF:
                  Mary Bernstein
                  D!:fENDANT:
7                 As~ocia NDJ!h~ California etaf
                                                                                                        CMEN\l!l.!lER:
 8                           NOTICE Of CASE RESCHEDULING OR RELOCATION                                  H0188Q7381


                  TO TI-IE PARTIES:
 9
                  You are hereby notified lhBI the above-entitled matter, previously set for

10                _M_~_.,_~...c,yc...s_,e_,_m_"_"""-""'-'-'"-~-'('-M_scc.J_ _ _ _ _ _ _ as follows:
                  :::°"'="'cc'.::.E·c:""°=oo=•:::":.:":::•l:.:1•:c•J=""=~----on 11/0612024     at IUlOAM in Deparlment301
11                hns been rescheduled, or relocated, as follows:

                  ~"°'""""'"-=EC:C.Mc,-=,cal<lc,H,:•,cl•c.lJe,~e,'""""----on 12110/202.4
12
                  On Court's own mollrm, Per Judge Reilly MSC rescheduled t,, Turu;day, Dec<!mber 10,202.4 M 9:30AM.
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17                                                                         Chad Fmke, Exl!Wlive Officerf ctert oflhe Court


18

                  Dated: 10/0312024                                           By J. Moore
19
                                                                                       DeptJly Clerk
20
                                             NOTICE OF CASE RESCHEDULING OR Rl;LOCATION

21                 llll/17
                                                                                              2024
22           which is not concluded. Plaintiff Mary Bernstein has Alameda County Superior Court
23
             case no. 24CV0638 IO petition for writ. John Bernstein has Alameda County Superior
             Court case no. 24CV07447 l petition for writ his own matter not affiliated with
24           Plaintiffs Mary Bernstein and Elizabeth Tigano have Alameda County Superior Court
             case no. 24CV063817 unruh act. McCormack v. Herzog, 788 F.3d 1017, 1026 (9th
25
             Cir. 2015) (citation omitted). Because Plaintiff Mary Bernstein is challenging a court
26
             rule and its accompanying policies, she "mnst demonstrate a realistic danger of
             sustaining a direct injury as a result of the [rule's] operation or enforcement." Id.
27           (citations omitted).
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              5. Defendant EUMI K. LEE is a Judge Dept. 512 in Alameda County Superior Court.
1
                 EUMI K. LEE was an employee of the Alameda County Superior Comt and as an
2
                 employee of the State of California, were acting under the color of state law. In Senate
                 hearing nomination for U.S. District Court, Eumi Lee stated all women had a right to
3                safety. Eumi Lee admonished Plaintiff for biblical citations when Plaintiff exercising
                 free s eech in com laints, le al a ers. 4
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              6. Defendant JENNA M. WHITMAN is a Judge Dept. 25 in Alameda County Superior
12
                 Cou1t. JENNA M. WHITMAN was an employee of the Alameda County Superior
13               Court and as an employee of the State of California, were acting under the color of
                 state law. Jenna Whitman, an unassigned judge in response to reasonable
14               accommodation request MC 41 Odirected Plaintiff in Order not to attach exhibits,
                 biblical references, how long complaint and other unsolicited advice regarding
15
                 pleading filings. Jenna Whitman also wrote discouraging remarks about filing motion
16               for change of venue. Jenna Whitman denied extensions of time for disabled Plaintiff.'
              7. Defendant ELIZABETH RILES is a Judge Dept. 512/Commissioner Dept. 519 in
17               Alameda County Superior Court. ELIZABETH RILES was an employee of the
                 Alameda County Superior Court and as an employee of the State of California, were
18
                 acting under the color of state law.
19            8. Defendant SUSAN LEW is a Judge Pro Tempore Dept. 519 Judge in Alameda County
                 Superior Court. SUSAN LEW was an employee of the Alameda County Superior
20               Comt and as an employee of the State of California, were acting under the color of
21               state law.

22

                    4 And yet this judge has allowed Defendants in the GI2889738 lmattcr to harass, target, torment Plaintiff, her
23
                    guests and her family And yet this judge has allowed Defendants in this matter to harass, target, tonnent Plaintiff,
24                  her guests and her family. Unless you are disabled, white, christian and older then you do not deserve to be safe
                    according to Eumi Lee.
25
     5   Free speech violation Biblical verses, freedom of expression denial photos in First Amended Complaint, prohibition of verses,
26
          exhibits per deptjenna Whitman Baphomet allowed at Iowa State Capital yet Plaintiff not allowed faith
          https ://www.aoI.com/news/fo rmer-mississ ippi-congressional-candidate-charged-15 3641144 ,htm I JANI NE CHANDLER, ct
27
          al., v. CALIFORNIA DEP'T OF CORRECTIONS
     AND REHABILITATION, ct al. Case No. I:21-cv-0 1657-JLT-HBK USDC Eastern District California. Disability Rights
28     California v. County of Alameda 5:20-cv-05256 (N.D. Cal.).
                                                                    - 24 -

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             9. Defendant BENTRISH SA TARZADEH is a Judge Dept. 507 in Alameda County
1
                  Superior Court. BENTRISH SATARZADEH was an employee of the Alameda
2                 County Superior Court and as an employee of the State of California, were acting
                  under the color of state law.
3            I 0. Defendant KEITH FONG is a Judge Dept. 517 in Alameda County Superior Court.
                  KEITH FONG was an employee of the Alameda County Superior Court and as an
4
                  employee of the State of California, were acting under the color of state law.
5            I I. Defendant MARK FICKES is a Commissioner Dept. 519 in Alameda County Superior
                  Court. MARK FICKES was an employee of the Alameda County Superior Court and
 6                as an employee of the State of California, were acting under the color of state law.
             12. Defendant Alameda County Superior Court is the trial court in Alameda County. State
 7
                  of California ("California") is the governmental entity responsible for the operation of
 8                the Alameda County Superior Court. Defendant State of California is a political
                  subdivision of the United States of America and as such it and its political
 9                subdivisions are subject to the laws of the United States of America. They are
                  specifically charged under the terms of the United States Constitution and the
10
                  California Constitution with providing the service of courts and judicial proceedings.
11                All counties of the State of California are political subdivisions of the State of
                  California and are required under the Constitution of the State of California to provide
12                courthouses that provide services to all persons including residents of this State and
13
                  indigent qualified individuals with cognitive disabilities as defined by 42 U.S.C.
                  12131. Judicial Council of California is a political subdivision of the State of
14                California charged with establishing The Rules of Court for all courts in this State.
                  Plaintiff is challenging the alleged policy against appointment of counsel. It is a well-
15                established principle of law that a party seeking to demonstrate standing must assert an
16
                  injury that is "actual or imminent, not conjectural or hypothetical." Plaintiff has
                  current case Mary Bernstein v. Associa, et al. Alameda County Superior Court Case
17                No. HG 18897381 which is not concluded. McCormack v. Herzog, 788 F.3d 1017,
                   1026 (9th Cir. 2015) (citation omitted). Because Plaintiff Mary Bernstein is
18                challenging a court rule and its accompanying policies, she "must demonstrate a
19
                  realistic danger of sustaining a direct injury as a result of the [rule's] operation or
                  enforcement." Id. (citations omitted).
20
               PROCEDURAL HISTORY LATE MOTHER ANNA SMITH-FOGLTANCE
21
                                    PANDEMIC
22
              13.         While Plaintiffs' late Mother Anna L. Smith-Fogltance is not a party to this
23                  action; reasonable accommodations were denied to her equal access to the court as a
                    witness testifying on oxygen by Judge Paul Herbert July 2021. Exhibit I.
24
                    Declarations Anna Smith Fogltance and Jacqueline Illera. COVID unprecedented time
25                  was still occurring pandemic see article6 however people were allowed to travel during
                    this time July 2021 which previously not able. Never getting to see my mother again
26                  has impacted me severely my only parent. My disabled mother was the only parent I
27

28   6   July 10 2021 Article How We Will Know When Covid is Over Exhibit I

                                                              - 25-


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              ever knew. My mother and sister hospitalized during this time had been enduring
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              harassment in their area wherein neighborhood depreciated. Likewise, my sister and
2             my Mother were terrified of John Gibson as they were witnesses and afraid that he
              would travel and injure them in Arizona. EXHIB!Ts L, M. Plaintiff needed to go to
3             mother and either stay caring for her or attempt to have them brought to Fremont
              California for care. Both Mother and Elizabeth were terrified of Meadow Brook John
4
              Gibson and others. My sister was unable to testify because she was hospitalized. My
5             mother who would only live a few months was denied critical request to testify.
              Plaintiff was exhausted working on matter since November 2020. Motion for leave to
 6            file amended complaint was denied in February 24 2021 but judge directed to file
              serve complaint. Doe amendments filed to begin service of process April 2021 basing
7
              off of preliminary complaint. Judge Herbert admonishing her Anna Smith Fogltance
 8            for coughing on remote call making us go last; Judge Herbert making us be heard dead
              last and refusal to allow terminally ill Mother to request stay for Plaintiff Bernstein
 9            and testify what Plaintiff Bernstein was enduring in Meadow Brook Village
              Condominiums. Anna Smith-Fogltance would also be testifying what she and Plaintif
10
              Elizabeth Tigano were enduring by John Gibson Joaquin Rivera Michael Durbin
11            during pandemic defendants in the HG 18897381 Bernstein v. Associa matter.
              EXHIBIT L. Our precious Mother that insured although she was disabled family
12            members internment; this Comt retaliation for Plaintiff Bernstein traveling for
              Mother's intennent. This was done to our Beloved Mother. The Court have this on
13
              their conscience death denial medical reasonable accommodations last rites and wish
14            of terminally ill disabled woman out of state. And if that was not enough retaliation
              by Judges for eldest daughter Plaintiff Bernstein travel post death by Judge Eumi Lee
15            December 2021 for leave to travel to handle internment and relocate assume care for
16
              disabled younger sister Plaintiff Elizabeth Bernstein. This is our story of interaction
              with Alameda County Superior Court.
17   April 2019- November 4 2020 stay medical.
              November 2020 - July 2021 nonstop
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              March 2021 Elizabeth hospital
19            May 2021 restraining orders
              July 2021
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25               ALAMEDA COURT CONTROVERSIES AND ABUSES COURT OF PUBLIC
                                                       OPINION
26         14, Senate judiciary act of 1789 specifically gave people to right represent in court. Two
               cases haines v kerner 404 US 519 ( 1972) Erickson v Pardus 551 US 89 (2007). This
27
               is a prose complaint entitled to a liberal reading and less stringent standards as this
28             complaint was prepared without the assistance of legal counsel. Courts mistreatment



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                   of prose litigants is a known fact by the public and discrimination when attempting to
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                   adjudicate matters. Alameda County Superior Court abuses are well documented.
 2                 Unfortunately if litigants live in the area, the action occurring in Alameda County, the
                   unfortunate litigant has no other option but to file litigation in Alameda County
 3                 Superior Court. This is evident out of all of the prose actions filed that Brian
                   Vukadinovich 7 is one of the only individuals in the whole nation that successfully
 4
                   brought federal action to trial and won. Posner added the legal system has made
 5                 representation less affordable while at the same time created a maze of rules
                   governing court proceedings, making it nearly impossible for prose litigants to
 6                 navigate. 8 Brian Vukadinovich is now involved with a trial with a jurist Richard
 7
                   Posner. 9 No good deed goes unpunished. A judge Richard Posner conscripted Brian

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         Fonner judge Richard Posner loses latest bid to dismiss wage lawsuit
          https ://www. reu ters. com/legal/liti gation/former-judge-richard-ppsner-loses-\atest-bid-dismiss-wage-lawsuit-
 9        202 3-09-26/ ht tps://www. reu ters. com/I egal/1 iti gati on/after-posner-retired-7th-circuit -grim -di agnos is-brewing-
        battle-2 022-0 3 -2 9/ https:!/www .aha journal .com/news/article/co-leader-of-posners-former-pro-se-cen ter-can-contin ue-his-
10      wage-su it-court-says Vukadinovich filed his pro se suit against Posner in May 2022.
     Posner, a former judge on the 7th U.S. Circuit Court of Appeals at Chicago, must face claims for breach of contract and unjust
11      enrichment, Springmann said. Springmann dismissed Vukadinovich 's fraud claim. But she said Vukadinovich could file nu
        amended complaint with new allegations about experiencing emotional distress because of the barrage of questions that he
12      received when the center closed. https://justice-for-pro-ses.org/
                https://www.abajoumal.com/news/article/posner says he is organizing a national pro bono group that includes e
        x pri/#google vignette https://www.prisonlegalnews.org/news/2020/jan/9/former-seventh-circuit-judge-posner-founds-
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        short-lived-project-help-pro-se-litigants/
     8 https:/Avww.prisonlegalnews.org/news/2020/jan/9/former-seventh-circuit-judge-posner-founds-short-livcd-project-help-pro-
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        se-litigants/ He said he decided to help those mistreated by the legal system simply because they could not afford an attorney.
15      So in March 2018 he launched the Posner Center for Justice for Pro Se's, a nonprofit organization offering legal advice to pro
        se litigants at no cost. He believed there were at least a million prose plaintiffs in the United States, many of them
16      incarcerated; he wanted to let them know his organization was there "and then try to assist as many deserving prose's as
        possible." In June 2019, Posner became an adviser to Legalist, a litigation financing company, helping clients obtain legal
17      assistance in ''David versus Goliath"-type cases. "The principal motive for my retirement was the failure of the court to treat
        litigants without financial resources fairly. Litigation finance patches an important hole for businesses with valid claims who
18      lack the funds to hire an attorney," he stated. Unforhmately, that still leaves the needs of the vast majority of prose litigants
        - mostly prisoners- unmet. About 16 months later, however, the Posner Center was forced to close its doors. The need for
19      assistance was just too great. A notice of dissolution, posted on the organization's website on July 23, 2019, slated: "111e
        mismatch was something on the order of 100 requests for assistance for every staff member. Since the lawyers and non-
20      lawyers of the Posner Center were assisting the prose litigants free of charge, perhaps it was inevitable that the demand
        would greatly exceed the supply. Thus, this experiment in assisting prose litigants with their ongoing court cases has sadly
21      come to an end." Abovethelaw.com

22
     The sheer volume of requests received by the organization is a clear indication that access to justice in America is in crisis.
     9 Posner, 78, told the Chicago Daily Law Bulletin last week that he decided to retire because of conflicts with his colleagues
23      over the treatment of prose litigants, who represent themselves. In a new interview with the New York Times, Posner
        elaborated on his concerns about the treatment of such litigants.
24
     "The basic thing is that most judges regard these people as kind of trash not worth the time of a federal judge," Posner said.
25
     In the 7th Circuit, staff lawyers review appeals from prose litigants, and their recommendations are generally rubber-stamped by
26       judges, he noted.

     Posner wanted to give the prose litigants a better shake by reviewing all of the staff attorney memos before they went to the
27
        panel of judges. Posner had approval from the director of the staff attomey program. "But the judges, my colleagues, all l 1 ol
        them, turned it down and refused to give me any significant role. 1 was very frustrated by that," Posner said.
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                   Vukadinovich to assist prose litigants offering position as Executive Director with pay
 1
                   but then refused to pay after service for over a year by Brian Vukadinovich. The case
 2                 is allowed to go forward. Brian Vukadinovich
                    https://www.brianvukadinovich.com/ documents his suffering and triumph in books
 3                 and teachings. Disabled persons that are prose litigants adds a new level of
                   discrimination to prose litigants such as what Plaintiffs and witnesses have endured in
 4
                   this action. A disabled prose litigant that is denied reasonable accommodations and
 5                           mistreatment adds :;,;·: i;;,,cc'.··c
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23                 University of Chicago Law Review discusses the odds

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     Posner has written about the prose issue in an upcoming book, and its publication "would be particularly awkward" ifhe
26      remained on the court because it "implicitly or explicitly" criticizes the other judges, he said.

     Posner said he began to focus on the problems of prose litigants about six months ago when he "awoke from a slumber of35
27
        years." He decided to write the book and "realized, in the course of that, that I had really lol'-1 interest in the cases," he told th
        Times.
28      https ://www.abajoumal.com/news/artic le/posner_ most_j ud ges_ regard _pro_ se_ Iit igants_as_ kind_ of_trash_ nor_worth_ the_ t

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                    https://lawrev iew. uchicago.edu/print-archive/empiri cal-patterns-pro-se-litigation-
13                  federal-district-courts

14                  The Posner Center for Justice for Pro Se's came ai1d went. After the longtime judge's
                    resignation from the bench, Richard Posner threw his hat into the ring of
15
                    commentators trying to address our civil litigation system's prose crisis. A denied cert
16                  petiti011 and two years later, and Posner's center has shut down, but the need for a
                    meaningful response to the crisis remains.
17
                   A failure to respond adequately to the current justice gap facing indigent litigants
18
                   could not come at a worse time. As income inequality has grown over the last several
19                 decades, public support for legal services has decreased by over 40%. The result is
                   more and more people going to both state and federal pourts to validate their rights
20                 without an attorney. In some state systems, as many of 80 to 90 percent of litigants
21
                   appear unrepresented in matters as fundamental as custody determinations and
                   evictions. Similarly federal courts have seen a large uptick in the number of prose
22                 plaintiffs, the vast majority of which are asserting claims for constitutional violations
                   or employment discrimination. 10
23             15. Alameda County Superior Court is no stranger to controversy in recent years regaring
24
                   race and disability discrimination. Alameda County disabled sister treated as
                   criminals Mention john Gibson man harassing us given over 2 years continuances
25                 criminal matter Alameda Comt; court refusal to continue reissue restraining order - in
                   fact extends for additional 3 years instead of l totalling over 6 years constitutional
26
                   limits movement in housing. Office of Public Affairs I Justice Department Finds that
27

28   10   https://journals.law.harvard.edu/crcl/reframing-the-pro-se-litigation-crisis/

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                  Alameda County, California, Violates the Americans with Disabilities Act and the
 1
                  U.S. Constitution I United States Department of Justice Justice Department Finds that
 2                Alameda County, California, Violates the Americans with Disabilities Act and the
                  U.S. Constitution.
 3            16. Disability Rights California filed a case against Alameda County in this court
                  https://www.disabilityrightsca.org/press-release/settlement-reached-between-
 4
                  disabil ity-rights-california-the-county-of-alameda-and-the. Disability Rights
 5                California v. County of Alameda Court and Case Number: 5:20-cv-05256 (N.D. Cal.)
                  The settlement agreement is the result of over two years of negotiations between the
 6                County, the U.S. Department of Justice, and DRC, as well as its co-counsel, Goldstein,
 7
                  Borgen, Dardarian & Ho, the Bazelon Center for Mental Health Law, Disability Rights
                  Education & Defense Fund, and the Law Office of Aaron J. Fischer. The patties
 8                identified mutually desirable commitments to community-based behavioral health
                  services. The County is seeking to further improve and deepen community-based
 9                services in an effort to best serve the residents of the County of Alameda. Disability Rights
                   California Lawsuit against Alameda County I pisability Rights California Seeking to end illegal segregation of
10                 people with mental health disabilities and racial injustice Disability Rights California Files Lawsuit against
                   Alameda County Disability Rights California files Lawsuit against Alameda County for Its Failed Mental Health
11                 System j Disability Rights Cali.fomia
              17. Alameda County Superior Court at the order of the US District Court Judge
12
                  examination 35 cases or more since 1970s 2 death row inmates to be resentenced amid
13                review into decades of prosecutorial misconduct in Alameda County, DA announces I
                  CNN Alameda County prosecutors allegedly excluded Black people and Jews from
14                death penalty juries. 11 2 death row inmates to be resentenced amid review into
                  decades of prosecutorial misconduct in Alameda County, DA announces Alameda
15
                  County prosecutors allegedly excluded Black people and Jews from death penalty
16                juries (msn.com). A judge in this
              18. Then there is the Judge Frank Roesch DECISION AND ORDER IMPOSING
17                PUBLIC ADMONISHMENT In a civil jury trial, he interrogated a witness in a hostile
                  manner, made sarcastic remarks, and mishattdled the witness's assertion of her Fifth
18
                  Amendment privilege against self-incrimination. In a quiet title action, the judge
19                questioned the parties and counsel in an injudicious manner. In another matter
                  involving property real estate, a quiet title action, the action commenced in alameda
20                comt involves property condominium illegal emergency assessment pattern involving
                  real estae this court 12 Frank Roesch remains on the Alameda County Superior Court
21
                  to date
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     11 2 death row inmates to be resentenccd amid review into decades ofprosecutorial misconduct in Alameda County, DA
23       announces I CNN

24   2 death row inmates to be rcsentenced amid review into decades ofprosecutorial misconduct in Alameda County, DA announces
     Alameda County prosecutors allegedly excluded Black people and Jews from death penalty juries (msn.com)
25
     Alameda County prosecutors allegedly excluded Black people and Jews from death penalty juries
     12 In 2015, Judge Roesch presided over a jury trial in Victaulic Co. v. American Home Assurance Co. (RG12642929) regarding
26
        Victaulic's claims against its insurers for breach of contract, bad faith, and punitive damages. After a three and oneMhalf week
27
        trial, the jury awarded Victaulic $55,333,581.11. 'l11e Com1 of Appeal reversed the judgment due to Judge Roesch's
        misconduct and multiple errors during the trial. (Victaulic Co. v. American Home Assurance Co.(2018) 20 Cal.App.5th
        948.)Victaulic Co. v. American Home Assurance Co.
28      i}ttps://www.bing.com/ck/a?!&&p-d8c024b7375c9ae5JmltdHM9MTcyMjEyNDgwMCZpZ3VpZDOzMGM0MjhkNilkNjlJ



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              19. Then there is in 2017 2019 wrongful arrests alleged "computer glitch" Alameda
 1
                  County Superior Court https://www.findlaw.com/legalblogs/technologist/court-wont-
 2                act-on-computer-glitch-that-generates-bad-orders-and-warrants/ The Alameda County
                  Superior Court's computer system has caused countless numbers of people to serve
 3                unnecessary jail time, be improperly arrested, and wrongly registered as sex
                  offenders. 13
 4
              20. Mark Fickes ethical violations Gay Alameda County judicial candidate blasted for
 5                possible ethics breach:: Bay Area Reporter (ebar.com) Canon No. 1 of the California
                  Code of Judicial Ethics states that "a judge shall uphold the integrity and independence
 6                ofthejudicia1y." Canon No. 2 states, "A judge shall avoid impropriety and the
 7
                  appearance of impropriety in all of the judge's activities." Mark Fickes denied

 8        3 LTY3N ictMTMyNC0zYzc5ZDdiOTY2YzQma W5zaWQ9NTixMA&ptit""3&ver=2&hsh=3&fclid-30c428d6-d657-6767-
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 9        3c79d7b966c4&psq=judge+frank+roesch+alameda+county&µ=a I aHRQcHM6Ly9janAu Y2EuZ292L3dwL WNvbnRlbnQvd
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     13   The public defender's office has filed about 2,000 motions challenging legal process due to the faulty software. Alameda
11
          Court did not think it needed to fix the problem Until the courts fix the mess, the problem will continue to publicly plague the
12       criminal justice system. In the meantime, the Alameda County public defender said, county administrators aren't ready to
          give up on a computer program that cost $4.5 million.https://barristers.ng/2017/07/01/court-won+act-on-computer-glitch-
          that-generates-bad-orders-and-waITants/ Comi Won't Act on Computer Glitch 111at Generates Bad Orders and Wan·ants In
13
          Barrister In one California case, a 24-year-old Fremont man was arrested and jailed until his father posted $1,500 bail. 1l1ey
         discovered later that it was due to the computer problem. The system failed to show that ajudge had recalled a warrant for a
14        non-appearance.
     "It's affected my relationship with my parents," said the man, who spoke to the San Francisco Chronicle on condition that his
15       name not be used. ''111ey're not going to believe that four cops came to the door and messed up. It's affected my relationship
         with my neighbors, because I'm assuming everybody saw."
16       Until the courts fix the mess, the problem will continue to publicly plague the criminal justice system. In the meantime, the
          Alameda County public defender said, county administrators aren't ready to give up 011 a compt1ter program that cost $4.5
         million.
17
         While judges dealt with the problem in the courtroom, public defender Brendon Woods petitioned an appeals court to order
         the county to fix the software. But now there is a problem with the paperwork.
18   Computer Troubles Trigger Wrongful Arrests In Alameda County~ CBS San Francisco (cbsnews.com) CBS story OAKLAND
         (KPIX 5) -- In Alameda County, computer problems that arc so bad some people arc being wrongfully arrested.
19       Since august the Alameda County Court has been using the new court management software system .. .it was supposed to be
         an upgrade... but now public defenders and prosecutors agree .. It's causing chaos ... And could be hampering justice.
20       Alameda County Public Defender Brendon Woods said, "It's more than frustrating. It's completely outrageous."
         Woods said the new computer software that the county court is using is processing inaccurate records and causing legal
21       nightmares.
         "There are misdemeanor cases that are now felonies. We had a 12500 which is driving without a license show up as a
22       felony," Woods said
         Woods filed a motion with the Alameda County Court blaming the software-~ called Odyssey - for wrongful arrest,
         unwarranted jail time and wrongly listing defendants in the system as sex offenders.
23
       And in a court hearing Tuesday, court administration and even the district attomey all agreed, the software isn't working.
24     They call it cumbersome, requiring multiple steps, screens and clicks to complete one action, making it prone to mistakes.
     Woods said, "What would take a court clerk a minute or two to update normally, takes them 20-25 minutes, so clerks who arc
25     really working hard and trying to keep up simply can't."
       So for some defendants, they show up to court, have their warrants recalled, but the information doesn't show up in the
26     system.
       In the worst examples, defendants are wrongly arrested on outdated warrants.
     Woods said it is making the justice system "extremely inefficient."
27
       "I would say people's constitutional rights are being violated on a daily basis," Woods said.
       Hmtnmm ..... TI1e maker of Odyssey tells the San Francisco Chronicle that it's cotmnitted to supporting Alameda County, but
28     that the problems aren't the fault of the software and that it's working just fine in other places.

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                   Plaintiffs appearance at reissuance hearing when incapacitated despite multiple
 1
                   requests MC 410. Witness Plaintiff Elizabeth Tigano was denied opportunity to
 2                 testify. Plaintiff was denied ability to speak, oppose reissuance order. Plaintiff was
                   unable due to illness to file response to renewal request filed by John Gibson.
 3                 Commissioner denied constitutional right of Plaintiff and her witness, held renewal
 4
                   hearing not only issuing order for one year but three years out of spite, retaliation as
                  Plaintiff advised Mark Fickes would be added to this complaint. Plaintiff was/is the
 5                restrained person and the Petitioner John Gibson would not have been affected as the
                  restraining order remained in place until Plaintiff would appear at the hearing to argue
 6                her position.
 7
              21. As Tavares reported, "The [Price] vote to endorse Fickes and his proclamation on
                   Wednesday that he voted for her in the 2022 DA's race raises questions about each
 8                other's impartiality. Any defense attorney in a courtroom with Fickes as judge and
                  Alameda County prosecutors will certainly question whether their client will receive a
 9                fair trial."
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                  httos://www.bin!!.com/ck/a?!&&o=7e5dec9eeefbf48eJmltdHM9MTcvMiEvND!!wMC
                  ZpZ3 VpZD0zMGM0MjhkNi I kNjU3LTY3NjctMTMyNC0zYzc5ZDdiOTY2YzOma
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16                mluZS5ib20vYmxvZ3MvdGltLXRhbGsvMiAvNC8wMi8wMS93YXMtanVka WNnY
                  WwtY2Fub24tdmlvbGF0ZWOv&ntb=1 Editorial: Judicial candidate Fickes serious
17                lapse in judgment has a Mark Fickes, a gay man who's a commissioner with the
                  Alameda County Superior Court and a candidate for judge in March, committed a
18
                  serious lapse in judgment last week when he told members of the Alameda County
19                Democratic Central Committee, in response to a question from a committee member,
                  that he voted for District Attorney Pamela Price in 2022. Price, who's also an elected
20                member of the central committee, then promptly voted to endorse him. (Fickes secured
                  the local Democratic Party's endorsement with 30 votes.) The whole episode reeks of a
21
                  potential conflict of interest and raises questions about Fickes' and Price's impartiality
22                should Fickes be elected. 14

23
     14 Judicial candidates are not supposed to reveal their personal opinions. That may seem counterintuitive, but that's what the
24      California Code of Judicial Ethics states. Judicial candidates are asked questions all the time, but that doesn't mean they
        should respond to them, according to the canon. And in fact, most of the time they don't. We've sent questionnaires to the
25      judicial candidates in San Francisco and Alameda counties; several candidates invoked the judicial canons as the reason why
        they couldn't answer a question. That Fickes made such an admission is all the more puzzling because as a court
26      commissioner, he's subject to the same rules as judges. Further, in 2020 he ran unsuccessfully for judge and is, thus, familiar
        with the canons of judicial ethics. Canon No. l of the California Code of Judicial Ethics states that "a judge shall uphold the
27
        integrity and independence of the judiciary." Canon No. 2 states, "A judge shall avoid impropriety and the appearance of
        impropriety in all of the judge's activities." Impartiality is crucial for judges, and all judges, including those at the trial court
        level, must adhere to a higher standard. They should disclose any potential or real conflicts of interest and maintain their
28      impartiality. They should exhibit judicial temperament. https://www.ebar.com/story .php?ch=News&sc=News&id=330805

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             22. Defendant EUMI K. LEE is a Judge Dept. 512 in Alameda County Superior Cou,t.
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                 EUMI K. LEE was an employee of the Alameda County Superior Court and as an
 2               emplo ee of the State of California, were actin under the color of state

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                 law.
10           23. Defendant JENNA M. WHITMAN is a Judge Dept. 25 in Alameda County Superior
                 Court. JENNA M. WHITMAN was an employee of the Alameda County Superior
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          Guidelines on campaigning prepared for judicial candidates by the California Judges Association's Committee on Judicial
23        Ethics state that "Candidates may not make statements that commit the candidate with respect to cases, controversies, or
          issues that could come before the courts." Judicial candidates are not allowed to endorse in non-judicial races, they are not
24        allowed to talk about how they might rule in a case.
     Further, guidelines on campaigning prepared for judicial candidates by the California Judges Association's Committee on Judicial
25   Ethics state that "Candidates may not make statements that commit the candidate with respect to cases, controversies, or issues
     that could come before the
26   courts. "https://www.bing.com/ck/a?!&&p=a I 0c5d72bc8add81JmltdHM9MTcyMjl5NzYwMCZpZ3 VpZD0zMGM0MjhkNi l kN
     U3 LTY3NjctMTMyNC0zYzc5ZDdiOTY2YzQma W5za WQ9NTE5Mg&ptn:=3&ver=2&hsh=3&fcl id:=3Qc428d6-d657-6 767-
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     VkbW9udGV 4ZWRyYS5jb20vMjAyNC8wMi9sZXR0ZXItdG8tdGh\LWVkaXRvci I ta WNo YWVsL WpvaG5zb24tZm9yL WFj
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                                            ee of the State ofCalifomia, were acting under the color of
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                                                        ,        Ji;
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              state law. 15
11
          24. Defendant SUSAN LEW is a Judge Pro Tempore Dept. 519 in Alameda County
12            Superior Court. SUSAN LEW was an employee of the Alameda County Superior
              Court and as an employee of the State ofCalifomia, were acting under the color of
13            state law.
          25. Defendant ELIZABETH RILES is a Judge Dept. 512/Commissioner Dept. 519 in
14
              Alameda County Superior Comt. ELIZABETH RILES was an employee of the
15            Alameda County Superior Court and as an em lo ee of the State ofCalifomia, were

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20            acting under the color of state law.
          26. Defendant BENTRISH SA TARZADEH is a Judge Dept. 507 in Alameda County
21            Superior Court. BENTRISH SATARZADEH was an employee of the Alameda
22

23
              15 And yet this judge has allowed Defendants in the Gl28897381 matter to harass, target, torment Plaintiff, her

24            guests and her family And yet this judge has allowed Defendants in this matter to harass, target, tonnent Plaintiff,
              her guests and her family. Unless you are disabled, white, christian and older then you do not deserve to be safe
25            according to Eumi Lee. Free speech violation Biblical verses, freedom of expression denial photos in First
              Amended Complaint, prohibition of verses, exhibits per deptjenna Whitman Baphomet allowed at Iowa State
              Capital yet Plaintiff not allowed faith https://www.aol.com/news/former-mississippi-congressional-candidate-
26            charged-153641144.html JANINE CHANDLER, et al., v. CALIFORNIA DEP'T OF CORRECTIONS
              AND REHABILITATION, et al. Case No. l:21-cv-01657-JLT-HBK USDC Eastern District California.
27            Disability Rights California v. County of Alameda 5:20-cv-05256 (N.D. Cal.).

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              County Superior Court and as an employee of the_State of Cal_ifornia, _were acting
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              under the color of state
 9        27. Defendant KEITH FONG is a Judge Dept. 517 in Alameda County Superior Court.
              KEITH FONG was an employee of the Alameda County Superior Court and as an
10            em lo ee of the State of California were actin under the color of state law.
11

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                               i'&
18        28. Defendant MARK FICKES is a Commissioner Dept. 519 in Alameda County Superior
              Court. MARK FICKES was an employee of the Alameda County Superior Court and
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                                                                   under the color of state law. 16
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 9
                   Not doing what is within their jurisdiction either
10
                   Outside jurisdiction remember Jeffrey brand stated we talk and advise each
11                 other 11 2019 Paul Herbert conferring with other judges not assigned; jenna
                   Whitman not assigned dictating what to file; helping defedants
12                 Keith fong not allowing motion filing without leave
                   Elizabeth Riles unreasonable retaliatory for complaint denial witnesses
13
                   evidence
14                 Susan Lew holding court as formal matter (cited for not having formal
                   declaration for witness testifying, rebuked for reasonable accommodations,
15                 criticizing for legal citations non attorney - small claims and civil harassmen
16
                   are informal matters for the laiety) denial witnesses evidence
                   Elizabeth Tigano and Mary Bernstein reputations affected by frivolous civil
17                 harassment orders imposed by John Gibson EXHIBIT Land constant
                   threats of new filings of retraining orders, restricting disabled persons
18                 movements
19                 https://www.justice.gov/opa/pr/justice-department-finds-alameda-county-
                   california-violates-americans-disabilities-act-and-us
20
     Justice Department Finds that Alameda County, California, Violates the Americans
21
     with Disabilities Act and the U.S. Constitution
22                h ttps :I/www. the root. com/did-the-exclusiou-of-black-aud-jewish-jurors-
                  impact-doz-1851443340
23
     Did The Exclusion of Black and Jewish Jurors Impact Dozens of Death Penalty Cases?
24
                    https://www.latimes.com/california/story/2024-04-23/federal-judge-orders-
25
                    alameda-county-to-review-death-penalty-cases

26

27   16 ALAMEDA JUDICIAL CANDIDATE MARK FICKES ACCUSED OF VIOLATING ETHICS CODE WITH POLITICAL
        ENDORSEMENTS
28   Posted by AbusivcDiscretion Staff Writer I Jan l l, 2024 INews, California, State Level

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     Federal judge orders Alameda County to review death penalty cases
1

2
                   worry that the fix is in, so to speak.
3

                   Impartiality is crucial for judges, and all judges, including those at the trial
                   court level, must adhere to a higher standard. They should disclose any
5                  potential or real conflicts of interest and maintain their impartiality.
                   They should exhibit judicial temperament
 6
                   https://www.ebar.com/story.php?ch=News&sc=News&id=330805
 7                 Editorial: Judicial candidate Fickes has a serious lapse in judgment

 8                 https://www.psychologytoday.com/us/blog/empathy-and-
                   relationships/201704/injustice-the-hands-jndges-and-jnstices
 9
                   Injnstice at the Hands of Judges and Justices
10   Judge Jed Rakoff discnsses the injnstice caused by judicial bias.
     "Why mediation isn't more widely used is beyond my comprehension, as is the fact that
11      people would want to use retired judges with no little or no mediation training to
        "mediate", so they can get people to reach similar injustices through agreements
12
        reached in what is really "soft-arbitration." This is particularly true with regard
13      to family law. where the research is very clear." Paul Herbert (misrepresentation
        length of settlement judge experience) and Jeffrey Brand ADR and JAMS
14
                   httns://Iaw.stackexchanoe,com/nuestions/18900/iurors-not-allowed-to-talk-to·
15
                                           each-other-dnring-the-trial
16
                    https://btlaw.com/insights/publications/2018/dont-feel-pressured-to-settle-a-
17                                       case-that-yon-dont-want-to-settle
18

19
     United States Federal Jndicial Misconduct
20

21
     The Judicial Conduct and Disability Act of' 1980(link is external) ("Act"), 28 U.S.C. §§ 351-
     364, and the Rules for Judicial-Conduct and Judicial-Disability Proceedings ("Rules")
22   (pdf), as amended on March 12, 2019, govern this complaint process. You will likely want
     to consult the Act and the Rules before filing a complaint. Please visit the website of the
23
     appropriate court office, as described in the Rules and in question 3, to determine whether
24   local rules apply and to obtain a complaint form.
     https://www.uscourts.gov/judges-judgeships/judicial-conduct-disability/faqs-filing-judicial-
25   conduct-or-disability-complaint
26
     Who can I complain about?
27        You may file a complaint about a federal judge who you have reason to believe has
          committed misconduct or has a disability that interferes with the performance of
28

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           their judicial duties. A federal judge includes a judge of a United States district
1
           court, a judge of a United States court of appeals (including the Court of Appeals
2
           for the Federal Circuit), a judge of a United States bankruptcy court, a United
           States magistrate judge, a judge of the Court of Federal Claims, and a judge of the
3          Court oflnternational Trade.
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17          The judicial council may take other action, such as requesting the special committee
            conduct an additional investigation.
18
     Federal judges appointed under Article III of the U.S. Constitution (e.g., circuit and distric
19
     judges) hold office for life pending good behavior. Only Congress can remove an Article III
20   judge from oftice. If the judicial council finds an Article III judge's conduct may warrant
     impeachment, it must refer that finding to the Judicial Conference. On referral, the
21   Judicial Conference will determine whether to certify the matter to Congress, which will
     then decide whether to initiate impeachment proceedings.
22

23   Judicial Conference Committee on Judicial Conduct and Disability
     Attn: Office of the General Counsel
24   Administrative Office of the United States Courts
25
     One Columbus Circle, NE
     Washington, D.C. 20544
26
     h ttps ://www.legaImatch.com/law-libra ry/article/j udicial-misconduct.html
27
     Legal Match describes judicial misconduct
28

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     What is Judicial Misconduct?
1
     The definition of judicial misconduct is a serious deviation from the accepted practices of a
2
     judge in the judicial profession. Misconduct is defined as conduct which is prejudicial to the
     effective and expeditious administration of the business of the courts.
3    The rules regarding official judicial misconduct also include rules concerning a judge's
     disability, which may be a temporary or permanent condition which renders the judge unable
4
     to discharge tlte duties of their judicial office. 28 USC§§ 351 -364 provides that any
5    individual may complain about a federal judge whom they believe has committed judicial
     misconduct.
 6
     What are Some Types of Judicial Misconduct?
7
     A judicial misconduct case begins when an individual files a complaint regarding the conduct of
 8   a judge. Examples of conduct which may constitute judicial misconduct may include when the
     judge:
 9
        •    Uses their office to obtain special treatment for relatives or friends;
10
        •    Accepts bribes, gifts, or other personal favors which are related to their office;
11      •    Engages in improper ex parte communication with a party or counsel for one side of a
             case;
12
         •   Engages in partisan political activity or makes an inappropriately partisan statement;
13       •   Solicits funds for organizations;
         •   Violates rules or standards which pertain to restrictions on outside income or knowingly
14           violates a requirement for financial disclosure;
15
         •   Engages in offensive, abusive, or unwanted sexual conduct, which includes sexual
             harassment or sexual assault;
16       •   Treats attorneys, litigants, judicial employees, or other individuals in a
             demonstrably hostile and egregious manner;
17
         •   Creates a hostile work environment for judicial employees;
18       •   Intentionally discriminates based on one of more of the following:
         •   Race;
19
         •   Color;
20       •   Sex;
         •   Gender;
21
         •   Gender entity;
22       •   Pregnancy;
         •   Sexual orientation;
23       •   Religion;
24
         •   National origin;
         •    Age; or
25       •    Disability;
         •    Retaliates against individuals who participate in the judicial conduct and disability
26
              complaint process or report or disclose judicial misconduct or disability, which may
27            include:
               ►      Complainants;
28

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              ►      Witnesses;
 1
              ►      Judicial employees; or
 2            ►      Other individuals;
         • Refuses to cooperate in an investigation of a judicial conduct or disability complaint
 3
             or the enforcement of a decision under the Rules without good cause; or
 4       • Fails to call to the attention of the relevant district chief judge or circuit chief judge
             any reliable information which is reasonably likely to constitute judicial misconduct
 5           or disability.
     This list does not constitute all of the possible grounds for a complaint. An individual is not
 6
     permitted to use the complaint process to obtain an automatic disqualification ofajudge which is
 7   presiding over a case.

 8   Additionally, the process cannot be used to challenge the correctness of the judge's decision in a
     case. A judicial decision which is unfavorable to an individual does not, by itself, establish
 9
     misconduct or a disability.
10
     How Can Judges Break the Law Inside the Courtroom?
11   There are certain ways in which a judge may abuse the law they are supposed to uphold. This
     may include ifajudge ignores the law in court. It may also include ifajudge:
12

13      •    Lies under oath - It is important to note that a jndge is always nnder oath in the
             courtroom;
14
         • Cites invalid laws or precedents - This may be hard to catch if an individual is not
15           prepared to discuss these topics;
         • Ignores certain laws or precedents -This is uncommon because a judge typically cannot
16           ignore a law without explaining their reasoning. In this case, the judge would have to
             break two rules.
17
         • Can I Ask a Judge to Recuse Himself if! Believe He ls Biased?
18   An individual may request a judge to recuse themselves if there is a conflict of interest. A
     recusal, also called a judicial disqualification, is a request for a judge presiding over a case to
19   remove themselves from that case so a new judge can be chosen.
20
     A recusal is requested by a motion, which the presiding judge may sustain or dismiss. Because o
21   this, the motion should include substantial evidence showing the judicial conflict of interest. If
     the judge improperly dismisses the motion, the issue may be appealed after the conclusion of the
22   trial.
23
     Title 28 of the Judicial Code, or the United States Code, provides the standards for judicial
24   recusal or disqualification. A judge is required to recuse themselves in any proceeding in which
     it would be reasonable to question their impmtiality.
25

26
     Both state and federal laws provide that iudges are required to recuse themselves i(grounds
     exist to do so. A iudge may be subiect to punishment for not recusing themselves. depending on
27   the circumstances.
28

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     Examples of situations in which a conflict of interest may exist where a judge should likely
1
     recuse themselves include:
2
     A personal connection to a party in a case;
3    Personal knowledge of the facts of a case;
     A familial relationship to one of the attorneys; and
4
     A financial interest in the outcome of the case.
5    Any party to the case, including the plaintiff or the defendant, may make the motion to request
     the judge recuse themselves from the case. There is not likely to be a penalty if the judge
 6   accidentally does not recuse themself, such as in cases where the judge is not aware that proper
     grounds for recusal exist. However, if proper grounds for recusal did exist, and the judge was
 7
     aware, there may be penalties levied against the judge for not doing so.
 8
     What are Some Examples of Judicial Misconduct?
 9   A specific example of a judge breaking the law involved a Catoosa County Magistrate Judge in
     Georgia. This judge engaged in several behaviors which were considered misconduct, including:
10

11   Smoking marijuana at least once a week;
     Using the office to advance the personal interests of a family member, specifically a sister-in-
12   law;
13
     Inappropriately pointing a firearm at other individuals in the courthouse; and
     Providing the identity of a confidential informant on a television show.
14   There are a limited number of examples such as these because, thankfully, they are rare.
     However, there are likely many instances of misconduct that go unreported because individuals
15   are unaware that the behavior constitutes judicial misconduct or they fear the complaint process.
16
     How Can I Prove Judicial Misconduct?
17   Judicial misconduct may be difficult to prove if an individual does not know all of the rules.
     Having a basic familiarity with these rules may help prove judicial misconduct because the
18
     individual will be aware of what conduct to look for.
19
     It is also important to review the examples listed above. This will help an individual be aware of
20   conduct which is considered judicial misconduct. Other helpful actions may include:
21
     Taking note of everything possible in writing;
22   Requesting a court reporter;
     Bringing other court watchers to any hearings; and
23   Having as many issues on paper as possible.
     When Can I Complain About Judicial Misconduct?
24
     Any individual is permitted to complain about a federal judge pursuant to 28 USC §§ 351 - 364
25   if that judge:

26   Engaged in conduct that is damaging to the effective administration of a court; or
     Becomes unable to discharge their duties because of a mental or physical disability.
27

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     As noted above, an individual does not have the right to complain about judicial misconduct ifa
1
     wrong or poor decision is made by a federal judge. The remedy in this situation is the right to
2    appeal.

3    How Does a Judicial Misconduct Complaint Work?
     The judicial misconduct complaint process follows a step-by-step procedure. The steps include:
 4

 5   The individual bringing the complaint must obtain a pre-established form used for complaints
     regarding judicial misconduct from the clerk of the court;
 6   The complaint is then filed with the clerk of the court and provided to the Chief Judge in that
 7
     district;
     The Chief Judge reviews the complaint to determine if it requires further investigation or should
 8   be dismissed;
     If the Chief Judge determines that an investigation is necessary, they will appoint a special
 9   committee to investigate it;
     The special committee will then investigate the claim and take the findings of their investigation
10
     and submit a report to the pre-established Judicial Council in the district; and
11   Lastly, the Judicial Council will make a decision regarding the steps that should be taken to
     remedy the judicial misconduct.
12   Do I Need an Attorney to File a Judicial Misconduct Complaint?
13
     Yes, it is very important to have the assistance of a government lawyer if you believe judicial
     misconduct has occurred. Your attorney can guide you through each step of the complaint
14   process, explain the relevant issues, and help you defend your complaint.

15
     Judicial Commission of California
16   https://cjp.ca.gov/ The California Commission on Judicial Perfotmance states:
     The Commission on Judicial Performance, established in 1960, is the independent state agency
17
     responsible for investigating complaints of judicial misconduct and judicial incapacity and for
18   disciplining judges, pursuant to article VI, section 18 of the California Constitution.
     The commission's mandate is to protect the public, enforce rigorous standards of judicial
19   conduct and maintain public confidence in the integrity and independence of the judicial system.
20
     While the majority of California's judges are committed to maintaining the high standards
     expected of the judiciary, an effective method of disciplining judges who engage in misconduct
21   is essential to the functioning of our judicial system. Commission proceedings provide a fair and
     appropriate mechanism to preserve the integrity of the judicial process.
22   The commission's jurisdiction includes all judges of California's superior courts and the justices
23
     of the Court of Appeal and Supreme Court. The commission also has jurisdiction over former
     judges for conduct prior to retirement or resignation. Additionally, the commission shares
24   authority with the superior courts for the oversight of court commissioners and referees. The
     Director-Chief Counsel of the commission is designated as the Supreme Court's investigator for
25
     complaints involving the judges of the State Bar Court. The commission does not have authority
26
     over federaljudges,judges pro tern or private judges. In addition to its disciplinary function, the
     commission is responsible for handling judges' applications for disability retirement.
27   The commission's authority is limited to investigating allegations of judicial misconduct and, if
     warranted, imposing discipline. Judicial misconduct usually involves conduct in conflict with the
28

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     standards set forth in the Code of Judicial Ethics. The commission cannot change a decision
1
     made by any judicial officer; this is a function of the state's appellate courts. After investigation,
2    and in some cases a public hearing, the commission may impose sanctions ranging from
     confidential discipline to removal from office.
3    Anyone may submit a complaint to the commission. See Filing a Complaint and Overview
     of Commission Proceedings.
4
     LAST UPDATED: 07/16/24.
5
     OVERVIEW OF THE COMPLAINT PROCESS THE AUTHORITY OF THE COMMISSION
 6   ON JUDICIAL PERFORMANCE The Commission on Judicial Performance is the independent
     state agency responsible for investigating complaints of judicial misconduct and judicial
7
     incapacity and for disciplining judges (pursuant to article VI, section 18 of the California
 8   Constitution). Its jurisdiction includes all active California judges. The commission also has
     authority to impose certain discipline on former judges, and the commission has shared authority
 9   with local courts over court commissioners and referees. In addition, the Director-Chief Counsel
     of the commission is designated as the Supreme Court's investigator for complaints involving
10
     State Bar Court judges. The commission does not have authority over temporary judges (also
11   called judges pro tern) or private judges. In addition to its disciplinary functions, the commission
     is responsible for handling judges' applications for disability retirement. This section describes
12   the commission's handling and disposition of complaints involving judges. The rules and
     procedures for complaints involving commissioners and referees, and statistics concerning those
13
     matters for 2023, are discussed in Section V, Subordinate Judicial Officers. HOW MATTERS
14   ARE BROUGHT BEFORE THE COMMISSION Anyone may make a complaint to the
     commission. Complaints must be in writing (see complaint form in Appendix 3). The
15   commission also considers complaints made anonymously and matters it learns of in other ways,
16   such as from news articles or from information received in the course of a commission
     investigation. JUDICIAL MISCONDUCT The commission's authority is limited to investigating
17   alleged judicial misconduct and, if warranted, imposing discipline. Judicial misconduct usually
     involves conduct in conflict with the standards set forth in the Code of Judicial Ethics (see
18
     Appendix 2). Examples of judicial misconduct include intemperate courtroom conduct (such as
19
     yelling, rudeness, or profanity), improper communication with only one of the parties in a case,
     failure to disqualify in cases in which the judge has or appears to have a financial or personal
20   interest in the outcome, delay in performing judicial duties, and public comment about a pending
     case. Judicial misconduct also may involve improper off-the-bench conduct such as substance
21
     abuse, using court resources for personal business, or misuse of the judicial title.
22
     Judges do engage in discrimination and other misconduct or there would not be cases such as
23   these:
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10           • 05/l3/l4] Pres• Jleltise ). Commission issue,. Puhll, Admonishment c! Judge Daniel J, tlealy.                                               , Glftllmjl•ffP§IIG~
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             H[ALY, Tlnlothy S. Cal&vfRI County Sup,rlor Ccurt

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15             s.. ! DIS(IPLIN.E f.
             HUNT, Derek W. Dran1t County Suporlor Court
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             • H/31/ll l Prutll~!llllt• ]. Comml1Slon lmio~ Dodslon and Ord~ Jmpcsing Public Admqnf,hmont en fo,mor
               Jll<lge Derek W. Huot See ( O[CJSIDN J.
17
             JA«lBS, Lillian Vega Los Angelu County suptr!or Court

             • 06}29/ll [ Prtn RQIQ~lf I, Commission issue. Publl<'.Adnl-MlshmMt of Judge Ulllan Wga Jarobs. Sili!
18             [ PlSCtPLHIE I.

             KREIS, Grtgory J. Humboldt county Supnlor Court
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             • 05/28/14 / Pt.O)_Rf\~•I~ !. Como1lsslco Issues lhlcis!on aod Orde, lmpcslng Public Cemurn and B,ir PU1$Uam
               to Stfpulationon Judge Gregory J. K<tll, See! OECISIDN j.
20           • 02/0J/l4 ! Pr,in R'1Hlf j, Commi$slon institutes formal procffdlngs wnmnlog Jµdg~G,egoiy J. Krell. S!e !
               NOTICE 11 ANSWER Jl FIRST AMENDED NOTICE JI ANSWER TO FIRST AMENDED NOTICE].

21           M~UERY, Tonr R. Ln1tn County Superior court


               om~~-S•• I DECISION}.
22           • Oi/l0/l4 I Prtll Rtlolt ]. Commlss!oo IUU1!1 notice of oH! H~Ym1!t"lt. $et I HDTICC J.
             , C6/ll/U I Pres• ReLoate ]. Commi«loo announces heaflng uprlilti;.
             • C5/l0/2l I Pr.,., RtlH•e J. Commis,lon aoncunc•s hearing raschedu!od.
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                OHice. s•• l DECmoNJ.
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              , 01{3D/24 l p,ou Release J. Commlss;on ls1u<>< Mllce or oral a,gum,ml. S.e l Nonu J.
              , OS/2'/ll I P,ess Rd~ast 1. Comml••lon announces h•~r!ng upd•1•.
 3            • 05/10/23 r Press R•l•u• ], t<,mmlsslon ilnMunces h"1rlng reschedul<'<I.
              • 01/14/13 ( Pn,u RtltHt J. Commission announces he,11ln& ton~nue<l.
              • 12/19/12 l P1eu R•t•no 1- Commission annountos he,11ing sthoduled and spocMI mJ1ters appr,lnted.
 4            • 09/J.5/ll ( P1ou Rt!OH J. Commission lnS!ltutes formal pro<l!NllngHon<OtnJnt, Judge Tony I'!. Malle,y. See
                [ 11011(£ j [ ANSWER j l FIRST AM£1f0[0 NOlJU J1 /lNSWE(l 10 FIRST AIU NO ED NOTICE].

 5            MISCELlANEOUS

              , 05/14/241 Pr!!U Reltne]. Commls~on lnvltes propo1~l• fo, rule, chimses. See [ 1!1vit;1Uo11 to Propo,e
                thinguf.
 6            • Ol/29/24 j Pren lttlunl, Commission Mnounces ,olease oJ 2023Mnuol Rrpon. SN> ( 2021 ANNUAL
                R£POIIT I.
 7            • Ol/J0/2J I Preu Rtltut J. Commlslfon announces election of n~w chaltpenons.
              • Ol/l9/ll I PN!J R•lust I, Commission amwunues release of 2021 Allnual R,pon.Ste<! [ 20:U ANNUAL
                REPDIITI,
 8            , 02/lJ/ll [ ~reu R•l•••-• J, Commission announc:r,s 11._..., gl~ limit for judgu. 5'/o [ Gift Llmlt.w•bpJg:o ) ( Lnal
                Autho11ly.webp1gt ].
              • U/lQ/22 [ Pr~u Re!•u~ I. Commission adopts amended nM.1. See { ~ubllc Report 11 hi:al Aut11otlty
 9              w,bp~~• I.

              SHORE, Howard H. San Dltgo County Superior Court
10            • U/U/23 ( P,._..U lhlOH J. Commission ls,ues De.:l,lon and O,de, lmpo~~g Se~N• Public Censure Purw•nl
                to S(ipulationvnJudge How.ud ff. Shoo,. S-ee I DUISION ).
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                HPORT).
14            , Ol/30/13 { Prtn nclHH J. Cornmls1lo11 anoounces ele.:tion of new d1al,peuons.
              • Ol/2&/ll l Pnlll RtltaH j, Commlnkm an_nollnces reln1e 012022 AnnualRepo,L Sec [ l0l2 ANI-IUAL
                RlPORTI.
15            , Oljll/ll l Preu R~le•~e I, C,,mmlnlon announces new gift limit for judges. S-ee I Gift llm!tw•bJ>~M I! Lfga1
                Authority webp~g• 1.
16            • 11/39/:U I P~5!i.At!Uie I. Commls1lon adOJ>ls amended rules. Seel p_uM!t.11,port ! I Lega!A11ttwrlt;r
                 webpare].

               SHORE, Howard !l, Sin 01110 County Sup1rlor(0Urt
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              • 12/H/ll l Preu R•luse !. Commission lnue, Oec!s!on and o,a., lmJ}Osing Sew<1< Public Censu,e Pu,ruant
                to StlpulallOII on Judge Howard It. Shore. See j IIECISID,11 ).
18
               SPEAR, £ml!y T, L<II An111IH county Sup1rlor Court

              , 09/0&/ll j l!r11nRd~u11 J. commission issues Oed1i<ln Md o,de, !mpo.lng Public Admonishmem on Jude•
19              Emlly 1. Sptar. Seel OEcmoN J.

              VLAVIANDS, Rlehrd A. S•n Jo•quln Counly Supulor court
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              • 01/08/13 I Prus hl•••• I, Comml;s!on 1.. ue~ Oe,;l,ion dnd O,d...- Imposing P"bllc C~muie Pursu~~, 10
                ~tipu1a!lon on Judge Ri,~ar,:l /1.. Vla~lanos. Se~! lltCISIDN 1-
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25   The public is also allowed to file civil lawsuits against judges.

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          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 57 of 801




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     https://www.ttb.org/programs/the-5-year-study
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 9   Plaintiff and her family began enduring harassment, social isolation, aiientation inside HOA
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     cmmunity. The very individuals court jurists Plaintiffs and family seeking fairness seeking
     adjudication vicimized Plaintiffs. I pray that no other disabled senior citizen litigant ever has to
11   endure what I have had to endure as a taxpayer and U.S. Citizen. There have been multiple other
     disabled women that have been denied reasonable accommodations in California namely: Natalia
12
     Sidiakina, Susan Feris, Christine Considine. Despite ADA Christine Considine triumph
13   concerning continuances as an ADA reasonable accommodation, Judges are still thumbing
     noses, denying and abusing disabled.
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       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 58 of 801




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     RG19034687 BERNSTEIN MARY 9/11/2019
26   Bernstein VS Durbin
27   CH-100 Request for Orders to Stop Harassment (Civil
28
     Harassment)
                                                      - 59-

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 1   RG19035648 BERNSTEIN MARY 9/19/2019
     Bernstein VS Gibson
 2
     CH-100 Request for Orders to Stop Harassment (Civil
 3
     Harassment)
 4   RG19036528 BERNSTEIN MARY 9/25/2019
 5   Bernstein VS Hernandez
 6
     CH-100 Request for Orders to Stop Harassment (Civil
     Harassment)
 7
     RG19037125 BERNSTEIN MARY 9/30/2019
 8   Bernstein VS Simonson
 9   CH-100 Request for Orders to Stop Harassment (Civil
10
     Harassment)
     Civil Harassment Petition filed
11   Case Number: RG20057366
     Title: Bernstein VS Rivera
12
     Case Type: Civil
13
     Complaint Type: CH-100 Request for Orders to
     Stop Harassment (Civil Harassment)
14   Case Number: HG20057369
     Title: Bernstein VS Rivera
15
     Case Type: Civil
16   Complaint Type: CH-100 Request for Orders to
     Stop Harassment (Civil Harassment)
17   ATTORNEY TIME RECORDS CHALLENGED
     Case Number: HG20067974
18
     Title: Bernstein VS Gibson
19   Case Type: Civil
     Case Number: HG20068279
20   Title: Bernstein VS Durbin
     Case Type: Civil
21
     Jacky restraining order
22   John Gibson restraining order
     Gibson Third 08 HG
23   Mona Oliver 13 HG
     03/08/2022
24
     HG21110708
25   Bernstein VS Oliver
     Civil Harassment
26   05/19/2022
27
     Yes
     03/08/2022
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     Bernstein VS Gibson
1
     Civil Harassment
2    05/!9/2022
     No
3    04/05/2022
     HG20068279
 4
     Bernstein VS Durbin
 5   Civil Harassment
     06/02/2022
 6   21CV000668 GIBSON vs BERNSTEIN
 7
     Civil Unlimited (Civil Harassment)
     Filed: l0/21/2021 Disposed: 05/!9/2022 Court Finding- (Granted)
 8
     23CV031593 GIBSON vs TIGANO
 9
     Civil Unlimited (Civil Harassment) Hayward Hall of Justice I DEPT 519 - HON. Mark Fickes
10   Filed: 04/24/2023
     HG20068279 Bernstein VS Durbin
11
     DFEH DFEH CASE NUMBER: 201810-03850210
12   HUD MATTERS case numbers HUD CASE NUMBER: 09-19-4260-8
     DOJ matter case number CALIFORNIA DEPARTMENT OF JUSTICE
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     CASE NO. PIU 806129
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        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 62 of 801




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     Luanne Rutherford claimed reviewed plainitff motion for
     leave to file first amended complaint on September 3
14   2019, and claimed to prepare opposition to motion for
15   leave to file first amended compaint on September 16
     2019 for 4.10 hours. This is fraudulent for Plaintiff
16
     on medical leave until November 2020 and complete stay
17   in effect. The motion for leave to file amended
     compaint which was not prepared and filed until January
18
     28 2021. Again, Plaintiff was on medical leave until
19   November 4 2020. The only documents to be prepared
20
     during stay were the renewed motion to extend stay by
     plainitff filed September 11 2019 and case management
21   statement filed by plaintiff September 11 2019. The
22
     purpose was for October 11 2019 CMC scheduled by Paul
     Herbert in April 2019 to revisit and determine if stay
23
     lifted or if renewed. Luanne Rutherford claimed to
24   prepare and file opposition to motion for leave to file
     first amended complaint -EXHIBITS O, P. Complete stay
25
     Apri 2019 - October 2019 First stay 6 months - no legal
26   work to be peformed and no filngs by plaintiff or
     defense see court docket below - padding bills lying on
27
     bills fraud misrepreentation. This is one of many
28   fraudlent, erroneous cases applied to, phantom billings
                                                                                               - 62-

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     that disabled Plaintiff has burden identifying.
1
     Scratched out billing entries that defendants McNamara
2    must avail to Plaintiff. Judges Eumi Lee and Keith
 3
     Fong attempted to grant fraudulent billings withou
     Plainitff opportunity to oppose and without hearing in
 4   attempt to bankrupt disabled plainitff and predatory
 5   displacement entire family.
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              ~        VPm•       Q     III                                                                                                                                                 ?        0       ~


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     EXHIBITO
18   4 4 2019 Luanne Rutherford Ex Parte Application Plaintiff no notice called by court at home hearing right then medicated 4 8
     2019 no notice then medical leave April 11 2019 hearing for six months Paul Herbert
19   EXHIBIT P
     Motion for extension stay October 9 2019 was on stay through November 4 2020 due to court closure covid and not to work on
     matter advised by Judge until stay lifted - no one to work on case during stay invoices by defendants working on case during stay
20   - judge Paul Herbert assisting advising in transcript defense counsel what to do to counteract Plaintiff research home sales
     guiding defense counsel pages 43-46
21

22
     "Once is a coincidence and twice is a pattern"
23   Once An Accident, Twice A Coincidence, Three Times A
24   Pattern
25
          •            5 20 2022 email agreement farmers to waive attorneys fees and costs invoice
26
                       entry #522
27        •            McNamara attempted to get paid twice duplicate billing has been paid by
                       farmers.
28

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 1
        •   No protective order filed on 11 5 2020 #128 for attorney to review
 2
        •   No lengthy hearing travel time attending hearing 11 9 2020 #131 for 4.9 hours
 3          no commute time as covid remote blue jean hearings
 4
        •   Plaintiffs limited scope attorneys will testify that no such telephone conference
 5          ever occurred between Lloyd Winter and Luanne
        •   Rutherford or Christopher Allard which Christopher Allard attests to that all of
 6
            these entries are true invoices and billing entries.
 7
        •   #296 no third motion for recusal ever filed 9 13 2021
 8
        •   #304 no telephone call occurred 9 28 201 for 1.2 hours with my limited scope
 9
            attorneys they will testify
10
     Multiple cases all intertwin~d with this HG188~}381 j~dgment over reach
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     Motion to amend complaint filed January 28 2021 by Plaintiff Rutherford prepred
     and filed opposition to motion for leave to amend complaint years later February 9
25
     2021. This type of fraudulent, duplicative billing Plainitff is reporting to the state
26   bar of California McNamara firm state bar compaint Luanne Rutherford and
     Christopher Allard.after stay lifted. EXHIBIT z. Ethics violations. Judges Eumi
27
     Lee and Keith Fong attempting to suppress and issue judgment of such fraudulent
28

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     billings on disabled senior citizen in effort to bankrupt plaintiff. Plaintiff filed the
1
     HG 18897381 case personal injury mental anguish suffering in housing crisis.
2    Plaintiff is on social security and retaliatory judges denial reasonable
3
     accommodations and attempt to make plainitff and her family disabled homeless.
     Predatory displacement.
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     McNamara law firm directing HOA members to harass evade service contributing to abuses of
13
     Mary Bernstein and Elizabeth Tigano Luanne Rutherford - directing John Gibson to file
14   restraining order HUD complaint filed for harassment August 2021 husband stroke emergency
     room Plaintiff destabilized August 23 2021 John Gibson driving over guns in vehicle right when
15   plaintiff pulled into carport parking right in front of unit #113 terrorizing - John Gibson had
     criminal felony charges for pulling gun on delivery driver in February 2021 on probation.
16
     Plaintiff was aware of gun ownership and violence. John Gibson taunting taking pictures of
17   Plaintiff terrorizing in front of unit. Plaintiff thought she was going to be shot and killed on the
     spot. 21 CR003653 People of the State of California v. John Gibson case number Alameda
18   County Superior Court. Judges Bumi Lee and Keith Fong aware of John Gibson case in
19
     Alameda County Superior Comt criminal matter.
     HUD matter counseling non client John Gibson below. Luanne Rutherford counseling members
20   of HOA for years abuses Mary Bernstein demonstrated in billings discussion strategies inciting
     harassment against disabled senior citizen and famiily.
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       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 74 of 801




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     john Gibson had been evading service of complaint for weeks - was called to Alameda County
     Sheriff to come and pick up
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23   d   .,
     Only one entry on billings redacted 2 25 2022 fabricated erroneous billings for entire case -
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     misrepresentations fabrications by both Luanne Rutherford and Christopher Allard for billing in
25   case abuse of discretion judges eumi lee and keith fong denial extensions attempt by Fong to
     thrwart filing of opposition to motion for attorney fees, reply costs memorandum and to make
26   decision ruling under submission without hearing corruption abuses of discretion abuse of
     disabled plaintiff and Plaintiff Witness Elizabeth Tigano court allowing abuses by defendants
27
     and defense counsel disparity treatment EXHIBIT J Declaration Mary Bernstein Support of
28   Motion to Strike Costs/Opposition to Motion Attorney Fees Declaration of Elizabeth Tigano in
                                                                                                       ~   77-

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     Support of Opposition to Motion for Attorney Fees/Reply Costs EXHIBIT K Notice of Motion
 1
     to Strike Costs Reply Motion to Strike Costs EXHIBIT Y
 2   SUPPLEMENTAL DECLARATION OF MARY BERNSTEIN IN SUPPORT OF MOTION TO
     STRIKE TAX COSTS OPPOSITION TO MOTION FOR ATTORNEY FEES AND
 3   OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA,
     MASSING HAM, MEADOW BROOK VILLAGE ASSOCIATION - FREMONT AND IN
 4
     SUPPORT OF REPLY IN SUPPORT OF MOTION TO STRIKE TAX COSTS
 5
     Fong, a fonner federal clerk attempting to prevent filing of opposition to motion for attorney fees
 6   . Plaintiff attempted to disqualify Judge Jacqueline Corley as relationship exists
     Fong and Judge Corley previous employment as well as Judge Corley appears to possess
 7
     prejudice to non represented, disabled plaintiffs. Exhibits J, K.
 8
     Each defendant's claim to attomey's fees must be considered separately. Plaintiffs complaint
 9

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     is a personal injury action stated under various legal theories in separate causes of action. Not all

11   apply to each defendant.
12
     According to Legal Match hosted at https://www.legalmatch.com/law-1ibrary/m1icle/equitable-
13
     servitudes.html Equitable Servitude is defined as:
14
           What Is an Equitable Servitude?
15
           Equitable servitude is a concept in property law that restricts the use of property in a
16         manner that benefits another property, and it is enforceable in equity. These
           restrictions, typically outlined in the form of contracts or agreements, are designed
17         to ensure that the property is used or developed in a way consistent with the
           interests and intentions of the parties involved.
18

19
     Equitable servitudes may apply to both residential and commercial properties, and they often
20
     address issues such as land use, building restrictions, and maintenance responsibilities.
21

22   None of the causes as to any defendants is an equity action to enforce the CC&Rs or

23   Association rules as "equitable servitudes," No relief by way of injunction or mm1date is
24
     requested as against any defendant. Section 5975 (c) was not intended to apply to personal injury
25
     actions. Consequently, the provisions for attorney's fees under Civil Code Section 5975 (c) do
26
     not apply. Defendat1ts' motion should be denied as to each defendant.
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     According to Legal Match hosted at https://www.legalmatch.com/law-library/article/equitable-
1

2    servitudes.html Equitable Servitude is defined as:

3          What Is an Equitable Servitude?
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4
           manner that benefits another property, and it is enforceable in equity. These
5          restrictions, typically outlined in the form of contracts or agreements, are designed
           to ensure that the property is used or developed in a way consistent with the
6          interests and intentions of the parties involved.
7

 8       I. What Are Some Examples of an Equitable Servitude?

 9   Some common examples of equitable servitudes include:
10
         2. Restrictions on building height or architectural style: A property owner may be
11
            required to maintain a certain building height or adhere to a specific architectural style to
12
             preserve the aesthetic value of a neighborhood.
13

14       3. Prohibitions on commercial use: In some residential communities, an equitable

15           servitude may prevent property owners from conducting commercial activities on their
16
             property to maintain the residential character of the area.
17
         4. Maintenance requirements: A property owner may be required to maintain ce1tain
18

19
             common areas, such as landscaping or shared facilities, as part of an equitable servitude

20           within a homeowners' association.
21       5. Environmental restrictions: An equitable servitude may restrict ce1tain activities, such
22
             as tree removal or alteration of natural features, to protect the environment or preserve
23
             the natural beauty of the area.
24

25
     Equitable servitudes are similar to real covenants in that both involve agreements that restrict the

26   use of property and run with the land, meaning they bind future owners of the property.
27
     Equitable Servitude
28

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     An equitable servitude is a restriction on property use that is enforceable in equity. This
1

 2   case does not involve any restriction on property use.
 3

 4
     Equitable servitudes may apply to both residential and commercial properties, and they often
 5

     address issues such as land use, building restrictions, and maintenance responsibilities. Plaintiff
 6

 7   did not breach any maintenance responsibilities for unit, no restrict any use by defendants.

 8   None of the causes as to any defendants is an equity action to enforce the CC&Rs or
 9
     Association rules as "equitable servitudes," No relief by way of injunction or mandate is
10
     requested as against any defendant. Section 5975 (c) was not intended to apply to personal
11

12
     injury actions. Consequently, the provisions for attorney's fees under Civil Code Section 5975

13   (c) do not apply. Defendants' motion should be denied as to each defendant.
14

15
     Defendants in case HG18897381 fraudulent billings submitted, costs without invoices as
     well as the case not involving eguitiable servitude for reimbursement of attorney fees.
16   EXHIBIT E Exhibits J, K.
     Christopher Allard McNamara Invoices Motion for Attorneys fees attesting for Luanne
17
     Rutherford Declaration perjurous
18

19   Fraudulent entries
20
     "Once is a coincidence and twice is a pattern"
21   Once An Accident. Twice A Coincidence. Three Times A
22   Pattern
23

24       •   5 20 2022 email agreement farmers to waive attorneys fees and costs invoice
             entry #522
25       •   McNamara attempted to get paid twice duplicate billing has been paid by
26
             farmers.

27       •   No protective order filed on 11 5 2020 #128 for attorney to review
28

                                                     • 80-

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          •   No lengthy hearing travel time attending hearing 11 9 2020 #131 for 4,9 hours -
1
              no commute time as covid remote blue jean hearings
 2
          •   Plaintiffs limited scope attorneys will testify that no such telephone conference
 3            ever occurred between Lloyd Winter and Luanne
 4
          •   Rutherford or Christopher Allard which Christopher Allard attests to that all of
              these entries are true invoices and billing entries.
 5
          •   #296 no third motion for recusal ever filed 9 13 2021
 6

 7        •   #304 no telephone call occurred 9 28 201 for 1.2 hours with my limited scope
              attorneys they will testify
 8
     Multiple cases all intertwined with this HG18897381 judgment over reach
 9

10

11
          I. PLAINTIFF'S ACTION IS NOT AN ACTION "TO ENFORCE" AN
               "EQUITABLE SERVITUDE," AND THEREFORE NO ATTORNEY'S FEES
12             ARE A WARDABLE UNDER CC SECTION 5975 (c)

13    Plaintiffs action for personal injury damages, based in part on CC&Rs as contractual
14
      obligations," is not the equivalent of an action in equity "to enforce" the CC&Rs as "equitable
15
      servitudes." The fonner is an action at law, the latter an action in equity." 17
16

17   Civil Code Section 5975 (c) limits "prevailing party" attorney fees to "any action specified in

18   subdivision (a) to enforce the governing documents." Subdivision (a) specifies that CC&Rs are
19
     "enforceable equitable servitudes."
20
     Plaintiff's preliminary complaint did not seek enforcement in equity. Plaintiff sought monetary,
21
     compensatory, general, restitution and punitive damages for personal injury in prayer for relief.
22

23
     17  As stated repeatedly throughout this litigation in plaintiff's memoranda, CC&Rs may be
24   interpreted as contracts. See Frances T. v. Village Green Owners Assoc. (1986) 42 Cal.3d 490, $12-513, 229 CR 456,469
         ["Here, plaintiff's contract with defendants consists of the CCER.s and the bylaws contained in the grant deed for plaintitrs
25       condominimn.'1, Diamond Bar Develop. Corp. v. Superior Court (1976) 60 CA3d 330, 333~334, 131 CR 458, 460.
     "Plaintiffs reference to CC&Rs as "equitable servitudes" in memoranda during this litigation is descriptive of one aspect of
         CC&Rs. Plaintiff also described the CC&Rs as contractual. These descriptive references do not turn this injury case at law
26
         into an equity action.
     Not every case referencing CC&Rs is an action "to enforce an equitable servitude." Frances T. v. Village Green Owners Assoc.
27       (1986) 42 CalJd 490, 513, 229 CR 456, was a personal injury case for a criminal attack in plaintiffs unit. It was not an
         action to "enforce" an equitable servitude.
28

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     Plaintiff is a non attorney and cobbled together preliminary complaint to the best of her ability as
1

2    a disabled and traumatized person personal injury. Exhibit H. Plaintiff retained limited scope

3    attorneys to assist with opposition to motion for summary judgment. Despite limited scope
4
     attorneys focusing on motion for summary judgment opposition only and Plaintiff on medical
5
     leave, both were admonished and lost. Plaintiff was admonished for the late filing and
 6
     appearance despite Judge Eumi Lee aware and reluctantly providing medical leave. Transcript
7

 8   Vescos pages withheld wherein Eumi Lee advised Plaintiff in front of Plaintiff Elizabeth Tigano

 9   that Plaintiff was not to work on things during medical leave. This type of double talk,
10
     headgames were standard before this jurist along with grimaces, smirking. The judge then
11
     rebuked limited scope attorneys for not doing full representative tasks as well as ill Plaintiff on
12
     leave for not conducting depositions and other discovery prior to the summaty judgment hearing.
13

14   Exhibit N. EXHIBIT R. During Vesco hearing Judge Eumi Lee knew plaintiff intended to file

15   amended complaint and stated during Vesco hearing April 22 2022 that she intended to allow
16
     Plaintiff to file amended complaint. Eumi Lee knew the intention of Plaintiff in CMC Statement
17
     as well as during Vesco hearing that Plaintiff would be amending complaint. Defendants had
18

19
     filed multiple demurrers and motions to strike. "Enforcement" requires an injunction or mandate.

20   No injunction or mandate was sought by plaintiff. As stated by Witkin: *]. [Sec.493] Nature and
21
     Effect of Equitable Servitude."
22
     "[E]quity will sometimes enforce the obligation against the successors of the covenantor, by an
23
     injunction against breach. The burden of the covenant thus becomes an 'equitable easement' or
24

25

26

27

28

                                                     - 82-

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     servitude in the land of the covenantor." 4 Wilkin, Summary of Law (9" ed. 1990), Real
1

2    Property, Sec. 493 p. 670." 18

3    Wilkin cites Nahrstedt v. Lakeside Village Condominium Association (1994) 8 C.4th 361,
 4
     33 CR2d 63, Nahrstedt states in pertinent part:
 5
     "Under the law of equitable servitudes, courts may enforce a promise about the use of/and
 6
     even though the person who made the promise has transferred the land to another, [Citation.] The
 7

 8   underlying idea is that a landowner's promise to refrain from particular conduct pertaining to

 9   land creates in the beneficiary of that promise an 'equitable interest in the land of the promisor.'
10
     [Citations] a grantee or purchaser with notice that the premises are bound by a covenant "'will be
11
     restrained from violating it." The doctrine is useful chiefly to enforce uniform building
12

13
     restrictions under a general plan for an entire tract of land or for a subdivision." (Emphasis

14   added.) 8 Cal 4th at 379, 33 CR2d at 73."
15   Plaintiff retained limited scope attorney Kevin Horan to assist with preliminary injunction and
16
     complaint. Exhibit W. This attorney was not to be practicing law unbeknownst to Plaintiff,
17
     California State Bar victims compensation fund, Plaintiff, a consumer and handicapped
18

19   vulnerable was victimized by member of the bar Kevin Horan, A smalls claim trial held Plaintif

20   awarded retainer; State Bar disciplinary Kevin Horan no longer practice law. Exhibit X. Kevin
21
     Horan nursing home.
22
     Plaintiff sought relief from collection of emergency lump sum payment levied at her due within
23
     matter of weeks $33,262.00 and threatened unknown future "emergency assessments, special
24

25
     18   "Although an ittjunction is defined by statute (C.C.P. 525, supra, Sec. 280) as a writ or order prohibiting, rather than
          compelling action, it has long been settled that a court with equitable jurisdiction may grant a mandatory injunction." 6
26        Witkin, Procedure (4" ed. 1997), Sec, 282, p. 225. "An injunction is an order or decree of a court either preventing
          (prohibitory injunction) or compelling (mmtdatory injunction) an act." 6 Witkin, Procedure (4" ed, 1997), Sec. 276 p. 219.
27
     19   *See e.g., Cabrini Villas Homeowners Association v. Haghverdian (2003) 111 Cal. App.4th 683, 4 CR 3d 192 (granted
28        injunction ordering removal of air conditioner).

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     assessments" based on fraud malfeasance, misfeasance. Plaintiff did not seek any equity orders
1

2    of enforcement referenced in governing documents and 2) monetaiy damages for the harassment,

3    mental anguish and restitution damages denial of rights of pool. Plaintiff is not an attorney and
 4
     cannot be faulted as a disabled person with communication disabilities for language legal jargon
 5
     and lack of assistance by limited scope attorney mentally unfit. There is no mention of pool in
 6
     governing documents in CC&Rs or Bylaws. Plaintiff sought reasonable accommodations which
 7

 8   is a matter oflaw Civil Code sections 51 and 54. Examples of such enforcement orders would

 9   include, without limitation: (I) removal of the HOA Board President from the Board, (2)
10
     ordering the association to perform some specific maintenance. Plaintiff sought prevention of
11
     collection of an illegal emergency special assessment that was voted against by majority of
12

13
     members, reasonable accommodations and monetary damages for personal injury.

14   Reported cases regarding attorney's fees under Section 5975 (c) or known as Section 1354 (t) ar

15   all equity actions seeking injunctive relief or mandate relating to the Association's governing
16
     documents. They concern such matters as the type and size of fences, the type and color of
17
                                                                                                                                     21
     exterior siding, and voting rights. 20 They are not personal injury cases for monetary damages.
18

19   They are not reasonable accommodation denials.

20
     20 See Rancho Santa Fe Ass'n v. Dolan~King (2004) 8 Cal.Rptr.3d 614, 115 Cal.App. 4% 28, rehearing denied, review filed [to
21       enforce covenant as applied to fences], Parrott v. Mooring Townhomes Ass'n, Inc., (2003) 6 Cal.Rptr.3d I 16, 112 Cal. App.
         4" 873, review denied [to enforce covenant as applied to exterior siding], Kaplan v. Fairway Oaks Homeowners Ass'n
22   (2002) 120 Cal Rptr.2d 158, 98 Cal.App. 4" 715, as modified ["to enforce the member's proxy and cumulative voting rights unde
         the bylaws" (98 CA4th at 720)], review denied, Heather Farms Homeowners Assn. vy. Rohinson ( 1994) 26 Cal Rptr.2d 758,
23       21 Cal. App.4TM 1568, rehearing denied, review denied (to enforce rules relating to modifications to units).

24   21 See Frances T. v. Village Green Owners Assoc. (1986) 42 Ca!Jd 490,513,229 CR 456,469 (Personal injury case with
         reference to CC&Rs) and White v. Cox (1971) 17 CA3d 824, 95 CR 259 (Personal injury case with reference to association's
25       duty to maintain common areas under the condominium plait The plan is noted to be an equitable servitude), 17 CA3d 828-
     829, 95 CR 259, 261-262). [T]he Association is, for all practical purposes, the Project's "landlord." And traditional tort principles
         impose on landlords, no less than on homeowner associations that function as a landlord in maintaining the common areas of
26
         a large condominium complex, a duty to exercise due care for the residents' safety in those areas under their control. *** As
         concluded above, the Association and the Project's residents also stand in a common law relationship, similar to that of
27       landlord and tenant, that requires the landlord to exercise reasonable care in protecting tenants from criminal activity.*** 9.
         the Association owed a duty to plaintiff to protect her from the foreseeable criminal acts of others. (Frances T. v. Village
28       Green.) Foreseeable Acts. Even when there is a special relationship between the parties, a duty to take affirmative action to

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 1
        control the wrongful acts of a third party will be imposed where such conduct can he reasonably anticipated. The scope of the
        duty is determined in part by balancing the foreseeability of the ham1 against the burden of the duty to be imposed. In
2
        circumstances where the burden of preventing future harm is great, greater foreseeability is required; where the burden is
        relatively low, a lesser degree of foreseeability may be required. (Wentworth v. Sierra North Village HOA; internal cites and
3       quotes deleted.) Landlords also have a duty to protect tenants from both non-tenants and other tenants where the vulnerable
        tenant has obtained a restraining order or has a copy of a police report stating that they are the victim of domestic violence,
 4      sexual assault, or stalking. CAL. CIV. CODE§§ 1941.5 - 1941.6. In California a landlord is required to provide a safe living
        environment for the tenants and the law has been established under the California Civil Code. The failure ofa landlord to
 5      provide such conditions can lead to violation of the law and impose civil and, at times, even criminal liability upon the
        landlord.
 6   Abba Father
     God the Father, God the Son and God the Holy Spirit
     Amos main point: God is going to punish the northern Jewish nation of Israel for a long list of sins - especially for exploiting the
 7
     poor and selling justice to the highest-bidding briber. Amos 2:6-7

 8   6 Thus saith the LORD; For three transgressions of Israel, and for four, I will not tum away the punishment thereof; because they
     sold the righteous for silver, and the poor for a pair of shoes;
 9   7 That pant after the dust of the earth on the head of the poor, and h1rn aside the way of the meek: and a man and his father will
     go in unto the same maid, to profane my holy name:
10   Revelation 9
     King James Version
11   9 And the fifth angel sounded, and I saw a star fall from heaven unto the earth: and to him was given the key of the bottomless
     pit.
12
     2 And he opened the bottomless pit; and there arose a smoke out of the pit, as the smoke of a great furnace; and the sun and the
     air were darkened by reason of the smoke of the pit.
13
     3 And there came out of the smoke locusts upon the earth: and unto them was given power, as the scorpions of the earth have
14   power.

15   4 And it was commanded them that they should not hurt the grass of the earth, neither any green thing, neither any tree; but only
     those men which have not the seal of God in their foreheads.
16
     5 And to them it was given that they should not kill them, but that they should be tormented five months: and their torment was
     as the torment ofa scorpion, when he striketh a man.
17
     6 And in those days shall men seek death, and shall not find it; and shall desire to die, and death shall flee from them.
18
     7 And the shapes of the locusts were like unto horses prepared unto battle; and on their heads were as it were crowns like gold,
19   and their faces were as the faces of men.

20   8 And they had hair as the hair of women, and their teeth were as the teeth oflions.

     9 And they had breastplates, as it were breastplates of iron; and the sound of their wings was as the sound of chariots of many
21
     horses running to battle.
22
     10 And they had tails like unto scorpions, and there were stings in their tails: and their power was to hurt men five months.

23   11 And they had a king over them, which is the angel of the bottomless pit, whose name in the Hebrew tongue is Abaddon, but in
     the Greek tongue hath bis name Apollyon.
24
     12 One woe is past; and, behold, there come two woes more hereafter.
25
     13 And the sixth angel sounded, and I heard a voice from the four horns of the golden altar which is before God,
26
     14 Saying to the sixth angel which had the trumpet, Loose the four angels which are bound in the great river Euphrates.
27   15 And the four angels were loosed, which were prepared for an hour, and a day, and a month, and a year, for to slay the third
     part of men.
28

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     No case awarding attorney fees under Section 5975 (a) or known as Section 1354 previously has
1

2    been an action for personal injury damages. Such a case is not an "action specified in subdivision

3    (a)" of Section 5975, Personal injury cases are nowhere mentioned.
4
     Defendants seek a broad expansion of Section 5975 (c) that has no precedent. Section 5975
 5
     (c), by its reference only to actions specified in subdivision (a), is not global authority to award
 6
     fees in all cases that may involve interpretation of CC&Rs.
 7

 8   This case is not concluded, additional individual defendants remain which were agents of the

 9   Defendants. The individual defendants must be treated separately in analyzing their statutory
10
     claims to attorney's fees, although they are represented by the same law firm. Not all causes of
11
     action relate to all three defendants. They do not stand in the same shoes. The property
12

13
     management firms do not have governing documents Plaintiff. Individual defendants have

14   variable causes primarily related to personal injury.
15
     II. REDUCTION OF ATIORNEY'S FEES BY APPORTIONMENT
16
     There are individual defendants that served on the HOA Board and individual non-board
17
     members in this matter. Assuming arguendo that the court finds that one or all three defendants
18

19   are entitled to attorney's fees, there remain issues of apportionment:

20

     16 And the number of the army of the horsemen were two hundred thousand thousand: and I heard the number of them.
21
     l 7 And thus I saw the horses in the vision, and them that sat on them, having breastplates of fire, and of jacinth, and brimstone:
22   and the heads of the horses were as the heads oflions; and out of their mouths issued fire and smoke and brimstone.

23   18 By these three was the third part of men killed, by the fire, and by the smoke, and by the brimstone, which issued out of their
     mouths.
24
     19 For their power is in their mouth, and in their tails: for their tails were like unto serpents, and had heads, and with them they
25   do hurt.

     20 And the rest of the men which were not killed by these plagues yet repented not of the works of their hands, that they should
26
     not worship devils, and idols of gold, and silver, and brass, and stone, and of wood: which neither can see, nor hear, nor walk:

27   21 Neither repented they of their murders, nor of their sorceries, nor of their fornication, nor of their thefts.

28

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     1. If only one corporate defendant is entitled to an attorney's fees award, then the fees claimed by
1

2    defense counsel, who represented the three corporate defendants jointly, must be apportioned

3    between the defendants. Counsel cannot recover attorney's fees for that portion of the work,
 4
     pertaining to the defendant who is not entitled to a fee award. Likewise, counsel
 5
     representing individual HOA members in this action is not entitled to a fee award. Many
 6
     entries in the invoices submitted are not applicable to this HG18897381 matter in which
 7

 8   judgment. Further, some actions involved Plaintiff sister that is not a homeowner and not

 9   a party to this action. Plaintiff's sister has had and has separate actions against
10
     defendants. The billing time is applicable to agency matters HUD, Attorney General,
11
     California Department of Fair Housing, individual restraining orders etc. This judgment,
12

13
     matter did uot encompass every matter for the past several years. The award if any would

14   be applicable only to this action.
15   For example, if only Meadow Brook Association is entitled to attorney's fees, and 33% of the
16
     work was on behalf of Associa and 33% on behalf of Massigham, then the fee claim must be
17
     reduced by 66%. No contract existed or CCRm between Associa Northern California,
18

19   Massigham or individual HOA community defendants and Plaintiff. Therefore, fee award

20   equitiable services not applicable to these parties. If the work was on behalf of individual
21
     defendants, the fee claim must be even further. For example, non represented John Gibson an
22
     individual defendant and others. Many billing entries redacted; if defendants make the argument
23
     for fees, defendants are required to avail this redacted billing entries for Plaintiff to address. 2. If
24

25   the court finds that attommey's fees are awardable under some, but not all, of the causes of

26   action, then the work must be apportioned and the fees reduced accordingly.
27
     Defendants have failed to provide any information regarding apportionment in their moving
28

                                                      - 87 ~

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 1
     papers. Without such apportionment, the fees on their face are excessive and

 2
     the request must be denied.
 3
     Defendants claim that was a flat fee until October 2022 and then now on an hourly fee. 22 It is
 4
     clear that billing entries were recreated as Plaintiff will show in oral argument phantom dates and
 5


 6   work that was clearly never done. In addition, Plaintiff's limited scope attorneys will testify that

 7   no such telephone conference ever occurred between Lloyd Winter and Luanne
 8
     Rutherford or Christopher Allard which Christopher Allard attests to that all of these entries are
 9
     true invoices and billing entries. A state bar complaint is being filed against Luanne Rutherford
10

11
     and Christopher Allard for fraud. EXHIBIT Z.

12   ~iJ 0                                                                                                                                     • - ~ ' "j/•~_CQ':''.>IJ.t                       -      a.   ·:x
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24
     "Once is a coincidence and twice is a pattern"
25

26
     22     Defendants were initially represented by in-house counsel Robert Maltz, Esq. of Hartsuyker, Stratman, Williams-Abrego. In
            December 2018, Luanne Rutherford, Esq. of McNamara, Ambacher, Wheeler, Hirsig & Gray substituted in as counsel of
27
            record. In July 2022, Christopher B. Allard of McNamara, Ambacher, Wheeler, Hirsig & Gray took over as counsel of record
            for defendants. In October 2022, this matter was converted from a flat fee case to an hourly case. [Allard Deel., i!7] MPA pg.
28          8, ~2.

                                                                                                        - BB-

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1
     Once An Accident. Twice A Coincidence, Three Times A
2
     Pattern
3        •    5 20 2022 email agreement farmers to waive attorneys fees and costs invoice entry #522
         •    McNamara attempted to get paid twice duplicate billing has been paid by farmers.
4

5
         •    No protective order filed on 11 5 2020 #128 for attorney to review

 6       •    No lengthy hearing travel time attending hearing 11 9 2020 #131 for 4.9 hours - no
              commute time as covid remote blue jean hearings
7

 8       •    Plaintiff's limited scope attorneys will testify that no such telephone conference ever
              occurred between Lloyd Winter and Luanne
 9       •    Rutherford or Christopher Allard which Christopher Allard attests to that all of these
              entries are true invoices and billing entries.
10

11       •    #296 no third motion for recusal ever filed 9 13 2021
12
         •    #304 no telephone call occurred 9 28 201 for 1.2 hours with my limited scope attorneys
13            they will testify

14   Multiple cases all intertwined with this HGI 8897381 judgment over reach

15   In this case, defendants Massignahm, Associa Nmthern California, individual HOA community

16   defendants and defendant Meadow Brook Association were all and are still all represented by the
17
     same attorneys. The demurrers and the summary judgment motion filed on their behalf were
18
     joint documents. All costs incurred, other than the filing fees for the answers, were jointly
19

20
     incurred. Deposition attorney time and costs were incurred jointly. Court appearance fees were

21   incurred jointly. Legal research and drafting time was incurred jointly.
22
     On its face, then, not all of the attorney time, and therefore fees, can be claimed to have heen
23
     incurred on behalf of one or the other.
24
     These issues are similar to those in Cassim v. Allstate Ins. Co, (2004) 33 Cal.4th 780, 16
25

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     CR2d 374, considering apportionment of attorneys fees between a contract cause of action and a
 1

 2   tort cause of action. The plaintiff was entitled only to fees incurred in the contract matter. As

 3   stated in Cassim:
 4
     "The fees recoverable, however, may not exceed the amount attributable ta
 5   the attorney's efforts to obtain the rejected payment due on the insurance contract.
     Fees attributable to obtaining any portion of the plaintiffs award which exceeds the
 6   amount due under the policy are not recoverable."" 33 Cal.4th at 807, 16 CR3d at 393,
 7
     quoting from Brandt v. Superior Court (1985) 37 Cal.3d 813 at 819, 210 CR 211.
     "To detennine the percentage of the legal fees attributable to the contract
 8   recovery, the trial court should determine the total number of hours an attorney spent
     on the case and then determine how many hours were spent working exclusively on
 9   the contract recovery. Hours spent working on issues jointly related to both the tort
10
     and contract should be apportioned, with some hours assigned to the contract and
     some to the tort." 33 Cal.4th at 812,16 CR3d at 397.
11
     The patty who claims the attorney's fees has the burden of proof on apportionment when fees
12

13   have been incurred jointly with one not entitled to fees. See Cassim, supra, 33 Cal.4th at

14   813,16 CR3d at 398 0.16. See also Fennessy v. DeLeww-Cather Corp. 218 CA3d 1192, 1196,
15
     267 CR 772, 774:
16
     {"(Tjt was undisnnted that all defendants were represented by the same counsel, who
17
     took depositions and performed other tasks that benefitted all defendants. Once
18

19   [plaintiff] questioned [defendant's] entitlement to costs incurred by the six

20   defendants nothing more needed to be or could have been added by additional
21
     declarations or affidavits [from plaintiff]." 218 CA3d at 1196, 267 CR at 774)
22
     Ill. REDUCTION OF FEES BECAUSE OF DUPLICATIVE WORK BY ATTORNEYS
23   NOT OF RECORD
24

25   As stated in Mix v. Tumanjan Development Corp. (2002) 102 CA 4" 1318, 1324, 126 CR2d

26   267,272:
27
     "Tt is not unusual for a litigai1t to be represented by more that1 one attorney.
28

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     For example, a litigant may be represented by both privately retained counsel and in house
 1

 2   counsel. [Cases cited.] In those cases, a litigant entitled to an attorney fee

 3   award may recover attorney fees for both private counsel and in-house counsel,
 4
     provided the legal services are not unnecessarily duplicative." (Emphasis added).
 5
     Only reasonable attorneys' fees are awardable. The fees requested here are unreasonable,
 6

 7
     and duplicative, for the reasons set forth below.

 8   The firms ofHartsuyker, Stratman & Williams-Abrego now Law Offices of Scott C Stratman

 9   and McNamara, Ney, Beatty, Slattery, Borges & Ambacher LLP now McNamara, Ambacher,
10
     Wheeler, et al. have been paid already by Farmers Insurance under insurance policy insurance
11
     defense and now seek double billing, duplicative payment of legal services. Christopher Bernard
12

13
     Allard #264842, Robert Mark Maltz #143078 and Luanne Rutherford #153336 firms seek

14   further enrichment in an attempt to predatorily displace and bankrupt disabled plaintiff. In
15
     addition, Meadow Brook HOA has attempted to block, thwart any attempts to refinance to pay
16
     amounts by holding up, refusing to provide documentation to lenders in dispute during the
17
     summer of 2024 to insure displacement and homelessness of a disabled family.
18

19   Robert Malz initially the attorney and then Luanne Rutherford added. An invoice memorandum

20   of costs Anderw Elliott Andrew Spencer Elliott #254757 for preparation reference for third
21
     party attorney Severson listed not even with either law firm demonstrating attempt to throw each
22
     and every billing and stick to this matter. On its face it seems an unreasonable that defenddants
23
     attempt to impose unrelated costs and bills for this personal injury case." 23
24

25

26

27   23   There is only one plaintiff. There were 3 depositions no meadow brook hoa depositions and defense counsel

28        refused to provide for depositions despite all of the third parties served with subpoenas. The Court did not

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     The summary judgment motion was prepared by Luanne Rutherford. Christopher Allard did not
 1

 2   work on the motion for summary judgment at all. The unfortunate

 3   part of him coming into the case so "late in the game" is that, unlike defense counsel Mr. Allard
 4
     is in no position to attest to what fees and costs were incurred as he has had no familiarity with
 5
     the facts, the legal issues, the depositions, the interrogatories, and the demutters. Therefore,
 6

 7
     recreating the billings and attesting to their authenticity a declaration on behalf of another

 8   attorney that is no longer with the firm is fraudulent, misrepresenting and deceitfol.

 9   Had Mr. Allard prepared the motions, appeared at court hearings, he would be in a position to
10
     attest to the time and preparation. A declaration is a statement under oath to the truth. The court
11
     will note that the demurrers prepared by Luanne Rutherford contain most, if not all, of the same
12

13
     arguments and case law ultimately finding their way into the summary judgment motion

14   prepared by Luanne Rutherford boilerplate changing names only billings.
15
     There has been considerable duplicative work for the defense. The law is clear that attorney's
16
     fees are not awardable for duplicative work or unnecessary work; that only reasonable fees are
17
     recoverable.
18

19   IV. DISCRETION TO DETERMINE NO PREVAILING PARTY FOR PURPOSES OF
     ATTORNEY'S FEE AWARD.
20

21
     Fair Housing Rights. People do not elect to purchase a property in an HOA with varying
22
     terms and conditions. no tenancy rights. no protection. This would be enslavement and
23
     bondage. To be subjected to abuses. denial of accommodations, outrageous assessments
24

25

26     enforce subpoena deposition compliance. None of the depositions were referenced in Defendants motion for

27     summary judgment.

28

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     VERIFIED COMPLAINT
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     imposed at whim, intimidation, dominination and manipulation, abuses, exploitation, social
1

2    isolation and alienation

3    Finally, the court has discretion in equity to detennine that for purposes of attorney's fees
4
     there is no "prevailing party." As stated in Kytasty v, Godwin (1980) 102 CA3d 762, 162 CR
5
     556:
 6
     "The judgment as well as this opinion must be considered good news and bad news to each
7

 8   of the parties, and in good conscience we cannot say attorneys' fees should be awarded to either

 9   for the trial or for this appeal." 102 CA3d at 774, 162 CR at 563.
10
     In this case, if one considers the actual impact of this court's ruling to the individual
11
     homeowners of the complex, rather than the insurance carrier, the decision surely is mixed. It
12
     may actually be viewed as detrimental to the Homeowners' Association in the long run.
13

14   The end result of the court's decision, urged upon the court by insurance defense counsel,

15   is that the homeowners have less protection from tenant's acts and omissions than otherwise
16
     would be the case. A landlord homeowner (absentee who rents out his unit) is not liable for his
17
     tenants acts or omissions in the common areas, despite the language of the CC&Rs stating that
18

19
     the homeowter shall be "fully responsible" for the acts or omissions of his tenant in the common

20   areas.
21   There appears to be a conflict of interest between defendants Associa, Massingham individual
22
     defendants HOA community and the Meadow Brook Homeowners' Association. If defendants
23
     Associa, Massignham, individual hoa community defendants and the Meadow m
24

25   Brook Homeowner's Association were not insured by the same

26   earlier and were not represented by the same defense counsel, one may reasonably conclude their
27
      positions would have been different.
28

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     The Meadow Brook Homeowner's Association would likely have cross-complained against
 1

 2   Associa, Massingham concerning issues pointing fingers. Likewise individual defendants in the

 3   community so harassing Plaintiff had to obtain restraining orders and file complaintis with HUD,
 4
     Cal Dfeh. Meadow Brook for instance was so unhappy with Associa that it retained a different
 5
     property manager, Common Interest just prior to the filing of this Complaint. On another note,
 6

 7
     one would believe that a homeowners association in a different scenario other than Meadow

 8   Broook whould have sided with a disabled plaintiff and her family on the argument that for

 9   instance John Gibson, Mona Oliver and others liable. There is no logical reason that the
10
     Association would want to permit Mona Oliver or any other homeowner to have irresponsible
11
     tenants, who are irresponsible and engage in violence and harassing conduct of the disabled. The
12

13
     only reason the argument was made by insurance defense counsel is that it benefits the insurance

14   carrier in this particular case.
15
     On the basis of the foregoing, this comt may exercise its discretion and determine that there
16
     is both "good news" and "bad news" to each of the actual parties in the case (not the carrier) and,
17
     on that basis, find in the court's discretion that for the purposes of an award of attorneys'
18

19   fees, thereis no "prevailing pa1-ty." Aytasty v. Godwin (1980) 102 CA3d 762, 162 CR 556.

20

21
     There is a second amended complaint Exhibit F that is operative with multiple additional
22
     defendants. During this matter mcnamara firm has represented non board members, board
23
     members and lumped all in together as well as with multiple separate cases agencies and court.
24

25   Judge Eumi Lee directed Plaintiff to file amended complaint with all causes of action, all

26   defendants in Order. Eumi Lee directed Plaintiff to retain all causes of action in preparation of
27

28

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     amended complaint prior to the filing of amended complaint and prior to the motion for
1

2    summary judgment hearing.

3    If one is going to base this motion for attorney fees based on an erroneous prelimina1y complaint

     for personal injury as stated in cover sheet below filed in 2018 with an attorney that has been
5
     disbarred limited scope reliance and a handicapped senior citizen, then that would be erroneous.
 6

7

 8   Defendants in case HG18897381 fraudulent billings submitted, costs without invoices as
     well as the case not involving eguitiable servitude for reimbursement of attorney fees.
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20

21
     Once Luanne Rutherford no longer with finn none of the "redacted" entries any longer
22
     demonstration John Gibson advisory harassment and others in case which will be proven at trial
23   and in federal case which judges have allowed

24

25
     MEMORANDUM OF COSTS

26   Davis Sterling HOA not created for this type of abuses with no
27
     recourse, no representation abuses violations of disabled
28

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 1   Discrimination refusal to allow morning CMC
 2   This Court vacated CMC scheduled for 9 17 2024 at the request of Defendants with no fonnal
 3   motion. Plaintiff has been on medical leave and only returning to court. This type of behavior has

 4   been exhibited constantly by court bias, prejudice. Exhibit B.

 5


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     Mere suggestions no motions filed by Defendants the Court consistently does the bidding,
17
     suggestion with whispers of motions filed no case law, no argument but merely typed statements in
18
     Case Management Conferences or orally, letters to judges as well
19
     Eumi Lee mere suggestion no fonnal motion to strike need be filed. Eumi Lee stated that the Court
20
     did not read the First Amended Complaint, Exhibit G however took face value from defendants
21   statement and struck complaint requiring Plaintiff to file yet another amended complaint See case
22   management statement by defendants invoices demonstrate the instruction of defense counsel
23   defendants to evade service
24

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25   This is not practicing law - the most recent accommodation of defendants is by Keith Fong
26   department 517 vacating the 9 17 2024.

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25   Plaintiff had requested morning court appearance. Exhibit B from Dept 517 states that CMC are

26   held on Friday mornings. This email from Dept 517 clearly states that CMC held Friday mornings.
     This is clear discrimination to not allow plaintiff this reasonable accommodation. Plaintiff has had
27
     morning hearings the enteire time due to medical issues.
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     VERIFIED COMPLAINT
         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 99 of 801




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13
     Alameda Court vacated settlement conference scheduled for 11 6 2024 moved to 12 10 2024
14
     attempts by this Court to prevent Plaintiff from trial in this matter
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18                                                          COUNTY OF ALAMEDA
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                                                     NOTICE OF CASE RESCHEOUUNG OR RELOCATION
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          "'
27   Plaintiff has had to spend time that could be trial preparation on a fraudulent motion for attorney
28   fees and costs that this court attempted
                                                                                               - 99-

     VERlFIED COMPLAINT
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 100 of 801




     to simply rubber stamp through. This Comt attempted to block filing of opposition filing stating no
 1
     motions documents to be filed bankrupting plaintiff until CMC held. Court order 1 31 2024
 2
     however defendants have filed documents.
 3
     EXHIBIT I
 4
     Item#!
 5
     Filing Filing Fee Pay To Invoice#
 6
     Filing - Answer to Complaint; Notice of
 7
     Asociation
 8   $616.71 PACIFIC COAST LEGAL 483470
 9   GC 7061 I, 70602.5, 70602.6 $ 435*
10   Filing - Sub of atty $30.00 PACIFIC COAST LEGAL

11   SERVICES, INC 484508

12   Filing - Motion to Quash $541.75 PACIFIC COAST LEGAL

13
     SERVICES, INC 48626 I
     Filing - notice to set aside default $120.58 PACIFIC COAST LEGAL
14
     SERVICES, INC 488077
15
     Filing - opp, dee $84.72 PACIFIC COAST LEGAL
16
     SERVICES, INC 490401
17
     Filing - Supp dee to P's mnotion to compel $75.00 PACIFIC COAST LEGAL
18
     SERVICES, INC 490473
19
     Filing - Disassoc of atty $45.00 PACIFIC COAST LEGAL
20
     SERVICES, INC 504337
21   Filing - Notice of entty of judgment $47.70 PACIFIC COAST LEGAL
22   SERVICES, INC 514354
23   Filing - D's opp to P's M leave to amend the
24   complaint $47.70 PACIFIC COAST LEGAL 517216

25   Filing - Reply x2 $37.33 FIRST LEGAL NETWORK LLC 20173044/7757157

26
     Filing - oppostion to Motion to Stay Case $58.33 FIRST LEGAL NETWORK LLC 10410123
     Filing- Motion for Summary Judgement $424.03 FIRST LEGAL NETWORK LLC 10422345
27
     Filing-Opp to Protective Order $35.00 FIRST LEGAL NETWORK LLC 10426015
28

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     VERIFIED COMPLAINT
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 101 of 801




 1
     Filing - Advance Fees $1,476.98 FIRST LEGAL NETWORK LLC 10434779
     Filing - Motion to Strike $125.82 FIRST LEGAL NETWORK LLC 10434781
 2
     Filing -Advance fees $666.99 FIRST LEGAL NETWORK LLC 10434782
 3
     Filing - 10 Docs $361.38 FIRST LEGAL NETWORK LLC 10447372
 4
     Filing - Motion to Strike - Fees Advanced $467.00 FIRST LEGAL NETWORK LLC 10450811
 5
     Filing - Fees Advanced -
 6
     MSA/DEC/PO/POS/MPA $1,377.15 FIRST LEGAL NETWORK LLC 10450809
 7
     Filing - Objection to Plaintiffs request $32.95 FIRST LEGAL NETWORK LLC 10450813
 8
     Filing - Dec of Lunanne Rutherford $909.95 FIRST LEGAL NETWORK LLC I 0454760
 9   Filing- D's Notice ofNonopposition $32.95 FIRST LEGAL NETWORK LLC 10454761
10   EXHIBIT 1
11   Item#]

12   Filing- D's Notice ofNonopposition $32.95 FIRST LEGAL NETWORK LLC 10454762

13   Filing MSJ reply brief$123.50 FIRST LEGAL NETWORK LLC 10458470

14
     Filing - electronic submission $39.95 FIRST LEGAL NETWORK LLC 10458469
     Filing - Fees Advanced - Memorandum of
15
     Points and Authorities $986. 15 FIRST LEGAL NETWORK LLC I 0466546
16
     Filing - Oppostion to Disqualify Judge $63.14 FIRST LEGAL NETWORK LLC I 04 I 8066
17
     Filing - Demurrer with MTS $6.75 FIRST LEGAL NETWORK LLC 10477851
18
     Filing - oppostion $40.45 FIRST LEGAL NETWORK LLC 10477852
19
     Filing - D's Notice ofNonopposition $40.45 FIRST LEGAL NETWORK LLC 10477850
20
     Filing - Case management statement $40.45 FIRST LEGAL NETWORK LLC 10482670
21
     Filing- MTS - Fees advanced $540.65 FIRST LEGAL NETWORK LLC 10482658
22   Filing - D's Notice ofNonopposition $31.95 FIRST LEGAL NETWORK LLC 10487787
23   Filing - Notice of Change of Firm Name $23.20 FIRST LEGAL NETWORK LLC 10487799
24   Filing - D's Notice ofNonopposition $40.45 FIRST LEGAL NETWORK LLC 10487793

25   Filing - Case management statement $40.45 FIRST LEGAL NETWORK LLC 10493027

26   Filing - Demurrer with MTS - Fees Advanced $165.65 FIRST LEGAL NETWORK LLC

27
     10506276
     Filing- Reply Briefs $31.95 FIRST LEGAL NETWORK LLC 10511416
28

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     VERIFIED COMPLAINT
         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 102 of 801




     Filing- MTS - Fees advanced $542.65 FIRST LEGAL NETWORK LLC 10515918
 1
     Filing - D's Reply Brief in Suppmt $31.95 FIRST LEGAL NETWORK LLC 10515917
 2
     Filing - MTS - Fees advanced $90.25 FIRST LEGAL NETWORK LLC 20273542
 3
     Filing - Slip of the parties to Extend - Fees
 4
     advanced $901.95 FIRST LEGAL NETWORK LLC 20273541
 5
     Filing - slip - order $42.70 FIRST LEGAL NETWORK LLC 20273543
 6
     Filing - Oppsition Dec $110.75 FIRST LEGAL NETWORK LLC 20275488
 7
     Filing - Amended CMC Statement $90.25 FIRST LEGAL NETWORK LLC 20275493
 8   2
 9   24 2526272829303132 33343536373839 40 41 424344 4546
10   EXHIBIT I
11   Item #1

12   Filing - D's Opposition to P $31.95 FIRST LEGAL NETWORK LLC 20275487

13   Filing - CM Statement $61.90 FIRST LEGAL NETWORK LLC 20275492

14
     Filing - Dec of Andrew S. Elliott $31.95 FIRST LEGAL NETWORK LLC 20276065
     Filing - Opp; Dec $28.80 FIRST LEGAL NETWORK LLC 20276066
15
     TOTAL: $11,828.21
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     VERIFIED COMPLAINT
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 103 of 801



       Filing (Eflling fax fiUng costs not    Filing Fee (Filing   Actual filing fee
       authorized only filing fees)             Fees $60 with      California
                                              the exception of     statewide
                                                    MSJ)           fees/code
                                                                   effective
                                                                   January 1, 2024
 1
       Filing - Answer to     Notice of       $616.71              Filing      No fee   PACIFIC     483470
 2     Complaint;             Asociation                           fee         no       COAST
                                                                   $435.0 code          LEGAL
 3                                                                 0
                                                                   GC
 4
                                                                   70612,
 5                                                                 70602.
                                                                   5,
 6                                                                 70602.
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 7
       Filing - Sub of atty                       $30.00           No fee no code       PACIFIC     484508
 8                                                                                      COAST
                                                                                        LEGAL
 9                                                                                      SERVICES,
                                                                                        INC
10
       Filing - Motion to Quash                   $541.75          $ 60 filing fee      PACIFIC     486261
11                                                                 motion               COAST
                                                                   GC 70617(a)          LEGAL
12                                                                                      SERVICES,
                                                                                        INC
13
       Filing - notice to set aside default       $120.58          No filing fee for    PACIFIC     488077
14                                                                 notice no code       COAST
                                                                                        LEGAL
15                                                                                      SERVICES,
                                                                                        INC
16
       Filing - opp, dee                          $84.72           No filing fee for    PACIFIC     490401
17                                                                 opposition/decla     COAST
                                                                   ration no code       LEGAL
18                                                                                      SERVICES,
                                                                                        INC
19
       Filing - Supp dee to P's mnotion to        $75.00           No filing fee for    PACIFIC     490473
20     compel                                                      declaration no       COAST
                                                                   code                 LEGAL
21                                                                                      SERVICES,
                                                                                        INC
22
       Filing - Disassoc of atty                  $45.00           No filing fee for    PACIFIC     504337
23                                                                 disassociation       COAST
                                                                   no code              LEGAL
24                                                                                      SERVICES,
                                                                                        INC
25
       Filing - Notice of entry of                $47.70           No filing fee for    PACIFIC     514354
26     judgment                                                    notice of entry      COAST
                                                                   of judgment no       LEGAL
27                                                                 code                 SERVICES,
                                                                                        INC
28

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     VERIFIED COMPLAINT
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 104 of 801




        Filing - D's opp to P's M leave to    $47.70         No filing fee for   PACIFIC    517216
 1
        amend the                                            opposition no       COAST
 2      complaint                                            code                LEGAL
        Filing - Reply x2                     $37.33         No filing fee for   FIRST   20173044/7
 3                                                           reply no code       LEGAL     757157
                                                                                 NETWORK
 4
                                                                                 LLC
 5      Filing - oppostion to Motion to       $58.33         No filing fee for   FIRST     10410123
        Stay Case                                            opposition no       LEGAL
 6                                                           code                NETWORK
                                                                                 LLC
 7
       Filing - .Motion for Summary·         $424.03         $ 500               FIRST     10422345
 8     Judgement                                             GC 70657(c),        LEGAL
                                                             70617(d)            NETWORK
                   .                                     .
 9                          .       .· .•.                                       LLC
        Filing - Opp to Protective Order      $35.00         No filing fee for   FIRST     10426015
10
                                                             opposition no       LEGAL
11                                                           code                NETWORK
                                                                                 LLC
12      Filing -Advance Fees                 $1,476.98       No advanced fee     FIRST     10434779
                                                             code reference      LEGAL
13
                                                             to a motion         NETWORK
14                                                           filing              LLC
                                                             $ 60 filing fee
15                                                           motion
                                                             GC 70617(a)
16
        Filing - Motion to Strike            $125.82         $ 60 filing fee     FIRST     10434781
17                                                           motion              LEGAL
                                                             GC 70617(a)         NETWORK
18                                                                               LLC
        Filing -Advance fees                 $666.99         No advanced fee     FIRST     10434782
19
                                                             code reference      LEGAL
20                                                           to a motion         NETWORK
                                                             filing              LLC
21                                                           $ 60 filing fee
                                                             motion
22
                                                             GC 70617(a)
23      Filing - 10 Docs                     $361.38         No advanced fee     FIRST     10447372
                                                             code reference      LEGAL
24                                                           to a motion         NETWORK
                                                             filing              LLC
25
                                                             $ 60 filing fee
26
                                                             motion
                                                             GC 70617(a)
27     Filing - Motion to Strike - Fees      $467.00         No advanced fee     FIRST     10450811
       Advanced                                              code reference      LEGAL
28

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     V ERIFIED COMPLAINT
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 105 of 801




                                                                       to a motion               NETWORK
 1
                                                                       filing                    LLC
 2                                                                     $ 60 filing fee
                                                                       motion
 3                                                                     GC 70617(a)
        Filing - Fees Advanced -                  $1,377.15            No advanced fee         FIRST       10450809
 4
        MSA/DEC/PO/POS/MPA                                             code reference •        LEGAL
 5                                                                   _· to a··rnotion      - _ NETWORK
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        Filing - Objection to Plaintiff's          $32.95             No filing fee              FIRST   hjj10450813
12      request                                                       objection no               LEGAL
                                                                      code                       NETWORK
13
                                                                                                 LLC
14      Filing - Dec of Lunanne Rutherford        $909.95             No filing fee              FIRST    10454760
                                                                      declaration no             LEGAL
15                                                                    code                       NETWORK
                                                                                                 LLC
16
        Filing - D's Notice of Nonopposition       $32.95              No                        FIRST    10454761
17                                                                    nonopposition              LEGAL
                                                                      filing fee no              NETWORK
18                                                                    code                       LLC

19   $ 11,828 IN FILING FEES??? FRAUD.
20

21
           Filing - D's Notice of Nonopposition             $32.95                No filing  FIRST LEGAL   10454762
22
                                                                               feenonoppo NETWORK
                                                                               sition fee no     LLC
23                                                                                  code
           Filing MSJ reply brief                       $123.50                No filing fee FIRST LEGAL   10458470
24
                                                                                  msj one     NETWORK
                                                                                time filing      LLC
25
                                                                               fee $500.00
26                                                                                no code
           Filing - electronic submission                   $39.95               Courtesy FIRST LEGAL      10458469
27
                                                                                 copy not     NETWORK
28
                                                                               recoverable       LLC


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     V ERIFIED COMPLAINT
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 106 of 801




          Filing - Fees Advanced - Memorandum             $986.15   No filing fee FIRST LEGAL    10466546
 1
          of                                                        memorandu      NETWORK
 2        Points and Authorities                                    m no code         LLC
          Filing - Oppostion to Disqualify Judge          $63.14         No       FIRST LEGAL    10418066
 3                                                                   opposition    NETWORK
                                                                    fee no code       LLC
 4                                             ..
          Filing, Demurrer with MTS                        $6.75                  FIRST LEGAL    10477851
 5                                                   .                             NETWORK
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                                                                                      LLC
 6                                  ·...   .         .
               •.
          Filing - oppostion                              $40.45    No filing fee FIRST LEGAL    10477852
 7
                                                                    opposition     NETWORK
 8                                                                   no code          LLC
          Filing - D's Notice of Nonopposition            $40.45    No filing fee FIRST LEGAL    10477850
 9                                                                      non        NETWORK
                                                                    opposition        LLC
10
                                                                      no code
11        Filing - Case management statement              $40.45    No filing fee FIRST LEGAL    10482670
                                                                        case       NETWORK
12                                                                  managemen         LLC
                                                                           t
13
                                                                    conference
14                                                                  statement
          Filing - MTS - Fees advanced                    $540.65    $ 60 filing   FIRST LEGAL   10482658
15                                                                   fee            NETWORK
                                                                     motion            LLC
16
                                                                    GC 70617(a)
17        Filing - D's Notice of Nonopposition            $31.95    No filing fee FIRST LEGAL    10487787
                                                                    nonoppositi NETWORK
18                                                                   on no code       LLC
          Filing - Notice of Change of Firm Name          $23.20    No filing fee FIRST LEGAL    10487799
19
                                                                    notice name NETWORK
20                                                                   change no        LLC
                                                                        code
21        Filing - D's Notice of Nonopposition            $40.45    No filing fee FIRST LEGAL    10487793
                                                                    nonoppositi NETWORK
22
                                                                    on no code        LLC
23        Filing - Case management statement              $40.45    No filing fee FIRST LEGAL    10493027
                                                                        CMC        NETWORK
24                                                                   statement        LLC
                                                                      no code
25
          Filing - Demurrer with MTS - Fees               $165.65    $ 60 filing   FIRST LEGAL   10506276
26        Advanced                                                   fee            NETWORK
                                                                     motion            LLC
27                                                                  GC 70617(a)

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     VERIFIED COMPLAINT
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           Filing - Reply Briefs                         $31.95    No filing fee FIRST LEGAL     10511416
 1
                                                                       reply no    NETWORK
 2                                                                       code          LLC
           Filing - MTS - Fees advanced                  $542.65      $ 60 filing FIRST LEGAL    10515918
 3                                                                    fee          NETWORK
                                                                      motion          LLC
 4
                                                                   GC 70617(a)
 5         Filing- D's Reply Brief in Support            $31.95    No filing fee FIRST LEGAL     10515917
                                                                       reply no    NETWORK
 6                                                                       code         LLC
           Filing - MTS - Fees advanced                  $90.25       $ 60 filing FIRST LEGAL    20273542
 7
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 8                                                                    motion          LLC
                                                                   GC 70617(a
 9        • Filing, Stip of the parties to ExteQd ' .    $901.95        No fee    FIRST LEGAL    20273541
           .Fees                                                    stipulation NETWORK
10
            advanced                                                     only         LLC
11          Filing - stip - order                        $42.70         $20.00    FIRST LEGAL    20273543
                                                                          GC       NETWORK
12                                                                 70617(c)(2))       LLC
           Filing - Oppsition Dec                        $110.75          No      FIRST LEGAL    20275488
13
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15
           Filing - Amended CMC Statement                $90.25    No filing fee FIRST LEGAL     20275493
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                                                                   Statement          LLC
17                                                                 no code

18        Filing - D's Opposition to P                   $31.95    No filing fee FIRST
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                                                                   opposition    LEGAL
19
                                                                    no code NETWORK
20                                                                                LLC

          Filing - CM Statement                          $61.90    No filing fee FIRST
21                                                                                              20275492
                                                                      CMC        LEGAL
22                                                                 Statement NETWORK
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23
                                                         $31.95    No filing fee   FIRST
                                                                                                20276065
24                                                                 declaration    LEGAL
                                                                    no code      NETWORK
25
                                                                                    LLC
26

27
          Filing - Opp; Dec                              $28.80    No filing fee FIRST
                                                                                                20276066
                                                                   opposition/   LEGAL
28                                                                 declaration NETWORK

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 2
          TOTAL:                                                                                          $11,828.21
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17                                                 II, JURISDICTION
          29. This court has jurisdiction over the matters contained in this complaint pursuant to
18            the provisions of the Americans with Disabilities Act (ADA) of 1990, Title II, 42
              U.S.C. 12131 et. seq.; Americans with Disabilities Act Amendments Act (ADAAA)
19
              of9/25/2008, 42 U.S.C. A. 12101 et. seq. The Court also has supplemental jurisdiction
20            under 28 U.S.C. § 1367(a) over the related state law claims for negligent infliction of
              emotional distress, and intentional infliction of emotional distress. Civil Rights
21            violations of Title II of the Americans with Disabilities Act, 42 U.S.C. § 12181, et
              seq., ("ADA") and the Unruh Civil Rights Act, Cal. Civ. Code, § 51, et seq. ("the
22
              Unruh Act'').
23
                                                     III. VENUE
24        30. Venue is predicated upon 28 USC Section 139l(b)(2) as a substantial part of the
              events or omissions giving rise to the claim occurred with respect to employees of
25
              Alameda County Superior Court. Venue is appropriate in this court because Plaintiffs
26            Mary Bernstein, Elizabeth Tigano and a substantial amount of the acts and omissions
              giving rise to this lawsuit occurred in this district.
27
                                              IV. SUMMARY OF FACTUAL ALLEGATIONS
28

                                                                                        - 108-

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            31. On March 19, 2018 Plaintiff Maiy Bernstein filed a civil litigation in VAlameda
 1
                County Superior Court24 for personal injury against HOA Meadow Brook Village
 2              Association - Fremont and property management finns managing the property.
            32. Eumi K. Lee was transferred out of criminal depaitment after appeal filed against her
 3              in a case. Eumi K. Lee was transferred to Dept. 512 and was assigned to this matter on
                or about September 2021.
 4
            33. Judge Eumi Lee when assigned to Plaintiffs matter ignored multiple motions filed
 5              regarding extension of time for motions to strike and demurrers filed in October 2021.
                Judge Eumi Lee from that point began admonishing, denials, abuses denied reasonable
 6              accommodations repeatedly again and again prior to Plaintiff interaction at all.
                Plaintiff had to seek emergency leave to handle mother internment matter December 6,
 7
                2021 leaving the state for a period of 30 days and to assume severely disabled younger
 8              sister to relocate to California. As a judge presiding over the matter Bernstein v.
                Associa, et a., the judge has authority over Defendant Meadow Brook Village
 9              Association, agents - Fremont. They can be issued by the judge early in a lawsuit to
10
                stop the defendant from continuing his or her allegedly harmful actions. Q!J.
                November 30. 2021 Plaintiffs' Mother died. Plaintiff had to file an emergency
11              leave to travel to Arizona December 6, 2021. Judge Eumi Lee admonished Plaintiff
                for this request that enough time was not given despite this an emergency with a
12
                sudden death. Plaintiffs Mary Bernstein and Elizabeth Tigano were harmed by Eumi
13
                Lee on due to harassment video calls, telephone calls subjected to disabled hate crime
                remarks terrorization during this entire process. During the emergency family medical
14              leave reluctantly granted by Judge Lee, at the behest of Plaintiff psychologist letters,
                when disabled Plaintiff Mary Bernstein out of state to tend to mother internment,
15
                relocation of disabled sister, on or about January 13, 2022, Judge Lee granted an ex
16              parte application to accelerate hearing Farmers Insurance Exchange motion to quash
                summons filed by Farmers Insurance Exchange. Plaintiff had not even seen
17              documents nor aware of filing. Alameda Court aware as this Judge procedural history
                that disabled Plaintiff requires extra time to respond due to disabilities and Judge was
18
                aware that Plaintiff was out of state at the time. During the years 2022 and 2023, the
19              Alameda County Superior Court has repeatedly denied reasonable accommodations to
                disabled Plaintiff Mary Bernstein despite multitudes of physician letters advising need
20              reasonable accommodation. Elizabeth Tigano Plaintiff Elizabeth Tigano, a witness
                in Bernstein v. Associa was repeatedly denied reasonable accommodations by Judge
21
                Eumi Lee, Jenna Whitman an unassigned Judge. Plaintiff Mary Bernstein and
22              Plaintiff Witness Elizabeth Tigano have been subjected to repeated humiliation,
                embarrassment by this Judge beginning on February 25, 2022. Plaintiffs Bernstein,
23              Tigano, mockery in court, allowing ad hominem attacks by defense attorneys against
                disabled litigants requesting reasonable accommodations while in courtroom and in
24
                court filings.
25
                                                             V. FACTS
26

27

28   2 4Alameda County Superior Court Case No. HGI 8897391


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              25. His blood redeems us. There was a price against us that we could not pay, but the
 1
               blood of Jesus redeemed us. I Peter I: 18-19 says, "Forasmuch as ye know that ye wer
 2             not redeemed with corruptible things .... But with the precious blood of Christ, as of a
               lamb without blemish and without spot." His blood brings us into fellowship with
 3            God. We are the Plaintiffs in this case Mary Bernstein and Elizabeth Tigano, half
              sisters. We are child sexual assault and child abuse survivors. I, Mary Bernstein
 4
              disabled senior citizen, non attorney litigant and the caregiver for a disabled sister, a
 5            terminally ill husband and a senior disabled cat. I have been disabled for several
              years. I previously worked as an advocate in federal agencies and worked in the
 6            courts, private sector. I receive social security disability, I can no longer work, as I
 7
              am permanently disabled. Only through the Lord's grace am I able to keep putting
              one foot in front of the other each day during this stressful housing litigation,
 8            26. I, Mary Bernstein have disabilities ADHD, Bipolar, PTSD. I have mobility issues
              resulting from accident with my infant son in 1994 in stroller struck by vehicle in
 9            crosswalk nearly killing us both. I sustained injuries resulting in our move to Meadow
10            Brook Village Fremont in I 994 for pool to rehabilitate. We rented unit for period of
              time 3663 Oakwood Terrace, #214 Fremont California 94536. Father in law John L.
11            Bernstein II that owned unit 3416 Deerwood Terrace, #113, Fremont, CA 94536
              assisted in realtor. Father in law John L. Bernstein II was then able to assist in
12
              transporting Mary Bernstein and younger son John L. Bernstein IV for multiple
13            appointments Kaiser.
              27. Plaintiff Bernstein from 2015-2017 was healing not receiving psychiatric care
14            until hospitalization July 20-21 2017 due to the intense stress occurring HOA,
              financial matters. Plaintiff Bernstein suffered intense setback from emotional recovery
15
              PTSD HOA and has been receiving continual psychiatric care increased medications
16            since July 2017. Conditions exacerbated by abuses by HOA retaliation, harassment
              and denial of privileges the Bernstein family endures despite payments. Swimming
17            medically prescribed aquatic therapy to manage symptoms which Plaintiff has been
              denied for years.
18
              28. A mentally disabled Complainant forced to conduct depositions, document
19            reviews, investigations coordinate with multiple agencies, multiple attorney services
              without rest for nearly a year to the point of another medical, physical breakdown in
20            her housing community. Fearful to leave her home, fearful to stay in it as continually
              accessible to harassment and abuses. Remaining animals forced to remain indoors to
21
              avoid cruelty to animals inflicted on them as retaliation.
22            29. Americans with Disabilities Act in the United States, U.S. Department of Justice
              30. Alameda County as found in violation by the United States Department of Justice,
23            lawsuits housing mentally ill mentioned
              31. Disabled individuals in the United States protected by ADA. Many countries
24
              cultures view disabled persons as repugnant such as in South Korea. Pastor has
25            created a Baby Box in Asia for young women to deliver their infants that they do not
              want to this Pastor, many of which are disabled infants.
26            https://www.Iiveaction.org/news/south-korean-pastor-baby box-honored-donation/
27
              Pastor Lee Jong-Rak South Korea in a video discusses how people from continent
              Asia view disabled persons as repugnant. In the United States, we have the
28            Americans with Disablities Act, Title II and other laws protection for disabled persons.

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              Alameda County was found in violation by the U.S. Department of Justice for
 1
              allowing and injuring disabled persons. Justice Department Finds that Alameda
 2            County, California, Violates the Americans with Disabilities Act and the U.S.
              Constitution. There are several federal district comt cases Northern District of
 3            California U.S. District Court pending concerning Alameda County disabled.
              https://www.justice.gov/opa/pr/justice-department-finds-alameda-county-california-
 4
              violates-americans-disabilities-act-and-us.
 5            32. U.S. Department of Veterans Affairs National Center for PTSD
              https ://www.ptsd.va.gov/understand_ tx/written_exposure_therapy .asp states When
 6            you have PTSD, it's common to feel that the traumatic experience you went through is
              too difficult or stressful to manage. You likely avoid reminders (like people or
 7
              situations) from the event, feeling a sense of danger.
 8            33. National Institute of Mental Health
              https ://www .nimh.ni h.gov /health/pub! ications/bi polar-disorder Bi po tar Disorder states
 9            Bipolar disorder is a chronic or episodic (which means occurring occasionally and at
10
              irregular intervals) mental disorder. It can cause unusual, often extreme and fluctuatin
              changes in mood, energy, activity, and concentration or focus.
11            34. Very Well Mind https://www.verywellmind.com/writing-and-adhd-2082l
              https ://www. verywe Um ind. com/improving-reading-comprehension-in-students-with-
12
              adhd-20813 Writing and Comprehension difficulties for children and adults with
13
              ADHD. Keeping track of multiple concepts at once and continuously self-monitoring
              to make sure what they are reading makes sense can be incredibly difficult for a
14            student with impaired working memory (often a problem for children with ADHD).
              Children and adults with ADHD write a different way. Reasonable accommodations
15
              to be made by courts for individuals with disabilities, particularly communication
16            disabilities both state and federal courts. https://www.verywellmind.com/adhd-and-
              reading-comprehension-20806.
17            3 5. I am not a professional attorney. I have retained professional attorneys and even
              they have not performed well enough for this Court, Departments 20 and 512
18
              respectively, which is curious. This Court constantly has ridiculed me for not having
19            an attorney and even when I have had attorneys, rulings have never been in my favor.
              Therefore, as a disabled person required to attempt to comply with restrictions by
20            Dept. 512 that I do not completely understand in a reduced amount of time, this is
              extremely stressful. Disabled persons are to be given latitude in court as to provide
21
              equal access to the Courts ADA reasonable accommodations. Dept. 512 denied
22            motion for summary judgment despite disputed facts, 137 page pleading drafted by
              attorneys stating that she did not know why it took so long when in fact she had
23            granted emergency continuances fully aware of reasoning why limited scope attorneys
              were arguing months later due to mother's death, injury. Dept. 512 also chastised
24
              plaintiff for not conducting discovery during emergency leaves when motion for
25            summary judgment stated discovery would be continuing.
          34. Plaintiff filed a personal injury civil litigation in Alameda County Superior Court,
26            Case No. CV 188973 81. Defendant Alameda County Superior Comt has repeatedly
              denied and ignored reasonable accommodation requests of Plaintiff Bernstein and
27
              witness Plaintiff Elizabeth Tigano. Defendant Judge Eumi Lee has subjected disabled
28            half sisters Plaintiffs Bernstein and Tigano to humiliation, mental anguish in hearings



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              beginning Februaiy 25, 2022. Elizabeth Tigano reasonable accommodations from
 1
              doctor regarding speaking to her in respectful manner ignored as well.
 2

 3                                               VI. ARGUMENT
 4
     A.     Violations 42 U.S.C. § 198181 NEGLIGENCE INTENTIONAL INFLICTION OF
 5             EMOTIONAL DISTRESS RELIGIOUS DISCRIMINATION BY Alameda County
               Superior Court
 6

 7
               Plaintiff Mary Bernstein has referenced in pleadings biblical verses, her faith and how
               the faith has sustained her through this difficult case. Judge Eumi Lee admonished
 8             for biblical verses in First Amended Complaint prohibition. Judge Jenna Whitman
               prohibition biblical verses in preparation of second amended complaint, photos and
 9             exhibits restricting freedom of expression.
10
     B.     42 U.S. Code§ 12132 Disability Discrimination ADA Violations Alameda County
11             Superior Court - Numerous doctors written notes to this effect.
12
               Alameda County Superior Court, in particular Judge Eumi Lee assigned to matter
13
              since September 2021 is aware of Plaintiff's disabilities through numerous reasonable
              accommodation requests and disabled sister Plaintiff cares for since Mother's death.
14
              this court holding its nose providing reasonable medical accommodations
15
              to plaintiff and her family members; then retaliating punishing
16            because pro per cannot conduct multiple motions, discovery with
              impairments
17
              whether counsel assisting plaintiff or not this court consistently
18
              denies all motions from plaintiff while granting all defendants
19            motions giving impression of bias, prejudice always
              concerned with age of motions as opposed to justice, merits
20
              Plaintiff has a right to jury trial before peers as plaintiff
21
              did not seek and does not seek a bench trial
22            defaults set aside pleaded for trial on the merits

23            Double standard at play in this Court. Defendants corporate and individual provided
              with leeway, wide latitude in discovery, defaults, motion for summary judgment while
24
              plaintiff dranconian, high standards harsh non enforcement of rules, discovery of other
25            side when delaying, objecting. Comt allowing discovery abuses.

26            Default hearings to take wherein individuals did not answer, did not contact for
              extension. Plaintiff wants to pursue these defaults as a few less defendants to try in
27
              case.
28




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 1
           The opportunity to be heard must be tailored to the capacities and circumstances
 2         of those who are to be heard" and when "a party exhibits a limited ability to
           understand a proceeding affecting her rights. the court must undertake even more
 3         strenuous efforts to explain the process," (Nielson v. Colgate-Palmolive, 199 F.3d
           642 (2d Cir. 1999)). (emphasis added).
 4
           In Tennessee v. Lane, 541 U.S. 509 (2004), the Supreme Court of the United States held
 5         that the ADA apples to states comts and that, moreover:
           "Cases such as Boddie, Grimn v. Illinois, 35 I U.S. 12, and Gideon v. Wainwright,
 6         372 U.S. 335, make clear that ordinary considerations of cost and convenience
 7
           alone cannot justify a State's failure to provide individuals with a meaningful right of
           access to the courts. Judged against this backdrop. Title-us-affirmative obligation
 8         to accommodate is a reasonable prophylactic measure, reasonably targeted to a
           legitimate end." (emphasis added).
 9             I. . This is what California Congress decided:
10
           In 2006, a task force of the California Commission on Access to Justice developed
           a model statute "State Equal Justice Act" that would implement a comprehensive right of
11         access to equal justice. "Access to justice is a fundamental right in a democratic society.
           It is essential to the enforcement of all other rights and responsibilities in any society
12
           governed by the rule oflaw. It also is essential to the public's confidence in the legal
13
           system and its ability to reach just decisions. Recognizing its responsibilities in a
           democratic society, the State government assumes the duty to guarantee this right to all
14         its citizens." (emphasis added).
           The full text of "State Equal Justice Act" is published at:
15
           http://www.povertylaw.orq/poverty-law-library/research-quides/civil-qideon/state-model-
16         statute.pdf
           Legal officials agree, however, that some issues decided in civil cases can be just as
17         significant
           as in criminal cases, such as cases involving the elderly and individuals with
18
           disabilities, the well-being and safety of parents and children, and the basic need for
19         adequate shelter.
             Plait1tiff Bernstein's income is $26,000 annually through social security disability. The
20         denial of a cognitively disabled litigant's request for accommodation,
           such as extensions of time, continuances under the ADA Title II, 42 U.S.C. 12131 et seq.
21
           effectively denies that indigent cognitively disabled litigant his/her constitutional right to
22         due process of law. The US Supreme Court held in Tennessee v. Lane, 541 U.S. 509
           (2004) that the ADA Title II applies to state courts. The California
23         Supreme Court in Kenneth Munson v. Del Taco, Inc., (2009) 46 661 , stated:
           "A plaintiff who establishes a violation of the ADA, therefore, need not prove an
24
           intentional discrimination in order to obtain damages under section 52 [of the
25         California Civil Code)".
           In other words, the entities, including the California courts, should be PROACTIVE in
26         eliminating the discrimination against people with disabilities.
           The States can be sued for violations of and discrimination under ADA Title II,
27
           42 U.S.C. 12131 et seq.
28         "As it applies to the class of cases implicating the fundamental right of access to

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            the courts, Title II constitutes a valid exercise of Congress' authority under 55 of
 1
            the Fourteenth Amendment to enforce that Amendments substantive guarantees."
 2          (Tennessee v. Lane, 541 U.S. 509 (2004), at p. 510).

 3          Under the ADA Title II, the defendants such as trial judges and ADA administrators can
 4
            be sued in their official capacities, as an alternative method of suing the entity for which
           they are representative. (Haferv. Melo, 502 U.S. 21, 112 S. Ct. 358,116 L. Ed.2d 301
 5         (1991); Gorman v. Banch, 152 F.3d 907,916 (8th Cir. 1998).)
            State judges do not enjoy absolute immunity for acts that are administrative rather
 6         than judicial in nature, such as providing accommodations for parties with
 7
           disabilities under the ADA Title II.
           The US Supreme Court has held that judges can be held liable for damages
 8         in suits where actions which are administrative in nature are challenged. (Forester v.
           White, 484 US. 219, 224-225 (1988), Cameron v. Seitz, 38 F.3d 264,271 (6th Cir. 1994),
 9
           Morrison v. Lipscomb, 877 F.2d 463 (6th Cir. 1989).)
10         Under the California Civil Code, Section 52, the plaintiff who establishes the violation of
           the ADA Title II obtains injunctive relief, damages, and attorneys' fees,
11         In light of the above, it is the inevitable conclusion that Plaintiff and the self-represented
           indigent cognitively disabled patties in civil litigation affecting basic human needs have
12
           been unlawfully denied their fundamental civil rights to access to justice and to due
13         process in the California State courts. Moreover, in light of the above, it is the inevitable
           conclusion that providing extensions of time, continuances, disabled litigants in civil
14         litigation, in which such litigants' fundamental rights to the basic human needs are at
           stake, DOES NOT create an undue financial burden and or administrative burden on the
15
           State courts, and DOES NOT fundamentally alter the nature of court services.
16         Consequently, the California State courts have been knowingly violating several Federal
           laws, including the Americans With Disabilities Act, Title II and the Fourteenth
17         Amendment of the U.S. Constitution, by NOT providing reasonable and necessary
           accommodations, including, but not limited to, extension time, continuances to indigent
18
           cognitively disabled litigants. Thus. Plaintiffs were denied reasonable accommodations in
19         violation of the ADA. Plaintiff Witness Elizabeth Tigano was prohibited by Eumi Lee
           from testifying. Commissioner Elizabeth Riles prevented Elizabeth Tigano from
20         testifying. Judge Pro Tempore Susan Lew, discrimination against Elizabeth Tigano
           during testimony and prohibition of engineer son John L. Bernstein IV from testifying.
21

22
                                       VI. CAUSES OF ACTION
23

24                                 Count 1(42 U.S.C. § 1981)
                                      As to All Defendants
25                   FIRST CLAIM FOR RELIEF RELIGIOUS DISCRIMINATION
26
          35. Plaintiffs Bernstein and Tigano repeat and reallege each and every allegation
27            heretofore alleged as if fully set forth herein.
28

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           36. Defendant's conduct denying Plaintiffs reasonable accommodations were federally
 1
                protected class extreme and outrageous and done with discrimination.
 2      37. Defendant State of California Alameda County Superior Court is a public agency.
            Alameda County Superior Court, withheld from and denied to Plaintiffs
 3          accommodations, advantages, facilities and privileges thereof. The U.S. government has
            a public policy to promote equal rights for all citizens. One way to encourage this idea is
 4
            to actively discourage discrimination against members of protected classes (such as racial
 5          minorities, religious, women, and the disabled). To prevent discrimination in public
            accommodations, the government enacted certain laws at the federal, state, and
 6          sometimes local levels. Specifically, the federal Civil Rights Act of 1964 prohibits
 7
            discrimination on the basis of race, color, national origin, and religion. The Unruh Civil
            Rights Act requires "full and equal accommodations, advantages, facilities, privileges or
 8          services in all business establishments. Plaintiffs are members of a protected class,
            documented disabled women that have been harassed in court matters pleading for
 9
            reasonable accommodations from this agency.
10
        38. Under 42 U.S.C. §§ 1981 and 1982 Section 198l(a) provides that "[a]II persons within
            the jurisdiction of the United States shall have the same right in every State ... to make
11          and enforce contracts, to sue, be parties, give evidence, and to the full and equal benefit
            of all laws and proceedings for the security of persons and property as is enjoyed by
12
            white citizens .... " 42 U.S.C. § 198l(a). To establish a claim under§ 1981, a plaintiff
13          must show that (1) he is a member of a protected class; (2) defendant intended to
            discriminate against plaintiff based upon his membership in the protected class; and (3)
14          the discrimination concerned one or more of the activities enumerated in § 1981. Brown
            v. City of Oneonta, 221 F.3d 329,339 (2d Cir. 2000). Like the Equal Protection Clause,§
15
            1981 can only be violated by purposeful discrimination. Gen. Bldg. Contractor's Assn.,
16          Inc. v. Pennsylvania, 458 U.S. 375,391 (1982). 42 U.S.C. § 1982 states that "[a]ll
            citizens of the United States shall have the same right, in every State and Territory, as is
17          enjoyed by white citizens thereof to inherit, purchase, lease, sell, hold, and convey real
            and personal property." Section 1982 has been interpreted to prohibit "intentional
18
            discrimination" based on race. Shaare Tefila Congregati011 v. Cobb, 481 U.S. 615, 617
19          (1987) (citation omitted). Plaintiffs are members of protected class: disabled women.
        Plaintiff Mary Bernstein has referenced in pleadings biblical verses, her faith and how the
20         faith has sustained her through this difficult case. Judge Eumi Lee admonished for
           biblical verses in First Amended Complaint prohibition. Judge Jenna Whitman
21
           prohibition biblical verses in preparation of second amended complaint, photos and
22         exhibits restricting freedom of expression.

23                                                   COUNT II
                              As to Defendant State of California Judicial Branch
24
             SECOND CLAIM FOR RELIEF 42 U.S. Code§ 12132 Disability Discrimination
25                                                ADA Violations
          39. (a) That Eumi Lee, Dept 512 Judge of Superior Court of Alameda County beginning
26            Februaty 25 2022, has discriminated against the plaintiffs, Mary Bernstein, Elizabeth
27
              Tigano has excluded them from participation in, and/or denied her the access to and
              the benefits of, the services of the court system and due process in violation of 42
28            U.S.C. 12132 et seq., has intentionally

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               subjected them to the unconscionable, immoral and inhumane treatment, abused and
 1
               tortured then during the court processes causing her to experience pain and sufferings so
 2             severe that she began weeping on remote hearing calls, destabilizing February 25 2022.
               February 25 2022 ridiculing Plaintiff for ADHD symptoms admonishing for speaking.
 3             February 25 2022 embarassing medicated sister Elizabeth Tigano calling on her to stand
               up frightening her and that conclusion of hearing requesting Plaintiff only come into
 4
               court room alone. The suggestion that Elizabeth Tigano be left out in hall unsupervised.
 5             April 2023 medical emergency when returned to court Long Covid keeping plaintiff and
               witness longer than hearing during medical emergency causing East Bay Paratransit to be
 6             missed almost. To date, Plaintiff only zoom hearings due to fear of medical emeregency
 7
               again before Eumi Lee not wanting to adjourn despite medical breathing issues inhaler.
               Judge Eumi Lee has forced Plaintiff to proceed at times when unable to proceed due to
 8             health issues remotely. Judge Eumi Lee denial reasonable accommodations, cruelty
               during medical emergencies. Retaliation and abuses by Judge Eumi Lee vacating motion
 9             hearings for discovery matters. Judge Eumi Lee granting carte blanche denial extensions
10
               costs and fees for attorneys summary judgment attempt to bankrupt plaintiff for fighting
               for her family and her home.2 5 The attorneys fees motion and memorandum costs filled
11
     25Plaintiff filed an objection to proposed judgment on July 12 2023 submittted by Defendants. Defendants AS SOCIA
12
       NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE
     ASSOCIATION - FREMONT, AND MASSINGHAM & ASSOCIATES' Corporate Entity Defendants ("CED") seek to recover
13      over $19,262.00 in costs from Maty Bernstein Plainitf, an unrepresented litigant on social security disability fighting for her
        home. Summary judgment was granted in favor of some of the Defendants in this action, three corporate entity defendants
14      Massingham, Meadow Brook and Associa ("defendants"); however case is not over and scheduled for trial January
        2025.CED also seeks attorneys' fees of $88,134.75. linder Civil Code section 5975 (c). Plaintiff filed an objection to
15      proposed judgment on July 12 2023 submittted by Defendants. Initial proposedjudgment in 2022 and executed did not
        contain fees or costs amount. Plaintiff filed motion for reconsideration ofthatjudment. New counsel submitted a new
16     Judgment entered July 17, 2023. Notice of entry of Judgment served July 28, 2023. Defendants then subsequently filed on
       August 14, 2023 untimely memorandum of costs in the amount of $19,262.00. Exhibit C, Filing fees for example exorbitant
        or that Statewide Fee schedule demonstrates there is no fee. Exhibit D. This was 17 days later. California Rules of Court
17
        Rule 3.1700 A prevailing party who claims costs must serve and file a memorandum of costs within 15 days after the date of
        service of the notice of entry of judgme11t or dismissal by the clerk under Code of Civil Procedure.section 664.5 or the date o
18     service of written notice of entry of judgment or dismissal, or within 180 days after entry of judgment, whichever is first.
        Plaintiff filed August 18 2023 motion to strike costs form as there were no invoices attached or dates simply vague lists and
19     amounts. Plaintiff had no information, dates or what to dispute other than vague amount placed there. Further, California
       Rules of Court Rule 3.1700 states the memorandum of costs must be verified by a statement of the party, attorney, or agent
20     that to the best of his or her knowledge the items of cost are correct and were necessarily incurred in the case. Luanne
       Rutherford is the attorney that worked on the matters with the law finn; Christopher Allard did not work on this matter for
21     dates in question and therefore cannot engage in conjecture for another attorney that incurred these costs in the case. Further,
       costs have disingenuously be allocated to the cost memotrandum and attorneys motion for fees from several other cases
22     which Plaintiff will demonstrate. There are several restraining order matters, Department of Public Safety Attorney General,
       California Department of Fair Employment and Housing matters, California Civil Rights matters, and U.S. Department of
       Housing and Urban Development matters of which are not this HG 18897381 Alameda County Superior Court matter at
23     hand. Motion for attorney fees iin the amount of$88,134.75 September 26, 2023. Plaintiff filed motion to strke tax costs
       form as there were no invoices just a list ready to be rubber stamped by Judges Eumi Lee and granted without hearing by
24     Judge Keith Fong bankrupting disabled senior citizen.

25   CED attetmpts to obtain reimbursement of costs under Cal. Code Civ. Proc. § 1032 et seq, including expenses that were not
         actually incurred by CED, and/or are not expressly allowed by§ 1032 et seq, and/or are not allowed as discretionary costs
26       under§ 1033.5.
     For example, CED seeks costs for improper filings, efiling costs, deposition costs not incurred by
     CED, research, bates stamping, non court ordered transcripts, non court order expert fees, associated with other cases, other
27
         attorneys, among others that were clearly incurred as a convenience or
     benefit to the conduct of the litigation rather than reasonably necessary costs.
28   CED has failed to meet its burden in showing both in its Memorandum of Costs

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               with fraudulent entries by McNamara law firm. Plaintiff has 640 billing entries to
 1
               analyze but many erroneous file and downright fraudulent billings. For example below
 2             entries stating that work performed years before any work actually done. Luanne
               Rutherford
 3             The Alameda Sup. Court invokes Alameda County Sheriff to remove and displace
 4
               mentally ill people when coming into court to file matters. I do not know if every prose

 5   ("MOC'') and in its Opposition that many of these costs are allowable, and if they are allowable
     or discretionary, that the amounts it seeks are reasonable and necessary. In its Opposition
 6   CED attempts to justify its unreasonable and unnecessary costs, but instead expressly supports
     Plaintiff Mary Bernstein's contentions that it voluntarily assl)med costs including hut not limited to counsels' bates stamping,
 7        legal research, non court ordered expert witness fees, non court ordered transcript fees, and third-party costs for its own
          convenience and/or benefit in
      preparation. Plaintiff on social security disablilty respectfully requests that this Court grant its motion to tax and reduce to zero
 8        $0 CED's MOC in addition to any such costs the Court deems
     appropriate to tax given that CED has not adequately specified, or adequately explained the
 9   discrepancies in, costs and descriptions associated with filing costs, Therefore, Plaintiff's motion to tax and redtJce all of the
          $19,262 to $0 awarded of the total amount sought should be granted. In addition, Declaration of Andrew Elliott an attorney
10        not even affiliated with McNamara but an attorney at Severson representing third parties. CED have attempted to bankrupt
          and take Plaintiff and her family's home since the beginning exploiting vulnerabilities of disabled and elderly homeowners.
11        Below listing California Statewide filing foes are not excessive amounts attempted to be reimbursed fraudulent. Initial
          answer or complaint $435.00; motions $60.00; $500 motion for summary judgment; no filing fee substitution ofattomeys
12        listed anywhere on fee schedule. Exhibit D. Published here chrome-
          extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.courts.ca.gov/documents/Statewide-Civil-Fee--Schedu\e-eff-
          01012023.pdf https://www.courts.ca.gov/7646.htm. California law recognizes three types of litigation costs: (l) allowable;
13        (2) disallowable;
     and (3) discretionary. Code Civ. Proc.§ 1033.5, subds. (a), (b), (c)(4). For allowable and
14   discretionary costs to be recoverable, they must be both ''reasonably necessary to the conduct of
     the litigation rather than merely convenient or beneficial to its preparation" and "reasonable in
15   amount." Code Civ. Proc. § 1033.5 (c)(2-3). If specifically allowable under section 1033.5, the
     party challenging the costs has the burden of showing that the costs sought are not reasonable or
16   necessary. However, if the costs not specifically allowable are objected to, then the burden of
     proof lies with the requesting party to demonstrate that the costs were necessary and reasonable.
17   Ladas v. Cal. State Automobile Assn. (1993) 19 Cal.App.4th 761, 774. Whether a cost is
     reasonable is a question of fact. Luhetzky v. Friedman (1991) 228 Cal.App.3d 35, 39. The Court should strike all costs as this
         matter personal injury not enforcment of governing documents as exhibited in civil cover sheet for filing and are not
18       recoverable that are 1101 reasonable in amount and/or not reasonably necessary to the litigation. Breach of contract one aspect
         of complaint. Plaintiff had limited scope attorney that was not eligible for practicing law, plaintiff a disabled litigant not an
19       attorney at the time of the filing of the preliminary complaint. This attorney can no longer practice law is in a hospice and
         State Bar victims compensation fund. Plaintff won a small claims trial in this matter in this Court in 2019 for reimbursement
20       of retainer. Initial proposed judgment in 2022 and executed did not contain fees or costs amount. Plaintiff filed motion for
         reconsideration ofthatjudment. New counsel submitted a new Judgment entered July 17, 2023. Notice of entry of Judgment
21       served July 28, 2023. Defendants then subsequently filed on August 14, 2023 untimely memorandum of costs in the amount
         of $19,262.00. This was 17 days later. California Rules of Court Rule 3.1700 A prevailing party who claims costs must
22       serve and file a memorandum of costs within 15 days after the date of service of the notice of entry of judgment or dismissal
         by the clerk under Code of Civil Procedure section 664.5 or the date of service of written notice of entry of judgment or
         dismissal, or within 180 days after entry of judgment, whichever is first. Plaintiff filed August 18 2023 motion to strike costs
23
         form as there were no invoices attached or dates simply vague lists and amounts. Plaintiff had no information, dates or what
         to dispute other than vague amount placed there. Further, California Rules of Court Rule 3.1700 states the memorandum of
24       costs must be verified by a statement of the party, attorney, or agent that to the best of his or her knowledge the items of cost
         are correct and were necessarily incurred in the case. Luanne Rutherford is the attorney that worked on the matters with the
25       law firm; Christopher Allard did not work on this matter for dates in question and therefore cannot engage in c01tjcch1Te for
         another attorney that incurred these costs in the case. Further, costs have disingenuously be allocated to the cost
26       memotrandum and attorneys motion for fees from several other cases which Plaintiff will demonstrate. There are several
         restraining order matters, Department of Public Safety Attorney General, California Department of Fair Employment and
         Housing matters, California Civil Rights matters, and U.S. Department of Housing and Urban Development matters of which
27
         are not this HG 18897381 Alameda County Superior Court matter at hand. Motion for attorney fees iin the amount of
         $88,134.75 September 26, 2023. Plaintiff filed motion to strke tax costs form as there were no invoices just a list ready to be
28
         rubber stamped by Judges Bumi Lee and granted without hearing by Judge Keith Fong bankrupting disabled senior citizen.

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              litigant has as many errors by clerk office filing or if only my case, However, a audit of
 1
              prose litigant cases would reveal this fact. Multiple times clerks in Alameda County
 2           Superior Court supervisor Michelle Banks threatening disabled Plaintiff to call Alameda
             County Sheriff on her when filing documents and again March 2 2023. Plaintiff disabled
 3           and her sister have encountered resistance and attitude when attempting to file
 4
             documents. Motions filed erroneously or not at all mutlitple times causing Plaintiff to be
             concerned. Does this happen in every case or just this case Disability rights are civil
 5           rights, From voting to parking, the ADA is a law that protects people with disabilities in
             many areas of public life. Long Covid discrimination medical Alameda County Superior
 6           Court - Discrimination harassment mentally ill filing motions First Amended Complaint
 7
             -Court clerk stating she had to call Judge Eumi Lee 12 15 2022 before allowing FAC to
             be filed then fist 383 pages withheld; removal of previously filed documents; failure to
 8           file documents causing mental anguish for mentally disabled Plaintiff and her family
             facing housing crisis A motion for disqualification counsel was not filed despite tile
 9           endorsed copy in plaintiffpossesson on March 2, 2023; three contempt motions were not
10
             put on calendar. The clerk office wonders why disabled Plaintiff with bipolar, ptsd, adhd,
             asthmas mobility issues a senior when there appears to be indifference, calling of eumi
11           lee judge to see if disabled pro se litigant "is allowed" to file documents. The treatment
             has been horrific. Plaintiff disabled has to consiststently despite severe illness review
12
             court docket and filings to insure documents still there. April 2022 a reply in support of
13           second motion for protective order was removed by court. Exhibit Q. I have file
             endorsed copy. Myseriously 383 pages of First Amended Complaint appeared after not
14           incorporated with initujal filing only after brought to attention of the Court.
     Clerks and Judges Preying on the Disabled Shaming for Disabilities and Intimidation
15
     Tactics
16   Since the inception of this case in 2018, it appears running alongside a DOJ investigation into
     Alameda County Superior Court, Plaintiff, a disabled senior citizen and her witnesses, family
17   members have encountered indifference denial of access to the court. During the pandemic, the
     abuse by Alameda County reached its Apex directing by Judges to terrified disabled Plaintiff, he1
18
     sister Elizabeth Tigano and her late Mother Anna Smith Fogltance.
19           We take it very seriously this case Alameda County Superior Cou1t preying on disabled.
               Predatory Displacement Alameda County heartlessness for most vulnerable groups
20           single mothers children disabled elderly
             Late Mother passed and I am now caring for severely disabled sister and terminally ill
21
             husband with dementia, I myself am also disabled. Our safety and welfare compromised
22           in Alameda County
             Disabled not protected in Alameda County abused - we have undergone harassment had
23           to obtain restraining orders not enforced by Alameda County Superior Court and now
             criminals allowed to move in https://www.sfchronicle.com/eastbay/article/Housing-
24
             rescued-her-from-years-of-jail-and-17 666993. php https://www .theguardian.com/us-
25           news/2022/dec/2 !/california-alameda-county-landlords-background-checks
             http ://sites. uchastings. edu/scholarshi p-blog/2018/04/04/eumi-lee-on-mugshots-on-the-
26           internet/ protection of white collar criminals vilifying criminalizing civil plaintiffs in her
27
             courtroom disabled chastising patronizing condescending reprimanding like children
             humiliating disabled sister commanding her to stand up first time in court room heavily
28           medicated and sedated

                                                    w   118-

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 1
            A judge that worries about mugshot invasion of privacy but not privacy of disabled
 2          citizens
            https ://www.theguardian.com/technology /2018/j un/12/m ugshot-exp loitati on-websites-
 3          arrests-shame
 4
            https://www.theguardian.com/techno logy /2018/j un/12/m ugshot-exploitati on-websites-
            arrests-shame
 5          Eumi Lee proposes a different solution: excluding mugshots from the public records,
            except when there is a specific law enforcement need or by court order.
 6
            "We are at such a pivotal mark in tenns of criminal justice reform and also at this point o
 7
            starting to fear the commercialisation of consumer and govenuuent data," the law
            professor said.
 8          "Society must recognise the greater privacy interests at stake in the digital era."
 9
            A judge that crimializes the disabled iin her courtroom shamiong for ADHD and other
10          issues wanting sister to be left in the hall withholding court transcript pages double talk
            California county first in US to pass law banning criminal background checks for housin
11
            OAKLAND, Calif. - Alameda County is the first county in the United States to ban
12
            landlords from criminal background checks on prospective tenants. The ordinance will
13          prohibit both private and public landlords from requiring applicants to disclose arrests or
            convictions. https ://www.theguardian.com/us-news/2022/dec/21 /cali fornia-al ameda-
14          county-landlords-background-checks
     CMC   5 5 2023
15
     Protective order second reply removed from docket
16   https://www.berkeleyside.org/2022/09/21/leonard-powell-city-of-berkeley-
     settlement
17
     Leonard Powell 80 year old widow case number attempting to take his
18   house away
19
     RG15762567 The People of the State of California VS Powell RG15762567 The
     People of the State of California VS Powell
     Limited Civil (Other Civil Petition) Al65544
20
     Next Hearing; 02/24/2023 Court Trial
21   Limited Civil (Other Civil Petition)
     Moms 4 housing mothers and babys in diapers thrown out in winter
22
     pandemic The Magnolia Street house was kept vacant by Wedgewood Inc.
23   for 18 months prior to Nov. 18, when the moms moved in and began
     making repairs. Judge Patrick McKinney Friday, January 10, 2020 ruled
24
     against Dominique Walker of Moms 4 Housing Walker, 34, and other
25   mothers began occupying the three-bedroom home on Magnolia Street
26   in November to avoid living on the streets. The mothers said the house
     had been vacant for two years,
27
     https://www.kqed.org/news/1179,5419/judge-orders-homeless-mothers-
28   to-leave-oakland-home With guns drawn, Alameda County sheriffs
                                                   -119-

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 1
     deputies enforced an eviction order early Tuesday morning, arresting
     two mothers who had moved into an empty West Oakland home, along
 2
     with two of their supporters.
 3
     Officials confirmed the arrests of mothers Tolani King, 46, and Misty
 4
     Cross, 38, as well as protesters Jesse Turner, 25, and Walter Baker, 28.
 5   All were charged with misdemeanors for obstructing police officers in
 6
     their duties and are being held at Santa Rita Jail.
 7   By Tuesday afternoon, all four had been released. The two moms, who
 8   were released first, and greeted by a small crowd of supporters, called
     conditions inside the jail terrible, and said they were now more fired up
 9
     than ever to continue their fight.
10   https: //www.kged.org/news /11795944 /moms-4-housing-members-
11
     evicted-from-oakland-home-4-arrested
     https://www.kqed.org/news/l l 795944/moms-4-housing-members-evicted-from-oakland-home-
12   4-arrested https://www .counterpunch.org/2020/03/ 13/fighting-insecure-housing-qa-with-
     dominique-walker/ Wedgewood LLC insecure housing
13

14
     https://www.nytimes.com/2020/01 /15/us/oakland-homeless-eviction. html
15
     https://www.sfchronicle.com/eastbay/article/Berkeley-home-renovation-
16   receivership-16948814.php
17   https://www.change.org/p/berkeley-city-council-stop-predatory-
     displacement-through-receivership
18
     This case Bernstein v. Associa disabled family and disabled pet; late
19   Mother denied reasonable accommodations traumatized leading to death
     Dissability Righgts Associations Calfiornia v. mentally disabled abuse in
20
     Alameda County by Aklaneda County institutionalized Case 5:20-cv-05256
21   Disability Rights California v. Alameda County DRC is California's
22
     Protection and Advocacy ("P&A") system. Motion hearing 3/24/2023 It is
     empowered and charged by federal law to protect the rights of California
23   residents with mental health disabilities. In 2018, DRC opened an
24   investigation into Alameda County's practices regarding unnecessary
     segregation in the County's psychiatric institutions.
25
     Case 5:20-cv-05256 Disability Rights California v. Alameda County DRC is
26   California's Protection and Advocacy ("P&A") system. Motion hearing
27
     3 / 2 4 / 2 o2 3 It is empowered and charged by federal law to protect the
     rights of California residents with mental health disabilities. In 2018, DRC
28

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 1
                                                     y's practices regarding
                                                      chiatric institutions. Under this
 2
                                                       half of people with disabilities
                                                     o all "public entities," including
                                                      ation into Alameda County's
 4
                                                     abled in 2018. 42 U.S.C.
 5                                                    dividual with a disability shall,
 6
                                                          by reason of disability, be
                                                          excluded from participation
 7                                                        in or be denied the benefits
 8                                                        of services, programs, or
     activities of a public entity or be subjected to discrimination by such entity."
 9
     42 U.S.C. § 12132. On November 1, 2019, DRC found probable cause to
10   believe that the County's actions constitute abuse.
     On Thursday, April 22, 2021, after a thorough multi-year investigation, the
11
     United States Department of Justice (DOJ) issued a report finding that
12   Alameda County is violating the Americans with Disabilities Act (ADA).
13
     DRC Constituents Without Stable Housing Are at Serious Risk of
     Unnecessary Institutionalization. DRC Constituents who are homeless are
14
     deeply vulnerable to violence and trauma while living outside.
1s   Homelessness itself is a traumatic experience that aggravates the effects
     of mental health disabilities. The case of Bernstein v. Associa, et al., is not
16
     a frivolous case but rather serious housing crisis case which jeopardizes
11   Plaintiff Mary Bernstein and her disabled family members housing which
18
     could render homelessness and potential institutionalization of the family
     which Alameda County has a pattern of abuse mentally ill. Alameda
19   County Superior Court is the judicial authority that put these disabled
20   constituents in the institutions which is the subject matter of Case 5:20-cv-
     05256 Disability Rights California v. Alameda County.
21
         I.         WITNESS DENIAL REASONABLE ACCOMMODATIONS
22             LATE ANNA SMITH FOGLTANCE
23

24
        II.        DISABLED SISTER MISTREATMENT PLAINTIFF IS
                CAREGIVER FOTR REASONABLE ACCOMMATIONS
25              ELIZABETH G. TIGANO
26
              On February 25, 2021 first time in court after emergency leave
27
              mother death indifference to disabled plaintiff and sister . Judge
28            Eumi Lee addresses sister for nervousness calling her Ms. Tigano to
                                           ~ 121-



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 1
               stand up. Elizabeth is not a litigant. At the conclusion of the lengthy
               hearing, the Judge stated to Disabled Plaintiff only you come in next
 2             time. I advised that I could not leave my disabled sister alone in the
 3             hallway. My sister had a complete violent meltdown the following
               day as this Judge wanted us to return every Friday for court
 4

 5      Ill.         PLAINTIFF MARY BERNSTEIN DENIAL REASONABLE
                  ACCOMMODATIONS RETALIATORY ACTION FOR GRANTING
 6
                  REASONABLE ACCOMMODATIONS- DOUBLE TALK BOTH
 7                SIDES OF MOUTH CONFUSING INSTRUCTIONS, VACATING
 8                MOTIONS CAUSING REFILING WITTHOLDING VESCO
                  TRANSCRIPT PAGES FROM HEARING TRANSCRIPTS,
 9
                  SUGGESTION NOTE TAKING RATHER THAN PROVIDING
10                COURT REPORTER PER JAMESON V. DELTA FARMERS
                  INSURANCE CONFLICT OF INTEREST
11

12      IV.         COURT ALLOWING ABUSES FARMER DEFENSE COUNSE
13
                  CRITICIZING PHYSICIAN LETTERS FOR REASONABLE
                  ACCOMMODATIONS DEFENSE COUNSEL LEARNT
14                REPRESENTING DOCTORS IN CASE WITNESS TAMPERING
15
        V.           JUDGE REPRESENTS MAJORITY OF
16

17      VI.          MOTION FOR SUMMARY JUDGMENT RETALIATORY
18
                  ACTION FOR CONTINUANCES GRANTED FEIGNED DID NOT
                  KNOW WHY TOOK SO LONG, LIMITED SCOPE ATTORNEYS
19                BERATED - DURING VESCO HEARINGS ADVISED NOT TO
20                DO WORK CONTINUANCES; THEN RULES AGAINST
                  DISABLED PLAINTIFF FOR NOT CONDUCTING DEPOSITIONS
21
                  DURING THIS TIME
22
        VII.        JUDGE FACIAL GRIMACES, ROLLING EYES SCOLDING
23
                  PLAINTIFF FOR ADHD SYMPTOMS PRESSURIZED SPEECH
24                TALKING OUT OF TURN
25
        VIII.       DISABLED SISTER ELIZABETH TIGANO HAS A RIGHT TO
26
                  TESTIFY CONCERNING HER EXPERIENCES FEAR OF
27                HOMELESSNESS, ABUSES BY MEMBERS OF THIS HOUSING
                  COMMUNITY
28

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 1
        IX.Judge speaking out of both sides of mouth refusal to produce
                                      • ts 4 22 2022 and 5 13 2022 wherein
 2
                                         r gamesmanship if she works during
 3                                      from court which have been granted;
                                        ed and reprimanded for working not
 4
                                        ·mes. Judge feigning she does not know
 5                                      g when judge granted the medical stay.
                                                                  An example is
 6
                                                                  the motion for
 7                                                                summary
 8
                                                                  judgment
                                                                  hearing
 9
                                                                  wherein plaintiff
10                                                                in court
                                                                  reprimanded fo
11
                                                                  not doing
12                                                                discovery
13
                                                                  during time on
                                                                  medical leave
14                                                                resulting in
15                                                                summary
             judgment granted to other side. Invesco hearings confidential
16
             judge has stated she wanted to see every incident detail in
17           amended complaint. This kind of double talk is frightening and
18
             abusive to non attorney, unrepresented disabled plaintiff. Plaintiff
             is a senior citizen and has had eyes rolled at her by judge,
19           grimaces made smirks and scolding as well as despite reasonable
20           accommodations insensitivy correcting for ADHD symptoms.
        X. My late mother Anna Smith-Folgtance denial of reasonable
21
             accommodations so atrocious a woman terminally attempting to
22           testify to see her daughter a last time denied the ultimate violation
             of ADA reasonable accommodations
23

24

25

26

27

28

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 6
                                                                                                                        produce sealed vesco trannscrlpts 4 22 2022 and 5 13 ~22-Y!here!n
                                                                                                                        pla!nUff advised it Is unfair gamesmanship if she works d01ing medical
 7
                                                                                                                        excused periods from court which have been granlM; theijt~_lali~le~.
                                                                                                                        admonished and reprimanded for working not Pel~g don_e-~_U_rlng_lfltjse
 8                                                                                                                                                                                                        1
                                                                                                                        ~~::·rings motion for reconsideration\15 mi~~;s~tc.~;-t1;>;,Jrg~e _t:9_~~-;~·-
 9                                                                                                                      motion                                   \     '· '\-,:1 ·.,,,  ,'.!I><
                                                                                                                                                                                            1 ,2:."'-'···

                                                                                                                        3 hearings opposition to motion to quash"'-1d mrnJt\irl,r_,;:g~                   :., ·,
                                                                                                                                                                    \i        .(>.. ·: ·.;,

                                                                                                                        3 hearings motion to disqualify 15 minutes ,,       .-} ""',>>-:~·
10                                                                                                                                                                   1
                                                                                                                        Beth testify at table with emotional support       ?\. _ n_i~~-
11
                                                                                                                        Letter doctor                                        •         :,.;l,,.
                                                                                                                        Paratransit
                                                                                                                        Emoti_onal support cat, laptop set up
12             4                                                                                                        Continue CMC ·3 30 2023 to later date - r
                                                                                                                        continuance reasonB.b!e accommodalio
13

14
                                                                                                                                                                                                    ;fuNolco   I
15

16
        XI.
17      XII.
        XIII. Vesco hearings venture on           and          2022 accusing
18
               plaintiff of gamesmanship and plaintiff advised by judge to see
19             every incident listed defendants
        XIV. Case 5:20-cv-05256 Disability Rights California v. Alameda
20
               County
21      XV. https://gbdhlegal. com/wp-content/uploads/cases/ECF-1-
22
               Complaint. pdf
        XVI. https://www.cbsnews.com/sanfrancisco/news/former -alameda-
23             county-judge-pleads-no-contest-to-elder-abuse/
24      XVI I. https://www.mercurynews.com/2019/12/20/alameda-county-judge-
               admonished-for-hitting-lawyers-hand-crude-language/
25
               https://theappeal.org/california-court-destroys-police-corruption-
26             cases/
        XVIII. MyMother disabled in her last effort to assist her disabled
27
               daughters testifying seeking protection displacement from home,
28             harassment knew that younger daughter would be coming into this
                                                                                          - 124-

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 1
                                          r sister upon mother passing despite
                                          hrenia bipolar managed to
 2


 3                                         er.com/2019/11/10/californias-criminal-
                                           hat-they-did-why-some-are-still-working/
 4

 5                                         ital nerve and face Judge insensitive to recovery time
                                                                            pushing rushing to
 6   I                                                                      have these hearings
                                                                            senior citizen disabled
 7                                                                          grandmother
 8
                                                                Despite no objection from
                                                                adverse counsel, Judge Lee
 9             hemmed and hawed on continuance for critical medical appointments and
               surgeries long awaited January 2023. The ADA Department harassing for
10             additional letters documentation from physicians for expected recovery time.
               This treatment of disabled as if criminal, untrustworthy is despicable. Alameda
11
               County is the violator as found multiple scandals including the court.
12             Judge and clerk office attempted to prevent filing of first amended complaint
               and what appears to be deliberate withtholding of the first 383 pages of the filed
13             complaint.
14
     Still recovering from eye injury orbital nerve sustained 2 26 2022 - nerves
15   injury still and long covid respiratory issues concentration focus and sister
16
     health psychiatric issues
     Clerk office tampering with filings 12 15 2022 4 volumes binder FAC
17   Adam Byer pestering for more letters, documentation endlessly harassmen
18   1 12 2023
     https://abc7news.com/2-killed-in-dublin-alameda-county-sheriffs-deputy-
19
     devin-williams-jr-suspected-double-homicide-charged-with-murder-
20   california-news/12216574/
     Michelle Banks Gina Fu and Keisha Ghee clerk office December 15 2022
21
     Plaintiff inhaler to use for breathing
22   Myself Long Covid surgery upcoming PTSD bipolar ADHD
23
     12 22 2022 LONG TERM EFFECT OF COVID-19, CHRONIC FATIGUE
     and LATE SEQUELAE OF CORONAVIRUS COVID-19.
24   he is also requesting to have her court hearings limited to 15 minutes at a
25   time only due to her postacute sequelae of COVID which causes shortness
     of breath and fatigue. The symptoms get worse when she is stressed and
26
     the court hearings do that to her.
27   POST-ACUTE SEQUELAE OF COVID-19WCHRONIC FATIGUE
28
     (primary encounter diagnosis)

                                                 -125-

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 1
     Note: Letter done
                    ,, ns in 2 months October - November 2022 Beth psychiatric
                       ousing fragile mental state
 3                     rocedures Beth and I that we could not have done
                       ough march 2023recuperation
                      I elderly 80 year old wdower Aameda County attempting to
 5                      d daugheer diaslysis attempting to displace during COVID
 6
                                                                            atemptign to displace
                                                                             people in their homes
 7                                                                          My husband disabled
 8                                                                          receiving social security
     health failed during this case strokes robbed of his life
 9
     God loves little grandmothers and mothers even if the courts do not
10   My son injured in accident with me despite his injuries went on to complete
     bachelor of science computer science although it took him a long time
11
     African American church Desiny Christian Fellowship Fremont Calfiornia
12   People that do not pay rent providing housing but those that pay attempting
13
     to displace, bankrupt
     https://www.cbsnews.com/sanfrancisco/news/alameda-county-judge-
14
     resigns-amid-claims-he-stole-1-6m-from-neighbor/
15   LATE SEQUELAE OF COVID-19
     Note:
16
     Plan: BENZONATATE 100 MG ORAL CAP - Take 1 capsule by mouth 3
17   times a day as needed for cough
18
          ALBUTEROL SULFATE 90 MCG/ACTUATION INHL HFAA- Inhale 2
     Puffs by mouth every 6 hours as needed for quick relief of asthma
19   symptoms
20    1 12 2023 in pain left side near lower rib_cage stress. Appt coughing inhaler Hanan Mohamed, MD
     Paradoxal judge lee on vesco ventura hearings advising not to work during
21
     illness then punishing retaliation for not doing work during medical leaves, 26
22   EXHIBITS S, T stays causing distress and confusion for disabled Plainitff
23

24
     26 EXHIBITS
25
     Eumi Lee during medical emergency judge well aware of injury issues order denial of reasonable accommodations submitted
26
     prior to this date 3 4 2022 with medical records motion to quash states non appearance
     EXHIBITT
     Eumi Lee during medical emergency judge well aware of injury issues order denial of reasonable accommodations submitted
27   prior to this date 3 4 2022 with medical records case management conference states non appearance
28

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     Vesco hearings venture on 4 22 2022 and 5 13 2022 accusing plaintiff of
1
     gamesmanship and plaintiff advised by judge to see every incident listed
2    defendants
3    Du· plic· i ·tous
     /doo' plisadas/
4
     adjective
5    deceitful:
     "treacherous, duplicitous behavior''
 6
     December 27 2022 once again attempted to have First Amended
7    Summons issued number A103 Window 10. Clerk states that image could
 8
     not be pulled up FAG. I am advised to bring a file endorsed copy of face
     pages with names to cross reference FAG next time. Computers should be
 9
     able to bring up large files to view.
10   Declaration Ann Jacky Zelda
     Regarding abusive treatment Judge Herbert hearing stay 7 2 2021 Jacqueleine
11
     lllera was on line 2 24 2021 and Plaintiff Elizabeth Tigano witnesses to Judge
12   Paul Herbert abusiveness towards ill Plaintiff Mary Bernstein Occupational
     Therapist and children's author Jacqueline lllera was also present on line remote
13   in Los Angeles, California Anna Smith Fogltance in Tucson Arizona and Plaintiff
14   Mary Bernstein in Fremont, California remotely on 7 2 2021 an eyewitness to the
     abuse of Anna Smith Fogltance and Plaintiff Mary Bernstein -
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     A person with long COVID who has lung damage that causes shortness of
26   breath, fatigue, and related effects is substantially limited in respiratory
     function, among other major life activities.
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     A person with long COVID who has symptoms of intestinal pain, vomiting,
1
     and nausea that have lingered for months is substantially limited in
2    gastrointestinal function, among other major life activities.
3
     A person with long COVID who experiences memory lapses and "brain fog"
     is substantially limited in brain function, concentrating, and/or thinking.
4
     Judge using words abusive to Plaintiff Bernstein with medical issues,
,    emotionally upset claiming Ranting Tangent dismissive words when trying
     to obtain stay to care for mother sister see them mother attempting to
 6
     testify for mary Bernstein daughter to come assist them
7    Abusive towards women on line threatning
 8
     Mother on phone nearly an hour
     No witnesses allowed
 9

10
     In November 2020 Judge Herbert began mistreating Plaintiff rebuking her
11
     for not working on discovery during a medical stay. EXHIBIT P. Plaintiff
12   Elizabeth Tigano was on hearing terrified of Judge witnessing abuse of
13
     elder sister by Judge. 27

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26   27 EXHIBIT P

     Motion for extension stay October 92019 was on stay through November 4 2020 due to court closure covid and not
27      to work on matter advised by Judge until stay lifted - no one to work on case during stay invoices by defendants
        working on case during stay - judge Paul Herbe1t assisting advising in transcript defense counsel what to do to
28      counteract Plaintiff research home sales guiding defense counsel pages 43-46
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10                                                                                                                              :''.'"'"~'.".-"'4'.?:" l'o< ! 0011)(<(,.n,""'J":''':''..r""";".~"•~,-=""
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11

12
     Deliberate delays yet opposed leave for terminally ill mother visit
13
                                                                                                                                                                     0        X

14                                                                                                                                   UO.iii*?l0.i



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16                  >' °"" BERNSTEIN V ASSOCJA



17

18
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22                     ""'"'"'"""l'"''""'"'"'"-'""'''"''',J;>""-"'"''~''


23

24

25

26   ADA Reasonable Accommodations when returning to court
27
     Beth hospitalized 3 times since moving to Meadow Brook
28

                                                                                      r   131-

     VERIFIED COMPLAINT
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                                           ctors
                                         rings to be broken up in two parts we
                                         1culties may be taking east bay

                                                       uestions
                                                        d & cognitive

                                                    https://pubmed.ncbi.nlm.nih
6
                                                    .gov/34549199/
7                                                   mother request for
 8
                                                    reasonable
     accommodations included oxygen ADA reasonable request #2021-068
 9
     Bernstein v. Associa 6 24 2021
10   Include this information:
     I will having other witnesses on the line with me and they are not to
11
     be abused either. My mother with oxygen, congestive heart failure
12   will be on the telephone for this hearing a witness as well as others.
     This is part of reasonable accommodations these others present with
13
     me due to the intense fear, stress level of this matter. emotional
14   support animal
15
     allow me to present presentation without interrupting constantly,
     questions, abusing, destabilizing me i will be presnting my motion
16
     oral argument and reply response to opposition oral argument
11   presentation
18
     1116 2021 ADA Reasonable Accommodations Request Nos. #2021-
19   130 Mary Bernstein, #2021-131 Anna Smith-Fogltance #2021-132
20
     Elizabeth G. Tigano #2021-Marilyn Fogltance
21

22   12 1 2021
     Please prepare ADA reaasonable accommodations for me. My mothe
23
     who was to be a witness 12/8 and 12/9 died yesterday anna smith
24   fogltance. my sister elizaberth tigano also to be a witness is
     hospitalized in psychiatric hospital. I will have to have an emergency
25
     stay. i will be traveling to arizona to deal with the estate and these
26
     matters immediately.
27
     I have to put my surgery on hold to tend to these matters as well.
28

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     VERIFIED COMPLAINT
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     Alameda County Superior Court
 1

 2
     M.          .,f:"
                    11•0~ars a~e set at the John George Psychiatric
     P       •••       "1',)nd Fridays at 9:00 a.m.
                              t
 3
                                  on to come to court
                                 emely frightened of not allow defense counsel to
                                   as she will be less medicated testifying with
 6
                                                         emotional support animal
                                                         very scary for her
 7                                                       MOTION FOR
 8                                                       RECONSIDERATION
     judge will try to state it has taken too long as she did for motion for
 9
     summary judgment instead of merits retaliation for reasonable
10   acccommodations limited scope attorneys argued
     Case 5:20-cv-05256 Document 1 Filed 07/30/20 DISABILITY RIGHTS
11
     CALIFORNIA v COUNTY OF ALAMEDA et al. COMPLAINT FOR
12   DECLARATORY AND INJUNCTIVE RELIEF Who has put most of these
13   constituents in the psychiatric institutions? Why the Alameda County
     Superior Court of coursez
14
     Luke 18: 1-8 ESV / 19 helpful votes Helpful Not Helpful
15   And he told them a parable to the effect that they ought always to pray and
     not lose heart. He said, "In a certain city there was a judge who neither
16
     feared God nor respected man. And there was a widow in that city who
17   kept coming to him and saying, 'Give me justice against my adversary.' For
18
     a while he refused, but afterward he said to himself, 'Though I neither fear
     God nor respect man, yet because this widow keeps bothering me, I will
19
     give her justice, so that she will not beat me down by her continual
20   coming."' ... if a judge not interested in justice but simply wants to get rid
     of an irritating woman can be merciful, how much more does our God
21
     intend to be merciful. We must always be persistent in prayer and faith.
22

     94. As of 2019, approximately 2,567 people experiencing homelessness in
23
     Alameda County-or 32% of the County's homeless population-identified
24   as having a serious mental disability. 95. Despite state law and policy that
25
     discourages discharging people from psychiatric institutions to the streets
     or emergency shelters,9 Defendants frequently discharge DRC
26
     Constituents from psychiatric institutions such as John George and Villa
27   Fairmont to homelessness. Some DRC Constituents end up in emergency
     shelters, if there are shelter beds available. Others end up in homeless
28

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 1
     encampments crammed under overpasses in unsafe and degrading
     c                                     scribed the homeless
 2
     e                                     g the world's most dire
 3   p
     h                                           1ses/ECF-1-Complaint.pdf
 4   9                                           1 deeply vulnerable to violence
 5   a                                           iss itself is a traumatic
                                                      experience that aggravates
 6   I                                             I  the effects of mental health
 7                                                    disabilities.
 8                                                    99. The County has
     acknowledged that, for DRC Constituents experiencing homelessness,
 9
     psychiatric hospitalization is among "the most frequent-and the most
10   expensive-source of [their] medical care."
11

12   Vesco hearing transcript pages withheld wherein judge made remarks
13
     gamesmanship 2 hearings

14   Farmers defense counsel mcnamara learnt during preparation of first
15
     amended complaint representing kaiser permanente our doctors very
     frightening as they are our sole doctors that treat us and will be
16   testifying at trial motion to disqualify interference with our medical
17   and psychiatric treatments luanne rutherford attempted to block
     vesco hearing continuance based on doctors letters doctors
18
     restricted what they can say now we understand why
19

20

21   Judge eumi lee giving a hard time in July, August and September
     2022 concerning reasonable accommodations. Throughout the case,
22
     judge eumi lee retaliation penalizing for reasonable accommodations
23   motion for summary judgment transcript. Paul Herbert chastised for
24
     pandemic and litigation stay.

25   Alameda county sup court eumi lee covid and one for Bertrand
26
     sartazeh Gibson oliver retaliation for judicial complaint

27

28

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 1
     I let the court know when I filed my initial complaint in March 2018 that I
     had disabilities requiring reasonable accommodations in a pleading format.
 2
     The first time I had to obtain letter for reasonable accommodations in court
 3   for stay by doctors was April 2019. Shai Tsur wrote in support of stay and
     medical documentation for health failing walker, injury to leg taking care of
 4
     Mother during emergency leave February - March 2019 out of state. There
 5   was no issue with the letter writing initially then October 2019 doctors
 6
     expressed limitations concerning language in reasonable accommodation
     letters. McNamara had filed an opposition to second stay; hindsight is
 7   always 20/20. I have since learnt during that Kaiser medical whom my
 8   entire family receives medical care from is represented by McNamara.
     This is problematic conflict of interest as these doctors will be testifying at
 9
     trial in this matter. Witness tampering
10   During Vesco hearings McNamara firm criticizing letter format before Judge
11
     Eumi Lee

12
     Limited Scope Attorney Representation summary
13   judgment opposition
     Eumi Lee engaging in embroilment
14
     Judge Eumi Lee dismissed continued at the 5 13 2022 motion to strik
15   demurrer knowing that Plaintiff would be amending complaint and judg
16
     stated inclined to grant 4 22 2022 vesco hearing. These VESCO portion
     transcripts were withheld from ordered transcripts.         Court reporte
17   prohibited from providing to Plaintiff. The judge during these Vesc
18   hearings giving Plaintiff specific instructions and admonishments and then
     refusal to provide. This was strategy to remove corporate defendant
19
     BEFORE Plaintiff had chance to amend complaint demonstrating causes o
20   action and claims doe defendants. This type of leapfrog fast ones pulled
     constantly. The judge attempted to block filing of first amended complain
21
     in December 15 2022 by clerks in office needing to telephone eumi le
22   chambers for permission for filing. The judge intended to shield and
23   dismiss corporate defendants 5 16 2022 BEFORE her ruling on motion fo
     summary judgment granting stating that I did not do discovery or trial or an
24
     efforts Eumi Lee medical records reports had to reluctantly provide medica
25   leave then penalized for it taking so long for hearing - this is in effect
     retroactive denial of reasonable accommodations, post-medical leav
26
     denial of reasonable accommodations to penalize for the need for th
27   reasonable accommodation. These are the words utilized in th
28
     transcript taking so long.

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 2
                                                     SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
 3                                                                   )fa)Wilfd Hal or Ju•IHlo


                                              lhtyllem,teln                                       No           HG1e.6913111


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 4                                                             ~----(•)
                                                                                                  0J16,        05/15/2022
                                              As,OOo Norlhem Gal,lornki ol al                     limo:        6:38 AM
                                                                             ~                    Dopl:        ~12
 5                                                                                                Judge:       Euml Leo
                                                                                                    ORDER re: Ru\ir,g on Submlltec! Mlltler
 6
                                              n.. c ....n. i..v!ns IJlk, 0 w nw1« ll<'<l« ,.,i,.,J.,ion oo o,,o(wlOll. "'"' "'1,,, .. follows: lh,
                                              motion or ,l&nJ,nu A.,,,d• Nonhm, ca!itbrni,. M-tow U,.,.,J. Vi\lag,, A,,,o,:1,,1ioo-
 7                                            n .....,~ ....i M=i"lll"'m A;><>Cblec ('"D<f<..bo1>") IMW f« "'""''-''l' J..tl:"'"" ,,
                                              GRANno...... fonl>bclu.,-.

                                              RFQL'£ST FOR JUDIC:IALNOHCE
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 9                                            mo1i<>n l@d«m f«II><"• .Jmil«<I, I, ORANTnD. m,;:d.C.U~!l(d), 452th).)jTho Courl
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11

12

13
     The judge was aware of the multiple medical leaves Plaintiff, Plaintiff's disability status, the
     pandemic and court closures and the limited scope attorney status working on only one
                                                                                                                                                                                 Jll



                                                                                                                                                                                       --_f<()Z~

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     dimension of the case. See below in the highlighted paragraphs. The denial of continuance to
14   conduct discovery before this ruling. In addition, the Judge was fully aware in 4 22 2022 28
     EXHIBITS S, T that Plaintiff would be amending complaint to clarify preliminary complaint
15
     which was filed with and direction disabled, non qualified attorney and disabled plaintiff quickly
16   in March 2018, Judge mischaracterizes in that Plaintiff did not orally argue or request orally as
     limited scope attorney was arguing matter Sean Ferdin. Sean Ferdin argued matter competently
17   (transcript can be provided during this trial); Jennifer Panicker prepared competent and
     comprehensive opposition papers.)
18

19

20

21

22

23

24

25
     28 EXHIBITS
26
     Eumi Lee during medical emergency judge well aware of injury issues order denial of reasonable accommodations submitted
        prior to this date 3 4 2022 with medical records motion to quash states non appearance
27
     EXH!BITT
     Eumi Lee during medical emergency judge well aware of injury issues order denial ofrcasonable accommodations submitted
28      prior to this date 3 4 2022 with medical records case management conference states non appearance

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 7

 8

 9                          u:ou STMllARllO" su.,lMARY JljDGM!Cl'fl


10

11

12
           In October 2023 Judge Eumi Lee admittance First Amended Complaint not read yet
           required extensive response to Order to Show Cause, admonishment of style of writing
13         handicapped person non attorney with Long Covid burden to prepare second amended
           complaint without extension of time and extreme limitations confusing disabled litigant.
14
           Questionnaire judicial nomination references multiple self represented disabled litigants
15         seeking recusal from Judge evidencing pattern of discrimination to self represented
           disabled litigants. Plaintiff Elizabeth Tigano affected as causes extreme distress worried
16         homelessness if condominium is loss and fear of caregiver Plaintiff Mary Bernstein
           health crises at the hand of this Judge denial.
17
           EUMI LEE KEITH FONG did not have motion to strike FAC heavy lifting admittedly
18         did not read struck attempted to push through costs and attorney fees without allowing
           plaintiff to oppose and without hearing ada violations and ethics
19         (b) That Judge Eumi Lee, Dept 512 Judge of Superior Court of Alameda County, has
           intended to continue to discriminate against the plaintiff, Mary Bernstein, Elizabeth
20
           Tigano intentionally subject them to the unconscionable, immoral and inhumane
21         treatment, abuse, torture, humiliate, and embarrass then, exclude them from participation
           in, and/or deny her the access to and the benefits of, the services of the court system and
22         due process in violation of 42 U.S.C. 12132 et seq.
           (c) That Judge Eumi Lee, Dept 512 Judge of Superior Court of Alameda County
23
           consistently insisted on continuing to deny necessary and reasonable accommodations for
24         Mary Bernstein Elizabeth Tigano with full knowledge of their cognitive disabilities and
           severe pain and sufferings, humiliation, and embarrassment that Bernstein Tigano are
25         subjected to during court hearings
           without accommodations and his knowledge of the requirement to conform to the ADA.
26
           (d) That Jenna Whitman, Dept. 25 Judge, Superior Court of Alameda County, beginning
27         July 2023 has discriminated against the plaintiffs, Mary Bernstein, Elizabeth Tigano has
           discriminated covered up the abuse and and August 1 2023 denial extensions Judge Jenna
28

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               Whitman unassigned Judge denial ofreasonable accommodations continuances and
 1
              admonishment for request for extension time to file motions. Judge Jenna Whitman
 2            denial accommodations when various doctor notes not attached despite procedural
               history. Eumi Lee allegedly after nomination for federal court USDC California
 3            delegated these reaonasble accommodations for Tigano Bernstein to Jenna Whitman
 4
              abdicating responsibility as assigned judge. A non assigned Judge giving conflicting
              order aSto how to write second amended complaint no exhibits photos biblical verses
 5            violation freedom of speech, expression. Plaintiff Elizabeth Tigano affected as causes
              extreme distress worried homelessness if condominium is loss and fear of caregiver
 6            Plaintiff Mary Bernstein health crises at the hand of this Judge denial.
 7
              ( e) That Judge Jenna Whtiman, Dept 25 Judge of Superior Court of Alameda County,
              has intended to continue to discriminate against the plaintiff, Mary Bernstein, Elizabeth
 8            Tigano intentionally subject them to the unconscionable, immoral and inhumane
              treatment, abuse, torture, humiliate, and embarrass then, exclude them from participation
 9
              in, and/or deny her the access to and the benefits of, the services of the court system and
10
              due process in violation of 42 U.S.C. 12132 et seq.
              (f) That Judge Jenna Whitman Dept 25 Judge of Superior Court of Alameda County
11            consistently insisted on continuing to deny necessary and reasonable accommodations for
              Mary Bernstein Elizabeth Tigano with full knowledge of their cognitive disabilities and
12
              severe pain and sufferings, humiliation, and embarrassment that Bernstein Tigano are
13            subjected to during court hearings without accommodations and his knowledge of the
              requirement to confonn to the ADA.
14   g) That ELIZABETH RILES is a Judge Dept. 512/Commissioner Dept. 519 Judge, Superior
       ourt of Alameda County, beginning July 2023 and through April 2024 denial reasonable
15
      ccommodations medical issues witness Elizabeth testifying no court reporter denial continuances
16   1as discriminated against the plaintiffs, Ma1y Bernstein, Elizabeth Tigano has discriminated
      overed up the abuse and and August I 2023 denial extensions Judge Jenna Whitman unassigned
17    udge denial of reasonable accommodations continuances and admonishment for request for
      xtension time to file motions. Judge Jenna Whitman denial accommodations when various
18
      octor notes not attached despite procedural history. Eumi Lee allegedly after nomination for
19   ederal court USDC California delegated these reaonasble accommodations for Tigano Bernstein
     o Jenna Whitman abdicating responsibility as assigned judge. A non assigned Judge giving
20    onflicting order as to how to write second amended complaint no exhibits photos biblical verses
      iolation freedom of speech, expression. Plaintiff Elizabeth Tigano affected as causes extreme
21
      istress worried homelessness if condominium is loss and fear of caregiver Plaintiff Mary
22     ernstein health crises at the hand of this Judge denial.
              In 2023 Elizabeth Riles refusal to allow Elizabeth to speak at her own civil harassment or
23            to testify for me. Refusal to look at evidence submitted.
              23CV031593 GIBSON vs TIGANO
24
              Civil Unlimited (Civil Harassment) Hayward Hall of Justice
25            Filed: 04/24/2023

26          In 2023 Commissioner Elizabeth Ries will be added to the federal complaint Case
27
            Bernstein et al v. Lee et al 3 :24-cv-00 131-JSC for her unreasonableness in this matter.
            All ogther jjudes have given exeensions given my witness and my coindtion further
28          testingn. This is demonstrastivion ofvidcitiveness a petty trant this commissioner for

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           filing a complaint against her. Alameda Court is responsible fot the action of this
 1
           commisioner depriving my constittional right to defend myself against thiese unlimied
 2         years civil harassment order.

 3         I am the one with the restraining order on me it does not incovience the petioner at all.
           This is absurd this reasonaing. I have doctors orders to not particiate speaking and court
 4
           until well after May 31 2024 testing to be done June 2024 and then reviisted later agter
 5         thast abouet abiity to parri9cpae.

 6         I will not be at the May 8 2024 hearing, I am unable to file papers or participate and this
 7
           judge is denyuing me acccess to court compromising my constitaional rights. I am
           unable to proceed.
 8         Elizabeth Riles denied Elizabeth Tigano the right to testify in previous her own
           restraining order case GIBSON vs TIGANO 23CV031593 as well as testifying in Mary
 9         Bernstein case last year. Despite multiple doctors letters and requests, Elizabeth Riles
10
           and Alameda County Superior. Son Joel Bermstein jewish last name took off work Agust
           3 2023 to appear in person and testify name was refused to testify on Mother Mary
11         Bernstein behalf. Joel Bernstein lives with Moterh at property is aware of John Gibson.
           Restraining Order was maintained and kept on again. Retaliatoin for reaonalbe
12
           accommodations by Dept 519 Elizaeth Riles courtroom for reasonavlew accommodations
13         as there were elder abuse cases.
           Elizabeth Tigano was not allowed to testify in her own restraiing order case no. and not
14         allowed to testify in my renewal 2023. Jacqueline Illera testified, much evidence
           submitted. EXHIBITS L, M In this hearing, John Gibson testified never sees me
15
           Despite this Elizabeth Riles renewed for another year
16         Motion for modification son engineer refused by judge to testify; elizabeth tigano
           testified and stated harassed over and over. Transcript attached John Gibson stated he
17         never sees me
           ( h) That ELIZABETH RILES is a Judge Dept. 512/Commissioner Dept. 519 Judge of
18
           Superior Court of Alameda County, has intended to continue to discriminate against the
19         plaintiff, Mary Bernstein, Elizabeth Tigano intentionally subject them to the
           unconscionable, immoral and inhumane treatment, abuse, torture, humiliate, and
20         embarrass then, exclude them from participation in, and/or deny her the access to and the
           benefits of, the services of the court system and due process in violation of 42 U.S.C.
21
           12132 et seq.
22         (i) That Judge ELIZABETH RlLES is a Judge Dept. 512/Commissioner Dept. 519 Judge
           of Superior Court of Alameda County consistently insisted on continuing to deny
23         necessary and reasonable accommodations for Mary Bernstein Elizabeth Tigano with full
           knowledge of their cognitive disabilities and severe pain and sufferings, humiliation, and
24
           embarrassment that Bernstein Tigano are subjected to during court hearings without
25         accommodations and his knowledge of the requirement to conform to the ADA.
           U) That SUSAN LEW is a Judge Pro Tempore Dept. 519 Judge, Superior Court of
26         Alameda County, beginning August 2023 has discriminated against the plaintiffs, Mary
           Bernstein, Elizabeth Tigano has discriminated covered up the abuse and and August l
27
           2023 refusal witnesses to testify admonishment for using reasonable accommodaitons
28         request elder hearings informal proceedings held to formal stndards Judge Jenna

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     VER!FIED COMPLAINT
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           Whitman unassigned Judge denial of reasonable accommodations continuances and
 1
           admonishment for request for extension time to file motions. Plaintiff Elizabeth Tigano
 2         affected as causes extreme distress worried homelessness if condominium is loss and fear
           of caregiver Plaintiff Mary Bernstein health crises at the hand of this Judge denial. In
 3         addition when able a formal complaint will be lodged by myself and my sister Elizabeth
           Tigano. This is a denial of Elizabeth to testify as a witness. The civil harassment
 4
           hearings are informal trials hearings yet Sussan Lew held to formal standards during
 5         modificiation refusal my engineer son to testify because he had not submitted declaration.
           Further the Court Susan Lew held me to high standards with case law as that of an
 6         attorney. In additon, Susan Lew Commisioner Riles surrogate judge for the day
           admonished my witness and I several tines for reaonable accommodations going first
 7
           becxaue of "Elder Cases."
 8
           During the July 2023 reissuance hearing witnesses were denied; and despite John Gibson
 9         stating there and during the August 2023 modification hearing John Gibson stating that
           he did not even see me. The transcript is asttached and will be an exhibit in federal court
10
           of the determination of this Alameda Court through this commissioner to indefinity place
11         restraiing order on me by a man that has victimized me. A court reporter was not at the
           July 2023 hearing as no longer provied at these hearings unbeknonst to me. The
12         subsequent haring revocation trancxript attachewd.
13
           The transcript demonstrates pages 19 and 20 that they never see me and I do not bother
14         them. Tbhere are no police reporsts. This is demosntrastive of this court to purposefully
           despite witneesses, testimoiny and evidence to indeifintlyu place restrainng order on me.
15
           A disabled senior ciziten with a walker becase i have a civiil lawsuit in alamenda county
16         against HOA.

17         Also attachede is john gibson probabtionary report and anger management issued bhy thi
           court.
18

19         ELIZABERH TIGANO ACCOUNT OF CIVIL HEARING MOTION TO MODIFY
           TERMINATE ORDER:
20         Judge Tempore in a civil harassment matter Gibson v. Bernstein 21CIV00668 Alameda
           County Superior Court
21
           https://www.law.com/therecorder/alm!D/120 I 779836247/
22         I am disabled witness for my sister that has been enduring constant harassment by this
           man John Gibson that put restraining
23         order on me dismissed. My connection to the case Bernstein v. Associa HG I 889738 I is I
           was a witness, a witness in the 21 CIV000668 matter. Witness and had frivolous baseless
24
           restraining order placed on me by this man. I was denied testifying in renewal matter of
25         my sister restraining order and was denied arguing my own matter civil harassment by
           judge elizabeth riles. My sister is elderly does not go near this man but he put restraining
26         order on her because she served
27
           him with complaint in civil matter.
           The judge laughing at me asking the same question over and over about what have 1 seen.
28         I am disabled and this was

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           frightening her doing this over and over. I am not sure what she wanted me to say but I
 1
           felt so humiliated. First she told me to
 2         go to witness stand. Then the clerk said no they go to the jury box. I was so upset by her
           frustration with me. I explained
 3         these people were horrific with cuss words because i was so upset. This made her smirk
           and she dismissed me. I had to walk
 4
           by this man laughing at me that terrorizes me. I have gone through so much harassment
 5         since my mother died and moved to
           this HoA with my sister and her family. This man calls me a retarded fucking bitch
 6         constantly laughs at me when I go outside.
           HUD is investigating this matter. My sister has done nothing, I have done nothting and
 7
           this man is allowed to terrorize us.
 8         This Susan attorney temporary judge kept saying the wrong date over and over that my
           sister was in court. This judge
 9         seemed drugged, medicated or out of it. The people in the audience looked in shock.
10
           She should never have been a judge and cannot make it as an attrorney. She looked about
           85 years old and seemed
11         disoriiented.
           Judges Criticize Lew in Declarations
12
           Several S.F. judges have detailed former staff attorney Susan Lew's allegedly poor job
13
           performance to defend against her
           lawsuit, which claims discrimination.
14         February 0 l, 2008 at 12:00 AM
            1 minute read
15
           By Evan Hill I Updated on February 01, 2008
16         Former San Francisco Superior Court research attorney Susan Lew went from competing
           strongly in a judicial primary to
17         losing her job and then suing her former employer for retaliation and discrimination.
           Now, a parade of both sitting and former judges has emerged to defend the court and its
18
           decision to dismiss Lew, castigating
19         her in testimony and, in the process, revealing some of the court's itmer personnel
           machinations.
20         The often scathing commentary on Lew's alleged inefficiency and ineptness plays out in
           declarations and exhibits from nine
21
           judges, including such prominent members of the bench as Presiding Judge David Ballati
22         and 27-year veteran Philip Moscone.
           The judges filed the declarations Jan. 18, as Lew's 2006 lawsuit has moved toward trial.
23         Lew's attorney, John Scott of San Francisco's Scott Law Firm, declined to comment on
           the declarations. It's possible other
24
           judges will make declarations in support of Lew on Feb. 15, when Scott will file his
25         response. The court's motion for summary
           judgment in the case, before U.S. District Judge Charles Breyer, is to be discussed March
26         7. Lew could not be reached for
27
           comment.
           Lew's most biting critics were Judge Diane Wick and retired Judge James Warren, who
28         at separate times both directly

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           supervised her. Both apparently documented her performance closely.
 1
           "Dreadful!" Warren noted in a log he kept of Lew's work. "Terrible memo," he wrote in
 2         another entry.
           Warren, presiding in law and motion at the time, oversaw Lew during roughly a
 3         monthlong evaluation period in 2005 when she
           was assigned to him after allegedly doing poorly in a stint in the appeals section.
 4
           While working for him, Warren wrote, Lew committed a "dishonest act" that he
 5         considered "cheating": attempting to
           surreptitiously substitute an unsatisfactory memo with an alternate version after he told
 6         her she could not.
 7
           According to Warren, Lew put the new memo into his files, even attempting to imitate a
           personal notation he makes on his
 8         documents, while his back was turned during a telephone call.
           Within a few weeks, he asked that Lew be transferred out of law and motion.
 9         "Given her years of experience with the court, including her prior experience in Law and
10
           Motion, I was astounded at Ms. Lew's
           substandard level of perfonuance," Warren wrote. "I couldn't figure out how anyone
11         doing work on that level was still with the
           court."
12         ln late 2004, before her time with Warren, Lew worked as the sole staff attorney for the
13         appellate division under the supervision
           of Wick, according to Wick's declaration.
14         A series of memos by Wick to her superiors, written between November and January,
           document her dissatisfaction with Lew's
15
           assignment.
16         They culminate in a Jan. 31, 2005, message to then-Presiding Judge Robert Dondero
           informing him that Wick and her three
17         associate judges intended to resign their positions in the appellate division because of
           Lew's deficient research and the fact
18
           that they lacked any confidence in her.
19         "The additional time required for us to serve in this position because we cannot rely on
           Ms. Lew's work product has seriously
20         impacted our ability to perform our other judicial responsibilities," Wick wrote. The cou
           is represented in the case by Gail
21
           Whaley of Hanson, Bridgett, Marcus, Vlahos & Rudy.
22         Lew, a onetime president of the San Francisco La Raza Lawyers Association and a court
           attorney for more than a decade,
23         alleges that she suffered a "continuing violation and pattern of discrimination" from the
           time she lost her judicial bid until her
24
           firing. Lew argues this treatment was based on factors including her gender, political
25         activity and her husband's tenninal
           illness.
26         Lew left her job with the court to run for judge in December 2001, but didn't gamer
27
           enough votes in the primary to qualify for
           the runoff between Sean Connolly and Judge Gail Dekreon.
28

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           After returning to work, Lew alleges she was "relegated" to civil discovery, then assigned
 1
           to probate, and finally put into a pool
 2         of less-experienced "floater" attorneys a month after applying to the governor for a
           judicial appointment,
 3         It was in January 2005, a month after telling her supervisors that her husband was
           terminally ill, that Lew says she was made
 4
           the only staff attorney for the appellate division though she had no experience in
 5         appellate or criminal law.
           "The assignment was designed to set her up to fail," according to her complaint.
 6         Five months later, court CEO Gordon Park-Li gave Lew a notice she was going to be
           fired. His decision was based on her
 7
           "documented lack of competency and inefficiency in perfonning her work" and a loss of
 8         trust, according to Park-Li's
           declaration.
 9         At the time of her candidacy, Lew received endorsements from several sitting judges,
10
           including Lillian Sing, Lenard Louie and
           Julie Tang.
11         MARY BERNSTEIN ACCOUNT OF CIVIL HEARING MOTION TO MODIFY
           TERM IN ATE ORDER:
12         Judge Tempore in a civil harassment matter Gibson v. Bernstein 21CIV00668 Alameda
13
           County Superior Court
           https://www.law.com/therecorder/ almlD/120 I 77983624 7/
14         A horrific experience by a disabled grandmother granted ADA reasonable
           accommodations previous commissioner, then
15
           berated for taking time going first before elder cases. This judge tempore initially would
16         not review evidence video
           demonstrating harassment on Mary Bernstein and guests. The court clerk had to advise
17         that yes this is how it is reviewed.
           Susan Lew then refused initially witnesses, Son Engineer and disabled schizophrenic
18
           sister that has suffered at the hands of
19         this man John Gibson continually hate crimes calling her a retarded fucking bitch stalkin
           her constantly,
20         Elizabeth Tigano sister while testifying frightened in front of this man could not recall
           specific dates on stand. Elizabeth is
21
           highly medicated can recall dates if she is reviewing police reports or another document
22         with a date but cannot recall specific
           dates due to intense medication. Susan Lew repeatedly kept asking the same question
23         Elizabeth answered repeatedly about
           the conduct smirking but dissatisfied because date could not be presented confusing
24
           disabled sister testifying. Elizabeth
25         became upset when dismissed John Gibson smirking laughing upsetting her. This woman
           demeanor horrific to Mary Bernstein
26         berating, admonishing for an hour and a half taken up. Even when Susan Lew
           questionned the respondent John Gibson and
27
           protected person Mona Oliver if Mary Bernstein has done anything to them since
28         restraining order placed on April 2022 they

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           stated no. Nonetheless, Susan Lew elected to retain restraining order stating it is because
 1
           the restraining order has been in
 2         effect that Mary Bernstein has not bothered them. Ma1y Bernstein, I possess a master of
           science degree, am a caretaker for
 3         disabled family members terminally ill husband of 30+ years and disabled younger sister
           schizophrenia. Mary Bernstein, I
 4
           utilize a walker am 57 years old have many health issues have not done anything to these
 5         people to warrant civil harassment
           order. I have never been in trouble with the law in my life. This was a petition to
 6         terminate restraining order informal order in
           which Mary Bernstein was berated for not presenting a legal brief. Mary Bernstein
 7
           reading caselaw of which was rejected,
 8         interruptions constantly while attempting to articulate and present matter. Mary Bernstein
           PTSD Bipolar ADHD memory issues
 9         suffering from Long Covid brain fog constant interjections interference with presenting
10
           case.
           This attorney was fired for incompetence as an attorney had no business performing jurist
11         duties. This attorney should not
           ever be allowed to act as a judge tempore over civil harassment matters peoples lives or
12
           any matter.
13
           Judges Criticize Lew in Declarations
           Several S.F. judges have detailed former staff attorney Susan Lew's allegedly poor job
14         performance to defend against her
           lawsuit, which claims discrimination.
15
           February 01, 2008 at 12:00 AM
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           decision to dismiss Lew, castigating
20         her in testim011y and, in the process, revealing some of the court's inner personnel
           machinations.
21
           The often scathing commentary on Lew's alleged inefficiency and ineptness plays out in
22         declarations and exhibits from nine
           judges, including such prominent members of the bench as Presiding Judge David Ballati
23         and 27-year veteran Philip Moscone.
           The judges filed the declarations Jan. 18, as Lew's 2006 lawsuit has moved toward trial.
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           Lew's attorney, John Scott of San Francisco's Scott Law Finn, declined to comment on
25         the declarations. It's possible other
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26         response. The court's motion for summary
           judgment in the case, before U.S. District Judge Charles Breyer, is to be discussed March
27
           7. Lew could not be reached for
28         comment.

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           Lew's most biting critics were Judge Diane Wick and retired Judge James Warren, who
 1
           at separate times both directly
 2         supervised her. Both apparently documented her performance closely.
           "Dreadful!" Warren noted in a log he kept of Lew's work. "Terrible memo," he wrote in
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 4
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 7
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 9         documents, while his back was turned during a telephone call.
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12
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14         appellate division under the supervision
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15
           A series of memos by Wick to her superiors, written between November and January,
16         document her dissatisfaction with Lew's
           assignment.
17         They culminate in a Jan. 31, 2005, message to then-Presiding Judge Robert Dondero
           informing him that Wick and her three
18
           associate judges intended to resign their positions in the appellate division because of
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           Ms. Lew's work product has seriously
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22         is represented in the case by Gail
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           attorney for more than a decade,
24
           alleges that she suffered a "continuing violation and pattern of discrimination" from the
25         time she lost her judicial bid until her
           firing. Lew argues this treatment was based on factors including her gender, political
26         activity and her husband's terminal
27
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           the runoff between Sean Connolly and Judge Gail Dekreon.
 1
           After returning to work, Lew alleges she was "relegated" to civil discovery, then assigned
 2         to probate, and finally put into a pool
           of less-experie11ced "floater" attorneys a month after applying to the governor for a
 3         judicial appointment.
 4
           It was in January 2005, a month after telling her supervisors that her husband was
           terminally ill, that Lew says she was made
 5         the only staff attorney for the appellate division though she had no experience in
           appellate or criminal law.
 6
           "The assignment was designed to set her up to fail," according to her complaint.
 7
           Five months later, court CEO Gordon Park-Li gave Lew a notice she was going to be
           fired. His decision was based on her "documented lack of competency and inefficiency in
 8         perfonning her work" and a loss of trnst, according to Park-Li's declaration. At the time
           of her candidacy, Lew received endorsements from several sitting judges, including
 9
           Lillian Sing, Lenard Louie and Julie Tang.
10         ( k) That SUSAN LEW is a Judge Pro Tempore Dept. 519 Judge of Superior Court of
           Alameda County, has intended to continue to discriminate against the plaintiff, Mary
11         Bernstein, Elizabeth Tigano intentionally subject them to the unconscionable, immoral
           and inhumane treatment, abuse, torture, humiliate, and embarrass then, exclude them
12
           from participation in, and/or deny her the access to and the benefits of, the services of the
13         court system and due process in violation of 42 U.S.C. 12132 et seq.
           (I) That Judge SUSAN LEW is a Judge Pro Tempore Dept. 519 Judge of Superior Court
14         of Alameda County consistently insisted on continuing to deny necessary and reasonable
           accommodations for Mary Bernstein Elizabeth Tigano with full knowledge of their
15
           cognitive disabilities and severe pain and sufferings, humiliation, and embarrassment that
16         Bemstein Tigano are subjected to during court hearings without accommodations and his
           knowledge of the requirement to conform to the ADA.
17         (m) That BENTRlSH SATARZADEH is a Judge Dept. 507 Judge, Superior Court of
           Alameda County, beginning July 2022 has discriminated against the plaintiffs, Mary
18
           Bernstein, Elizabeth Tigano. has discriminated denial of reasonable accommodations
19         continuances and admonishment for request for extension time to file motions. Plaintiff
           Elizabeth Tigano affected as causes extreme distress worried homelessness if
20         condominium is loss and fear of caregiver Plaintiff Mary Bernstein health crises at the
           hand of this Judge denial. 2022 despite evidence Bentrish S. submitted restraining order
21
           kept on; despite my evidence concverning John Gibson I did not meet the standard
22         allegedly. John Gibson claims for years

23               PROCEDURAL HISTORY BENTRISH SATARDZEH RETALIATION
            TOWARDS PLAINTIFF FOR FILING JUDICIAL COMMISSION COMPLAINT
24
                                IN 2020 AGAINST BENTRISH SATARZDEH
25         (i) That Bentrish Satarzadeh, Dept. 519 parameter of time early 2020 - Commissioner of
           Superior Court of Alameda County consistently insisted on continuing to deny necessary
26         and reasonable accommodations for Mary Bernstein with full knowledge of her cognitive
27
           disabilities and severe pain and sufferings, humiliation, and embarrassment that Bernstein
           is subjected to during court hearings without accommodations and her knowledge of the
28         requirement to confo1m to the ADA. On October 2, 2019 despite MC 410 reasonable

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           accommodations that Plaintiff Bernstein could not do afternoon hearings, not to take last,
 1
           Bentrish Satardadezh kept Plaintiff Bernstein waiting until 4: l 0 pm to call case stating it
 2         would not be heard that date and that parties would have to come back. Prior to back to
           back. Defense HOA attorney and Mike Durbin the civil harassment respondent
 3         undermined Plaintiff for psychiatric conditions mocking with walker, toys Bentrish
           Satarzaeh smirking with defense counsel humiliating disabled unrepresented medicated
 4
           Plaintiff Bernstein. Prior to January 21 2020 multiple psychotherapist letters provided
 5         explaining that the Gibson and Durbin civil harassment trials needed to be one week apart
           for Plaintiff which were ignored, denied. Plaintiff frantically traveled, submitted multiple
 6         times these MC 41 Os, Plaintiff was required to appear Januaty 21 2020 facing all of
           Plaintiff to face once again multiple violent men, their defense attorneys and their family
 7
           members all alone in court. Further, Commissioner Bentrish Satarzeh stated Plaintiff
 8         would have only ten minutes to present her case. Despite overwhelming evidence against
           Defendants Gibson, Durbin, including multiple prior police incident reports against John
 9         Gibson from other parties and prior restraining order false imprisonment, sexual predator
10
           restraining order other parties imposed on Mike Durbin for 3 years Commissioner
           Satarzeh lifted the restraining orders causing escalating harassment against Plaintiff, her
11         family and guests resulting in second petitions for civil harassment. 911 calls, video
           footage captured concerning harassment towards Plaintiff, guests. Transcripts available
12
           from January 21 2020 back to back civil harassment trials.
13
           The initial civil harassment before this Commissioner RGI 9035648 wherein the civil
           harassment Order was dropped conditionally on Defendant John Gibson not harassing
14         fmther. Transcript excerpts below. Immediately after matter dismissed, John Gibson
           resumed harassment resulting in second restraining order filed HG20067974and granted.
15
           This man brandished a gun on a delivery driver in criminal matter pending 2ICR003653.
16         This man John Gibson and Mona Oliver extremely dangerous guns in possession. Mary
           Bernstein Elizabeth Tigano a witness request that the April matters HG 21110708,
17         HG21110713 be heard on 2/23/2022 with 21CV000668 first. HG21 l 10708 and
           HG21110713 were filed first and should be heard first. Many breaks to be given as
18
           Elizabeth Tigano and Mary Bernstein highly emotional. Mary Bernstein and Elizabeth
19         Tigano to appear in person in court testifying.

20         Request for transcripts from previous HG20067974 hearing and motion to quash hearing
           to be prepared. Jameson v. Desta People of modest means involved in civil cases are
21
           entitled to a court reporter if one is not already provided, the California Supreme Court
22         ruled July 5. As Courthouse News reported, the state's highest court unanimously found,
           in Jameson v. Desta. Fee waiver on file and granted. Witnesses in lengthy hearings
23         previously and evidence in this matter. Our late Mother was to testify in restraining order
           matter against John Gibson December 8/9 2021 but passed away November 30 2021
24
           concerning harassment of daughters. HG2 l l 10713 Bernstein VS Gibson
25         Unlimited Civil (Civil Harassment) Hayward Hall of Justice/ DEPT 519 - HON.
                   Document Download
26         Filed: 08/25/2021       Next Hearing: 04/05/2022 Civil Harassment Restraining Order
27
           Hearing
           HG2 l 1 l 0708 Bernstein VS Oliver
28

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           Unlimited Civil (Civil Harassment) Hayward Hall of Justice/ DEPT 519 - HON.
 1
                   Document Download
 2         Filed: 08/25/2021      Next Hearing: 04/05/2022 Civil Harassment Restraining Order
           Hearing
 3         21 CV000668 GIBSON vs BERNSTEIN
           Unlimited Civil (Civil Harassment) Hayward Hall of Justice/ DEPT 519 - HON.
 4
           Tamiza Hockenhull Document Download
 5         Filed: 10/21/2021      Next Hearing: 02/22/2022 Civil Harassment Restraining Order
           Hearing
 6
           This man filed a restraining order 21CV000668 GIBSON vs BERNSTEIN on victim
 7
           Mary Bernstein after Mary Bernstein filed third restraing order as a way to evade service
 8         by Alameda County sheriff offices of HG2 l I l 0713 Bernstein VS Gibson and
           HG18897381 Bernstein v. Associa (Doe Defendant John Gibson). John Gibson and
 9         Mona Oliver were only served with civil harassments filed August 2021 on November 30
10
           2021 afer months of evading service. Mona Oliver is the common law wife/girlfriend
           owner that has engaged in harassment as well.This is the third restraining order Mary
11         Bernstein has had to file against this violent man. Elizabeth Tigano was a previous
           witness against John Gibson before moving with Mary Bernstein. Elizaabeth Bernstein
12         has been and continues to be severely traumatized by John Gibson. This man has
13
           continually rescheduled pretrial hearings since May 2021. Elizabeth Tigano severely
           disabled now lives with Mary Bernstein due to Mother passing November 30 2021. In
14         2022 civil harassment before Judge Commissioner Bentrish Satarzadeh again in transcrip
           admits she has much familiarity with case despite evidence Bentrish S. submitted
15
           restraining order kept on; despite my evidence concverning John Gibson stating Plaintiff
16         did not meet the standard allegedly. John Gibson claims for years that he was afraid but
           curiously did not file restraining order until after named in HUD sexual harassment
17         matter and attempts to serve with complaint in this matter.
18

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     McNamara law firm directing HOA members to harass evade service contributing to abuses of
     Mary Bernstein and Elizabeth Tigano Luanne Rutherford - directing John Gibson to file
25   restraining order HUD complaint filed for harassment August 2021 husband stroke emergency
     room Plaintiff destabilized August 23 2021 John Gibson driving over guns in vehicle right when
26
     plaintiff pulled into carport parking right in front of unit #113 terrorizing - John Gibson had
27
     criminal felony charges for pulling gun on delivery driver in February 2021 on probation.
     Plaintiff was aware of gun ownership and violence. John Gibson taunting taking pictures of
28   Plaintiffterr01izing in front of unit. Plaintiff thought she was going to be shot and,killed on the
                                                                                                         - 149-

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     spot. 21CR003653 People of the State of California v. John Gibson case number Alameda
 1
     County Superior Court. Judges Eumi Lee and Keith Fong aware of John Gibson case in
 2   Alameda County Superior Court criminal matter.
     HUD matter counseling non client John Gibson below. Luanne Rutherford counseling members
 3   of HOA for years abuses Mary Bernstein demonstrated in billings discussion strategies inciting
     harass.men! againstdisabl edsenior citizen and . fa111iil'/'..
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13   john Gibson had been evading service of complaint for weeks - was called to Alameda County
     Sheriff to come and pick up
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                  ( n) That BENTRISH SA TARZAOEH is a Judge Dept. 507 Judge of Superior Court of
25                Alameda County, has intended to continue to discriminate against the plaintiff, Mary
                  Bernstein, Elizabeth Tigano intentionally subject them to the unconscionable, immoral
26
                  and inhumane treatment, abuse, torture, humiliate, and embarrass then, exclude them
27                from participation in, and/or deny her the access to and the benefits of, the services of the
                  court system and due process in violation of 42 U.S.C. 12132 et seq.
28

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                (o) That Judge BENTRISH SATARZADEH is a Judge Dept. 507Judge of Superior Court
 1
               of Alameda County consistently insisted on continuing to deny necessary and reasonable
 2             accommodations for Mary Bernstein Elizabeth Tigano with full knowledge of their
               cognitive disabilities and severe pain and sufferings, humiliation, and embarrassment that
 3             Bernstein Tigano are subjected to during court hearings without accommodations and his
 4
               knowledge of the requirement to conform to the ADA.
               p) That KEITH FONG is a Judge Dept. 517 Judge, Superior Court of Alameda County,
 5             beginning February 2024 has discriminated against the plaintiffs, Mary Bernstein,
               Elizabeth Tigano has discriminated covered up the abuse and and Order to Show Cause
 6
               scheduled admonishing Plaintiff denial morning hearings and extensions. EXHIBITS U,
 7
               V. Previously Judge Jenna Whitman unassigned Judge denial of reasonable
               accommodations continuances and admonishment for request for extension time to file
 8             motions. Judge Jenna Whitman denial accommodations when various doctor notes not
               attached despite procedural history. Eumi Lee allegedly after nomination for federal
 9
               court USDC California delegated these reaonasble accommodations for Tigano Bernstein
10
               to Jenna Whitman abdicating responsibility as assigned judge. A non assigned Judge
               giving conflicting order as to how to write second amended complaint no exhibits photos
11             biblical verses violation freedom of speech, expression. Plaintiff Elizabeth Tigano
               affected as causes extreme distress worried homelessness if condominium is loss and fear
12
               of caregiver Plaintiff Mary Bernstein health crises at the hand of this Judge denial.
13             Restrictions no filing motions without leave or any documents prior to CMC; threats that
               despite illness would grant motion attotney fees and cost against plaintiff; refusal
14             morning hearings despite Plaintiff always reasonable accommodations morning hearings
               for six years, order to show cause threaten sancxtions.. Judge Keith Fong advising that
15
               no documents allowed to be filed until after CMC held. To date, no CMC has been held
16             due to medical leave Plaintiff. Plaintiff has not been able to file documents due to
               medical conditions on medical leave. Judge Keith Fong attempting to rubber stamp costs
17             and fees for attorneys summary judgment attempt to bankrupt plaintiff for fighting for her
               family and her home. 29 Judge Keith Fong attempted to decide without hearing extensive
18

19   29
       Plaintiff filed an objection to proposed judgment on July 12 2023 submittted by Defendants. Defendants ASSOCIA
       NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE
20   ASSOCIATION~ FREMONT, AND MASSINGHAM & ASSOCIATES' Corporate Entity Defendants ("CED") seek to recover
        over $19,262.00 in costs from Mary Bernstein Plainitf, an unrepresented litigant on social security disability fighting for her
21      home. Summary judgment was granted in favor of some of the Defendants in this action, three corporate entity defendants
        Massinghrun, Meadow Brook and Associa ("defendants"); however case is not over and scheduled for trial January
22      2025.CED also seeks attorneys' fees of $88,134.75. under Civil Code section 5975 (c). Plaintiff filed an objection to
        proposed judgment on July 12 2023 submittted by Defendants. Initial proposedjudgment in 2022 and executed did not
       contain fees or costs amount. Plaintiff filed motion for reconsideration ofthatjudment. New counsel submitted a new
23     Judgment entered July 17, 2023. Notice of entry of Judgment served July 28, 2023. Defendants then subsequently filed on
       August 14, 2023 untimely memorandum of costs in the amount of $19,262.00. This was 17 days later. California Rules of
24      Court Rule 3.1700 A prevailing party who claims costs must serve and file a memorandum of costs within 15 days after the
       date of service of the notice of entry of judgment or dismissal by the clerk under Code of Civil Procedure section 664.5 or the
25     date of service of written notice of entry of judgment or dismissal, or within 180 days after entry of judgment, whichever is
       first. Plaintiff filed August 18 2023 motion to strike costs form as there were no invoices attached or dates simply vague Iists
26     and amounts. Plaintiff had no information, dates or what to dispute other than vague amount placed there. Further,
       California Rules of Court Ruic 3.1700 states the memorandum of costs must be verified by a statement of the party, attorney,
       or agent that to the best of his or her knowledge the items of cost are correct and were necessarily incurred in the case.
27
       Luanne Rutherford is the attorney that worked on the matters with the law firm; Christopher Allard did not work on this
       matter for dates in question and therefore cannot engage in conjecture for another attorney that incurred these costs in the
28
       case. Further, costs have disingenuously be allocated to the cost memotrandum and attorneys motion for fees from several

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         other cases which Plaintiff will demonstrate. There are several restraining order matters, Department of Public Safety
 2
         Attorney General, California Department of Fair Employment and Housing matters, California Civil Rights matters, and U.S.
         Department of Housing and Urban Development matters of which are not this HG 18897381 Alameda County Superior
         Court matter at hand. Motion for attorney fees iin the amount of $88,134.75 September 26, 2023. Plaintiff filed motion to
 3       strke tax costs form as there were no invoices just a list ready to be rubber stamped by Judges Eumi Lee and grunted without
         hearing by Judge Keith Fong bankrupting disabled senior citizen.
 4
     CED attetmpts to obtain reimbursement of costs under Cal. Code Civ. Proc.§ 1032 et seq, including expenses that were not
 5       actually incurred by CED, and/or are not expressly allowed by§ 1032 et seq, and/or are not allowed as discretionary costs
          under§ 1033.5.
 6   For example, CED seeks costs for improper filings, efiling costs, deposition costs not incurred by
     CED, research, bates stamping, non court ordered transcripts, non court order expert fees, associated with other cases, other
          attorneys, among others that were clearly incurred as a convenience or
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     benefit to the conduct of the litigation rather than reasonably necessary costs.
     CED has failed to meet its burden in showing both in its Memorandum of Costs
 8
     ("MOC'') and in its Opposition that many of these costs are allowable, and if they are allowable
     or discretionary, that the amounts it seeks are reasonable and necessary. In its Opposition
 9   CED attempts to justify its unreasonable and unnecessary costs, but instead expressly supports
     Plaintiff Mary Bemstein's contentions that it voluntarily assumed costs including but not limited to counsels' bates stamping,
10        legal research, non court ordered expert witness fees, non court ordered transcript fees, and third-party costs for its own
         convenience and/or benefit in
11   preparation. Plaintiff on social security disab\i\ty respectfully requests that this Court grant its motion to tax and reduce to zero
         $0 CED's MOC in addition to any such costs the Court deems
12   appropriate to tax given that CED has not adequately specified, or adequately explained the
     discrepancies in, costs and descriptions associated with filing costs, Therefore, Plaintiff's motion to tax and reduce all of the
         $19,262 to $0 awarded of the total amount sought should be granted. In addition, Declaration of Andrew Elliott an attorney
13       not even affiliated with McNamara but an attorney at Severson representing third parties. CED have attempted to bankrupt
         aud take Plaintiff and her family's home since the beginning exploiting vulnerabilities of disabled and elderly homeowners.
14       Below listing California Statewide filing fees are not excessive amounts attempted to be reimbursed fraudulent. Initial
         answer or complaint $435.00; motions $60.00; $500 motion for summary judgment; no filing fee substitution of attorneys
15        listed anywhere on fee schedule. Published here chrome-
         extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.conrts.ca.gov/documents/Statewide-Civil-Fee-Schedule-eff-
16       OIO 12023.pdf https://www.courts.9a.gov/7646.htm. California law recognizes three types of litigation costs: (I) allowable;
         (2) disa\lowable;
     and (3) discretionary. Code Civ. Proc.§ 1033.5, subds. (a), (b), (c)(4). For allowable and
17
     discretionary costs to be recoverable, they must be both "reasonably necessary to the conduct of
     the litigation rather than merely convenient or beneficial to its preparation" and "reasonable in
18   amount." Code Civ. Proc. § 1033.5 (c)(2-3). If specifically allowable under section 1033.5, the
     party challenging the costs has the burden of showing that the costs sought are not reasonable or
19   necessary. However, if the costs not specifically allowable are objected to, then the burden of
     proof lies with the requesting party to demonstrate that the costs were necessary and reasonable.
20   Ladas v. Cal. State Automobile Assn. (1993) 19 Cal.App.4th 761, 774. Whether a cost is
     reasonable is a question of fact. Lubetzky v. Friedman (1991) 228 Cal.App.3d 35, 39. The Court should strike all costs as this
21       matter personal injury not enforcment of governing documents as exhibited in civil cover sheet for filing and are not
         recoverable that are not reasonable in amount and/or not reasonably necessary to the litigation. Breach of contract one aspect
         of complaint. Plaintiff had limited scope attorney that was not eligible for practicing law, plaintiff a disabled litigant not an
22
         attorney at the time of the filing of the preliminary complaint. This attorney can no longer practice law is in a hospice and
         State Bar victims compensation fund. Plaintff won a small claims trial in this matter in this Court in 2019 for reimbursement
23       of retainer. Initial proposed judgment in 2022 and executed did not contain fees or costs amount. Plaintiff filed motion for
         reconsiderntion ofthatjudment. New counsel submitted a new Judgment entered July 17, 2023. Notice of entry of Judgment
24       served July 28, 2023. Defendants then subsequently filed on August 14, 2023 untimely memorandum of costs in the amount
         of $19,262.00. This was 17 days later. California Rules of Court Rule 3.1700 A prevailing party who claims costs must
25       serve and file a memorandum of costs within 15 days after the date of service of the notice of entry of judgment or dismissal
         by the clerk under Code of Civil Procedure section 664.5 or the date of service of written notice of entry of judgment or
26       dismissal, or within 180 days after entry of judgment, whichever is first. Plaintiff filed August 18 2023 motion to strike costs
         form as there were no invoices attached or dates simply vague lists and amounts. Plaintiff had no information, dates or what
         to dispute other than vague amount placed there. Further, California Rules of Court Rule 3.1700 states the memorandum of
27
         costs must be verified by a statement of the party, attorney, or agent that to the best of his or her knowledge the items of cost
         are correct and were necessarily incurred in the case. Luanne Rutherford is the attorney that worked on the matters with the
28       law firm; Christopher Allard did not work on this matter for dates in question and therefore cannot engage in conjecture for

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             memorandum costs and attorneys fees denial extension of time to prepare extensive
 1
             opposition without 640 entries billing unrelated cases.
 2           On March 4 2024 an OSC to show cause was issued threatening for not appearing at
             afternoon conference due to COVID I 9 which this court was aware of 2 21 2024 and
 3           dismissed as moot aDA request. This Court has been aware since 2018 I only am able to
             participate in early moming appearances. This Dept. 517 issued confusing Janua1y 31
 4
             2024 confusing instructions concerning filings and not to file until CMC. The CMC and
 5           motion hearings moved to 3 1 2024 and 3 5 2024 afternoon with instructions no leave
             then a OSC sanctions other deadlines march 20, 26 deadlines opposition replies attorney
 6           fees comprehensive if did not file would be ruled against and may 7 2024
 7
             Had just been diagnosed with covid 2 21 2024and saw 3 1 2024 dates changed to 3 5
             2024 a ADA request to move as covid diagnosis disoriented brain fog did not see CMC
 8           on a date and explained could not do afternoon hearings
             Judge dept 517 aware of covid diagnosis attached to request judge signed stated moot
 9           Had just been diagnosed with covid 2 21 2024and saw 3 I 2024 dates changed to 3 5
10
             2024 a ADA request to move as covid diagnosis disoriented brain fog did not see CMC
             on a date and explained could not do afternoon hearings
11           Judge dept 517 aware of covid diagnosis attached to request judge signed stated moot
             Defendants we have learnt were not able to get a fair criminal trial people of color and
12
             jewish people, discriminated against serving on jury Alameda County; likewise we
13
             plaintiffs have not been able to get a fair hearings and attempts to forefeiture our jury trial
             the entire duration of case. Therefore, it seems the same discrimination for civil trials
14           may be afoot tactics. Discrimination against disabled jewish and blacks attempting to
             save their homes. Moms 4 housing, Leonard Powell, Mary Bernstein how many others?
15
             Perhaps an audit of these as well these civil cases dismissed or bungled trial witness jury
16           tamperin or outright denial of constitiuional righs to trial and serving on jury. God loves
             these little Mothers Grandmothers, Mary and Elizabeth whether this Court does or not.
17           This is horrific potentially falsely accused defendants not receiving a fair trial with
             capital punishment nor is it fair victims of predatory displacement in civil matters to be
18
             denied.
19            EUMI LEE KEITH FONG did not have motion to strike FAC heavy lifting admittedly
             did not read struck attempted to push through costs and attorney fees without allowing
20           plaintiff to oppose and without hearing ada violations and ethics
             OSC never vacated EXHIBITS U, V. 30
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        another attorney that incurred these costs in the case. Further, costs have disingenuously be allocated to the cost
        memotrandum and attorneys motion for fees from several other cases which Plaintiff will demonstrate. There arc several
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        restraining order matters, Department of Public Safety Attorney General, California Department of Fair Employment and
        Housing matters, California Civil Rights matters, and U.S. Department of Housing and Urban Development matters of which
24
        are not this HG 18897381 Alameda County Superior Court matter at hand. Motion for attorney fees iin the amount of
        $88,134.75 September 26, 2023. Plaintiff filed motion to strke tax costs form as there were no invoices just a list ready to be
25      rubber stamped by Judges Eumi Lee and granted without hearing by Judge Keith Fong bankrupting disabled senior citizen,
     " EXHIBITU
26   Keith Fong minutes Order to Show Cause vacated only after Plaintiff brought to attention that the judge stated it
        would be vacated previously and that plaintiff did not have to prepare response and appear - sanctions and OSC
27      had been issued despite reasonable accommodations and medical records submitted 3 5 2024 - matter left on
        calendar until 5 7 2024 stressing Plaintiff Bernstein
28   EXHIBITV
                                                                 - 161-

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 1           September 17, 2024 CMC vacated
     This Comt vacated CMC scheduled for 9 17 2024 at the request of Defendants with no formal
 2
     motion. This has been a repeated pattern by ths Court to take direction from defense counsel. The
 3
     Court is supposed to be neutral. No formal motions to strike, dismiss need be filed or vacated as the
 4
     Court has been doing defense counsel bidding. Emails to the Court by defense counsel or
 5
     suggestion in case management statements and letters to court. Plaintiff suspects ex pa rte
 6   communications occurring. Plaintiff has been on medical leave and only returning to court. This
 7   type of behavior has been exhibited constantly by court bias, prejudice.
 8   Plaintiff has had to spend time that could be trial preparation on a fraudulent motion for attorney

 9   fees and costs that this court attempted to simply rubber stamp through. This Court attempted to
     block filing of opposition filing stating no motions documents to be filed bankrupting plaintiff until
10
     CMC held. Court order I 31 2024 however defendants have filed documents.
11
     Email from dept 517 states that CMC are held on Fridays Exhibit B
12
     Plaintiff submitted ADA requestr MC 410 of need for morning CMC heearing
13

14
     Breathing issues coughing inhaler phone psalms playing
15
     take call in joel room
16
     Denial did not bother ADA request is court reporter
17
     present?
18
     The judge does some morning court appearances including
19
     trial
20
     The court has provided court reporters in the past for all
21
     hearings and all morning for us procedural history will
22
     reflect - judge federal clerk
23
     no vesco hearing held - no email to opposing counsel judge
24
     or ADA for morning cmc request ADA
25

26
     Keith Fong Order - Order to Show Cause vacated only after Plaintiff brought to attention that the judge stated it
27      would be vacated previously and that plaintiff did not have to prepare response and appear - sanctions and OSC
        had been issued despite reasonable accommodations and medical records submitted 3 5 2024 - matter left on
28      calendar until 5 7 2024 stressing Plaintiff Bernstein
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 1   Plaintiff speech therapy hearing problems - medicated
 2   Plaintiff Elizabeth Tigano
 3   Coughing slow speech
 4   Court reporter
 5

 6   To take it slow coming back to court Elizabeth and I after
 7   medical issues
 8

 9         ( q) That KEITH FONG is a Judge Dept. 5 I 7 Judge of Superior Couit of Alameda
           County, has intended to continue to discriminate against the plaintiff, Mary Bernstein,
10
           Elizabeth Tigano intentionally subject them to the unconscionable, immoral and
11         inhumane treatment, abuse, torture, humiliate, and embarrass then, exclude them from
           participation in, and/or deny her the access to and the benefits of, the services of the court
12         system and due process in violation of 42 U.S.C. 12132 et seq.
           (r) That Judge KEITH FONG is a Judge Dept. 517 Judge of Superior Court of Alameda
13
           County consistently insisted on continuing to deny necessary and reasonable
14         accommodations for Mary Bernstein Elizabeth Tigano with full knowledge of their
           cognitive disabilities and severe pain and sufferings, humiliation, and embarrassment that
15         Bernstein Tigano are subjected to during court hearings without accommodations and his
           knowledge of the requirement to conform to the ADA.
16
           s) That MARK FICKES is a Commissioner Dept. 519 Judge, Superior Court of Alameda
17         County, beginning May 2 2024 has discriminated against the plaintiffs, Mary Bernstein,
           and Plaintiff Witness Elizabeth Tigano. I have ajewish last name Bernstein. On April
18         22 2024 I learnt Alameda Coyunty investigation for discrimination against Blacks and
19
           Jews. Judge orders review of Alameda County death penalty convictions over apparent
           exclusion of Jewish, Black female jurors. Dozens of death penalty convictions in
20         Alameda County must be reviewed after prosecutors there were found to have
           intentionally excluded Black and Jewish jurors during a murder trial ia federal judge
21         ordered. Exhibit A. This is after Department of Justice investigation determined in 2021
22
           Alameda County violations abuses mentally ill persons.
           On June 18, 2024 Commissioner Fickes issued restraining order for 3 three additional
23         years bringing to a total now of over six years restricted movements in condominium
           association by a violent man. Commissioner Fickes was aware that Respondent could no
24
           file a response due to medical reasons and could not appear but had every intention to
25
           appear and oppose.
           On April 15, 2024 Plaintiff submitted to Alameda Court request for extension of a
26         renewal restraiing order hearing by a man in housing community that Alameda County
           has continually kept resreraiing order on despute witness testimony and couit transcripts
27
           wherein the party John Gibson stasted that there has been no contact with Mary
28         Bernstein. The Alameda Court has allowed this man that was charged with brandishing

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            weapon on an indfiviual and that has a criminal restraining order on him 21-CR-003653
 1
            People v. John Gibson to continually file renewal restraining orders indefinitely
 2          21CV000668 GIBSON vs BERNSTEIN despite multiple witness testimony, and John
            Gibson admittance on court transcripts that he has not even seen Mary Bernstein and
 3         Mary Bernstein poses no threat. https://fullerproject.org/story/how-domestic-abusers-
 4
           weaponize-the-courts/ Commissioner Mark Fickes denial extensions of time reasonable
            accommodations due to medical issues. Commissioner knew that women were
 5          incapacitated denial due process rights witness and litigant. In particular, on June 18
           2024 civil harassment hearing held despite doctors notes and ADA requests for medical
 6
           continuances for Respondent and her witness. Mark Fickes imposed three year additiona
 7
           restraining order on Plaintiffdisabled that was not allowed to even appear and oppose.
            This brings the total to over five years, six years civil harassment order imposed on a
 8         disabled senior citizen female with a walker by a criminal defendant. Plaintiff has never
           had any court actions against her or criminal charges ever filed. CA Civ Proc Code
 9         Section 527.6 states:
10
           (p) (])Either party may request a continuance of the hearing, which the court shall grant
           on a showing of good cause. The request may be made in writing before or at the hearing
11         or orally at the hearing. The court may also grant a continuance on its own motion.
           https://california.public.law/codes/ca civ proc code section 527.6 I cannot file motion
12
           to continue and that is not is what is done for reasonable accommodations which are
13         conficdential. I am unable to appear and speak on zoom due to complications. I am
           unable to ravel to file a motion to cotntinue. I cannot efile as cannot afford.
14         Once again we have provided documentation that we cannot appear until August 2024. i
           we are not given a chance to appear, this constitues violatiopn of our constitutional civil
15
           rights. This commissioner allegedly was a constitiutaonal civil rights lawyer. Couit
16         reporter was also not provided. Mark Fickes was aware that Petitioner a criminally
           violent man on probation directed to anger management by the Alaameda County Supeio1
17         Court in case no. 21CR003653. Mark Fickes was also aware in court filing by Petitioner
           John Gibson an exhibit filed May 28 2024 from Meadow Brook counsel Angus and Terry
18
           dated Sepgtember a letter dated September 21 2023 that John Gibson was directed to
19         cease and desist from harassing Mary Bernstein and Elizabeth Tigano.
           ( t) That MARK FICKES is a Commissioner Dept. 519 Judge of Superior Court of
20         Alameda County, has intended to continue to discriminate against the plaintiff, Mary
           Bernstein, Plaintiff Witness Elizabeth Tigano intentionally subject them to the
21
           unconscionable, immoral and inhumane treatment, abuse, torture, humiliate, and
22         embarrass then, exclude them from participation in, and/or deny her the access to and the
           benefits of, the services of the court system and due process in violation of 42 U.S.C.
23         12132 et seq.
           (u) That MARK FICKES is a Commissioner Dept. 519 Judge of Superior Comt of
24
           Alameda County consistently insisted on continuing to deny necessary and reasonable
25         accommodations for Mary Bernstein Plaintiff Witness Elizabeth Tigano with full
           knowledge of their cognitive disabilities and severe pain and sufferings, humiliation, and
26         embarrassment that Bernstein Tigano are subjected to during court hearings without
27
           accommodations and his knowledge of the requirement to conform to the ADA

28

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            (g) That the State of California, Superior Court of Alameda County, knowingly and
 1
            intentionally continue to discriminate against the plaintiffs, Mary Bernstein and Elizabeth
 2          Tigano.
            (h) That the actions of the State of California and other named defendants were
 3          conscious, deliberate, and intentional in their active discrimination against the plaintiffs,
            Mary Bernstein and Elizabeth Tigano.
 4
             (i) That the actions of the State of California, Judicial Council of California, and
 5          Judicial Branch of the Government of California were conscious, deliberate, and
            intentional in their active discrimination against the against the plaintiffs, Mary Bernstein
 6          and Elizabeth Tigano, all other disabled litigants with cognitive disabilities and all other
 7
            similarly situated disabled individuals in this State. That their persistent false advertising
            and misrepresentation of the actions of the judicial process on the California Courts web
 8          site at http://wm.comtinfo.ca.aov/ as "Committed to providing fair and equal access to
            justice for all Californians" was with full knowledge of plaintiffs disability, physical
 9          inability of plaintiffs to have "fair and equal access to justice" without legal counsel as
10
            accommodation, and with their knowledge of the requirements to conform to the ADA.
            G) That the actions of the State of California and the other defendants were
11          conscious, deliberate, and intentional in their active discrimination against all other
            similarly situated cognitively disabled individuals of this State. That their persistent false
12          advertising and misrepresentation of the actions of the judicial process as "fair and equal
13          access to justice", knowing that cognitively disabled individuals were unable to gain
            meaningful access to court processes, was with full knowledge of cognitively disabled
14          litigants' disabilities and their knowing failure to meet the requirements to conform to the
            ADA.
15
            (k) That in alternative, the actions of the State of California and other defendants
16          were knowing and resulted from the defendants' negligence in complying with the law.
             (I) That in alternative, the actions of the State of California and other defendants
17          were knowing and resulted from the defendants' negligence in complying with the law.
            (m) That as a result of the defendants' actions, the plaintiffs Mary Bernstein and Elizabet
18
            Tigano have suffered damages in the form of extreme pain and suffering, resulting in the
19          exacerbations of their PTSD, ADHD, Bipolar conditions, the extreme embarrassment,
            humiliation, anxiety and panic attacks, dissociation and avoidance in her attempts to
20          represent herself and to gain access to the services provided by the State of California
            and Superior Court of Alameda County and not being able to be accommodated.
21

22

23                              VII. PRAYER/REQUEST FOR RELIEF
24

25   WHEREFORE, Plaintiff would hereby request this Honorable Court to:
     I. Render a ruling that by not providing extensions, continuances as accommodation to
26   plaintiffs and other indigent litigants with cognitive disabilities in civil cases, in which such
27
     litigants' fundamental rights to basic human needs are at stake, the Judicial Branch of the
     California Government and its subdivisions violated the due process rights of Plaintiffs
28   and other indigent litigants with cognitive disabilities.

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     2. Render a ruling that during the court processes in Superior Court of Alameda
 1
     County, during which plaintiff Bernstein was denied requested accommodations, continuances
 2   and extensions, limiting freedom of expression her due process rights were violated and that all
     rulings made as a result of such court processes are reversed.
 3   3. Render a ruling that the actions of Judge Eumi Lee of Alameda County Superior Court
 4
     during the hearings and rulings above constituted intentional abuse, torture, and discrimination o
     cognitively disabled plaintiff Mary Bernstein and subjected cognitively disabled Plaintiff
 5   Elizabeth Tigano to traumatic experience.
     4. Render a ruling that the actions of Judge Jenna Whitman of Alameda County Superior Court
 6   during the denial reasonable accommodations and rulings above constituted intentional abuse,
 7
     torture, and discrimination of cognitively disabled plaintiff Mary Bernstein and subjected
     cognitively disabled Plaintiff Elizabeth Tigano to traumatic experience. U.S.C. 12133 and 29
 8   U.S.C. 794a.
     5. Render judgment against the State of California, Superior Court of Alameda County, Court of
 9
     for damages for plaintiffs' Bernstein and Tigano's pain and sufferings during abuse and torture,
10   the resulting exacerbation of disabilities, past and ongoing medical and other
     expenses associated with disability evaluations and treatment, humiliation, and
11   embarrassment during the course of proceedings in the Superior Cou1t of Alameda
     County, attorney's fees, costs and expenses pursuant to the provisions of 42 U.S.C. 12133 and 29
12
     U.S.C. 794a for defending them in the grievance procedure, their vindication of their rights in the
13   state comt, and for binging this action.
     6. Render judgment against ALAMEDA COUNTY SUPERIOR COURT EUMI LEE JENNA
14   WHITMAN for dam ages for plaii1tiffs' Bernstein and Tigano's pain and sufferings during abuse
     and torture, the resulting exacerbation of disabilities, past and ongoing medical and other
15
     expenses associated with disability evaluations and treatment, humiliation, and
16   embarrassment during the course of proceedings in the Superior Court of Alameda
     County, attorney's fees, costs and expenses pursuant to the provisions of 42 U.S.C. 12133 and 29
17   U.S.C. 794a for defending them in the grievance procedure, their vindication of their rights in the
     state court, and for bringing this action.
18
     WHEREFORE, plaintiffs demand judgment against defendants, and each of them, for:
19   7. Compensatory damages according to proof;
     8. Punitive damages exemplary damages;
20   WHEREFORE, plaintiffs respectfully request judgment against the defendants as Such other and
     fmther relief as this court may deem just and proper.
21

22
                                          VIII. CONCLUSION
23
     For all the reasons stated above, Plaintiffs Mary Bernstein Elizabeth Tigano were denied
24
     reasonable accommodations unable to have medical procedures reasonable accommodation
25   under the ADA Title II, as well as other reasonable accommodations by the Defendant State of
     California; Plaintiff Elizabeth Tigano denied reasonable accommodations as witness in matter.
26   Respectfully Submitted,
27
                                             Count 1(42 U.S.C. § 1981)
                                                 As to All Defendants
28                     FIRST CLAIM FOR RELIEF RELIGIOUS DISCRIMINATION

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 1
           40. Plaintiffs Bernstein and Tigano repeat and reallege each and eve1y allegation
 2             heretofore alleged as if fully set forth herein.
           41. Defendant's conduct denying Plaintiffs reasonable accommodations were federally
 3              protected class extreme and outrageous and done with discrimination.
        42. Defendant State of California Alameda County Superior Court is a public agency.
 4
            Alameda County Superior Court, withheld from and denied to Plaintiffs
 5          accommodations, advantages, facilities and privileges thereof. The U.S. government has
            a public policy to promote equal rights for all citizens. One way to encourage this idea is
 6          to actively discourage discrimination against members of protected classes (such as racial
            minorities, religious, women, and the disabled). To prevent discrimination in public
 7
            accommodations, the government enacted certain laws at the federal, state, and
 8          sometimes local levels. Specifically, the federal Civil Rights Act of 1964 prohibits
            discrimination on the basis of race, color, national origin, and religion. The Unruh Civil
 9          Rights Act requires "full and equal accommodations, advantages, facilities, privileges or
10
            services in all business establishments. Plaintiffs are members of a protected class,
            documented disabled women that have been harassed in court matters pleading for
11          reasonable accommodations from this agency.
        43. Under 42 U.S.C. §§ 1981 and 1982 Section 198l(a) provides that "[a]ll persons within
12          the jurisdiction of the United States shall have the same right in every State ... to make
13
            and enforce contracts, to sue, be parties, give evidence, and to the full and equal benefit
            of all laws and proceedings for the security of persons and property as is enjoyed by
14          white citizens .... " 42 U.S.C. § 198l(a). To establish a claim under§ 1981, a plaintiff
            must show that (I) he is a member of a protected class; (2) defendant intended to
15
            discriminate against plaintiff based upon his membership in the protected class; and (3)
16          the discrimination concerned one or more of the activities enumerated in § 1981. Brown
            v. City of Oneonta, 221 F.3d 329, 339 (2d Cir. 2000). Like the Equal Protection Clause, §
17          1981 can only be violated by purposeful discrimination. Gen. Bldg. Contractor's Assn.,
            Inc. v. Pennsylvania, 458 U.S. 375,391 (1982). 42 U.S.C. § 1982 states that "[a]ll
18
            citizens of the United States shall have the same right, in every State and Territory, as is
19          enjoyed by white citizens thereof to inherit, purchase, lease, sell, hold, and convey real
            and personal property." Section 1982 has been interpreted to prohibit "intentional
20          discrimination" based on race. Shaare Tefila Congregation v. Cobb, 481 U.S. 615, 617
            (1987) (citation omitted). Plaintiffs are members of protected class: disabled women.
21
        Plaintiff Mary Bernstein has referenced in pleadings biblical verses, her faith and how the
22         faith has sustained her through this difficult case. Judge Eumi Lee admonished for
           biblical verses in First Amended Complaint prohibition. Judge Jenna Whitman
23         prohibition biblical verses in preparation of second amended complaint, photos and
           exhibits restricting freedom of expression.
24

25

26

27
                                                 COUNT II
                             As to Defendant State of California Judicial Branch
28

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             SIXTH CLAIM FOR RELIEF 42 U.S. Code§ 12132 Disability Discrimination ADA
 1
                                                      Violations
 2         44. (a) That Eumi Lee, Dept 512 Judge of Superior Court of Alameda County beginning
               February 25 2022, has discriminated against the plaintiffs, Mary Bernstein, Elizabeth
 3             Tigano has excluded them from participation in, and/or denied her the access to and
 4
               the benefits of, the services of the court system and due process in violation of 42
               U.S.C. 12132 et seq., has intentionally
 5          subjected them to the unconscionable, immoral and inhumane treatment, abused and
            tortured then during the court processes causing her to experience pain and sufferings so
 6          severe that she began weeping on remote hearing calls, destabilizing February 25 2022.
 7
            February 25 2022 ridiculing Plaintiff for ADHD symptoms admonishing for speaking.
            February 25 2022 embarassing medicated sister Elizabeth Tigano calling on her to stand
 8          up frightening her and that conclusion of hearing requesting Plaintiff only come into
            court room alone. The suggestion that Elizabeth Tigano be left out in hall unsupervised.
 9
            April 2023 medical emergency when returned to court Long Covid keeping plaintiff and
10
            witness longer than hearing during medical emergency causing East Bay Paratransit to be
            missed almost. To date, Plaintiff only zoom hearings due to fear of medical emeregency
11          again before Eumi Lee not wanting to adjourn despite medical breathing issues inhaler.
            Judge Eumi Lee has forced Plaintiff to proceed at times when unable to proceed due to
12
            health issues remotely. Judge Eumi Lee denial reasonable accommodations, cruelty
13          during medical emergencies. In October 2023 Judge Eumi Lee admittance First
            Amended Complaint not read yet required extensive response to Order to Show Cause,
14          admonishment of style of writing handicapped person non attorney with Long Covid
            burden to prepare second amended complaint without extension of time and extreme
15
            limitations confusing disabled litigant. Questionnaire judicial nomination references
16          multiple self represented disabled litigants seeking recusal from Judge evidencing pattern
           of discrimination to self represented disabled litigants. Plaintiff Elizabeth Tigano
17          affected as causes extreme distress worried homelessness ifcondominium is loss and fear
           of caregiver Plaintiff Mary Bernstein health crises at the hand of this Judge denial.
18
           (b) That Judge Eumi Lee, Dept 512 Judge of Superior Court of Alameda County, has
19          intended to continue to discriminate against the plaintiff, Mary Bemstein, Elizabeth
           Tigano intentionally subject them to the unconscionable, immoral and inhumane
20         treatment, abuse, torture, humiliate, and embarrass then, exclude them from participation
           in, and/or deny her the access to and the benefits of, the services of the court system and
21
            due process in violation of 42 U.S.C. 12132 et seq.
22         (c) That Judge Eumi Lee, Dept 512 Judge of Superior Court of Alameda County
           consistently insisted on continuing to deny necessary and reasonable accommodations for
23         Mary Bernstein Elizabeth Tigano with full knowledge of their cognitive disabilities and
24
           severe pain and sufferings, humiliation, and embarrassment that Bernstein Tigano are
           subjected to during court hearings
25         without accommodations and his knowledge of the requirement to conform to the ADA.
           (d) That Jenna Whitman, Dept. 25 Judge, Superior Court of Alameda County, beginning
26         July 2023 has discriminated against the plaintiffs, Mary Bernstein, Elizabeth Tigano has
27
           discriminated covered up the abuse and and August I 2023 denial extensions Judge Jenna
           Whitman unassigned Judge denial of reasonable accommodations continuances and
28         admonishment for request for extension time to file motions. Judge Jenna Whitman

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           denial accommodations when various doctor notes not attached despite procedural
 1
           history. Eumi Lee allegedly after nomination for federal court USDC California
 2         delegated these reaonasble accommodations for Tigano Bernstein to Jenna Whitman
           abdicating responsibility as assigned judge. A non assigned Judge giving conflicting
 3         order as to how to write second amended complaint no exhibits photos biblical verses
 4
           violation freedom of speech, expression. Plaintiff Elizabeth Tigano affected as causes
           extreme distress worried homelessness if condominium is loss and fear of caregiver
 5         Plaintiff Mary Bernstein health crises at the hand of this Judge denial.
           ( e) That Judge Jenna Whtiman, Dept 25 Judge of Superior Court of Alameda County,
 6         has intended to continue to discriminate against the plaintiff, Mary Bernstein, Elizabeth
 7
           Tigano intentionally subject them to the unconscionable, immoral and inhumane
           treatment, abuse, torture, humiliate, and embarrass then, exclude them from participation
 8         in, and/or deny her the access to and the benefits of, the services of the court system and
           due process in violation of 42 U.S.C. 12132 et seq.
 9
           (1) That Judge Jenna Whitman Dept 25 Judge of Superior Court of Alameda County
10         consistently insisted on continuing to deny necessary and reasonable accommodations for
           Maty Bernstein Elizabeth Tigano with full knowledge of their cognitive disabilities and
11         severe pain and sufferings, humiliation, and embarrassment that Bernstein Tigano are
           subjected to during court hearings without accommodations and his knowledge of the
12
           requirement to conform to the ADA.
13         (g) That ELIZABETH RILES is a Judge Dept. 512/Commissioner Dept. 519 Judge,
           Superior Court of Alameda County, beginning July 2023 and through April 2024 denial
14         reasonable accommodations medical issues witness Elizabeth testifying no court rep01ter
           denial continuances has discriminated against the plaintiffs, Mary Bernstein, Elizabeth
15
           Tigano has discriminated covered up the abuse and and August I 2023 denial extensions
16         Judge Jenna Whitman unassigned Judge denial of reasonable accommodations
           continuances and admonishment for request for extension time to file motions. Judge
17         Jenna Whitman denial accommodations when various doctor notes not attached despite
           procedural history. Eumi Lee allegedly after nomination for federal court USDC
18
           California delegated these reaonasble accommodations for Tigano Bernstein to Jenna
19         Whitman abdicating responsibility as assigned judge. A non assigned Judge giving
           conflicting order as to how to write second amended complaint no exhibits photos
20         biblical verses violation freedom of speech, expression. Plaintiff Elizabeth Tigano
           affected as causes extreme distress worried homelessness if condominium is loss and fear
21
           of caregiver Plaintiff Maty Bernstein health crises at the hand of this Judge denial.
22         ( h) That ELIZABETH RILES is a Judge Dept. 512/Commissioner Dept. 519 Judge of
           Superior Court of Alameda County, has intended to continue to discriminate against the
23         plaintiff, Mary Bernstein, Elizabeth Tigano intentionally subject them to the
           unconscionable, immoral and inhumane treatment, abuse, torture, humiliate, and
24
           embarrass then, exclude them from participation in, and/or deny her the access to and the
25         benefits of, the services of the couit system and due process in violation of 42 U.S.C.
           12132 et seq.
26         (i) That Judge ELIZABETH RILES is a Judge Dept. 512/Commissioner Dept. 519 Judge
27
           of Superior Court of Alameda County consistently insisted on continuing to deny
           necessaiy and reasonable accommodations for Mary Bernstein Elizabeth Tigano with full
28         knowledge of their cognitive disabilities and severe pain and sufferings, humiliation, and

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           embarrassment that Bernstein Tigano are subjected to during court hearings without
 1
            accommodations and his knowledge of the requirement to conform to the ADA.
 2          G) That SUSAN LEW is a Judge Pro Tempore Dept. 519 Judge, Superior Court of
            Alameda County, beginning August 2023 has discriminated against the plaintiffs, Mary
 3          Bernstein, Elizabeth Tigano has discriminated covered up the abuse and and August 1
 4
            2023 refusal witnesses to testify admonishment for using reasonable accommodaitons
            request elder hearings informal proceedings held to formal stndards Judge Jenna
 5          Whitman unassigned Judge denial of reasonable accommodations continuances and
           admonishment for request for extension time to file motions. Judge Jenna Whitman
 6         denial accommodations when various doctor notes not attached despite procedural
 7
            history. Eumi Lee allegedly after nomination for federal court USDC California
           delegated these reaonasble accommodations for Tigano Bernstein to Jenna Whitman
 8         abdicating responsibility as assigned judge. A non assigned Judge giving conflicting
           order as to how to write second amended complaint no exhibits photos biblical verses
 9         violation freedom of speech, expression. Plaintiff Elizabeth Tigano affected as causes
10         extreme distress worried homelessness if condominium is loss and fear of caregiver
           Plaintiff Mary Bernstein health crises at the hand of this Judge denial.
11         ( k) That SUSAN LEW is a Judge Pro Tempore Dept. 519 Judge of Superior Court of
           Alameda County, has intended to continue to discriminate against the plaintiff, Mary
12
           Bernstein, Elizabeth Tigano intentionally subject them to the unconscionable, immoral
13         and inhumane treatment, abuse, torture, humiliate, and embarrass then, exclude them
           from participation in, and/or deny her the access to and the benefits of, the services of the
14         court system and due process in violation of 42 U.S.C. 12132 et seq.
           (I) That Judge SUSAN LEW is a Judge Pro Tempore Dept. 519 Judge of Superior Court
15
           of Alameda County consistently insisted on continuing to deny necessary and reasonable
16         accommodations for Mary Bernstein Elizabeth Tigano with full knowledge of their
           cognitive disabilities and severe pain and sufferings, humiliation, and embarrassment that
17         Bernstein Tigano are subjected to during comt hearings without accommodations and his
           knowledge of the requirement to conform to the ADA.
18
           (m) That BENTRISH SATARZADEH is a Judge Dept. 507Judge, Superior Court of
19         Alameda County, beginning July 2023 has discriminated against the plaintiffs, Mary
           Bernstein, Elizabeth Tigano has discriminated covered up the abuse and and August 1
20         2023 denial extensions Judge Jenna Whitman unassigned Judge denial of reasonable
           accommodations continuances and admonishment for request for extension time to file
21
           motions. Judge Jenna Whitman denial accommodations when various doctor notes not
22         attached despite procedural history. Eumi Lee allegedly after nomination for federal
           comt USDC Califomia delegated these reaonasble accommodations for Tigano Bernstein
23         to Jenna Whitman abdicating responsibility as assigned judge. A non assigned Judge
           giving conflicting order as to how to write second amended complaint no exhibits photos
24
           biblical verses violation freedom of speech, expression. Plaintiff Elizabeth Tigano
25         affected as causes extreme distress worried homelessness if condominium is loss and fear
           of caregiver Plaintiff Mary Bemstein health crises at the hand of this Judge denial.
26         ( n) That BENTRISH SATARZADEH is a Judge Dept. 507Judge of Superior Court of
27
           Alameda County, has intended to continue to discriminate against the plaintiff, Mary
           Bernstein, Elizabeth Tigano intentionally subject them to the unconscionable, immoral
28         and inhumane treatment, abuse, torture, humiliate, and embarrass then, exclude them

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             from participation in, and/or deny her the access to and the benefits of, the services of the
 1
             couit system and due process in violation of 42 U.S.C. 12132 et seq.
 2           (o) That Judge BENTRJSH SATARZADEH is a Judge Dept. 507Judge of Superior Court
            of Alameda County consistently insisted on continuing to deny necessary and reasonable
 3           accommodations for Mary Bernstein Elizabeth Tigano with full knowledge of their
            cognitive disabilities and severe pain and sufferings, humiliation, and embarrassment that
 4
            Bernstein Tigano are subjected to during court hearings without accommodations and his
 5          knowledge of the requirement to conform to the ADA.
            p) That KEITH FONG is a Judge Dept. 517 Judge, Superior Court of Alameda County,
 6           beginning February 2024 has discriminated against the plaintiffs, Mary Bernstein,
 7
            Elizabeth Tigano has discriminated covered up the abuse and and Order to Show Cause
            scheduled admonishing Plaintiff denial morning hearings and extensions Judge Jenna
 8          Whitman unassigned Judge denial of reasonable accommodations continuances and
            admonishment for request for extension time to file motions. Judge Jenna Whitman
 9
            denial accommodations when various doctor notes not attached despite procedural
10
            history. Eumi Lee allegedly after nomination for federal court USDC California
            delegated these reaonasble accommodations for Tigano Bernstein to Jenna Whitman
11          abdicating responsibility as assigned judge. A non assigned Judge giving conflicting
            order as to how to write second amended complaint no exhibits photos biblical verses
12
            violation freedom of speech, expression. Plaintiff Elizabeth Tigano affected as causes
13          extreme distress worried homelessness if condominium is loss and fear of caregiver
            Plaintiff Mary Bemstein health crises at the hand of this Judge denial. Restrictions no
14          filing motions without leave or any documents prior to CMC; threats that despite illness
            would grant motion attotney fees and cost against plaintiff; refusal morning hearings
15
            despite Plaintiff always reasonable accommodations morning hearings for six years,
16          order to show cause threaten sancxtions .. EXHIBITS U, V.
            ( q) That KEITH FONG is a Judge Dept. 517 Judge of Superior Couit of Alameda
17          County, has intended to continue to discriminate against the plaintiff, Mary Bernstein,
            Elizabeth Tigano intentionally subject them to the unconscionable, immoral and
18
            inhumane treatment, abuse, torture, humiliate, and embarrass then, exclude them from
19          participation in, and/or deny her the access to and the benefits of, the services of the court
            system and due process in violation of42 U.S.C. 12132 et seq.
20          (r) That Judge KEITH FONG is a Judge Dept. 517 Judge of Superior Court of Alameda
            County consistently insisted on continuing to deny necessary and reasonable
21
            accommodations for Mary Bernstein Elizabeth Tigano with full knowledge of their
22          cognitive disabilities and severe pain and sufferings, humiliation, and embatrnssment that
            Bernstein Tigano are subjected to during comt hearings without accommodations and his
23          knowledge of the requirement to conform to the ADA.
            s) That MARK FICKES is a Commissioner Dept. 519 Judge, Superior Court of Alameda
24
            County, beginning May 2 2024 has discriminated against the plaintiffs, Mary Bernstein,
25          and Plaintiff Witness Elizabeth Tigano. Commissioner Mark Fickes denial extensions of
            time reasonable accommodations due to medical issues. Commissioner knew that
26          women were incapacitated denial due process rights witness and litigant. In particular,
27
            on June I 8 2024 civil harassment hearing held despite doctors notes and ADA requests
           for medical continuances for Respondent and her witness. CA Civ Proc Code Section
28          527 .6 states:



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            (p) (!)Either party may request a continuance of the hearing, which the court shall grant
 1
            on a showing of good cause. The request may be made in writing before or at the hearing
 2          or orally at the hearing. The court may also grant a continuance on its own motion.
            https://california.public.law/codes/ca civ proc code section 527.6 I cannot file motion
 3          to continue and that is not is what is done for reasonable accommodations which are
 4
            conficdential. I am unable to appear and speak on zoom due to complications. I am
            unable to ravel to file a motion to cotntinue. I cannot efile as cannot afford.
 5          Once again we have provided documentation that we cannot appear until August 2024. i
            we are not given a chance to appear, this constitues violatiopn of our constitutional civil
 6          rights. This commissioner allegedly was a constitiutaonal civil rights lawyer. Court
 7
            reporter was also not provided. Mark Fickes was aware that Petitioner a criminally
            violent man on probation directed to anger management by the Alaameda County Supeio
 8          Court in case no. 21CR003653. Mark Fickes was also aware in court filing by Petitioner
            John Gibson an exhibit filed May 28 2024 from Meadow Brook counsel Angus and Terry
 9
            dated Sepgtember a letter dated September 21 2023 that John Gibson was directed to
10          cease and desist from harassing Mary Bernstein and Elizabeth Tigano. EXHIBIT L.
            ( t) That MARK FICKES is a Commissioner Dept. 519 Judge of Superior Court of
11          Alameda County, has intended to continue to discriminate against the plaintiff, Mary
            Bernstein, Plaintiff Witness Elizabeth Tigano intentionally subject them to the
12
            unconscionable, immoral and inhumane treatment, abuse, torture, humiliate, and
13          embarrass then, exclude them from patticipation in, and/or deny her the access to and the
            benefits of, the services of the court system and due process in violation of 42 U.S.C.
14          12132 et seq.
            (u) That MARK FICKES is a Commissioner Dept. 519 Judge of Superior Court of
15
           Alameda County consistently insisted on continuing to deny necessary and reasonable
16          accommodations for Mary Bernstein Plaintiff Witness Elizabeth Tigano with full
            knowledge of their cognitive disabilities and severe pain and sufferings, humiliation, and
17         embarrassment that Bernstein Tigano are subjected to during court hearings without
           accommodations and his knowledge of the requirement to conform to the ADA
18
           (g) That the State of California, Superior Court of Alameda County, knowingly and
19          intentionally continue to discriminate against the plaintiffs, Mary Bernstein and Elizabeth
           Tigano.
20         (h) That the actions of the State of California and other named defendants were
           conscious, deliberate, and intentional in their active discrimination against the plaintiffs,
21
           Mary Bernstein and Elizabeth Tigano.
22           (i) That the actions of the State of California, Judicial Council of California, and
           Judicial Branch of the Government of California were conscious, deliberate, and
23         intentional in their active discrimination against the against the plaintiffs, Mary Bernstein
           and Elizabeth Tigano, all other disabled litigants with cognitive disabilities and all other
24
           similarly situated disabled individuals in this State. That their persistent false adve1tising
25         and misrepresentation of the actions of the judicial process on the California Courts web
           site at http://wm.courtinfo.ca.aov/ as "Committed to providing fair and equal access to
26         justice for all Californians" was with full knowledge of plaintiffs disability, physical
27
           inability of plaintiffs to have "fair and equal access to justice" without legal counsel as
           accommodation, and with their knowledge of the requirements to conform to the ADA.
28         G) That the actions of the State of California and the other defendants were

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            conscious, deliberate, and intentional in their active discrimination against all other
 1
            similarly situated cognitively disabled individuals of this State. That their persistent false
 2          advertising and misrepresentation of the actions of the judicial process as "fair and equal
            access to justice", knowing that cognitively disabled individuals were unable to gain
 3          meaningful access to court processes, was with full knowledge of cognitively disabled
            litigants' disabilities and their knowing failure to meet the requirements to conform to the
 4
            ADA.
 5          (k) That in alternative, the actions of the State of California and other defendants
            were knowing and resulted from the defendants' negligence in complying with the law.
 6           (I) That in alternative, the actions of the State of California and other defendants
 7
            were knowing and resulted from the defendants' negligence in complying with the law.
            (m) That as a result of the defendants' actions, the plaintiffs Mary Bernstein and Elizabeth
 8          Tigano have suffered damages in the form of extreme pain and suffering, resulting in the
            exacerbations of their PTSD, ADHD, Bipolar conditions, the extreme embarrassment,
 9
            humiliation, anxiety and panic attacks, dissociation and avoidance in her attempts to
10
            represent herself and to gain access to the services provided by the State of California
            and Superior Court of Alameda County and not being able to be accommodated.
11

12

13
                                VII. PRAYER/REQUEST FOR RELIEF
14

15
     WHEREFORE, Plaintiff would hereby request this Honorable Court to:
16    I. Render a ruling that by not providing extensions, continuances as accommodation to
     plaintiffs and other indigent litigants with cognitive disabilities in civil cases, in which such
17   litigants' fundamental rights to basic human needs are at stake, the Judicial Branch of the
     California Government and its subdivisions violated the due process rights of Plaintiffs
18
     and other indigent litigants with cognitive disabilities.
19   2. Render a tu ling that during the cou1t processes in Superior Court of Alameda
     County, during which plaintiff Bernstein was denied requested accommodations, continuances
20   and extensions, limiting freedom of expression her due process rights were violated and that all
     rulings made as a result of such court processes are reversed.
21
     3. Render a ruling that the actions of Judge Eumi Lee of Alameda County Superior Court
22   during the hearings and rulings above constituted intentional abuse, torture, and discrimination o
     cognitively disabled plaintiff Mary Bernstein and subjected cognitively disabled Plaintiff
23   Elizabeth Tigano to traumatic experience.
     4. Render a ruling that the actions of Judge Jenna Whitman of Alameda County Superior Court
24
     during the denial reasonable accommodations and rulings above constituted intentional abuse,
25   torture, and discrimination of cognitively disabled plaintiff Mary Bernstein and subjected
     cognitively disabled Plaintiff Elizabeth Tigano to traumatic experience. U.S.C. 12133 and 29
26   U.S.C. 794a.
27
     5. Render judgment against the State of California, Superior Court of Alameda County, Court of
     for damages for plaintiffs' Bernstein and Tigano's pain and sufferings during abuse and torture,
28   the resulting exacerbation of disabilities, past and ongoing medical and other

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     expenses associated with disability evaluations and treatment, humiliation, and
 1
     embarrassment during the course of proceedings in the Superior Court of Alameda
 2   County, attorney's fees, costs and expenses pursuant to the provisions of 42 U.S.C. 12133 and 29
     U.S.C. 794a for defending them in the grievance procedure, their vindication of their rights in the
 3   state court, and for bringing this action.
     6. Render judgment against ALAMEDA COUNTY SUPERIOR COURT EUMI LEE JENNA
 4
     WHITMAN for damages for plaintiffs' Bernstein and Tigano's pain and sufferings during abuse
 5   and torture, the resulting exacerbation of disabilities, past and ongoing medical and other
     expenses associated with disability evaluations and treatment, humiliation, and
 6   embarrassment during the course of proceedings in the Superior Court of Alameda
     County, attorney's fees, costs and expenses pursuant to the provisi011s of 42 U.S.C. 12133 and 29
 7
     U.S.C. 794a for defending them in the grievance procedure, their vindication of their rights in the
 8   state court, and for bringing this action.
     WHEREFORE, plaintiffs demand judgment against defendants, and each of them, for:
 9   7. Compensatory damages according to proof;
10
     8. Punitive damages exemplary damages;
     WHEREFORE, plaintiffs respectfully request judgment against the defendants as Such other and
11   further relief as this court may deem just and proper.
12

13
                                           VIII. CONCLUSION
14
     For all the reasons stated above, Plaintiffs Mary Bernstein Elizabeth Tigano were denied
15
     reasonable accommodations unable to have medical procedures reasonable accommodation
16   under the ADA Title II, as well as other reasonable accommodations by the Defendant State of
     California; Plaintiff Elizabeth Tigano denied reasonable accommodations as witness in matter.
17   Respectfully Submitted,
18
                DATED this 4th day of October, 2024.
19

20
                                                            ELIZABETH TIGANO
21

22
                DATED this 4th day of October, 2024.
23

24

25

26
                                                            MARY BERNSTEIN

27
                                             VERIFICATION
28

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     (a) I, ELIZABETH TIGANO, the undersigned Plaintiff, declare under the penalty of perjury that
 1
     the contents of this document titled VERIFIED COMPLAINT are true and correct to my own
 2   knowledge and that I make this verification because the facts set fotth
     in said document are within our knowledge.
 3    (b) I will submit to this Comt all confidential documents containing confidential
     medical infmmation to be held under seal in order to establish the undisputable facts that
 4
     we are qualified persons with disabilities, including, but not limited to cognitive disabilities,
 5   as is defined by the Americans with Disabilities Act (ADA) of 1990, Title II, 42 U.S.C.
     1213 J et. seq. and Americans with Disabilities Act Amendments Act (ADAAA) of
 6   9/25/2008, 42 U.S.C. A. 12101 et. seq.
     (c) 1, the undersigned plaintiff, declare under the penalty of perjury that the
 7
     foregoing is true and correct and was executed in Alameda County, Fremont, California by
 8   Plaintiff Elizabeth Tigano this 4th day of October 2024.

 9

10
                                                             ELIZABETH TIGANO
11

12
                                                             1 Samuel 11 :9 King James
                                                             Version (KJV)And they said
13
                                                             unto the messengers that came,
14                                                           Thus shall ye say unto the men
15                                                           of Jabesh-gilead, To morrow, by
                                                             that time the sun be hot, ye shall
16
                                                             have help. And the messengers
17
                                                             came and shewed it to the men
18                                                           of Jabesh; and they were glad.
19

20
                                               VERIFICATION
21   (a) I, MARY BERNSTEIN, the undersigned Plaintiff, declare under the penalty of perjury that
     the contents of this document titled VERIFIED COMPLAINT are true and correct to my own
22
     knowledge and that I make this verification because the facts set forth
23   in said document are within our knowledge.
      (b) I will submit to this Court all confidential documents containing confidential
24   medical information to be held under seal in order to establish the undisputable facts that
     we are qualified persons with disabilities, including, but not limited to cognitive disabilities,
25
     as is defined by the Americans with Disabilities Act (ADA) of 1990, Title II, 42 U.S.C.
26   1213 Jet. seq. and Americans with Disabilities Act Amendments Act (AD AAA) of
     9/25/2008, 42 U.S.C. A. 12101 et. seq.
27   (c) I, the undersigned plaintiff, declare under the penalty of perjury that the
28

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     foregoing is trne and correct and was executed in Alameda County, Fremont, California by
 1
     Plaintiff Mary Bernstein this 4th day of October, 2024.
 2

 3

 4
                                                          MARY BERNSTEIN
 5

 6                                                        1 Samuel 11 :9 King James
 7
                                                          Version (KJV)And they said
                                                          unto the messengers that came,
 8
                                                          Thus shall ye say unto the men
 9                                                        of Jabesh-gilead, To morrow, by
10                                                        that time the sun be hot, ye shall
11
                                                          have help. And the messengers
                                                          came and shewed it to the men
12
                                                          of Jabesh; and they were glad.
13

14

15

16

17         45.
           46.
18
           47. have denied repeatedly reasonable accommodations submitted with volumes of
19             doctors reports requesting reasonable accommodations for Plaintiff Mary Bernstein.
               the "Sargent Shriver Civil Counsel Act", which created pilot programs (Cal.Gov.Code
20             § 68650) for the right to counsel in cases affecting basic human needs (such as
21
               domestic violence, deprivation of child custody, housing, and elder abuse). Plaintiff
               filed complaints against Commissioners Satarzadeh and Llamas with Presiding Judge
22             Tara Desautels that delegated to Judge BRAD SELIGMAN. Judge Brad Seligman in
               April 23 2020 stated that there was not a medical letter involved and found no
23
               violation. Judge Tara Desautels also refused to reassign Commissioner Llamas despite
24             requests reasonable accommodations traumatizing Plaintiff and witnesses with his
               manner. ADA Adam Byer in email advised Plaintiff when unhappy with Jeffrey Brand
25             denial reasonable accommodation to file 4 petitions for writ of mandate within IO days
               with California Court of Appeals Plaintiff unable to proceed with 4 simultaneous civil
26
               harassment trials and in afternoons. I believe this was erroneous info1mation this
27
               procedure as it did not make sense; I could not afford $775.00 per case and did not
               have the bandwidth for more oral arguments. The case numbers are as follows:
28             Al58742 RGl9037125 Bernstein v. Superior Court for the County of Alameda
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                   A 158741 RO 19036528 Bernstein v. Superior Court for the County of Alameda
 1
                   A 158740 RO I 9035648 Bernstein v. Superior Court for the County of Alameda
 2                 Al58739 RGI 9034687 Bernstein v. Superior Court for the County of Alameda. 31
                   Declarations were provided and I wrote to Judge Jeffrey Brand my trauma: "It was
 3                 terrifying seeing this man there with his counsel and I nearly fainted from the
 4
                   medications. I could not stay awake. This was October 2. My doctor wrote the note
                   October 7 because I am disabled and incapable of arguing the afternoon hearings at
 5                 this point due to intense medication. I have rebuttal evidence to present and a reply,
                   rebuttal to prepare and submit for the two matters that are contesting."
 6             48. This is a reasonable accommodation I am seeking. I have to have equal access to the
 7
                   courts with my full capacity to rebut those challenging the restraining order. The
                   Court granted me a stay and continuance because of my extreme deterioration of
 8                 health. This has been granted due to the tremendous toll that these actions have
                   caused me psychologically and physically in some cases, such as when a person with a
 9
                   mental disability is unable to proceed, a continuance may be required as the only
10                 reasonable accommodation under the circumstances. (See In re Marriage of James M.
                   & Christine C. (2008) 158 Cal.App.4th 1261, discussed below.) Rule I. IO0(a)(3) In re
11                 Marriage of James M. & Christine C.
12
                conform to the ADA. Traveled to Oakland breathing smoke from fires paratransit to
13              deliver MC410 restrainng order department MC 410s. Requests by ADA to keep filling
                out more and more MC 41 Os. Pleading with Judge McKinney in email October 31, 2019
14              Defendants Simons and Candia Hernandez not served yet. Six email messages
                November I 2019 sumitted more MC 410s ADA refusal to open claiming security issues,
15
                rnmoval of doctors notes continuously by ADA department submitted in tandem with MC
16              410s. On November 7 2019 Plaintiff exhausted dropped two of the restraining orders
                Condie and Simonsen. Plaintiff Bernstein requested separate days for Gibson Durbin as
17              too much for Plaintiff, Judge Patrick McKinney said he conferred with Judge Herbert that
                they were all related to keep together the judges all talk together. Judge Herbert advised
18
                him to keep them all together all related to HOA. Judge McKinney on November? 2019
19              continued until January 21, 2020 because Durbin not present only HOA attorney but that
                he would leave it up to the Judge that would be hearing matter on January 21 2020 to
20              schedule trials on separate days. This is the same Judge Patrick McKinney that on
                January 10 2020 during COVID 19 Pandemic heartlessly ordered four African American
21
                vulnerable mothers with small children sheltering in a vacate house from the cold in the
22              middle of winter onto the streets https://sanfrancisco.cbslocal.com/2020/01/10/judge-
                orders-oakland-mom-squatters-to-be-evi cted-from-vacant-home/.
23              (i) That Bentrish Satarzadeh, Dept. 519 parameter of time early 2020 - Commissioner of
                Superior Court of Alameda County consistently insisted on continuing to deny necessary
24
                and reasonable accommodations for Mary Bernstein with full knowledge of her cognitive
25              disabilities and severe pain and sufferings, humiliation, and embarrassment that Bernstein
                is subjected to during court hearings without accommodations and her knowledge of the
26
     31   Four hearings have been continued to ll 7 2019. My doctor does not want me involved in any of this for 6 months. The
27
          civil harassment hearings are only held in the afternoons. With my high powered medications i cannot handle afternoons
          doing anything. The restraining orders need to be in effect for Gib.son and Durbin gun owners, violent men during the stay.
28        Requests for TRO Condio Hernandez and Simonson were not granted but will be pursued when these resume.



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            requirement to conform to the ADA. On October 2, 2019 despite MC 410 reasonable
 1
            accommodations that Plaintiff Bernstein could not do afternoon hearings, not to take last,
 2          Bentrish Satardadezh kept Plaintiff Bernstein waiting until 4: IO pm to call case stating it
            would not be heard that date and that parties would have to come back. Prior to back to
 3          back. Defense HOA attorney and Mike Durbin the civil harassment respondent
 4
            undennined Plaintiff for psychiatric conditions mocking with walker, toys Bentrish
            Satarzaeh smirking with defense counsel humiliating disabled unrepresented medicated
 5          Plaintiff Bernstein. Prior to January 21 2020 multiple psychotherapist letters provided
            explaining that the Gibson and Durbin civil harassment trials needed to be one week apa11
 6          for Plaintiff which were ignored, denied. Plaintiff frantically traveled, submitted multiple
 7
            times these MC 41 Os. Plaintiff was required to appear January 21 2020 facing all of
            Plaintiff to face once again multiple violent men, their defense attorneys and their family
 8          members all alone in court. Further, Commissioner Bentrish Satarzeh stated Plaintiff
            would have only ten minutes to present her case. Despite overwhelming evidence against
 9
            Defendants Gibson, Durbin, including multiple prior police incident repo11s against John
10
            Gibson from other parties and prior restraining order false imprisonment, sexual predator
            restraining order other parties imposed on Mike Durbin for 3 years Commissioner
11          Satarzeh lifted the restraining orders causing escalating harassment against Plaintiff, her
            family and guests resulting in second petitions for civil harassment. 911 calls, video
12
            footage captured concerning harassment towards Plaintiff, guests. Transcripts available
13          from January 21 2020 back to back civil harassment trials.

14
     9. Render judgment against ALAMEDA COUNTY SUPERIOR COURT PAUL HERBERT,
15
     TARA DESAUTELS, BRAD SELIGMAN, BENTRISH SATARZADEH, JEFFREY BRAND,
16   PATRICK MCKINNEY, PELAYO LLAMAS, TAMIZA HOCKENHULL for damages for
     plaintiff Bemstein's pain and sufferings during abuse and torture, the resulting
17   exacerbation of disabilities, past and ongoing medical and other
     expenses associated with disability evaluations and treatment, humiliation, and
18
     embarrassment during the course of proceedings in the Superior Court of Alameda
19   County, attorney's fees, costs and expenses pursuant to the provisions of 42 U.S.C. 12133 and 29
     U.S.C. 794a and section 52 of the California Civil Code for defending her in the grievance
20   procedure, her vindication of her rights in the state court, and for bringing this action.
     WHEREFORE, plaintiffs demand judgment against defendants, and each of them, for:
21
     10. Compensatory damages according to proof;
22   11. Punitive damages exemplary damages;
     12. Defendant USA Department of Housing and Urban Development do its job intervening,
23   protecting Plaintiffs from abuses from HOA Meadow Brook agents in residential community
     fine community with violations for continual abuses on disabled residents, family and guests;
24
     13, Defendant CAL DFEH do its job intervening protecting Plaintiffs from abuses during
25   Alameda County litigation and post litigation
     WHEREFORE, plaintiffs respectfully request judgment against the defendants as Such other and
26   fm1her relief as this court may deem just and proper.
27
                                           IX. CONCLUSION
28

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12
     For all the reasons stated above, Plaintiff Mary Bernstein was denied counsel, which is a
13   reasonable accommodation under the ADA Title II, as well as other reasonable accommodations
     by the Defendant State of California; Plaintiff Elizabeth Tigano denied reasonable
14   accommodations as witness in matter.
     Department of Housing and Urban Development and their workshare partner California
15
     Department of Fair Employment and Housing denied protection and assistance to disabled
16   Plaintiffs Mary Bernstein and Elizabeth Tigano under 8 I FR 63054 - Quid Pro Quo and Hostile
     Environment Harassment and Liability for Discriminatory Housing Practices Under the Fair
17   Housing Act.
18

19

20
     Plaintiff Mary Bernstein this 24th day of August, 2024.
21

22

23
                                                                                                                           MARY BERNSTEIN
24

25
     Plaintiff Elizabeth Tigano this 24th day of August, 2024.

26

27                                                                                                                         ELIZABETH TIGANO
28

                                                                                                           - 179-

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 1
      1 Samuel 17:47 ESV / 1,177
 2    And that all this assembly may know that the Lord saves not with sword and spear.
      For the battle is the Lord's, and he will give you into our hand."
 3

 4    2 Chronicles 20:15 ESV / 990
      And he said, "Listen, all Judah and inhabitants of Jerusalem and King Jehoshaphat:
 5    Thus says the Lord to you, 'Do not be afraid and do not be dismayed at this great
      horde, for the battle is not yours but God's.
 6

 7    2 Chronicles 32:7 ESV / 581
      "Be strong and courageous. Do not be afraid or dismayed before the king of Assyria
 8
      and all the horde that is with him, for there are more with us than with him.
 9
      Ephesians 6:12 ESV / 570
10    For we do not wrestle against flesh and blood, but against the rulers, against the
11
      authorities, against the cosmic powers over this present darkness, against the
      spiritual forces of evil in the heavenly places.
12
      Proverbs 21 :31 ESV / 511
13
      The horse is made ready for the day of battle, but the victory belongs to the Lord.
14
      Exodus 14:13-14 ESV / 463
15    And Moses said to the people, "Fear not, stand firm, and see the salvation of the Lord,
16    which he will work for you today. For the Egyptians whom you see today, you shall
      never see again. The Lord will fight for you, and you have only to be silent."
17

18
      1 Corinthians 15:57 ESV / 461
      But thanks be to God, who gives us the victory through our Lord Jesus Christ.
19
      Zechariah 4:6 ESV / 459
20
      Then he said to me, "This is the word of the Lord to Zerubbabel: Not by might, nor by
21    power, but by my Spirit, says the Lord of hosts.

22
      Romans 8:28 ESV / 435
23
      And we know that for those who love God all things work together for good, for those
      who are called according to his purpose.
24
      2 Corinthians 10:4 ESV / 433
25
      For the weapons of our warfare are not of the flesh but have divine power to destroy
26    strongholds.
27
      Exodus 15:3 ESV / 426
28    The Lord is a man of war; the Lord is his name.

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 1
      2 Chronicles 20:17 ESV / 423
 2    You will not need to fight in this battle. Stand firm, hold your position, and see the
      salvation of the Lord on your behalf, O Judah and Jerusalem.' Do not be afraid and do
 3
      not be dismayed. Tomorrow go out against them, and the Lord will be with you."
 4
      2 Chronicles 20:16 ESV / 418
 5    Tomorrow go down against them. Behold, they will come up by the ascent of Ziz. You
 6
      will find them at the end of the valley, east of the wilderness of Jeruel.

 7    Ephesians 6:17 ESV / 411
      And take the helmet of salvation, and the sword of the Spirit, which is the word of God,
 8

 9    Galatians 5:17 ESV / 408
      For the desires of the flesh are against the Spirit, and the desires of the Spirit are
10    against the flesh, for these are opposed to each other, to keep you from doing the
11    things you want to do.

12    Isaiah 64:8 ESV / 402
      But now, O Lord, you are our Father; we are the clay, and you are our potter; we are all
13
      the work of your hand.
14
      1 Samuel 17:46 ESV / 402
15
      This day the Lord will deliver you into my hand, and I will strike you down and cut off
16    your head. And I will give the dead bodies of the host of the Philistines this day to the
      birds of the air and to the wild beasts of the earth, that all the earth may know that
17    there is a God in Israel,
18
      2 Corinthians 4:8 ESV / 401
19    We are afflicted in every way, but not crushed; perplexed, but not driven to despair;
20
      Acts 16:31 ESV / 401
21    And they said, "Believe in the Lord Jesus, and you will be saved, you and your
      household."
22

23    2 Chronicles 20:20 ESV / 398
      And they rose early in the morning and went out into the wilderness of Tekoa. And
24    when they went out, Jehoshaphat stood and said, "Hear me, Judah and inhabitants of
      Jerusalem! Believe in the Lord your God, and you will be established; believe his
25
      prophets, and you will succeed."
26
      Romans 8:37 ESV / 387
27
      No, in all these things we are more than conquerors through him who loved us.
28

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      1 Samuel 14:6 ESV / 382
 1
      Jonathan said to the young man who carried his armor, "Come, let us go over to the
 2    garrison of these uncircumcised. It may be that the Lord will work for us, for nothing
      can hinder the Lord from saving by many or by few."
 3

      Isaiah 31 :1 ESV / 380
      Woe to those who go down to Egypt for help and rely on horses, who trust in chariots
 5    because they are many and in horsemen because they are very strong, but do not look
 6
      to the Holy One of Israel or consult the Lord!

 7    1 Samuel 17:1-58 ESV / 379
      Now the Philistines gathered their armies for battle. And they were gathered at Socoh,
 8
      which belongs to Judah, and encamped between Socoh and Azekah, in Ephes-
 9    dammim. And Saul and the men of Israel were gathered, and encamped in the Valley
      of Elah, and drew up in line of battle against the Philistines. And the Philistines stood
10    on the mountain on the one side, and Israel stood on the mountain on the other side,
11
      with a valley between them. And there came out from the camp of the Philistines a
      champion named Goliath of Gath, whose height was six cubits and a span. He had a
12    helmet of bronze on his head, and he was armed with a coat of mail, and the weight of
      the coat was five thousand shekels of bronze ....
13

14    Exodus 14:14 ESV / 376
      The Lord will fight for you, and you have only to be silent."
15

16    James 4:7 ESV / 364
      Submit yourselves therefore to God. Resist the devil, and he will flee from you.
17

18
      Philippians 4:13 ESV / 356
      I can do all things through him who strengthens me.
19
      2 Kings 20:1-7 ESV / 355
20
      In those days Hezekiah became sick and was at the point of death. And Isaiah the
21    prophet the son of Amoz came to him and said to him, "Thus says the Lord, 'Set your
      house in order, for you shall die; you shall not recover."' Then Hezekiah turned his face
22    to the wall and prayed to the Lord, saying, "Now, O Lord, please remember how I have
23
      walked before you in faithfulness and with a whole heart, and have done what is good
      in your sight." And Hezekiah wept bitterly. And before Isaiah had gone out of the
24    middle court, the word of the Lord came to him: "Turn back, and say to Hezekiah the
      leader of my people, Thus says the Lord, the God of David your father: I have heard
25
      your prayer; I have seen your tears. Behold, I will heal you. On the third day you shall go
26    up to the house of the Lord, ...
27
      2 Kings 19:14-19 ESV / 353
28

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      Hezekiah received the letter from the hand of the messengers and read it; and
 1
      Hezekiah went up to the house of the Lord and spread it before the Lord. And
 2    Hezekiah prayed before the Lord and said: "O Lord, the God of Israel, enthroned above
      the cherubim, you are the God, you alone, of all the kingdoms of the earth; you have
 3
      made heaven and earth. Incline your ear, O Lord, and hear; open your eyes, 0 Lord, and
 4    see; and hear the words of Sennacherib, which he has sent to mock the living God.
      Truly, 0 Lord, the kings of Assyria have laid waste the nations and their lands and have
 5    cast their gods into the fire, for they were not gods, but the work of men's hands, wood
 6
      and stone. Therefore they were destroyed....

 7    Deuteronomy 20:1 ESV / 350
      'When you go out to war against your enemies, and see horses and chariots and an
 8
      army larger than your own, you shall not be afraid of them, for the Lord your God is
 9    with you, who brought you up out of the land of Egypt.

10    John 10:1-42 ESV / 348
11
      "Truly, truly, I say to you, he who does not enter the sheepfold by the door but climbs in
      by another way, that man is a thief and a robber. But he who enters by the door is the
12    shepherd of the sheep. To him the gatekeeper opens. The sheep hear his voice, and
      he calls his own sheep by name and leads them out. When he has brought out all his
13
      own, he goes before them, and the sheep follow him, for they know his voice. A
14    stranger they will not follow, but they will flee from him, for they do not know the voice
      of strangers." ...
15

16    Ecclesiastes 9:11 ESV / 343
      Again I saw that under the sun the race is not to the swift, nor the battle to the strong,
17    nor bread to the wise, nor riches to the intelligent, nor favor to those with knowledge,
18
      but time and chance happen to them all.

19    1 Samuel 17:37 ESV / 342
      And David said, "The Lord who delivered me from the paw of the lion and from the
20
      paw of the bear will deliver me from the hand of this Philistine." And Saul said to
21    David, "Go, and the Lord be with you!"

22
      Exodus 14:13 ESV / 325
23
      And Moses said to the people, "Fear not, stand firm, and see the salvation of the Lord,
      which he will work for you today. For the Egyptians whom you see today, you shall
24    never see again.
25
      Psalm 3:8 ESV / 321
26    Salvation belongs to the Lord; your blessing be on your people! Selah

27
      Romans 8:31 ESV / 317
28    What then shall we say to these things? If God is for us, who can be against us?

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 1
      1 Corinthians 10:13 ESV / 307
 2    No temptation has overtaken you that is not common to man. God is faithful, and he
      will not let you be tempted beyond your ability, but with the temptation he will also
 3
      provide the way of escape, that you may be able to endure it.
 4
      Ephesians 6:10 ESV / 305
 5    Finally, be strong in the Lord and in the strength of his might.
 6
      Ephesians 6:1-24 ESV / 301
 7    Children, obey your parents in the Lord, for this is right. "Honor your father and
      mother" (this is the first commandment with a promise), "that it may go well with you
 8
      and that you may live long in the land." Fathers, do not provoke your children to anger,
 9    but bring them up in the discipline and instruction of the Lord. Bondservants, obey
      your earthly masters with fear and trembling, with a sincere heart, as you would Christ,
10

11
      Revelation 1 :1 ESV / 300
12    The revelation of Jesus Christ, which God gave him to show to his servants the things
      that must soon take place. He made it known by sending his angel to his servant
13
      John,
14
      Ephesians 6:13 ESV / 297
15
      Therefore take up the whole armor of God, that you may be able to withstand in the
16    evil day, and having done all, to stand firm.

17    Deuteronomy 20:4 ESV / 296
18
      For the Lord your God is he who goes with you to fight for you against your enemies,
      to give you the victory.'
19
      Joshua 1:9 ESV / 290
20
      Have I not commanded you? Be strong and courageous. Do not be frightened, and do
21    not be dismayed, for the Lord your God is with you wherever you go."

22
      Ephesians 6:11 ESV / 289
23
      Put on the whole armor of God, that you may be able to stand against the schemes of
      the devil.
24

      2 Chronicles 20:12 ESV / 288
25
      O our God, will you not execute judgment on them? For we are powerless against this
26    great horde that is coming against us. We do not know what to do, but our eyes are on
      you."
27

28    Proverbs 3:5 ESV / 287

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     Trust in the Lord with all your heart, and do not lean on your own understanding.
1

2    Psalm 28:7 ESV / 278
     The Lord is my strength and my shield; in him my heart trusts, and I am helped; my
3    heart exults, and with my song I give thanks to him.
4
     Ephesians 2:8 ESV / 277
5    For by grace you have been saved through faith. And this is not your own doing; it is
     the gift of God,
 6

7    Isaiah 41:10 ESV / 272
     Fear not, for I am with you; be not dismayed, for I am your God; I will strengthen you, I
 8
     will help you, I will uphold you with my righteous right hand.
 9
     Romans 13:1 ESV / 267
10   Let every person be subject to the governing authorities. For there is no authority
     except from God, and those that exist have been instituted by God.
11

12   John 1 :12 ESV / 26 7
     But to all who did receive him, who believed in his name, he gave the right to become
13
     children of God,
14
      Psalm 23:1-6 ESV / 261
15    A Psalm of David. The Lord is my shepherd; I shall not want. He makes me lie down in
16
      green pastures. He leads me beside still waters. He restores my soul. He leads me in
      paths of righteousness for his name's sake. Even though I walk through the valley of
17    the shadow of death, I will fear no evil, for you are with me; your rod and your staff,
      they comfort me. You prepare a table before me in the presence of my enemies; you
18
      anoint my head with oil; my cup overflows ....
19
      Psalm 44:6-7 ESV / 257
20
      For not in my bow do I trust, nor can my sword save me. But you have saved us from
21    our foes and have put to shame those who hate us.

22
      Hosea 1:7 ESV / 253
      But I will have mercy on the house of Judah, and I will save them by the Lord their God.
23
      I will not save them by bow or by sword or by war or by horses or by horsemen."
24
      2 Chronicles 20:7 ESV / 247
25
      Did you not, our God, drive out the inhabitants of this land before your people Israel,
26    and give it forever to the descendants of Abraham your friend?

27
      2 Chronicles 14:11 ESV / 243
28

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      And Asa cried to the Lord his God, "O Lord, there is none like you to help, between the
 1
      mighty and the weak. Help us, 0 Lord our God, for we rely on you, and in your name we
 2    have come against this multitude. 0 Lord, you are our God; let not man prevail against
      you."
 3

 4    Ephesians 6:10-20 ESV / 239
      Finally, be strong in the Lord and in the strength of his might. Put on the whole armor
 5    of God, that you may be able to stand against the schemes of the devil. For we do not
 6
      wrestle against flesh and blood, but against the rulers, against the authorities, against
      the cosmic powers over this present darkness, against the spiritual forces of evil in
 7    the heavenly places. Therefore take up the whole armor of God, that you may be able
      to withstand in the evil day, and having done all, to stand firm. Stand therefore, having
 B
      fastened on the belt of truth, and having put on the breastplate of righteousness, ...
 9
      2 Chronicles 20:9 ESV / 230
10    'If disaster comes upon us, the sword, judgment, or pestilence, or famine, we will
11
      stand before this house and before you-for your name is in this house-and cry out to
      you in our affliction, and you will hear and save.'
12
      Revelation 1:1-20 ESV / 227
13
      The revelation of Jesus Christ, which God gave him to show to his servants the things
14    that must soon take place. He made it known by sending his angel to his servant
      John, who bore witness to the word of God and to the testimony of Jesus Christ, even
15
      to all that he saw. Blessed is the one who reads aloud the words of this prophecy, and
16    blessed are those who hear, and who keep what is written in it, for the time is near.
      John to the seven churches that are in Asia: Grace to you and peace from him who is
17    and who was and who is to come, and from the seven spirits who are before his
18
      throne, and from Jesus Christ the faithful witness, the firstborn of the dead, and the
      ruler of kings on earth. To him who loves us and has freed us from our sins by his
19    blood ...
20
      2 Corinthians 10:3-5 ESV / 222
21    For though we walk in the flesh, we are not waging war according to the flesh. For the
      weapons of our warfare are not of the flesh but have divine power to destroy
22
      strongholds. We destroy arguments and every lofty opinion raised against the
23    knowledge of God, and take every thought captive to obey Christ,

24    Psalm 46:10-11 ESV / 220
      "Be still, and know that I am God. I will be exalted among the nations, I will be exalted
25
      in the earth!" The Lord of hosts is with us; the God of Jacob is our fortress. Selah
26
      John 3:16-17 ESV / 216
27

28

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      "For God so loved the world, that he gave his only Son, that whoever believes in him
 1
      should not perish but have eternal life. For God did not send his Son into the world to
 2    condemn the world, but in order that the world might be saved through him.
 3
      2 Chronicles 32:8 ESV / 195
      With him is an arm of flesh, but with us is the Lord our God, to help us and to fight our
      battles." And the people took confidence from the words of Hezekiah king of Judah.
 5

 6
      2 Chronicles 20:6 ESV / 192
      And said, "O Lord, God of our fathers, are you not God in heaven? You rule over all the
 7    kingdoms of the nations. In your hand are power and might, so that none is able to
      withstand you.
 8

 9    Psalm 44:5 ESV / 187
      Through you we push down our foes; through your name we tread down those who
10
      rise up against us.
11
      Psalm 20:7 ESV / 186
12    Some trust in chariots and some in horses, but we trust in the name of the Lord our
      God.
13

14    Matthew 16:18 ESV / 184
      And I tell you, you are Peter, and on this rock I will build my church, and the gates of
15
      hell shall not prevail against it.
16
      Jeremiah 3:23 ESV / 179
17    Truly the hills are a delusion, the orgies on the mountains. Truly in the Lord our God is
18
      the salvation of Israel.

19    1 Samuel 17:48 ESV / 175
      When the Philistine arose and came and drew near to meet David, David ran quickly
20
      toward the battle line to meet the Philistine.
21
      1 Samuel 17:26 ESV / 165
22    And David said to the men who stood by him, 'What shall be done for the man who
23    kills this Philistine and takes away the reproach from Israel? For who is this
      uncircumcised Philistine, that he should defy the armies of the living God?"
24
      John 3:16 ESV / 163
25
      "For God so loved the world, that he gave his only Son, that whoever believes in him
26    should not perish but have eternal life.
27
      1 John 1:9 ESV / 158
28

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       If we confess our sins, he is faithful and just to forgive us our sins and to cleanse us
 1
       from all unrighteousness.
 2
      Psalm 33:17 ESV / 147
 3
      The war horse is a false hope for salvation, and by its great might it cannot rescue.
 4
      2 Chronicles 21 :1-20 ESV / 147
 5    Jehoshaphat slept with his fathers and was buried with his fathers in the city of David,
 6
      and Jehoram his son reigned in his place. He had brothers, the sons of Jehoshaphat:
      Azariah, Jehiel, Zechariah, Azariah, Michael, and Shephatiah; all these were the sons
 7    of Jehoshaphat king of Israel. Their father gave them great gifts of silver, gold, and
      valuable possessions, together with fortified cities in Judah, but he gave the kingdom
 8
      to Jehoram, because he was the firstborn. When Jehoram had ascended the throne of
 9    his father and was established, he killed all his brothers with the sword, and also some
      of the princes of Israel. Jehoram was thirty-two years old when he became king, and
10
      he reigned eight years in Jerusalem ....
11
      Romans 12:19 ESV / 145
12    Beloved, never avenge yourselves, but leave it to the wrath of God, for it is written,
      "Vengeance is mine, I will repay, says the Lord."
13

14    2 Chronicles 19:1-11 ESV / 144
      Jehoshaphat the king of Judah returned in safety to his house in Jerusalem. But Jehu
15
      the son of Hanani the seer went out to meet him and said to King Jehoshaphat,
16    "Should you help the wicked and love those who hate the Lord? Because of this, wrath
      has gone out against you from the Lord. Nevertheless, some good is found in you, for
17    you destroyed the Asheroth out of the land, and have set your heart to seek God."
18
      Jehoshaphat lived at Jerusalem. And he went out again among the people, from
      Beersheba to the hill country of Ephraim, and brought them back to the Lord, the God
19    of their fathers. He appointed judges in the land in all the fortified cities of Judah, city
      by city, ...
20

21    2 Chronicles 20:15-17 ESV / 142
      And he said, "Listen, all Judah and inhabitants of Jerusalem and King Jehoshaphat:
22
      Thus says the Lord to you, 'Do not be afraid and do not be dismayed at this great
23    horde, for the battle is not yours but God's. Tomorrow go down against them. Behold,
      they will come up by the ascent of Ziz. You will find them at the end of the valley, east
24    of the wilderness of Jeruel. You will not need to fight in this battle. Stand firm, hold
      your position, and see the salvation of the Lord on your behalf, 0 Judah and
25
      Jerusalem.' Do not be afraid and do not be dismayed. Tomorrow go out against them,
26    and the Lord will be with you."
27
      Psalm 44:6 ESV / 137
28    For not in my bow do I trust, nor can my sword save me.

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 1
      1 Timothy 6:12 ESV / 133
 2    Fight the good fight of the faith. Take hold of the eternal life to which you were called
      and about which you made the good confession in the presence of many witnesses.
 3

 4    Psalm 33:16-17 ESV / 132
      The king is not saved by his great army; a warrior is not delivered by his great strength.
 5    The war horse is a false hope for salvation, and by its great might it cannot rescue.
 6
      Psalm 91 :1-4 ESV / 130
 7    He who dwells in the shelter of the Most High will abide in the shadow of the Almighty.
      I will say to the Lord, "My refuge and my fortress, my God, in whom I trust." For he will
 8
      deliver you from the snare of the fowler and from the deadly pestilence. He will cover
 9    you with his pinions, and under his wings you will find refuge; his faithfulness is a
      shield and buckler.
10

11
      Romans 12:1 ESV / 126
      I appeal to you therefore, brothers, by the mercies of God, to present your bodies as a
12    living sacrifice, holy and acceptable to God, which is your spiritual worship.
13
      Ephesians 6:16 ESV / 118
14    In all circumstances take up the shield of faith, with which you can extinguish all the
      flaming darts of the evil one;
15

16    Deuteronomy 31 :6 ESV / 117
      Be strong and courageous. Do not fear or be in dread of them, for it is the Lord your
17    God who goes with you. He will not leave you or forsake you."
18
      Psalm 24:8 ESV / 112
19    Who is this King of glory? The Lord, strong and mighty, the Lord, mighty in battle!
20
      2 Chronicles 20:1-37 ESV / 112
21    After this the Moabites and Ammonites, and with them some of the Meunites, came
      against Jehoshaphat for battle. Some men came and told Jehoshaphat, "A great
22    multitude is coming against you from Edom, from beyond the sea; and, behold, they
23
      are in Hazazon-tamar" (that is, Engedi). Then Jehoshaphat was afraid and set his face
      to seek the Lord, and proclaimed a fast throughout all Judah. And Judah assembled
24    to seek help from the Lord; from all the cities of Judah they came to seek the Lord.
      And Jehoshaphat stood in the assembly of Judah and Jerusalem, in the house of the
25
      Lord, before the new court, ...
26
      Proverbs 3:12 ESV / 103
27
      For the Lord reproves him whom he loves, as a father the son in whom he delights.
28

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      2 Corinthians 2:14 ESV / 95
 1
      But thanks be to God, who in Christ always leads us in triumphal procession, and
 2    through us spreads the fragrance of the knowledge of him everywhere.
 3
      Matthew 16:7 ESV / 95
      And they began discussing it among themselves, saying, "We brought no bread."

 5    James 4:6 ESV / 90
 6
      But he gives more grace. Therefore it says, "God opposes the proud but gives grace to
      the humble."
 7
      Philippians 1 :3 ESV / 79
 8
      I thank my God in all my remembrance of you,
 9
      Deuteronomy 3:22 ESV / 69
10    You shall not fear them, for it is the Lord your God who fights for you.'
11
      Psalm 121 :1-8 ESV / 64
12    A Song of Ascents. I lift up my eyes to the hills. From where does my help come? My
      help comes from the Lord, who made heaven and earth. He will not let your foot be
13
      moved; he who keeps you will not slumber. Behold, he who keeps Israel will neither
14    slumber nor sleep. The Lord is your keeper; the Lord is your shade on your right hand.
15

16    Deuteronomy 1 :30 ESV / 60
      The Lord your God who goes before you will himself fight for you, just as he did for
17    you in Egypt before your eyes,
18
      Psalm 46:11 ESV / 54
19    The Lord of hosts is with us; the God of Jacob is our fortress. Selah
20
      1 John 5:4 ESV / 50
21    For everyone who has been born of God overcomes the world. And this is the victory
      that has overcome the world-our faith.
22

23    John 16:33 ESV / 49
      I have said these things to you, that in me you may have peace. In the world you will
24    have tribulation. But take heart; I have overcome the world."
25
      Romans 1 :13 ESV / 46
26    I do not want you to be unaware, brothers, that I have often intended to come to you
      (but thus far have been prevented), in order that I may reap some harvest among you
27
      as well as among the rest of the Gentiles.
28

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      Psalm 46:8 ESV / 46 Helpful Not Helpful
1
      Come, behold the works of the Lord, how he has brought desolations on the earth.
2
      1 Peter 5:8 ESV / 37
3     Be sober-minded; be watchful. Your adversary the devil prowls around like a roaring
4     lion, seeking someone to devour.
     Paul Herbert should have known something wrong that disabled plaintiff with attorney
     on the line made to argue each time
5    When I filed this matter I had no idea alameda county investigation underway fot
     abuses of mentally ill
 6   Intimidation dominiation manipulation
     Denial ADA
7    Gaslighting predetermined outcome restraining order judges conferring abuse of
     disabled litigatin
 8   Protective order motions vacated refusal to listen
     Psalms
     Chapter 121
 9
     Psalms
     Chapter 121
10   l{A song of degrees.) I will lift up mine eyes unto the hills, from whence cometh my
     help.
11
     2My help cometh from the LORD, which made heaven and earth.
12
     3He will not suffer thy foot to be moved: he that keepeth thee will not slumber.
13
     4Behold, he that keepeth Israel shall neither slumber nor sleep.
14   5The LORD is thy keeper: the LORD is thy shade upon thy right hand.

15   6The sun shall not smite thee by day, nor the moon by night.

16   7The LORD shall preserve thee from all evil: he shall preserve thy soul.

     8The LORD shall preserve thy going out and thy coming in from this time forth, and
17
     even for evermore.
     The safety of the godly.
18
     - We must not rely upon men and means, instruments and second causes. Shall I depend
19   upon the strength of the hills? upon princes and great men? No; my confidence is in
     God only. Or, we must lift up our eyes above the hills; we must look to God who makes
20   all earthly things to us what they are. We must see all our help in God; from him we
     must expect it, in his own way and time. This psalm teaches us to comfort ourselves in
21   the Lord, when difficulties and dangers are greatest. It is almighty wisdom that
     contrives, and almighty power that works the safety of those that put themselves under
     God's protection. He is a wakeful, watchful Keeper; he is never weary; he not only
22   does not sleep, but he does not so much as slumber. Under this shade they may sit with
     delight and assurance. He is always near his people for their protection and
23   refreshment. The right hand is the working hand; let them but turn to their duty, and
     they shall find God ready to give them success. He will take care that his people
24   shall not fall. Thou shalt not be hurt, neither by the open assaults, nor by the
     secret attempts of thine enemies. The Lord shall prevent the evil thou fearest, and
25
     sanctify, remove, or lighten the evil thou feelest. He will preserve the soul, that it
     be not defiled by sin, and disturbed by affliction; he will preserve it from perishing
     eternally. He will keep thee in life and death; going out to thy labour in the morning
26   of thy days, and coming home to thy rest when the evening of old age calls thee in. It
      is a protection for life. The Spirit, who is their Preserver and Comforter, shall
27   abide with them for ever. Let us be found in our work, assured that the blessings
     promised in this psalm are ours.
28

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     Commentary by Matthew Henry,       1710.I
 1
     I know because of you Lord
 2   Judge and Jury
     I sense perfect peace
     You give us strength Lord
 3
     You go alongside us
     You shield me from harm
 4   Thank you for your supernatural help Lord God!
     You are Creator of Heavens and Earth, help comes from you!
 5   Favorable decisions
     No Spirits of Anxiety, Fear
 6   Holy Spirit Release
     Faithful, compassionate, kind, mercies
 7

 8

 9

10

11

12

13

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16        www.chick.com

17   https://www.youtube.com/watch?v=PtDgZmSMG4o&t=3 l 60s 32 14:40
     repentance because it was not a mistake it was a knowing
18
      14:47
19   Rebellion can Fallen Angels repent to explain why Fallen Angels
      14:53
20   cannot repent imagine a highly experienced and knowledgeable professional like a seasoned
     judge or a
21
      15:01
22   top level executive who fully understands the laws and ethical standards of their
      15:07
23   profession this person is not only aware of the rules but also the consequences
      I 5:13
24
     of breaking them now imagine this professional deliberately decides to
25    15:18
     break a significant law or ethical standard fully aware of the gravity and
26    15:24
27

28   32



                                                    - 192-

     VERIFIED COMPLAINT
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 193 of 801




     consequences of their action their decision is not made out of ignorance or
 1
     15:30
 2   misunderstanding it's a conscious Choice made with complete knowledge and
     15:36
 3   awareness in this example the actions of the professional are similar to how the Fallen Angels
     behaved like the
 4

 5   Respectfully Submitted,

 6

 7
                DATED this 4 th day of October, 2024,

 8

 9

10

11                                                          ~


                                                            ELIZABETH TIGANO
12
                DA TED this 411-l day of Ocrober, 2024.
13

14

15

16                                                          MARY BERNSTEIN

17                                             VERIFICATION
     (a) I, ELIZABETH TIGANO, the undersigned Plaintiff, declare under the penalty of perjury that
18
     the contents of this document titled VERIFIED COMPLAINT are true and conect to my own
19   knowledge and that I make this verification because the facts set forth
     in said document are within our knowledge.
20    (b) I will submit to this Court all confidential documents containing confidential
21
     medical information to be held under seal in order to establish the undisputable facts that
     we are qualified persons with disabilities, including, but not limited to cognitive disabilities,
22   as is defined by the Americans with Disabilities Act (ADA) of 1990, Title II, 42 U.S.C.
     1213 I et. seq. and Americans with Disabilities Act Amendments Act (AD AAA) of
23
     9/25/2008, 42 U.S.C. A. 12101 et. seq.
24
     (c) I, the undersigned plaintiff, declare under the penalty of perjmy that the
     foregoing is true and correct and was executed in Alameda County, Fremont, California by
25   Plaintiff Elizabeth Tigano this 7thh day of October, 2024.
26

27
                                                            ELIZABETH TIGANO
28

                                                   - 193-

     VERIFIED COMPLAINT
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 194 of 801




 1
                                               VERIFICATION
 2   (a) I, MARY BERNSTEIN, the undersigned Plaintiff, declare under the penalty of perjury that
     the contents of this document titled VERIFIED COMPLAINT are true and correct to my own
 3   knowledge and that I make this verification because the facts set forth
     in said document are within our knowledge.
 4
      (b) 1 will submit to this Court all confidential documents containing confidential
 5   medical infonnation to be held under seal in order to establish the undisputable facts that
     we are qualified persons with disabilities, including, but not limited to cognitive disabilities,
 6   as is defined by the Americans with Disabilities Act (ADA) of 1990, Title II, 42 U.S.C.
 7
      12131 et. seq. and Americans with Disabilities Act Amendments Act (AD AAA) of
     9/25/2008, 42 U.S.C. A. 12101 et. seq.
 8   (c) I, the undersigned plaintiff, declare under the penalty of perjury that the
     foregoing is true and correct and was executed in Alameda County, Fremont, California by
 9
     Plaintiff Mary Bernstein this 7thth day of October, 2024.
10

11

12
                                                             MARY BERNSTEIN
13

14

15                                                           EXHIBIT A Alameda Court jewish black
                                                             discrimination
16                                                           Rally decries exclusion of Black and
                                                             Jewish jurors in Alameda County
17
                                                             https://jweekly.com/2024/06/18/a-
18                                                           perversion-of-justice-rally-decries-
                                                             exclnsion-of-black-and-jewish-jurors-in-
19                                                           alameda-county/
20
                                                             OPINION I Righting the wrongs of
                                                             keeping Jews off death penalty juries
21                                                           https://jweekly.com/2024/06/24/yes-
                                                             review-alameda-couuty-death-penalty-
22                                                           cases-but-go-even-further/
23
                                                             Alameda Couuty juror bias case begins
                                                             https://jweekly.com/2005/03/25/juror-
24                                                           bias-case-begins/
                                                             Did a Jewish judge conspire to keep Jews
25
                                                             off jury
26
                                                             https://jweekly ,com/2005/01/27/did-a-
                                                             jewish-jndge-conspire-to-keep-jews-off-
27                                                           jury/
28

                                                    - 194-

     VERIFIED COMPLAINT
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 195 of 801




                                         Jews were excluded from Alameda
1                                        County's death penalty .iuries for decades
2
                                         new evidence reveals
                                         https://jweekly.com/2024/05/13/jews-
J                                        were-excluded-from-alameda-countys-
                                         death-penalty-juries-for-decades-new-
4
                                         evidence-reveals/
5                                        EXHIBIT B Dept 517 email mornings
                                         Friday CMC March 7 2024 no motion
 6                                       filing or requests without meeting in
                                         person or telephone
7
                                         EXHIBIT C
 8                                       Memorandum of Costs
                                         EXHIBITD
 9                                       California Statewide Civil Fee Schedule
                                         2024
10
                                         EXHIBITE
11                                       Christopher Allard McNamara Invoices
                                         Motion for Attorneys fees attesting for
12                                       Luanne Rutherford
                                         EXHIBITF
13
                                         Second Amended Complaint Plaintiff
14                                       EXHIBITG
                                         First Amended Complaint Plaintiff
15                                       EXHIBITH
                                         Preliminary Complaint filed with
16
                                          incapacitated attorney Kevin Horan
17                                       Summons
                                          Civil Cover Sheet Personal Injury
18                                        EXHIBIT I
19
                                          Late Mother Anna Smith-Fogltance
                                          restraining order injunction, Elizabeth
20                                        Tigano restraining orders Pima County
                                          Email Mother and sister assistance care
21                                        Injunction harassment across street
22
                                          July 10 2021 Article How We Will Know
                                          When Covid is Over
23                                        Declarations Anna Smith-Fogltance and
                                          Jacqueline Illera in support of request
24
                                          change of judge Paul Herbert
25
                                          EXHIBITJ
                                          Declaration Mary Bernstein Support of
26                                        Motion to Strike Costs/Opposition to
                                          Motion Attorney Fees
27

28

                                    - 195-

     VERIFIED COMPLAINT
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 196 of 801




                                        Declaration of Elizabeth Tigano in
1                                       Support of Opposition to Motion for
2
                                        Attorney Fees/Reply Costs
                                        EXHIBITK
3                                       Notice of Motion to Strike Costs
                                        Reply Motion to Strike Costs
4
                                        EXHIBITL
5                                       John Gibson Complaint 12 CR 003653
                                        Alameda County Felony Brandishing
 6                                      Weapons Firearms assault grocery
                                        delivery driver during COVID in
 7
                                        Meadow Brook Village Condominiums
 8                                      filed 3 18 2021
                                        Warrant issued failnre to appear 5 24
 9                                      2021
                                        Johu Gibson frivolous civil harassment
10
                                        petition against Mary Bernstein 21 CV
11                                      000668
                                        John Gibson frivolous civil harassment
12                                      petition against 23 CV031593 Elizabeth
                                        Tigano 4 24 2023
13
                                        EXHIBITM
14                                      Jacqueline Illera Declaration witness
                                        harassment John Gibson 1 8 2021 in
15                                      connection with Mary Bernstein civil
16
                                        harassment petition
                                        Elizabeth Tigano Declaration witness
17                                      harassment John Gibson 1 8 2021 in
                                        connection with Mary Bernstein civil
18                                      harassment petition
19
                                        EXHIBITN
                                        Limited Scope Representation Lloyd
20                                      Winter Motion for Summary Judgment
                                        Opposition
21                                      Eumi Lee Ruling granting summary
22                                      judgment
                                        Email Luanne Rutherford proposed
23                                      Judgment 5 16 2022 no costs attorneys
                                         fees - invoice 5 20 2022 email agreement
24                                       farmers to waive attorneys fees and costs
25                                       invoice entry #522
                                         Christopher Allard Judgment 7 17 2023
26                                       seeking costs Eumi Lee adds in can
                                         pursue attorney fees
27
                                         EXHIBITO
28

                                   - 196-

     VERIFIED COMPLAINT
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 197 of 801




                                             4 4 2019 Luanne Rutherford Ex Parte
1
                                             Application Plaintiff no notice called by
2                                            court at home hearing right then
                                             medicated 4 8 2019 no notice then medica
3                                            leave April 11 2019 hearing for six
                                             months Paul Herbert
 4
                                             EXHIBITP
 5                                           Motion for extension stay October 9 2019
                                             was on stay through November 4 2020
 6                                           due to court closure covid and not to
                                             work on matter advised by Judge until
 7
                                             stay lifted - no one to work on case
 8                                           during stay invoices by defendants
                                             working on case during stay- judge Paul
 9                                           Herbert assisting advising in transcript
                                             defense counsel what to do to counteract
10
                                             Plaintiff research home sales guiding
11                                           defense counsel pages 43-46
                                             EXHIBITQ
12                                           Documents filed Motion for Protective
                                             Order
13
                                             EXHIBITR
14                                           Elizabeth Tigano thank you drawing card
                                             to Lloyd Winter limited scope attorneys
15                                           for assisting us in opposition to motion fo
16
                                             summary judgment
                                             EXHIBITS
17                                           Eumi Lee during medical emergency
                                             judge well aware of injury issues order
18                                           denial of reasonable accommodations
19
                                             submitted prior to this date 3 4 2022 with
                                              medical records motion to quash states
20                                            non appearance
                                              EXHIBITT
21                                            Eumi Lee during medical emergency
22
                                              judge well aware of injury issues order
                                              denial of reasonable accommodations
23                                            submitted prior to this date 3 4 2022 with
                                              medical records case management
24
                                              conference states non appearance
25                                            EXHIBITU
                                              Keith Fong minutes Order to Show Cause
26                                            vacated only after Plaintiff brought to
                                              attention that the judge stated it would be
27
                                              vacated previously and that plaintiff did
28                                            not have to prepare response and appear

                                    • 197-

     VERIFIED COMPLAINT
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 198 of 801




                                         - sanctions and OSC had been issued
1                                        despite reasonable accommodations and
2                                        medical records submitted 3 5 2024 -
                                         matter left on calendar until 5 7 2024
 3                                       stressing Plaintiff Bernstein
                                         EXHIBITV
 4
                                         Keith Fong Order - Order to Show Cause
 5                                       vacated only after Plaintiff brought to
                                         attention that the judge stated it would be
 6                                       vacated previously and that plaintiff did
                                         not have to prepare response and appear
 7
                                         - sanctions and OSC had been issued
 8                                       despite reasonable accommodations and
                                         medical records submitted 3 5 2024 -
 9                                       matter left on calendar until 5 7 2024
                                         stressing Plaintiff Bernstein
10
                                         EXHIBITW
11                                       Limited Scope Representation Kevin
                                         Horan 3 28 2018
12                                       EXHIBITX
                                         State Bar Kevin Horan Consumer Alert 7
13
                                         2 2019
14                                        EXHIBITY
                                         SUPPLEMENTAL DECLARATION OF
15                                        MARY BERNSTEIN IN SUPPORT OF
16
                                          MOTION TO STRIKE TAX COSTS
                                          OPPOSITION TO MOTION FOR
17                                        ATTORNEY FEES AND OBJECTION
                                          TO MEMORANDUM OF COSTS
18                                        ASSOCIA NORTHERN CALIFORNIA,
19
                                          MASSINGHAM, MEADOW BROOK
                                          VILLAGE ASSOCIATION - FREMON
20                                        AND IN SUPPORT OF REPLY IN
                                          SUPPORT OF MOTION TO STRIKE
21
                                          TAX COSTS
22                                        EXHIBIT Z State Bar Complaint
                                          Christopher Allard falsifying information
23                                        perjury misrepresentation fraud ethics
                                          billing fraud
24

25

26    I

27

28

                                    - 198-

     VERIFIED COMPLAINT
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 199 of 801




Exhibit A
35 I have seen a wicked
and ruthless man
  flourishing like a
luxuriant native tree,
36 but he soon passed
away and was no more;
  though I looked for
him, he could not be
found.
                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 200 of 801



 10/4/24, 4:47 AM                                         Rally decries exclusion of Black and Jewish jurors in Alameda County




                                                   The Jewish i\lews
                                                        Northern California




     Rabbi Josh Weisman of Temple Beth Sholom speaks at a rally against the alleged purposeful withholding of Black and Jewish
     people from juries in Alameda County death penalty cases at Alameda County Superior Courthouse In Oakland, June 18,
     2024. (Photo/Aaron Levy-Wo/ins)


     NEWS> BAY AREA


     'A perversion of justice': Rally decries
     exclusion of Black and Jewish jurors
     in Alameda County
     BY SUE FISHKOFF I JUNE 18, 2024


     Sigll.JJ,JJ for Weekday_] and get the latest on what's happening in the Jewish Bay Area.



hllps://jweekly.com/2024/06/18/a-perversion-of-justlce-rally-decrles-exclusion-of-black-and-jewish-jurors-in-alameda-county/     116
                   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 201 of 801



10/4/24, 4:47 AM                                        Rally decries exclusion of Black and Jewish jurors in Alameda County

     For more than 30 years in Alameda County, potential Black and Jewish jurors have
     been excluded from capital trials - cases where the defendant faced the death
     penalty. And that, said speakers at a rally Tuesday outside the Alameda County
     Courthouse in Oakland, is a gross miscarriage of justice, one that demands immediate
     remedy.

     Defendants facing criminal charges are guaranteed trial by an "impartial" jury of
     one's peers, drawn from a "cross-section of the community," according to the U.S.
     Constitution and the Supreme Court.

     "A jury of your peers means a jury of your peers," said Rabbi Josh Weisman of Temple
     Beth Sholom in San Leandro. "If specific ethnic groups are excluded, that's a
     perversion of justice."

     The morning rally, sponsored by an array of local rights organizations, called for the
     resentencing of every prisoner who received the death penalty in Alameda County.
     (Gov. Gavin Newsom placed a moratorium on executions in California in 2019, to last
     through 2026, the end ofNewsom's term, and likely longer.) Demonstrators also
     demanded that all current and former prosecutors and judges implicated in this
     longstanding and illegal practice be held accountable.

     "We must ensure they never find employment in the legal system again," said an
      activist who calls herself Turtle Woman from the progressive group Bend the Arc:
     Jewish Action California.

      Interfaith leaders participated in the courthouse rally.


        II          It's yet another example of the systemic racism
                    plaguing our city, our state and our country.

      "We are here to confront a grave injustice in our jury system," said Brent Turner, an
      Oakland church deacon who is also active with the San Francisco Black and Jewish
      Unity Coalition. "It's yet another example of the systemic racism plaguing our city, our
      state and our country.

 hllps://jweekly.com/2024/06/18/a-perversion-oHustice-rally-decries-exclusion-of-black-and-jewish-jurors-in-alameda-county/    2/6
                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 202 of 801



1014/24, 4:47 AM                                          Rally decries exclusion of Black and Jewish jurors in Alameda County

      "The thought of how many lives have been lost because of the intentional exclusion of
      Black and Jewish jurors is heartbreaking," he said.

      Morgan Zamora of the Oakland-based Ella Baker Center for Human Rights blasted
     what she called "a legacy ofprosecutorial bias" in Alameda County, which she told the
      crowd "has resulted in harsher sentences" than might have been expected.

     Yoel Haile of the ACLU of Northern California echoed Zamora's charge, saying that
      "previous DAs have failed to curb the practice of these inequalities" that he said were
      designed to bring about "convictions at any cost."

      "We call on the state's attorney general, the state bar and the Committee on Judicial
      Performance to hold accountable prosecutors and judges implicated in this," Zamora
      said. "Such practices further erode trust in our legal system."

     Speakers at the rally expressed support for Alameda County DA Pamela Price, whose
      office uncovered evidence of the practice in 2023 during the appeal of a man on death
     row since 1985 and shared that information with attorneys and the judge in the case.
     As a result, U.S. District Judge Vince Chhabria instructed Price's office to review every
     one of the 35 capital cases from Alameda County.

     More than one speaker noted that the exclusion of Black and Jewish individuals from
     jury pools has been known within the department since the early 2000s, and only
     now, under Price's tenure, is it being acknowledged.




https://jweekly.com/2024/06/18/a-perversion-of-justice-rally-decrles-exclusion-of-black-and-jewish-jurors-in-alameda-county/     3/6
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10/4/24, 4:47 AM                                        Rally decries exclusion of Black and Jewish jurors in Alameda County




     Brent Turner of the San Francisco Bay Area Black and Jewish Unity Coalition speaks at the rally.
     (Photo/Aaron Levy-Wolins)

     DA Price, who was elected in 2022, has openly declared her opposition to the death
     penalty. She is facing a recall election in November.

     "Other DAs have turned a blind eye to this issue," Turner told the crowd. "We
     commend DA Price for her courage in bringing it to light."

     AN ew York Times article from 2005 reported that a former deputy DA from Oakland
     made a sworn statement declaring it was "standard practice" over the years in
     Alameda County to exclude Jews and Black women from death penalty juries, because
     it was felt they would not convict.

     "The judge [in one case in 1987] told me, no Jew would vote to send a defendant to the
     gas chamber," the deputy DA said in his statement.

      None of the speakers on Tuesday, however, addressed whether excluding these two
     groups from the jury pool in capital cases might have resulted in more death penalty
      convictions.
hllps://jweekly.com/2024/06/18/a-perversion-of-juslice-rally-decries-exclusion-of-black-and-jewish-jurors-in-alameda-county/   4/6
                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 204 of 801



10/4/24, 4:47 AM                                          Rally decries exclusion of Black and Jewish jurors in Alameda County

      Rabbi Weisman noted that Black and Jewish Americans share a common history of
      being marginalized, and he intimated that they might bring that experience to bear in
      cases they are asked to consider.

     "Just who is afraid of Black and Jewish jurors in death penalty cases?" he asked the
     crowd. "And why are they afraid? Is it because of the sense of connection to our
     histories of oppression?"

     Citing the 18th-century Rabbi Simcha Bunim of Peshischa, Weisman told the crowd
     that the exhortation "Justice, justice shall you pursue" in Deuteronomy repeats the
     word "justice" to demand that the pursuit of justice must itself be conducted justly, if
     the end result is to be just.

     "To exclude someone from a jury based on their identity is not justice," he said. "And if
      a judgment is reached by unjust means, it is not just."




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          and thrive!




                                       Sue Fishkoff
                                       Sue Fishkoff is the editor emerita of J. She can be reached at
                                       sue@jweekly.com.




     BAY AREA
                                                                                          Did a Jewish judge conspire to
     Jews were excluded from                                                              keep Jews off jury
     Alameda County's death
     penalty juries for decades


     LOCAL VOICE                                                                          BAY AREA

hllps://jweekly.com/2024/06/18/a-perversion-of-juslice-rally-decries-exclusion-of-black-and-jewish-jurors-in-alameda-counly/          516
                   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 205 of 801


10/4/24, 4:47 AM                                         Rally decries exclusion of Black and Jewish jurors in Alameda County

     Righting the wrongs of keeping                                                       Alameda County juror bias case
     Jews off death penalty juries                                                        begins




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               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 206 of 801



10/4/24, 4:49 AM                                       OPINION I Righting the wrongs of keeping Jews off death penally juries

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                                                                     No thanks.                     Siqn me up!




     The gas chamber at San Quentin State Prison prior to its disassembly In /vlarch 2019. (California Department of Correction
     and Rehabilitation)


     OPINION > LOCAL VOICE


     Yes, review Alameda County death
     penalty cases - but go even further
     BY FLAURIE 5. IMBERMAN, ELIEAXELROTH I JUNE 24, 2024


     Sign up for Weekday_] and get the latest on what's happening in the Jewish Bay Area.

     This spring, long-hidden evidence came to light that Alameda County prosecutors had
     for decades systematically excluded Jews, African Americans and women from


https://jweekly.com/2024/06/24/yes-review-alameda-county-dealh-penally-cases-but-go-even-further/                                 115
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 207 of 801



10/4/24, 4:49 AM                                      OPINION I Righting the wrongs of keeping Jews off death penally juries

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     "Banker. Jev1                                                                                                             J   way."

     Excluding p,                                                                                                              ,rt because
     we are entitl                                                                                                             f
     individuals L     u                                                                                                       , our right-
     our obligation, even - to serve on juries,

     Discrimination in jury selection is not new, nor is it limited to excluding Jews.

     A 1983 training manual for prosecutors in Dallas, Texas, explicitly directed
     prosecutors: "Do not take Jews, Negroes, Dagos, Mexicans or a member of any
     minority race on a jury, no matter how well educated." Our country's criminal justice
     system has long been rooted in racist practices, originally established to keep Black
     citizens and other disfavored minorities in their place. Controlling, through any
     means necessary, who serves on a jury is one element of this oppression.

     Since 1973, 199 people in the U.S. have been exonerated after being wrongly convicted
     and sentenced to death, according to the Death Penalty Information Center. That is
     one exoneration for every eight people executed in the U.S. during that time. Dozens
     of other innocent men and women have been coerced into accepting plea deals for
     crimes they did not commit in order to secure their release from death row. A 2014
     study in Proceedings of the National Academy of Sciences estimated that at least 4% of
     those sentenced to death are innocent.

     According to Alameda County District Attorney Pamela Price, the recent discovery of
     rampant prosecutorial misconduct in jury selection may require overturning
     convictions in as many as 35 death penalty cases and lead to the retrying of 30-year-
     old cases.


       II          Who among us wants to be responsible for
                   executing an innocent person?

     Who among us wants to be responsible for executing an innocent person?

https://jweekly.com/2024/06/24/yes•review-alameda.county-dealh•penalty•cases•but.go•even•further/                                             2/5
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 208 of 801



10/4/24, 4:49 AM                                       OPINION] Righting the wrongs of keeping Jews off death penally juries

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      circumstanti                                                                                                             mldbe
     executed. Ar                                                                                                              y people be
     set free than                                                                                                             zvot)

     Public opiniL ,      u                                      J
                                                                              . United                J        J


     States are opposed to the death penalty. Our sacred teachings remind us: If you
     destroy one life, it is as though you have destroyed all humankind; whereas if you
     preserve one life, it is as though you preserved all humanity. (Mishnah Sanhedrin 4:5)
     After the horrific loss of life in the Holocaust, Jewish opposition to capital punishment
     has grown even stronger.

     What has happened in Alameda County is appalling, especially when considered in
     the context of the racist nature of our incarceration system and the pervasive
     presence of antisemitism in the United States.

     Yet we can right this wrong.

     We applaud Price for taking this issue seriously and urge her to move forward quickly
     with reviewing all of the cases identified with this travesty of justice.

     In the same vein, we applaud Santa Clara County District Attorney Jeff Rosen's
     decision in April seeking to resentence 14 people prosecuted by his office who are
     currently on death row. We encourage every district attorney in California to follow
     suit.

     As we advocate for the abolishment of the death penalty, we are also seeking
     clemency for those currently sentenced to death.

     In 2019, Gov. Gavin Newsom signed an executive order placing a moratorium on the
     death penalty. We will continue to ask the governor to grant universal clemency to
     everyone on death row in California, and we urge you to add your name to our
     petition. It is crucial that the governor do this soon. He cannot run for a third term in
     2026 and could be replaced by a death penalty advocate.

     We were raised by parents who taught us that standing on the side of the oppressed is
                                                                                                          1,       •   l
     at the heart, "' ' •                                1   ,       l •   •   ,   • l
                                                                                                                               1four
hltps://jweekly.com/2024/06/24/yes-review-alameda-county-dealh-penalty-cases-but-go-even-further/                                            315
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 209 of 801



10/4/24, 4:49 AM                                       OPINION I Righting lhe wrongs of keeping Jews off death penally juries

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      for all 636 pi




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          provides ne1Ns you c.an 1t find efoe\.vhere. Support !oca! Jewish
          Joui--na!isrn and give to J. today. Your donation wm he~p J. survive                                       Support J.
          and thrive!




                                      Flaurie S. lmberman

                                      Flaurie 5. lmberman is co-chair of Bend the Arc: Jewish Action, California.
                                      She lives in Sunnyvale.




                                      Elie Axelroth

                                      Elie Axelroth is a volunteer leader with Bend the Arc: Jewish Action,
                                      California. She lives in San Luis Obispo.




     BAY AREA
                                                                                       Accuser of Jewish judge
     Jews were excluded from                                                           deemed dishonest and unethical
     Alameda County's death
     penalty juries for decades


     BAY AREA
                                                                                       Did a Jewish judge conspire to
     Santa Clara county judge to rule                                                  keep Jews off jury
     if Jews were kept off jury



https:/ljweekly.com/2024/06/24/yes-review-alameda-county-dealh-penally-cases-but-go-even-further/                                          4/5
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 210 of 801



 10/4/24, 4:49AM                                       OPINION I Righting the wrongs of keeping Jews off death penalty juries

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               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 211 of 801



10/4/24, 4:46AM                         Jews were excluded from Alameda County's death penalty juries for decades, new evidence reveals




                                                 "The Jewish Nevl/s
                                                     Northern California




     The Rene C Davidson Courthouse of the Alameda County Superior Court in Oakland. (Photo/Gabriel Classon-Flickr CC BY
     2.0)


     NEWS> BAY AREA


     Jews were excluded from Alameda
     County's death penalty juries for
     decades, new evidence reveals
     BY JACKIE HAJDENBERG I MAY 13, 2024


     Sign up_ for WeekdaY-f and get the latest on what's happening in the Jewish Bay Area.




https://jweekly.com/2024/05/13/jews-were-excluded-from-alameda-countys-death-penalty-juries-for-decades-new-evidence-reveals/             1/4
                   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 212 of 801


10/4/24, 4:46 AM                        Jews were excluded from Alameda County's death penalty juries for decades, new evidence reveals

     (JTA) - As many as 35 death-row cases in a California county could be under review
     for discriminatory practices, including the exclusion of both Black female and Jewish
     jurors.

     The cases in Alameda County date as far back as 1977.

     During jury selection in one murder case from the 1990s, the prosecution left
     handwritten notes about prospective jurors - including whether they were Jewish or
     Black.

     "I liked him better than any other Jew, but no way," one note said. "Must kick."

     One note characterizes the prospective juror as, "Banker. Jew?" followed by, "Nice guy
     - thoughtful but never a strong DP leader - Jewish background." "DP" means "death
     penalty."

     Another note simply says at the top, "Jew? Yes."

     California has had a moratorium on the death penalty as of 2019, but at least three
     people have been resentenced due to the early findings of the Alameda County review.

     The intentional exclusion of Black and Jewish people, or any other group, from
     participating in a jury is illegal.

     Prosecutors may have wanted to keep Jews off juries to increase chances of a death
     sentence. A 2016 Gallup poll found that, when compared with other religious
     groups, Jews are less supportive of capital punishment - though 54% still believed it
     to be "morally acceptable."

      ''When you intentionally exclude people based on their race, their religion, their
     gender or any protected category, it violates the Constitution," Alameda County
     District Attorney Pamela Price said at a news conference on April 22. "The evidence
     that we have uncovered suggests plainly that many people did not receive a fair trial
      in Alameda County."

      The allegations of discrimination came to light in 2023 during an appeal on a death
      penalty case for Ernest Dykes, who was charged and sentenced in 1995 for murdering
      a 9-year-old boy during the robbery and attempted murder of his mother. A deputy
 https://jweekly.com/2024/05/13/jews-were-excluded-from-alameda-countys-dealh-penalty-juries-for-decades-new-evidence-reveals/            2/4
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 213 of 801



10/4/24, 4:46 AM                        Jews were excluded from Alameda County's death pena11y juries for decades, new evidence reveals

     district attorney discovered "handwritten notes by prosecutors which appear to show
     that they intentionally excluded Jewish and Black female jurors from the jury pool,"
     the District Attorney's Office of Alameda County said in a statement.

     "These notes - especially when considered in conjunction with evidence presented in
     other cases - constitute strong evidence that, in prior decades, prosecutors from the
     office were engaged in a pattern of serious misconduct, automatically excluding
     Jewish and African American jurors in death penalty cases," Judge Vince Chhabria
     wrote in an April 22 court order.

     This is not the first time allegations of religious and racial bias against Jewish and
     Black jurors have turned up in jury selection in Alameda County. Many Jewish
     activists have advocated against the death penalty, often focusing on opposition to the
     use of gas chambers as a form of execution.

     John Quatman, who worked for 26 years as a deputy district attorney, said in 2005 that
     Stanley Golde, the trial judge presiding over a 1987 murder and robbery case, advised
     him during jury selection that "no Jew would vote to send a defendant to the gas
     chamber" and referenced the Israeli sentencing of Adolf Eichmann, an architect of the
     Holocaust.

     "He said I could not have a Jew on the jury, and asked me if I was aware that when
     Adolf Eichmann was apprehended after World War II, there was a major controversy
     in Israel over whether he should be executed," Quatman said at the time. Eichmann
     was put to death.

     "Judge Golde was only telling me what I already should have known to do," Quatman
     said in his statement. "It was standard practice to exclude Jewish jurors in death
     cases."




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10/4/24, 4:46AM                         Jews were excluded from Alameda County's dealh penalty juries for decades, new evidence reveals




                                     Jackie Hajdenberg
                                     Jackie Hajdenberg is a reporter at JTA. She has a degree in political science
                                     from Barnard College and a master's in journalism from Columbia
                                     Journalism School. Her reporting and writing has appeared in USA Today,
         PBS Frontline, the Detroit Free Press, Vox and Hey Alma. She writes satire and hangs out on
         Twitter @DrJackieMrsHajd




     Tags: courts, death penalty




     BAY AREA
                                                                                     Did a Jewish judge conspire to
     Rally decries exclusion of Black                                                keep Jews off jury
     and Jewish jurors in Alameda
     County


     LOCAL VOICE                                                                     BAY AREA

     Righting the wrongs of keeping                                                  Alameda County juror bias case
     Jews off death penalty juries                                                   begins




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                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 215 of 801



10/4/24, 4:51 AM                                                    Did a Jewish judge conspire to keep Jews off jury




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                                                        Northern California


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     Did ~ )~wish judge conspire to keep
     Jews off jury
     BY JOE ESKENAZI IJANUARY 27, 2005


      Sign up_ for Weekday_] and get the latest on what's happening in the Jewish Bay Area.

     Lawyers for a death row prisoner are arguing that the respected Jewish judge who
     oversaw his case inappropriately colluded with the prosecutor to keep Jews off the
     jury.

     In a statement made by former Alameda County prosecutor Jack Quatman on behalf
     of condemned prisoner Fred Freeman, the lawyer claims deceased Alameda County
     Superior Court Judge Stanley Golde chided him for not aggressively keeping Jews out
     of the jury pool when Quatman was prosecuting the 1987 trial.

     "Judge Golde was a plain-spoken man, who was not shy about expressing his opinion.
     He said I could not have a Jew on the jury ... Judge Golde said no Jew would vote to
     send a defendant to the gas chamber. I thanked Judge Golde for this advice, and
     thereafter excused any prospective juror who was Jewish."

     Quatman adds that Golde's advice was not entirely necessary as "it was standard
     practice to exclude Jewish jurors in death cases; as it was to exclude African American
     women from capital juries."

     Quatman, currently in private practice in Whitefish, Mont., did not return repeated
     phone calls. In addition to his allegations against Golde, he also claimed Freeman's
     defense attorneys "handed me the case" through repeated acts of gross incompetence.


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10/4/24, 4:51 AM                                                   Did a Jewish judge conspire to keep Jews off jury

      Officials in the Alameda County District Attorney's office would not comment on
      Quatman's possible motivation for making the accusation after so many years.

      Freeman, who was convicted for a 1984 shooting murder in a Berkeley bar, is not
     Jewish, but the alleged wholesale exclusion of a "cognizable class" for membership in
     the jury would arguably have denied him the right to a jury of his peers according to
     his lawyers at the California Habeas Corpus Resource Center.

      Freeman's lawyers will appear in court Feb. 8 for a discovery hearing, when Alameda
      County District Attorney Thomas Orloff expects to set hearing dates and "deal with
      some motions" - including one to recuse the district attorney's office and kick the
      case to the state attorney general.

     Quatman's allegations against Golde, a former congregant at Oakland's Temple Sinai
     who died in 1998, ignited a firestorm of angry denials from the judge's friends and
     legal colleagues, who claim he would never have, in essence, rigged a trial.

      "We definitely dispute [Quatman's] allegations," said Orloff.

     Golde "was very proud of his background and his religion. He was active in our
     synagogues and respected in our Jewish community. His nickname among the other
     judges was 'The Maven."'

     Added U.S. District Judge D. Lowell Jensen, a lifelong friend of Golde's, in a written
     response to Freeman's habeas corpus petition: "It is simply inconceivable that Stanley
     Golde would throw over a lifetime of devotion to the law and to its ethical practice in
     an attempt to achieve the wrongful conviction and wrongful imposition of a death
     penalty for a defendant on trial in his courtroom."

     Quatman's allegations regarding Golde have struck a chord with anti-death penalty
     activists.

     While personally opposed to capital punishment on moral grounds, Golde sent 11 men
     to death row between 1980 and 1995; Stefanie Faucher, the program director of the
     San Francisco-based Death Penalty Focus referred to him as "a hanging judge."



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10/4/24, 4:51 AM                                                    Did a Jewish judge conspire lo keep Jews off jury

      If Quatman's recollection is true, all of Golde's capital cases - and, perhaps hundreds
      more, statewide - will be in doubt.

      "You have a right to a jury of your peers. This does not mean just white people or
     black people but a sampling of the general public. This is absolutely wrong because it
     undermines our entire understanding of justice in California," said Faucher.

     "And this attorney said this was standard practice."




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         Joe Eskenazi
          Joe Eskenazi is the managing editor at Mission Local. He is a former editor-at-large at San
          Francisco magazine, former columnist at SF Weekly and a former J. staff writer.




     BAY AREA
                                                                                         Accuser of Jewish judge
     Alameda County juror bias case                                                      deemed dishonest and unethical
     begins


     BAY AREA                                                                            BAY AREA

     Santa Clara county judge to rule                                                    Jews were excluded from
     if Jews were kept off jury                                                          Alameda County's death
                                                                                         penalty juries for decades




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10/4/24, 4:51 AM                                                    Did a Jewish judge conspire to keep Jews off jury




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10/4/24, 4:52 AM                                          Alameda County juror bias case begins




                                                   The Jewish News

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     BY J. CORRESPONDENT I MARCH 25, 2005



      Sigll....ll,[J. for WeekdaY-J and get the latest on what's happening in the Jewish Bay Area.

     Former Alameda County prosecutor John Quatman began testimony Tuesday, March
     22, in San Jose Superior Court following his claim last year that he colluded with a
     Jewish judge to keep Jews off a death penalty jury.

     Quatman, now in private practice in Montana, alleged that deceased Judge Stanley
     Golde chided him for considering Jews for the 1987 jury of since-convicted murderer
     Fred Freeman. The former prosecutor further alleged that it was standard practice in
     Alameda County to exclude Jews and black women from capital juries.

     His testimony came up at an evidentiary hearing to determine whether Freeman,
     currently on death row, may be granted a new trial.

     Quatman's allegations are vigorously disputed by the Alameda County District
     Attorney's office. During Tuesday's proceedings, George Williamson, who represented
     the California attorney general's office, attempted to paint Quatman as ethically
     challenged, even forcing him to read notes he'd taken during the '87 trial on the
     physical appearance of female jurors.

     Quatman claimed he waited years to make his allegations against Golde, a former
     congregant of Oakland's Temple Sinai, because accusations against the respected
     judge would have ruined the prosecutor's career.




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                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 220 of 801



10/4/24, 4:52 AM                                           Alameda Counly juror bias case begins

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           and thrivfd

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          J. Correspondent



     Accuser of Jewish judge                                               Did a Jewish judge conspire to
     deemed dishonest and unethical                                        keep Jews off jury


     BAY AREA
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     Santa Clara county judge to rule
     if Jews were kept off jury




https://jweekly.com/2005/03/25/juror-blas-case-begins/                                                          2/2
  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 221 of 801




Exhibit B
1 Do not fret because of those
who are evil
  or be envious of those who
do wrong;
2 for like the grass they will
soon wither,
  like green plants they will
soon die away.
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 222 of 801



9/22/24, 7:32 AM                                         Mail - Mary Helen Bernstein MSAJS - Outlook



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        Automatic reply: Alameda Superior Court EPOST: HG18897381 for [03/05/2024 Order re: Hearing on
        Motion for Attorney Fees filed b... ]

        From Dept. 517, Superior Court <dept517@alameda.courts.ca.gov>
        Date Thu 3/7/2024 5:21 PM
        To     Mary Helen Bernstein MSAJS <Mbernsteinpurple@hotmail.com>




       Please read this message in its entirety as it may answer your question(s). Please do not leave
       multiple messages or voicemails. Voicemails are reserved only for those without access to
       email. Should you have access to email, do not expect a call back, as only email responses
       may be given. Please remember, the Court cannot accept Ex Parte Communications.

       Meet and Confer Reguirement:

       The P.arties shall meet and confer P.rior to submitting.fil}Y, motion or
       reguest to the Court. To satisfY, this reguirement, the P.arties must discuss
       the matter in P.erson or bY, teleP.hone/video conference. Meeting and
       conferring solely.J.!Y. letter or written communication will not suffice. Each
       reguest shall include a certification bY, counsel that the P.arties have met
       and conferred in a good faith effort to resolve the P.articular disP.ute
       without judicial intervention. Failure to compJY, with this reguirement may
       result in the Court declining to consider the reguest.


       Please review the following procedures carefully as it may answer your questions:

             1. Check the Court's ECOURT PUBLIC PORTAL
               at htt12s://er2ortal.alameda.courts.ca.gill/L before you ask about anything. The Alameda
               County Superior Court eCourt Public Portal provides the public with on line access to civil
               case records through a secure web server.


               2. INFORMAL DISCOVERY CONFERENCES: Email the department with jointly proposed
               dates and times, cc'ing the opposing party/counsel. Parties are required to meet and
               confer, prior to contacting the Department. IDC's are usually held on Wednesday
               mornings when the Court is not in trial. Counsel are expected to follow the
               requirements set forth in Local Rule 3.31.


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                   3. LAW AND MOTION RESERVATIONS are REQUIRED to be made on eCourt. eCourt
                   Public Portal I Alameda eCourt Public Portal (ca.gov).

               4. LAW AND MOTION CONTESTED HEARINGS- Tentative rulings are posted on eCourt
               before the hearing and contain instructions as to how to contest. Parties must contest
               on eCourt and by email to the courtoom clerk at dept517@alameda.courts.ca.gov,
               cc'ing opposing party/counsel.
               See httr:i://www.alameda.courts.ca gov/Pages.asr:ix/Tentative-Ruling:, for more
               information.

       5. EX PARTE: Ex pa rte requests should be filed with directions given to the clerk's office to
       direct the request to the judge's work queue and do not require a reservation. All parties
       must be served. A pdf copy of the moving papers should be emailed to Department 517 at
       the Dept517@alameda.courts.ca.go1,, notifying the department clerk that an Ex Parte request
       has been filed, with the email copied to all parties.

       Courtesy copies should also be delivered to Department 517 at D517CC@alameda.courts.ca.
       gov as stated above. Opposition papers should be filed and delivered similarly. The Court will
       ordinarily wait 24 hours for an opposition. The Court will rule on the papers or schedule a
       hearing if the Court deems a hearing necessary. _

       6. COURTESY COPIES- Parties should submit identical courtesy copies of all law and motion
       papers to Department 517 no later than 12:00 p.m. the day after they are filed and served.
       Courtesy copies should be delivered in PDF format to Department 517 by email to the
       following email address dedicated solely for receiving courtesy copies and proposed orders:
       D517CC@alameda.courts.ca. gov. The subject line of the email should identify the case name
       and number and the title of the document in short form. No other information or
       communications shall be stated be in the subject line or the body of the email.

       If a document attaches exhibits, e.g., declarations and requests for judicial notice, and the
       document with exhibits exceeds 50 pages, paper copies of the document should also be
       delivered to Department 517. Paper courtesy copies of documents that do not fall in this
       category need not be provided. If the courtroom is closed, papers may be left in the box
       placed outside of Department 517.

       If a party files a motion that requires the Court to review the pleadings, courtesy copies of the
       relevant pleading, e.g., complaint, cross-complaint, or answer, must also be delivered to
       Department 517.

       7. X';~SsR?IAJ'JA@.~M8f;,El1~Cas~l~ffa~l[ntll':!ipnffinf¢.es4)!fii§trelfiF@f1'\kTu esd ay and Thurs day at
       2:30 PM and oj;l~fMuayj;"a\J\lcE'ISjf~JW, unless specially set by the Court. Timely filed and
       completed case management conference statements are mandatory. Ordinarily, the Court
       will post a tentative case management Order that will be adopted if no party appears to
       contest it. The parties should meet and confer after the tentative ruling is posted to
       determine if any party contests the Order and whether appearances are necessary.
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              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 224 of 801



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        Parties need not submit courtesy copies of case management conference statements,

       8, REMOTE HEARINGS: Please note, appearances are in person with the option to appear
       remotely, Information regarding appearances shall be provided in the published tentative
       order/ruling and is also available via eCourt on the Department's page, Zoom links shall not be
       sent out via email.

       9. Counsel or self-represented litigants' EMAIL ADDRESS must appear on the face page of all
       pleadings. All email communications must be copied to all parties for whom an email address
       is available.

        BE COURTEOUS and PATIENT. ALL requests will be handled in due course.




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  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 226 of 801




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Please read this message in Its entirety as it may answer your question(s). Please do not leave multiple
messages orvoicemails. Voicemails are reserved only for those without access to email. Should you have
access to email, do not expect a call back1 as only email responses may be given. Please remember, the
Court cannot accept Ex Parte Communications.

Meet and Confer Requirement:

The parties shall meet and confer prior to submitting any motion or request to the Court. To satisfy
this requirement, the parties must discuss the matter in person or by telephone/video conference.
Meeting and conferring solely by letter or written communication will not suffice. Each request shall
include a certification by counsel that the parties have met and conferred in a good faith effort to
resolve the particular dispute without iudicial intervention. Failure to comply with this requirement
may result in the Court declining to consider the request.




Please review the following procedures carefully as it may answer your questions:

       1.       Check the Court's ECOURT PUBLIC PORTAL at https://eportal.alameda.courts.ca.gov/ before you
                ask about anything. The Alameda County Superior Court eCourt Public Portal provides the public
                with online access to civil case records through a secure web server.



                2. INFORMAL DISCOVERY CONFERENCES: Email the department with jointly proposed dates and
                times1 cc'ing the opposing party/counsel. Parties are required to meet and confer1 prior to
                contacting the Department. IDC's are usually held on Wednesday mornings when the Court is
                not in trial. Counsel are expected to follow the requirements set forth in Local Rule 3.31.
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 227 of 801




        3. LAW AND MOTION RESERVATIONS are REQUIRED to be made on eCourt. eCourt Public Portal I
        Alameda eCourt Public Portal (ca.gov)

        4. LAW AND MOTION CONTESTED HEARINGS -Tentative rulings are posted on eCourt before the
        hearing and contain instructions as to how to contest. Parties must contest on eCourt and by
        email to the courtoom clerk at dept517@alameda.courts.ca.gov, cc'ing opposing party/counsel.
        See http://www.alameda.courts.ca.gov/Pages.aspxCTentative-Rulings for more information.

5. EX PARTE: Ex parte requests should be filed with directions given to the clerk's office to direct the
request to the judge's work queue and do not require a reservation. All parties must be served. A pdf
copy of the moving papers should be emailed to Department 517 at
the Dept517@alameda.courts.ca.gov, notifying the department clerk that an Ex Parte request has been
filed, with the email copied to all parties.



Courtesy copies should also be delivered to Department 517 at D517CC@alameda.courts.ca. gov as
stated above. Opposition papers should be filed and delivered similarly. The Court will ordinarily wait 24
hours for an opposition. The Court will rule on the papers or schedule a hearing if the Court deems a
hearing necessary.   _



6. COURtESY COPIES - Parties should submit identical courtesy copies of all law and motion papers to
Department 517 no later than 12:00 p.m. the day after they are filed and served. Courtesy copies should
be delivered in PDF format to Department 517 by email to the following email address dedicated solely
for receiving courtesy copies and proposed orders: D517CC@alameda.courts.ca. gov. The subject line of
the email should identify the case name and number and the title of the document in short form. No
other information or communications shall be stated be in the subject line or the body of the email.



If a document attaches exhibits, e.g., declarations and requests for judicial notice, and the document
with exhibits exceeds 50 pages, paper copies of the document should also be delivered to Department
517. Paper courtesy copies of documents that do not fall in this category need not be provided. If the
courtroom is closed, papers may be left in the box placed outside of Department 517.



If a party files a motion that requires the Court to review the pleadings, courtesy copies of the relevant
pleading, e.g., complaint, cross-complaint, or answer, must also be delivered to Department 517.



7. CASE MANAGEMENT: Case Management Conferences are held on Tuesday and Thursday at 2:30 PM
and on Friday at 10:30 AM, unless specially set by the Court. Timely filed and completed case
management conference statements are mandatory. Ordinarily, the Court will post a tentative case
management Order that will be adopted if no party appears to contest It. The parties should meet and
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 228 of 801




confer after the tentative ruling is posted to determine if any party contests the Order and whether
appearances are necessary,



Parties need not submit courtesy copies of case management conference statements.



8, REMOTE HEARINGS: Please note, appearances are in person with the option to appear remotely.
Information regarding appearances shall be provided in the published tentative order/ruling and is also
available via eCourt on the Department's page, Zoom links shall not be sent out via email.

9. Counsel or self-represented litigants' EMAIL ADDRESS must appear on the face page of all pleadings.
All email communications must be copied to all parties for whom an email address is available,

BE COURTEOUS and PATIENT. ALL requests will be handled in due course.
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 229 of 801



9/16/24, 9:43 AM                                          Mail~ Mary Helen Bernstein MSAJS ~ Outlook

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            Outlook                                   , ()_ Search



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                              Fw: Alameda Superior Court EPOST: HG18897381 for [03/05/2024
                              Order re: Hearing on Motion for Attorney Fees filed b ... ] fridays 10
                              30 am cmc
                              Mary Helen Bernstein MSAJS <Mbernsteinpurple@hotmail.com>
                              Mon 9/16/2024 9:39 AM
                              To: mary bernstein <bernstein.mary@aol.com>; Mary Helen Bernstein
                              <mhe1enbernstein@yahoo.com>




                              From: Dept. 517, Superior Court <dept517@alameda.courts.ca.gov>
                              Sent: Thursday, March 7, 2024 5:20 PM
                              To: Mary Helen Bernstein MSAJS <Mbernsteinpurple@hotmail.com>
                              Subject: Automatic reply: Alameda Superior Court EPOST: HG18897381 for [03/05/2024
                              Order re: Hearing on Motion for Attorney Fees filed b... J



                              Please read this message in its entirety as it may answer your
                              question(s). Please do not leave multiple messages or voicemails.
                              Voicemails are reserved only for those without access to email. Should
                              you have access to email, do not expect a call back, as only email
                              responses may be given. Please remember, the Court cannot accept Ex
                              Parte Communications.
                              Meet and Confer Reguirement:
                              The P.arties shall meet and confer P.rior to submittingJ!!!Y.
                              motion or r~uest to the Court. To satisfY. this
                              reguirement, the P.arties must discuss the matter in
                              P.erson or bY, teleP.hone/video conference. Meeting and
                              conferring solely.Jn: letter or written communication will
                              not suffice. Each reguest shall include a certification bY.
                              counsel that the P.arties have met and conferred in a good
                              faith effort to resolve the P.articular disP.ute without
                              judicial intervention. Failure to compJY, with this
                              reguirement maY, result in the Court declining to consider
                              the reguest.

                              Please review the following procedures carefully as it may answer your
                              questions:                                                                           V


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              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 230 of 801



10/4/24, 5:03 AM                                                                              (10,256 unread) - bernstein.mary@aol.com-AOL Mail




      cmc vacated refusal to schedule friday mornings save email that i have fong 9 17 2024

      From: mary bernstein (bernstein.mary@aol.com)
     To:      bernstein.mary@aol.com

     Date: Monday, September 16, 2024 at 02:00 PM PDT




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   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 231 of 801




Exhibit C
10 A little while, and the wicked will be
no more;
  though you look for them, they will
not be found.
11 But the meek will inherit the land
  and enjoy peace and prosperity.
12 The wicked plot against the
righteous
  and gnash their teeth at them;
13 but the Lord laughs at the wicked,
  for he knows their day is coming.
                    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 232 of 801




                                                                                                                                           MC-010
   ATTORNEY OR PARTY WITHOUT ATTORNEY.                        STATE BAR NUMBER                                 FOR COURT USE ONLY
   NJWe.    Christopher B. Allard (SBN 264842)
   FIRMNJWE.  McNamara, Ambacher, Wheeler, Hirsig & Gray
   STREET ADDRESS.         3 48 Q   Buskirk Ave #250
    cITY.   Pleasant Hill                                  STATE: CA   ZIP CODE   94523
   TELEPHDNENO.        (   9 2 5) 9 3 9-5330           FAX NO..
   E--MAlLADDREss.    christopher. allard@mcnamaralaw.com
   ATTORNEYFOR(tlameJ:  Associa Northern California et al.
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
    STREET ADDRESS         24405 Amador Street
    MAILING ADDRESS
   CllY AND ZIP CODE:      CA 94544
                           Hayward,
       BRANCH NAMEHavward Hall of Justice
      PLAINTIFF; Mary Bernstein
     DEFENDANT:As s ocia Northern California, et al.
                                                                                                 CASE NUMBER
                                  MEMORANDUM OF COSTS (SUMMARY)
                                                                                                 HG18897381
  The following costs are requested:                                                                                          TOTALS
  1. Filing and motion fees                                                                                $                        11,828
  2. Jury fees                                                                                             $
  3. Jury food and lodging                                                                                 $
  4. Deposition costs                                                                                      $                         1,484
  5. Seivice of process                                                                                    $
  6. Attachment expenses                                                                                   $

  7. Surety bond premiums                                                                                  $
  8. Witness fees                                                                                          $

  9. Court-ordered transcripts                                                                             $

10. Attorney fees (enter here if contractual or statutory fees are fixed without necessity of a court
    detenninatfon; othetwise a noticed motion is required)                                                 $

11. Court reporter fees as established by statute                                                          $
12. Models, enlargements, and photocopies of exhibits                                                      $                               685
13. Interpreter fees                                                                                       $
14. Fees for electronic filing or service                                                                  $
15. Fees for hosting electronic documents                                                                  $
16. Other                                                                                                  $                         5,265

I  TOT AL COSTS                                                                                            $                        19, 2 62

I am the attorney, agent, or party who claims these costs. To the best of my knowledge and belief this memorandum of costs is correct
and these costs were necessarily incurred in this case.

Date: August                1 4.    2023


Christopher B                        Allard                                      ►
                            (lYPE OR PRINT N.IIME)                                                 (SIGNATURE OF DECLARANT)
                                                             (Proof of service on reverse)                                                 Page 1 of 2
                                                     MEMORANDUM OF COSTS (SUMMARY)
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                                                                                                                                Code vi Civil Procedure,
                                                                                                                                       §§ 1032, 10335
MC-010 (Rev. Sep!emb8r 1, 2017]

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                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 233 of 801




                                                                                                                                                MC-011
     SHORT TITLE                                                                                           CASE NUMBER:
     Bernstein v. Meadow Brook Village HOA                                                                 HG18897381

                                                     MEMORANDUM OF COSTS (WORKSHEET)


1. Filing and motion fees
                                          Paper filed                                               Filing fee

      a.     See Attachment Jg                                                              $                11 82 8



      c,    --------------------                                                            $

      d.    ------------------                                                             $

      e.    --------------------                                                            $

      f.    ------------------                                                              $

      g.    IX) Information about additional filing and motion fees is contained in Attachment 1g.

                                                                                                            TOTAL    1. 1~$_ _ _ _ _1_1~,8_2~8
2. Jury fees
                                                                            Fee & mileage

      a.                                                         $ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      b.                                                         $ _ _ _ _ _ _ _ _ _ _ _ __


      C,


      d.                                                         $ _ _ _ _ _ _ _ _ _ _ _ _ __

      e.    D      Information about additional jury fees is contained in Attachment 2e.

                                                                                                            TOTAL    2.   1~$_ _ _ _ _ _                 ~ol
3.    D Juror food: ~ - - - - - - - and lodging:$                                                           TOTAL    3.   1~$_ _ _ _ _ _                 ~ol
4,    [XI Deposition costs

                  Name of dei;ionent                    Taking          Transcrjbinq            Travel           Videotaping       Sybtotals

      a.    Athala           Aeva] J as          $                  $           371    $                    $                  $

      b.    s      Massingham                    $                  $           510 $                       $                  $

      C.    T      Fritz                         $                  $           6D3 $                       $                  $            6D3

      d.                                         $                  $                  $                    $                  $

      e.    D      Information about additional deposition costs is contained in Attachment 4e.



                                                                  (Continued on reverse)                             Page           of
                                                     MEMORANDUM OF COSTS (WORKSHEET)
                               CfB IjfilFonns·
Form Approved for Op1iona\ Use        •                                                                                              Code of C\vil Procedure,
Judicial Council of California      Essentlal                                                                                               §§ 1032, 1033 5
MC-011 !Rav. September 1, 20111 uh.tom
                                                                                                            CBA
                 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 234 of 801




                                                                                                                                                MC-011
 SHORT TITLE                                                                                          CASE NUMBER:
 Bernstein v. Meadow Brook Village HOA                                                                HG18897381

5. Service of process
                                                                     Registered
            Name of person served              Public officer         process         Publication                     Other (specify)


    a.                                     $ _ _ _ _ $, _ _ _ _ _ $_ _ _ _ _ $ - - - - - - - - - - - -

    b.     -------- $ ---- $                                                      $, _ _ _ _ _ $ - - - - - - - - - - - -
    C.     -------- $ ---- $                                                      $_ _ _ _ _ $ - - - - - - - - - - - -

    d.      0     Information about additional costs for service of process is contained in Attachment 5d.
                                                                                                      TOTAL      5.    1$                           0 I
                                                                                                                       '.=======:
6. Attachment expenses (specify):                                                                                6.    c,$c..__ _ _ _ _ ___J




7, Surety bond premiums (itemize bonds and amounts):                                                            7.    .,$:..__ _ _ _ _ __ _ J




8. a. Ordinary witness fees
                     Name of witness                     Daily fee                                    Mileage                           Total


          (1) - - - - - - - - _ _ days a
                                                                                  $/day_ _ _ miles at _ _ ¢/mile:             $                      ol
          (2) - - - - - - - - _ _ days at                                         $/day _ _ _ miles at _ _ ¢/mile:            $                      01

                                                _ _ days at                       $/day _ _ _ miles at _ _ ¢/mile:            $                      01
          (3) - - - - - - - -

          (4) - - - - - - - - _ _ days a
                                                                                  $/day _ _ _ miles at _ _ ¢/mile:            $                      ol
                                                                                  $/day_ _ _ miles at _ _ ¢/mile:             $
          (5) - - - - - - - - _ _ days a                                                                                                             01

          (6)   D       Information about additional ordinary witness fees is contained in Attachment Bb(6).

                                                                                                    SUBTOTAL Ba.       lc:,:$_ _ _ _ _ _---"o'-.J

                                                       (Continued on next page)
MC-011 !Rev. September 1, 2017]                  MEMORANDUM OF COSTS (WORKSHEET)                                 Page _ _ _ of
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                  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 235 of 801




                                                                                                                                      MC-011
   SHORT TITLE                                                                                              CASE NUMBER:
   Bernstein v. Meadow Brook Village HOA                                                                    HG18897381


8. b. Expert fees (per Code of Civil Procedure section 998)
                           Name of witness                                       Fee




                                                                                                                  I~
           (1)                                                          hours at$                     /hr                               0
           (2)                                                          hours at$                     /hr                               0
           (3)                                                          hours at$                     /hr                               0
           (4)                                                          hours at$                     /hr                               0
           (5)   D      Information about additional expert fees is contained in Attachment 8b(5).
                                                                                                 SUBTOTAL Bb.       $                   0
      C.   Court-ordered expert fees
                          Name of witness                                        Fee
           (1)                                                         hours at$                      /hr                               0
           (2)                                                         hours at$                      /hr         1:                    0
           (3)   D Information about additional court-ordered expert fees is contained in Attachment 8c(3).
                                                                                                SUBTOTAL age..    1$$$            0
                                                                                        TOTAL (Ba, Bb, & Be) 8.   I=·_ _ _ _ _ _ _0
                                                                                                                                    7
9. Court-ordered transcripts (specify):
                                                                                                                  "--------~


10. Attorney fees (enter here if contractual or statutory fees are fixed without necessity of a cowt        10. ~ $ - - - - - - - - ~
    dete1mination; otherwise a noticed motion is required):


11. Models, enlargements, and photocopies of exhibits (specify):                                            11. ~1$_ _ _ _ _ _ _6_8_5~1
      Bates Stamping of Exhibits

12. Court reporter fees (as established by statute)
    a. (Name of reporler): _ _ _ _ _ _ _ _ _ _ _ Fees:$ _ _ _ _ _ __
    b. (Name ofreporler): _ _ _ _ _ _ _ _ _ _ _ Fees:$ _ _ _ _ _ _ _ TOTAL 12. 1~$_ _ _ _ _ _ _ _0~
    c. 0 Information about additional court-reporter fees is contained in Attachment 12c.
13. Interpreter fees
    a. Fees of a certified or registered interpreter for the deposition of a party or witness
        (Name of interpreter): _ _ _ _ _ _ _ _ _ _ _ Fees:$ _ _ _ _ _ __
        (Name of interpreter): _ _ _ _ _ _ _ _ _ _ _ Fees:$ _ _ _ _ _ __
    b. Fees for a qualified court interpreter authorized by the court for an indigent
        person represented by a qualified legal services project or a pro bono attorney
        (Name of interpreter): _ _ _ _ _ _ _ _ _ _ _ Fees:$ _ _ _ _ _ __
        (Name of interpreter): _ _ _ _ _ _ _ _ _ _ _ Fees:$ _ _ _ _ _ _ _ TOTAL 13. 1~$_ _ _ _ _ _ _ _0~
    c. 0 Information about additional court-reporter fees is contained in Attachment 13c.
14. Fees for electronic filing or service of documents through an electronic filing service provider
    (enter here if required or ordered by the court):                                              14. L $ ~ - - - - - - - ~
15. Fees for hosting electronic documents through an electronic filing service provider (enter here
    if required or ordered by the court):                                                        15.             $
                                                                                                                ~==::::;=;;:::;;::::::;
16.0ther(specify): Expert                 fees -      See Attachment 16                                     16. I$           5,265

ITOTAL COSTS                                                                                                                       19,262

                                                 (Additional information may be supplied on the reverse)
MC-011 [Rev. Seplell'ber 1, 2017]                   MEMORANDUM OF COSTS (WORKSHEET)                          Page       _ _ _ of
Cfil IEssential                                                                                      CBA
ceb.com    mForm&·
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 236 of 801




                                           Memorandum of Costs (Worksheet)
                                                     Attachment lg

Filing                                               Filing Fee      Pay To

Filing - Answer to Complaint; Notice of Asociation   $616.71         PACIFIC COAST LEGAL SERVICES, INC

Filing - Sub of atty                                 $30.00          PACIFIC COAST LEGAL SERVICES, INC
Filing - Motion to Quash                             $541.75         PACIFIC COAST LEGAL SERVICES, INC
Filing - notice to set aside default                 $120.58         PACIFIC COAST LEGAL SERVICES, INC
Filing - opp, dee                                    $84.72          PACIFIC COAST LEGAL SERVICES, INC
Filing - Supp dee to P's mnotion to compel           $75.00          PACIFIC COAST LEGAL SERVICES, INC
Filing - Disassoc of atty                            $45.00          PACIFIC COAST LEGAL SERVICES, INC
Filing - Notice of entry of judgment                 $47.70          PACIFIC COAST LEGAL SERVICES, INC
Filing - D's opp to P's M leave to amend the
                                                     $47.70          PACIFIC COAST LEGAL SERVICES, INC
complaint
Filing - Reply x2                                    $37.33          FIRST LEGAL NETWORK LLC
Filing - oppostion to Motion to Stay Case            $58.33          FIRST LEGAL NETWORK LLC
Filing - Motion for Summary Judgement                $424.03         FIRST LEGAL NETWORK LLC
Filing - Opp to Protective Order                     $35.00          FIRST LEGAL NETWORK LLC
Filing -Advance Fees                                 $1,476.98       FIRST LEGAL NETWORK LLC
Filing - Motion to Strike                            $125.82         FIRST LEGAL NETWORK LLC
Filing - Advance fees                                $666.99         FIRST LEGAL NETWORK LLC
Filing - 10 Docs                                     $361.38         FIRST LEGAL NETWORK LLC
Filing - Motion to Strike - Fees Advanced            $467.00         FIRST LEGAL NETWORK LLC

Filing - Fees Advanced - MSA/DEC/PO/POS/MPA          $1,377.15       FIRST LEGAL NETWORK LLC

Filing - Objection to Plaintiff's request            $32.95          FIRST LEGAL NETWORK LLC
Filing - Dec of Lunanne Rutherford                   $909.95         FIRST LEGAL NETWORK LLC
Filing - D's Notice of Nonopposition                 $32.95          FIRST LEGAL NETWORK LLC
Filing - D's Notice of Nonopposition                 $32.95          FIRST LEGAL NETWORK LLC
Filing MSJ reply brief                               $123.50         FIRST LEGAL NETWORK LLC
Filing - electronic submission                       $39.95          FIRST LEGAL NETWORK LLC
Filing - Fees Advanced - Memorandum of Points
                                                     $986.15         FIRST LEGAL NETWORK LLC
and Authorities
Filing - Oppostion to Disqualify Judge               $63.14          FIRST LEGAL NETWORK LLC
Filing - Demurrer with MTS                           $6.75           FIRST LEGAL NETWORK LLC
Filing - oppostion                                   $40.45          FIRST LEGAL NETWORK LLC
Filing - D's Notice of Nonopposition                 $40.45          FIRST LEGAL NETWORK LLC
Filing - Case management statement                   $40.45          FIRST LEGAL NETWORK LLC
Filing - MTS - Fees advanced                         $540.65         FIRST LEGAL NETWORK LLC
Filing - D's Notice of Nonopposition                 $31.95          FIRST LEGAL NETWORK LLC
Filing - Notice of Change of Firm Name               $23.20          FIRST LEGAL NETWORK LLC
Filing - D's Notice of Nonopposition                 $40.45          FIRST LEGAL NETWORK LLC
Filing - Case management statement                   $40.45          FIRST LEGAL NETWORK LLC
Filing - Demurrer with MTS - Fees Advanced           $165.65         FIRST LEGAL NETWORK LLC
Filing - Reply Briefs                                $31.95          FIRST LEGAL NETWORK LLC
Filing - MTS - Fees advanced                         $542.65         FIRST LEGAL NETWORK LLC
Filing - D's Reply Brief in Support                  $31.95          FIRST LEGAL NETWORK LLC
Filing - MTS - Fees advanced                         $90.25          FIRST LEGAL NETWORK LLC


                                                              1
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                                            Memorandum of Costs (Worksheet)
                                                         Attachment lg

Filing - Slip of the parties to Extend - Fees advanced   $901.95         FIRST LEGAL NETWORK LLC

Filing - slip - order                                    $42.70          FIRST LEGAL NETWORK LLC
Filing - Oppsition Dec                                   $110.75         FIRST LEGAL NETWORK LLC
Filing - Amended CMC Statement                           $90.25          FIRST LEGAL NETWORK LLC
Filing - D's Opposition to P                             $31.95          FIRST LEGAL NETWORK LLC
Filing - CM Statement                                    $61.90          FIRST LEGAL NETWORK LLC
Filing - Dec of Andrew S. Elliott                        $31.95          FIRST LEGAL NETWORK LLC
Filing - Opp; Dec                                        $28.80          FIRST LEGAL NETWORK LLC
TOTAL:                                                   $11,828.21




                                                                   2
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                                  Memorandum of Costs (Worksheet)
                                           Attachment 16

Expert                                  Expert Fee
R. Blackseth Interests, Inc.                $627.00
H2 Engineers, Inc.                       $4,637.50
TOTAL:                                   $5,264.50
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                                                              CERTIFICATE OF SERVICE VIA E-MAIL

                              2           I hereby declare that I am a citizen of the United States, am over the age of eighteen years,

                              3   and not a party to the within action.

                              4           My electronic notification address is: deborah,sanchez@mcnamaralaw.com.

                              5          On this date, I electronically served the foregoing

                              6   DEFENDANTS ASSOCIA NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE
                              7   ASSOCIATION -FREMONT, AND MASSINGHAM & ASSOCIATES'S MEMORANDUM
                                  OF COSTS (SUMMARY) AND MEMORANDUM OF COSTS (WORKSHEET)
                              8

..,..,'" •
                              9
                  ~
                  N                       based on a court order or an agreement of the parties to accept service by e-mail or
,...,             ~


                  ~
                             10
      <                           electronic transmission, I caused the documents to be sent to the persons at the e-mail addresses
"' .iu
C)
                  ~
                             11
                                  listed below. I did not receive, within a reasonable time after the transmission, any electronic
" i
C)
~                 ~
~                 zo         12
~                 <~              message or other indication that the transmission was unsuccessful.
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~ <0 ~                       14    Plaintiff in Pro Per:
1,1.l ell "' °'
:r:   ;:,-, N '-'
      w w ..
      z~u,  p:: ......   z   15    Ms. Mary Bernstein                                Richard Fong, Jr.
"~ogo                                                                                Fong & Pong APC
                                   3416 Deerwood Terrace, # 113
:r: ~ Ul g;                        Fremont, CA 94536                                 2161 Harbor Bay Parkway
u., <;:)z w                  16
                         ~
                                                                                     Alameda, CA 94502
"'::l "'> "'~
.,                <          17    Phone: 510-938-6280
                  ~                E-mail: mhelenbernstein@yahoo.com                 Phone: 510-748-6800
.,;               ~


"'::l.,.,         ~          18    E-mail: mbernsteinpurple@hotmail.com              Email: rfong@fonglaw.com
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                             19

                             20
                                         I declare under penalty of pe1jury under the laws of the State of California that the foregoing
                             21
                                  is true and correct and that this declaration was executed on August 14, 2023 at Pleasant Hill,
                             22
                                  California.
                             23

                             24                                                 Deborah Sanchez
                             25

                             26

                             27

                             28



                                                                          PROOF OF SERVICE
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                                            Superior Court of California
                                           Statewide Civil Fee Schedule 1
                                                  Effective January t, 2024
                                                                                               Code               Total
                                                                                             Section s           Fee Due
                                  INITIAL FILING FEES IN CIVIL CASES
                                                                                .
                                                  .·.                               .

          Unlimited Civil Cases                                 .



    1     Complaint or other first paper in unlimited civil case (amount                GC 70611,                    $ 435*
          over $35 000), includine:                                                     70602.5, 70602.6
    2     Complaint or other first paper in unlawful detainer case over
          $35,000
    3     Petition for a writ of review, mandate, or prohibition (other
          than a writ petition to the annellate division)
    4    Petition for a decree of change of name or gender
    5     Answer or other first paper filed by each party other than                    GC 70612,                    $ 435*
          plaintiff (amount over $35,000) (including unlawful detainer)                 70602.5, 70602.6
    6     Claim opposing forfeiture of seized property, if value of                     H&S I 1488.5(a)(3)           No fee
          orooertv is $5.000 or less'

                                                                                        .
          Limited Civil Cases
    7    Complaint or other first paper (amount over $10,000 up to                      GC 70613(a),                 $ 370*
         $35,000)                                                                       70602.5
    8    Complaint or other first paper in unlawful detainer (amount                    GC 70613(a),                 $ 385*
         over $10,000 up to $35,000)                                                    70602.5,
                                                                                        CCP 1161.2
    9    Answer or other first paper filed by each party other than                     GC 70614(a),                 $ 370*
         plaintiff(amount over $10,000 up to $35,000) (including                        70602.5
         unlawful detainer)
    10   Complaint or other first paper (amount up to $10,000)                          GC 70613(b),                 $ 225*
                                                                                        70602.5
    11   Complaint or other first paper in unlawful detainer (amount up                 GC 70613(b),                 $ 240*
         to $10,000)                                                                    70602.5,
                                                                                        CCP 1161.2
    12   Answer or other first paper filed by each party other than                     GC 70614(b),                 $ 225*
         nlaintiff(amounts unto $10,000) (including unlawful detainer)                  70602.5


1
  Fees pursuant to the Uniform Civil Fees and Standard Fee Schedule Act of2005 (Stats. 2005, ch. 75 (AB 145)), AB 1248
(Stats. 2007, ch. 738), SB 1407 (Stats. 2008, ch. 311), 2009 Budget Act (Stats. 2009, ch. 22, SBX4 13), SB 857 (Stats. 2010,
ch. 720), SB 1021 (Stats. 2012, ch. 41 ), AB 26 I 2 (Stats. 2012, ch. 377), SB 75 (Stats. 2013, ch. 31 ), AB 1293 (Stats. 2013,
ch. 382), AB 330 (Stats. 2019, ch. 217) and other legislation.
2 lfthe value of the property is more than $5,000, the filing fee is the fee in GC 70611, 70602.5, 70602.6.

* Fees marked with an asterisk will vary in the counties of Riverside, San Bernardino, and San Francisco because of a local
surcharge for com1house construction. The fees in those counties are shown in the appendix.


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                                                                                      Code           Total
                                                                                    Section(s)      Fee Due
           Limited Civil Cases                                   .



     13    Amendment of complaint or of other first paper increasing           GC 706l3.5(a)           $ 145*
           amount at issue from $ I 0,000 or less to more than $10,000 (but
           not exceeding $25,000)
     14    Cross-complaint or amendment of cross-complaint increasing          GC 70613 .5(b)          $ 145*
           amount at issue from $10,000 or less to more than $10,000 (but
           not exceeding $25,000)
     15    Amended complaint, cross-complaint, or amended cross-               GC 70619                 $ 140
           complaint that reclassifies case from limited civil to unlimited
           civil ICCP 403.060)
     16    Complaint or other first paper within small claims jurisdictional   B&P 6322. l(c)(l),      $ 181 *
           limit filed by assignee of record (with declaration)                GC 70613(b),
                                                                               CCP 116.420
     17    Answer or other first paper filed by each party other than          B&P 6322.l(c)(I),       $ 181 *
           plaintiff (case filed by assignee within small claims               GC 70614(b),
           iurisdictional limit, with declaration)                             CCP 116.420
     18    Amendment of complaint or of other first paper filed by             GC 70613.5(a)           $ 189*
           assignee of record increasing amount at issue from within small
           claims limit to more than $10 000 /but not exceeding $25,000)
     19    Cross-complaint or amendment of cross-complaint in case filed       GC 70613.5(b)           $ 189*
           by assignee with declaration, increasing amount at issue from
           within small claims limit to more than $10,000 (but not
           exceeding $25,000)

           Other Initial Filing Fees (both Limited and Unlimited Civil Cases)
     20    Additional fee for case designated as complex (one fee for all      GC 70616(a)            $ 1,000
           plaintiffs)
     21    Additional fee for case designated as complex (for each             GC 70616(b)            $ 1,000
           defendant. up to $18,000 total for case)
     22    Supplemental fee for filing of a complaint by a "high-frequency     GC 70616.5             $ 1,000
           litigant," as defined in CCP § 425.55(b), in a construction-
           related accessibilitv case3
     23    Complaint, response, or other first paper filed on behalf of        GC 6103                 No fee
           public entity (but fee is recoverable with judgment under GC
           6103.5)
     24    Amended complaint or amended cross-complaint (other than            CCP 472                 No fee
           one that changes amount at issue to reclassify case or require
           fee difference paid in limited civil case under GC 70613.5)
     25    Action to comoel registration of voters                             Elec. 2142              No fee
     26   Request for order to reauire countine- of nrovisional ballots        Elec. 14310             No fee
     27    Petition for forfeiture where claim has been filed with district    VC 14607.6(e)(4)         $ 100
           attorney for impounded vehicle
     28    Abstract of judgment rendered from another court (unless filed      GC 70626(b)(2)            $ 45
           with an annlication for order of sale of a dwelling under CCP

3   Caption must identify the action as subject to the supplemental fee.

                                                               Page 2
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                                                                                  Code           Total
                                                                                Section(s)      Fee Due

     Other Initial Filim, Fees (both Limited and Unlimited Civil Cases)
     704. 750 or with an application for order of examination under
     CCP 708.160)
29   Issuing commission to take deposition out of state under CCP          GC 70626(b)(5)            $ 45
     2026.010
30   Filing and enterine: award under Workers' Compensation Act            GC 70626(bl/6l            $ 45

     Discoverv in Out-of0 State Case
31   Application for subpoena for discovery in out-of-state case           GC 70626(b)(5)            $45
     /CCP 2029.300)
32   First petition by party for relief in discovery dispute related to    GC 7061 I,              $ 435*
     out-of-state case (CCP 2029.610(a), CCP 2029.620(c)(I))               70602.5, 70602.6
33   First petition by non-party for relief in discovery dispute related   GC 70626(c)               $ 80
     to out-of-state case (CCP 2029.610(a), CCP 2029.620(c)(2))
34   Subsequent petition by party for relief in discovery dispute          GC 706 l 7(a)             $ 60
     related to out-of-state case (where first appearance fee was
     oreviouslv oaid) /CCP 2029.620(c)(l))
35   Subsequent petition by non-party for relief in discovery dispute      GC 70617(a)               $ 60
     related to out-of-state case (where fee under GC 70626(c) was
     oreviouslv oaid) (CCP 2029.620/c)/2))
36   Response by paity to petition for relief in discovery dispute         GC 70612,               $ 435*
     related to out-of-state case (where first appearance fee was not      70602.5, 70602.6
     oreviouslv paid) (CCP 2029.610/c)\
37   Response by party to petition for relief in discovery dispute         CCP 2029.620(d)         No fee
     related to out-of-state case (where first appearance fee was
     previously paid)
38   Response by non-party to petition for relief in discovery             CCP 2029.610(c),        No fee
     dispute related to out-of-state case                                  CCP 2029 .620(d)

     Requests for Protective Orders
39   Petition to prevent domestic violence and response                    FC 6222,                No fee
                                                                           GC 70617/b)/7)
40   Petition to prevent abuse of an elder or dependent adult and          W &I 15657 .03(q),      No fee
     resoonse                                                              GC 70617(b)(I0)
41   Petition to prevent civil harassment (involving violence, threats     CCP 527.6(w)-{x)        No fee
     of violence, or stalkinP-\ and resoonse
42   Petition to prevent civil harassment (other) and response             GC 70611, 70612,       $ 435*
                                                                           70602.5, 70602.6
43   Petition to prevent workplace violence (involving violence,           CCP 527.8(v)-{w)        No fee
     threats of violence, or stalking) and response


44   Petition to prevent workplace violence (other) and response           GC 70611, 70612,       $ 435*
                                                                           70602.5, 70602.6




                                                      Page 3
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                                                                                             Code                Total
                                                                                           Section(s)           Fee Due




                                                  .

                               CIVIL MOTION AND OTHER FILING FEES
   45   Motion or other paper requiring a hearing (unless it is the                  GC 70617(a)                         $ 60
        party's first paper and the first paper filing fee is paid),
        including the following:
   46   Motion listed under CCP 1005(a)(I \-f12)
   47   Motion or annlication to continue a trial date
   48   Discovery motion under CCP 2016.010 et seq.
   49   Motion for new trial
   50   Ex parte application requiring a party to give notice of the ex
        parte annearance to other parties
   51   Motion for sumrnarv iud1m1ent or for summarv adiudication                    GC 70617/dl                     $ 500
   52   Ann Ii cation to annear as counsel pro hac vice                              GC 70617(e)(I)                  $ 500
   53   Renewal fee for application to appear as counsel pro hac vice                GC 70617(e)(2)                  $500
        for each _year a case continues
   54   Reclassification of limited jurisdiction case to unlimited                   GC 70619                        $ 140
        jurisdiction (CCP 403.060)
   55   Processing change of venue4 (payable to superior court from                  GC 70618                            $ 50
        which the transfer was requested) (a separate check with the
        initial filing fee for the court to which the case will be
        transferred is also reauired)
   56   Request, application, or motion for, or notice of, continuance of            GC 70617(c)(l)                      $ 20
        hearine: or case manaE!:ement conference
   57   Stipulation and order (unless it is the party's first paper and the          GC 70617(c)(2)                      $ 20
        first oaoer filin• fee is naid)
  58    Request for order authorizing service of summons by posting                  GC 70617(c)(3)                      $ 20
        ICCP 415.45) or by publication (CCP 415.50)
  59    Amended notice of motion                                                     GC 7061 ?(b)(2)               No fee
  60    Civil case management statement                                              GC 70617(b)(3)                No fee
  61    Reauest for trial de nova after iudicial arbitration                         GC 70617/bl/41                No fee
  62    Stipulation that does not require an order                                   GC 706 I 7(b)(5)              No fee
  63    A request for entrv of default or default judgment                           GC 70617(b)/8)                No fee

                                CIVIL JURY AND TRIAL RELATED FEES
  64 I Advance iurv fee /nonrefundable)                                            / CCP 631!bl             I       $ 150



4 This is a processing fee "for making up and transmitting the transcript and papers" when venue in a case is changed.   The
motion fee under GC 70617 is charged separately for a motion for change of venue.




                                                           Page4
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                                                                               Code            Total
                                                                            Section(s)        Fee Due

                           CIVIL JURY AND TRIAL RELATED FEES
65   Daily jury deposits (amount set by court)                         CCP 63 l(e)           Amount set
                                                                                                by court
66   Comt reporting services in civil proceedings lasting one          GC 68086(a)(l)(A)           $ 30
     hour or less
67   Court reporter per diem fees for civil proceedings lasting more   GC 68086(a)(l)(B)     Amount set
     than one hour (amount set by court)                                                       by court
68   Extra court reporter (amount set by court)                        GC 69953.5            Amount set
                                                                                                bv court
                                                               .
                                    JUDGMENT RELATED FEES
69   Renewal of iudement(CCP 683.150)                                  GC 70626/b)(4)              $ 45
70   Notice of settlement !CRC 3.1385)                                                           No fee
71   Certified copy of order to DMV when court orders judgment         vc 16379              Amount set
     naid in installments                                                                       bv cou1t


                                POST JUDGMENT RELATED FEES
72   Issuing writ of attachment, writ of mandate, writ of execution,   GC 70626(a)(1)              $ 40
     writ of sale, writ of possession, writ of prohibition, writ of
     restitution, or any other writ for enforcement of an order or
     iudement
73   Issuing abstract of iudgment                                      GC 70626(a)(2)              $ 40
74   Issuing an order of sale                                          GC 70626(b)(I)              $ 45
75   Annlication for order of sale of a dwelline !CCP 704.750)         GC 70617/al/7)              $ 60
76   Application for examination of third person controlling           GC 70617(a)(3)              $ 60
     defendant's oropertv /CCP 491.110 491.150)
77   Application for order for judgment debtor examination (CCP        GC 70617(a)(6)              $ 60
     708.110, 708.160). No separate fee is charged for filing the
     abstract of iude:ment with the annfication.
78   Certificate of satisfaction of iudgment (CCP 724.100)             GC 70626(a)/3)              $ 40
79   Notice to DMV of judgment debtor's default in making              vc 16381              Amount set
     installment payments                                                                      by COUit

                                       SMALL CLAIMS FEES
80   Filing claim for $1,500 orless                                    CCP 116.230/b)/ll           $ 30
81   Filing claim for more than $1,500 but less than or equal to       CCP I 16.230(b )(2)         $ 50
     $5,000
82   Filing claim for more than $5,000 but less than or equal to       CCP l 16.230(b)(3),         $ 75
     $12,500 (claim by natural persons only, with certain              CCP 116.221
     exceptions)
83   Filing claim by person who has filed more than 12 small claims    CCP 116.230(c)             $ 100
     in California within the previous 12 months


                                                    Page 5
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                                                                                 Code           Total
                                                                               Section(s)      Fee Due

                                      -   SMALL CLAIMS FEES
84   Amendment raising amount of claim from $1,500 or less to             CCP 116.230(d)(I)         $ 20
     more than $1,500 but not exceeding $5,000
85   Amendment raising amount of claim from more than $1,500              CCP 116.230(d)(2),        $ 25
     but not exc_eeding $5,000 to more than $5,000 but not                CCP 116.221
     exceeding $12,500 (claim by natural persons only, with certain
     exceotions)
86   Amendment raising amount of claim from $1,500 or less to             CCP 116.230(d)(3),        $ 45
     more than $5,000 but not exceeding $12,500 (claim by natural         CCP 116.221
     persons only, with ce1iain exceotions)
87   Service ofcopy ofa claim under CCP § 116,340, for each               CCP I 16.232              $ 15
     defendant to whom the clerk mails a conv of the claim
88   Transfer of case out of small claims court (defendant's claim        CCP 116.390             No fee
     exceeding jurisdictional limit) (no receiving court filing or
     transfer fee)
89   Request for postponement of hearing, if defendant has been           CCP 116,570               $ 10
     served
90   Notice of anneal of small claims case                                CCP 116.760               $ 75
91   Motion to vacate                                                     CCP 116.745               $ 20
92   Fee for payment of iudgment to court                                 CCP I 16,860              $ 20
93   Application for order of examination of judgment debtor              GC 70617(a)(6),           $ 60
                                                                          CCP 116,820
94   Writ of execution                                                    GC 70626(a)(l),           $ 40
                                                                          CCP 116.820
95   Abstract of judgment                                                 GC 70626(a)(2),           $ 40
                                                                          CCP 116.820

                                  -
                                           FAMILY LAW FEES
96   Petition or other first paper (including a joint petition) for       GC 70670(b ),           $ 435*
     dissolution of marriage or domestic partnership, legal               70602.5, 70602,6
     senaration, or nullity
97   Response or other first paper filed in response to petition for      GC 70670(d),            $ 435*
     dissolution of marriage or domestic patinership, legal               70602,5, 70602.6
     seoaration, or nullitv
98   First paper in family law matter other than dissolution of           GC 70670(a),           $ 435*
     marriae:e or domestic nartnershi1:1, lee:al seoaration, or nullitv   70602,5, 70602.6
99   First paper filed in response in family law matter other than        GC 70670( c),          $ 435*
     dissolution of marriage or domestic partnership, legal               70602,5, 70602.6
     seoaration, or nullitv
100 A settlement agreement or stipulation for judgment that is            GC 70677(c)            No fee
    signed by a defaulted respondent and included in a judgment of
    dissolution of marriage or domestic partnership; or a stipulation
    to modify such an agreement if the stipulation is presented by
    the petitioner, (Defaulted respondent is not charged a first
    oaoer fee under GC 70670, GC 70671/b). (e),)


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                                                                                               Code         Total
                                                                                             Section(s)    Fee Due

                                                  FAMILY LAW FEES
      10 I Appearance, stipulation, and waiver of rights in dissolution of             GC 70673               No fee
           marriage or domestic partnership, legal separation or nullity or
           to establish parentage, when respondent is a member of the
           aimed forces
     102 Petition for adoption (for each person to be adopted) 5                       H&S 103730               $ 20
     103 Filings in a proceeding to declare a minor free from parental                 FC 7806, 7841          No fee
         custody and control
     104 Domestic violence restraining orders, including a request to                  GC 70671(!),           No fee
         obtain, modify, or enforce an order to prevent domestic                       GC 70677(b)(5),
         violence or response to that request; and any request that is                 FC 6222
         necessarv to obtain or 2:ive effect to a restraining order
     105 Motion or order to show cause in family law matter (unless it is              GC 70677(a)              $ 60
         the na1ty's first paper and the first paper filing fee is paid)
     106 Additional charge on motion or order to show cause to modify                  GC 70678                 $ 25
         or enforce custody or visitation
     107 Stipulation and order not requiring a hearing; request or                     GC 70677(c)              $ 20
         stipulation for continuance of hearing or case management
         conference not reauirine: a hearine:
     l08 Stipulation that does not require an order                                    GC 70677(b)(7)         No fee
     109 A stipulation regarding the date of termination of marital or                 GC 7067l(c}            No fee
         domestic partnership status if the court has retained jurisdiction
         over that date
     I I 0 First paper or any subsequent paper filed by the Department of              GC 6103.9, 70672       No fee
           Child Support Services to establish parentage or to establish,
           modifv, or collect sunno1t
     I I I Response or subsequent paper filed in an action brought by the              GC 70672               No fee
           Department of Child Support Services to establish parentage or
           to establish, modify, or collect support if support is the only
           issue. If a custody issue is raised, see charge for first paper
           filed in response to other family law matters.
     112 Fi lings on issues relating to parentage or support in a pre-                 GC 70672               No fee
         existing non-governmental case in which a Title IV-D child
         support agency has intervened and is providing services under
         FC 17400
     113 Statement to register a foreign support order or other first paper            GC 70677,              No fee
          in a UIFSA case                                                              FC 4927
     I 1, A document relating to a stipulated postjudgment modification                GC 7067l(d)            No fee
          ofchild sunnort
     115 Costs for stepparent adoption, including investigation (amount                FC 9002            Amount set
         set by court, un to $700) /FC 9001, 9002)                                                          by court
     116 Child custody evaluation (amount set by comt)                                 FC3112             Amount set
                                                                                                            by COUit



5
    The fee is waived for agency adoptions when a statement from the agency is filed with the petition.

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                                                                               Code            Total
                                                                             Section(s)       Fee Due

                                         FAMILY LAW FEES
117 Court-appointed counsel for child (amount set by court)              FC3153               Amount set
    IFC 3150 et sen.)                                                                           bv court
118 Premarital counseling for minors                                     FC 304               Amount set
                                                                                                bv court
119 Cost for investigation re: petition to declare child free from       FC 7851.5            Amount set
    oarental custodv and control                                                                bv court
120 Application fee for recognition of tribal comt order for             CCP 1733.l(a)             $100
    distribution of restricted assets uoon dissolution
                              .

                                            PROBATE FEES
121 First-filed petition for letters of administration or letters        GC 70650(a),             $ 435*
    testamentary, first-filed petition for special letters of            70602.5, 70602.6
    administration with powers of general representative under
    Prob.C 8545
122 First objection to probate of will or codicil (Prob.C 8250); first   GC 70650(b ),            $ 435*
    petition for revocation of probate of will or codicil                70602.5, 70602.6
    (Prob.C 8270) (iffiled together with petition for appointment
    of personal representative under GC 70650( c), only the fee
    under GC 70650(c) is charged)
123 Later-filed petition for letters of administration, letters          GC 70650(c),             $ 435*
    testamentary, or special letters of administration with powers of    70602.5, 70602.6
    general representative by a person other than the original
    netitioner
124 First or subsequent petition for special letters of administration   GC 70657.5(a)(3)          $ 200
    without nowers of general personal renresentative
125 Opposition to a petition for appointment of a personal               GC 70651,                $ 435*
    representative in a decedent's estate, other than a competing        70602.5, 70602.6
    petition for appointment or a will contest, and objection or
    other opposition to first account of testamentary trustee subject
    to court sunervision
126 Petition (or opposition to petition) concerning the internal         GC 70652,                $ 435*
    affairs ofa trust under Prob.CI 7200 et seq., or first account of    70602.5, 70602.6
    trustee of testamentary trust subject to continuing court
    iurisdiction under Prob.C 17300 et sea.
127 Petition (or opposition to petition) concerning the internal          GC 70657.5(a)(l},        $ 200
    affairs ofa trust created by court order under Prob.C 2580,          70652(d)
    3100, or 3600 (trusts not subject to the $435 fee under GC
    70652\
128 Petition for appointment of conservator, guardian of the estate      GC 70653(a), (b),        $ 435*
    or guardian of the person and estate or opposition to these          70602.5, 70602.6
    netitions other than competing petition for a"...,ointment
129 Opposition to petition for appointment of conservator, guardian      GC 70653(1)              No fee
    of the estate or guardian of the person and estate filed by or on
    behalfofthe proposed conservatee or proposed ward or a
    narent of the nronosed ward


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                                                                                                  Code         Total
                                                                                                Section(s)    Fee Due
                                               .
                                          .           PROBATE FEES
      130 Petition for appointment of guardian of the person only or                      GC 70654(a), (b),       $ 225
          opposition to petition other than competing petition for                        70602.5
          annointment
      131 Opposition to petition by the proposed ward or the parent of the                GC 70654(e)            No fee
          proposed ward
      132 Petition or opposition filed after issuance of letters of                       GC 70657(e)            No fee
          guardianship or temporary guardianship, in guardianship of the
          oerson onlv
      133 First or subsequent petition for temporary letters of                           GC 70657(a)(4)           $ 60
          conservatorship or guardianship
      134 Petition commencing other proceedings under the Probate Code                    GC 70655,              $ 435*
          and objections or other opposition to such petitions, including                 70602.5, 70602.6
          the followine:
      135 Petition to determine the fact of death to determine title to real              GC 70655(c)(4),        $ 435*
          orooertv and obiections or other on □ osition /Prob.C 200)                      70602.5, 70602.6
     136 Petition for an order concerning a particular transaction and                    GC 70655(c)(5),        $ 435*
         obiections or other onnosition (Prob.C 3100)                                     70602.5, 70602.6
      137 Petition for an order concerning capacity determination and                     GC 70655(c)(6),        $ 435*
          health care decision authority for adult without conservator and                70602.5, 70602,6
          objections or other onnosition (Prob.C 3200)
     138 Petition for compromise of the claim ofa minor or disabled                       GC 70655( c)( 1),      $ 435*
         adult, no civil action pending, and objections or other                          70602.5, 70602.6
         onnosition /Prob.C 3600)
      13~ Petition concerning a power of attorney and objections or other                 GC 70655(c)(8),        $ 435*
          oonosition (Prob.C 4541)                                                        70602.5, 70602.6
      14( Petition concerning advance health care directive and                           GC 70655(c)(7),        $ 435*
          objections or other onnosition (Prob.C 4766)                                    70602.5, 70602.6
     141 Petition to determine succession to real property and objections                 GC 70655(c)(2),        $ 435*
         or other onnosition (Prob.C 13151)                                               70602.5, 70602,6
     14; Spousal or domestic partnership property petition and                            GC 70655(c)(3),        $ 435*
         obiections or other onnosition (Prob.C 13650)6                                   70602.5, 70602.6
     143 Petition for approval, compromise, or settlement of claims                       GC 70655(c)(9),       $ 435*
         against deceased settler, or for allocation of amounts due                       70602.5, 70602.6
         between trusts, or objections or other opposition (Prob.C
         19020)
     14    Any other petition that commences a proceeding under the                       GC 70655(c)(10),      $ 435*
           Probate Code and objections or other onnosition                                70602.5, 70602.6
     145 Petition for order setting aside estate of small value if no estate              GC 70656(a),            $ 225
         is pending for the decedent (Prob.C 6602)                                        70602.5
     146 Opposition to petition for order setting aside estate of small                   GC 70656(b),            $ 225
         value (Prob.C 6602)                                                              70602.5



6   No additional fee is collected if the petition is filed in a pending proceeding (Prob,C 13652).

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                                                                                     Code          Total
                                                                                   Section(s)     Fee Due

                                              PROBATE FEES                .



141 Petition (or opposition to petition) for an order listed below,           GC 70658(a),            $ 435
    filed after issuance of letters testamentary, letters of                  70602.5, 70602.6
    administration, or letters of special administration to a personal
    representative of a decedent's estate; letters of guardianship or
    temporary guardianship to a guardian of the estate or person
    and estate; or letters of conservatorship or temporary
    conservatorship to a conservator
      • Petition for order concerning sale, lease, encumbrance,               GC 70658(a)(I),
         grant of an option, purchase, conveyance, or exchange of             70602.5, 70602.6
          property

      • Petition for order settling an account of a fiduciary                 GC 70658(a)(2),
                                                                              70602.5, 70602.6
      • Petition for order authorizing, instructing, or directing a           GC 70658(a)(3),
           fiduciary, or approving or confirmini! acts ofa fiduciarv          70602.5, 70602.6
       •   Petition for order concerning payment of compensation or           GC 70658(a)(4),
           exoenses of an attornev                                            70602,5, 70602.6
      •    Petition for order concerning payment of compensation or           GC 70658(a)(5),
           exoenses of a fiduciarv                                            70602.5, 70602.6
      •    Petition for order surcharging or removing a fiduciary             GC 70658(a)(6),
                                                                              70602.5, 70602.6
      • Petition for order transferring or authorizing transfer of            GC 70658(a)(7),
           property of an estate to a fiduciary in another jurisdiction       70602.5, 70602.6
      •    Petition for order allowing a fiduciary's request to resign        GC 70658(a)(8),
                                                                              70602.5, 70602.6
      • Petition for order adjudicating a claim to property under             GC 70658(a)(9),
           Prob.C 850 et seo.                                                 70602.5, 70602.6
      •    Petition for order granting permission to fix the residence        GC 70658(a)(I 0),
           of a ward or conservatee outside of California                     70602.5, 70602.6
      •    Petition for order concerning payments for support,                GC 70658(a)(l l),
           maintenance, or education of a ward or conservatee or a of         70602.5, 70602.6
           person entitled to support, maintenance, or education from
           a ward or conservatee
      •    Petition for order concerning payment of surplus income            GC 70658(a)(l2),
           to relatives of a conservatee (Prob.C 2423) or concerning          70602.5, 70602.6
           substituted judgment (Prob.C 2580)
      •    Petition for order affecting legal capacity of a conservatee       GC 70658(a)(l3),
           under Prob.C 1870 et seq.                                          70602.5, 70602.6
      •    Petition for order adjudicating merits of a claim under            GC 70658(a)(l4),
           Prob.C 2500 et seq.                                                70602.5, 70602.6
148 Petition (or opposition to petition) filed after the issuance of          GC 70657(a)(3)           $ 60
    temporary letters of guardianship or conservatorship or letters
    of guardianship or conservatorship not subject to the $435 fee
    in GC 70658/a) and not exemot under GC 70657/e)
14' Petition (or opposition to petition) filed after the issuance of          GC 70657(e),          No fee
    letters of guardianship or temporary letters of guardianship in a         70658(c)(l)
    guardianship of the oerson onlv


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                                                                                Code         Total
                                                                              Section(s)    Fee Due

                .                           PROBATE FEES
15( Disclaimer of interest in a decedent's estate                       GC 70657 .5(c),        No fee
                                                                        70658(c)(2)
151 Petition (or opposition to petition) after issuance of special      GC 70657.5(a)(2)        $ 200
    letters of administration or letters testamentary or of
    administration in decedents' estates that are not subject to the
    $435 fee in GC 70658(a)
15' Motion, application or other paper requiring a hearing after the    GC 70657(a)(l),          $ 60
    first paper, including motion or other paper listed in GC           70617(a)
    706 l 7(a)
     (motions listed in CCP 1005(a)(l)-{12), motion to continue a
     trial date. discovery motions, motion for new trial)
153 Application for ex parte relief other than ex parte petition for    GC 70657(a)(2)           $ 60
    discharge,
15, Ex parte petition for discharge of personal representative,         GC 70657(a)(2)         No fee
    conservator, or guardian upon completion of court-ordered
    distribution or transfer
155 Motion or other paper listed in GC 706 l 7(b) (list of 13 items),   GC 70657(b)            No fee
    including:
      • Amended notice of motion                                        GC 70657(b),
                                                                        70617/b)/2)
      • Civil case management statement                                 GC 70657(b),
                                                                        70617/bl/3)
      • Request for trial de nova after judicial arbitration            GC 70657(b),
                                                                        70617/bl/4)
      • Stipulation that does not require an order                      GC 70657(b),
                                                                        70617(b)(5)
      • A request for entry of default or default judgment              GC 70657(b),
                                                                        70617(b)(8)
      • Paper requiring a hearing on a petition to approve the          GC 70657(b),
          compromise of a claim of a minor or person with a             70617(b )( 13)
          disability under Prob.C 3600.
156 Petition to withdraw funds from blocked account                     GC 70657/a)              $ 60
15, Motion for summary judgment                                         GC 70657(c),            $ 500
                                                                        70617/dl
158 Denosit of estate planning documents                                GC 70660                 $ 20
15' Search for estate documents, for each search longer than 10         GC 70661                 $ 15
    minutes
161 Petition to establish record of birth, death, or marriage           H&S 103470,             $ 225
                                                                        GC 70602.5
161 Affidavit procedure for real property of small value under          GC 70626(b)(9)           $ 45
    Prob.C 13201
162 Guardianship investigations (amount set by court)                   Prob.C 1513.1      Amount set
                                                                                             by court


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                                                                              Code         Total
                                                                            Section(s)    Fee Due

                                            PROBATE FEES
163 Information oackae:e for conservators                             Prob.C 1835              $ 20
l6L Conservatorship investigator s fee (amount set by court)
                                   1
                                                                      Prob.C 1851.5      Amount set
                                                                                           by COUit
165 Petition for summary probate (Public Administrator onlv)          Prob.C 7660             $ 205
161 Delivery of will to the coult in which the estate may be          GC 70626(d)              $ 50
    administered (Prob.C 8200)
16   Request for special notice in decedent's estate, guardianship,   GC 70662                 $ 40
     conservatorship, and trust proceedings (Prob.C 1250, 2700,
     17204)
168 Registering a conservatorship established outside of California   GC 70663                 $ 30
    (effective January I. 2016)


                                 APPEAL AND WRIT RELATED FEES

     Anneal of Unlimited Civil Case
169 Ce1tificate for Coult of Appeal or Supreme Court on motion        GC 70620                 $ 20
    nrior to filing anneal record
170 Appeal or cross appeal to coult of appeal (payable to court of    GC 68926,               $ 775
    anneal)                                                           68926.l(b)
171 Deposit for preparation of clerk's transcript (payable to         GC 68926.1              $ 100
    superior court) (charged when notice of appeal to court of
    anneal is filed under GC 68926)

     Other Anneals           .

172 Appeal in limited civil case (to appellate division), where       GC 7062l(b),            $ 225
    amount demanded in case does not exceed $10,000                   70602.5
173 Appeal in limited civil case (to appellate division), where       GC 7062l(a),            $ 370
    amount demanded in case exceeds $10,000 (but does not             70602.5
    exceed $35,000)
174 Anneal in small claims case                                       CCP 116.760              $ 75
175 Writ petition to appellate division, where amount demanded in     GC 7062 l (b ),         $ 225
    limited civil case does not exceed $10 000                        70602.5
176 Writ petition to appellate division, where amount demanded in     GC 7062l(a),            $ 370
    limited civil case exceeds $10,000 (but does not exceed           70602.5
    $35,000)
177 Appeal from Labor Commissioner's Award (Lab.C 98.2)               GC 7061 l,            $ 435*
                                                                      70602.5, 70602.6
178 Appeal of final decision on parking citation violation (VC        GC 706l5(b)              $ 25
    40230)
179 Appeal from determination of dangerous or vicious dog (F&A        GC 70626(b )(8)          $ 45
    31622)
180 Anneal of administrative fine or oenaltv (GC 53069.4(b)(2))       GC 706l5(a)              $ 25



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                                                                                  Code         Total
                                                                               Section(s)     Fee Due

181 Appeal of administrative penalty for fare evasion or passenger        GC 70615(c}              $ 25
    conduct violation PUC 99582
         .
                                     RECORDS RELATED FEES
182 Ce1tifvin!! a conv ofoaoer, record or proceeding on file              GC 70626(a)(4)           $ 40
183 Certificate for which fee is not otherwise fixed; includes lis        GC 70626(a}(8)           $ 40
    oendens
184 Preparing a copy of any record, proceeding or paper on file (per      GC 70627(a}            $ 0.50
    page)
185 Comparison of a conv with an original on file Iner page)              GC 70627(b)                  $I
18( Searchin!! records or files, for each search longer than 10 minutes   GC 70627(c)              $15
187 Exemplification of record or other paper on file                      GC 70628                 $ 50
188 Document authenticated oursuant to court order fner siimature)        GC 70629                 $ 15
189 Certified copy of marriage or domestic partnership dissolution        GC 70674                 $ 10
    record /reauested bv oublic agencv)
190 Certified copy of marriage or domestic partnership dissolution        GC 70674                 $ 15
    record (reauested bv anv other annlicant)
                                                    ..

                  RETURNED CHECKS AND INSUFFICIENT PAYMENTS
191 Administrative charge for a check that is returned without            CCP 4 I 1.20(g),   Amount set
    payment. A filing paid with such a check will be void if not          GC 71386             by court
    paid, within 20 days of notification, in cash, by certified check,
    or by other means specified by the court, but not by traveler's
    check or oersonal check.
19'. Administrative charge for processing a partial payment. A first      CCP 411.2l(g)      Amount set
     paper filing submitted with a check for an insufficient amount                            by court
     will be void if the amount due is not paid within 20 days of
     notification.

                                      MISCELLANEOUS FEES
                  .

193 Administrative charge for collection of fees where fee waiver         GC 68638(a) (3)          $ 25
    was oreviouslv !!ranted
194 Administrative charge for recovering, as part of judgment, fees       GC 6l03.5(d)       Amount set
    not oaid by oublic entitv under GC 6103                                                    bv court
195 Taking affidavit, except in criminal case or adoption                 GC 70626(a)(5)           $ 40
    proceedings
196 Acknowledgment of deed or other instrument                            GC 70626(al(6)           $ 40
197 Recording or registering license or issuing certificate in            GC 70626(a)(7)           $ 40
    connection with a license, required by law, for which charge is
    not otherwise Prescribed
198 Filing affidavit of publication ofnotice of dissolution of            GC 70626(b )(7)          $ 45
    partnership


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                                                                           Code          Total
                                                                         Section(s)     Fee Due
          .                                                          .         .

                                      MISCELLANEOUS FEES
                                  .



199 Filing and indexing papers for which a charge is not provided   GC 70626(b)(l 0)         $ 45
    elsewhere
200 Appearance by videoconferencing                                 GC 70630           Amount set
                                                                                         bv comt
201 Reasonable fee for service or product, not to exceed costs,     GC 70631           Amount set
    where no fee is othe1wise provided for /Rule 10.815)                                  by court
202 Administering funds held in trust for deposits of funds for     GC 70632                     $50
    reporters' transcripts                                          CRC 8.130 and
                                                                    8.834
203 Ce1tificate of facts regarding unsatisfied judgment             vc 16373           Amount set
                                                                                         bv court




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                      Appendix: First paper filing fees under the UCF in courts
                           with local courthouse construction surcharges

                                                                     Limited civil cases                        Unlimited civil
                                                    Limited civil     Limited civil      Amendment to               cases
                                                      ::,$10,000        > $10,000         amount over            (> $35,000),
                                                                                             $10,000 <          family, probate
                                                                                              $25.0007
    Statewide uniform fee 8                                  $ 225              $ 370               $ 145                     $ 435
    Normal distribution to State Court                        $ 20               $ 25               None                       $ 35
    Facilities Construction Fund9
    Riverside 10    Local courthouse                          $ 50               $ 50                 None                     $ 50
                    construction surcharge

                    Distribution to SCFCF                       $0                 $0                None                       $0

                    Total fee (with local                    $ 255              $ 395                $ 140                    $ 450
                    surcharge and offset
                    from SCFCF
                    distribution)
    San             Local cOurthouse                          $ 35               $ 35                None                      $ 35
    Bernardino      construction surcharge
    II

                    Distribution to SCFCF                       $0                 $0                None                       $0

                    Total fee (with local                    $ 240              $ 380                $ 140                    $ 435
                    surcharge and offset
                    from SCFCF
                    distribution)
    San             Local courthouse                          $10                $ 10                None                      $ 50
    Francisco 12    construction surcharge

                    Distribution to SCFCF                     $ 10               $ 15                None                       $0

                    Total fee (with local                    $ 225              $ 370                $ 145                    $ 450
                    surcharge and offset from
                    SCFCF distribution)


7
  This column shows the fee under GC 70~J 3.5 for a filing increasing the amount at issue in a limited civil case from
$10,000 or less to more than $10,000, hut not to exceed $25,000. The _fee reflects the incremental amount that the first
paper fee for a case with more than $10,000, but not to e~ceed $i5,000 at issue exceeds the first paper fee for a case with
$10,000 or less at issue.
8
  These uniform filing fees apply to both first paper filings and response filings in limited, unlimited, family law and
probate cases.
9
   Under the Uniform Civil Fee legislation, the standard distributions to the State Court Facilities Construction Fund are
$20, $25 and $35 depending on the level and type of filing. In Riverside, San Bernardino and San Francisco the
distribution to the SCFCF is reduced to offset, to the extent possible, the local courthouse construction surcharge.
10
   In Riverside the maximum surcharge allowed by statute is $50 under GC 70622. As of January I, 2009, the surcharge is
$50 for all cases.
11 In San Bernardino the maximum surcharge allowed by statute is $35, which is applied to all first paper filings.

(GC 70624.)
12
   In San Francisco the maximum surcharge allowed by statute is $50. $10 is applied to limited civil cases and $50 to
other first paper filings. (GC 70625.)

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               Fees for limited civil unlawful detainer cases and cases filed by assignees
                        in courts with local courthouse construction surcharges

                                                       Limited civil unlawful detainer                 Cases filed by assignees
                                                                     cases13
                                                         Unlawful               Unlawful           Ltd civil with       Amendment
                                                     detainer, limited     detainer, limited       declarations          to amount
                                                      civil::: $10,000       civil> $10,000          <$5,000            over $10,000
                                                                                                                        < $25.000 14
Statewide uniform fee                                               $ 240               $ 385                $ 181             $ 189
Normal distribution to State Court                                   $20                  $ 25                $ 20             None
Facilities Construction Fund 15
Riverside 16         Local courthouse                                $ 50                 $ 50                $ 50              None
                     construction surcharge
                     Distribution to SCFCF                            $0                   $0                   $0              None
                     Total fee (with local                          $ 270               $ 410                $ 211              $ 184
                     surcharge and offset
                     from SCFCF
                     distribution)

San                  Local courthouse                                $ 35                 $ 35                $ 35              None
Bernardino 17        construction surcharge
                     Distribution to SCFCF                            $0                   $0                   $0              None
                    Total fee (with local                         $ 255                 $ 395                $ 196              $ 184
                    surcharge and offset
                    from SCFCF
                    distribution)
San                 Local courthouse                                 $ 10                 $ 10                $ 10              None
Francisco 18        construction surcharge
                    Distribution to SCFCF                            $ 10                 $ 15                $ 10              None
                    Total fee (with local                         $ 240                 $ 385                $ 181              $ 189
                    surcharge and offset
                    from SCFCF
                    distribution)



13
   These amounts incorporate the additional $15 fee under CCP 1161.2 charged to plaintiffs in limited civil unlawful
detainer cases.
14
   This column shows the fee under GC 70613.5 for a filing increasing the amount at issue in a limited civil case filed by
an assignee (with declaration) from within the small claims jurisdictional limit to more than $10,000, but nOt to exceed
$2-5,000,. The fee reflects the incremental amount that the first paper fee for a limited civil case with more than $10,000,
bllt hot to ~xceed $25,006, at issue exceeds the first paper fee for a case with declarations with less than $5,000 at issue.
15
   Under the Unifonn Civil Fee legislation, the standard distributions to the State Court Facilities Construction Fund are
$20, $25 and $35 depending on the level and type of filing. In Riverside, San Bernardino and San Francisco the
distribution to the SCFCF is reduced to offset, to the extent possible, the local courthouse construction surcharge.
16
   In Riverside the maximum surcharge allowed by statute is $50 under GC 70622. As of January I, 2009, the surcharge is
$50 for all cases.
17 In San Bernardino the maximum surcharge allowed by statute is $35, which is applied to all first paper filings.

(GC 70624.)
18 In San Francisco the maximum surcharge allowed by statute is $50. $10 is applied to limited civil cases and $50 to

other first paper filings. (GC 70625.)

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     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 257 of 801




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               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 258 of 801




                                       McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                     Attomeys at Law
                                              3480 Bt1skirk Avenue, Strite 250
                                                  Pleasant Hill, CA 94523
                                                         (925) 939-5330
                                                    FED. ID. NO. XX-XXXXXXX

      Farmers Insurance                                                                                        January 6, 2023
      Attn: Corey Braun                                                                                         Invoice 90007
      P.O. Box 268994                                                                                    Matter JD: FRM-1837
      Oklahoma City, OK 73126-8994                                                                       Christopher B. Allard
                                                                                                                       Page 2



      Re:Bernstein v, Meadow Brook Village HOA
      lnsured: Meadow Brook HOA and Association Northem California and Mas
      Claim No: 5005612246-1-2
                                          For Services Rendered Through 10/20/2021




                                                        LEGAL SERVICES
        Date       Mn:    Description                                                            Hours              Amount

       9/27/2021   LR     Prepare Motion to Strike on behalf of Ritter, Simons and Thakur         5.20               $910,00     299
                          including memorandum of points and authorities, supporting
                          decJaration and proposed order
                                                                                                                                 300
       9/27/2021   LR     Receipt and review plaintiffs revised subpoena to Wells Fargo and       0.10                $17.50
                          Union Bank
                                                                                                                                  30·1
       9/27/2021   LR     Receipt and review Notice of Limited Scope Representation               0.10                $17.50
                          (blank)
                                                                                                                                   302
       9/27/2021   LR     Receipt and review Plaintiffs Seventh Doe Amendment to the              0,10                 $17.50
                          Complaint
                                                                                                                                  303
       9/28/2021   LR     Internet research to locate attOmey possibly representing plaintiff     1.20               $210.00
never occurred            and telephone call lo law fum to discuss case
per limited scope attorneys                                                                                                         304
        9/28/2021 LR      Prepare demurrer to plaintifrs complaint on beha]fofZafra               1.30               $227.50
                                                                                  - -
       9/28/2021   LR                                                                                                            305
                          Prepare Motion to Strike punitive damages on behalf of Zafra            0,70                $122.50
                                                                                                                                  306
       10/0 l/202 l LR                                                                            Gd{)                 $fr.BO


       10/0112021 LR      Prep1:1re meet and confer letter to plaintiff regarding demurrer and                        S210.oo      307
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                                                                                           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 259 of 801



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                                  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 263 of 801




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                        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 266 of 801




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   R,,-. llen1'loil v. M<0do\\• Bnx,~ Vuhg;, HOii                                                                                                       Ro: &n,s\Oll ~- Meadow Brook Va\igc HOA                                                                                      l'J~'t   s



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                             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 267 of 801




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                                       MoNam.,ra, Alri>o<:lct, 'Wb.-..:l,r, Hii,ig&.Gr.,yLtl'
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                                               3480Ilmhl Awtui,S~250                                                                             Ro: u.,,,.i.,i,_ v. M<adow Drook Vilbs,e HOA                                                                              l'•i;,: l
                                                   Pl-.'11111 Hil, CA 94523




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     Ro:Domst.i,,v. M<1<kr,, Urook V,'bi:,, HOA                                                                                                                                                                                                                                              m
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        farrrcr,,Jm,.._, ..,,                                                                                 lnw\;c 900-08
                                                                                                                                                   R,;Bcrn;1,.i1v. Mcmlowllnlok. Vi!h!!< HOA                                                                                P,<!,'< 5




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        Ra: Ilem1tch v. Moodow Brwl Vil>!!I,> HOA                                                                     Page 4
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                                       MoNnman,, Ambnohcr, Wheel,r, Ulr,lg& Gmy LLP                                                                                                                       MoN1<11""', Arnboohot, \\'b«ler, HO\!& C',rnyLlf'
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           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 277 of 801




                                   McNamara, Ambacher, Wheeler, Hirsig& Gray LLP
                                                 Attorneys at Law
                                          3480 Buskirk Avenue, Suite 250
                                              Pleasant Hill, CA 94523
                                                      (925) 939-5330
                                                 FED. ID. NO. XX-XXXXXXX

   Farmers Insurance                                                                                     November 23, 2022
   Attn: Corey Braun                                                                                           Invoice 89428
   P.O. Box 268994                                                                                      Matter ID: FRM-1837
   Oklahoma City, OK 73126-8994                                                                         Christopher B. Allard
                                                                                                                      Page 2



   Re:Bernstein v. Meadow Brook Village HOA
   InsUl'ed: Meadow Brook HOA and Association Northern California and Mas
   Claim No: 5005612246-1-2
                                       . For Services Rendered Through 1/31/2019




                                                      LEGAL SERVICES
    Date         Atty   Description                                                            Hours               Amount

    12/04/2018 LR       Begin review and analysis of claim file documents from Farmers,         4.20                 $735.00
                        including DFEH, DOJ and Alameda Superior Court Complaints
- fil! BQ6l 22                                                                                                                  2
    12/04/2018 LR       Telephone call to HOA's personal counsel at Herding Weil                0.20                  $35.00
 PIU806129              regarding DOJ Complaint

                                                                                                 1.00                $175.00    3
    12/04/2018 LR       Telephone conference with HOA Board President Mike Durbin
                        regarding DOJ Complaint and response to known claims
  PIU806129
    12/04/2018 LR       Telephone conference with Bob Maltz regarding various                    0.50                 $87.50    4
 PIU806129              complaints filed by plaintiff and responses to the same

                                                                                                 0.50                 $87.50    5
    12/05/2018 LR       Prepare Lttigation Budget
  General
                        Prepare Association of Attorney                                          0.30                 $52.50    6
    12/05/2018 LR

     1/02/2019 LR       Prepare email to carrier, client and HOA's personal counsel              0.30                 $52.50    7
                        regarding mediation of DFEH claims
 201810-03850210
     1/02/2019 LR       Exchange multiple emails with plaintiff regarding depositions and        0.60                $105.00    8
                        Association of Attorney

     1/02/2019   LR     Telephone call from HONs· personal counsel regarding placement           0.10                  $17.50   9
                        of lien on plaintiffs property for failure to pay special assessment
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 278 of 801




                                   McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

      Farmers Insurance                                                                                   Invoice 89428
      Re: Bernstein v. Meadow Brook Village HOA                                                                  Page 3

                Atty    Description                                                            Hours             Amount


     1/02/2019 LR       Prepare email to HO A's personal counsel regarding no objection          0.20             $35.00     10
                        to lien on plaintiffs property for failure to pay special assessment

     l /02/20 I 9 LR    Receipt and review of email from DFEH regarding plaintiffs'              0.20             $35.00     11
                        demand for DFEH clauns
        0-03850210
       10/2019 LR       Receipt and review multiple emails between plaintiff and co-             0.40             $70,00     12
                        counsel regarding motion to set aside default

       17/2019 LR       Telephone conference with carrier regarding upcoming mediation           0.30              $52.50
                        withDFEH
        10-03850210
       17/2019 LR       Exchange emails with DFEH regarding scope of mediation and               0.60             $!05.00     14
                        attendees
        0-03850210
                        Telephone call to insured regarding mediation with DFEH                  0.30              $52.50     15

                        Begin review and analysis of all complaints, available motions,          4.80             $840.00         16
                    CC&Rs, CC&Rs Rules and Guidelines, and Declarations from the
    201810-03850210 Bernsteins

                          Further _review of all complaints, available motions, CC&Rs,    5.60             $980.00            17
      1/22/2019 LR
2019907-067994411         CC&Rs Rules and Guidelines, and Declarations from the
                          Bernsteins and begin preparation of DFEH mediation brief Luanne lied repeatedly that did
                                                                                          not cancel mediation
                          Telephone conference with DFEH mediator Elise Chu regarding             0.40
                          reasons for canceling mediation

      1/22/2019 LR        Exchange emails with carrier, client and personal counsel                                $52.50
   201810-0385021 0       regarding reasons for DFEH canceling mediation

20199~hi9~\i'fli94th1     Prepare motion to conlpel plaintiffs' responses to Form                 5.10            $892.50     20
                          Interrogatories, Request for Production of Documents and for
                          sanctions, including notice, memorandum of points and authorities,
                          supporting declaration and proposed order;

      1/31/2019 LR        Prepare Motion to have defendants1 Request for Admissions to            3.20             $560.00        21
                          plaintiff deemed admitted, including preparation of notice, MP A,
                          supporling declaration and proposed order;

      1/31/2019 LR        Receipt and review letter from plaintiff to court regarding             0,10              $17.50    22
                          withdrawal of motion for contempt against Cidology

      1/31/2019 LR        Receipt and review letter from Cidology1s counsel regarding meet        0,10              $17.50        23
                          and confer eff01ts with plaintiff related to deposition subpoena
           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 279 of 801




                                   McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                 Attomeys at Law
                                          3480 Buskirk Avenue, Suite 250
                                              Pleasant Hill, CA 94523
                                                       (925) 939-5330
                                                 FED. ID. NO. XX-XXXXXXX

   Farmers Tnsurance                                                                                  November 23, 2022
   Attn: Corey Braun                                                                                        Invoice 89429
   P.O. Box 268994                                                                                   Matter ID: FRM-1837
   Oklahoma City, OK 73126-8994                                                                      Christopher B. A Uard
                                                                                                                   Page 2



   Re:Bernstein v. Meadow Brook Village HOA
   Insured: Meadow Brook HOA and Association Northern California and Mas
   Claim No: 5005612246-1-2
                                        For Services Renrlered Through 6/28/2019




                                                     LEGAL SERVICES
    Date      Atty     Desc1•iption                                                         Hours               Amount

    211912019 LR       Receipt and review MUFG Union Bank's opposition to plaintiffs         0.20                  $35.00    24
                       motion for order compelling compliance with subpoena

    2/1912019 LR       Review and analyze pmtions of the over 50,000 pages of                4.30                 $752.50    25
 201810-03850210 documents provided by co-counsel for purposes of preparing
        _          response to DFEH Complaint
 2019907 067994411
    2/2012019 LR       Review and analysis of deposition testimony of Tammy Fritz and        3.80                 $665.00    26
                       Sharon Massingham and other related documents, in preparation
201810-03850210
                       of finalizing responses to DFEH Complaint (281 pages)
2019907-067994411
    2/20/2019 LR       Receipt and review Richard Fang's opposition to plaintiff's motion    0.10                  $17.50     27
                       to com

                                           plaintifrs re                                     0.60                 $105.00    28
                                            exists
                                                                 ts from co-counsel          7.20               $1,260.00     29
                       rela                            uding pleadings, correspondence,
 201810-03850210       discovery and documents provided by plaintiff and the HOA,
                       including HOA records

    3/18/2019 LR       Review of file for purposes of Round Table with Farmers and            1.50                $262.50    30
201810-03850210        prepare Memo with summary of case

    3/19/2019 LR       Participate in Round Table with Fanners                               0.90                 $157.50     31
201810-03850210
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 280 of 801




                                     McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

        Fanners lnsurance                                                                                     Invoice 89429
        Re: Bernstein v. Meadow Brook Village HOA                                                                    Page 3

                  Atty    Description                                                                              Amount

       312912019 LR       Prepare Ex Parte Application to advance hearing dates on motion          4.30             $752.50     32
                          to compel and motion to have request for admissions deemed
                          admitted, included preparation of MP A, supporting declaration and
                          proposed order;

       410212019 LR       Finalize Ex parte Application to advance hearings on motion to           0.30               $52.50     33
                          compeJ discovery responses an.d motion to have request for
                          admissions deemed admitted

                           Prepare email to plaintiff regarding notice of intent to make ex        0.20               $35.00    34
       4/0212019 LR
                           parte application to advance hearings on motion to compel and
                           motion to deem request for admissions admitted
                                                                                                                                 35
       4/02/2019 LR        Prepare email to plaintiff with ex parte papers                         0.20               $35.00

       4/05/2019 LR Telephone conference with Farmers regarding status of 3 different              0.30               $52.50         36
                    claims
201810-03850210 GENERAL
                                                                                                                     $140.00         37
      4/08/2019 LR  Attend ex pa1te hearing with Judge Herbert via Courtcall                       0.80

       4/08/2019 LR        Prepare email to plaintiff with third service of ex parte papers            0.20           $35.00         38

       4/08/2019 LR        Prepare email to co~counsel regarding court's continuance of ex             0.30           $52.50     39
                           parte hearing and order for service via email on both of plaintiffs
                           email addresses

       4/10/2019 LR        Receipt and review plaintiffs opposition to ex parte application to         0.70          $122.50         40
                           advance hearings on motion to compel and motion to deem request
                           for admissions admitted

                                                                                                                     $280.00         41
       4111/2019 LR        Attend ex parte hearings and Case Management Conference via                 1.60
  P;;;intiff ~n~ ~~urt~tig~tfd'lgfj~ ~~ ;vork t~"iie performed -Plaiiitiffonliligaiioiistay-1.1ni1r.,1114/2020   HG18897381
                                                                                                 /'5
        4/12/2019 LR      Prepare lengthy email to carrier and client regarding court's order          0.60           $105.00    42
                   . __ . to stay action and continue trial date
 \                                                                                                                                   43
  \\    4112/2019 LR       Prepare email to carrier with suggested plan of action once stay is
                           lifted   strategizing harassment on plaintiff medical leave
                                                                                                       0.30            $52.50

 2019907-067994411
  \ 4/16/2019 LR           Exchange emails with property management company regarding                  0.40            $70.00    44
   \                        plaintiffs demand to heat the pool and install steps
20;\107-067994411
        4/3012019 LR        Receipt and review Case Management Order from Court                        0.20            $35.00
                                                                                                                                 45
                            regarding continuance of trial and stay of proceedings
                       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 281 of 801




                                                   McNamara, Ambacher, Wheeler, llisig & Gray LLP
                                                                 Attorneys at Law
                                                          3480 Buskirk Avenue, Suite 250
                                                              Pleasant Hill, CA 94523
                                                                          (925) 939-5330
                                                                   FED. ID. NO. XX-XXXXXXX

               Farmers Insurance                                                                                                      November 23, 2022
               Attn: Corey Braun                                                                                                            Invoice 89430
               P.O. Box 268994                                                                                                       Matter ID: FRM-1837
               Oklahoma City, OK 73126-8994                                                                                          Christopher B. Allard
                                                                                                                                                   Page 2



               Re:Bernstein v. Meadow Brook Village HOA
               Insured: Meadow Brook HOA and Association Northern California and Mas
               Claim No: 5005612246-1-2
                                                        For Services Rendered Through 9/30/2019




                                                                        LEGAL SERVICES
                Date        Atty    Desc1iption                                                                          Hours                  Amount

                8/0212019 LR        Receipt and review email and letter from co-counsel and prepare                         0,20                   $35.00
     •
    2019907-067994411               email in response
                                                                                                                                                             46

    j
                9103/2019 LR        Receipt and review Plaintiffs' Case Management Conference                               0.20                   $35.00    47
                                    Statement

                9103/2019 LR        Receipt and review PJaintiffs Motion to Extend Stay                                     0.40                   $70.00     48
               ADA
                9/03/2019 LR        Exchange emails with co-counsel regarding coordinated opposition                        0.30                   $52.50    49

         J                      ~:J~: ~;:~::;:~;;;;;;;;ff~~~;:;"~'.~~'TIs~~~faf:t•J;:!;~: . . . , , ,.. t:I
               cPioAzs;,.,• .,•..
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                                                                                                                                                              50
.     .·.. -,.,9/03l2qJ9 . •-r;R~-Ji~c'eiplartd•fovi~w 'plan1tiffs motion for leave to file First ~                       ••••2.40                $420.00
l     ' _ ,.·FRAub·-,..--·            .i·::})_ Amended Complaint with exhibits, mcludmg ltlvlecc th.cl analysis of ,.):?:.:,,
I not fi•leSntil 202-1-                i . ~ s t Amended ComP,laint (229pa~es) .. •.. ,,·N'
                                                                                                                                                             51
\ •t ...... .                          teilff¥;4'43'ifili~f\1~t"l~02co1t:f11R!ipJlff
                   F· , ••• , ',L:,;R;\.5.:,•.~.·- .·.                               2t4!'.~~~JIS!111,\l,2~0'Cill1,f)l'1int '.' n
\      'Y;:\211012019 -                  • ,                                                                                =                     ~e
 , unrid~·Q(P~}>~.R~f,C,:T\:-:,- :i:cY,i"
    \. entry
                9/1612019 LR        Prepare opposition to Plaintiffs motion to extend stay and for                          4.10                  $717.50    52
    '                               leave to file first amended complaint, including preparation of
                                    MPA and supporting declaration wilh exhibits;

                                                                                                                             0.50                   $87.50        53
                9/18/2019 LR        Prepare Case Management Conference Statement
                 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 282 of 801


Different case numbers, erroneous billings restraining order, John Gibson etc.


                                      McNarnam, Arnbachcr, Wl1eeler, Hirsig & Gmy LLP

           Farmers Insurance                                                                                Invoice 89430
           Re: Bernstein v. Meadow Brook Village HOA                                                               Page 3

                                                                                                   Hom·s         Amount

                                                                                                                  $157,50    54


                            Prepare Jengthy email to Farmers regarding plaintiffs motion to         0,70          $122.50    55
                            extend stay and service of request for temporary restraining order
                            on Mike Durbin




                                                                                           urbin                    $52,50    58
                                                                                       r

                                                                                                                   $490,00


          9/25/2019 LR      Exchange multiple emails with HOA's personal counsel regarding          0,60           $105,00    60 •
         RG19034687         response to plain~iffs request for temporary restraining order

          9/25/2019    LR   Receipt alld review email from Farmers directing us to represent        0.10            $17,50    61
     RGI9034687             Mike Durbin at hearing on temporary restraining order

          9/25/2019 LR      Prepare emails to Mike Durbin and HOA1s personal counsel                0.30            $52.50    62
                            regarding representation at hearing on TRO and direction for
                                bin to contact office

          9/30/20 I9   LR                                                                            0,20           $35,00        63
         RG19034687
          9/30/2019    LR   Telephone conference with Mike Durbin for purposes of preparing          1.60          $280,00
         RG19034687         response to plaintiffs request for temporary restraining order

          9/30/2019    LR   Prepare Response to plaintiffs Request for Civil Harassment              4.30          $752.50
          RG19034687        Restrnining Order

          9/30/2019    LR   Exchange additional emails with Mike Durbin, carrier and HOA 1s          0.50           $87,50        66
.       RG 19034687         personal counsel regarding response to plaintift's request for
ill!IIRG 19034687           temporary restraining order
js'\11


JI                          Research regarding title history and lien on Bernstein1s propcl'ty       1.20          $210,00

         :::::;46~;                                     TOTAL LEGAL SERVICES                       23.40        $4,095.00

t~
          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 283 of 801




                                          McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                        Attorneys at Law
                                                 3480 Buskirk Avenue, Suite 250
                                                     Pleasant Hi14 CA 94523
                                                                 (925) 939-5330
                                                            FED. ID. NO. XX-XXXXXXX

  Farmers Insurance                                                                                                          November 23, 2022
  Attn: Corey Braun                                                                                                                Invoice 89431
  P.O. Box 268994                                                                                                           Matter ID: FRM-1837
  Oklahoma City, OK 73126-8994                                                                                              Christopher B. Allard
                                                                                                                                          Page 2 ·



  Re:Bernstein v. Meadow Brook Village HOA
  Insured: Meadow Brook HOA and Association Northern California and Mas
  Claim No: 5005612246-1-2
                                               For Services Rendered Through 12/19/2019

 Conlinuance only no! held on !his date wrong cc1se nurnber not this rnalter

                                                                  LEGAL SERVICES
              Atty       Description                                                                               Hours               Amount

   10/0l/2019 LR         Receipt and review email from HOA regarding plaintiffs request                             0,60                $105,00
                                                                                                                                                     68
 PIU 806129              for information and prepare responsive email with requirements
                         for response under the Davis Stirling Act
 Tenancy
  10/01/2019 LR          Prepare for oral argument at hearing on plaintiffs request for Civil                       3,10                $542,50      69
RG19034687               Harassment Restraining Order, including research on standards
                         for granting of the same

     . 2/2019 LR         Travel to and from Hayward for hearing on restraining order                                2.80                $245.00       70
       034687            request against Mike Durbin (68 miles)

   10/02/2019 LR         Atlend hearing on plaintifrs request for Civil Harassment                                  4.20                $735,00       71
 RG19034687              Resn11injng Qrdc1· aga.inRtMike Durbin •
                        Fraud - neanng ncn held contmuea
   I0/08/2019 DTW Review of case materials and preparation of notes and arguments                                   0,80                $128.00       72
    ADA                  for use at the Court's hearing on Plaintifrs Motions to Extend the
                           ,-Stay, oCLitigation,;).nrl,for .:t.f!rotr.r,t{VP,_f)_1'.<ier_an_<.to11r)'1c:,tion to
               -,-"" --~- • Compe 1;                                                                  ' ·-~=--"


   10/09/2019 DTW Attend he~rir)g.QnJ'hinti{fs ,·equest to extend the stay of the case;                              1.60               $256,00
.ADA                  ...                                               -
   10/09/2019 DTW ·f;~;paration of written summary and analysis of the occurrences at                               0.40                 $64,00
  ADA              and information gained from the Court's hea!ing on Plaintiffs
                         Motion to Extend the Stay of the case;                             .
         Plaintiff on second stay litigation no work to be performed HG18897381
                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 284 of 801




                                     McNamara, Ambacher, \\'heeler, Hirsig & Gray LLP

          Fanners Insurance                                                                                           Invoice 89431
          Re: Bernstein v. Meadow Brook Village HOA                                                                          Page 3

         Date      ~      Description                                                                 Hours                Amount

         10/31/2019 LR    Exchange emails with Michael Durbin regardillg changes to                        0.40              $70.00    75
         RG19034687       hearing on restraining order


   1      11/01/2019 LR
RGI QS 687 RG19035648
RG 19036528 RG 19037125
                          Review of materials on court's docket regarding the mu~titude of
                          restraining order motions filed by plaintiff 4 not mult1tndes
                                                                                                           0.40              $70.00


          11/06/2019 LR   Receipt and review email from Michael Durbin regarding gall                      0.10              $17.50    77
      RG19034687          bladder surgery and inability to attend hearing on restraining_(__)rder
                               CONFIDENTIAL MEDICAL DISLCOSURE VIOLATION
        11/06/2019 LR     Exchange emails with court clerk regarding Michael Durbin's                      0.30              $52.50    78
      RG19034687          inability to attend hearing on restraining order

         11/06/20 I9 LR    Prepare email to Michael Dmbin regarding effo11s to continue                    0.10               $17.50   79
       RG19034687          hearing on restraining order

         11/06/2019 LR     Receipt and review email from Romula Zafra regarding request                    0.10               $17.50    80
                           for copy of complaint for purposes of trying to apply for a loan
        RG19034687
                           with Mutual of Omaha

        11/06/2019 LR      Prepare email to Farmers regarding Durbi111s unavailability for                 0.20               $35.00   81
       RG19034687          hearing on restraining order
                                                                                                                                        82
         11/07/2019 LR     Travel to and from Hayward for hearing on plaintiffs Request for                2.70              $236.25
          RG19034687       Civil Harassment Restraining Order (68 miles)
                                                                                                                                        83
                           Attend hearing on plaintiffs request for Civil Harassment                       4.10              $717.50
                           Restrainin Order
                                                                                                rt as o
                                                                                                           0.30               $52.50        84
                           resh·aining order

         12/19/2019 LR                                                                                    -4-70--
        RG19034687

            unredact produce entry                    TOTAL LEGAL SERVICES                                22.90           $3,484.25

                                                  LEGAL SERVICES SUMMARY



           Luanne Rutherford                    Partner                                 14.60                175.00        $2,555.00
           Drew T. Williams                     Associate                                2,80                160.00          $448.00
                                                                     TOTAL             22.90                               $3,484,25

                                       Total Fees and Disbursements                         $3,484.25
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 285 of 801




                                     McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                   Attorneys at Law
                                            3480 Buskirk Avenue, Suite 250
                                                Pleasant Hill, CA 94523
                                                       (925) 939-5330
                                                  FED. ID. NO. XX-XXXXXXX

      Farmers Insurance                                                                                     December 9, 2022
      Attn: Corey Braun                                                                                         Invoice 89726
      P. 0. Box 268994                                                                                   Matter ID: FRM-1837
      Oklahoma City, OK 73126-8994                                                                       Clu·istopher B. Allard
                                                                                                                       Page 2



      Re:Bernstein v. Meadow Brook Village HOA
      Insured: Ivleadow Brook HOA and Association Northern California and Mas
      Claim No: 5005612246-1-2
                                         For Services Rendered Through 8/31/2020




                                                       LEGAL SERVICES
       Date       Atty   Desc1iptio11                                                           Hom·s                Amount

       1/06/2020 LR                                                                              0,70                 $H-2750     86
unredact produce entry
                                                                                                                                  87
      1/06/-20-20-bR                                                                             ·h-80                ·$1+.5,00
 unredact produce ent

                                                                                                                       $35,00     88
      1/06/2020 LR                                                                               \HO
 unredact produce ent

                                                                                                                                  89
     1/14/2020 LR        Exchange emails with client regarding hearing on plaintiffs' request    0.30                   $52.50
 RG19034687              for Civil Harassment Restraining Order

      1/16/2020 LR       Receipt and review additional information from property                  1.70                 $297.50    90
Tenancy                  management company regarding plaintiffs objection to cleaning of
                         gutters

                                                                                                  1.00                 $175.00    91
      1/21/2020 LR       Prepare for hearing on plaintifTs Request for Civil Harassment
   RG19034687            Restraining Order agninst Michael Durbin
                                                                                                                                   92
     ]/21/2020 LR        Travel to and from Hayward for hearing on plaintiffs Request for         2.80                 $245.00
  RG19034687             Civil Harassment Restraining Order against Michael Durbin ( 68
                         miles)

       1/21/2020 LR      Attend hearing on plaintiff's Request for Civil Harassment               3.60                 $630,00     93
    RG19034687
                   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 286 of 801




                                          McNamara, Ambache1; Wheeler, Hi,~ig & Gray LLP

            Farmers Insurance                                                                                               Invoice 89726
            Re: Bernstein v. Meadow Brook Village HOA                                                                              Page 3

           Date          Atty   Desc1iption                                                                       Hours           Amount

                                Restraining Order against Michael Durbin

          1/23/2020 LR          Draft email to Farmers regarding results of hearing on restraining                 0.40             $70,00    94
                                order
         RG19034687
          2/03/2020 LR          Receipt and review Disassociation of Attorneys from Robert Maltz                   0.10             $17.50    95

          3/30/2020 LR                                                                                                              $3¾)0     96
  umedact produce entry
                                                                                                                                    $3¾)0
                                                                                                                                              97
          3/30/2020 LR




                                                                                                                                    -
  unredact produce entry
                                                                                                                                              98
          3/31/2020 LR                                                                                             &.40
   unredact produce entry


          4/14/2020 LR          Draft email to carder regarding continuance of Case Management                      0.30            $52.50    99
                                Conference

          5/14/2020 LR          Prepare updated Case Management Conference Statement                                0.50            $87.50    JOO

                                Ex~hange emails with Association members requiring information                                      $70,00     101
                                to refinance pro e

                                           ·nuIT16rous emails with HOA's counsel regarding                          0.60            $105,00    102
                                collection of over due assessments from plaintiff

                                                                                                                                    $140,00
                                                                                                                                              103
           6/04/2020 LR         Legal research regarding owner~hip of Bernstein property                            0.80

           6/30/2020 LR         Receipt and review multiple orders setting discovery motions,                       0.40             $70.00    104
                                motion for protective order, and motion to compel compliance with
                                subpoena

           7/01/2020 LR         Exchange multiple emails with HOA's personal counsel regardh1g.                     0.70            $122.50    105
 ;Af:>~ Y~.~SQ._ ·.-..~-·,      need for declarations to support claim of prejudice to HOA to·          <;.; ,.




                                ,.,;;;~~:~~~~~;~~fr~~~;~:~~~~~~~~~f~!~&~f~~1~o
                                                                                                                                               106
                                                                                                                    3.20            $560.00
'-15/;0~~·.··•~~~ •••                                                                                 for
                                purposes of deterrnµling further litigation strategies in effort to
                                dispose of plaintiffs claims                                                       ~~l<ftf§\declaratiohs to prevent
                                                                                                                   staymedical of plaintiff see entry
           7/22/2020 LR                                                                                            ~ldine 1.ies $£,§0           107
 unredact produce
 entry
                                   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 287 of 801




                                                                                          McNamara, mbacher, Wheeler, Hi1~ig & Gray LLP

                  Farn1ers Insurance                                                                                                                                                                 Invoice 89726
                  Re: Bernstein v. Meadow Brook Village HOA                                                                                                                                                 Page 4

                                              Atty                 Description Directing Mike Durbin to evade service                                                                   Hours             Amount

              8/1912020 LR                                         Receipt and review documents from Mike Durbin regarding                                                               0.30                $52.50    108
        HG 200682 79_                                            _ {'la intiff'_s filing_o( second_reqµesJ fope§training order
      '. •,··>·;,: ,_- :""' -'.:x - <.-'( ·,. _:: >:,- :, ·--:    ·;;;; ::,c;,,i_, :::·2:._;,"''-"--"';;/;, :.:::.,,,:,,_-~   ¼72z7:.Ji:::::5:z 7<: _:;__r:S;, ' ·:::; -,   "
      ·•i•·"~i201ioif LR."·                                                                                                                                                              GR9
                                                                                                                                                                                                                         109.

 ''.'/ - ~ .;~:~~~{:\:Wi~:fl~lt~Jti·S]i
                                                                                                                                                                                                                        110
                '112012020 LR           Review of court's website regarding plaintiffs filing of additional                                                                              0.30.               $52.50
                                        requests for restraining order
                                                                                                                                                                                                                             111
               8/2712020 LR                                        Receipt and review multiple emails regarding Rosen1s difficulty   0.20                                                                    $35.00
                                                                   obtaining refmancing because of litigation Rosen has own litigation
                                                                                                                                                                                                                             112
               8128/2020 LR                                        Telephone conference with Mike Durbin regarding plaintiffs new                                                         1.70              $297.50
                                                                          for restraining order

                                                                    Receipt and review emails from property management comp                                                                                  $35.00      113
                                                                    regarding plaintiffs complaints that pool will not open
                                                                                                                                                                                                      ation fraud
                                                                                                                                                                                                                             114
        8/31/2020 LR                                                Prepare email to carrier and clients regarding mediation                                                                                 $35.00
 2019907-067994411
        8/3112020 LR                                                Exchange emails with HOA President regarding mediation                                                                0.20               $35.00          115
  2019907-067994411
        8/31/2020 LR                                                Exchange emails with Katrina Nguyen regardingnature oflawsuit     0.20                                                                   $35.00          116
   unrelated case new                                               and Farmers retention.for defense              adifferent client not my lawsuit
                                                                                                                                                                                          0.20               $35.00          117
                8/3112020 LR                                        Review of court's docket to check for proof of service of moving
                                                                    papers regarding new request for Restraining Order
HG20067974 ghost representation John Gibson TOTAL LEGAL SERVICES                                                                                                                        24.80             $4,095.00
2nd restraining order and
   second restraining order Mike Durbin RG201i,~ei!l SERVICES SUMMARY
                Name                                               'Hours                                                                                                               Rate/Hour          Amount
           Luanne Rutherford              Partner                    2.80                                                                                                                   87.50           $245.00
           Luaime Rutherford              Partner                   22.00                                                                                                                  175.00          $3,850.00
                                                                                                                                                     TOTAL                      24.80                     $4,095.00

                                                                                                Total Fees and Disbursements               $4,095.00
                                                                                                TOTAL CURRENT CHARGES                     -$4,0%.-06 5'                                         p/ 3 CJ 7. SC)
                                                                                                Balance Forward                            $17,886.75
                                                                                                TOTAL AMOUNT DUE             1'---- - - · $21,981.75

                                                                                                                                           Open Invoices
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 288 of 801




                                         McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                       Attorneys at Law
                                                3480 Buskirk Avenue, Strite 250
                                                    Pleasant Hi!~ CA 94523
                                                           (925) 939-5330
                                                      FED. ID. NO. XX-XXXXXXX

       Farmers Insurance                                                                                    December 9, 2022
       Attn: Corey Braun                                                                                        Invoice 89727
       P.O. Box 268994                                                                                   Matter ID: FRM-1837
       Oklahoma City, OK 73126-8994                                                                      Christopher B. Allard
                                                                                                                       Page 2



       Re:Bernstein v. Meadow Brook Village HOA
       Insured: Meadow Brook HOA and Association Northern California and Mas
       Claim No: 5005612246-1-2
                                             For Services Rendered Through 11/30/2020

         this is again civil harassment hearing case number not this matter not enforcement of cc&r

                                                          LEGAL SERVICES
        Date        Atty     Description                                                                            Amount

        9/01/2020 LR         Review court's docket for proof of service of moving papers          0.10                 $17.50    118
                             regarding new request for restraining order
second restraining order Mike Durbin RG20068279                                                                                  119
       9/01/2020 LR      Draft email to Milce Durbin regarding plaintiffs failure to serve        0.30                 $52,50
                             moving papers and expectation for court to set a _new hearing date

        910112020 LR                                                                              e~o                  $35-00     120
    HG20067974 ghost r
    2nd restraininsi order                                                                                                         121
       9/08/2020 "1,R                                                                             !HO                  $35'00


  HG20067974 ghost representation John Gibson 2nd restraining order                                                                122
       10/01/2020 LR     Draft email to Mike Durbin regarding new hearing date for TRO            0.20                 $35.00
second restraining order Mike Durbin RG20068279
                                                                                                                                  123
       10/27/2020 LR     Prepare Reply Briefto motion to compel responses to discovery            0.80                $140.00
                                                                                                                                  124
         10/27/2020 LR.      Prepare Reply Brief to Motion to Have Requests for Admission         0.70                $122,50
                             Deemed Admitted
                                                                                                                                 125
         11/02/2020 LR       Receipt and review of court1s tentative ruling on Case               0.20                 $35,00
                             Management Conference and discovery motions
                                                                                                                                  126
          11/04/2020 LR        Attend Case Management Conference via Bluejeans                    2.80                $490.00
       litigation stay lifted 11 4 2020
                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 289 of 801




                                       McNamal'll, Ambacher, Wheeler, Hirsig & Gray LLP

          Farmers Insurance                                                                                  Invoice 89727
          Re: Bemstein v. Meadow Brook Village HOA                                                                 Page 3

      Date         Atty    Description                                                                            Amount
                                                                                                                               127
      J 1/04/2020 LR       Receipt and review of notice from court regarding hearings on             0.20           $35.00
                           discovery motions

                                                                                                                    $315.00
                                                                                                                               128
      11/05/2020 LR        Receipt and review plaintiffs motion for protective order (219    J.80
                           pages) no protective order filed and served this time frame fraud
                                                                                                                                129
      11/06/2020 LR        Legal research regarding HO A's legal responsibilities for ADA            5.60           $980.00
                           accommodations
ADAvesco
      11/06/2020 LR        Further legal research regarding mandatory nature of statute              1.80           $315.00     130
                           related to deeming request for admissions admitted if responses
                           not provided before the hearing
                                                                  hearing was not 4.9 hours bluejeans                           131
      11/09/2020 LR        Attend lengthy hearings on defendants' motion to compel and               4.90           $857.50
                           motion to have requests for admission deemed admitted via

                                                                                                                                132
      11/09/2020 LR        Receipt and review Exhibits J.      m plaintiff in support of her         1.50           $262.50
                           opposition to the HOA 1s discovery motions
                                                                                                                                133
      Jl/ I0/2020 LR       Research regarding pool expenses to heat in winter and dangers            1.70           $297.50
                           associated with high heat
tenancy
                                                                                                                                 134
      1 J/12/2020 LR       Receipt and review Case Management Order                                  0.20            $35.00

                           EJtelumgc emails with Mike Dutbin tcgarding stattls ofett11e1tt                           ~
                                                                                                                                 134
      11/12/20£9 LR
                           TRO reettte~! ttfltl heat ifig en th.e sa1tte
                             stricken but not redacted no hearing held on this date
                                                                                                                                     135
      l l/13/2020 LR       Receipt and review plaintiffs Objections to orders on discovery           0.40            $70.00
                           motions
                                                                                                                                 136
      11/13/2020 LR           Prepare Notice of Entry of Order Granting motion to compel             0.40            $70.00

      11/13/2020 LR           Prepare Notice of Entry of Order regarding motion to have              0.40            $70.00     137
                              request for admissions deemed admitted
                                                                                                                                 138
      \l/13/2020 LR           Receipt and review email from plaintiff regarding Notices of Entry      0.10            $17.50
                              of Orders on discovery motions
                                                                                                                                 139
      11/25/2020 LR           Receipt and review email from plaintiff regarding issues with           0.30            $52.50
                              Orders on the HO A's discovery motions
                                                                                                                                140
          J 1/25/2020 LR      Receipt and review multiple emails from plaintiff to the court          0.20            $35.00
                              objecting to handling of the filing of her oppositions to the HO A's
                              discovery motions


   Resume review here - cross references all dates and actions fraudulent padded billings
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 290 of 801




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                                            Pleasant Hill, CA 94523
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                                               FED. ID. NO. XX-XXXXXXX

Farmers Insurance                                                                                         January 6, 2023
Attn: Corey Braun                                                                                          Invoice 90001
P .0. Box 268994                                                                                    Matter ID: FRM-1837
Oklahoma City, OK 73126-8994                                                                        Christopher B. Allard
                                                                                                                  Page 2



Re:Bernslein v. Meadow Brook Village HOA
Insured: Meadow Brook HOA and Association Northern California and Mas
Claim No: 5005612246-1-2
                                     For Services Rendered Through 2/24/2021




                                                   LEGAL SERVICES
 Date        Atty   Description                                                            Hours               Amount

1/26/202 I   LR
                                                                                                                            141


                                                                                                                             142
 1/26/2021   LR


                                                                                                                            143
 1/27/2021   LR     Receipt and review Plaintiffs Motion for Leave to Amend         1.70             $297.50
                    Complaint (94 pages) incluclingreview of plaintiffs proposed
                    amended complaint (95 pages) fraudulent entry 50 states motion for leave amended
                                                      complaint filed in 2019
2/01/2021    LR     Prepare defendants' Case Management Conference Statement        0.40              $70.00                144

 2/01/2021   LR     Exchange emails with current property management company                0.20                  $35.00    145
                    regarding response to plaintiffs filing of motion for leave to amend
                    complaint
                                                                                                                            146
2/04/2021    LR     Receipt and review plaintiffs motion for leave to ftle First            2.80                 $490.00
                    Amended Complaint including review of proposed First Amended
                    Complaint (443 pages)

 2/05/2021   LR     Legal research regarding standard for permitting leave to amend          I.IO                $192.50
                                                                                                                            147
                    complaint
                                                                                                                             148
 2/09/2021   LR     Prepare opposition to plaintiffs motion for leave lo ftle first          6.70              $1,172.50
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 291 of 801




                                    McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

      Farmers Insurance                                                                                   Invoice 9000 I
      Re: Bernstein v. Meadow Brook Village HOA                                                                  Page 3

     Date        Atty   Desc1iption                                                              Hours          Amount

                        amended complaint
                                                                                                                              149
      2/1112021 LR                                                                                MG              $35,00
unredact and produce
entry
      2/1112021 LR   Exchange emails with property management company regarding                   0.30            $52.50       150
                     anticipated direction of case
                                                                                                                               151
     2116/2021   LR     Receipt and detailed review of.plaintiffs responses to form               3.20           $560.00
                        interrogatories and request for admissions

                        Receipt and review plaintiff's reply in support of her motion for         0.90           $157.50      152
     2/17/2021   LR
                        leave to file First Amended Complaint
                                                                                                                              153
     2/1812021   LR                                                                                MG             $35,00



                        Receipt and review tentative ruling on plaintiffs motion for leave         0.50            $87.50     154
     2123/2021   LR
                        to ftle Fkst Amended Complaint and multiple emails from plaintiff
                        regarding same

                                                                                                                  $122.50      155
     2123/2021   LR     Review of moving papers and opposition to motion for leave to file         0.70
                        First Amended Complaint for purposes of preparing for the oral
                        argument at hearing
                                                                                                                              156
     2/24/2021   LR     Attend lengthy hearing on plaintiffs motion for leave to ftle First        2.40           $420.00
                        Amended Complaint
                                                                                                                               157
     2/2412021   LR       Receipt and review numerous emails with numerous attachments             2.10           $367.50
                          from plaintiff in response to court•s denial of her motion for leave
                          to file First Amended Complaint
                                                                                                                                158
     2/2412021   LR       Receipt and review video from plaintiff regarding claim that gate is     0.30            $52.50
tenancy issue             stuck open    no such email to Luanne this date

     2/2412021   LR                                                                                MB              ~            159


                                                                                                                                    160
     2/2412021   LR       Prepar!,! lengthy email to carrier and clients regarding results of      0.60           $105.00




                                                                                                                  -
                          motion for leave to file a First Amended Complaint and next steps
                                                                                                                                    161
     2124/2021   LR                                                                                8'60
                                                                                                             ___Jw..()--5--
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 292 of 801




                                     McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
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                                                  FED. ID. NO. XX-XXXXXXX

    Farmers Insurance                                                                                         January 6, 2023
    Ath1: Corey Braun                                                                                          Invoice 90002
    P .0. Box 268994                                                                                    Matter ID: FRM-1837
    Oklahoma City, OK 73126-8994                                                                        Christopher B. Allard
                                                                                                                      Page 2



    Re:Bernstein v. Meadow Brook Village HOA
    Insured: Meadow Brook HOA and Association Northern California and Mas
    Claim No: 5005612246-1-2
                                         For Services Rendered Through 4/15/2021




                                                      LEGAL SERVICES
     Date         Atty   Description                                                          Hom·s                Amount

                         Exchange emails with counsel for MUFG Union Bank regarding            0.20                   $35.00    162
     2/25/2021    LR
                         objections to plaintiffs subpoena for the HOA 's banking records
                                                                                                                                163
     2/25/2021    LR     Exchange emails with property management company regarding            0.30                   $52.50
                         request for infonnation re1atecl to prior attempt at ADR

     2/25/2021    LR     Receipt and review Doe Amendment to Complaint naming an               0.20                   $35.00     164
                         additional 22 defendants

     2/25/2021    LR     Participate in exchange of emails regarding the identity and roles     1.90                 $332.50    165
                         of the numerous defendants named in Plaintiffs Doe Amendment
                                                                                                                                 166
     2/26/2021    LR     Legal research regarding grounds for motion for summary                4.50                 $787.50
                         judgment on plaintiffs individual causes of action
                                                                                                                                 167
     3/09/2021    LR     Receipt and-review Second Doe Amendment to Complaint                   0,10                  $17.50

      3/10/2021 LR                                                                              !}.4e                 $'IM8     168
unredact produce
entry                                                                                                                            169
      3/16/2021   LR     Receipt and review Third Doe Amendment to Complaint                    0.10                  $17.50

      3/16/2021   LR     Prepare email to carrier and client regarding Third Doe                0.20                   $35.00    170
                         Amendment to Complaint
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                                  McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

      Fam1ers Insurance                                                                                         Invoice 90002
      Re: Bernstein v. Meadow Brook Village HOA                                                                       Page 3

                 Atty   Description                                                                                  Amount

     3/22/2021 LR       Exchange emails with property manager regarding second Doe               0.30                   $52.50    171
                        Amendment to Complaint

     3/22/2021 LR      Receipt and review packet from plaintiff purporting to serve              0.20                   $35.00    172
                       Complaint for Doe defendants at our office                 .
                   fraud coortesy copy affidavit ot service aemonstrates service
                                                                                                                                   173
     3/31/2021   LR                          ■■■■■■■■■■-                                         {BG                    ~



     3/31/2021   LR                                                                              e,+e                   ~
                                                                                                                                   174

     4/07/2021   LR     Receipt and review Notice of Acknowledgment from plaintiff for           0.10                   $17.50     175
                        newly added defendants
                                                                                                                                  176
     4/07/2021   LR     Prepare email to carrier regarding plaintiffs improper service of            0.20               $35.00
                        newly named defendants

      4/08/2021 LR      Review and analyze voluminous documents from Robert Maltz                    5.30              $927.50    177
201 81 0-03850 2 10     regarding prior pleadings, c01Tespondence and dlscove1y (1,619
       excessive and ullPe'ffii~d mostly blank pages provided
                                                                                                                                  178
     4/09/2021   LR     Review and analyze documents from Robert Maltz regarding                     4.10              $717.50
                        HOA vendor services and recorded statements (478 pages)
201810-03850210
                                                                                                                                  179
     4/15/2021   LR     Review and analyze voluminous documents from Robert Maltz                    6,80             $1,190.00
                        (pages 1-7,672) for purposes of identifying documents to support
 201810-03850210        defendant1s motion for summary judgment

     4/15/2021   LR     Review and analyze plaintiffs Complaint for purposes of                      1.40              $245.00    180
                        evaluating motion for summary judgment
                                                  TOTAL LEGAL SERVICES                          26.70                $4,672.50

                                               LEGAL SERVICES SUMMARY
           Name                                                    Hours                       Rate/Hour              Amount
       Luanne Rutherford                    Partner                              26.70                 175.00         $4,672.50
                                                                TOTAL            26.70                               $4,672.50

                                    Total Fees and Disbursements                     $4,672.50
                                    TOTAL CURRENT CHARGES                            $-4-;6-'n:Str   .ic 4 I 532... so
                                      Balance Forward                                $13,947.50
                                      TOTAL AMOUNT DUE                              $18,620.00

                                                         Open Invoices
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 294 of 801




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                                                 FED. ID. NO. XX-XXXXXXX


     Farmers Insurance                                                                                      January 6, 2023
     Attn: Corey Braun                                                                                       Invoice 90003
     P. 0. Box 268994                                                                                 Matter ID: FRM-1837
     Oklahoma City, OK 73126-8994                                                                     Christopher B. Allard
                                                                                                                    Page 2



     Re:Bernstein v, Meadow Brook Village HOA
     Insured: Meadow Brook HOA and Association Northern California and Mas
     Claim No: 5005612246-1-2
                                        For Services Rendered Through 4/30/2021




                                                     LEGAL SERVICES
       Date        At   D          n                                                         Hours                Amount

      4/16/2021    LR   Further review and analysis of voluminous documents from Robert       3.10                 $542.50    181
                      Maltz (pages 7,673-9,924) for pUl'poses of identifying documents to
201810-03850210       support defendants' motion for summary judgment
         excessive and mostly blank pages and unrelated documents produced by defs
                                                                                                                              182
     4/19/2021 LR     Further review and analysis of voluminous documents from Robert     7.10                   $1,242.50
                      Maltz (pages 9,925-21,976) for pmvoses of identifying documents
201810-03850210       to support motion for summary judgment
                                                                                                                               183
                   LR   Continue and complete review and analysis of voluminous                                  $1,172.50
                        documents from Rober! Maltz (pages 21,977-30,988) for purposes
                        of identifying documents to support motion for summary judgment
                                                                                                                               184
      4/21/2021    LR   Legal research on elements of eac 1 o 1e twelve individual cause       6.40               $1,120.00
                        of action in plaintiffs complaint for purposes of preparing motion
                         for summary judgment
                                                                                                                               185
       4/22/2021   LR    Begin preparation of motion for summary judgment including            3.20                $560,00
                         preparation of with notice and factual background for
                         memorandum of points and authorities
                                                                                                                              186
     4/2212021 LR      Prepare Notice of Motion and Motion for Summary Judgment                1.10                $192,50
    motion for summary judgment not filed until 08/10/2021      Fraud
       4/22/2021   LR    Receipt and review multiple emails from plaintiff requesting          0.10                  $17.50   186
                          additional time to prepare opposition to motion for summary
                         judgment               fraud no such email and no msj filed yet
    motion for summary judgment not filed until 08/10/2021; therefore I could not be requesting more time; my opposition filed
    12/21/2021
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 295 of 801



   no summary judgment motion prepared at this time
                                   McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

       Farmers Insurance                                                                                          Invoice 90003
       Re: Bemstein v, Meadow Brook Village HOA                                                                         Page 3

                  Atty   Description                                                                                   Amount

     4/22/2021    LR     Review of court1s domain regarding plaintiffs intention to file           0.30                   $52.50    187
                         motion for stay

     4/26/2021    LR     Internet reseafch and multiple telephone conferences with                 2.10                  $367.50     188
                         potential pool expe11s
tenancy
                                                                                                                                    189
     4/28/2021 LR      Telephone conference with Andrew Morris regarding providing                 0.70                  $122.50
tenancy _ no expert ordlll'pert opinion on cost of outdoor heated pool maintenance
approval                                                                                                                              190
     4/28/2021    LR     Research regarding therapy pools in Bay Area and special                                        $192.50
                         requirements to maintain them
  tenancy
      4/29/2021   LR     Telephone conference with Farmers regarding request to retain                 0.30               $52.50    191
  tenancy
                         experts on ADA issues

      4/29/2021   LR     Telephone conference with pool ADA expert Bob Holmer                          0,60              $105.00    192
                         regarding necessary inspections, length of time needs and potential
tenancy                  scope of Declaration to support summary judgment

      4/29/2021   LR     Prepare email to carrier regarding requested scope of authority to            0.40               $70.00    193
                         retain experts related to motion for summary judgment
tenancy - no court ord er experts
      4/29/2021   LR      Telephone conference with HOA property manager Selina Bravo                  0.40               $70.00    194
                          regarding inspection of pool and equipment

                                                                                                                          $35.00
                                                                                                                                      195
      4/29/2021   LR      Telephone conference with pool manager regarding inspection of               0.20
tenancy
                          pool and equipment

      4/29/2021   LR      Multiple telephone calls to pOtential experts for pool maintenance           1.30              ~'227.50    196
                          costs, conversion of pool to therapy pool, special equipment and
 tenancy                  chemicals needed for purposes of obtaining Declaration to support
                          motion for summary judgment
                                                                                                                                     197
      4/30/2021 LR Exchange emails with pool management company regarding                   0,30           $52,50
tenancy._______a_cc_e_s_s_fo_,_·v_is_u_a_l_in_s,__pe_c_t_io_n_s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                    TOTAL LEGAL SERVICES                          35.40                $6,195.00

                                                  LEGAL SERVICES SUMMARY
              Name                                                                  ~             Rate/Hour             Amount
          Luanne Rutherford                   Partner                               35.40                175.00         $6,195.00
                                                                  TOTAL             35,40                              $6,195.00

                                       Total Fees and Disbursements                        $6,195.00
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 296 of 801




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     Farmers Insura_nce                                                                                     January 6, 2023
     Attn: Corey Braun                                                                                       Invoice 90004
     P .0. Box 268994                                                                                 Matter ID: FRM-1837
     Oklahoma City, OK 73126-8994                                                                     Christopher B. Allard
                                                                                                                    Page 2



     Re:Bernstein v. Meadow Brook Village HOA
     Insured: Meadow Brook HOA and Association Northern California and Mas
     Claim No: 5005612246-1-2
                                          For Services Rendered Through 5/28/2021




                                                        LEGAL SERVICES
      Date        Atty   Description                                                         Hours               Amount

                                                                                                                              198
      5/04/2021   LR     Exchange emails with property manager and pool company               0,20                  $35.00
  tenancy                regarding inspections of pool and equipment
                                                                                                                              199
      5/04/2021   LR     Telephone calls to experts Morris and Holmer regarding scope of      0.30                  $52.50
tenancy                  inspection of pools and equipment
                                                                                                                              200
       5/04/2021 LR      Receipt and review email from property manager regarding             0.10                  $17.50
not related to case      properly layout and access codes
                                                                                                                               201
      5/04/2021   LR     Prepare email to experts Morris and Holmer regarding pool            0.20                  $35.00
 tenancy                 inspections, property layout and access codes

      5/05/2021 LR       Further preparation of memorandum of points and authorities in       5.10                 $892.50     202
                         support of motion for summary judgment

      5/07/2021 LR       Participate in site visit of pools on property with experts          3.10                 $542.50    203
tenancy
      5/10/2021 LR       Telephone conference with expert Holmer regarding preliminary         1.00                $175.00    204
                         opinions from pool inspection and prepare email to same with pool
 tenancy                 permit
                                                                                                                              205
      5/12/2021   LR     Prepare separate statement o undisputed matedal facts in support      4.20                $735.00
                         of motion for summary judgment
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 297 of 801




                                   McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

       Fmmers Insurance                                                                                   Invoice 90004
       Re: Bernstein v. Meadow Brook Village HOA                                                                Page 3

      Date        Atty   Description                                                          Hours            Amount

      5/13/2021   LR     Telephone conference with Susan Herndez regarding Declaration         1.40             $245.00     206
                         in support of motion for summary judgment
                                                                                                                             207
      5/13/2021   LR     Prepare Declaration of Susan Hernandez in support of motion for       1.70              $297.50
                         summary judgment
                                                                                                                              208
      5/14/2021   LR     Further preparation of separate statement of undisputed material      3.20              $560.00
                         facts in support of motion for summary judgment

      5/17/2021   LR     Prepare email to Susan Hernandez regarding Doe Amendment              0.20               $35.00    209
susan served             naming her as a defendant

      5/24/2021                                                                                                  $490.00
                                                                                                                             210
                  LR     Prepare Declaration of Robert Holmer in support of motion for         2.80
                         summary judgment
tenancy
                                                                                                                             211
     5/24/2021 LR        Telephone conference with Robert Holmer regarding Declaration          0.40              $70.00
 tenancy no court        in support of motion for summa1y judgment
 order expert                                                                                                                 212
     5/24/2021 LR        Prepare email to carrier regarding progress toward filing motion       0,20              $35.00
                         for summary judgment
                                                                                                                             213
      5/24/2021   LR                                                                            (),W              ~


                                                                                                                             214
      5/25/2021    LR                                                                           18G               ~


                                                                                                                             215
      5/28/2021    LR                                                                           MO               ~



      5/28/2021    LR     Prepare Declaration of Geraldine Linares in support of opposilion     1.10             $192.50    216
                          to plaintiff's motion to stay case.

     5/28/2021     LR     Receipt and review plaintiffs motion to stay case                     0.50              $87.50     217
   ADA
     5/28/2021     LR     Prepare Declaration of Andrew Morris in support of motion for         2.40             $420.00     218
                          summary judgment
                                                   TOTAL LEGAL SERVICES                       29.20            $5,110.00

                                                LEGAL SERVICES SUMMARY
              Name                                                               ~            Rate/Hour         Amount
          Luanne Rutherford                   Partner                             29.20          175.00         $5,110.00
                                                                 TOTAL           29,20                         $5,110.00
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 298 of 801




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                                                  FED. ID. NO. XX-XXXXXXX

   Farmers Insurance                                                                                       January 6, 2023
    Attn: Corey Braun                                                                                       Invoice 90005
    P. 0. Box 268994                                                                                 Matter ID: FRM-1837
    Oklahoma City, OK 73126-8994                                                                     Christopher B. Allard
                                                                                                                   Page 2



   Re:Bernstein v. Meadow Brook Village HOA
   Insured: Meadow Brook HOA and Association Northern California and Mas
   Claim No: 5005612246-1-2
                                         For Services Rendered Thrnugh 7/27/2021




                                                      LEGAL SERVICES
                 Atty   Description                                                                             Amount

     6/03/2021 LR       Prepare Case Management Conference Statement                          0.30                 $52.50    219

                                                                                                                   $35.00    220
     6/08/2021   LR     Exchange emails with Susan Hernandez regarding pools at               0.20
                        Association

     6/09/2021   LR     Exchange emails w~h Geraldine Linares regarding Declaration in        0.20                 $35.00    221
                        support of opposition to plaintiffs motion to stay case
                                                                                                                              222
      6114/2021 LR      Legal research regarding plaintiffs :fuing of action in US District   0.70                $122.50
3:20-cv-02983-WHO       Court and 9 applications for restraining orders
                                                                                                                              223
     6/14/2021   LR     Prepare opposition to plaintiffs Motion to Stay                       4.20                $735.00

     6/1412021   LR     Exchange emails with Geraldine Linares regarding Declaration in       0.20                 $35.00     224
                        support of Opposition to plaintiff's Motion for Stay

                                                                                                                   $35.00    225
     6/14/2021   LR     Exchange emails with all counsel regarding stipulation for good  0.20
                        faith settlement release agreement no such settlement release offer

     6/18/2021   LR     Further preparation of Opposition to plaintiffs Motion to Stay        0.80                $140.00     226

      6/21/2021 LR       Exchange emails with Susan Hernandez regarding pool reopening        0.30                 $52.50    227
not related to this case and rules for use of the same
tenancy
                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 299 of 801




                                    McNamara, Ambachel', Wheelcl', Hil'sig & Gray LLP

       Fanners Insurance                                                                                   Invoice 90005
       Re: Bernstein v. Meadow Brook Village HOA                                                                  Page 3

      Date         Atty   Description                                                             Hours         Amount

      6/21/2021    LR     Prepare email to Anthony Morris regarding Declaration in support         0.20           $35.00     228
                          of motion for summary judgment
                                                                                                                             229
      6/29/2021    LR                                                                              (B-0           ~



                                                                                                    1.30          $227.50    230
John  ~ib9£5i
           2
            i!iubR
                          Legal research regarding HOA's responsibility for criminal activity
                          by association members
  202109-14705609
                                                                                                                              231
      6/2912021    LR     Receipt and review plaintiffs Case Management Conference                 0.20            $35.00
                          statement with cxhbits
                                                                                                                              232
      613012021    LR     Receipt and review tentative iuling on plaintiff1s motion to stay        0.10            $17.50

                                                                                                                               233
      6/30/2021    LR     Receipt and review email from plaintiff regarding intention to            0.10           $17.50
                          contest tentative ruling on moJion to stay
                                                                                                                              234
      6130/2021    LR     Receipt and review multiple emails from court regarding new               0.20           $35.00
                          tentative ruling on motion to stay
                                                                                                                             235
      6/3012021    LR     Prepare email to carrier regarding status of motion for summary           0.10           $17.50
                          judgment
                                                                                                                              236
      6/30/2021    LR                                                                               GcW            moo

      7101/2021    LR     Receipt and review new tentative ruling denying plaintiffs motion         0.10           $17.50    237
                          to stay case

      7/01/2021    LR      Receipt and review email from plaintiff contesting tentative ruling      0,10           $17.50     238
                           denying her motion to stay case
                                                                                                                              239
      7/01/2021    LR                                                                               &.lG           ~



      7101/2021    LR      Prepare email to carrier regarding tentative ruling denying              0.30           $52.50     240
                           plaintiffs motion to stay and her attack on Judge Herbert
                                                                                                                              241
       7101/2021   LR      Receipt and review emails exchanged between plaintiff and court          0.20            $35.00
                           regarding court reporter for hearing on motion to stay

      7101/2021    LR      Receipt and review email from cow:t with information on Shriver          0.10            $17.50    242
ADA general                pilot project to provide free legal services for indigent parties in
                           unlawful detainer actions and forward the same to the carrier
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 300 of 801




                                       McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

         Fanners Insurance                                                                                     Invoice 90005
         Re: Bernstein v. Meadow Brook Village HOA                                                                    Page 4

                      Atty   Description                                                          Hours             Amount

       7/02/2021      LR     Attend lengthy hearing on plaintiffs motion to stay case              1.80              $315.00     243

       7/06/2021      LR     Prepare proposed Order denying Motion to Stay                         0.30               $52.50     244

                                                                                                                      $35.00     245
       7/06/2021      LR     Prepare email to plaintiff regarding proposed order denying motion    0.20
                             to stay
                                                                                                                                  246
       7/07/2021      LR     Receipt and review multiple orders from court setting hearings on     0.10                $17.50
                             plaintiffs motions to compel compliance with subpoenas and for
                             protective ordel'
                                                                                                                                  247
        7/12/2021     LR     Receipt and review of the court's Case Management Order               0.10                $17.50
                             regarding further Case Management Conference

        7/12/2021     LR     Receipt and review of Order denying plaintiffs Motion to Stay         0.10                $17.50     248

                                                                                                                      $472.50     249
       7/13/2021 LR          Prepare opposition to plaintiffs motion for protective order and      2.70
no protective order          injunctive relief

                             Prepare opposition to plaintiffs motion to compel compliance wilh      1.80              $315.00    250
        7/13/2021 LR
   duplicate billing         subpoena to Un.ion Bank
   third party counsel
        7/13/2021 LR         Prepare opposition to plaintiffs motion to compel deposition of        2.40              $420.00    251
                             Richard Fong
  duplicate billing
  third 9Jl'1Y28q~n'i~       ·Prepare opposition to plaintiffs motion to compel compliance with     l.10              $192.50     252
                             subpoena to Wells Fargo
   duplicate billing
   third party counsel                                                                                                             253
        7/13/2021 LR         Exchange emails with property manager regarding denial of              0.20               $35.00
                             plaintiffs motion to stay

        7/21/2021     LR     Exchange emails with Robert Holmer and revise his Declaration          0.40               $70.00     254

        7/27/2021     LR     Receipt and review P.laintiffs motion to disqualify Judge Herbert      0.50               $87.50      255
ADA admin not case - court responds not dafense counsel
          7/27/2021 LR     Prepare opposition to plaintiffs motion to disqualify Judge Herbert      3.10              $542.50          256
this is judge he! bell
                                                     TOTAL LEGAL SERVICES                         25,50            $4,462.50
court duplicate billing mcnamara

                                                    LEGAL SERVICES SUMMARY
              Name                                                      Hours                     Rate/Hour          Amount
          Luanne Rutherford                       Partner                25.50                        175.00         $4,462.50
                                                                     TOTAL              25.50                       $4,462.50
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 301 of 801




                                    McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                  Attorneys at Law
                                           3480 Buskkk Avenue, Suke 250
                                               Pleasant Hill, CA 94523
                                                      (925) 939-5330
                                                 FED. JD. NO. XX-XXXXXXX

   Farmers Insurance                                                                                       January 6, 2023
   Attn: Corey Braun                                                                                        Invoice 90006
   P.O. Box 268994                                                                                   Matter ID: FRM-1837
   Oklahoma City, OK 73126-8994                                                                      Christopher B. Allard
                                                                                                                   Page 2



    Re:Bernstein v. Meadow Brook Village HOA
   Insured: Meadow Brook HOA and Association Northern California and Mas
    Claim No: 5005612246-1-2
                                        For Services Rendered Through 9/16/2021




                                                      LEGAL SERVICES
     Date        Atty   Description                                                        fu!!!:!              Amount

                        Exchange emails with insured regarding continuance of hearings       0.10                  $17.50    257
     8/04/2021   LR
                        on plaintift's multiple motions
                                                                                                                             258
     8/05/2021   LR     Further preparation of separate statement of undisputed material     1.10                 $192.50
                        facts in support of motion for summaiy judgment
                                                                                                                             259
     8/06/2021   LR     Prepare Declaration of Luanne Rutherford in support of motion        1.40                 $245.00
                        for summary judgment
                                                                                                                              260
     8/06/2021   LR     Prepare request for Judicial Notice in support of motion for         0.70                 $122.50
                        summary judgment
                                                                                                                             261
     8/06/2021   LR     Prepare proposed order granting defendant1s motion for summary       0.60                 $105.00
                        judgment
                                                                                                                              262
     8109/2021   LR     Receive and review Fifth Doe Amendment to Complaint naming           0.10                  $17.50
                        Linares as defendant

                                                                                                                  $105.00      263
     8/0912021   LR     Prepare lengthy email to carrier and clients regarding fifth doe     0.60
                        amendment to complaint, new date for motion for summary
                        judgment hearing, hearings on plaintiffs discovery motions and
                        status of Federal court action
                                                                                                                              264
     8/09/2021   LR     Exchange emails with property manager regarding new Board             0.20                  $35.00
tenancy                 President
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 302 of 801




                             McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

 Faimers In.•mrance                                                                              Invoice 90006
 Re: Bernstein v. Meadow Brook Village HOA                                                              Page 3

Date        Atty   Description                                                          Hours         Amount

8/09/2021   LR     Prepare email to Geraldine Linares regarding Fifth Doe                0.20           $35.00    265
                   Amendment lo Complaint naming her as a defendant
                                                                                                                  266
8/10/2021   LR     Telephone conference with property manager, Selina Bravo and          0.70          $122.50
                   new Board president, Geraldine Linares regarding Doe
                   Amendments to complaint
                                                                                                                  267
8/10/2021   LR     Exchange emails with property manager and Farmers regarding           0.20            $35,00
                   Geraldine Linares being named as a Doe defendant
                                                                                                                  268
8/10/2021   LR                                                                           9,3G            ~


                                                                                                                   269
8/11/2021   LR     Receipt and review of plaintiffs Request for Admissions and Form      0.40            $70,00
                   Interrogatories to HOA

                                                                                                        $420.00   270
8/27/2021   LR     Prepare HOA1s responses to plaintiffs Request for Admissions          2.40
                                                                                                                    271
8/27/2021   LR     Prepare HOA 1s responses to plaintiffs Fonn Interrogatories,           3,60          $630,00
                   including fonn interrogatory 17, l
                                                                                                                   272
8/27/2021   LR     Prepare email to insured regarding draft discovery responses, need     0.30           $52.50
                   for review and execution of verifications

                                                                                                         $35.00   273
8/27/2021   LR     Receipt and review Plaintiffs Request for Judicial Notice              0.20

8/27/2021   LR     Exchange emails with Susan Hernandez regarding plaintiffs              0.20           $35.00   274
                   attempts at service of summons and Complaint .
                   advising defendants to evade complaint service
                                                                                                                  275
8/27/2021   LR      Receipt and review emails from carrier to insured regarding           0,10           $17,50
                   service of Doe Amendments
                                                                                                                  276
8/30/2021   LR     Exchange emails with carrier regarding new Board President and         0,20           $35,00
                   service of Doe Amendment on Geraldine Linares
                      advising new Board President msj
8/30/2021   LR     Receipt and review email from property manager regarding               0.10           $17.50   277
                   service of Complaint on Simmonson

8/30/2021   LR     Receipt and review email from property manager regarding               0.10           $17.50   278
                   service of summons and Complaint on Ritter
                                                                                                                  279
8/31/2021   LR     Receipt and review email from property manager regarding               0.10           $17.50
                   responses to discovery from plaintiff
                                                                                                                   280
8/31/2021   LR                                                                            OdB            $'½,00
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 303 of 801




                                    McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

       Fanners Insurance                                                                               Invoice 90006
       Re: Bernstein v. Meadow Brook Village HOA                                                             Page 4

      Date        Atty   Description                                                         Hours          Amount




      8/31/2021   LR                                                                          MG             $M5,00     281


                                                                                                                        282
      9/01/2021   LR     Exchange emails with client regarding responses to discovery from    0.20             $35.00
                         plaintiff
                                                                                                                          283
      9/03/2021   LR                                                                          !He              $35,00



                                                                                                               $H.5()         284
      9/03/2021   LR                                                                          G.W

                                                                                                                         285
      9/03/2021   LR                                                                           G.W             ~


                                                                                                                         286
      9/07/2021   LR                                                                           !He             ~


                                                                                                                          287
      9/07/2021   LR     Prepare Objection to Plaintiffs Request for Judicial Notice           2.80           $490.00
202109-14705609             defense of John Gibson - John Gibson calls above
      9/07/2021   LR     Prepare email to client contact regarding discovery responses         0.20            $35.00         288

      9/09/2021   LR     Finalize HOA 1s responses to pluintiffs Request for Admissions        0.40            $70.00    289
                         and Form Interrogatories

                                                                                                               $52.50         290
      9/09/2021   LR       Exchange emails with plaintiff regarding demand for meet and        0.30
                           confer conference prior to filing motion to compel further
                           responses
                                                                                                                          291
      9/09/2021   LR                                                                           !He             $35,00


                                                                                                                         292
      9/10/2021   LR                                                                           8,3{)           ~


                                                                                                                          293
      9/10/2021   LR                                                                           0,50            ~


                                                                                                                          294
      9/13/2021   LR                                                                           &.40            ~
           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 304 of 801




                                  McNamara, Ambacher, Wheeler, Hirsig & Grny LLP

      Fanners Insurance                                                                                    Invoice 90006
      Re: Bernstein v. Meadow Brook Village HOA                                                                   Page 5

                Atty     Description                                                      ~                      Amount

    9/13/2021   LR                                                                                                 ~         295



    9/13/2021   LR       Receipt and review Plaintiffs Third Motion to Recuse Judge        0,30                    $52.50
                                                                                                                              296
                        Herbert
fraud - no third motion to recuse judge filed                                                                                 297
     9/13/2021 LR       Receipt and review Plaintiffs Sixth Doe Amendment to Complaint     0.10                    $17.50

    9/16/2021   LR
                                                                                                                             298
                                                                                           'l,llO                $l,365,00
                                                                                                        ??


                                                  TOTAL LEGAL SERVICES                    29,10                 $5,092.50

                                              LEGAL SERVICES SUMMARY
          ~                                                       Hours                   Rate/Hour              Amount
      Luanne Rutherford                     Partner                29.10                     175.00              $5,092.50
                                                              TOTAL           29.10                             $5,092.50

                                    Total Fees and Disbursements            $5,092.50
                                    TOTAL CURRENT CHARGES                                    S"
                                                                            $5i09l·.-Slh .. '.5 3 Z .
                                                                                               1
                                                                                                       J        .5{)
                                    Balance Forward                         $34,387.50
                                    TOTAL AMOUNT DUE             c:_~--$~3~9-,480-:oo:~-== :__ ·==-.:~-=-=~~:__]
                                                        Open Invoices
                       Invoice    Invoice                Original           Payments
                       ))ate      Number                 Amount            and Credits              Balance

                       11/23/22   89428                    $5,127.50             $52.50             $5,075.00
                       12/09/22   89727                    $4,480.00            $350.00             $4,130.00
                       01/06/23   90001                    $4,742.50              $0,00             $4,742.50
                       01/06/23   90002                    $4,672.50              S0.00             $4,672.50
                       01/06/23   90003                    $6,195.00              $0,00             $6,195.00
                       01/06/23   90004                    $5,110.00              $0.00             $5,110.00
                       01/06/23   90005                    $4,462.50              $0.00             $4,462.50
                                                                                              $34,387.50
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 305 of 801




                               McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                             Attomeys at Law
                                      3480 Bt1skirk Avenue, Strite 250
                                          Pleasant Hill, CA 94523
                                                  (925) 939-5330
                                             FED. ID. NO. XX-XXXXXXX

Fanners Insurance                                                                                        January 6, 2023
Attn: Corey Braun                                                                                         Invoice 90007
P ,0. Box 268994                                                                                   Matter ID: FRM-1837
Oklahoma City, OK 73126-8994                                                                       Christopher B. Allard
                                                                                                                 Page 2



Re:Bemstein v. Meadow Brook Village HOA
Ins\u·ed: Meadow Brook HOA and Association Northern California and Mas
Claim No: 5005612246-1-2
                                   For Services Rendered Through 10/20/2021




                                                 LEGAL SERVICES
 Date        ~     Description                                                            Hours               Amount

9/27/2021    LR    Prepare Motion to Strike on behalf of Ritter, Simons and Thakur         5.20                $910.00     299
                   including memorandum of' points and authorities, supporting
                   declaration and proposed order
                                                                                                                           300
 9/27/2021   LR    Receipt and review plaintiffs revised subpoena to Wells Fargo and       0.10                  $17.50
                   Union Bank
                                                                                                                            301
 9/27/2021   LR    Receipt and review Notice of Limited Scope Representation               0.10                  $17.50
                   (blank)
                                                                                                                             302
 9/27/2021   LR    Receipt and review Plaintiffs Seventh Doe Amendment to the              0.10                  $17.50
                   Complaint
                                                                                                                            303
 9/28/2021   LR    Internet research to locate att0mey possibly representing plaintiff      1.20                $210.00
                   and telephone call to law film to discuss case
                                                                                                                             304
 9/28/2021   LR    Prepare demurrer to plaintiff's complaint on behalf of Zafra             1.30                $227.50
                                                                                                                           305
 9/28/2021   LR    Prepare Motion to Strike punitive damages on behalfofZafra              0.70                 $122.50
                                                                                                                            306
 10/01/2021 LR                                                                             GcW                   $½,BO


                                                                                                                             307
 10/01/2021 LR     Prep<,tre meet and confer letter to plaintiff regarding demurrer und     1.20                ,210.00
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 306 of 801




                                 McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

       Faimers Irnurance                                                                               Invoice 90007
       Re: Bemstein v. Meadow Brook Village HOA                                                               Page 3

      Date      Ml'.   Description                                                              ~           Amount

                       motion to strike as to Elizabeth Hall
                                                                                                                         308
      10/01/2021 LR    Receipt and review Case Management Order                                 0.10          $17,50
                                                                                                                         309
      10/01/2021 LR    Telephone call to Farmers regarding service of Complaint on              0.10          $17.50
                       Elizabeth Hall n1 August and need to have default set aside

      10/01/2021 LR    Legal research regarding standard for motion to set aside default        1.10          $192.50   310

      10/01/2021 LR    Exchange additional emails with Elizabeth Hall regarding date of         0.40           $70.00    311
                       service and request for entry of defauk
                                                                                                                          312
      10/01/2021 LR    Receipt and review multiple emails from court and plaintiff              0:20           $35.00
                       regarding court's continuance of hearing dates on all motions
                                                                                                                          313
      10/01/2021 LR    Receipt and review email from Lloyd Winter with Completed                0.20           $35.00
                       Notice of Limited Scope of Representation
                                                                                                                          314
      10/04/2021 LR    Telephone conference with carrier regarding motion to set aside          0.30           $52.50
                       default against Elizabeth Hall, John Gibson issues, and other
                       parties against whom requests for default were filed
                                                                                                                         315
      10/04/2021 LR    Review of court's docket for names of parties with proof of              0.50           $87.50
                       service on file and request for default by plaintiff, as well as dates
                       for hearings in the matter
                                                                                                                          316
      10/04/2021 LR    Prepare email to property management company regarding service           0.60          $105.00
                       of current and/or former Board members and need for timely
                       tender of defense
                                                                                                                         317
      10/04/2021 LR    Review and analyze documents from US District Court~ Northern            0.50           $87.50
202109-06799411        District in related case of Bernstein v. DFEH

     10/04/2021 LR     Prepare Response to plaintiffs DFEH complaint                            4.10          $717.50   318
202109-06799411
     10/04/2021 LR     Prepare email to property management company regarding Doe               0.20           $35.00    319
                       Amendments to Complaint
                                                                                                                        320
      10/04/2021 LR                                                                             9cW            $35.00

      10/07/2021 LR    Review court docket for documents related to court's rejection of        0.40           $70.00    321
                       request for default of Elizabeth Hall

      10/07/202 l LR   Prepare meet and confer letter to plaintiff regarding demurrer and       0.70          $122.50   322
                       motion to strike on behalf of Elizabeth Hall
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                              McNamara, Ambacher, Wheele,·, Hirsig & Gray LLP

 Fa1mers Insurance                                                                                    Invoice 90007
 Re: Bernstein v. Meadow Brook Village HOA                                                                   Page 4

Date       Atty   Description                                                            Hours             Amount

l0/08/W21 LR


l0/ll/W2! LR
                  -                                                                       Me


                                                                                          Me
                                                                                                             $35.{le



                                                                                                             $35.{le
                                                                                                                        323


                                                                                                                          324



                                                                                                                        325
10/11/2021 LR     Prepare demurrer on behalf of Elizabeth Hall                             1.40              $245.00

                                                                                           1.20              $210.00    326
10/11/202 l LR    Prepare motion to strike on behalf of Elizabeth Hall

                  Receipt and review email from plaintiff regarding objection to           0.10               $17.50     327
10/1 l/2021 LR
                  demurrer for Elizabeth Hall
                                                                                                                        328
!O/l l/202 l LR   Receipt and review plaintift's Requests for Admission to Mark            0.60              $!05.00
                  Simonson, Romulo Zafra and Leunn Ritter, with multiple
                  attachments
                                                                                                                         329
!0/11/2021 LR     Receipl and review plaintiffs Requests for Admission to Aarti            0.40               $70.00
                  Thakur, with multiple attachments
                                                                                                                         330
10/IIIW21 LR                                                                               {}.-1-\j           W'56

                                                                                                                         331
 10/11/2021 LR                                                                             {}.-1-\j           W'56

                                                                                                                         332
 19/12}2821 LR                                                                             Me                 ~

                                                                                                              $35.{le
                                                                                                                         333
 10/12/2021 LR                                                                             Me
                                                                                                                          334
 10/1212021 LR                                                                             {BG                ~

                                                                                                                         335
 10/13/2021 LR       Receipt and review email from plaintiff regarding notice of entry      0.10               $17.50
                     of defaull against Joey Morrison
                                                                                                                              336
 10/14/2021 LR       Further preparation of demurrer and motion to strike on behalf of      1.80              $315.00
                     Elizabeht Hall
                                                                                                                        337
 10/14/2021 LR       Receipt and review email from property manager regarding th~d          0.10               $17.50
                     party link to documents
                                                                                                                        338
 10/14/2021 LR       Telephone conference wilh property manager, Selina Bravo,              0.40               $70.00
                     regarding response to second HUD complaint
202109-06799411
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 308 of 801




                                    McNamara, Ambacher, Wheeler, Hil'sig & Gray LLP

       F anners Insurance                                                                                   Invoice 90007
       Re: Bernstein v. Meadow Brook Village HOA                                                                   Page 5

      Date        Atty    Description                                                                              Amount

      10/15/2021 LR                                                                          IHO                     $¥1,50       339


                                                                                                                                 340
      10/18/2021 LR                                                                          IHO                      $¥1,50


                                                                                                                                 341
      10/18/2021 LR       Exchange emails with Department of Fair Employment and                0.30                  $52.50
                          Housing regarding response to complaint
202109-06799411                                                                                                                    342
      10/18/2021 LR                                                                                                   $35cB0

                                                                                                                                  343
       10/19/2021 LR                                                                                                  $35cB0




                          -
                                                                                                                                  344
       10/19/2021 LR                                                                                                  $35cB0


                                                                                                 MG                   $llMB       345
       10/20/2021 LR

                                                   TOTAL LEGAL SERVICES                     28.70                  $5,022.50

                                                LEGAL SERVICES SUMMARY
             Name                                                            ~              Rate/Hour               Amount
        Luanne Rutherford                     Partner                        28.70             175.00               $5,022.50
                                                                TOTAL        28.70                                 $5,022.50

                                        Total Fees and Disbursements                $5,022.50
                                        TOTAL CURRENT CHARGES                      ~.s.o. st lf; l/6J7,::;0
                                        Balance Forward                             $39,480.00
                                        TOTAL AMOUNT DUE                           $44,502.5~ .                          __ _I

                                                          Open Invoices
                         Invoice    Invoice                Original        Payments
                         Date       Number                 Amount         and Credits                  Balance

                         11/23/22   89428                   $5,127.50           $52.50                 $5,075.00
                         12/09/22   89727                   $4,480.00          $350.00                 $4,130.00
                         01/06/23   90001                   $4,742.50            $0.00                 $4,742.50
                         01/06/23   90002                   $4,672.50            $0,00                 $4,672.50
                         01/06/23   90003                   $6,195.00            $0.00                 $6,195.00
                         01/06/23   90004                   $5,110.00            $0.00                 $5,110.00
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 309 of 801




                                     McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                   Attorneys at Law
                                            3480 Buskirk Avenue, Suite 250
                                                Pleasant Hill, CA 94523
                                                       (925) 939-5330
                                                  FED. ID. NO. XX-XXXXXXX

     Farmers Insurance                                                                                 January 6, 2023
     Attn: Corey Braun                                                                                  Invoice 90008
     P. 0. Box 268994                                                                            Matter ID: FRM-1837
     Oklahoma Chy, OK 73126-8994                                                                 Christopher B. Allard
                                                                                                              Page 2



     Re:Bernstein v. Meadow Brook Village HOA
     Insured: Meadow Brook HOA and Association Northern California and Mas
     Claim No: 5005612246-1-2
                                         For Services Rendered Through 11/3/2021




                                                     LEGAL SERVICES
      Date        Atty   Descr~ption                                                    Hours               Amount

      10/21/2021 LR                                                                      (Bl)                  ~
                                                                                                                         346


                                                                                                                         347
      10/21/2021 LR      Telephone conference with new adjuster regarding overview of    0.80                 $140.00
202109-06799411          case and parlies to be defended
                         202109-14705609
                                                                                                                          348
      I0/21/2021 LR                                                                      MG                    !li+'MB

                                                                                                                           349
      l 0/2iY202 l LR                                                                    MG                    !li+'MB

                                                                                                                          350
      10/22i202l LR                                                                      MG                    !li+'MB
                                                                                    "
                                                                                         0.4{)                            351
      10/22,'202 l LR                                                                                          !li+'MB


      I0.'22,'202 ! LR                                                                   G,2G                  $¼00       352

                                                                                                                          353
      I0,'22/2021 LR                                                                     MG                    !li+'MB
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 310 of 801




                                  McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

      Farmers Insurance                                                                            Invoice 90008
      Re: Bernstein v. Meadow Brook Village HOA                                                          Page 3

     Date        Atty   Desc1iption                                                                     Amount

     l0/22/2021 LR                                                                                        ~           354

                                                                                                                       355
     l0/25/2021 LR      Receipt and review subpoenas from plaintiff to Union Bank,         0.40            $70.00
                        Management Solutions, Condominium Financial Management,
                        Wells Fargo Bank, Bay Area Property, and Saannan Construction

                                                                                           Gd0             ~
                                                                                                                      356
     10/27/2021 LR

                                                                                                                      357
     10/27/2021 LR      Exchange emails with property manager regarding subpoena to        ,0.20           $35.00
                        Condominium Financial Management
                                                                                                                        358
      l0/28/2021 LR      Exchange emails with property manager regarding subpoena to       0.20            $35.00
                         Bay Area Property Management
                                                                                                                       359
      10/29/2021 LR      Prepare Objections to subpoenas from plaintiff to Union Bank,      3.30          $577.50
                         Management Solutions, Condominium Financial Management,
                         Wells Fargo Bank, Bay Area Property, and Saarman Construction
                                                                                                                       360
      10/29/2021 LR                                                                         MG            ~



                                                                                            +.-W          ~
                                                                                                                       361
      l 1/01/2021 LR


      11/01/2021 LR  Telephone call from Paul Olson at Farmers regarding status of          0.10           $17.50       362
   fraud_ no amended plaintiff filing amended Complau1t
   comP,laint filed                                                                                                     363
      11/01/2021 LR                                                                                       $542c50


      11All/i02l LR                                                                                         ~         364

                                                                                                                        365
      11/01/2021 LR     Exchange emails with carrier regarding plaintiff's second motion    0.20            $35.00
                        for leave to file amend compJaint
fraud no motion for leave to file amended complaint                                                                     366
      11/01/2021 LR                                                                                         ~


                                                                                                                        367
      I l/0112021 LR                                                                        G,40            ilrlMfl

                                                                                                                        368
      ll/01/i02 l LR                                                                                       ~
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                            McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

 Fanners Insurance                                                                               Invoice 90008
 Re: Bernstein v. Meadow Brook Village HOA                                                              Page 4

           Atty   Description                                                        Hours            Amount




11/01/2021 LR                                                                         !bl!()           $499.1lG
                                                                                                                   369

ll/0112021 LR                                                                         G.W              ~
                                                                                                                   370

ll/01/2021 LR                                                                         ~                 ~           371

                                                                                                                     372
ll/01/2021 LR                                                                         -Hie              m&.00
                                                                                                                    373
l 1/01/2021 LR                                                                        {),l-f)            ~



11/01/2021 LR                                                                         ,l,,Hl            ~           374

                                                                                                                    375
I I/0!,'2021 LR   I                                                                   .J.1l()           ~

W0l/2021 LR                                                                           {),l-f)            ~
                                                                                                                    376


11/02/2021 LR     Exchange emails with plaintiff regarding service of documents on     0.20              $35.00    377
                  her attorney
                                                                                                                    378
11/02/2021 LR                                                                          {),l-f)           ~



11/02/2021 LR                                                                          ~                 $*-00     379


                                                                                                                    380
ll/02/202 l LR                                                                         0,3G              ~


                                                                                                                   381
l J.'02/2021 Ul                                                                        ~                 $35,00



11/02,'2021 LR                                                                         Me                ~         382

                                                                                                                    383
ll /0212021 LR                                                                         Me                $'70,00


                                                                                                                     384
11102/20,H LR                                                                          82G               $35,00
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 312 of 801




                              McNamara, Ambacher, Wheeler, Hlrsig & Gray LLP

 Fanners Insurance                                                                                        Invoice 90008
 Re: Bernstein v. Meadow Brook Village HOA                                                                       Page 5

~          Atty     Description                                                                                  Amount

11/02/2021 LR                                                                                +,68                 ~          385

ll Al21202 l LR                                                                              Me                   $W.BG       386


11/03/2021 LR                                                                                Me                   ~0         387

                                                                                                                              388
11/03/2021 LR       Exchange emails with plaintiff again advising we are not agents          0.30                  $52.50
                    for service of process for any of the DOe defendants
                                                                                                                              389
11/03/2021 LR                                                                                                      $&HG

! !10312921 LR                                                                                                     $+Be       390

                                             TOTAL LEGAL SERVICES                       29.90                   $5,232.50

                                          LEGAL SERVICES SUMMARY
     ~                                                                     Hours        Rate/Hour                Amount
 Luanne Rutherford                      Partner                             29.90          175.00                $5,232.50
                                                           TOTAL           29,90                                $5,232.50

                                Total Fees and Disbursements                    $5,232.50
                                TOTAL CURRENT CHARGES                           ~HZ:5(t"$           q q7 "S'0
                                Balance Forward                                 $44,502.50
                                TOTAL AMOUNT DUE

                                                    Open Invoices
                  Invoice    Invoice                 Original            Payments
                  Date       Number                  Amount             and Credits                 Balance

                  11123/22   89428                     $5,127.50              $52.50                $5,075.00
                  12/09/22   89727                     $4,480.00             $350.00                $4,130.00
                  01/06/23   90001                     $4,742.50               $0.00                $4,742.50
                  01/06/23   90002                     $4,672.50               $0.00                $4,672.50
                  01/06/23   90003                     $6,195.00               $0.00                $6,195.00
                  01/06/23   90004                     $5,110.00               $0.00                $5,110.00
                  01/06/23   90005                     $4,462.50               $0.00                $4,462.50
                  01/06/23   90006                     $5,092.50               $0.00                $5,092.50
                  01/06/23   90007                     $5,022.50               $0.00                $5,022.50
                                                                                               $44,502.50
           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 313 of 801




                                   McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                 Attomeys at Law
                                          3480 Buskirk Avenue, Suite 250
                                              Pleasant Hill, CA 94523
                                                     (925) 939-5330
                                                FED. ID. NO. XX-XXXXXXX

    Farmers Insurance                                                                                  January 6, 2023
    Attn: Corey Braun                                                                                   Invoice 90009
    P.O. Box 268994                                                                              Matter ID: FRM-1837
    Oklahoma City, OK 73126-8994                                                                 Christopher B. A\lard
                                                                                                               Page 2



    Re:Bernstein v. Meadow Brook Village HOA
    Insured: Meadow Brook HOA and Association Northern California and Mas
    Claim No: 5005612246-1-2
                                      For Services Rendered Through 12/27/2021




                                                    LEGAL SERVICES
     Date       Ally   Description                                                       Hours              Amount
Eumi Lee assigned
     11/04/2021 LR     Receipt and review JudicialReassignmenl                            0.10                 $17.50    391

     11/04/2021 LR                                                                        0£9                  $½;00     392


     ll/G1B021 LR                                                                         0£9                  $½;00     393

                                                                                                                         394
     11/04/2021 LR     Receipt and review Plaintiffs List of Witnesses for hearing on     0.10                 $17.50
                       third Motion to Recuse Judge Herbert
 fraud no third motion filed motion to recuse judge herbert
     11/04/2021 LR                                                                        Me                   58'lc59   395

     I 1/04/2021 LR    Exchange emails with Bay Area Property regarding objections to     0.20                 $35.00    396
                       subpoena

     11/04/2021 LR                                                                        !Be                  $52c¾     397

                                                                                                                         398
     ll/GS/202! LR                                                                        0£9                  ~



     11/05/2021 LR     Receipt and review notice of taking deposition of various Board    0.20                 $35.00    399
    fraud no depositiong'i,VffiA board members prepared
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 314 of 801




                                McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

      Fanners Insurance                                                                           Invoice 90009
      Re: Bernstein v. Meadow Brook Village HOA                                                          Page 3

     Date       Atty   Descri}!tion      Gibson service                                  Hours         Amount

     11/05/2021 LR                                                                        MO             ~          400


                                                                                                                     401
     ll/05/2021 LR                                                                        MO             ~



     ll/05/2021 LR     Telephone conference with Saarman Construction regarding           0.30            $52.50    402
                       subpoena from plaintiff

     l 1/08/2021 LR    Receipt and review Eighth Amendment to Complaint naming            0.10            $17.50     403
                       Farmers as defendant

     11/08/2021 LR     Prepare email to Farmer regarding 8th amendment to complaint       0.10            $17.50     404
                       naming Farmers as defendant

     I 1/08/2021 LR                                                                       3.68           $63!),00    405



                                                                                                                     406
     ll/99,\29,ll LR                                                                      MG             ~

                                                                                                                     407
     I l/ll,<2921 LR                                                                      MO              ~


                                                                                                                     408
     11/11/2021 LR     Prepare Case Management Conference Statement                        0.40           $70.00

     11/12/2021 LR.    Review of court docket and email to Bay Area Prope1ty regarding     0.20           $35.00     409
                       service of Complaint
                                                                                                                     410
     11/12/2021 LR                                                                         9$,            ~

     ll /lS/;!021 LR                                                                       MO             $¾,00     411


                                                                                           G,H)           $H8)
                                                                                                                     412
     ll/lS/2021 LR


     Il/l6,'Q02l LR                                                                        9$,            $¾,00     413


                                                                                                                      414
     11/16/2021 LR     Receipt and review Plaintiffs Request for Judicial Notice           0.30           $52.50

     ll/18/2021 LR     Receipt and review email from DFEH regarding interview with         0,10           $17.50     415
202109-06799411        Bay Area Property personnel
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 315 of 801




                                  McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

       Fanners Insurance                                                                                Invoice 90009
       Re: Bernstein v. Meadow Brook Village HOA                                                               Page 4

      Date      Atty    Desc.-iption                                                          Hours          Amount

                                                                                                               $17.50       416
     11/18/2021 LR      Telephone call to Sefoia Brnvo at Bay Area Property regarding          0.10
202109-06799411         DFEH's request for interview

                                                                                                                $35.00      417
      11/22/2021 LR •   Exchange emails with cmmsel for Farmers regarding Doe                  0.20
                        Amendment #8 to Complaint
                                                                                                                            418
      11/23/2021 LR     Prepare Opposition to Plaintiffs Request for Judicial Notice           3.40            $595.00

                                                                                               ~                $3-5,00     419
      11/29/2021 LR


                                                                                                                $35.00      420
      11/29/2021 LR     Exchange emails with DFEH regarding interview of Selina Bravo           0.20
202109-06799411         and Yvonne at Bay Area Properties
                                                                                                                             421
     l 1/29/2021 LR     Telephone conference with Selina Bravo at Bay Area Properties           0.20            $35.00
 202109-06799411        regarding DFEH 1s request for interview
                                                                                                                            422
      11/30/2021 LR     Receipt and review Saarman Construction's objection to subpoena         0.10            $17.50
                        from plaintiff

                        Prepare lengthy email to carrier with dates of all events, names of     0.60           $105.00      423
     1l /30/2021 LR
202109-06799411         all clients and further anticipated activities
                                                                                                                             424
      12/01/2021 LR                                                                             Be             ~




                                                                                                                             425
      l2/01hl021 LR                                                                             &.59

                                                                                                                             426
      12/0lhl02I LR                                                                             HG



                                                                                                {BO              ~0          427
      12/0l/202I LR


       12/-0112021 LR                                                                           MG               $'/t}.00    428

                                                                                                                              429
       12/01/2021 LR     Participate in interview with DFEH and personnel at Bay Area            1.10           $192.50
                         Property Management regarding Plaintiffs complaint of sexual
202109-06799411          harassmenl and threats from John Gibson
                                                                                                                             430
       12/02/2021 LR     p                                                                       (BG             ~
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 316 of 801




                                  McNama.-a, Ambachcr, Wheeler, Hirsig & Gray LLP

        Fanners Insurance                                                                            Invoice 90009
        Re: Bernstein v. Meadow Brook Village HOA                                                           Page 5

                  Atty   Description                                                        Hours         Amount



       12/02/2021 LR                                                                                                     431
                                                                                             Od0             ~


                                                                                                                         432
       12/02,12021 LR                                                                        MG              $3-5,llO


                                                                                                                          433
       l2/0i!/2021 LR                                                                        MG              $3-5,llO

leave mother's death emergency leave
       12/03/2021 LR    Exchange emails with court regarding continuance of December         0.30            $52.50      434
                        hearings   Gibson Oliver defaults
                                                                                                                           435
       12/07/2021 LR                                                                         MG              $3-5,llO


                                                                                                                          436
       12/07/2021 LR     Prepare email to carrier regarding continuance of December           0.20           $35.00
                         hearings and interview by DFEH of property management
 202109-06799411
                         employees
                                                                                                                         437
       12/07/2021 LR     Receipt and review Order from court continuing December              0.10           $17.50
                         hearing dates

       12/07/2021 LR     Receipt and review Farmers' Motion to Quash Service                  0.20           $35.00      438

       12/10/2021 LR                                                                         Gd-8            $-l+.50     439


                                                                                                                          440
       12/1412021 LR                                                                          Od0            ~


                                                                                                                         441
      12/16/2021 LR      Receipt and review Notice of Case Closure from DFh~                  0,10            $17.50
202109-06799411
      12/17/2021 LR      Prepare email to carrier and insureds regarding closure ofDFEH       0.20            $35.00      442
                         claims due to lack of evidence
  202109-06799411
       12/21/2021 LR                                                                          Gd-8            W'5G        443


                                                                                                                          444
       12/27/2021 LR     Receipt and review Plaiutift's Opposition to motion for .summary     2.40          $420.00
                         judgment/adjudication including plaintiffs separate statement of
                         undisputed facts and declaration with exhibits (336 pages)
                                                                                                                         445
       12/27/2021 LR     Prepare Reply Brief to motion for summary judgment/adjudication,     6,80         $ I ,190.00
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 317 of 801




                                 McNamara, Ambacher, Wheeler, Hirsig & Gray LlP
                                               Attorneys at Law
                                        3480 Buskirk Avenue, Suite 250
                                            Pleasant Hill, CA 94523
                                                    (925) 939-5330
                                               FED. ID. NO. XX-XXXXXXX

Farmers Insmance                                                                                   February 13, 2023
Attn: Corey Braun                                                                                      Invoice 90876
P.O. Box 268994                                                                                 Matter ID: FRM-1837
Oklahoma City, OK 73126-8994                                                                    Christopher B. Allard
                                                                                                             Page 2



Re:Bernstein v. Meadow Brook Village HOA
Insured: Meadow Brook HOA and Association Northern California and Mas
Claim No: 5005612246-1-2
                                     For Services Rendered Through 4/30/2022




                                                  LEGAL SERVICES
 DHtC        Atty   Description                                                         Hours              Amount

1/03/2022    LR     Receipt and review Case Management Conference from specially         0.10                 $17.50    446
                    appearing Derc Pamasaki

 1/04/2022   LR     Exchange email.:; with Derc Yamasal<l1s counsel regarding            0.20                 $35.00
                                                                                                                        447
                    defendants' motion for summary judgment and demurrers
                                                                                                                        448
 1/10/2022   LR                                                                          MG                   $35,06


 1/13/2022 LR                                                                            Me                   $35,06
                                                                                                                        449

                                                                                                                        450
 1/1412022   LR                                                                          MO                   ~



                                                                                                                         451
 1/14/2022   LR     Receipt and review email frotn plaintift1s limited scope attorney    0.10                 $17.50
                                                     1
                    regarding hearing on defemlants motion for summary judgment
                                                                                                                         452
 1/14/2022   LR     Telephone conference with counsel for Farmers regarding              0.50                 $87.50
                    defendants' demurrer and issues related to plaintiffs failure to
                    prosecute
                                                                                                                         453
 1/14/2022   LR     Draft email to counsel for Farmers regarding defendants•             0.20                 $35.00
                    demurrer, motion to strike and motion for summary judgment
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 318 of 801




                              McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

 Farmers Insurance                                                                                 Invoice 90876
 Re: Bernstein v, Meadow Brook Village HOA                                                                Page 3

             Atty   Description                                                                         Amount

1/14/2022    LR                                                                                          $84&.00      454



                                                                                                                       455
1/18/2022    LR     Receipt and review of Farmers second motion to quash service of        0,20            $35,00
                    summons

                                                                                                           $17,50
                                                                                                                      456
1/19/2022    LR     Receipt and review letter from counsel for Farmers regarding           0.10
                    intention to seek ex parte hearing to advunce hearh1g date for
                    motion to quash service of summons
                                                                                                                      457
1/19/2022 LR        Draft email to Farmers 1 counsel regarding no objection to ex parte    0,10            $17,50
                    to advance hearing on motion to quash

                    Emails to and from court clerk regarding new hearing dates for         0,20            $35,00      458
1/25/2022 LR
                    demurrers, motions to sh·ike, motion to set aside default and motion
                    for summary judgment
                                                                                                                       459
1/26/2022 LR                                                                               MG              ~


                                                                                                                       460
1/i!?/i!0,2 LR                                                                             MG              $'!-5,00


                                                                                                                       461
2/0i'/i!022 LR                                                                             {BG             ~



                                                                                                           $7(l,8G
                                                                                                                       462
2/08/i!022 LR                                                                              MG

                                                                                                                        463
2/09/i!022 LR                                                                              0,48            $7(l,8G



                                                                                                            $35,00
                                                                                                                        464
2/09(2022     LR     Telephone conference with expert,;; regarding continued motion for     0,20
                     sunmmry judgment hearing date

                                                                                                            $52,50
                                                                                                                        465
2/15/2022     LR     Receipt and review multiple Orders from court regarding                0.30
                     continuances of hearings on all motions on calendar

 2/16/2022    LR     Draft email to property management company with update on new          0.30            $52.50    466
                     hearing dates      •

              LR                                                                            ti4G           $42MO        467
 2/17/2022
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 319 of 801




                                       McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

          Faimers Insurance                                                                                  Invoice 90876
          Re: Bernstein v. Meadow Brook Village HOA                                                                 Page 4

                      Atty   Description                                                            Hours          Amount



        2/ l 7/2022 LR                                                                               ~              ~            468


        2,117,'2022   LR                                                                             MG              m.oo        469

                                                                                                                                 470
        2/17/2022 LR                                                                                 MG              m.oo

        2/17/2022 LR         Further preparation of opposition to plaintiffs motion to compel        0.30            $52.50      471
                             regarding subpoena to Union Bank

        2/17/2022 LR         Further preparation of opposition to plaintiffs motion to compel         0.20           $35.00      472
                             regarding subpoena to Wells Fargo

         2/17/2022 LR        Further preparation of opposition to plaintiffs motion to compel         0.20            $35.00     473
                             regarding subpoena for deposition of Richard Fong

         2/17/2022 LR        Fmther preparation of opposition to plaintiffs motion for protective     0.30            $52.50     474
                             order

         2/25/2022 LR                                                                                HlG            ~
                                                                                                                                 475

                                                                                                                                  476
          3/04/2022 LR    Appear (telephonically) for Case Management Conference and                  1.60           $280.00
 Plaintiff was injured on hearing on Farmer's Motion to Quash service of summons
 leave and no such hearing occurred           the hearing took place on 4122 entry 494
          3/04/2022 LR    Receipt and review court's additional tentative rulings on Farmer1s         0.20            $35.00      477
                          motion to quash, plaintiffs motion for protective order and
                          plaintiffs motion for order compelling compliance with subpoenas

         3/09/2022 LR        Prepare Case Management Conference Statement                             0.40            $70.00     478

         3/11~922 LR                                                                                  2-Re           ~           479

Elizabeth Tigano Meadow                     ,u"~"   UUA                           -   -     -Tigano I Meadow Brook Village
Association - Fremont 202                                                                                                        480
         :l/18/2022 LR                     •••••••••••••                                              MG              $'/tl.GG

                                                                                                                                  481
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 320 of 801




                                      McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

         Fanners Insurance                                                                                 Invoice 90876
         Re: Bernstein v. Meadow Brook Village HOA                                                               Page 5

                    Atty   Dcsc1iption                                                                          Amount

       3/18/2022    LR                                                                                                       482
Elizabeth Tigano Meade                                        assment case 09-23-3257-Tigano I Meadow Brook Village
Association - Fremont 202307-21456631
                                                                                                                              483
       3/18/2022 LR     Exchange emails with carrier and client regarding court's decision     0.30                $52.50
                           to continue hearings on motions
ADA medical leave
                                                                                                                             484
       4/04/2022 LR        Prepare Case Management Conference' Statement                       0.40                $70.00

       4/08/2022 LR        Receipt and review Supplemental Declaration of Tiffany Ng in        0.20                $35.00     485
                           opposition to Motion for Order Compelling Compliance with
                           Subpoena by Union Bank
                                                                                                                             486
       4/11/2022    LR     Receipt and review Order regarding hearing on motion for            0.10                $17.50
                           contempt
                                                                                                                              487
       4/11/2022    LR     Receipt and review Plaintiffs Reply in support of motion to         0.10                $17.50
                           compel Union Bank's compliance with subpoena
                                                                                                                             488
       4/11/2022    LR     Receipt and review Plaintift's Reply to Motion to Compel Richard    0,20                $35.00
                           Fang's compliance with deposition subpoena
                                                                                                                             489
       4/11/2022    LR     Receipt and review Plaintiffs Case Management Conference            0.20                $35.00
                           Statement with attachments
                                                                                                                              490
       4/13/2022    LR     Telephone conference with counsel for Wells Fargo regarding         0,20                $35.00
                           plaintiff's motion to compel compliance with subpoena
                                                                                                                             491
       4/14/2022    LR                                                                         {l,2-0              ~



       4/14/2022    LR     Telephone conference with counsel for Wells Fargo regarding         0.30                $52.50     492
                           plaintiffs motion to compel compliance with subpoena
                                                                                                                              493
        4/20/2022   LR     Receipt and review Plaintiffs request for reasonable                0.20                 $35.00
                           accommodation through ADA coordinator at Case Management
                           Conference
                                                                                                                             494
        4/22/2022   LR     Attend Case Management Conference and hearing on Farmers'           2.70                $472.50
                           Motion to Quash service, via remote video conferencing
   fraudulent previous b1lllng
                                                     TOTAL LEGAL SERVICES                     28.10             $4,917 .so
   entry 476 wherein Luanne stated
   attended this hearing and CMC
                                                 LEGAL SERVICES SUMMARY
              Name                                                   Hours                    Rate/Hour          Amount
         Luanne Rutherford                     Partner                28.10                       175.00         $4,917.50
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 321 of 801




                                 McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                               Attorneys at Law
                                        3480 Buskirk Avenue, Suite 250
                                            Pleasant Hill, CA 94523
                                                   (925) 939-5330
                                              FED. ID. NO. XX-XXXXXXX

Farmers Insurance                                                                                 Febrnary 13, 2023
Attn: Corey Braun                                                                                     Invoice 90877
P.O. Box 268994                                                                                Matter ID: FRM-1837
Oklahoma City, OK 73126-8994                                                                   Christopher B. Allard
                                                                                                            Page 2



Re:Bernstein v. Meadow Brook Village HOA
Insured: Meadow Brook HOA and Association Northern California and Mas
Claim No: 5005612246-1-2
                                     For Services Rendered Through 6/30/2022




                                                 LEGAL SERVICES
 Date         Atty   Description                                                      Hours               Amount

5/02/2022 LR                                                                           MG                  ~
                                                                                                                          495


5.'flil/;!022 bR                                                                       HIB                  £H+.eG        496



                                                                                                                          497
5/02/2022 LR



 5/04/2022 LR        Receipt and review Notice of Entry of Order granting Faimers 1    0.10                  $17,50       498
                     Motion to Quash service

 5/04/2022 LR                                                                          MG                    ~            499


                                                                                                                          500
 S/94/,02, bR                                                                          Me                    $'1{}.ll{l



 S/05/;!0,!,! bR


 5,'05/2922   bR
                     =                                                                 "'40


                                                                                       ,jdj)
                                                                                                            $4*-00


                                                                                                            ~
                                                                                                                           501


                                                                                                                          502
         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 322 of 801




                              McNamara, Ambaclier, Wheeler, Hlrsig & Gray LLP

    Fannerslnqurance                                                                                  Invoice 90877
    Re: Bernstein v. Meadow Brook Village HOA                                                               Page 3

             Atty   Desct·iption                                                                           Amount

   5/05/2022 LR     Receipt and review court's tentative ruling on defendants 1 motion        0.40            $70.00    503
                    for Slllmnary judgment
                                                                                                                        504
   5/05/2022 LR     Receipt and review email regarding plaintiff contesting tentative         0.10            $17.50
                    rnling on defendants' motion for summary judgment
                                                                                                                         505
   5/06/2022 LR     Prepare for oral argument at hearing on defendants1 motion for            1.30           $227.50
                    summary judgment including review of moving, opposition and
                    reply papers and court's tentative tuling

   5/06/2022 LR     Attend hearing on defendants' motion for summary judgment, via            1.20           $210.00    506
                    remote video conferencing
                                                                                                                        507
   5/06/2022 LR                                                                               G,49




   S/10/2922 LR                                                                               9:-H)           $-l+.59
                                                                                                                         508


   S/11/,022 LR                                                                               MG              ~0        509


                                                                                                                        510
   5/11/2022 LR     Notil)' court and plaintiff of intention to contest tentative ruling on   0.10            $17.50
                    demurrer ~ranting leave to amend
                      no mo ion for leave to amend filed by plaintiff
   5/11/2022 LR     Receipt and review Case Management Order setting trial                    0.10            $17.50     511

   5/12/2022 LR


   S/12/W« LR
                    -                                                                         He


                                                                                              G,'/9
                                                                                                             ~



                                                                                                             ~
                                                                                                                        512

                                                                                                                         513


                                                                                                                         514
   S/131,0,!,l LR                                                                             0,89           ~



                                                                                                                        515
   S/131,022 LR                                                                               +,l;G          $3-1+.00


   5/13/2022 LR     Receipt and review letters from plaintiff in support of her clflim for    0.20            $35.00     516
                    continuance of hearings
ADA vesco admin
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 323 of 801




                                    McNamara, Ambacher, Wltecler, Hirsig & Gray LLP

         Fmmers Insurance                                                                               Invoice 90877
         Re: Bernstein v. Meadow Brook Village HOA                                                             Page 4

                  Mil'.   Description                                                                        Amount

       5/19/2022 LR       Receipt and review order on defendants 1 motion for summary          0.20             $35.00        517
                          judgment
                                                                                                                          518
       5/19/2022 LR                                                                            ll.ffi           $+'/;50


       5/19/2022 LR       Prepare Judgment on motion for summary judgment                      0.50             $87.50    519

       5/19/2022 LR     Draft em~il to plaintiff with proposed Judgment for approval           0.20             $35.00    520
no attorney fees and costs sought
       5/19/2022 LR       Draft lengthy email lo canier and clients regarding granting of       0.50           . $87.50   521
                          motiori. for summary judgment, status of demurrers, trial date and
                                    irfefffl1titffiim~mt:~11~1~t!!l!mt!lzfl~~•cs".:: ;::;:~ciMll~1;r.;;;;antVf&si~ 1n;casri
                        Receipt and review email from carrier regarding agreement to       0.10                $17 .50    522
    .   •               waive. attorney's fees and costs.        Luanne id not put attorney fees and costs in jud
email agreement farmers to waive attorneys fees and costs           b . d
                                                                 su m1 11e                                                    523
           2 2 LR       Exchange emails with Farmers regarding Plaintiffs 8th              0.20                $35.00
                        Amendment to Complaint
                                                                                                                              524
        6/0112022 LR      Receipt and review court's tentative ruling on demurrer and send      0.30            $52.50
                          emails and message through eCourt of intent to contest tentative
                          rnling
                                                                                                                              525
        6/02/2022 LR                                                                                            ~


                                                                                                                              526
        6/03/2022 LR                                                                                           ~



                                                                                                                              527
        6/0912022 LR      Exchange multiple emails with Farmers counsel regarding               0.50             $87.50
                          responses to form interrogatories and what insurance information
                          was provided to plaintiff
                                                                                                                          528
        6/13/2022 LR      Receipt and review of Farmers' Third Motion to Quash service of       0.30             $52.50
                          summon.<;

        6/ I3/2022 LR     Receipt and review email from plaintiff regarding Farmers' Motion     0.10             $17.50   529
                          to Quash service of smmnons

        6120/2022 LR      Prepare email to all insureds regarding court sustaining demurrers    0.40             $70.00       530
                          with leave to amend, denial of motions to strike punitive damages
                          and need for plaintiff to ftle and serve First Amended Complaint
                                                      TOTAL LEGAL SERVICES                     24.20         $4,235.00
    All insured - I am also insured so this is to all the HOA community
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 324 of 801




                                McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                              Attorneys at Law
                                       3480 Buskirk Avenue, Sufte 250
                                           Pleasant Hil~ CA 94523
                                                   (925) 939-5330
                                              FED. ID. NO. XX-XXXXXXX

Farmers Insurance                                                                                   February 13, 2023
Attn: Corey Braun                                                                                       Invoice 90878
P.O. Box 268994                                                                                  Matter ID: FRM-1837
Oklahoma City, OK 73126-8994                                                                     Christopher B. Allard
                                                                                                              Page 2



Re:Bernstein v. Meadow Brook Village HOA
lnslll'cd: Meadow Brook HOA and Association Northern California and Mas
Claim Nu: 5005612246-1-2
                                     For Services Rendered Through 1/31/2023




                                                  LEGAL SERVICES
 Date        Atty   Description                                                         Hours               Amount

7/20/2022    CBA    Receipt and review of Farmers Insurance Exchanges' notice of no      0,10                  $16.00    531
                    opposition to its motion to quash service of summons and to
                    dismiss for failure to timely serve summons.
                                                                                                                         532
8/01/2022    CBA    Receipt and review·ofthe Court's order regarding plaintiffs leave    0.20                  $32.00
                    to ftle a First Amended Complaint.
                                                                                                                         533
8/05/2022    CBA    Receipt and review of emails from plaintiff and the courtroom        0.20                  $32.00
                    clerk regarding closed hearing on plaintiffs motion for
                    reconsideration.
                                                                                                                         534
 8/1012022   CBA    Receipt and review of email from Court regarding hearing on          0.20                  $32.00
                    plaintiffs Motion for Reconsideration of defendant's Motion for
                    Summary Judgment, and deadline for plaintiff to file her First
                    Amended Complaint.
                                                                                                                          535
 8/11/2022 CBA      Telephone conference with client regarding case status including     0.30                  $48.00
                    hearing on plaintiffs Motion for Reconc,ideration of the court1s
                    order granting defcndants 1 Motion for Summary Judgment and the
                    deadline for plaintiff to file a Fitst Amended Complaint.

 8/1612022   CBA    Receipt and review of Case Management Order regarding                 0.20                 $32.00     536
                    plaintiffs Motion for Reconsideration and deadline to file First
                    Amended Complaint.
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                             McNamara, Amhacher, Wheeler, Hirsig & Gray LLP

 Fanners Insurance                                                                                  Invoice 90878
 Re: Bernstein v. Meadow Brook Village HOA                                                                 Page 3

Date        Atty   Description                                                             Hours         Amount

9/08/2022                                                                                   Me             ~         537

9/14/2022 CBA      Receipt and review of plaintiffs Motion for Reconsideration·of the       2.80          $448.00    538
                   Court's Order granting defendants' Motion for Summary
                   Judgment 1 including review of supporting Declaration of Mary
                   Bernstein with exhibits, Affidavit of Marty Bernstein with exhibits,
                   and proposed Order (155 pages).

9/15/2022 CBA      Review of the Court's Order on defendants1 Motion for Summary            0.60            $96.00   539
                   Judgment including rulings on defendants' Request for Judicial
                   Notice, evidentiary objections, other procedural issues, and request
                   for hearing continuance, in preparation of drafting defendant's
                   opposition to plaintiffs motion for reconsideration of order granting
                   defendant's motion for summary judgment (16 pages).

9/15/2022 CBA      Review defendants' Motion for Summary Judgment, and plaintift's          2.40           $384.00   540
                   opposition papers, and evaluate whether plaintiff has presented
                   any new or different facts, circumstances, or law in suppo1t of her
                   Motion for Reconsideration, in preparation of drafting defendants 1
                   Opposition to plaintiffs Motion for Reconsideration of Order
                   granting defendants' Motion for Summary Judgment.
                                                                                                                      541
9/23/2022 CBA      Prepare defendants' Opposition to plaintift's Motion for                  3.20          $512.00
                   Reconsideration of Order granting defendants' Motion for
                   Summary Judgment.

9/29/2022   CBA    Receipt and review of emails from plaintiff and the Court                 0.30           $48.00     542
                   regarding plaintiffs request to continue the hearing on her Motion
                   for Reconsideration and to extend deadline to file her First
                   Amended Complaint, including her threat to file a complaint with
                   the Department of Justice for an alleged ADA violation, including
                   review of attached doctor1s note.

10/05/2022 CBA     Review and reply to email from Court and plaintiff regarding the          0.20           $32.00   543
                   Court's order resetting hearing dates and filing deadlines pursuant
                   to plaintifrs request.

10/05/2022 CBA     Receipt and review of Order from comt regarding hearing on                0.20           $32.00   544
                   plaintiffs Motion for Reconsideration of order granting defendant's
                   Motion for Summary Judgment, and deadline for plaintiff to ftle her
                   First Amended Complaint.

10/26/2022 CBA     Draft email to carrier l'egarding case status including continuation      0.20           $32.00   545
                   of hearing on plaintiff's motion for reconsideration of the court's
                   order granting defendants1 Motion for Summary Judgment, and
                   deadline to file her First Amended Complaint
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 326 of 801




                              McNamara, Ambucher, Wheeler, Hirsig & Gmy LLP

 Faimers Insurance                                                                                 Invoice 90878
 Re: Bernstein v. Meadow Brook Village HOA                                                                Page 4

Date       Atty    pcscription                                                            Houl's        Amount

l 0/26/2022 CB A Draft email to client regarding continuation of hearing on plaintiff's    0.10           $16.00    546
                 motion for reconsideration of the court's order granting defendants 1
                 Motion for Summary Judgment, and deadline to file her First
                 Amended Complaint.

11101/2022 CBA     Telephone conference with counsel for Del'C Yamasaki regarding           0.20          $32.00    547
                   case status and status of demurrer

11104/2022 CB A Prepare hourly litigation budget.                                           0.30          $48,00    548
   ADMIN
1/11/2023 CBA Receipt and review of email from plaintiff to court and ADA                   0.60         $105,00
                                                                                                                     549
                coordinator with request for reasonable acomodations and request
                for further continuance of hearing on plaintiffs Motion for
                Reconsideration of order grnnting defendants1 Motion for
                Summary Judgment and deadline for plaintiff to file her First
                Amended Complain½ including review of attached medical records
                in support of her request (21 pages),

1/12/2023 CBA      Review and reply to email from client regarding hearing on               0.20          $35.00    550
                   plaintiffs Motion for Reconsideration of order granting defendants'
                   Motion for Summary Judgment, deadline for plaintiff to file her
                   First Amended Complaint, and plaintiffs request for reasonable
                   acomodations with the court1s ADA coordinator,

1/12/2023 CBA      Review and reply to email from court regarding plaintiff's request       0.20           $35.00   551
                   for reasonable acomodations with the court's ADA coordinator
                   and objection to continuance of hearing on plaintiffs Motion for
                   Reconsideration of order granting defendants' Motion for
                   Summary Judgment and c!ead!ine for plaintiff to file her First
                   Amended Complaint.

1/12/2023 CBA      Receipt and review of email from counsel for Farmers' Insurance          0.10           $17.50    552
                   Exchange regarding plaintiffs request for reasonable
                   acomodations with the com1 1s ADA coordinator for continuance
                   of hearing on plaintiffs Motion for Reconsideration of order
                   granting defendants' Motion for Summary Judgment and deadline
                   for plaintiff lo file her First Amended Complaint, and hearing on
                   Farmers1 Motion to Quash.

1118/2023 CBA      Review and reply to email from court regarding the Judge's ruling        0.10           $17.50   553
                   on plaintiffs request for reasonable accommodations for
                   continuance of hearing 011 plaintiffs Motion for Reconsideration of
                   order granting defendants1 Motion for Summary Judgment.
                                                                                                                    554
1118/2023 CBA      Receipt and review of Judge' ruling on plaintiffs request for            0.20           $35.00
                   reasonable acomodations for continuance of hearing on plaintiffs
           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 327 of 801




                                   McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

     Fanners Insurance                                                                                          Invoice 90878
     Re: Bernstein v, Meadow Brook Village HOA                                                                         Page 5

                 Atty   Description                                                              Hours                Amount

                        Motion for Reconsideration of order granting defendants 1 Motion
                        for Summary Judgment.

    1/18/2023    CBA    Receipt and review of email from plaintiff to court regarding              0.10                 $17.50    555

                        correspond with new hearing dates.
                                                                                                                                   556
    ll26/i!0i3   CBA                                                                               G.fB

                                                                                                                                    557
    1/26/2023    CB A




                                                                                                                                    558
    1/30/2023    CBA     Draft email to judge requesting revised order setting the deadline         0.20                $35.00
                         for plaintiff to ftle her First Amended Complaint, subsequent to the
                 hearing on plaintiffs Motion for Reconsideration of the order
                 granting defendants' Motion for Summary Judgment.
NO FORMAL MOTIONS REQUIRED SIMPLY REQUESTS/EMAILS TO JUDGE AS IN MOTION TO STRIKE COMPLAINT
    1/30/2023    CBA     Review and reply to email from carrier regarding court order               0.20       FAC      $35.00    559
                         continuing hearing on plaintiffs Motion for Reconsideration of
                         order granting defendants 1 Motion for Summary Judgment, and           court said its own volition and stated
                         issue regarding deadline for plaintiff to ftle her First Amended       could not read FAC
                         Complaint,
                                                   TOTAL LEGAL SERVICES                           14.50              $2,362.00




                                             -                                      - - -
                                                LEGAL SERVICES SUMMARY
           Name                                                     Hours                         Rate/Hour           Amount

      Christopher B, Allard                  Partner                                11. 70            160.00          $1,872.00
      Christopher B. Allard                  Partner                                 2.30             175.00            $402.50
                                                                 TOTAL             14.50

                                                        DISBURSEMENTS
    Date         Description                                                                                          Amount
    10/4/2022    Record Fee; Tu obtain records at Alameda County Court Public Portal                                      $1.00
                 on 09/21/22, Celeste Visa, paid to; First National Bank of Omaha
    11/8/2022    Record Fee; To obtain copy of records at Public Portal Alameda                                           $4.00
                 County Superior Court on 09/27/22, Celeste Visa, paid to; First National
                 Bank of Omaha
                                                                         Total Disbursements                             $5.00
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 328 of 801




                                McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                              Attorneys at Law
                                       3480 Buskirk Avenue, Sufte 250
                                           Pleasant Hill, CA 94523
                                                   (925) 939-5330
                                              FED. ID. NO. XX-XXXXXXX

Farmers Insurance                                                                                          April 13, 2023
Attn: Corey Braun                                                                                         Invoice 91778
P .0, Box 268994                                                                                   Matter ID: FRM-1837
Oklahoma City, OK 73126-8994                                                                       Christopher B. Allard
                                                                                                                 Page 2



Re:Bernstein v. Meadow Brook Village HOA
Insured: Meadow Brook HOA and Association Northern California and Mas
Claim No: 5005612246-1-2
                                     For Services Rendered Through 3/31/2023




                                                  LEGAL SERVICES
 Date      Atty     Description                                                          Hours                 Amount

3/10/2023 CBA       Receipt and review of plaintifrs Reply Brief in support of her        0.40                   $70.00     560
                    Motion for Reconsideration of the com11s order granting
                    defendants' Motion for Summary Judgment.

3/10/2023 CBA       Receipt and review of Declaiution of Elizabeth Tigano in support      0.20                   $35.00     561
                    ofplainlifrs Reply Brief in support of her Motion for
                    Reconsideration of the cou1t1s order granting defendants' Motion
                    for Summary Judgment.

3/10/2023 CBA       Receipt and review of Declaration of Mary Bernstein in suppmi of      5.80                 $1,015.00    562
                    her Reply Brief in support of her Motion for Reconsidera1ion of
                    the court1s order granting defendants' Motion for ~ummary
                    Judgment, including review of voluminous Exhibits 1-7 (630 pages).

3/10/2023 CBA       Receipt and review of nine emails from plaintiff regarding her        0.40                   $70.00     563
                    Motion for Reconsideration, Motion to Disqualify, and exhibits.

3/11/2023 CBA       Receipt and review of Exhibits 8-10 attached to Declaration of         3. 10                $542.50      564
                    Mary Bernstein in support of her Reply brief in support ol'her
                    Motion for Reconsideration of the court's order granting
                    defendants' Motion for Summary Judgment (293 pages).

 3/13/2023 CBA      Review and reply 10 emails from counsel for farmers Insurance          0.20                   $35.00     565
                    Exchange regarding plainlifrs First Amended Complaint and order
                    granting plaintiff leave lo file an amended complaint.
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 329 of 801




                             McNamara, Ambacher, Wheeler, Hirnig & Gray LLP

 Farmers Insurance                                                                                           Invoice 91778
 Re: Bernstein v. Meadow Brook Village HOA                                                                          Page 3

            Atty   Description                                                               Hours                Amount

3/13/2023 CBA      Receipt and review of plaintiffs Motion to Disqualify Opposing                 1.20             $210.00     566
                   Counsel) including review of supporting declarations of plaintiff
                   and Elizabeth Tigal\O,

3/13/2023 CBA    Receipt and review of plaintiffs Demand for Exchange of Expert    0.40                             $70.00    567
                 Witness Information, and Disclosure of Expert Witness
                 Information.
Defendants never provided expert disclosure; court did not enforce defendants to do so either
3/13/2023 CBA Draft nine emails to plaintiff regarding her Reply Brief in support  0.40                             $70.00      568
                   of her Motion for Reconsideration of the court's order granting
                   defendants' Motion for Summary Judgment, Motion to Disqualify,
                   and First Amended Complaint, including issues regarding lack of
                   proper service, conflicting hearing dates, and identification of
                   exhibits.

3/14/2023 CBA      Review and reply to emails from counsel for Farmers Insurance                  0.20              $35.00      569
                   Exchange regarding plaintiffs First Amended Complaint, lack of
                   proof of service and summons, and plaintiff's request to continue
                   hearing dates.

3/22/2023 CBA      Receipt and review of court order regarding hearing on Farmers'                0.10               $17.50    570
                   Motion to Quash Service of Summons.

3/28/2023 CBA      Review and reply to email from counsel for Farmers Insurance                   0.10               $17.50    571
                   Exchange regarding hearings On Farmers' Motion to Quash and
                   plaintiff's Motion for Reconsideration.
                                                                                                                               572
3/31/2023   CBA    Prepare meet and confer letter to plaintiff regarding improper                 0.80              $140.00
                   service of First Amended Complaint, including issues regarding
                   incomplete First Amended Complaint and incorrect proof of service
                                              TOTAL LEGAL SERVICES                            13.30              $2,327.50

                                          LEGAL SERVICES SUMMARY
      Name                                                    Hourn                          Rate/Hour             Amount
  Christopher B. Allard                 Partner                13.30                                175.00        $2,327.50
                                                            TOTAL             13.30                              $2,327.50

                                Total Fees and Disbursements                          $2,327.50
                                TOT AL CURRENT CHARGES                                $2,327.50
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 330 of 801




                                        McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                      Attorneys at Law
                                               3480 Buskirk Avenue, Suite 250
                                                   Pleasant Hi!~ CA 94523
                                                           (925) 939-5330
                                                      FED. ID. NO. XX-XXXXXXX

        Farmers Insurance                                                                                   May 17, 2023
        Attn: Corey Braun                                                                                  Invoice 92484
        P.O. Box 268994                                                                             Matter JD: FRM-1837
        Oklahoma City, OK 73126-8994                                                                Christopher B. Allard
                                                                                                                  Page 2



        Re:Bemstein v. Meadow Brook Village HOA
        Insured: Meadow Brook HOA and Association No11hern California and Mas
        Claim No: 5005612246-1-2
                                               For Services Rendered Through 4/30/2023




                                                         LEGAL SERVICES
                   Atty     Description                                                                        Amount

         4107/2023 CBA      Review and reply to email from plaintiff regarding ADA request   0.20                 $42.00    573
        ADA ADMIN           for continuation of existing hearings.

         4/07/2023 CBA      Several emails to and from couns'e1 for Farmers Insurai1ce       0.30                 $63.00    574
                            Exchange regarding plaintiffs ADA requests for further
    ADAADMin                continuation of hearings on her Motion for Reconsideration and
                            Motion to Disqualify Opposing Counsel, and Farmers' Motion to
                            Quash service of summons.

        4/07/2023 CBA Review and reply to email from carrier regarding pre-trial round       0.30                 $63.00    575
     NEW CASE         table and various new case updates regarding plaintiffs First
tenancy               Amended Complain~ and plaintiffs Motion for Reconsideration.

         4/07/2023 CBA
                     Prepare email to judge regarding plaintiffs request to ADA          0.30                     $63.00
                                                                                                                            576
                     coordinator for further continuance of hearing on plaintiffs Motion
  ADA                for Reconsideration of the order granting defendants' Motion for
                     Summary Judgment, req\1est for Case Management Conference,
                     lack of service of plaintiff's First Amended Complaint, and issue
                     regarding the trial date.
NO FORMAL MOTION FILING JUST EMAILS TO JUDGE WITH ISSUES. PRACTICING LAW?
       4/08/2023 CBA Receipt and review of email from plaintiff rngarding her request to 0. JO                    $21.00    577
                            the court for a continuance of the hearing on her Motion for
                            Reconskleration.

         4/18/2023 CBA      Receipt and review of defendant Farmers Insurance Exchanges'     0.40                 $84.00     578
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 331 of 801




                                   McNama1-a, A1nbacher, Wheeler, Hirsig & Gmy LLP

      Farmers lnst1rance                                                                             Invoice 92484
      Re: Bernstein v. Meadow Brook Village HOA                                                             Pege 3

                 Atty   Description                                                                       Amount

                        reply brief in suppO!t of its Motion to Quash plaintiffs service of
                        summons, including review of supporting declaration, and proposed
                        order.

     4/19/2023   CBA    Review of the court1s detailed order sustaining the demurrer of       0.40          $84.00    579
                        defendants Leanne Ritter, Aarti Thakur, and Mark Simonson with
                        leave to amend as to the Complaint in its entirety, and analyze the
                        court1s rulings as to each of the twelve causes of action, in
                        preparation of review of plaintiffs First Amended Complaint.

     4/19/2023    CBA   Receipt and review of plaintiffs verified First Amended               3.80          $798.00    580
                        Complaint, including review and analysis of factual allegations and
                        causes of action 1~4, and evaluate grounds for demurrer and
                        motion to strike (pages 1-369).

     4/20/2023    CBA   Further initial review of plaintiffs verified First Amended           4.10          $861.00    581
                        Complaint, including review and analysis of causes of action 5-26,
                        and evaluate grounds for demurrer and motion to strike (pages 370-
                        760).
                                                                                                                       582
     4/21/2023    CBA   further initial review of plaintiffs verified First Amended           5.40        $1,134.00
                        Complaint, including review and analysis of causes of action 2?M93,
                        and evaluate grounds for demun·er and motion to strike (pages 761-
  NO FORMAL MOTION
                  1
                           'f58STRIKE OR DEMURRER FILED ONLY EMAILS TO COURT
     4/24/2023    CBA   Review and reply to email from client LeAnne Ritter regarding         0.20           $42.00   583
                        case status and plaintiffs First Amended Complaint.
                                                                                                                       584
     4/25/2023    CBA   Receipt and review of email from judge regarding plaintiffs ADA       0.10           $21.00
                        request regarding hearing schedule.

     4/25/2023    CBA   Further initial review of plaintiffs verified First Amended           5.80        $1,218.00    585
                        Complaint, including review and analysis of causes of action 94-
                        124, and evaluate grounds for demurrer and motion to strike
                        (pages 1,289-1,828).

     4/26/2023    CBA   Receipt and review of email from plaintiff to court regarding         0.20           $42.00    586
 ADA complaint?         Vesco hearing, hearings on Motion for Reconsideration, Motion to
                        Quash, and Americans with Disabilities Act grievance complaint.
                                                                                                                        587
     4/26/2023    CBA   Review and reply to email from counsel for Farmers Insurance          0.10           $21.00
                        E'xchange regarding plaintiffs request to the court to set a Vesco
ADA ADMin               hearing.
                                                                                                                        588
     4/26/2023    CBA   Receipt and review of email from plaintiff regarding                  0.20           $42.00
ADA Admin               documentation in support of her request for Vesco hearing,
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 332 of 801




                                     McNamara, Ambacber, Wheeler, Hirsig & Gray LLP

         Farmers Insurance                                                                                  Invoice 92484
         Re: Bernstein v. Meadow Brook Village HOA                                                                 Page 4

        Date        Atty   Description                                                             Hours         Amount

                           including review of attached medical records from her doctor's
                           regarding limitations for attendance at hearings,

        4/26/2023 CBA Receipt and review of voluminous exhibits to plaintiffs First
                                                                                                                             589
                                                                                                    3.20          $672.00
                      Amended Complaint (301 pages),
                                                                                                                             590
        4/27/2023   CBA    Review and reply to email from judge regarding ruling on plaintiffs      O.IO           $2\.00
                           request for ADA accommodation and. hearing on plaintiffs Motion
                           for Reconsideration.

        4/27/2023 CBA Receipt and review of the Court's Tentative Ruling on plaintiffs              0.30           $63.00    591
                      Motion for Reconsideration of the order granting defendants'
                      Motion for Sununary Judgment.
                                                                                                                             592
        4/27/2023 CBA Draft email to carrier regarding the Com1's Tentative Ruling on               0.30           $63.00
                      plaintiffs Motion for Reconsideration of the order granting
                      defendants' Motion for Summary Judgment, plaintiffs request to
                      the ADA coordinator regarding special accommodations, service
                      of plaintiffs First Amended Complaint, and fmther handling.

        4/27/2023 CBA Review and reply to emails from counsel for Farmers Insurance                 0.20            $42.00    593
                      Exchange regarding the Court's Tentative Ruling on plaintiffs
                      Motion for Reconsideration of the order granting defendants 1
                      Motion for Summaty Judgment.

       4/27/2023 CBA Receipt and review of email from plaintiff regarding Vesco                      0.20           $42,00    594
                     hearing including review of attached doctor's note.
ADMin Vesco
        4/27/2023 CBA      Receipt and review of emails from plaintiff regarding notice of           0.20           $42.00   595
                           intent to appear and contest the court's tentative ruling denying
 ADMin vesco               plaintiffs Motion for Reconsideration, and issue regarding need for
                           Vesco hearing to address hearing schedule.
                                                                                                                             596
        4/27/2023 CBA Prepare for oral argument at hearing on plaintiffs Motion for                  2.10          $441.00
                      Reconsideration of the order granting defendants' Motion for
                      Summa1y Judgment, including review of plaintiffs motion and
                      reply brief, and supporting declarations and exhibits.
                                                                                                                              597
      4/27/2023 CBA Prepare Judgment in favor of defendants Associa Northern                         0.60          $126,00
  JUDGMENT          California, Meadow Brook Village Association - Fremont, and
                    Massingham Associates, and dismissal with prejudice.

                                                                                                                    $63.00
                                                                                                                              598
        4/27/2023   CBA    Receipt and review of email from plaintiff regarding her sister's         0.30
                           inability to testify as a witness at the hearing on plaintiffs Motion
   ADMIN                   for Reconsideration, including review of'attached supporting
                           medical records of plaintiffs sister.
         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 333 of 801




                                 McNamara, Ambachcr, Wheeler, Hh'sig & Gray LLP

     Farmers Insurance                                                                                      Invoice 92484
     Re: Bernstein v. Meadow Brook Village HOA                                                                     Page 5

               Atty    Description                                                           Hours               Amount

   4/27/2023   CBA     Ful'ther review of voluminous exhibits to plaintiffs First Amended        4.30             $903.00    599
                       Complaint (470 pages).

   4/28/2023   CBA     Attend Vesco hearing regarding plaintiffs request for ADA                 1.20             $252.00    600
 ADMIN                 acomodations, including discussions regarding hearing on plaintiffs
                       Motion for Reconsideration of the order granting defendants1
                       Motion for Summary Judgment, via remote video conference.
                                                                                                                             601
   4/28/2023   CBA     Review and reply to email from ca1rier regarding Vesco hearing            0.20              $42.00
                       regarding plaintiffs request for ADA acomodations and hearing on
                       plaintiffs Motion for Reconsideration of the order granting
ADmin vesco            defendants' Motion for Summary Judgment
                                                                                                                             602
   4/28/2023   CBA     Continue and complete review of voluminous exhibits to plaintiffs         I.IO              $231.00
                       First Amended Complaint (125 pages).
                                                 TOTAL LEGAL SERVICES.                       36,20              $7,602.00

                                             LEGAL SERVICES SUMMARY
          Name                                                   Hours                       Rate/Hour            Amount
     Clu·istopher B, Allard                Partner                36.20                            210.00        $7,602.00
                                                              TOTAL             36.20                           $7,602.00

                                   Total Fees nnd Disbursements                      $7,602.00
                                   TOTAL CURRENT CHARGES                             $7,602.00
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 334 of 801




                                        McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                      Attorneys at Law
                                               3480 Buskirk Avenue, Suhe 250
                                                   Pleasant Hill, CA 94523
                                                            (925) 939-5330
                                                       FED. ID. NO. XX-XXXXXXX

       Farmers Insurnnce                                                                                          June 12, 2023
       Attn: Corey Braun                                                                                         Invoice 92842
       P.O. Box 268994                                                                                    Matter ID: FRM-1837
       Oklahoma Chy, OK 73126-8994                                                                        Christopher B. Allard
                                                                                                                        Page 2



       Re:Bernstein v. Meadow Brook Village HOA
       Insured: Meadow Brook HOA and Association Northern California and Mas
       Claim No: 5005612246-1-2
                                             For Services Rendered Through 5/31/2023




                                                           LEGAL SERVICES
        Date       Atty    Description                                                            Hours              Amount

        5/01/2023 CBA      Receipt and review of Union Bank's Opposition to plaintiffs             0.60                $126.00    603
                           second motion for an order compelling compliance with subpoena
                           to produce clients 1 banking records, including review of supporting
                           declaration with exhibits.

        5/01/2023 CBA      Prepare stipulation of the parties to extend deadline to file           0.80                $140.00    604
                           responsive pleading after order on plaintifrs Motion for
                                                                 1
                           Reconsideration, pur""'uai1: to ·ud   s instructio ,
Eumi Lee directed favorable stipulation to                              ar
                                                                                                                                  605
        5/01/2023 CBA      Receipt and review of emails from plaintiff regarding request for       0.30                 $63.00
                           stipulation to continue Case Management Conference, including
                           review of attached medical records and proposed stipulation.
                                                                                                                                  606
        5/01/2023 CDA      Review and reply to email from counsel for Union Bank regarding         0.20                 $42.00
                           plaintiffs second motion for an order compelling compliance with
                           subpoena to produce client's banking records, appearance at
                           hearing. and request for plaintifrs undel'lying motion.

        5/01/2023 CBA      Receipt and review of plaintiffs second motion for an order             2.40                $504.00     607
                           compelling Union Bank's compliance with subpoena to produce
                           clients• banking records, including review of suppotting declaration
                           and exhibits (287 pages).

        5/01/2023 CBA      Receipt and review of email from plaintiff to Judge and ADA             0.40                 $84.00    608
                           coordinator regarding request for Vesco hearing regarding
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 335 of 801




                                      McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

         Farmers Insurance                                                                                  Invoice 92842
         Re: Bemstein v. Meadow Brook Village HOA                                                                  Page 3

                  Atty   Description                                                               Hours         Amount

                         disability accommodations and request for continuance of Case
                         Management Conference and hearing on plaintiffs Motion to
                         Compel Union Bank's compliance with records subpoena,
                         including review of attached supporting docutnentation from
                         plaintiff.

       5/01/2023 CBA Draft email to plaintiff, Judge and ADA coordinator whh                        0.30           $63,00    609
no formal objections objections to plaintiffs request for disability accommodations and
just emails to judge     request for continuance of Case Management Conference,

       5/01/2023 CBA     Prepare proposed order on stipulation of the parties to extend             0.30            $63.00    610
                         deadline to file responsive pleading after order on plaintiffs Motion
                         for Reconsideration.
    Eumi Lee pushed this stipulation on Plainitff in hearing
       5/02/2023 CBA Attend conference with carrier regarding case status including                  0.80          $168,00    611
                     discussions regarding plaintiffs First Amended Complaint.
                     Demurrer, Motion to Strike, Case Management Conference,
                     expert witnesses, Mandatory Settlement Conference and Trial.

                                                                                                                    $21.00
                                                                                                                               612
       5/02/2023 CBA Receipt and review of email from plaintiff to judge regarding                   0.10
                     request for continuance of Case Management Conference.

       5/02/2023 CBA     Draft email to plaintiff regarding stipulation of the parties to extend                    $21.00   613
                                                                                                     0.10
                         deadline to file responsive pleading after order on plaintiff1s Motion
                         for Reconsideration.

       5/03/2023 CBA Review and reply to email from plaintiff regarding stipulation to               0.20           $42.00    614
                     extend deadline for defendants to ftle and serve responsive
                     pleading to plaintiffs First Amended Complaint, including review
                     of stipulation executed by plaintiff.

        5/04/2023 CBA     Prepare for Case Management Conference, inclnding review of                0.30           $63,00   615
                          file.
                                                                                                                              616
        5/04/2023 CBA     Receipt and review of the court's Tentative Case Management                0.20           $42.00
                          Order.
                                                                                                                             617
        5/04/2023 CBA     Receipt and review of the court's tentative 1·uling regarding              0.20           $42.00
                          plaintiffs motion for an order compelling Old North State Trust to
                          comply with plaintiffs deposition subpoena.

                                                                                                                    $42.00
                                                                                                                              618
        5/04/2023 CBA     Receipt and review of the com11s tentative ruling on Farmers 1             0.20
                          Insurance Exchanges' motion to quash service of summons and
                          motion to dismiss.
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 336 of 801




                                      McNamara, Ambacher, Wheeler, llirsig & Gray LLP

         Farmers Insurance                                                                                   Invoice 92842
         Re: Bernstein v. Meadow Brook Village HOA                                                                  Page 4

        Date        Atty   Description                                                                            Amount

        5/05/2023 CBA      Prepare defendants' detailed Case Management Conference                    0.80         $168.00    619
                           statement, including issues regarding the case not being at issue,
                           no operative complaint, demurt'er, motion to strike, request to
                           vacate trial, and issue regarding plaintiffs lack of service of filings.
 no motions to vacate, strike just oral or emails to court which judge indulges always
                                                                                                                              620
       5/05/2023 CBA Receipt and review of the Com1's Order on plaintiffs Motion for                  0.20          $42.00
                          Reconsidemtion and Vesco hearing.

        5/08/2023 CBA      Receipt and review of the com1's Case Management Order.                    0.20          ,M2.oo    621

        5/08/2023 CBA      Receipt and review of the court's order on Farmers Tnsurance               0.20           $42.00    622
                           Exchange's Motion to Quash Service of Summons, and to dismiss.

        5/08/2023 CBA    Receipt and review of the court's order on plaintiffs Motion for  0.1 0            $21.00            623
                         Ord~1: to hold Old North State Tr~st in Cont1>cmPt.     .                     .
    Court determined for Old North State out of state suopoena - ~ra party dtd not need to appear embroilment
        5/10/2023 CBA      Receipt and review of emails from plaintiff to judge regarding             0.20           $42.00    624
                           notice of intent to appear and contest the court's tentative ruling on
                           her Motion for Reconsideration.
                                                                                                                              625
        5/11/2023 CBA      Receipt and review of the com1's amended tentative ruling on               0.20           $42.00
                           plaintiffs Motion for Reconsideration.
tentative rulings always favorable to defendants always
         5/11/2023 CBA Prepare for oral argument at continued hearing Oil plaintiffs                                $294.00   626
                           Motion for Reconsideration of the court:1s order granting
                           defendants' Motion for Summary Judgment, including review and
                           analysis of additional arguments and documents referenced by
                           plaintiff in her notice of contesting the court's tentative ruling,

        5/12/2023 CBA      Attend continued hearing Oil plaintiffs Motion for Reconsideration         1.30          $273.00    627
                           of the court1s order granting defendants' Motion for Summary
                           Judgment, via Zoom video conferencing.

        5/12/2023 CBA      Prepare defendants' Opposition to plaintiffs Motion to Disqualify          2.40          $504.00   628
                           Opposing Counsel.

        5/12/2023   CBA    Prepare declaration in support of defendants' Opposition to                0.60          $126.00   629
                           plaintiffs Motion to Disqualify Opposing Counsel.

        5/16/2023   CBA    Prepare defendants' Demand for Exchange of Expert Witness                  0.30           $63.00   630
                           Information.

        5/18/2023 CBA      Receipt and review of the court's Tentative Ruling on plaintiffs           0.20           $42.00    631
                           second motion for an order compelling Union Bank1s compliance
                           with subpoena.
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 337 of 801




                                      McNamam., Ambacher, Wheeler, Hirsig & Gmy LLP

      Farmers Insurance                                                                                  Invoice 92842
      Re: Bernstein v. Meadow Brook Village HOA                                                                Page 5

     Date        Atty    Descri(1tion                                                                          Amount

     5/18/2023   CBA     Receipt and review of plaintiffs notice of intent to appear and         0.10           $21.00    632
                         contest the court's Tentative Ruling on plaintiffs second motio11 for
                         an order compelling Union Bank1s compliance with subpoena.

     5/18/2023   CBA Prepare for oral argument at hearing on plaintiffs second motion            0.40            $84.00   633
                     for an order compelling Union Bank's compliance with subpoena
                     to produce clients' banking records, including review of file,
                     plaintiffs motion, and Union Banks' Opposition.
                                                                                                                          634
     5/19/2023   CBA Attend hearing on plaintiffs second motion for an order compelling          0.80           $168.00
                     Union Bank's compJiance with subpoena 1o produce clients          1


                     banking records, via Zoom video conference.
bank attorneys were there to argue case christopher did not need to attend
     5/19/2023   CBA Prepare defendant's Amended Case Management Confernnce                      0.70           $147.00
                                                                                                                           635
                     statement, pursuant to Case Management Order from court
                     requesting to know whether case is at issue and as to which
                     defendants, discovery stah1s, status of Alternative Dispute
                     Resolution, and readiness for Mandatory Settlement Conference
                         and Trial.

     5/19/2023   CBA     Prepare attachment to defendants' Case Management Conference            0.80           $168.00    636
                         statement, including detailed chart regarding the status of each.of
                         the thfrty-eight defendants, responsive pleadings including
                         demurrer and motion to strike, and pending motions, pursuant to
                         judge's Order.
       Judge(s) assisting directing defense counsel repeatedly in case
     5/19/2023 CBA Receipt and review o:f notice of continued hearing on plaintiffs              0. 10           $21.00    637
                         second motion for an order compelling Union Bank's compliance
                         with subpoena to produce clients 1 banking records.

     5/19/2023   CBA     Receipt and review of Wells Fargo Bahk.1s opposition to plaintiffs      0.60           $126.00    638
                         second motion for an order compelling Well Fargo Bank's
                         compliance with subpoena, including review of supporting
                         declaration with exhibits.

     5/19/2023    CBA Draft email to counsel for Wells Fargo Bank regarding plaintiffs           0.10            $21.00
                                                                                                                          639
                      second motion for an order compelling Well Fargo Bank's
                      compliance with subpoena, and notice of intent to appear and
                      oppose plaintiffs motion, which was not served upon our firm.

     5/20/2023    CBA    Receipt and review of plaintiffs second motion for an order             0.30            $63.00    640
                         compelling Well Fargo Bank's compliance with subpoena.

     5/20/2023    CBA    Review and reply to emails from counsel for Wells Fargo Bank            0.20            $42.00   641
                         regarding plaintiff's second motion for an order compelling Well
                         Fargo Bank's compliance with subpoena, and similar motion


                 all duplicative billings third party banks had counsel attending and preparation objections
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                                     McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

       Farmers Insurance                                                                                 Invoice 92842
       Re: Bernstein v. Meadow Brook Village HOA                                                                Page 6

                   ~     Description                                                                          Amount

                         brought by plaintiff against Union Bank.

     5/22/2023     CBA   Telephone conference with counsel for Wells Fargo Bank                  0.40           $84.00     642
                         regarding plaintiffs second motion for an order compelling Well
                         Fargo Bank1s compliance with subpoena for production of our
                         client's banking records.
                                                                                                                           643
      5/24/2023    CBA   Receipt and review of email from plaintiff to Judge preemptively        0.20            $42.00
                         contesting the court's rnling on her Motion to Disqualify Opposing
                         Counsei including review of attached doctor's note.

      5/25/2023    CBA   Receipt and review of the court's tentative Case Management             0.20            $42.00     644
                         Order.

      5/25/2023    CBA Receipt and review of the court's tentative ruling on plaintiffs      0.20                $42.00    645
                        Motion to D,isqualify Op2_osipg_Counsel. .                  .     .
Conflict defense counsel representing Kaiser, l-'la11111ff and family doctors medical providers                            646
      5/25/2023    CBA    Prepare for oral argument at hearing on plaintiffs Motion to           0,60           $126.00
                          Disqualify Opposing Counsel, including review of plaintiffs moving
                          papers. Defense counsel never disclosed entire case

      5/25/2023    CBA     Prepare for Case Management Conference in order to discuss            0.40            $84.00    647
                           numerous pending issues outlined by judge in her tentative ruling,
                           including review of file.
                     ex parte to judge nudging to look at issues
      5/25/2023    CBA Receipt and review of emails from plaintiff to Judge contesting the       0.20            $42.00    648
                           court's tentative ruling on her Motion to Disqualify Opposing
                           Counsel, and tentative Case Management Order.

      5/26/2023    CBA     Attend hearing on plaintiffs Motion to Disqualify Opposing             1.10          $231.00     649
                           Counsel, via Zoom video conferencing,

                                                                                                  0.60           $126.00    650
      5/26/2023    CBA     Attend Case Management Conference, via Zoom video
                           conferencing.
                                                                                                                            651
      5/26/2023    CBA     Telephone conference with carrier regarding updates regarding          0.30            $63.00
                           hearing on plaintiffs motion to disqualify opposing counsel, and
                           Case Management Conference including issue regarding vacated
                           trial, Mandatory Settlement Conference, pending ruling on plaintiff
                           Motion for Reconsideration, and anticipated Demmrer and Motion
                           to Strike.

                                                                                                  0.10            $21.00   652
       5/26/2023   CBA     Draft email to carrier regarding Mandatory Settlement
                           Conference.
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 339 of 801




                               McNamara, Ambacher, Wheeler, Hitsig & Gray LLP

  Farmers Insurance                                                                                    Invoice 92842
  Re: Bernstein v, Meadow Brook Village HOA                                                                   Page 7

 Date        Atty   Description                                                                               Amount

 5/31/2023 CBA      Receipt and review of the cout1's Tentative Ruling on plaintifrs          0.20                 $42.00   653
                    motion for an order compelling Old N01th State Trust's compliance
Judge refusal to ortl1/fhc'il!1W,'llilli'ce discovery or enforce third parites and defendants vacating defaults
 5/31/2023   CBA    Receipt and review of detailed email from plaintiff contesting the        0,30                 $63,00    654
                    court's Tentative Ruling on plaintiffs motion for an order
                    compelling Old North State Trust's compliance with subpoena.

 5/31/2023   CBA    Preparn for oral argument at hearing on plaintiffs motion for an          0,70                $147,00   655
                    order compelling Old North State Trust's compliance with
                    subpoena to produce clients' banking records, and continued
                    hearings on plaintiffs motions for an order compelling Union Bank
                    and Wells Fargo1s compliance with subpoena, including review of
                     file,

                                              TOTAL LEGAL SERVICES                        25,10             $5,243.00

                                          LEGAL SERVICES SUMMARY
        Name                                                  Hours                       Rate/Hour           Amount
   Christopher B. Allard                Partner                 0,80                         175.00            $140.00
   Christopher B. Allard                Partner                24.30                         210.00           $5,103.00
                                                            TOTAL            25.10                           $5,243.00

                                                  DISBURSEMENTS
Date         Descl'iption                                                                                         Amount
5/2/2023     Record Fee; To obtain records at Public Portal Alameda Superior Court                                 $12.00
             on 04/22/23, Celeste Visa, paid to; First National Bank of Omaha
                                                                    Total Disbursements                            $12,00

                                           DISBURSEMENTS SUMMARY
   Descl'iption                                                                                                   Amount
   Record Fee                                                                                                      $12.00
                                                                                       TOTAL                       $12,00

                                 Total Fees nnd Disbnrsements                     $5,255.00
                                 TOTAL CURRENT CHARGES                            $5,255.00
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 340 of 801




                                McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                              Attorneys at Law
                                       3480 Buskkk Avenue, Suite 250
                                           Pleasant Hill, CA 94523
                                                     (925) 939-5330
                                              FED. ID. NO. XX-XXXXXXX

Farmers Insurance                                                                                           July 26, 2023
Attn: Corey Braun                                                                                         Invoice 93428
P.O. Box 268994                                                                                    Matter JD: FRM-1837
Oklahoma City, OK 73126-8994                                                                       Christopher B. Allard
                                                                                                                  Page 2



Re:Bernstein v. Meadow Brook Village HOA
Insured: Meadow Brook HOA and Association Northern California and Mas
Claim No: 5005612246-1-2
                                     For Services Rend..-ed Through 6/30/2023




                                                    LEGAL SERVICES
 Date      Atty     Description                                                            Hours               Amount

6/02/2023 CBA                                                                                                   $336.00
                                                                                                                            656
                    Attend hearings on plaintiffs' three motions for an order compelling    1.60
                    Union Bank, Wells Fargo, and Old Nmth State Trust to comply
                    with plaintiffs records subpoenas to obtain client's banking
                    records, via Zoom video conference.
                                                                                                                            657
 6/09/2023 CBA      Receipt and 1·eview of the court's Order denying plaintiffs Motion      0.20                 $42.00
                    for an Order Compelling Old North State Trust to Comply with
                    Deposition Subpoena to obtain our clients' bank records.
                                                                                                                            658
6/09/2023 CBA       Receipt and review of the court's Order denying plaintiffs Motion       0.20                 $42.00
                    for an Order Compelling Union Bank to Comply with Deposition
                    Subpoena to obtain our clients 1 bank records.
                                                                                                                            659
 6/23/2023 CBA      Receipt and review of plaintiffs detailed Mandatory Settlement          2.60                $546.00
                    Conference Statement (187 pages).
                                                                                                                            660
 6/24/2023 CBA      Draft email to carrier regarding plaintiffs Mandatory Settlement        0.10                 $21.00
                    Conference Statement, plaintiffs demand, and need for
                    defendants' settlement offer.
                                                                                                                            661
 6/24/2023 CBA      Prepare defendants 1 Mandatory Settlem~nt Conference statement.         3.60                $756.00

 6/26/2023 CBA      Conference with carrier regarding Mandatory Settlement                  0.50                $105.00     662
                    Conference, including discussion regarding injunctive relief,
                    settlement offel', status of pleadings, Order to Show Cause issued
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                                  McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

      Fanners Insurance                                                                                    Invoice 93428
      Re: Bernstein v. Meadow Bmok Village HOA                                                                    Page 3

                Atty    Description                                                                             Amount

                      to plaintiff, and pending order on plaintiffs Motion for
                      Recons'jderat!'on.
           Judge claimed cou d no read the FAC yet struck complaint       • state d •,t d'd  t    1
                                                                                         I no comp Y

     6/26/2023 CBA Draft email to carrier regarding Order lo Show Cause issued to               0. 10             $21.00    663
                   plaintiff, and authorhy for settlement offer to plaintiff.

     6/26/2023 CBA Receipt and review of the court's Order denying plaintiffs Motion            0,20              $42.00    664
                        for Reconsideration.

     6/26/2023 CBA Draft email to carrier the court's Order denying plaintiffs Motion           0.30              $63.00     665
                   for Reconsideration, and issues regarding plaintiffs potential for
                   appeal and judgment.

     6126/2023 CBA Further preparation of Judgment to include recovery of attorney's     0,60              $126.00     666
                       fees Wld cos/s pursuant to motion.
admin recreation of Luanne Kuther ora QIIIS ana costs     personal injury matter email insurer to waive costs and fees
     6/26/2023 CBA Review of plaintiffs original Complaint and the twelve causes of             0.60              $126.00   667
                   action and evaluate ability to seek recovery of attorney1s fees from
                   plaintiff as to the HOA and property manager.

     6/2712023 CBA      Legal research regarding recovery of costs as prevailing party          1.20              $252.00   668
                        pursuant to order granting Motion for summary Judgment.
personal injury matter
     6/2712023 CBA Legal research regarding judgment to include an award of                     1.80              $378.00   669
                        attorney's fees pursuant to motion as prevailing party under the
personal injury matter Davis-Sterling Act.

     6/27/2023 CBA Prepare for attendance at Mandatory Settlement Conference,                   1.60              $336.00   670
                   including review of ftle,
                                                                                                                             671
     6/27/2023 CBA Draft email to carrier regarding seeking recovery of costs as                0.30               $63.00
                        prevailing party and motion for attorney1s fees pursuant to
                        California Civil Code.

     6/28/2023 CBA      Review and reply to email from carrier regarding litigation costs in    0.10               $21.00    672
                        preparation of Mandatory Settlement Conference.

     6/28/2023 CBA      Attend Mandatory Settlement Conference, via Zoom video                  1.80              $378.00   673
                        conferencing,
                                                    TOTAL LEGAL SERVICES                       17.40           $3,654.00

                                                 LEGAL SERVICES SUMMARY
            Name                                                     Hours                     Rate/Hour         Amount
       Christopher B. Allard                   Partner                            17.40           210.00        $3,654.00
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 342 of 801




                             McNamam, Ambachcr, Wheeler, Hirsig & Gmy LLP

  Fanners Insurance                                                                               Invoice 93428
  Re·: Bernstein v. Meadow Brook Village HOA                                                              Page 4

       Name                                                               Hours       Rate/Hour         Amount
                                                         TOTAL            17.40                       $3,654.00

                                                D!SB URSEMENTS
Date       Description                                                                                  Amount
6/5/2023   Record Feei To obtain proof of service for records at Public Portal                             $1.00
           Alameda County Court on 05/02/23, Celeste Visa, paid to; First National
           Bunk of Omaha
6/5/2023   Record Fee; To obtain plaintiffs second motion compelling union bank                            $7.50
           to comply for records at Public Portal Alameda County Court on
           05/02/23, Celeste Visa, paid to; First National Bank of Omaha
6/5/2023   Record Fee; To obtain copy of substitution of attorney at Public Portal                         $3.00
           Alameda County Court on 05/09/23, Celeste Visa, paid to; First National
           Bank of Omaha
6/5/2023   Record Fee; To obtain copy of court's order regarding CMC at Public                             $4.00
           Portal Alameda County Court on 05/09/23, Celeste Visa, paid to; First
           National Bank of Omaha
6/5/2023   Record Fee; To obtain copy of court's order regarding hearing on                                $8.50
           motion at Public Portal Alameda County Court on 05/09/23, Celeste
           Visa, paid to; First National Bank of Omaha
                                                                 Total Disbursements                     $24.00

                                         DISBURSEMENTS SUMMARY
  Description                                                                                           Amount
  Record Fee                                                                                              $24.00
                                                                                   TOTAL                 $24.00

                               Total Fees and Disbursements                    $3,678.00
                               TOTAL CURRENT CHARGES                           $3,678.00
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 343 of 801




                                        McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                                      Attorneys at Law
                                               3480 Buskirk Avenue, Suite 250
                                                   Pleasant Hill, CA 94523
                                                         (925) 939-5330
                                                    FED. ID. NO. XX-XXXXXXX

      Farmers Insurance                                                                                   August 21, 2023
      Attn: Corey Braun                                                                                     Invoice 94062
      P.O. Box 268994                                                                                Matter ID: FRM-1837
      Oklahoma City, OK 73126-8994                                                                   Christopher B. Allard
                                                                                                                  Page 2



      Re:Bemstein v. Meadow Brook Village HOA
      Insured: Meadow Brook HOA and Association Northern California and Mas
      Claim No: 5005612246-1-2
                                           For Services Rendered Through 7/31/2023




                                                        LEGAL SERVICES
        Date       Atty   Description                                                        Hours              Amount

       7/06/2023   CBA    Prepare letter to judge regarding proposed Judgment, pursuant to    0.30                 $63.00    674
                          court's order granting defendants Associa Northern California)
 nudging court
                          Meadow Brook Village Association - Fremont and Massingham
                                                                        1

                          Associates' Motion for Summary Judgment.

       7/07/2023   CBA    Receipt and review of email from plaintiff including review of      0.70                $147,00    675
                          attaclunent with partial exhibits to her First Amended Complaint
                          (74 pages),

       7/13/2023   CBA    Receipt and review of plaintiffs objection to order denying her     0.60                $126.00     676
                          motion for reconsideration, objection to defendantS 1 proposed
                          judgment, and second motion for rec011..~ideration,

       7/13/2023   CBA    Receipt and review of plaintiffs objections to defendant1s          0,30
                                                                                                                              677
                                                                                                                   $63.00
                          proposed judgment.

       7/24/2023   CBA                                                                        OdO                  ~
                                                                                                                              678

John Gibson
       7/28/2023   CBA    Review and rely to email from carrier regarding file-endorsed       0.20                 $42.00     679
                          Judgment in favor of defendants Associa Northern California,
                          Meadow Brook Village Assqciation - Fremont, and Massingham
                          Associates, including a dismissal of these parties,

       7/28/2023   CHA    Prepare Notice of Entry of Judgment.                                0,10                 $21.00    680
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 344 of 801




                                 McNamara, Ambacher, Wheeler, Hirsig & Gray LLP

    Farmers Insurance                                                                                     Invoice 94062
    Re: Bernstein v. Meadow Brook Village HOA                                                                   Page 3

                Atty   Description                                                           Hours             Amount

   7/28/2023    CBA    Draft email to carrier regarding need for information in support of        0.10              $21.00   681
                       Memorandum of Costs.

   7/31/2023    HCD    Review file in preparation of Memorandum of Costs summary and              0.50              $50.00    682
                       worksheet, including review of breakdown of costs;

   7/31/2023    CBA    Receipt and review of order from court regarding ,·enotice of              0.10              $21.00   683
                       Order to Show Cause to plaintiff regarding striking her First
                       Amended Complaint.
no formal motions; judge claimed could not TOTAL LEGAL SERVICES                        3.10           $596.00
read instead of obtaining massive FAG from
Information technology department access to FAG• strikes FAG requiring plaintiff to file SAC· embroilment only requests
emails from defense for judge to comply LEGAL SERVICES SUMMARY
           Name                                                      Hours           Rate/Hour        Amount
      Christopher B. Allard            Partner                         2.60              210.00        $546.00
      Heidi C. DiUmer                  Paralegal                       0.50               100.00        $50.00
                                                               TOTAL             3.10                           $596.00


                                                     DISBURSEMENTS
   Date         Description                                                                                     Amount
   7/7/2023     Record Fee; To obtain court records at Public Portal Alameda County                                  $4.00
                Cmnt on 06/23/23, Lhamo Visa, paid to; First National Bank of Omaha
                                                                       Total Disbursements                           $4.00

                                              DISBURSEMENTS SUMMARY
     Description                                                                                                Amount
     Record Fee                                                                                                   $4.00
                                                                                        TOTAL                        $4.00

                                   Total Fees and Disbursements                         $600.00
                                    TOTAL CURRENT CHARGES                               $600.00-   .!r 55'1_ CJ u
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 345 of 801




                                McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
                                               Attorneys at Law
                                       3480 Buskirk Avenue, Suhe 250
                                           Pleasant Hill, CA 94523
                                                    (925) 939-5330
                                               FED. ID. NO. XX-XXXXXXX

Farmers Insurance                                                                               September 7, 2023
A tin: Corey Braun                                                                                   Invoice 94389
P.O. Box 268994                                                                               Matter ID: FRM-1837
Oklahoma C~y, OK 73126-8994                                                                   Christopher B. Allard
                                                                                                            Page 2



Re:Bernstein v. Meadow Brook Village HOA
Insured: Meadow Brook HOA and Association Northern California and Mas
Claim No: 5005612246-1-2
                                    For Services Rendered Through 8/31/2023




                                                  LEGAL SERVICES
 Date       Atty   Description                                                        Hours              Amount

8/01/2023   HCD    Review numerous costs documents in preparation of draft             1.50               $150.00     684
                   Memorandum of Costs summary for attorney review before filing.

8/09/2023   HCD    Prepare draft of Memorandum of Costs summary and worksheet                                         685
                                                                                       1.40               $140.00
                   for attorney review.

                                                                                                                      686
8/14/2023   CBA    Further preparation of Memorandum of Costs summary,                 1.20               $252.00
                   supporting worksheet, and exhibits.
                                                                                                                      687
8/23/2023   CBA    Receipt and review of plaintiffs Notice of Motion and Motion to     0.40                $84.00
                   Tax Costs, with exhibits.

8/23/2023   CBA    Receipt and review of plaintiffs Partial Response to the Comi's     3.40               $714.00     689
                   Order to Show Cause regarding striking of her First Amended
                   Complaint (325 pages).
                                                                                                                       690
8/25/2023   CBA    Receipt and review of plaintiffs combined Motion for                3.20               $672.00
                   Reconsideration of order denying her motion for reconsideration,
                   and motion to vacate order granting defendants 1 Motion for
                   Summary Judgment, including review of exhibits (348 pages,
                   partially illegible),

8/31/2023   CBA    Draft email to carrier regarding plaintiffs Motion to Tax Costs,    0.50                $105.00     691
                   Partial Response to the Court's Order to Show Cause regarding
                   striking of her First Amended Complaint including references to
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Exhibit F
7 Be still before the Lord
  and wait patiently for him;
do not fret when people succeed in
their ways,
  when they carry out their wicked
schemes.
8 Refrain from anger and turn from
wrath;
  do not fret-it leads only to evil.
9 For those who are evil will be
destroyed,
  but those who hope in the Lord will
inherit the land.
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EXHIBIT G

The Beast out of the Earth

11 Then I saw a second beast, coming out of the earth. It had two horns
like a lamb, but it spoke like a dragon. 12 It exercised all the authority of
the first beast on its behalf, and made the earth and its inhabitants
worship the first beast, whose fatal wound had been healed. 13 And it
performed great signs, even causing fire to come down from heaven to
the earth in full view of the people. 14 Because of the signs it was given
power to perform on behalf of the first beast, it deceived the
inhabitants of the earth. It ordered them to set up an image in honor of
the beast who was wounded by the sword and yet lived. 15 The second
beast was given power to give breath to the image of the first beast, so
that the image could speak and cause all who refused to worship the
image to be killed. 16 It also forced all people, great and small, rich and
poor, free and slave, to receive a mark on their right hands or on their
foreheads, 17 so that they could not buy or sell unless they had the
mark, which is the name of the beast or the number of its name.



18 This calls for wisdom. Let the person who has insight calculate the
number of the beast, for it is the number of a man.[e] That number is
666.
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 1     MARY BERNSTEIN, MSAJS
       3416 Deerwood Terrace, #113                                 DEC 1 5 2022
 2
       Fremont, CA 94536
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 3     Email: mbernsteinpurple@hotmail.com
       (510) 938-6280                                   By_   --IE::··<:Jhee·-·-·--- Depu!;
 4     Plaintiff Pro Se
 5
                                   SUPERIOR COURT OF CALIFORNIA
 6
                                             COUNTY OF ALAMEDA
 7
       MARY BERNSTEIN,                                 Case No.     HG 188973 81
 8

 9             Plaintiff,
10             vs.
11
       ASSOCIA NORTHERN CALIFORNIA, a
12     California Corporation MEADOW BROOK
       VILLAGE ASSOCIATION, a California
13     Corporation, MASSINGHAM &
14
       ASSOCIATES, a California Corporation;
       JOHN DOE 1-50; MARY ROE 1-50; XYZ
15     CORP 1-50; ABC LLC 1-50; The names of
       the "John Doe 1-50" "Mary Roe 1-50", "XYZ
16     Corp, 1-50", and "ABC LLC, 1-50",
17
       defendants being fictitious, and unknown to
       the Plaintiff, Amy DeJesus, William
18     Schneider, Rohit Varicatt. Michael Durbin,
       Vipul Ramani, Virendra Dhavale, Romulo
19                                                     JURY TRIAL DEMANDED (JURY FEES
       Zafra, Ashok Agarwal, Charlie West, Estate o
20     Charlie West, Estate of Charlie West Laurie     PAID
       Sheaffer, Jill Buono, Sharon Daly, Linda
21     Kramer, Marv Fryman, Susan Condio-
       Hernandez, Jeffrey Lowery, Belinda
22
       Hollingsworth, LeAnne Ritter, Lee Molignoni,
23     Laurie Sheaffer, Elizabeth (Liz) Hall, Warren
       Hollingsworth, Jerry Cosentino, COMMON
24     INTEREST MANAGEMENT HOLDINGS
       LLC, a limited liability company, John
25
       Gibson, Mona Oliver, Derc Yamasaki,
26     Joaquin Rivera, Warwick Hoyle, Jacob
       Rivera, Che Saeturn Tanjoco, Chandan
27     Sheath, Dawn Aquilina, Ma,·k Simonson,
       Gurnoor Judge, Tilak D. Hodge, Geraldine
28




       Disabled Plaintiff Mary Bernstein's First Amended Complaint 1215 2022-1-
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      Linares, CONDOMINIUM FINANCIAL
 1
      MANAGEMENT, INC., FARMERS
 2    INSURANCE EXCHANGE, a California
      Interinsurance Exchange; Richard A. Fong,
 3    Jr., Bay Area Property Services, Inc., BJ         o--eanskie CaliTom\a Mary and baby b1o\he1 Frankie Jl the homeless shelter
                                                        playpen Frankie Oceansk!e cal~olll\3 1980,1962.
      Management Solutions, COMMON
 4
      INTEREST MANAGEMENT HOLDINGS
 5    LLC dba Common Interest Management
      Services, Daisy Zafra et al.,
 6

 7
             Defendants.
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12
                                                       Age 13 raising little brother Frankie
13

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24                                                     Age 17 raising disabled little sister Beth with Mother

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      Disabled Plaintiff Mary Bernstein's First Amended Complaint 12 15 2022- 2 -
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 9                                                   Beloved Disabled Late Mother hospitalized
10
                                                     that Farmers Insurance and Meadow
                                                     Brook HOA Defendants prevented me
11                                                   from seeing a final time 2021 opposing stay
                                                     of proceedings terminally ill Mother
12
                                                     Volatile complex wherein she could not be
13                                                   here with me due to breach of fiduciary
                                                     duty by mulltiple defendants
14

15

16

17

18

19

20

21

22
                                                     Beloved Late Mother 2021 HOA President
23                                                   Geraldine Linares President
24
                                                     misrepresentations concerning stay, financing
                                                     prevention of stay to assist Mother Disabled
25                                                   Sister Elizabeth lives here traumatized
                                                     hospitalized
26

27

28




     Disabled Plaintiff Mary Bernstein's First Amended Complaint 12 15 2022- 3-
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 1

 2

 3

 4
                                                     Elrond Bernstein cat; John terminally ill
 5                                                   and deceased cat the late Gimley Bernstein
 6

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12

13                                                   Mary Bernstein Meadow Brook Conrtyard
14                                                   2008

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16

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18

19

20
                                                     Pastor Lee-Jong Rak Baby Box disabled
                                                     babies South Korea
21

22

23

24

25

26

27
                                 PRELIMINARY ALLEGATIONS

28




     Disabled Plaintiff Mary Bemstein's First Amended Complaint 1215 2022- 4 -
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 1         l. The Subject Property is condominium development known as Meadow Brook Village
 2              located in Fremont, California and governed by HOA Meadow Brook Village

 3             Association-Fremont. I obtained my unit in the community in February 2006. At that

 4              time, I was provided with the CC&Rs and Bylaws, which contractually govern me and

 5              Defendants. None of the CC&Rs, Bylaws, disclosure statements, or other documents

 6              provided at purchase or governing the community advise that the pool(s) will only be

 7              available and/or heated during certain parts of the year. Nor did Defendants or any of

 8              their representatives advise me of this fact. As a result of this lawsuit, the HOA Board

 9              has subjected me to constant harassment and created a hostile environment. This hostility

10              climaxed in vehicular vandalism as well as hate mail delivered to my doorstep by

11              anonymous mail demanding I drop my lawsuit. A Police report Number 180718411 has

12              been filed and signed approved by William Gourley Badge Number 1353 l. By exercising

13              my rights to investigate the lack of funding and outrageous assessments levied against

14              hard working residential and investment property owners, I have endured constant

15              harassment. As set forth in this complaint, Plaintiff alleges several actions by Defendants

16
               that constitute various causes of action. Discovery is continuing and Plaintiff reserves the

17
                right to assert additional facts as may be appropriate to support causes of action at trial.

18
               Despite the HOA Board's k110wledge ofmy disability status, abuse attempts at

19
                manipulation when I am at the pool or step outside my home have escalated. The irony is
               that the previous board, and this new board members had filed lawsuits as well but seem
20
                to believe that they wield power over myself and that I must defer to them as to this
21
                lawsuit. 1 Since complaint filed additional emotional distress has been endured:
22
          •     Board members, residents constantly pestering me at pool or anywhere to dismiss
23
                complaint
24
           •   Hate mail anonymous calling me names, pressuring me to dismiss complaint
25
          •     Vehicular vandalism
26

27
      1  1Peter3:l2
28    12 For the eyes of the Lord are over the righteous, and his ears are open unto their prayers: but the face of the Lord is against
          them that do evil. https://www.youtube.com/watch?v=Anso_90zjoo


      Disabled Plaintiff Mary Bernstein's First Amended Complaint 12 15 2022- 5 -
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 1      •   HOA Board stating at general sessions that I am the one holding up the repairs despite th

 2          fact that there were IO other litigants that filed actions.

 3      2. On November 9, 2022 we learnt that Meadow Brook Village Association through one of

 4          its property managers Condominium Financial Management helped automatically

 5          $39,895.18 payment from our account without our permission to pay for Emergency

 6          Assessment that we are disputing in addition to the regular assessment. A hold was

 7          placed on our account as a result causing us great distress. This is an example of the

 8          overreach this HOA Board and property management firms continually engage in. 2022

 9          Board Members Defendant Geraldine Linares, Defendant Meadow Brook Village

10          Association Agent Anup Soni, Defendant Romulo Zafra, Defemdant Sharon Daly and

11          Defendant Meadow Brook Village Association Agent Sjith Sivankutty Exhibit D. I

12          receive social security; my husband is disabled and we could not access funds. The

13          liberties that this HOA Board has taken is unfathomable. I am writing this First

14          Amended Complaint while undergoing illness respiratory problems and other

15          complications. This is difficult to do concentration wise while ill as well as due to my

16          other conditions. This is a fight for our home as we have endured such horrors the past

17
            several years in this condominium development located in Fremont California known as

18
            Meadow Brook Village. The neglect is the worst that the City of Fremont has ever
            witnessed Leonard Powell has stated. There are no comparable properties in the City of
19
            Fremont which have ever been found in violation safety hazards to this extent stated
20
            Leonard Powell. This is not a criminal case wherein it must be beyond a reasonable
21
            doubt; this is a civil matter such thing as circumstantial evidence. Preponderance of the
22
            evidence is one type of evidentiary standard used in a burden of proof analysis. Under the
23
            preponderance standard, the burden of proof is met when the party with the burden
24
            convinces the fact finder that there is a greater than 50% chance that the claim is true.
25
            This is the burden of proof in a civil trial.
26
        3. This is a horrific story involving abject cruelty of an unscrupulous Meadow Brook
27
            Village Association - Fremont HOA, multiple Property Managers and a Swiss owned
28



     Disabled Plaintiff Mary Bernstein's First Amended Complaint 12 15 2022- 6-
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 1             insurance company, Farmers.2 This complaint will expose certain group of homeowners
 2             that attempted to buffalo another group of homeowners that Meadow Brook was out of

 3             funds. 3 This account of past and current events entails equity theft, vulture investing,

 4             failure to allocate funds, incompetence, failure to protect safety and welfare of the public

 5             and members of the community by the very individuals that were to protect interests of

 6             trusting homeowners. I have been marginalized in HOA community due to disabilities

 7             suffering alienation and isolation at the hands of the HOA. The story will unfold in the

 8             following pages, the characters, the setting, the plot, the title and is continually unfolding

 9             concerning a hostile takeover by a rogue group anonymously referring to themselves as

10             "A Certain Group of Homeo_wners. '_' The Second Opinion publication boasts of over 100

11             participants signatures. This petition spokenOfindividual defendants listed in this

12             Complaint Plaintiff believes on information 11nd belief that these 11re some of the

13             individuals in this Cert11in GronpofHomeowners                                ·•Anl            JVlary Bernstein,

14             a disabled owner and caregiver of ill family members is the Plaintiff in this action.

15             Plaintiff has endured ious abuses for nearly five years as well as her family and guests. 4

16             As a result, Plaintiff is a cautionary tale concerning condominium ownership and has

17
               simultaneously had to author the horrors herewith and in book "How to Survive As a

18
               Disabled Person in an Abusive HOA" endured by disabled persons in a quasi-
               government known as an HOA. The unbearable mental and physical anguish will be
19
               illustrated in this comprehensive first amended complaint. Judge Eumi Lee stated that
20
               she wants to see each and every date, time and lii1kage to defendants. Plaintiff's expert
21
               witnesses will be testifying at the jury trial concerning the impact that these experiences
22

23
     2   https://spartacuslawfirm.com/2022/07/12/the-10-worst-insurance-compapies-in-america/ July 2022 Spattacus Law Fi1m
24        The IO Worst Insurance Companies in America

25
     3 The expression "to buffalo11 soon became part of the speech of the American west. It meant to make someone helpless, to trick
         them. In the early nineteen hundreds, a story about attacks on white settlers moving into Indian territory explained, "The
26
         Sioux had the wagon-train surrounded and the soldiers buffaloed."
     4 Therefore I will boast all the more gladly of my weaknesses, so that the power of Christ may rest upon me.
27
         https://www.youtube.com/watch?v=nNrad8hzWoM "They have greatly oppressed me from my youth," Psalm 129
       let Israel say; 2 ''they have greatly oppressed me from my youth, but they have not gained the victory over me. 3 Plowmen
28       have plowed my back and made their furrows long. 4 But the Lord is righteous; he has cut me free from the cords of
         the wicked."


     Disabled Plaintiff Mary Bemstein 's First Amended Complaint 12 15 2022- 7 -
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 1             has had on health mental and physical, egg skull theory. My precious Mother and 1
 2             denied the right to see each other a final time due to the violence, threats here in this
 3             complex and the opposing of medical emergency stay to go to her a final time testifying

 4             July 2021 - this Court denied dying woman on oxygen waiting to plea for her eldest

 5             daughter leave - Younger daughter was hospitalized in Arizona Mother terrified alone.

 6             My late Mother Anna Smith-FoglEtance I was not able to see again before her death

 7             due to the actions of Defendants notably Farmers Insurance Exchange counsel in

 8             this matter; she suffered terribly and could not believe the abject cruelty that I was

 9             enduring. My mother was a single Mother with schizophrenia, bipolar, hearing issues,

10             the only parent I ever knew as my disabled father had left. We are to honor our parents

11             irregardless of their limitations, disabilities. Our Gods have feet of clay; they are only

12             human and not to be blamed for all oflife's issues. I had disabled parents and I myself

13             am disabled; it is not punishable by death. 5 My Father much older than my mother

14             disabled WWII veteran PTSD.6 My Mother despite her physical and psychiatric

15             challenges raised three children, myself the eldest. I may not have had or known a

16             biological Father during my lifetime protecting me; but I have had my entire life a

17             Heavenly Father, triune God (God the Father, God the Son and God the Holy Spirit) that

18             to this day is protecting, guiding me, saving me, counseling me. If it had not been for the

19
               Lord, I would have never gotten through this amended complaint and this entire process.

20
               We shared a special bond as there was a time that it was only her and I. Video footage,

21
     5   Exodus 20: 12
22
          Honor your father and mother, so that your days may be long in the land that the LORD your God is giving you.
23   6  Post-traumatic stress disorder (PTSD) results after experiencing or witnessing a terrifying event which later leads to mental
     health problems. TI1is disorder has always existed but has only been recognized as a psychological disorder within the past forty
24   years. Before receiving its official diagnosis in 1980, when it was published in the third edition of the Diagnostic and Statistical
     Manual of Mental Disorders (DSM-lll).] Post-traumatic stress disorder was more commonly known as soldier's heart, irritable
25   heart, or shell shock. Shell shock and war neuroses were coined during World War l when symptoms began to be more
     commonly recognized among many of the soldiers that had experienced similar traumas. By World War II, these symptoms were
     identified as combat stress reaction or battle fatigue. In the first edition of the Diagnostic and Statistical Manual of Mental
26
     Disorders (DSM-I), post-traumatic stress disorder was called gross stress reaction which was explained as prolonged stress due to
     a trawnatic event. Upon further study of this disorder in World War II veterans, psychologists realized that their symptoms were
27   long-lasting and went beyond an anxiety disorder. Thus, through the effects ofWorld War II, post-traumatic stress disorder was
     eventually recognized as an official disorder in 1980.
28



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 1             911 calls, witness testimony, photos will demonstrate, evidence the sheer torment that has
 2             occurred at the hands of Defendants corporate and the acrimonious and divisive "Certain
 3             Gmup of Homeowners." Chamberlain Towers, Surfside Florida documentary wherein
 4             tower collapsed 100+ deaths resulting 1 will be appearing in concerning neglect Meadow
 5             Brook Village Association - Fremont and agents has caused HOA Board members
 6             failures.
         ■ ■■ ■ ■ ■ ■ ■■ ■ ■ ■ ■■ ■ ■ ■ ■ ■ ■ ■ ■ ■   111 ■ ■ ■ 111 I I I ■■■ I I 11 I   I ■■■ I ■   I 111111 ■ II 111 I ■■ I 111 I ■ I ■ I ■

 7   All of these entities below have worked together in the past or are currently working together as
 8   the agents, assigns, or representatives of Meadow Brook Village Association - Fremont for the
 9   parameter of time listed. Each action or deficiency alleged in my complaint was conducted by
10   one or more of the defendants at the direction or ratification of the others. Currently there are
11   three current property management firms mauaging the Meadow Brook Village
12   Association property: Condominium Financial Management, Bay Area Property Services
13   and Bay West Property Management.7 Exhibit Ill. Meadow Brook disclosed in email
14   agenda for Decmember 6 2022 agenda Executive meeting discloses just one alone Bay Area
15   West Property Management year to date spent by Meadow Brook Village is $727,451.63. There
16   are currently 3 Property Management Associations simultaneously managing Meadow Brook
17   which is wasteful and excessive. Bay West Property Management Colin Lynch is the
18
     7  Exhibit HI. Email PG&E loans taken out Plaintiff had no knowledge learnt in email 10 18 2022 from Meadow Brook and Bay
19       Area Property Services refusal to hold live in person general sessions Plaintiff not transparent board incompetent inability to
         allocate funds continual breach of fiduciary duty
20   (one of the reasons why court ordered needed compelling third parties Old North State Trust, Wells Fargo, Union Bank financial
         bank records needed) Court order refiling of Union BanJc, Wells Fargo contempt orders; Plaintiff just learnt of additional
21       financial institution Old North State Trnst while preparing this First Amended Complaint
     Email 12 6 2022
     MBV Executive Meeting
22
     Item b. Bay West disclosure Property Management $727,451.63. There are currently 3 Property Management Associations
          simultaneously managing Meadow Brook which is wasteful and excessive: Condominium Financial Management, Bay West
23        Property Management and Bay Area Property Services.
     h. remark by HOA Board Association's counsel:
24   "Typically, we explain the "negligence standard" by saying that, even though the Association is responsible for
     :maintenance, repair and replacement of Common Area, it does not necessarily follow that the Association is responsible for
25        damage to Units resulting from leaks stemming from that Common Area. The HOA made timely needed repairs in order to
          mitigate leaks. The Association exercised "reasonable care" and is not responsible for damage to a Unit even if
26   the damage was caused by a Common Area component. This damage could be covered by the owner/ resident's
     personal policy.
     In an effort to show good faith and avoid future claims, management recommends reimbursing ½ the
27
     owners deductible (NTE$500) with confidentiality/ settlement agreement. Management can utilize the
     template provided in prior cases and additional bill for administrative time."
28
     Flamingo Hilton Homeowner Association we are a member of and have been for many years demonstrating competency


     Disabled Plaintiff Mary Bernstein's First Amended Complaint 12 15 2022- 9-
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 1   Construction Manager for the repairs and is not a defendant in this matter. For that reason, I have
 2   named all these corporate entity Defendants jointly and severally and identified:
 3      •     Common Interest agent for HOA Meadow Brook

 4      •     Bay Area Properties agent for HOA MeadowBrook

 5      •     BJ Management Solutions agent for HOA MeadowBrook

 6      •     Condominium Financial Management agent for HOA MeadowBrook

 7      •     Associa agent for HOA Meadow Brook

 8      •     Massingham agent for HOA Meadow Brook
        • ■• ■ ■ ■• ■• ■• ■• ■ ■• ■ ■ • • • • • • ■ ••• ■ •• ■ • • • • • • • • • ■ ■ •• ■ • • • • • ■ ■• ■ • • • ■ ■ •• ■ •• ■ • • • • • • ■• ■

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19
       Bay Area Property Services                              Selina Bravo                December 2019
20
       Tenancy, Management aspects                             Yvonne Ly
21

22

23

24

25
            1664.
26
            1665.Bay West Property Management Colin Lynch is the Construction Manager for the
27
                    repairs due to the neglect and is not a defendant in this matter.
28
            ..........................................................................
            1666.


     Disabled Plaintiff Mary Bernstein's First Amended Complaint 121s 2022-10 -
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 1

 2

 3           1667.
 4          1668.NOW ADDITIONALLY LOANS FOR PG&E OPERATING COSTS
 5                   UNDERTAKEN 2022
 6           1669. I have seen ships managed better in a storm. The level of incompetence/corruption is
 7                   astonishing. 8 Meadow Brook Village HOA Board has the audacity and states
 8                   through counsel that they are not responsible for common area damage to units. 9
 9                   Exhibit Ill. Another example overreach Meadow Brook Village attempting to seize
10                   our entire bank account for their needs through Condominium Financial

11                   Management. Meadow Brook Village Association - Fremont has not had live in

12                   person general sessions since 2019 despite COVID 19 pandemic listed. Zoom

13                   remote hearings held sporadically at 7 pm which is too late for Plaintiff to attend due

14                   to medications taken. To Plaintiff's alan11, PG&E loans taken out Plaintiff had no

15                   knowledge learnt in email 10 17 2022 canceling virtual meeting from Meadow

16                   Brook and Bay Area Property Services refusal to hold live in person general

17                   sessions Plaintiff not transparent board incompetent inability to allocate funds

18                   continual breach of fiduciary duty. Exhibit Ill. Plaintiff has been kept in the dark

19                  regarding all these new additional loans undertaken by Meadow Brook Village

20                  Association - Fremont. Breach of Fiduciary duty continually.
           • • • • • • ■ • • • • ■ • • • • ■ • • • • ■ •• ■• ■ •• ■ •• ■ •• ■• ■ •• ■ • • • • • ■• ■ •• ■• ■ • • ■ • • • • • • • • • ■• ■ •• ■ • •

21        4. This is not a willy-nilly, frivolous case, but a case involving horrific housing crisis in a
22            homeowner condominium development potentially causing homelessness for Mary
23    8 On November 9, 2022 we learnt that Meadow Brook Village Association through one of its property managers Condominium
         Financial Management helped automatically $39,895.18 payment from our account without our pennission to pay for
24       Emergency Assessment that we are disputing in addition to the regular assessment. A hold was placed on our account as a
         result causing us great distress. 2022
     9 Email agenda December 6 2022 executive session h. remark by HOA Board Association's counsel:
25
     "Typically, we explain the "negligence standard" by saying that, even though the Association is responsible for
26   maintenance, repair and replacement of Common Area, it does not necessarily follow that the Association is responsible for
         damage to Units resulting from leaks stemming from that Common Area. The HOA made timely needed repairs in order to
27
         mitigate leaks. The Association exercised "reasonable care" and is not responsible for damage to a Unit even if
     the damage was caused by a Common Area component. This damage could be covered by the owner/ resident's
     personal policy. In an effort to show good faith and avoid future claims, management recommends reimbursing½ the
28   owners deductible (NTE$500) with confidentiality/ settlement agreement. Management can utilize the
     template provided in prior cases and additional bill for administrative time,"


     Disabled Plaintiff Mary Bernstein's First Amended Complaint 1215 2022-11-
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 1            Bernstein and her disabled family. Harassment for which they have never missed
 2            payments in performance of contract monthly assessments for maintenance of the
 3            common development. This is essentially an Apartment Complex given the rentals

 4            appear to be about 76% as opposed to owner occupied. It appears that the objective is to

 5            rid Meadow Brook Village Association - Fremont of the individual owners and convert

 6            to Apartment Complex. Refinancing is impossible due to the d listing with the FHA by

 7            Meadow Brook Village Association - Fremont withdraw of application Federal Housing

 8            Authority on February 20, 2018. Exhibit EE. Plaintiff has been blamed, defamed

 9            slandered for difficulties refinancing when this withdrawal in effect prior to the filing of

10            this litigation. The property is unwanantable. 10 Plaintiff is including clauses for

11            exemplary punitive damages in this lawsuit as well as the PLD-PI-001(6) attachment for

12            Exemplary Damages Attachment as Plaintiff is a non attorney, disabled and uncertain if

13            the forms need to be attached in lieu or in tandem with exemplary clause in this pleading.

14            Reasonable accommodations are to be made for disabled litigations who are non

15            attorneys.

16        5. Plaintiff is infom1ed and believes,
                                              .
                                                 and therefore alleges. -thatthe common areas of the
                                                                         ,'     '




17            subject propertyincludingbutnot lhnhed to Meadow Brook Village Association CCR

18            ARTICLE I DEFINTIO:NS Section 8, "CommonArea'' shall mean all portions of the

19
              Project except the Units and, without limiting the generality or.the foregoing, specifically

20
              including all structuralprojections withinaUnitwhkh are required forthe support of a

21
              Condominium Building, gas, water, waste pipes, .au sewers, all ducts, chutes, conduits,

22   10 https://www.youtube.com/watch7v=K.8lJwUOuXOw

     Approval Guidelines https://fhaloans.guide/learn/what-are-fha-approved-condominiums
23   Condos already on the FHA-approved list are certified to meet all the requirements below. For a property to be added or re-
        certified it generally must meet the following requirements:
24       • Project must include 2 or more units
         •     FHA concentration-the percentage of units financed with FHA Loans-must be below 50% (FHA Concentration may
25             be higher in some cases due to fall-out or other HUD exceptions)
         •     Less than 25% of property is used as commercial space
26       • No more than 10% of properties can be owned by a single investor (Except for unsold units owned by the builder)
         •     No more than 15% of homeowners can be more than 60 d3ys delinquent on HOA fees
27       • Property must meet state requirements for insurance coverage against flooding and other disasters.
         • Condominium's financials must be review and be above board
28       •     At IcastR of uuits must be owner-occupied
         • Meet the HUD Housing Quality Standards


     Disabled Plaintiff Mary Bemstein's First Amended Complaint 1215 2022-12-
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 1          wires and other utility installations ofthe structures wherever located (except the outlets
 2          thereof when located withinthe Units), the land upon which the structures are located, the

 3          air space above these structures, all bearing walls,.columns, floors, the roof, the slab

 4          foundations, common stairways, window glass and the like. Common Area shall

 5          specifically exclude all garage door opening.syst~ms and all air conditioning units

 6          notwithstanding that the foregoing are located fa the Common Area.

 7      6. Plaintiff is informed and believes, and therefore alleges the HOA Board determines

 8          monthly regular assessments. according to Meadow Brook Village· Association CCR

 9          ARTICLE I DEFINTIONS 3. "Asses.sments": The following meanings shall be given to

10          the Assessments hereinafter defined: AR'I'ICLE I DEFINTIONS" Regular Assessment"

11          shall me!ln the amount which is to be paid by eachMember to. the Association for

12          Common Expenses. The HOA Board members elected financially sole responsibility to

13          determine the amount ofregular assessments to impose on the community and the

14          responsibiHty to allocate funds.

15      7. Emergency Assessment levied February 16, 2018. An astronomical Emergency

16          Assessment did not need to be levied against the homeowners to rectify the damage,

17          repair and reconstruction. The repairs could have been done over time increasing

18
            monthly regular assessments as opposed to breaking individuals financially and

19
            exhausting their credit with lump sum multiple loans, assessments. It has been years and
            years and there are still significant repairs to be made. It was years before any
20
            construction, repair began taking place by Saarman. In fact, the repairs here to an
21

22
            existing structure are taking longer than construction implementing new developments
            such as Montecito 37342 Sequoia Road Fremont California which was completed in 18
23
            months. It is interesting that the only eyesore in the entire district here is Meadow Brook
24
            Village Condominiums which is atrocious looking from the outside driving by in traffic.
25
            Apattment such as Sycamore Commons, Creekside Village that were built the same time
26
            period as Meadow Brook were maintained even without reserve funds. The conditions
27
            are deplorable at Meadow Brook Village despite the constant flow of funds monthly
28




     Disabled Plaintiff Mary Bemstein's First Amended Complaint 12 15 2022-13 -
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 1          received and in addition multiple loans for operating costs, repairs, endless future

 2          assessments. The individuals making these decisions are either incompetent, corrupt or

 3          both.

 4      8. The so called "emergency repairs" in email April 12 2019 from Meadow Brook over a

 5          year later states the "Prototype" Repair Project is about to start. Homeowners made to

 6          believe urgent that was to begin immediately. Hidden Agendas. To date, these

 7          emergency repairs are not completed.

 8      9. In January 200 I Karen Klein an investment property owner filed a lawsuit in San Mateo

 9          Case No. CIV420339 for BREACH OF CONTRACT, BREACH OF FIDUCIARY

10          DUTY, NEGLIGENCE, FRAUD-INTENTIONAL MISREPRESENTATION,
        •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
11        1670.FRAUD-NEGLIGENT MISREPRESENTATION, FRAUD- NONDISCLOSURE
12                OF KNOWN FACTS, INTENTIONAL INTERFERENCE WITH PROSPECTIVE
13                ECONOMIC ADVANTAGE, NEGLIGENT INTERFERENCE WITH
14                PROSPECTIVE
15        1671. ECONOMIC ADVANTAGE against EDGEWATER ISLE HOMEOWNERS
16        1672.ASSOCIATION, PELICAN MANAGEMENT GROUP, and DOES 1-25.
17                Homeowner used her unit for rental income. Because of an upcoming construction

18                project, Edgewater Isle Homeowners Association repeatedly told homeowner not to

19                rent that unit during a specified timeframe. Homeowner wrote the Association and

20                received limited information return. Homeowner went to Board meetings and again

21                did not receive absolute answers. Construction dates kept slipping and as a result,

22                homeowner's unit was vacant for over one year, depriving homeowner of rental

23                income.

24        1673.

25        1674.Homeowner's suit was settled for an intial sum ofat least $20,000 plus monthly

26                payments of $1,200 for over one year to homeowner and two other owners. The

27                HOA's insurance carrier paid the first $20,000, and the remaining monthly payments

28                were paid directly by Edgewater Isle North Homeowners Association.



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 1          1675,
 2          1676. Ultimately, this owner's condo was demolished and rebuilt. Demolition began nearly
 3                    2 years after the lawsuit was filed.https://edgewaterisle.com/lawsuits/breach-of-
 4                    contract/
           ■ ■• ■   •• ■ •• ■ • • • ■ • • • ■■• ■ ■ •• ■ •• ■• ■■ • • • • • • ■ ■ • • • • ■ •• ■ • • • • • • ■ ■• ■ • • • • • • • • • ■ •• ■ •• ■•

 5       10. ln fact in August 18 2021 we attempted to obtain loan and were denied by Fannie Mae
 6            and were denied due to the property unwarrantability. Andrew Shimizu of AmeriSave
 7            was assisting us and aware of this litigation. Andrew Shimizu advised that loan was
 8            denied because of unwarrantability and outstanding structural defects which have not
 9            been completed. Our Condo team confirmed that your loan is declined by FNMA in their
10            system Project ID: 20544601 Project/Phase Name: Meadow Brook Village/Other
11            Comments: Entire - 07/2121 Litigation dismissed, however structural defects have
12            not been completed meaning there are health and safety issues that remain. Fannie
13            Mae will not approve Meadow Brook property loans due to its horrific conditions.
14            The currrent HOA Presdient Geraldine Linares bore false witness stating that my
15            liitgation denied her refinancing in declaration opposition to my medical stay. My
16            Mother terminally ill passed away as a result of this misrepresentation to the Court
17            and denial to travel to Arizona without me seeing her again after pandemic. FHA

18            and Fannie Mae will not approve any lending for this property until 100% repairs

19            made. Likelihood Freddie Mac would return the same decision. I spoke to

20            representative at Freddie Mac and they do not contain a list concerning rejections

21            but representative stated more than likely would be rejected for the same reason

22            unwarrantable uninhabitable property.
        • • • • ■ • • • • ■ ■ • • • • • • ■ • • • • ■ • • • • • • • ■ ■ • • • ■ ■ • • • ■ • • • • ■ • • • • • • ■ ■• ■ • • ■• ■ • • ■ ■ • • • • ■ ■ • • ■ ■


23      11. Inspections are to be held for loan approval federal funding mortgage loan companies
24            Fannie Mae, Freddie Mac. Meet the HUD Housing Quality Standards Without these
25            protections, there would be families living in unacceptably poor housing conditions. In
26            the case of government insured loans, like FHA Loans, the Federal Housing
27            Administration has an additional incentive of protecting their own investment. The
28            FHA must ensure that the property is in good condition because the home is collateral


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 1          on the loan. If the homeowner defaults the lender will have to cease the home and sell it

 2          to cover the costs of the loan. The property is listed as unwarrantable and on these lists

 3          flagged.

 4      12. The HOA through its board violates corporation code Section 8330 refusal to provide

 5          membership list to Plaintiff when requested numerous times. 11 Selective inclusivism

 6          exhibited by the MeadowBrook Village Condominium Development, ultimately

 7          discrimination practices. The Bernstein Family has owned the subject property since July

 8          6, 1988. John L. Bernstein Jr. purchased July 6 1988 from William Pestana the unit in

 9          MeadowBrook Village. This constituted contract this purchase of property in HOA of

10          which CC&Rs govern. John L. Bernstein III began paying assessments with his father

11          John L. Bernstein Jr. since 1988 purchase of property; Mary Bernstein began assisting

12          with assessment payments April 1992 John L. Bernstein III, my husband and I, Mary

13          Bernstein assisting John L. Bernstein Jr. As a result of payments made, John L.

14          Bernstein Ill and his father John L. Bernstein, Jr. co owners March 24 1995 quitclaim

15          deed. In February 2006, John L. Bernstein III and Mary Bernstein purchased from John

16
            L. Bernstein Jr. the unit and began residing. Title held as community property March 16,

17
            2006 executed Grant Deed 2006129946 recorded April 4 2006 Alameda County

18
            Recorder. On September 13, 2012 John L. Bernstein, IV son was added to title quitclaim
            deed recorded September 14 2012 Alameda County Recorder 2012301729 joint tenancy
19

20
            right of survivorship.

21

22
            11 California Corporations Code Section 8330. Inspection of Membership List. (a) Subject to Sections 8331 and 8332,
        •
23          and unless the corporation provides a reasonable alternative pursuant to subdivision (c), a member may do either or
            both of the following as permitted by subdivision (b): (1) Inspect and copy the record of all the members' names,
            addresses and voting rights, at reasonable times, upon five business days' prior \Witten demand UJX)ll the corporation
24
            which demand shall state the purpose for which the inspection rights are requested; or
            (2) Obtain from the secretary of the corporation, upon written demand and tender of a reasonable charge, a list of the
25      •   names, addresses and voting rights of those members entitled to vote for the election of directors, as of the most recent
            record date for which it has been compiled or as ofa date specified by the member subsequent to the date of demand.
26          The demand shall state the purpose for which the list is requested. The membership list shall be made available on or
            before the later often business days after the demand is received or after the date specified therein as the date as of
27          which the list is to be compiled.
            https://www.youtube.com/watch?v=kJlZBoCB5Ls
28
        •


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 1         13.J have been a member with good standing in Hilton homeowners association have never
 2             missed a payment since 1996. These assessments are paid annually and there has never

 3              been a lawsuit or liens filed against members in the Hilton community for repairs. There

 4              is a board, budgets and allocations made for the property. Boa1·d meetings have been

 5              held the entire time by offices five volunteer members that are owners. These are regular

 6             people that have managed responsibly the investment property for owners over a

 7              substantially larger portfolio national and international properties. We pay annual

 8              homeowners maintenance fees and have not needed ever any special assessments.

 9              Exhibit III. There are budgets, allocations, renovations and maintenance of the

10              properties. Clearly with Meadow Brook Village Association that does not have the

11              expenses ofrestaurants, employees as that of hospitality industry the only explanation for

12              lack of funds is embezzlement or mismanagement or both. It is absolutely disgraceful th

13              level of incompetence or corruption by the fiduciaries involved with this property. 12

14              Either way it is gross misconduct. Further, no evidence financial has been produced by

15             Wells Fargo Bank, Union Bank, Old North State Trust and any other concealed accounts

16
               that Plaintiff is unaware of evidencing the financial state warranting multiple special,

17
               emergency assessments. This is critical and is necessary discove1y. Plaintiff has the

18
                disadvantage of preparing this amended complaint without these financial records that
               have been sought by Wells Fargo Bank and Union Bank multiple times ignored; Plaintiff
19
                only learnt recently while preparing amended complaint of additional financial institution
20
               Old North State Trust. It is unclear how many other accounts nationally or
21
                internationally containing Meadow Brook homeowner funds. Depositions by Associa
22
                and Massingham Tammy Fritz and Sharon Massingham conducted stated that Meadow
23
                Brook Village Association - Fremont has never been out of funds.
24
           14. Mary Bernstein and family moved from San Francisco, California to MeadowBrook
25
                Village condominiums in 1994 after traumatic vehicular injury to young son and Plaintiff
26

27
     12   Exhibit III. As o fDecem b!r 31, 2019, Hilton Grand Vacations Club has 55 properties with 8,916 rooms in 5 countries and
28        territories, all franchised. Dealing in timeshares, Hilton Grand Vacations Company, LLC develops, manages, markets, and
          operates a system of brand-name vacation club ownership resorts. https://www.youtube.com/watch?v=B-h 1s5jHjZo


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 1          in San Francisco on way to daycare. Intense injuries were suffered by both. The pools

 2          ideal to rehabilitate in Fremont for Mother 28 with extensive leg injuries impact of

 3          vehicle in crosswalk and infant son 16 months old.

 4      15. Deferred consequences large balloon payments due from homeowners when family has

 5          been paying assessments for property maintenance since 1988 is a hard sell. How is it

 6          that the Bernstein Family is liable for the property's condition when paying fo1ward in

 7          assessments for this very prevention? How is Mary Bernstein responsible for the neglect,

 8          failure to allocate or any other actions by HOA Board members, property managers when

 9          Mary Bernstein never served in any capacity on any HOA Board? Mary Bernstein and

10          her family did nothing to incur damages and like the Chamberlain Towers Surfside

11          Florida neglect by HOA Board, the MeadowBrook HOA Board through extreme neglect

12          created this situation for the property. This is a case involving severe mental anguish

13          imposed on a disabled homeowner that has never missed a payment and endured horrific

14          trauma, stress for exercising constitutional right filing this case in 2018 in an effort to

15          coerce and under duress for her to dismiss case. In the case at hand, homeowner Mary

16
            Bernstein sues the Defendant Offiers and Directors ofMeadowBrook Village

17
            Homeowner Association - Fremont, property management firms, insurance company and

18
            certain HOA members for emotional distress (a group of homeowners unidentified

19
            initially creating a narrative second opinion to achieve a specific objective hostile
            takeover of the development from other homeowners), negligence, violations of their
20
            duty of loyalty, breach ofcontract to Mary Bernstein Meadow Brook Village
21
            Homeowner Association Fremont member for the misappropriation and misuse of
22
            homeowners' association funds, which resulted in the lost of approximately more than
23
            $19 million dollars to date. This resulted in an inflated emergency assessment for neglect
24
            levied on some homeowners. A false left right paradigm concerning an alleged new
25
            HOA Board and old HOA Board illegal election campaign of disinformation. An
26

27

28




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 1             insurance company that did not pay for construction rather imposed harassment on Mary
 2             Bernstein an indirect client of Farmers as covered under master policy. 13
 3        16. The attorney general of California directs homeowners to file complaints against
 4           homeowners HOA outside the scope of its authority:
          ...........................................................................
 5
          •    The Davis-Stirling Common Interest Development Act (California Civil Code section
 6             4000 et seq.)
 7
          •    The HOA's rules, commonly referred to as Covenants, Conditions and Restrictions
               (CC&Rs)
 8        •    Services and amenities or maintenance issues
          •    Property management companies
 9
          •    Accountability for common interest assets, i.e., landscaping, pools and clubhouses
10        •    Parking and the towing of vehicles
          •    Dues, assessments and citations
11        •    Costs related to written document production requests, such as copying or redaction fees
12        •    Foreclosure proceedings
          •    Poor management, misappropriation or negligent handling of corporate assets.
13
               This is exactly what has been done concerning the litigation at hand herewith. All of
14
               these issues are present and subject of this litigation as well as additional causes of action
15             property managers, agents, insurance company and HOA.

16             The Attorney General will intervene on the following violations many of which have
17
               occurred and are still occurring by Defendant Meadow Brook Village Association -
               Fremont:
18

19                                                                          Failure to hold a regular meeting of the
                Corp. Code, Section 7510(b)
20                                                                          members.
                 Corp. Code, Section 751 0(e)                               Failure to hold special meeting after
21                                                                          demand b 5 ercent or more of members.
                Corp. Code, Section 7511                                    Failure to provide notice of a meeting to
22
                                                                            members.
23              Corp. Code, Section 751 l(a)                                Failure to provide timely notice of
                                                                            meetin to members.
24              Corp. Code, Section 7512                                    Transacting business not otherwise
25
                                                                            authorized in the bylaws at a meeting of
                                                                            members with less than a uorum.
26

27   B   Matthew 10:32 Whosoever therefore shall confess me before men, hitn will I confess also before my Father which is in
         Heaven. Christ Our Advocate l John 2: 1 2 My little children, 1 am writing these things to you so that you may not sin. But i
28       anyone does sin, we have an advocate with the Father, Jesus Christ the righteous.
         https://www.youtube.com/watch?v=K8lJwUOuXQw https·//www.youtube.com/watch?v=PGhLe4FW8Wg


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             Corp. Code, Sections 7513                     Failure to provide members with properly
 1
                                                           conformed written ballot or proxy as
 2                                                         authorized in bvlaws.
             Corp. Code, Sections 7514                     Failure to provide members with properly
 3                                                         conformed written ballot or proxy as
 4
                                                           authorized in bylaws.
             Corp. Code, Section 7520                      Failure of mutual benefit corporation to
 5                                                         provide for reasonable means of
                                                           nominating and electing persons as
 6
                                                           directors.
 7           Corp. Code, Section 76 l 5                    Failure to abide by its bylaws authorizing
                                                           cumulative voting for directors.
 8           Corp. Code, Section 82 I 5                    Falsification of or tampering with
                                                           association reoorts or records.
 9
             Corp. Code, Section 8320                      Failure to keep books and records,
10                                                         minutes of proceedings, or list of
                                                           members.
11           Coro. Code, Section 8321                      Failure to prepare an annual report.
12
             Corp. Code, Section 832l(a)                   Failure to provide annual report to
                                                           member upon written request.
13           Corp. Code, Section 8330(1)                   Failure to allow inspection and copying of
                                                           names and addresses of members upon
14
                                                           written request.
15           Corp. Code, Section 8330(2)                   Failure to send member list of names and
                                                           addresses of members upon written
16                                                         reauest.
             Corp. Code, Section 8333                      Failure to allow inspection of books and
17
                                                           records.
18           Corp. Code, Section 83 34                     Failure to allow director to inspect and/or
                                                           copy books, records, and documents of
19                                                         the comoration.
20                                   JURISDICTION AND VENUE
21      17. This is an action asserting violations of California State Law. Plaintiff is a homeowner
22          who brings this action as a result of Defendants' WJlawful conduct concerning an
23          assessment levied against Plaintiff and her property located a 3416 Deerwood Ten-ace,
24          # I 13, Fremont, California 94536 (the "Property'). Moreover venue is proper in this
25          Court because a substantial part of the events giving rise to the claims herein occurred in
26          the City of Fremont, County of Alameda. Venue is therefore proper in Alameda County.
        ••• ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
27                RELATION BACK AMENDMENTS AMENDED COMPLAINT
28




     Disable d Plaintiff Mary Bemstein's First Amended Complaint 121s 2022- 20 -
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 1       18, I as a homeowner in Meadow Brook began enduring extreme harassment from the HOA

 2           community reaching its Apex during pandemic after filing preliminary complaint in 2018
 3           and enduring to the present which will be evidenced at trial in this matter video footage,

 4           witness testimony, declaration, petitions for civil harassment for protection of my family

 5           and guests. Privileges had been denied for the pool prior to the filing of the complaint by

 6           HOA Board and refusal to address leakage pipes in unit by property management. Honig

 7           v. Financial Corp. of America (1992) 6 Cal. App. 4th 960 [7 Cal. Rptr. 2d 922]. In Honig

 8           a savings and loan executive [27 Cal. App. 4th 203] filed a complaint while still

 9           employed by the institution. He alleged a "campaign of harassment, threats, humiliation,

10           debasement and intimidation" in retaliation for his objection to being forced to

11           misrepresent the nature of the certificates of deposit he was selling. The executive feared

12           his discharge was imminent and filed suit as a "preventative measure." (6 Cal.App.4th at

13           p. 963.) More than two and one-half years after the original complaint was filed, the

14           savings and loan filed a summary judgment motion. The executive opposed the motion

15           and filed his own motion to amend the complaint to include additional paragraphs

16           relating to the events leading up to the discharge. Further, the proposed complaint added

17           a cause of action for defamation "based upon spreading to others the reason for the

18           discharge." (6 Cal.App.4th at pp. 965-966.) The trial court refused to allow the

19
             amendments to the complaint and granted the summary judgment motion.

20
         19. The appellate court held it was an abuse of discretion to refuse the request to amend the
             complaint. It concluded that the facts in both the original and amended complaints "all
21

22
             related to [the executive's] discharge" and therefore came within the same general set of
             facts test which California courts use to dete1mine whether amendments relate back to an
23
             earlier complaint. (6 Cal.App.4th at pp. 965-967.) fn. 5 The Honig court reasoned that the
24
             proposed amendments were a "continuation of the events asserted in the initial pleading."
25
             They "finished telling the story begun in the original complaint." (Id. at p. 966.)
26
         20. The Honig couit went on to state that all the injuries in the proposed complaint-including
27
             those asserted in the defamation cause of action-were to be "expected" from a wrongful
28




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 1           discharge. The court said, "It is expected that fired employees may have difficulty in
 2           obtaining new employment and that allegations su1TOunding their discharge may be

 3           spread to [27 Cal. App. 4th 204] others. When an employer discharges an employee it is

 4           not unusual for the employer to defend the termination by reasserting the stated reasons

 5           for it." Hence even the defamation cause of action related back to the original complaint.

 6           (6 Cal.App.4th at p. 967.) Essentially the court said that if an employer terminates

 7           someone, the employer can "expect" to be sued for defamation. (Ibid.) to others the

 8           reason for discharge. "(6 Cal.App.4 th at pp. 965-966). The trial court refused to allow the

 9           amendments to the complaint and granted the summary judgment motion. The appellate

10           court held it was an abuse of discretion to refuse the request to amend the complaint. It

11           concluded that the facts in both the original and amended complaints.

12       21. The same wrongful act can lead to different injuries, so new manifestations of the

13           consequences of one wrongful act may arise after a complaint has been filed and properly

14           relate back to the original. Lamont v. Wolfe (1983) 142 Cal. App. 3d 375 [190 Cal. Rptr.

15           874) illustrates this particular twist. A medical malpractice suit was filed by a patient for

16           her own [27 Cal. App. 4th 210] injuries and by her husband, for loss of consortium. The

17           patient died, and the husband moved to amend the complaint to allege a cause of action

18           for wrongful death-but only after more than a year had elapsed since the death. After a

19
             demurrer based on the statute oflimitations was sustained, the appellate court reversed.

20
             The defendants argued that it was illogical to apply the relation back doctrine because the

21
             cause of action for wrongful death did not exist at the time of the original complaint. The

22
             Court of Appeal rejected the point-but not because it is possible to sue for wrongful acts
             not yet committed. Rather, the husband was still seeking "recovery for essentially the
23
             same loss." (Id. at p. 381, italics added.) The wrongful death action was just a "different
24
             name" for the original loss of consortium action. (Id. at p. 382.)
25
         22. A case allowing a claim based on an act which had not yet happened at the time of
26
             the original complaint is Bendix Corp. v. City ofLos Angeles (1984) 150 Cal. App. 3d
27
             921 [198 Cal. Rptr. 370). Bendix grew out of a city tax dispute over gross receipts from
28




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 1          federal contracts beginning in the late l 950's and which involved at least 50 other

 2          similarly situated contractor-taxpayers. The contractors had initiated their own actions

 3          against the city to collect overpaid taxes or were the object of actions by the city to

 4          collect underpaid taxes. Certain of "these pending matters" (as the Bendix court described

 5          them, 150 Cal.App.3d at p. 924) were consolidated and "prosecuted to final decision as a

 6          test case." Bendix's claims did not constitute the test case, though Bendix agreed with the

 7          city to be bound by the results of the test case. It was not until 1977 that the test case was

 8          finally decided, resolving the dispute in favor of the contractors. (See ITT Gilfillan, lnc.

 9          v. City of Los Angeles (1977) 72 Cal. App. 3d 421 [140 Cal. Rptr. 193] [ITT Gilfillan I].)

10      23. For nearly two decades while the federal receipts dispute simmered, Bendix's "custom"

11          was to file claims for refunds which the city would "routinely" deny, and then Bendix

12          would routinely file a complaint within six months of the denial as required by the

13          Government Code. (Bendix Corp. v. City of Los Angeles, supra, 150 Cal.App.3d at pp.

14          924 & 927.) However, in 1976 and 1977, as the decision in the test case became

15          imminent, Bendix concluded it would be futile to file further formal complaints, and so

16          neglected to do so until after six months since the respective denials, i.e., until after the

17          statute had run on the claims. After the test case came down, the trial court allowed

18
            Bendix to file a supplemental and amended complaint consolidating its numerous

19
            previous complaints, and the issue arose as to whether that complaint should be deemed

20
            to relate back to the first complaint, filed back in 1965.

21
        24. The Bendix court first established that it was free to disagree with an opinion arising out

22
            of subsequent litigation in the test case, ITT Gilfillan, [27 Cal. App. 4th 211] Inc. v. City
            of Los Angeles (1982) 136 Cal. App. 3d 581 [185 Cal. Rptr. 484] [ITT Gilfillan II],
23
            which had held, under almost identical circumstances, that there should be no relation
24
            back. (See Bendix, supra, 150 Cal.App.3d at p. 925.) Most of the Bendix Corp. v. City of
25
            Los Angeles opinion's substantive discussion then consisted of a long quotation (with
26
            bracket insertions to make it apply to the case at hand) from a Ninth Circuit case, William
27
            Inglis, etc. v. ITT Continental Baking Co. (9th Cir.1981) 668 F.2d 1014, 1057-1058, the
28



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 1               gravamen of which was that when there is no prejudice and the supplemental complaint
 2               merely restates allegations in the initial pleading and further alleges " 'only that the
 3               claimed violations had continued,' "the relation back rule should apply. (See Bendix,
 4               supra, 150 Cal.App.3d at p. 926, quoting William Inglis, etc. v. ITT Continental Baking
 5               Co., supra, 668 F.2d at pp. 1057-1058.) The court dealt with the logical conundrum of
 6               allowing a pleading alleging new events to relate back to one filed prior to those

 7               events by stating that the new events were merely " '• continuation of the old canse

 8               of action.' 11
          ■■   • • • • • • • • • ■ •• ■ ■ • • • • • ■ ■• ■ ■ •• ■ ■ •• ■• ■ ■■ • • • • • • • ■ • • • • ■ ■ ••• ■ ■ •• ■ •• ■ • • • • • • ■ • • • • ■•

 9                                              MARY BERNSTEIN'S TESTIMONY
10         25. I am the Plaintiff in this case Mary Bernstein. I am a child sexual assault and child abuse
11               survivor, disabled senior citizen, non attorney litigant and the caregiver for a disabled
12               sister, a terminally ill husband and a senior disabled cat. I have been disabled for several
13               years. I previously worked as an advocate in federal agencies and worked in the courts,
14               private sector. 1 receive social security disability, I can no longer work, as I am
15               permanently disabled. Only through the Lord's grace run I able to keep putti11g one foot
16               in front of the other each day during this stressful housing litigation. 14
17         26. I have disabilities ADHD, Bipolar, PTSD. I have mobility issues resulting from accident
18               with my infant son in 1994 in stroller struck by vehicle in crosswalk nearly killing us
19               both. I sustained injuries resulting in our move to Meadow Brook Village Fremont in

20               1994 for pool to rehabilitate. We rented unit for period of time 3663 Oakwood Terrace,
21               #214 Fremont California 94536. Father in law John L. Bernstein II that owned unit 3416

22               Deerwood Terrace, #113, Fremont, CA 94536 assisted in realtor. Father in law John L.

23               Bernstein II was then able to assist in transporting Mary Bernstein and younger son John

24               L. Bernstein IV for multiple appointments Kaiser.

25         27. Plaintiff Bernstein from 2015-2017 was healing not receiving psychiatric care until

26               hospitalization July 20-21 2017 due to the intense stress occurring HOA, financial

27
     14   Romans 10:5-11 If you confess with your mouth that Jesus is Lord and believe in your heart that God
28        raised him from the dead, you will be saved. For it is with your heart that you believe and are justified,
          and it is with your mouth that you profess your faith and are saved.


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 1            matters. Plaintiff Bernstein suffered intense setback from emotional recovery PTSD
 2            HOA and has been receiving continual psychiatric care increased medications since July
 3            2017. Conditions exacerbated by abuses by HOA retaliation, harassment and denial of
 4            privileges the Bernstein family endures despite payments. Swimming medically
 5            prescribed aquatic therapy to manage symptoms which Plaintiff has been denied for

 6            years.

 7        28. A mentally disabled Complainant forced to conduct depositions, document reviews,

 8            investigations coordinate with multiple agencies, multiple attorney services without rest

 9            for nearly a year to the point of another medical, physical breakdown in her housing

10            community. Fearful to leave her home, fearful to stay in it as continually accessible to

11           harassment and abuses. Remaining animals forced to remain indoors to avoid cruelty to

12           animals inflicted on them as retaliation.

13        29. Americans with Disabilities Act in the United States, U.S. Department of Justice

14        30. Alameda County as found in violation by the United States Department of Justice,

15           lawsuits housing mentally ill mentioned

16        31. Disabled individuals in the United States protected by ADA. Many countries cultures

17           view disabled persons as repugnant such as in South Korea. Pastor has created a Baby

18           Box in Asia for young women to deliver their infants that they do not want to this Pastor,

19           many of which are disabled infants. https://www.liveaction.org/news/south-korean-

20
             pastor-babybox-honored-donation/ Pastor Lee Jong-Rak South Korea in a video

21
             discusses how people from continent Asia view disabled persons as repugnant. 15 In the

22
     15
       The Baby Box. A way for unwanted children to be deposited without harm. Lee Jong-Rak has been taking in
23
     unwanted, disabled children since 2009. He lives in Seoul, South Korea with his wife, his son, staff and
     deposited babies. Lee Jong-Rak has been saving children that have been deposited that would have died if they
24
     were left on the streets. He has a huge heart to care for children and cares abut every child that has been in his
25   home.

26   Pastor LeeJong-Rak's son was born with disabilities and they lived in a hospital for 14years. One day a baby
     was abandoned on his doorstep. The baby would have died If it was left in the cold any longer. He designed the
27   baby box so that it connects to his home. When a baby was deposited it rang a bell to alarm Lee, his wife or a
     staff member that a baby had arrived. It has been in use ever since 2009 and is the only baby drop off box in
28   South Korea,



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 1            United States, we have the Americans with Disablities Act, Title II and other laws

 2           protection for disabled persons. Alameda County was found in violation by the U.S.
 3            Depmiment of Justice for allowing and injuring disabled persons. Justice Department

 4           Finds that Alameda County, California, Violates the Americans with Disabilities Act and

 5           the U.S. Constitution. There are several federal district court cases Northern District of

 6            California U.S. District Court pending concerning Alameda County disabled.

 7           https://www.justice.gov/opa/pr/j ustice-department-finds-a lam eda-county-california-

 8           vio lates-americans-disabilities-act-and-us.

 9       32. U.S. Department of Veterans Affairs National Center for PTSD

10           https://www.ptsd.va.gov/understand tx/written exposure therapy.asp states When you

11           have PTSD, it's common to feel that the traumatic experience you went through is too

12           difficult or stressful to manage. You likely avoid reminders (like people or situations)

13           from the event, feeling a sense of danger.

14       33. National Institute of Mental Health

15           https://www.nimh.nih.gov/health/publications/bipolar-disorder Bipolar Disorder states

16

17   Brian Ivie directed a documentary about how Lee Jong-Rak has helped hundreds of lives and how he continues
     to do so (The Drop Box). In South Korea hundreds of children are abandoned on the streets and left for dead
18   every year. Ever since the baby box was created fewer children have been abandoned. Pastor Lee Jong-Rak
     takes care of all of the children that have come in and often puts then in an orphanage or takes care of them in
19   his home. He has taken care of more than 600 babies since he started the baby box.

20   Although it might seem happy there are people that don't support his idea. The director of K.U.M.F.A ( Korean
     Unwed Mother Family Association), Kyoung-Hwa Mok, doesn't support the baby box idea. He said that the baby
21   was encouraging mothers to abandon their children. The Korean government wasn't very supportive of his idea
     about the baby box and also thought it encouraged abandonment and asked him to shut it down. Lee Jong-Rak
22
     said, "There is no reason for the baby box to exist lf the government takes care of the children 1s safety, and
     making them happy." He also said, "If people say the baby box is illegal, then we can make it legal. There is
23
     nothing illegal about saving a baby's life." Pastor Lee Jong-Rak thinks that he should continue to do what he
24   thinks is right and I do too.

25   Pastor Lee Jong-Rak is a man we don't usually remember but for the children that he has helped, even when
     they weren't wanted, the handicapped, mentally disabled, and deformed. He has helped 600 children feel
26   wanted. To make a child happy is a good deed but if you can save them and make them feel wanted, you are a
     hero to them and plenty of other people. I think Lee Jong-Rak is a hero because he is saving hundreds of lives
27   every year and that isn't something many people do, and Lee didn't have to do it but he still did.

28




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 1          Bipolar disorder is a chronic or episodic (which means occurring occasionally and at

 2          irregular intervals) mental disorder, It can cause unusual, often extreme and fluctuating

 3          changes in mood, energy, activity, and concentration or focus.

 4      34. Very Well Mind https://www.verywellmind.com/writing-and-adhd-20821

 5          https://www.verywellmind.com/improving-reading-comprehension-in-students-with-

 6          adhd-20813 Writing and Comprehension difficulties for children and adults with ADHD.

 7          Keeping track of multiple concepts at once and continuously self-monitoring to make

 8          sme what they are reading makes sense can be incredibly difficult for a student with

 9          impaired working memory (often a problem for children with ADHD). Children and

10          adults with ADHD write a different way, Reasonable accommodations to be made by

11          coutts for individuals with disabilities, particularly communication disabilities both state

12          and federal courts. https://www.verywellmind.com/adhd-and-reading-comprehension-

13          20806.

14      35. I am not a professional attorney, I have retained professional attorneys and even they

15          have not performed well enough for this Court, Departments 20 and 512 respectively,

16
            which is curious. This Court constantly has ridiculed me for not having an attorney and

17          even when I have had attorneys, rulings have never been in my favor. Therefore, as a

18
            disabled person required to attempt to comply with restrictions by Dept. 512 that I do not

19
            completely understand in a reduced amount of time, this is extremely stressful. Disabled
            persons are to be given latitude in court as to provide equal access to the Courts ADA
20
            reasonable accommodations. Dept. 512 denied motion for summary judgment despite
21
            disputed facts, 137 page pleading drafted by attorneys stating that she did not know why
22
            it took so long when in fact she had granted emergency continuances fully aware of
23
            reasoning why limited scope attorneys were arguing months later due to mother's death,
24
            injury. Dept. 512 also chastised plaintiff for not conducting discovery during emergency
25
            leaves when motion for summary judgment stated discovery would be continuing.
26      •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
27

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     Disabled Plaintiff Mary Bernstein's First Amended Complaint 12 1s 2022- 27 -
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 1           1677. "Two Wings of the Same Bird,Two Sides of the Same Coin"!& "THE OLD AND
 2                   NEW 'BOARDs"
 3           1678. SERIES OF HOA BOARD MEMBERS LITIGATION FALSE LEFT RIGHT
 4                   PARADIGM DECEPTIVE ELECTION 2018 CAMPAIGN OF
 5                   DISINFORMATION CONTROLLED OPPOSITION FRENEMIES NEW VS. OLD

 6                   BOARD
            ■ ■ ■ ■■ ■ ■ 11 I ■■   I   I ■■ I ■■■ I ■■■   I I   I ■■■■■ I ■■■ I ■■■■■■■   I I I I   I ■ 111 I   I   I ■■   I I   I ■■ I ■■■ I ■ I ■   I I I

 7        36. Fall Winter 2016/2017 with absolutely no notice both pools were closed denying
 8             privilege In April 2006 Plaintiff Mary Bernstein, her husband John L. Bernstein Ill, and
 9             son John L. Bernstein, IV assumed mortgage and deed transfer of property from Father in
10             law John L. Bernstein IL Plaintiff was provided with CCRs and was not advised by the
11             Meadow Brook Homeowners Association or Massingham/Associa that the advertised
12             pools would only be heated 5 months out of the year or that one of the pools BBQ club
13             areas would be closed for seven months out of the year. Plaintiff Mary Bernstein suffers
14             from multiple health and psychological conditions: arthritis, plantar facitis, sciatica, !BS,
15             ulcers, post traumatic stress disorder, ADHD, Bipolar 1, depression. We have pets that
16

17
     16   The purpose of the recall of the HOA 2017 Board movement was allegedly criticizing the old Board for mistakes. Charlie
18        West (on the HOA Board longer than anyone and therefore culpable for this housing crisis) was longtime member behind the
          lawsuit for this "new Board. 171. On May 24, 2018 a request fur dismissal settlement of the entire action filed with the
19        Court by (long term 18+ years HOA Board President/Member Charlie West) HOA Board Member Charlie West, Anh-
          True Dang, Cannen Solis, Rosemary Ashley and Amy DcJesus filed filed a litigation against Meadow Brook Village
20        Association - Fremont Unlimited Civil Alameda County Superior Court Case No. RG 18889399. 172. On June 20, 2018
          request for dismissal settlement of the entire action filed with the Court by (long term 14 years+ HA Board
21        President/Mem her Susan Condio Hernandez) HOA Board Members Susan Condio Hernandez, Aarti 1nakur, Elizabeth
          Hal~ Joe Brody (Morrison), Linda Newman filed a litigation against Meadow Brook Village Association - Fremont
          Unlimited Civil Alameda County Superior Court Case No. RG 18898829.After new Board elected in 2018, evidencing mere!
22
          puppets for the old HOA Board the emergency assessment did not disappear and in fact the new Board was even more
          draconian practices. The property management selected remained the same Common Interest for significant time.
23   ." Metaphor meaning matters appearing unrelated are actually closely related Controlled opposition is a mind control technique
          and works hand in hand with the divide & conquer strategy. To create division the manipulator will present the victims with
24        the illusion of choice. If there is only one path available, a person will sense the control behind it and resist.
     It seems like old times .... Fonner HOA Board President Susan Condio Hernandez that denied pool to me in f0l 7 and long tcnn
25        HOA member that the 2018 "certain group of home.owners" election campaign to remove in 2018 is now, once again, servin
          capacity on the HOA Board again demonstrating the collusion/false left right paradign1. In addition, old HOA Board
26        members Belinda Hollingsworth and Sharon Daly are also serving in capacity of the HOA Board Susan Condio Hernandez
          is now on the Pool Committee and water consetvation which is one of the bases for this Complaint filed initially. The same
          old trumpet players. MEADOW BROOK VILLAGE HOMEOWNERS ASSOCIATION BOARD OF DIRECTORS
27
          MEETING AGENDA Tuesday, September 20, 2022 - 7:00PM Join Zoom Meeting V. COMMITTEES I. Water
          Conservalion Committee: Chairperson: Tiffany C., Committee Member: Susan H. 2. Landscape Committee: Chairperson:
28        Sharon D,, Co-Chairperson: Belinda H 3. Construction Committee: Chairman: Sajith S. 4. Architectural Review
          Committee: Chairman: Marl{ S., Committee Member: NimeshK. 5. Popi Committee: Chairperson: Susan Hernandez


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 1             will be impacted my comfort cats, service animals. We were provided with keys
 2             including the mai \box and pool.
 3         37. On March 28 2017 Executive Minutes Addendum states that a reserve transfer cannot be

 4             made by Elizabeth Hall Exhibits Wand JJ. C!Dology $10,000 to seek a loan for $4

 5             million. 17 Meadow Brook items for discussion reference due to reserves since 2013.

 6             Exhibit

 7         38. Plaintiff began hearing from neighbors John Gibson and Mona Oliver when going to

 8             retrieve her Mail in April or May 2017 that there was going to be some sort of charge that

 9             the City of Fremont had condemned the property. Mona Oliver later signed a declaration

10             she had me prepare a declaration about Richard Fong that she had researched and found a

11             conflict of interest. Mona Oliver I did not know that well other than seeing her feed cats

12             constantly along with John Gibson had previously advised me that she was an attorney,

13             had been to law school and also worked as a paralegal recently. I later learnt on

14             Linkedln that she has worked as a secretary with no listing of work as a paralegal or an

15             attorney. Exhibit        . I suspect that this is a misrepresentation overstating credentials as

16             it is odd that someone would complete law school and never work as an attorney. There

17             is no California state bar listing for a Mona Oliver. There is no listing of Mona Oliver fo

18             Washington state bar either.

19
           39. On May 17, 2017 Board of Directors meeting held elected to shred 49 boxes curiously to

20
               save $196. 00. Motion immediately heard to shred 49 boxes. The Board of Directors

21
               present for this motion making this decision Gerolamo Cosentino, Susan Condio

22
               Hernandez, Elizabeth Hall and Aarti Thakur. Tammy Fritz Associa present. Exhibit
           40. ln June 2017 C!Dology began an assessment (prior to this information was provided
23
               about a 3 month parameter of time of which I 00 persons or so would be on the property
24
               daily conducting an assessment.) On September 22, 2017 a check in the amount of
25
               $117,400.25 Banco Popular Acct#: 6811239208;Amount :$117,400.25,;Item#
26

27
     17   Elizabeth Hall Breach of Fiduciary Duty 2017 minutes out of funds served on board several years 2013, 2015-
28        2017, partial 2018 shredding documents 8 But you will receive power when the Holy Spirit comes on you; and
          you will be my witnesses in Jerusalem, and in all Judea and Samaria, and to the ends of the earth."


     Disabled PlaintiffMruy Bernsteii1's First Amended Complaint 1215 2022-29-
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 1          : I 00002;Posting Dt:9/25/2017;Tran Code :481 ;RT# :063 l 12605;Seq# :7230522930 was

 2          paid to C!Dology by Meadow Brook Village Association - Fremont. A loan in the

 3          amount of $4,048,306.00 was obtained secretly by Meadow Brook Village Association -

 4          Fremont from Popular Bank New York Puerto Rico. This loan obtained prior to any City

 5          of Fremont notice and involvement. The retention of C!Dology was obtained prior to

 6          June 2017. Richard Fong and C!Dology assisted in loan undertaking prior to City of

 7          Fremont involvement. City of Fremont was not Susan Condio Hernandez Commitment

 8          Letter accepted July 72017 and other then HOA Board members Joseph Morrison,

 9          Elizabeth Hall, Aarti Thakur, Gerolamo Cosentino without knowledge or disclosure

10          to homeowner Plaintiff Mary Bernstein and some other community members. Another

11          payment only 14 days later made to C!Dology on October 9 2017 by Meadow Brook

12          Village Association- Fremont in Acct#: 6811239208;Amount :$385,836.45,;Item#

13          : 100006;Posting Dt: I 0/l l/2017;Tran Code :481 ;RT# :063 l 12605;Seq# :7231900000.

14          Exhibit . Loan payments from Old North State Trust account.       Old North State Trust

15
            Account LLC with offices in North Carolina. Popular bank loan obtained East Coast.

16
            Why not California banks? Popular Bank Carribbean and Latin America. It is interestin

17          that bank, trust company would be selected so far away from MeadowBrook Village

18
            situated in Fremont, California.

19
        41. In the summer of 2017 the pool during the five months that it "was open" was not fully
            heated and uncomfortable temperature except on exceedingly scorching days. The pool
20
            attendant advised that it was not allowed to go beyond a certain point ostensibly to save
21

22
            monies. Plaintiff believes it was 70 degrees only 10 degrees warmer than non heated
            status tenants endured most of the year. Previous years the pools were heated to a
23
            comfortable 80 degrees during the five month parameter of window of time of use the
24
            Board determines roughly April, May sometime to October, November always
25
            fluctuating. Sometimes this would be early May and sometimes it would be late April
26
            again inconsistent tenants anticipating when this "privilege" would be given to them for
27

28




     Disabled Plaintiff Mary Bernstein's First Amended Complaint 1215 2022. 30-
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1          the Summer. In suspense, tenants would have to dip their toes in water and investigate -

2          like the inconsistent pool hours, padlocks on sometimes, padlocks off other times.

3      42. Despite no delinquency of her account, Plaintiff did not enjoy privileges afforded for

4          paying home association dues year round and still does not to date. The pool was locked

5          this morning again at 8:53 am on March 7, 2018 despite sign to the contrary posted pool

 6         hours 8 am to IO pm. Plaintiff has sciatica and walking to the pool only to find that it is

7
           not open, prohibited is devastating. I have a pool key but not a "padlock key" which

 8         some others possess. The pool is double locked not only the gate key but then

 9
           "padlocked" so that we cannot get in. I have requested one of these padlock keys since I

10         am the only one that I know of that actually uses the pool, hot tub every day if I am

11
           allowed yet repeatedly have been told we cannot do that. I have asked them to remove

12
           the padlock since we all have keys to the pool. Again, I was told that they cannot do that.

13
           This has caused me several times on occasion to become so incensed on telephone calls
           to them causing PTSD breakdowns. February 12, February 14 these dates not opened as
14
           well this and continually last summer, forcing me to telephone property management
15
           Associa/Massingham, forcing me to become upset begging for the pool to be open.
16
           Sometimes it would be opened later, sometimes it would not be as if they enjoy this game
17

18
           with me.
        43. The Associa management would say someone there can let you in in about an hour or so
19
           but they are not there right now. Some residents apparently receive a padlock key to
20
           access the pool whenever they like but others do not. I would be expected in pain to
21
           periodically keep going to the pool checking, wondering if it would be open or not. This
22
            would in turn cause pain sciatica and aggravate my PTSD, ADHD conditions. Plaintiff
23
           and owners whether residential or investment should be entitled to recovery of monetary
24
            dues/damages for denial of use of the common interest club, barbeque and pool areas for
25
            7 months out of the year. Despite the large number of tenants heating only one hot tub
26
            and keeping one pool open. The pool is 50 degrees to cold to swim in while the hot tub
27
            110 degrees to hot. Susan Hernandez pestering me constantly says would I like some of
28




     Disabled Plaintiff Mary Bernstein's First Amended Complaint 1215 2022- 31-
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 1              her old bathing suits. Driving and chasing me down when I was walking with my
 2              laundry cart asking me if! still care to swim. Telling me about her Country Club Club
 3              Sport she belongs to swim. Telling me that if people want to swim they need to join a

 4              club. My JBS, ulcers are hurting right now writing this pleading. Selfie stick Cidology.

 5         44. This is not a matter of not enough funding for Meadow Brook but mismanagement of

 6              funding. Where does it say in the CC&Rs that the pool hours are to be closed on

 7              Mondays, or 8 am - IO pm. There are quite a few swimmers here that want to swim year

 8              round like myself. The weather here is not so cold that water freezes into ice and

 9              therefore pool should be maintained heated year round. Many people like to swim before

10              work and therefore 6 am - 10 pm is more ideal hours for the early birds and the night

11              owls. Where does it state in the CC&Rs that the pool is to be padlocked in addition to

12              locked? All owners, tenants possess a key to gate but only a chosen few have this

13              padlock key.

14         45. On July 24 2017 C!Dology sent a letter to homeowner Athala Cevallos advising of

15
                emergency escape stairway structural damage. The City of Fremont produced this letter

16              in response to subpoena. Exhibit LL. 18

17
           46. On August 8, 2017MeadowBrook Village Homeowner Athala Cevallos contacted the

18
                City of Fremont to complain about the hazardous condition of the emergency escape

19
                stairway and requested an inspection of the property. Exhibis LL,t MM.
           47. The above complaint to the City of Fremont was the only complaint about MeadowBrook
20
                Village Association - Fremont the City of Fremont had ever received statement by Tanu
21

22
                Jagtup Code Enforcement.
           48. During the deposition of Athala Cevallos on October 25, 2018 Athala Cevallos stated
23
                that election bribery if elected President, lawsuit would be dismissed Amy DeJesus
24
                blackmail. Amy DeJesus elected President remained President for two months. Michael
25

26

27
     1e   Athala Cevallos deposition pp. 35-36 states that she has never received this letter and did not provide to the City of Fremont.
28        This was part of subpoenaed production of records. Whether or not this is in fact true or not is to be detcnnined at trial;
          however this is what she has stated under oath.


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 1           Durbin President thereafter. Campaign of disinformation, deceit. Athala Cevallos

 2           deposition pp 14 lines 1-15 .
        • ■• ■ • • • • • • ■ • • • • • ■ • • • • • • • • • • • ■ • • • • • • ■ ••• ■• ■ ■ •• ■ •• ■• ■ ••• ■ •• ■• ■ • • • ■ • • • • • • ■• ■• ■

 3                             Were you aware of this particular dismissal and
 4         1679.              2      case?
 5         1680.              3         A. 1 went to a meeting one time, and I understand
 6         1681.              4     that there was somebody that apparently was going to be
 7         1682.              5      part of the new Board; that was involved in suing, uh,
 8         1683.              6      somebody there, the association.
 9         1684.              7              But it was my understanding, on what they said
10         1685.              8     there, is that she will withdraw either if the group wins
11         1686.              9     the ... the ... the new homeowner association, would you
12         1687.             10      call that, the presidency and everything.
13         1688.             11          Q. If she got that position.
14         1689.             12          A. If the new people, that they were coming in, the
15         1690.             13      Board --
16         1691.             14          Q. That she would dismiss --
17         1692.             15          A. If they will win, then she will dismiss it.
          ■■ ■■■■■■■ I ■■ I ■■■■ I ■■ I I ■■■■ I I ■■ I ■ I ■■ I ■ 11 I I ■■■■■■■■■■■■ I I ■ I ■■ I ■■ I I ■ I ■ I                     I ■ I ■■ I

18      49. During the deposition of Athala Cevallos on October 25 2018 Exhibit MM, Athala
19            Cevallos discussed the scheme of Amy DeJesus plot for the litigation Charlie West, to get
20           new HOA Board President once elected Amy DeJesus would resign in a few months.
21           This deceitful plan hatched election based on deceit, bogus election promises and
22           campaign of disinformation and fraud.
23      50. During the video deposition of Tammy Fritz October 17, 2018 Exhibit WWW laughing a
24           the mention of Meadow Brook Village out of funds, unable to make reserves stated never
25           out offunds as Meadow Brook Village HOA Board members and certain group of
26           homeowners have stated. Tammy explained that investments were made constantly with
27           reserve funds by Meadow Brook. Tammy Fritz explained accounts constantly opened
28           and closed. Tammy Frtiz also stated that she was unaware how much pool cost to heat


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 1          monthly. If Tammy Fritz did not know the property manager for 20 years, Susan Condio

 2          Hernandez could not have possibly known as Tammy Frtiz handled this account and

 3          payments for Meadow Brook Village. Tammy Fritz laughing continuously about

 4          Meadow Brook Village during video deposition as displayed in screenshots Exhibit

 5          KKK.

 6      51. During the video deposition of Sharon Massingham November 28, 2018 Exhibit LLL and

 7          Exhibit VVV, Sharon Massingham said it was not customary for HO As to shred

 8          documents. Sharon Massingham continuously laughing during deposition about Meadow

 9          Brook Village Association. Farmers Insurance refused to produce any third pat1y HOA

10          Board members that were served for deposition and were served by subpoena: Charlie

11          West, Susan Condio Hernandez, Joey Morrison Brody, Aat1i Thakur, Elizabeth Hall.

12      52. Sometime after December 5, 2017, (this is the last date referenced on this particular

13          document) https://goo.gl/FwdQ9v an anonymous authored undated document

14          "MEADOWBROOK VILLAGE HOA SECOND OPINION was circulated to the HOA

15          Community. Exhibits O & S. The identities of these individuals and the memorandum

16
            is vague and ambiguous deliberately. Curiously, the document references an attorney

17
            unnamed and that they had to go to an attorney because they could not obtain

18
            information, documents, in person meetings. The memorandum speaks about the then

19
            current HOA Board and the recall. This memorandum was placed at the doors by a
            "certain group of homeowners" as they identify themselves in such a cowardly way as
20
            opposed to listing identities. Frenemies strange bedfellows. Even though these
21
            candidates petitioning for old board to be removed, once "New Board" elected -
22
            members from the 2017 were still very much involved from the sidelines that
23
            created this mess for iustance Aarti Thakur former Treasurer Board 2017 secretive
24
            loan obtained debacle leading to alleged out of funds Emergency Assessment. This
25
            Treasurer participating Construction Committee, Landscape Committees.
26
            Treasurer participating in Board capacity ou several committees immediately
27

28




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 1             thereafter. Juue 27 2019 BJ Mauagemeut Solutious email lists offices HOA Board

 2             Members Directors & Sub-committees. 19

 3        53. On March 19, 2018 Plaintiff filed initial complaint and tro against MeadowBrook Village

 4             Association. Hindsight is always 20/20 and discovery unearthed information that 1 did

 5             not previously possess when filing initial complaint. I hope that no other disabled

 6             homeowner in an HOA ever has to endure the trauma that my family, my guests and

 7
     Board of Directors
 8   Mike Durbin, President
     Vipul Ramani, Vice-President
 9   Virendra Dhavale, Secretary
     Romulo Zafra, Treasurer
10   Ashok Agarwal, Director

11   MBV Committees:
     Architecture:
     Chair: Mark Simonson
12
     Member: Oscar Saldanha
     Board Liaison: Mike Durbin
13   Landscape:
     Chair: Linda Newman
14   Members: Sharon Daly, Aarti Thakur,
     Lorraine Aquino, Hannan Judge,
15   Renata Causic. Daisy Zafra,
     Adviser: Judith Schneider
16   Board Liaison: Ashok Agarwal
     Outreach & Communications:
     Co-chairs: Dawn Aquilina &
17
     Venkatcsh Chari
     Members: Rowena Frick, Pablo Diaz,
18   Neemj Du~y, Liping Lu, Vidya
     Board Liaison: Mike Durbin
19   Planning:
     Chair & Board Liaison: Romulo Zafta
20   Members: Judith Schneider,
     Venkatesh Chari, Neeraj Dubey,
21   Jenny Suh, Chandra Raju, Assim
     Gupta
     Governance:
22
     Members: Belinda & Warren
     Hollingsworth, Linda Newman, Tanya
23   Harris, Naseem Meer, Daisy Zafra
     Board Liaison: Viru Dhavale
24   Construction:
     Co-chairs: Aarti Thakur & Bill
25   Schneider
     Members: Anand Prasad R,
26   Hannan Judge
     Board Liaison: Vipul Ramani
     Newsletter Contributors:
27
     Linda Newman. Aarti Thakur,
     Rohit Varicatt, Colin Lynch,
28   Daisy Zafra 38 Peter replied, ''Repent and be baptized, every one of you, in the name of Jesus Christ for the forgiveness of your
         sins. And you will receive the gift of the Holy Spirit.


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 1              myself have had to endure for merely questioning why we owed funds when we had been
 2              paying assessments since 1988 ostensibly for the maintenance of this very property.

 3      54. On May 12, 2018 Plaintiff served on Defendants Associa, Massingham and

 4              MeadowBrook PLAINTIFFS' NOTICE OF SERVICE OF FIRST SET OF SPECIALLY

 5              PREPARED INTERROGATORIES, REQUEST FOR ADMISSIONS AND REQUEST

 6              FOR PRODUCTION TO DEFENDANT. Farmers Insurance responded with the names

 7              of the officers, directors. (Exhibits U, V). The following interrogatories propounded

 8              included the following interrogatories: 3. What are the names and addresses of the Board

 9              Members from 1982 through the present? List names and years in office.
        ■ ■   ••• ■ •• ■ ■ • • • ■ ••• ■ ■• ■ ■ ■ •• ■ •• ■ ■ ■• ■ ■• ■ ■■• ■■ •• ■ • • • • ■• ■ • • • • • • ■ •• ■ ■ ■ •• ■• ■ • • • • ■ ••

10            1693 .4. List the financial institutions for the various accounts and their account numbers
11                    from 1982 through the present. According to the CC&Rs there were to be 3 accounts
12                    at least to have been maintained. Capital Improvement (Section 5 CCR pg. 11-12,
13                    Reconstruction (Section 6 CCR pg 12) and Regular Account. Provide me with the
14                    name of the financial institution and the account numbers for the various accounts.
15            1694. 5. According to the Davis Sterling Act a reserve study was to be conducted every
16                    three years concerning the property. Please list every year that a reserve study was
17                    conducted. Study Required. All associations, regardless of size, are required to

18                    prepare a reserve study (Civ. Code §5550), unless the total replacement costs are less

19                    than 50% of the gross budget of the association, excluding the association's reserve

20                    account for that period. (Civ. Code §5550(a).) Provide the names and addresses of

21                    the reserve company that conducted each reserve study.
          •• ■ • • • ■ • • • • • • ■ ■• ■ ■ •• ■ ■ •• ■ ■• ■ ■• ■ ■ ■ •• ■ •• ■ ••• ■ •• ■ •• ■ ■• ■ • • • • ■ •• ■ •• ■ • • • • • ■• ■• ■•

22      55. On June 12 2018 Farmers Insurance, MeadowBrook, Massingham Associa responded to
23              FIRST SET OF SPECIALLY PREPARED INTERROGATORIES, REQUEST FOR
24              ADMISSIONS AND REQUEST FOR PRODUCTION TO DEFENDANT (Exhibits
25              U,V). Interrogatory response number 3 response provided by Farmers Insurance and
26              defendants provided the following response:
        • • • ■ •• ■ ■• ■ ••• ■ ■• ■ ■ •• ■ ■ • • • • • ■ ■ •• ■• ■ ■ •• ■ ■• ■ ••• ■ •• ■ • • • • • ■ • • • • ■ •• ■• ■ ■ •• ■ •• ■ • • • ■

27            1695.The 2018-2020 Board of Directors members: Amy DeJesus William Schneider,
28                    Rohit Varicatt, Michael Durbin, Vipul Ramani. Virenda Dhavale


     Disabled Plaintiff Mary Bemstein 's First Amended Complaint 12 15 2022-36 -
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 422 of 801




     used in a burden of proof analysis. Under the preponderance standard, the burden of proof is met
 1
     when the party with the burden convinces the fact finder that there is a greater than 50% chance
 2
     that the claim is true. This is the burden of proof in a civil trial.
 3
     And (c) I, the undersigned plaintiff, declare under the penalty of perjury that the
 4
     foregoing is true and correct and was executed in Alameda County, Fremont, California by
 5
     Plaintiff Mary Bernstein this 12 th day of December, 2022 ..
 6

 7

 8
                                                              _ _ __,MARY BERNSTEIN
 9

10

11                                                    JURY DEMAND
12           Plaintiff demands a jury trial as I did in initial filing of this lawsuit. Preponderance
13   of the evidence is one type of evidentiary standard used in a burden of proof analysis. Under the

14   preponderance standard, the burden of proof is met when the party with the burden convinces the

15
     fact finder that there is a greater than 50% chance that the claim is true. This is the burden of
     proof in a civil trial.
16

17               DATED this 12th day of December, 2022.
18

19
                                                              _ _ _ _MARY BERNSTEIN
20

21

22

23

24

25

26

27

28



     Disabled Plaintiff Mary Bernstein's First Amended Complaint 1215 2022-1828 -
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 423 of 801




EXHIBIT H

The Exodus
31
  During the night Pharaoh summoned Moses and Aaron and said, "Up!
leave my people, you and the Israelites! Go, worship the lord as you
have requested. 32 Take your flocks and herds, as you have said, and go.
And also bless me."
33
  The Egyptians urged the people to hurry and leave the country. "For
otherwise," they said, "we will all die!" 34 So the people took their
dough before the yeast was added, and carried it on their shoulders in
kneading troughs wrapped in clothing. 35 The Israelites did as Moses
instructed and asked the Egyptians for articles of silver and gold and for
clothing. 36 The lord had made the Egyptians favorably disposed toward
the people, and they gave them what they asked for; so they
plundered the Egyptians.
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                                                                                         . . 2.0685287
                                                                                                          !111111111111111 •


       MARY BERNSTEIN
 1
       3416 Deerwood Terrace, #113                                           FILED
 2     Fremont, CA 94536                                                ALAMEDA COO\'ITY
       Email: mhelenbemsteln@vahoo.com
 3     (510) 938-6280                                                        MAR 1i3 2018
       Plaintiff Pro Se
 •                                                                  Cl,11!\K ~SU,l'nl!,!OR cel\J •
 5                               SUPERIOR COURT OF CALIFORN1'A             -~                         ")T 1
 6                                       COUNTY OF ALAMEDA
 7
       MARY BERNSTEIN,                                  Case No.    HG 18 8 9-7-3 8'· 1
 8
              Plaintiff,                                COMPLAINT FOR

10
              vs.                                           I. FRAUD
                                                            2. BREACH OF FIDUCIARY DUTY;
11     ASSOCIA NORTHERN CALIFORNIA, a                       3. BREACH OF CONTRACT
       California Corporation MEADOW BROOK                  4. BREACH OF THE IMPLIED
12
       VILLAGE ASSOCIATlON • FREMONT, a                          COVENANT OF GOOD FAITH
13     California Corporation, MASSINGHAM &                      AND FAIR DEALING
       ASSOCIATES, a California Corporation                 5. INTENTIONAL INFLICTION OF
14     JOHN DOE 1-50; MARY ROE 1-50; XYZ                         EMOTIONAL DISTRESS
       CORP 1-50; ABC LLC 1-50; The names of                6. NEGLIGENT INFLICTION OF
15
       the "John Doe 1-50" "Mary Roe 1-50", "XYZ                 EMOTIONAL DISTRESS
16     Corp, 1-50", and "ABC LLC, 1-50",                    7. INTENTIONAL
       defendants being fictitious, and unknown to               MISREPRESENTATION
17     the Plaintiff,                                       8. NEGLIGENT
                                                                 MISREPRESENTATION
18
              Defendants.                                   9. BREACH OF CC&Rs AND
19                                                               BYLAWS
                                                            I 0. Violation of UNRUH CIVIL
20                                                               RIGHTS.ACT
21 ~
                                                            1l. Violation of
                                                                 CALIFORNIADISABLED
22                                                               PERSONS ACT
                                                            12. INJUNCTIVE RELIEF
23.
                                                                 EMERGENCY ASSESSMENT
24
                                                                 IMMINENT THREAT APRIL 2
                                                                 2018 AND DECLARATORY
25                                                               RELIEF
26
                                                        JURY TRIAL DEMANDED
27

28

       Complaint
                                                     •1 -
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 425 of 801




 1   Plaintiff Mary Bernstein brings this Complaint for Fraud, Breach of Fiduciary Duty, etc. against,
 2   ASSOCIA NORTHERN CALIFORNIA, a California corporation; MEADOW BROOK
 3   VILLAGE ASSOCIATION - FREMONT, a California corporation; MASSINGHAM &
 4   ASSOCIATES, INC., a California corporation; JOHN DOES 1-50; MARY ROES 1-50; XYZ
 s   CORPORATIONS 1-100; The names of the "John Doe 1-50" "Mary Roe 1-50", "XYZ Corp, 1-
 6   50", and "ABC LLC, 1-50", defendants being fictitious, and unknown to the Plaintiff
 1   ("Defendants") and states the following:

 8

 9   I. Plaintiff Mary Bernstein, her husband John L. Bernstein, III and son John L. Bernstein, IV

10        are owners of unit 113, 3416 Deerwood Terrace, Fremont California. Plaintiff is and was at

11        all times herein an individual residing in the County of Alameda.

12   2. Plaintiff Mary Bernstein is disabled and suffers from physical and psychological conditions.

13        Post traumatic stress disorder, ADHD and other conditions. Plaintiff seeks reasonable

14        accommodations during these proceedings as a disabled person and in compliance with the

15        Americans of Disabilities Act, California, Disabled Persons Act,

16   3. Defendant Meadow Brook Village Association - Fremont is a California Corporation

17        registered with the California Secretary of State Entity No. Cl 160572 on October 21, 1982

18        organized and existing under the laws of the State of California with its principal place of

19        business in the County of Alameda. The statutory agent listed is Associa Northern

20
          California. Associa statutory agent is CT Corporation.

21
     4. Defendant Massingham & Associates Management, Inc: is a California Corporation

22
          registered with the California Secretary of State Entity No. Cl 706476 on May 8, 1992

23
          organized and existing under the laws of the State of California with its principal place of
          business in California. The statutory agent is CT Corporation.
24
     5.       Defendant Associa Northern California, Inc. is a California Corporation registered with
25
             the California Secretary of State Entity No. C3685234 on June 12, 2014 organized and
26
              existing under the laws of the State of California with its principal place of business in
27
              California. The statutory agent is CT Corporation.
28

     Complaint

                                                       -2-
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 426 of 801




 1    6.    l am writing this March 7, 2018 this will take me some time to write because l am
 2           disabled. It is 8:53 am and I v:anted to engage in stress relief for my condition PTSD,
 3           ADHD and the pool is padlocked again. There are workmen waiting to get in the area as
 4           well. I have attached photo on their paperwork on the bush waiting to get in. The denial
 s           of privileges despite always paying dues is ridiculous. I am and may be the only one that
 6           utilizes the hot tub, the Defendants know that I am disabled through many calls to open
 7           pool that this is part of management for my conditions. Yet constantly these privileges
 8           are denied or I am forced to become upset calling them, begging them to open the pool
 9           for my use which I am paying for consistently. This is aggravating and is
10           counterproductive. Retaliating against me for enforcing your rights. 28 C.F.R. § 36.206.
11           28 C.F.R. § 36.201(a); 28 C.F.R. § 36.202(b); 28 C.F.R. § 36.203 It is not stress

12           management but stress making. lntstead of calming the pool treatment it incenses the

13           conditions more to have to call and interact with personalities because I am deprived and

14           denied of something I am forced to pay for with no recourse. [Timedate stamp photo

15           Metro PCS]. Plaintiff and other homeowners, renters of investment properties have been

16           denied privileges for some time despite payment of homeowners dues. The pools are

17           heated only 7 months out of the year but this is not disclosed to people buying property -

18           an omission which is a misrepresentation. The reason Plaintiff has always been advised

19
             is the same "poor mouthing excuse" that it is so expensive. Despite $522.18 per month x

20
             466 units after all these years - it is the same mantra over and over again.

21
       7.    Plaintiff is informed and believes that each defendant, including the fictitious defendants,

22
             was the agent or employee of the named defendants, and acted within the scope and

23
             authority capacity of that entity agency.

24
                                                          FACTS

25
             8. I receive social security disability benefits for a reason and can no longer work for a
                   reason because I decompensate in stressful situations and cannot engage in substantial
26
                   gainful activity. Instead of a tranquil residential area, the homeowners have been
27
                   thrust into a hostile environment constantly having ownership rights to common areas
28

       Complaint
                                                         -3•
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 1               withheld, harassment concerning interior decorations from the HOA while they have
 2               admittedly in their documents abdicated their fiduciary duty by neglecting· the more
 3               important issues - the maintenance of the property. Engaging in micro managing,
 4               harassment of non board members by HOA board members as their personal fiefdom
 5               and a degree of deference lingers.
 6         9. This has become an association ran on autocratic grounds as opposed to community
 7               of equal owners; the ringleader President Susan Hernandez has harassed myself and
 8               others treating us as peasants subjected to her whims. I am not supposed to be
 9               involved in stressful matters at this time and my home is no longer a sanctuary as the
10               turmoil that i.s occurring in this civil war of neighbors. I am a prose litigant, disabled
11               and cobbling these facts together as best as my conditions allow.· Leniency is to be
12               provided as well as reasonable accommodations for the disabled by the Courts. I

13               have an attorney that will be assisting throughout this case bundled rights/limited

14               scope representation. This is not meant to be meandering but it is the best that I can

15               articulate with ADHD, PTSD and bipolar I, anxiety, depression and anti social

16               conditions. I have filed MC 410 form for reasonable accommodations with this

17               Court. I am prescribed medications as well as swimming, exercise for management

18               of my conditions.

19
           10. Meadow Brook Village Association-Fremont Cl 160572 a Domestic Nonprofit

20
                 Corporation was established on October 21, 1982. A Nonprofit corporation is a

21
                 special type of corporation that has been organized to meet specific tax-exempt

22
                 purposes. To qualify for Nonprofit status, your corporation must be formed to benefit:

23
                 (I) the public, (2) a specific group of individuals, or (3) the membership of the

24
                 Nonprofit. The association was formed to manage common interest development

25
                 under the Davis-Sterling Act as attested to on annual Statement oflnformation filed
                 with the California Secretary of State. The corporate office and managing agent are
26
                 listed as Associa, 1341 W. RobinHood Drive, Suite B7, Stockton, California 95207.
27

28

     Complaint
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1          1 I. In February 2006 Plaintiff Mary Bernstein, her husband John L. Bernstein Ill, and so
2    John L. Bernstein, IV assumed mortgage and deed transfer of property from Father in law John
3    L. Bernstein II. Plah1tiff was provided with CCRs and was not advised by the Meadow Brook
 4   Homeowners Association or Massingham/Associa that the_ advertised pools would only be
 5   heated 5 months out of the year or that one of the pools BBQ club areas would be closed for
 6   seven months out of the year. Plaintiff Mary Bernstein suffers from multiple health and
 7   psychological conditions: arthritis, plantar facitis, sciatica, JBS, ulcers, post traumatic stress
 8   disorder, ADHD, Bipolar I, depression. We have pets that will be impacted my comfort cats,
 9   service animals. We were provided with keys including the mailbox and pool.
10          12. In the summer of2017 the pool during the five months that it "was open" was not

11   fully heated and uncomfortable temperature except on exceedingly scorching days. The pool

12   attendant advised that it was not allowed to go beyond a certain point ostensibly to save monies.

13   Plaintiff believes it was 70 degrees only 10 degrees wanner than non heated status tenants

14   endured most of the year. Previous years the pools were heated to a comfortable 80 degrees

15   during the five month parameter of window of time of use the Board determines roughly April,

16   May sometime to October, November always fluctuating. Sometimes this would be early May

17   and sometimes it would be late April again inconsistent tenants anticipating when this

18
     "privilege" would be given to them for the Summer. In suspense, tenants would have to dip

19   their toes in water and investigate - like the inconsistent pool hours, padlocks on sometimes,

20
     padlocks off other times.

21
            13. Despite no delinquency of her account, Plaintiff did not enjoy privileges afforded for

22
     paying home association dues year round and still does not to date. The pool was locked this

23
     morning again at 8:53 am on March 7, 2018 despite sign to the contrary posted pool hours 8 am

24
     to 10 pm. Plaintiff has sciatica and walking to the pool only to find that it is not open,
     prohibited is devastating. I have a pool key but not a "padlock key" which some others possess.
25
     The pool is double locked not only the gate key but then "padlocked" so that we cannot get in. I
26
     have requested one of these padlock keys since I am the only one that I know of that actually
27
     uses the pool, hot tub every day if I am allowed yet repeatedly have been told we cannot do that.
28

     Complaint
                                                      . 5.
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 429 of 801




 1     I have asked them to remove the padlock since we all have keys to the pool. Again, I was told
 2     that they cannot do that. This has caused me several times on occasion to become so incensed
 3     on telephone calls to them causing PTSD breakdowns. February 12, February 14 these dates
 4     not opened as well this and continually last summer, forcing me to telephone property
 5     management Associa/Massingham, forcing me to become upset begging for the pool to be open.
 6     Sometimes it would be opened later, sometimes it would not be as if they enjoy this game with
7      me.
 8           14. The Associa management would say someone there can let you in in about an hour or
 9     so but they are not there right now. Some residents apparently receive a padlock key to access
10     the pool whenever they like but others do not. I would be expected in pain to periodically keep

11     going to the pool checking, wondering if it would be open or not. This would in turn cause pain
12     sciatica and aggravate my PTSD, ADHD conditions. Plaintiff and owners whether residential

13     or investment should be entitled to recovery of monetary dues/damages for denial of use of the

14     common interest club, barbeque and pool areas for 7 months out of the year. Despite the large

15     number of tenants heating only one hot tub and keeping one pool open. The pool is 50 degrees

16     to cold to swim in while the hot tub 11 Odegrees to hot. Susan Hernandez pestering me

17     constantly says would I like some of her old bathing suits. Driving and chasing me down when

18     I was walking with my laundry cart asking me if! still care to swim. Telling me about her

19
       Country Club Club Sport she belongs to swim. Telling me that if people want to swim they

20
       need to join a club. My JBS, ulcers are hurting right now writing this pleading. Selfie stick

21
       Cidology.

22
             15. This is not a matter of not enough funding for Meadow Brook but mismanagement of

23
       funding. Where does it say in the CC&Rs that the pool hours are to be closed on Mondays, or 8

24
       am - l O pm. There are quite a few swimmers here that want to swim year round like myself.

25
       The weather here is not so cold that water freezes into ice and therefore pool should be
       maintained heated year round. Many people like to swim before work and therefore 6 am - 10
26
       pm is more ideal hours for the early birds and the night owls. Where does it state in the CC&Rs
27

28

       Complaint
                                                     .6•
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 430 of 801




 1   that the pool is to be padlocked in addition to locked? All owners, tenants possess a key t,o gate
 2   but only a chosen few have this padlock key.
 3          16. The people, the homeowners not on the Meadow Brook board have been shut out
 4   from meetings, voting in what appears to be a dictatorship, cabal postings of meetings at the
 5   pool for call in to be canceled, removed held offsite at the Associa offices for intimidation,
 6   posturing. Susan Hernandez the President, the ringleader has bullied countless tenants, workers
 7   and myself as a Queen in an ivory tower despite the fact that she lives amongst the village
 8   people as well and not in a castle high above us.
 9          17. The pipes and constant plumbing issues in the complex. Above All Plumbing I think
10   is the name of the plumber that has constantly been called or is on site due to pipes not replaced
11   for years causing issues to owners. Insurance does not cover neglect which is what the HOA
12   engaged as described in the Emergency Assessment stating that they did not tend to and cut
13   comers. This is not the fault of the homeowners that relied o~ fiduciary duty of the five
14   members in charge as well as the competence of the property management firms involved.

15   Discovery will reveal all property managers and HOA board members throughout the years.

16   Susan Hema\}dez has been the President consistently for many years as far back as I can

17   remember. The years 2006 - 2011 she was on the board in various roles and then resurfaced in

18   2014 on the board and in subsequent years to present as President. The accountability and

19   responsibility lies with the President according to the CCR, Bylaws and California law,

20   Business & Professions Code, Davis-Sterling Act. This woman has repeatedly advised me to

21
     join health clubs despite the fact that there are two pools here that I pay for to utilize and am

22
     deprived from so doing.

23
            18. These are some of the examples of deprivation of ownership rights, negligence

24
     occurring:

25
                  •   Roofing repair plastic cover as opposed to fixing leakage.

26
                  •   Infestation of insects, rodents.
                  •   Deprivation ofrights to utilize as we desire our personal area decorate, cultural
27
                      shoes asian, uniform interior decorating imposed white, beige drapes.
28

     Complaint
                                                         .7•
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 431 of 801




 1               •   Flickering lights in carports for years, walkway lamps left blown out for years
 2                   only now are they fixing.
 3               •   Withholding of ballots, materials annual disclosures. We did not receive any
 4                   ballot in the mail for the special assessment. I do not remember seeing any CCR,
 5                   bylaws and had to request from Associa. We have not received annual
 6                   disclosures for years had to request from Associa.
 7               •   Dead birds left for months.
 8   There seems to be a hostility, spite occurring to the homeowners not part of the board that is
 9   increasing, This is overt as opposed to covert hostility.
10         19. On January 24 2018 we went to vote and 2/3rds voted against Special Assessment.
11               At first the attorney said that they would not know the results that night but everyone
12               insisted and ballots were counted. The attorney Richard Fong master of ceremony
13               was very nasty to all ofus and stated that we had been breaking the street light

14               fixtures. There is now a new attorney for Meadow Brook. Exhibit 5. The lights that
15               had been out for several years they are claiming. Richard Fong said that security

16               cameras are installed to watch us. This is very destabilizing to my condition and I am

17               fearful walking outside some of the time believing that I am being watched now at th

18               pool at everywhere. This has caused me to go out of my house for walks less now.

19               We were told to look for the emergency assessment due April I but had no idea what

20               this amount was going to be. It was a very nasty, contentious situation. The board,

21               their attorney against the Village people, us. https:/lcidology.com/wlmeadowbrook/

22         20. None of the homeowners in Meadow Brook have done anything wrong but faithfully

23               pay our dues and mortgages trusting maintenance issues have been complied with

24
                 every two years by law. We are treated as criminals, institutionalized patients in an

25
                 asylum that have no say, no recourse but be at the mercy of these rulers. This is

26
                 extremely hard to write this complaint and supporting papers with my conditions. I

27
                 have been suffering harassment, retaliation as a disabled person and this will in all

28

     Complaint
                                                     •8.
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 1               likelihood increase by these Defendants now that I am filing this lawsuit. Mental
 2               impairment PTSD, ADHD, Bipolar I.
 3         21. Defamation and harassment of five litigants that filed lawsuit and I can probably
 4               expect the same. Orange signs all over the complex calling out the five Plaintiffs in
 5               order to deflect from Defendants negligence, mismanagement signs stating "CAN'T
 6               SELL? CAN'T REF!? - IT'S THE FAULT OF AMY DEJESUS, CARMEN SOLIS,
                 ANH-TRUC DANG, CHARLIE WEST, ROSEMARY ASHLEY AND THEIR
 8               FRIVOLOUS LAWSUJT and DO NOT ELECT AMY DEJESUS TO MBV BOARD
 9               OF DIRECTORS inciting potential violence, hostility towards certain owners. This
10               is a further attempt from this HOA to terrorize, mind control tenants, owners. I am
11               not political and have no interest in serving on board. What I expected is those that
12               do serve to be competent and not oppressive. This situation is outrageous and fault o
13               the MEADOW BROOK and property management firms. The Board of MEADOW
14               BROOK has authority to obtain, retain and fire property management firms so
15               ultimately they are responsible.

16         22. This is not a five star hotel this complex. $163,000 - $238,000 a month in the past

17   two years alone is enough to maintain the properties adequately- the aroount of dues owners

18   have been paying. Millions of dollars and the decry underfunded? The pool costs is not

19   astronomical as they have said according to their accounting. I would not stay at hotels that

20   advertise pools but do not allow guests to utilize that would be misrepresentation.

21
     https://www.youtube.com/watch?v=4uaViiP 1Big

22         23. Such discriminatory, unlawful contradictory language contained within the CC&Rs,

23   Bylaws that non homeowners, renters or guests cannot use the pool. On the other hand, stating

24
     that no more than four guests at pool allowed. Guests not allowed to utilize pool without owner

25
     present. Parking restricted for guests. Exhibit 1, Exhibit 2.

26
           24. The CCR, Bylaws disclosures advising that we may not have plants in vases other

27
     than the colors they choose white or beige pots, drapes certain colors - dictatorial interior and

28
     exterior areas while they ignore our investments. Exhibit 3-4 Budget Disclosures 2015/2016,

     Complaint
                                                     . 9.
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1    Cidology talcing pictures and reporting us ifwe had decorations on our front area. Children's
 2   bikes, shoes (some cultures talce shoes off outside that live here), chairs or toy areas. I
 3   decorated with toys for children outside my door so that they would have somewhere to play
 4   and the toys calmed my PTSD condition.
 5         25. Page 12 of the CCRs, Capital Improvement Assessments may be levied in addition to .
 6   regular assessment not to exceed 5% in a year. Exhibit 1.
7          26. Page 13 of the CCRs Reconstruction directing funds Destruction of Improvements
 8   shall be coHected and deposited in a separate bank account to be held in trust for such purposes.
 9   Exhibit 1.
10         27. Page 21 "Covenant of Assessments" implies two way street regular an capital.
11   Exhibit 1.
12         28. Page 59 Nonliability of Officials Section in CCRs Meadow Brook Village. Exhibit

13   1. Laws have changed since 1982 in California. HOA Officials can be sued for emotional

14   distress. In California, Boswell v. The Retreat Community Association is an example. The legal

15   outcome is that a California appellate court reversed a trial court. The part that's most interestin

16   to boards everywhere is that the appellate court's ruling means residents are permitted to

17   sue a board for intentional infliction of emotional distress after a board president appears

18   to have waged a vendetta against residents.

19          A GROWING TREND, EPIDEMIC HOAS DEFRAUDING, EMBEZZLING

20
            FUNDING OCCURRING THROUGHOUT NATION

21
            29. In recent years there appear to have been similar situati?ns wherein homeowners have

22
     had to commence litigation proceedings against HOA's in various states levying assessments

23
     due. Florida, Arizona and California the following paragraphs discuss these cases wherein

24
     relief was granted to the homeowner.
            30. In Florida, Appellate Court Allows Owner to Seek Injunctive Relief and Reverses
25

26
     Award of Attorney's Fees and Costs. In Mitchell v. Beach Club of Hallandale Condominium
     Association, Inc., 17 So.3d 1265 (Fla. 4th DCA 2009), the Fourth District Court of Appeal rule
27
     that a condominium owner has the right to proceed with a lawsuit aimed at preventing the
28

     Complaint
                                                     -10 •
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 1   association from collecting a special assessment. The association levied an assessment for close
 2   to $1.3 million and sought to collect $4,194 from each unit owner. One of the unit owners
3    objected to the process and filed a lawsuit to prevent the association from collecting the
4    assessment. The association's attorney filed a motion to dismiss the case and ultimately
 5   convinced the trial court to rule in its favor. The trial court later awarded the association
 6   attorney's fees and costs as the 'prevailing party' in the lawsuit. The appellate court totally
 7   disagreed and reversed the trial court ruling. It found:
 8
                   I.      Mandatory non-binding arbitration pursuant to
 9         Section 718.1255, Florida Statutes was not necessary, as the statute
10         itself excludes any disputes relating to the imposition or collection of
           an assessment;
11                 2.      The Court had jurisdiction to address the claim even
           though the amount of the assessment against this particular owner
12
           was less than $5,000, since the owner sought injunctive relief, not
13         any monetary relief; and
                   3.      Injunctive relief was appropriate to prevent or to
14         challenge a violation of the Condominium Act pursuant to Section
           718.303, Florida Statutes.
15
            We did not receive any ballot in the mail for the special assessment.
16
            31. In Arizona Phoenix Landmark condo owners fight $15,000-plus HOA assessments
17
                 - and win. Danielle Sutton banded together with a handful of other Landmark
18
                 condo owners angry and confused about the unexpected $5 million charge.
19
                 https://www.azcentral.com/story/news/local/arizona-
20
                 investigations/201 7/11 /13/phoenix-landmark-condo-owners-win-fight-l 5000-hoa-
21
                 assessments/830512001/
22
            32. They all thought fixes to the high rise's air-conditioning system already had been paid
23
     for and were almost done, using about $6 million received in a construction-defect lawsuit
24
     settlement in 2013. http://www.wbir.com/article/news/nation-now/phoenix-condo-owners-
25
     fight-15000-plus-hoa-assessments-and-win/465-Sff553a4-5b72-4db6-99d3-346eeacd927 l. The
26
     HOA assessment fora new HVAC system would have cost each of them at least $15,000 per
27

28

     Complaint
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 1     condo. Many other owners in the 236-condo high-rise said the same thing as Hardaway: They
 2     could not afford the assessment, and it could cost them their home. 1
 3               33. A California man successfully halted a foreclosure sale on his property using the
4      newly minted California Homeowner Bill of Rights to obtain a court injunction against
 5     foreclosing party: Bank of America. California Homeowner Bill of Rights (HBOR) Blocks
 6     Bank of America's Foreclosure.
 7               34. For simply obtaining the HBOR injunction, the homeowner's attorney is seeking
 8     $20,255 in legal fees and costs - a compensation request that is permissible under HBOR since
 9     the legislat_ion allots borrowers reasonable attorneys fees and expenses for successfully
10     obtaining an injunction.

11               35. This is one of the first legal disputes to show the real strength of HBOR and it's
12         effectiveness in stalling proceedings and increasing expenses for servicers that are accused of

13         violating one of the provisions ofHBOR. https://www.jdsupra.com/legalnews/memorandum-

14         and-order-granting-plaintiff-90618/. "Senate Bill 818 will restore the rights, the safeguards,

15         which have helped thousands of people keep their homes," said Beall, who serves as the

16         chairman of the Transportation and Housing Committee. "We do_ not want people to lose these

17         rights, which had existed for the past five years. "The need for the Homeowner's Bill of Rights

18         is especially critical because so many families hit by wildfires in Northern and Southern

19         California will be coping with financial setbacks as they seek to rebuild their homes.''

20
           http://sd15.senate.ca.gov/news/2018-01-03-beall-acts-restore-homeowners-bill-rights.

21
       1
          I.      Phoenix condo owners fight $15,000-plus HOA assessments - and win
22     Phoenix condo owners fight hefty HOA assessments - and win
       http://radiolawtalk.com/blog/landmark-towers-hoa-assessment/
23     [SSUES (Summarize both sides argument, both perspectives. You can use bullet points):
       For Plaintiffs, Causes of Action include (also see attached complaint):
24     Breach of Contract.
       Violation of Arizona statute on HOA assessments. R.S. sect. 33-1255.
25     Pennanent Injunction.
       Breach of Fiduciary Duty.
26     Defendants: Claim work still needs to be done to fix air conditioner, either way.
       https ://www .azcentral.com/videos/news/local/ari zona-investigations/20 17/ 1l / l 0/phoenix -condo-owners-fight-
27         againsl-hoa/ l 07544766/
       http://radiolawtalk.com/blog/landmark-towers-hoa-assessment/
28     https ://law .juslia. com/codes/ari zona/20 14/tille-33/seclion-33-125 5/
       Complaint
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 1         36. Susan Condio-Hemandez the President of the Board constantly harassing wrote about
2    me in newsletter a year ago or so she said me saving a possum in pool. I do not like attention
 3   drawn to me and this was mortifying. Taunting me in January 2018 while walking with my
4    laundry cart I use as a walker at times for my back she drives up to me and inquires do you still
5    go to the pool? I said I try to when it is open. She smirked and stated again that she belongs to
6    health club Club Sport. In February 2018 offered to give me some of her bathing suits. Calling
7    out to me at the pool from her deck. Susan is one of those in charge of opening the pool but
 8   leaves it locked at times, When I have begged to have the pool heated or open year round, I
 9   have been told that if people want a pool year round they need to join a private country club like
10   she belongs. Constantly she has cried poor mouth that they cannot afford to maintain to pools

11   yet they are maintained year round and treated but not kept open denying tenants access to the
12   club area, barbecue, hot tubs and sauna. Children have been told that they cannot skateboard or

13   play in areas. My children are grown but this would have been devastating if my sons were

14   young still. Acrimony and division have become weapons in the hands of the HOA towards the

15   non board member owners.

16         37. Associa employee John Caffall Community Director in January 20181 think hung up

17   on me when I was having PTSD meltdown about pool as it was not open at 11:30 am. Even

18   when I have given ample time and I am sure that the pool must be open only to find out that it is

19
     still padlocked. I was in pain and furious. I called back maybe 9 times. I demanded to know

20
     who his Boss was and that persons Boss was informed it was Geoffrey Browne Vice President

21
     and Kelly Zybell, Senior Vice President. I left messages and received no callbacks whatsoever.

22
            38. In August 2017 on one of the peak high temperature days I telephoned upset speaking

23
     to someone a Chris perhaps that I am in menopause and my conditions I desperately need to

24
     calm down and cool off in the pool begging them to open. This went on continually during

25
     large part of summer heat not opened including holidays pool not opened. For the initial week

26
     the pool was opened Spring 2017 the pool was heated to 80 degrees but the pool attendant
     advised when it was cold the next week that he was not allowed to tum up. This went down to
21
     70 degrees or so.
28

     Complaint
                                                    -13.
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 1             39. Cidology on premises cameras looking into people's windows with extensions for
 2       June - September 2017 massive amounts of people intrusions. Multiple lawsuits, legal disputes
 3       against Cidology. 2 Exhibit 7. A play area I set up in my front door area porch for little children
 4       to play and to comfort my PTSD with a dollhouse and other toys was demanded to be removed.
 5       Little children were told that they could not play on the grass area near the field. My children
 6       are grown now but what are the families with little children supposed to do no pool open, not
 7       allowed play outside, skateboarding? Accounting and auditing for all the years must be
 8       provided to review.
 9

10                                        NATURE OF THE ACTION

11             40. Collusion by the Meadow Brook Village HOA and property management firm
12                 strategy, plot to take properties from owners due to unreasonably high assessments
13                 imposed. Harassment of owners that have filed lawsuits to attempt to save their

14
                   homes. Emails circulating blaming litigants for inability to sell, refinance. Signposts
                   blaming five litigants deflection from HOA Board advising not to vote for Amy
15
                   DeJesus and blaming the five litigants for inability to sell, refinance. The HOA
16
                   Board with upcoming Board Member voting are the only ones with motive to do such
17
                   actions. Disabled Plaintiff Mary Bernstein believes the HOA will also lynch her and
18
                   she will see her name all over these boards soon as well and emafls targeting her, her
19
                   disabilities.
20             41. Defendant's refusal to provide any access to pool area, heated pool for medical
21                 purposes, ownership rights refusal to accommodate despite multiple requests by
22                 disabled Plaintiff violates California's Unruh Civil Rights Act, Civil Code §51 et seq.
23

24
     2
        I Shorebird Homeowners Association
25   2 Diversified Personnel
     3 Emery Bay Village Homeowners
26   4 Western Oaks Village
     5 Del Mar Pacific
27   6 MeadowBrook
     7 Admirality
28   8 Pinnacle
     Complaint
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                 (the "Unruh Act") and the California Disabled Persons Act, California Civil Code §5
 1
                 et seq. (the "CDPA").
 2

 3
                                               JURISDICTION
 4
             42. This is an action for declaratory and injunctive relief and statutory damages under
 5
     the Unruh Civil Rights Act, Cal. Civ. Code §§51 et seq, and for declaratory relief and statutory
 6   damages under the CDPA, Cal. Civ. Code §§54 et seq. This Court has jurisdiction over the
 7   claims alleged herein pursuant to Cal Civ. Code, §§51, 52, Cal. Civ. Code §54.3.
 8

 9                                                  VENUE
10
           43. Venue is proper in Alameda County under California Code of Civil Procedure
     §395.5 because liability arises in Alameda County. Defendant has been and is committing the
11
     acts alleged herein in Alameda County, has been and is violating the rights of persons with
12
     disabilities in Alameda County, and has been and is causing injury to persons with disabilities
13
     in Alameda County.
14

15
                                         FIRST CAUSE OF ACTION
16                                        (Fraud & Embezzlement)
17         44. Plaintiff incorporates by reference and realleges all allegations set forth in the
18               preceding paragraphs.
19         45. Collusion by the Meadow Brook Village HOA and property management firms
20               Associa/Massingham strategy, plot to take properties from owners due to
                 unreasonably high assessments imposed.
21
           46. The Bylaws state that tenants are to enjoy full use of their residence. No forefeiture
22
                 of rights with the exception of this criteria: judgment, arbitration decision, failure to
23
                 pay assessments; foreclosure or sale under a power of sale page 6 of the Bylaws. Of
24
                 course with a $33,262 "emergency_assessment" due within a matter of weeks when
25
                 learning of it if an injunction is not imposed halting the enforcement and collection of
26               these monies - the oppression will increase. A thorough analysis must be conducted
27               regarding the accounting, auditing of monies collected in the past. The impression is
28               that fraud, embezzlement extortion occurring. There is no area in CC&Rs regarding
     Complaint
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                   emergency assessment provisions. A special assessment provision which was voted
 1
                   against. The pool, barbeque area, club area and other privileges associated with the
2
                   common interest. I have only discovered this in reading the bylaws. However,
 3
                   tenants have been denied use of the bbq area, club area and pool areas for the
 4
                   majority of each year seven plus months. There are two pool areas because this is a
 5
                   large development. There are two areas to accommodate the needs of the 466
 6                 families and guests. We were not advised in a package or when we moved in that we
 7                 would not enjoy the fuJI benefit and privileges when we moved in for a majority of
 8                 the year. This was not conveyed to us when purchasing our condominium.
 9           47. Bylaws, Section 2 page 6. Was this always the case from the inception that owners

10
                   could only utilize amenities at the discretion of the board or a percentage of the time?
                   Or were these rights eroded over time along with the maintenance, care and upkeep o
11
                   the property? Where does it say anywhere that the pool will only be maintained
12
                   during certain seasons for use in the CC&Rs or Bylaws? The monthly fees continue
13
                   to skyrocket yet owners receive less and less value for their fees.
14
             48. Defendants have suppressed and concealed certain material facts. A combination of
15
                   factors makes them a tempting and lucrative target for embezzlers: relatively large
16                 sums of money; lax standards and enforcement; and part-time volunteer boards in
17                 charge of accounting and control.
18                 https:1/www .allpropertymanagement.comlblog/2017/03/06/embezzlement-detection-
19                 and-prevention/. Criminals like Bernard Madoff and other so-called "white coJlar"

20
                   lawbreakers have made headlines recently with their financial double-dealings, but
                   unfortunately, fiscal mismanagement and fraud also happen in co-op and condo
21
                   communities. The scale is ~uch different obviously, but an apartment is a major
22
                   investment, and residents of a building trust their board members and managing
23
                   agents to uphold their fiduciary responsibilities and be good custodians of that
24
                   investment. https://cooperator.com/article/fraud-detection-for-co-ops-and-
25
                   condos/full. One such shady area involves quid pro quo situations. In return for
26                 sending business their way, a person involved with a building's operations might get
27                 something like cash or services from a contractor as a kickback. Such a scheme might
28                 involve a property manager overpaying a contractor with building funds, then being
       Complaint
                                                        • 16 •
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                      given cash by the contractor in exchange for the inflated payment, or having a new
l
                      deck put on their house in repayment. "The biggest schemes you encounter are when
2
                      someone is in cahoots with contractors and getting kickbacks," says Gerald Marsden,
3
                      a partner with Manhattan-based accounting firm Eisner and Lubin LLP. "The other
4
                      [scheme] is when someone is writing 'play' checks to themselves." 3
 5                    http://www.hoacorruption.com/will-the-investigations-continue--into-hoa-fraud.
 6                    https://www.hoaleader.com/public/552.cftn.
 7               49. Because by law the HOA cannot raise assessments more than 20% percent they have
 8                    come up with an outrageous balloon sum one of many to follow to extort monies
 9                    from the homeowners. 4

10
                 50. The State of California Department of Justice Attorney General office has
                      discretionary authority to intervene on behalf of nonprofit corporations5 and the local
11

12
      1
          http://www. wsbtv.comfnews/Jocal/chamblee-man-allegedly-stole-50000-homeowners-asso/ 13 7186441
13
            bttps://www.kppm.com/rules-and-expectations-of-managers-and-hoa-boards-of-directors/
      4
14        5600. (a) Except as provided in Section 5605, the association shall levy regular and special assessments sufficient
            to perform its obligations under the governing documents and this act.
lS        (b) An association shall not impose or collect an assessment or fee that exceeds the amount necessary to defray the
            costs for which it is levied.
16
      5605. (a) Annual increases in regular assessments for any fiscal year shall not be imposed unless the board has
17          complied with paragraphs (1), (2), (4), (5), (6), (7), and (8) of subdivision (b) of Section 5300 with respect to tha
          fiscal year, or has obtained the approval ofa majority ofa quorum of members, pursuant to Section
18    4070 1 at a member meeting or election.
        (b) Notwithstanding more restrictive limitations placed on the board by the governing documents, the board may
19        not impose a regular assessment that is more than 20 percent greater than the regular assessment for the
          association1s preceding fiscal year or impose special assessments which in the aggregate exceed 5 percent of the
20    budgeted gross expenses of the association for that fiscal year without the approval of a majority of a quorum of
          members, pursuant to Section 4070, at a member meeting or election.
21      (c) For the purposes of this section, 11 quorum 11 means more than 50
      percent of the members.
22

23    Under Corporations Code section 8216, the office of attorney general has discretionary authority to intervene on
        behalf of nonprofit, mutual benefit corporation homeowners denied certain specified rights. Standing is limited
24      to "a member, director or officer" of an association, who can submit complaints that fall under four areas of
        compliance. They are:
25
      1. Failing to provide notice and hold regular board meetings and coTl'lply with special meeting requirements.
26        (Corporations Code sections 7510 • 7512.)
27    2. Failing to abide by quorum requirements; transacting unauthorized business at meetings; failing to provide ballots
          and proxies to owners and a means of nominating and electing directors, and failing to recognize bylaws that
28        mandate cumulative voting. (Corporations Code sections 7512 - 7615.)
      Complaint
                                                                  - 17.
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                    police6 can be involved if fraud is suspected. We have had thefts over the years of
 1
                    vehicles due to lack of security and one has to wonder if this also attributed to the
2
                    HOA board as they are trying to engage in thievery of the non board member owners.
 3

4
                                              SECOND CAUSE OF ACTION
 5
                                   (Breach of Fiduciary Duty against BERNSTEIN)
 6
                51. Plaintiff incorporates by reference and reallege all allegations set forth in the
 7
                    preceding paragraphs.
 8
                52. Defendants owe a fiduciary duty to plaintiff.
 9              53. Defendant MEADOW BROOK VILLAGE ASSOCIATION - FREMONT is a
10                  nonprofit domestic corporation.
11              54. Defendant MASSINGHAM & ASSOCIATES is a domestic stock corporation and
12                  former property management firm for MEADOW BROOK VILLAGE
13                  ASSOCIATION - FREMONT.
                55. Defendant AS SOCIA NORTHERN CALIFORNIA is a domestic stock corporation
14
                    and prop~rty management firm for MEADOW BROOK VILLAGE ASSOCIATION
15
                    -FREMONT.
16
                56. Defendant MEADOW BROOK VILLAGE ASSOCIATION - FREMONT has been
17
                     operating contrary to the interests of the collective homeowners it appears for some
18
                    time now as well as the property management corporations.
19              57. MEADOW BROOK VILLAGE ASSOCIATION - FREMONT was at all times
20                   herein the Homeowners Association and controlled all aspects of decision making for
21                   the homeowners within the common interest development.
22

23
      3. Failing to maintain books, records, minutes, annual reports and a list of members names and addresses- and to
24        allow homeowners to inspect those items. Failing to allow a director his or her absolute right to inspect or copy
          any association books, records and documents. (Corporations Code sections 8320 ~ 8334.)
25
      4. And finally, falsifying or tampering with association reports or records. (Corporations Code section 8215.)
26

27    6
          lf you suspect criminal activity, such as fraud, theft or embezzlement on the part of the board of directors or
           individual officers, the proper avenue for redress is to tile a report with the police or Sheriffs Department in the
28         area where the crime occurred.
      Complaint
                                                                 • 18 -
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 1
           S8. Defendant MASSINGHAM & ASSOCIATES was the property management firm for
                 MEADOW BROOK VILLAGE ASSOCIATION - Fremont in 2014 and prepared the
 2
                 annual budget disclosure statement for year beginning January 1, 201S and ending
 3
                 December 31, 201 S. Plaintiff is not certain how many years MASSINGHAM &
 4
                 AS SOCIATES served as the property manager for MEADOW BROOK VILLAGE
 5
                 ASSOCIATION - FREMONT but based on information and belief recalls materials
 6               received reflecting this name as far back as 2006 with coupon books for dues.
 7               Discovery will reveal how long this Defendant was retained as property manager and
 8               other property management firms if any involved.
 9         59. Defendant ASSOCIA NORTHERN CALIFORNI has been the property management
10               firm since 2015 through the present.
           60. As a property owner in MEADOW BROOK VILLAGE ASSOCIATION -
11
                 FREMONT management firm for MEADOW BROOK VILLAGE ASSOCIATION -
12
                 Fremont in 2015 and pr~pared the annual budget disclosure statement for year
13
                 beginning January 1, 2016 and ending December 31, 2016. ASSOCIA is the property
14
                 management firm to date and listed on the EMERGENCY ASSESSMENT 2018
15
                 Emergency Repair Plan Information Packet. It is unclear if the name simply changed
16               MASSINGHAM & ASSOCIATES to ASSOCIA NORTHERN CALIFORNIA, if
17               these are different entities, complex relationship. Plaintiff is serving all with
18               complaint, lawsuit through different statutory agents listed affiliated with each
19               Defendant.
20         61. As the President of the MEADOW BROOK VILLAGE ASSOCIATION -

21
                 FREMONT Susan Hernandez and MEADOW BROOK VILLAGE ASSOCIATION
                 - FREMONT owed a fiduciary duty to disabled homeowner Mary Bernstein to act at
22
                 all times with the utmost care, honesty, undivided loyalty and fidelity with all
23
                 business dealings with Mary Bernstein. Public accommodations for the disabled
24
                 included.
25
           62. Susan Hernandez, MEADOW BROOK VILLAGE ASSOCIATION FREMONT,
26               MASSINGHAM & ASSOCIATES, INC. and ASSOCIA NORTHERN
27               CALIFORNIA breached their fiduciary duty to Plaintiff Bernstein by the acts of
28               misfeasance and malfeasance described herein, including but not limited to those acts
     Complaint
                                                      • 19 •
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                 of self-dealing that were designed to deprive Mary Bernstein of her ownership rights
1
                 in MEADOW BROOK VILLAGE HOMEOWNERS ASSOCIATION - FREMONT
2
                 and the fraudulent assignment of unreasonable assessments, fees have been assigned
3
                 to unsuspecting homeowner Mary Bernstein within the common interest.
4
          63. Defendant MEADOW BROOK VILLAGE HOMEOWNERS ASSOCATION -
 5
                 Fremont owed and owes presently a fiduciary to Plaintiff.
 6         64. Defendant MEADOW BROOK VILLAGE HOMEOWNERS ASSOCATION -
7                Fremont failed to act as a reasonably careful agent would have under the same
 B               circumstances.
 9         65. Defendant MEADOW BROOK VILLAGE HOMEOWNERS ASSOCATION -
10
                 Fremont failure to act as a reasonable careful agent was in bad faith, oppressive,
                 willful, wanton, and malicious thereby entitling Plaintiff to an award of punitive
11
                 damages. The President of the MEADOW BROOK VILLAGE HOMEOWNERS
12
                 ASSOCATION - Fremont was well aware of Plaintiff Mary Bernstein's disabilities
13
                 as well as MASSINGHAM & AS SOCIATES, INC. and AS SOCIA NORTHERN
14
                 CALIFORNIA and ignored her complaints, pleas solely for the purpose of
15
                 discrimination and/or retaliation against Plaintiff.
16         66. MEADOW BROOK VILLAGE HOMEOWNERS ASSOCATION - Fremont actions
17               were intentional, willful, and wanton and indirect discrimination retaliation failure to
18               accommodate disabled under federal and state laws. In addition, the HOA's sanction
19               against Plaintiff Mary Bernstein of unreasonable assessments, fees, charges when in
20
                 fact Plaintiff has been denied homeowner rights for years has imposed an
                 unreasonable risk of harm and continues to impose in the continuing wrongful
21
                 conduct that led to Plaintiff Mary Bernstein's damages.
22
           67. As a result of Defendant's breaches of their fiduciary duty, Plaintiff has been
23
                 damaged in actual damages an amount of at least $33,262 currently assigned but mor
24
                 emergency assessments in unknown, undisclosed amounts at this time are threatened
25
                 to be assigned over the course of the next several years in addition to monthly
26               assessments. This is unethical no one in particular disabled can live in this suspended
27               animation of stress for unknown parameter of time with constant threats, intimidation,
28               oppression, domination and manipulation. Plaintiff cannot even rest in her own home
     Complaint
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                 peacefully or enjoy the common interest despite up to date payments by oppressive
 1
                 defendants padlocking prohibiting use of common areas. Defendants conduct has
 2
                 been detrimental and a contributing factor to Plaintiffs mental and physical health.
 3
           68. As a proximate result of MEADOW BROOK VILLAGE HOMEOWNERS
 4
                 ASSOCIATION FREMONT, MASSINGHAM & ASSOCIATES, INC. and
 5
                 ASSOCIA NORTHERN CALIFORNIA, Mary Bernstein has been harmed as alleged
 6               herein in an amount of excess $3 million dollars, in an amount to be proved at trial.
 7

 8

 9                                     THIRD CAUSE OF ACTION

10                                          (Breach of Contract)
11
           69. Plaintiff incorporates by reference and reallege all allegations set forth in the
12
                 preceding paragraphs.
13         70. Plaintiff alleges that on or about February 2006 an agreement was entered into
14               between MEADOW BROOK VILLAGE HOMEOWNERS ASSOCATION -
15               Fremont and Mary Bernstein. Plaintiff Mary Bernstein signed loan documents and
16               entered into common interest development. In consideration of defendants'

17
                 representations, agreements and promises, plaintiff paid for and obtained a common
                 interest property provided by MEADOW BROOK VILLAGE HOMEOWNERS
18
                 ASSOCATION - Fremont.
19
           71. On or about February 2017, Defendants MEADOW BROOK VILLAGE
20
                 HOMEOWNERS ASSOCATION - Fremont breached that agreement by placing
21
                 padlocks on the pool areas depriving Plaintiff of the use and enjoyment of the pool
22
                 area, On or about May 2017 Defendants MEADOW BROOK VILLAGE·
23               HOMEOWNERS ASSOCATION - Fremont breached that agreement by failing to
24               heat pool during the summer as promised to comfortable temperature claiming it was
25               too expensive. Nowhere in the documents did it state that pool privileges would be
26               seasonal or restrictive. Defendant MEADOW BROOK VILLAGE HOMEOWNERS
27               ASSOCATION - Fremont present to date continuously fails to unlock pool with

28

     Complaint
                                                     • 21 •
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 1
                 padlock despite all owners in possession of a gate key depriving enjoyment and
                 privilege of homeowners.
 2
           72. Plaintiff performed all of her obligations by paying for monthly assessment dues for
 3
                 enjoyment of common interests and maintenance fees of the property.
 4
           73. Plaintiff has performed all of those obligations to defendant except as to those
 5
                 obligations plaintiff was prevented or excused from performing. Plaintiff has paid
 6               monthly dues to date never being late. Plaintiff suffered damages legally
 7               (proximately) caused by defendants breach of the agreement. Plaintiff has not been
 8               able to utilize for the benefits promised by the defendants. Plaintiff health mental
 9               and physical has declined due to no longer receiving benefit. Plaintiff incurred
10               additional medical costs due to increased psychotherapy appointments and medical

11
                 appointments due to denial of and failure to receive promised benefit. Further
                 physical exercise is part of medical treatment plan Plaintiff currently prescribed. The
12
                 Defendants have been made aware of this fact for over a year yet continually padlock,
13
                 fail to remove or in the alternative provide Plaintiff with padlock key for her
14
                 convenience.
15

16                                    FOURTH CAUSE OF ACTION
17         (Breach Of The Implied Covenant Of Good Faith And Fair Dealing)
18
           74. Plaintiff incorporates by reference and reallege all allegations set forth in the
19             preceding paragraphs.
           75. Plaintiff alleges that on or about February 2006 an agreement was entered into
20             between the parties. The essential terms of the agreement are as follows:
21
                 Monthly assessment payments for maintenance of property and use of common
22               interest areas including pool area
23         76. In consideration of defendants' representations, agreements and promises, plaintiff
24               paid for and obtained common interest ownership rights.
25                      77. On or about November 2016, Defendants breached that agreement by
26               completely closing the pool area for the winter not reopening until Spring 2017.
27               Different hours, different seasons randomly denying plaintiff use of the heated pool

28
                 by not heating it to the level that it had been to previous years, closure of the pool,

     Complaint

                                                      • 22 •
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                 failure to open pool area consistently. The CC&Rs, bylaws, disclosure statements or
1
                 loan documents do not state the pool is a seasonal privilege or that the pool is to be
2
              unheated.
                        78. Defendants' representations and promises were not modified or agreed to
4
                 by plaintiff. Plaintiff has paid monthly assessments for years yet has been denied full
5
                 access to the facilities. Plaintiff performed a\l of her obligations by paying for
6                ownership rights and use of facilities. The only facilities listed are the pool area.
7         79. Plaintiff has performed a\l of those obligations to defendant.
 8        80. Plaintiff suffered damages lega\ly (proximately) caused by defendants breach of the
 9               agreement. The pool area is the only facilities listed and plaintiff has been denied

10
                 these privileges on a regular, consistent basis. The loss of promised use of pool area
                 facility has inconvenienced Plaintiff and increased her PTSD, depression symptoms
11
                 as of no longer receiving benefit. Plaintiff has suffered extreme depression due to
12
                 pool closure, lack of heating the pool anytime of the year now. The additional stress
13
                 wherein Plaintiff has paid for maintenance and privileges for pool for years but now
14
                 hit with excessive emergency assessment through no fault of her own has caused
15
                 extensive damage and increased medical issues.
16

17
                                        FIFTH CAUSE OF ACTION

18                           (Intentional Infliction Of Emotional Distress)
           81. Plaintiff incorporates by reference and reallege all allegations set forth in the
19
                 preceding paragraphs. Plaintiff alleges that Defendants was the legal and proximate
20
                 cause of damages to Plaintiff. By the following acts or omissions to act, Defendants
21
                 intentionally caused the damage to Plaintiff on multiple dates 2017-Present at
22
                 MeadowBrook occurred.
23         82. As a result of Defendants agents misrepresentations that pool facilities are too
24               expensive to maintain and that Plaintiff should join a country club, Plaintiff has
25               suffered depression. As a result, Plaintiff incurred loss of enjoyment of benefits.
26               have physical and emotional consequences result of conduct of Defendant employees

27
                 and agents. The entire ownership process at Meadow Brook devalued leaving me in
                 position with no ownership benefits and immense debt emergency assessment in the
28

     Complaint
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 447 of 801




                     amount of $33,262 and more emergency assessments forthcoming .. I have physical
  1
                     and emotional consequences as a result of conduct of Defendants.
  2

  3
                                           SIXTH CAUSE OF ACTION
  4
                                    (Negligent Infliction Of Emotional Distress)
  5

  6            83. Plaintiff incorporates by reference and reallege all allegations set forth in the

  7
                     preceding paragraphs. Plaintiff alleges that Defendants was the legal and proximate
                     cause of damages to Plaintiff. By the following acts or omissions to act, Defendants
  8
                     intentionally caused the damage to Plaintiff on multiple dates 20 I ?-Present at
  9
                     MeadowBrook occurred.
 10
               84. As a result of Defendants agents misrepresentations that pool facilities are too
 11
                     expensive to maintain and that Plaintiff should join a country club, Plaintiff has
 12                  suffered depression. As a result, Plaintiff incurred loss of enjoyment of benefits. I
 13                  have physical and emotional consequences result of conduct of Defendant employees
 14                  and agents. The entire ownership process at Meadow Brook devalued leaving me in
_ 15                 position with no ownership benefits and immense debt emergency assessment in the
 16                  amount of$33,262 and more emergency assessments forthcoming.. I have physical

 17
                     and emotional consequences as a result of conduct of Defendants.
                                         SEVENTH CAUSE OF ACTION
 '18

 19                                       (Intentional Misrepresentation)
 20            85. Plaintiff incorporates by reference and realleges all allegations set forth in the
 21                  preceding paragraphs.
 22            86. Defendants stated in the emergency assessment that the reserves have been
 23                  underfunded for years, plaintiff did not know the representations were false and

 24
                     believed they were true. Plaintiff acted in justifiable reliance upon the truth of the
                     representations. The acts pied were intended to and did deceive Plaintiff and the
 25
                     rationale for the fraud was their desire to obtain payment for unreasonable
 26
                     assessments and not provide Plaintiff with the benefits represented. The President
 27
                     Susan Hernandez stated that they could not afford to heat the pool. The President
 28

         Complaint
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 1
                 Susan Hernandez stated that if people wanted to use the pool year round they needed
                 to join a country club. President Susan Hernandez caused the pool area to be closed
 2
                 entirely for 3 months during 2016-2017 winter. Plaintiff believed that it was
 3
                 contained in the CC&Rs that the pools one of them constantly closed in the winter
 4
                 and not heated fully. Review of the CC&Rs which Plaintiff did not possess or see
 5
                 recently does not reflect any such agreement. Defendants stated in the emergency
 6               assessment that the reserves have been underfunded for years, plaintiff did not know
.7               the representations were false and believed they were true. Plaintiff acted in
 8               justifiable reliance upon the truth of the representations. The acts pied were intended
 9             •to and did deceive ·Plaintiff and the rationale for the fraud was their desire to obtain
10               payment for unreasonable assessments and not provide Plaintiff with the benefits
                 represented.
11

12
                                      EIGHTH CAUSE OF ACTION
13

14
                                       (Negligent Misrepresentation)

15   87.    Plaintiff incorporates by reference and realleges all allegations set forth in the preceding
16   paragraphs.

17    88. The President Susan Hernandez stated that they could not afford to heat the pool. The
     President Susan Hernandez stated that if people wanted to use the pool year round they needed
18
     to join a country club. President Susan Hernandez caused the pool area to be closed entirely for
19
      3 months during 2016-2017 winter. Plaintiff believed that it was contained in the CC&Rs that
20
     the pools one of them constantly closed in the winter and not heated fully. Review of the
21
     CC&Rs which Plaintiff did not possess or see recently does not reflect any such agreement.
22
     Defendants stated in the emergency assessment that the reserves have been underfunded for
23   years, plaintiff did not know the representations were false and believed they were true.
24   Plaintiff acted in justifiable reliance upon the truth of the representations. The acts pied were
25    intended to and did deceive Plaintiff and the rationale for the fraud was their desire to obtain
26   payment for unreasonable assessments and not provide Plaintiff with the benefits represented.·

2?
                                       NINTH CAUSE OF ACTION
28

     Complaint

                                                     • 25 •
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 449 of 801




                                     (BREACH OF CC&Rs AND BYLAWS)
1
         89. Plaintiff incorporates by reference and reallege all allegations set forth in the preceding
2            paragraphs.
 3       90. Defendant Meadow Brook Village Homeowners Association - Fremont is governed by
4            the Declaration of Covenants, Condition and Restriction (CC&Rs), recorded Document
 5           Series No, 82-170985 Alameda CountyRecorder - Fremont recorded November 9, 1982

 6           the Bylaws of Meadow Brook Village Homeowners Association adopted November 3,
             1982.
7
         91. Defendant Meadow Brook Village Homeowners' Association - Fremont has breached
 8
             the Meadow Brook Declaration of Covenants, Condition and Restriction (CC&Rs) and
 9
             Bylaws, and the law generally, by causing a forfeiture and or abridgement of owner's
10
             right to the full use and enjoyment of the residence and common areas despite no
11
             judgment of a court of competent jurisdiction, arbitration decision, failure to pay
12           assessments; foreclosure or sale under a power of sale page 6 of the Bylaws.
13       92. Defendant Meadow Brook Village Homeowners' Association - Fremont has breached
14           the Meadow Brook Declaration of Covenants, Condition and Restriction (CC&Rs) and
15           Bylaws, and the law generally, by attempting to circumvent maximum annual 20%

16           increase in assessments through a "preliminary" $33,262 "emergency assessment" to be
             followed by unknown additional "emergency assessments" with no end in sight. The
17
             Assessment Article III CC&R section page 11 contains no emergency assessment
18
             provision only a special assessment which was rejected by vote 2/3 majority. There are
19
             five types of assessments listed pages 12-13 regular, special, capital improvement
20
             assessments, reconstruction and uniform assessments. The HOA Board cannot simply
21
             create out of thin air requirements and provisions which have not been amended or
22           adopted.
2)        93. As a result of this aggravation, acrimony and division Plaintiff has been damaged by
24           Defendant HOA Meadow Brook failure to abide enforce by the CC&Rs and Bylaws, in
25           an amount preliminary $33,262 levied against Plaintiff with anticipated further amounts

26           to be levied, in addition to her attorneys fees pursuant to CC&Rs and the Davis-Sterling

27
             Act.

28

       Complaint
                                                      - 26 •
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 450 of 801




          94. By this Complaint, Plaintiff seeks to enforce the CC&Rs and Bylaws of the Meadow
1
             Brook HOA.
2

 3
                                       TENTH CAUSE OF ACTION
 4
                         (Violation of Cal. Civ. Code §51 UNRUH CIVIL RIGHTS ACT)
 5
       95.   Plaintiff incorporates by reference and reallege all allegations set forth in the preceding
 6     paragraphs.
 7     96.   The Unruh Act, Cal. Civ. Code §51, guarantees all people within the jurisdiction of
 8     California, no matter what their disabilities, the full and equal accommodations, advantages,
 9     facilities, privileges and services of all business establishments of any kind whatsoever.

10
       97.   The Plaintiff Mary Bernstein is a person with disabilities under Cal. Civ. Code §51.
       98.   Meadow Brook Village Association - Fremont, Associa Northern California and
11
       Massingham & Associates, Inc. are business establishments within the meaning of Cal. Civ.
12
       Code §51, et seq.
13
       99.   Meadow Brook Village Homeowners Association - Fremont offers people within the
14
       jurisdiction of California ownership rights in the common interest development.
15
       I 00. Despite being placed on notice that the lack of accommodation for use of the pool area
16     hot tub and heated pool excludes disabled plaintiff of medical treatment and relaxation much of
17     the benefits that she pays for monthly through association dues, that plaintiff cannot afford nor
18     does she desire to join a country club to swim when the common interest development offers
19     two swimming pools in the comfort of her complex that she pays for, Defendants Meadow

20
       Brook Village Homeowners Association, Associa Northern California previously Massingharn
       & Associates, Inc. property management firm continue to deny these privileges and
21
       accommodations despite Plaintiff never delinquent to date with dues by padlocking, inconsisten
22
       pool openings. Plaintiff in pain walks to the pool only to find the majority of the time the pool
23
       closed, forced to call the property manager wherein stress level aggravated episodic. A clause
24
       in the CC&R discriminatory languages stating that nonresident owners, those that rent are not
25
       entitled to pool.
26      10 I. Annual budget disclosure ending December 2015 page 34 lists pool key and page 35 non-
27     resident homeowners may not use pool? A pool id card was never furnished to us. There is no
28     mention of seasonal operation of pools, nor was there when we signed loan documents any
       Complaint
                                                      • 27 •
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 451 of 801




 1
        representation about inaccessibility to these areas. There is no mention of heating only partially
       throughout the year or one pool open only. There is no hours listed as it was assumed the pool
 2
       access would be at our leisure whenever we elected as the common interest is open 24hours
  3
       residents live here.
  4
        102. Because of Defendants refusal to accommodate, provide Plaintiff with benefits that she
  5
       pays for, Plaintiff has been denied full and equal access to ownership benefits. 1hls denial has
  6    caused plaintiff's stress level and anger levels to escalate as there is no decompression available
 7      through pool meditation and recreation, have not been provided services that are provided to
  a    other owners that have access to padlock keys who are not disabled, and/or have been provided
  9    privileges that are inferior to the privileges provided to other non disabled owners. Plaintiff get
10     up very early and wants to utilize the pool at 6 am as Plaintiff goes to bed very early. These

11
       violations are ongoing. Plaintiff has not utilized the pool in ages due to aggravation of having
       to telephone all the time. Defendants' failure to and refusal to correct the barriers to full and
12
       equal access to the pool_ area, heated pool and reasonably heated hot tubs not scorching for
13
        Plaintiff constitutes intentional discrimination.
14
        103. Defendants actions were and are in violation of the Unruh Act.
15
        I04. Plaintiff is thus entitled to injunctive relief remedying the discrimination pursuant to Cal.
16     Civ. Code §52.
17      105. Plaintiffis also entitled to statutory damages under Cal. Civ. Code §52.
18      I 06. Cal. Civ. Code §52 further entitles Plaintiff to reasonable attorneys fees and costs.
19     Plaintiff has retained a limited scope representation attorney.
20

21
                                      ELEVENTH CAUSE OF ACTION
              (Violation of Cal. Civ. Code §54 DISABLED PERSONS ACT)
·22

23
        107. Plaintiff incorporates by reference and reallege all allegations set forth in the preceding
24
       paragraphs.
25
        108. The California Disabled Persons Act, Cal. Civ. Code §54 and 54.1 guarantees people
26
       with disabilities full and free use of all public places and full and equal access to all places to
27     which the public is invited.
28

       Complaint
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     109. Defendants are violation the rights of di_sabled Plaintiff Mary Bernstein to full and equal
1
     access to public places by denying full and equal access to the pool area year round and
2
     consistently during the posted hours.
3
     110. Meadow Brook Common Interest Development constitutes a "public place" within the
4
     meaning of the COPA, Cal. Civ. Code §54.!. By failing to provide access to the pool, the areas
5
     of Meadow Brook Village Homeowners Association - Fremont that offer common interest
6    ownership rights are inaccessible to disabled Plaintiff Mary Bernstein.
7    111. The a_ctions of Meadow Brook Village Homeowners Assocation - Fremont, Associa
 8   Northern California and Massingham & Associates, Inc. previously were and are in violation of
 9   the COPA The Defendants have been given notice continuously by Plaintiff concerning her

10
     disabilities and request for accommodations to no avail constituting discrimination.
     112. Plaintiff is thus entitled to statutory minimum damages for each offense, and for
11
     declaratory relief under Cal. Civ. Code §54.3.
12
     113. Cal. Civ. Code §52 further entitles Plaintiff to reasonable attorneys fees and costs.
13
     Plaintiff has retained a limited scope representation attorney.
14

15
                                   TWELFTH CAUSE OF ACTION
16
                           (INJUNCTIVE RELIEF DECLARATORY RELIEF
17                                         Code Civ. Proc. §1060 )
     114. Plaintiff incorporates by reference and reallege all allegations set forth in the preceding
18
     paragraphs.
19
     115. PRELIMINARY INJUNCTION TO PREVENT THE ENFORCEMENT, COLLECTIO
20
     OF THE EMERGENCY ASSESSMENT DUE APRJL 2 2018 and subsequent emergency
21
     assessments levied during the pendency of this trial.
22
                                     PRAYER FOR RELIEF
23   WHEREFORE, plaintiff demands judgment against defendants, and each of them, for:
            a. Injunctive Relief against President of MEADOW BROOK VILLAGE
24             HOMEOWNERS ASSOCATION - Fremont Susan Hernandez further
               harassment of Plaintiff;
25
            b. Declaratory -Relief, Injunctive Relief against enforcement, collection against
26             levied emergency assessment due April 2 20 I 8 unlawful and voted against by 2/3
               majority homeowners in the amount of$33,262.00 and threatened unknown
27             future "emergency assessments, special assessments" based on fraud,
28

     Complaint
                                                      - 29 -
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                      malfeasance, misfeasance wherein homeowners paid reliance upon maintenance
 1
                      during the course of the trial;
 2               c.   Injunctive relief concerning the deprivation of rights of pool area access, heated
                      pools and hot tubs both pools open for enjoyment of full. access ownership rights
 3                    daily 6 a.m to 10 p.m. restitution damages for the period of time Plaintiff denied;
 4
                      padlocks to be removed so as not to deny ownership rights of homeowners
                      privileges and benefits they are paying for year round
 5               d.   For compensatory damages according to proof at the time of trial;
                 e.   For general damages according to proof at the time of trial;
 6               f.   For punitive damages according to proof;
 7
                 g.   For rescission of homestead exemption waiver CCRwith MEADOW BROOK
                      VILLAGE HOMEOWNERS ASSOCATION - Fremont a,, a null and void
 8                    contract based on fraud;                                    ;
                 h.   For legal interest on said sums; and
 9               i.   For such other and further relief as the Court deems just r·:d proper against all
10                    Defendants.

11                                                   JURY DEMAND
12
                 DATED this 19th day of March, 2018.

                                                                                         NBERNSTEI
14

15

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     Complaint
   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 454 of 801




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                                                                                                                                 20685286
                                          SUMMONS                                                                    (SOL OPARA USO OE LA CORJ'f}
                                   (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:                                                                                                              D
 (AV/SO AL OEMANDADO):      C~1 ~II 12  J..\                                                                             F1LE DN'f'i
        N,sc<.12--                   Ncr I h'E't n                                                              ALAMEDt- co
     tn-e~tv ~IL.. V,112ft fkSlCWlta1 -
 YOU ARE BEING SUED BY PLAINTIFF:                      u-                             fr~1 J--                           MAR 19 2016
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                      ~ $1Ji>lil}\0P. ~
 Mary Bernstein                                                                                                                                    ~
                                                                                                                                                     .... - '

  NOTICE! You have been sued. The court may decide against you without your being' heard unless you respond within 30 days. Read the info~tion
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response el this court and have a copy
  served on thu plaintiff. A letter or phone ca" will not protect you, Your wrftten response must be in proper legal form If you wanl the court to hear your
  ~se. There may be a court form thal you can use for your response. You can find these court forms and more lnfomuitlon at lhe Ca!i('omia Courts
  Online Self-Help Center (www.courtinfo.ca.gov/sel1hefp), your county law library, or the courttiOUH nearest you. II you cannot pay the fillng ~e. ask
  the court defi,; for a fee waiver form. If you do not fife your response on time, you may lose the case by default, and your wagn, money, and property
  may be taken without further warning from the 00urt.
     There are other legal requirements, You may want to call an attorney right away. It you do not know an attornay, you may want to call an sttomey
  referral service. If you cannot afford an attorney, you may be eligible ror free legal services from a nonprofrt legal services program. You can locate
  these nonprofit groups al the Ca1lfamla Legal SeNlces Web sits (www.lawhe/pcalifamJa.orr,), the California Courts Onfine Self-Help Center
  (www.roulfinfo.ca.govtsah'hefp), or by contacting your local cou11 or county bar woelatlon. NOTE: The court has a statutory Hen for waived fees and
  costs on any seWement or arbitration award of $10,0DO or more in a civil case. The oourt's lien must be paid beforv the c::ourtwm diimlss the case.
 IAVfSOJ Lohan demandado. SJ no responds dentro de 30dlas, la carte pl.l8de decid/ren su contra sin escudlar su versi6n, Lea la informecidn a
 contfm.1ec/6n.                                                                                                                 .
    7iene 30 D{AS DE CALENDARIO despufs d& qua I& &n!Tegll8n &sla cilaciOn y paps/es lsgafes para pras~mrer una ruspu&sla por ewito en eSla
 oorte y hacer qlJ8 se entrsgua una rx,p/e el demand ante. Una carte o una llamada telefdnlca no lo protegen. Su respueste porescrito tiene que ester
 sn.fonnafo tsgalcorreclo sJ desea que prooosen su caso en la COJte. Es poslbfa que haya un fOnnufario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y m4s lnformaci()n en el Centro de Ayuda de fas Cortus de Califomla t,nww.sucorte.ca.gov), en la
 blblloleca de feyes de su condado o en la corte que le quede mds cel'C8. SI no puede pager la cuora de prasentecidn, pida at seaetario de la corte
 qua 19 df un tormu/erio da ex&nei~n de pago dB cuotas. Si no prasenta su respuesta a tiempo, pu8de petdarel ca.so por ittwmplimiento y /.9 cert& le
 podrd quits, su suafdo, dfnero y bienes sin mAs advsrtencie.
    Hay otros requisltos lega/fs. Es recomandabJe que flame a un abogado lnmadlatamenre. s; no conoce e un abogadO, puede 1/amar a un setvfcio de
 romisiOn a abogadas, Si no pueda pagar a un sbogsdo, es posib/a qua cumple oon /os ,equlsitos pera obtenar servicios legates 9ratuitos de un
 programa dB serviclos Jega/es sin fines de lucro. Puede encont,ar estos gropos sin fines de lucro en el sillo web de califomla Legal Servioas,
 (www.lawflelpcatifomla.org), en el centro de Ayuda de las Cortes da Cslffomia, {Ytw«.sucorte.ca.90v) o poni6ndose en conrscto con la rortfl o el
 coiegio d8 abogados lacalas. AVISO: Por Jay, la rorte liBne darBCbo a nuJamarJaa cuolss y tos oostos e~entos por imponar un graWi/11Bn sobm
 cualqufer recuperac/M de $10,000 6 mas d6 valor redblda mediente un scuerdo o una concesll}n de a/bltr8)8 en un caso de derecho civil. Tiena qua
 pagar el gravamen dfl Is corte an res de qua la corte pueda dssechar el caso.
The name and address of the court is:                                                                    CASE N\JMBER:
(El nombre y direcci6n de la carte es): Alameda
 24405 Amador Street, Hayward Hall of Justice
                                                                                                         '"'-""1i'G 18 897 8 Sl
 Hayward, CA 94544
The name, address, and telephone number of plaintiffs attorney, or plalntiff without an attorney, is:
(El nombre, la di,.cci6n y el mlmero de ts/6fono de/ abogsdo de/ demandants, ode/ demandante que no none sbogado, es):
Mary Bernstein, 3416 Deerwood Terrace,#\ 13, Fremont, CA 94536

 DATE:                          MAR l lO_lh
                                 n 0              Chad Finke         Clerk, by                                                                      , Deputy
 (Fecha)                         •                                   (Secretario)                                                                    (Adjunlo)
(For proof of seNice of this summons, use Proof of Service of Summons (form POS--010).)
(Para proeba de en/regs de esla cffaff6n use el fonnulsrio Proof of Service of Summons, (POS-010)).
                                 NOTICE TO THE PERSON SERVED: You are served
  15"'-I
                                 1.       D
                                          as an individual defendant.
                                 2.       D
                                          as the peroon sued under the fictitious name of (specify):


                                     3. ill on behalf of (specify):
                                          under. ill CCP 416.10 (corporation)                             D       CCP 416.60 (minor)
                                                 D   CCP 416.20 (defunct corporation}                     D       CCP 416.70 (conservatee)
                                                 D CCP 416.40 (association or partnership) D                      CCP 416.90 (authorized person)
                                                 D     other (specify):
                                     4.   D    by pen,onal delivery on (dale):
Fon!\ M;,p.00 b: Mardak,y Use
                                                                                                                                                                '.,
  Juiidal CcamcBol Calllom!a
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  SUM-100 jRe-,, M 1, 20001
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 455 of 801




                                                                                                                              SUM-200(A
     SHORT TITLE:                                                                                CASE flUMBER:


 -                                                                                                     RG18897381
                                                           INSTRUCTIONS FOR USE
     -+ This form may be used as an attachment to any summons if space does not permit the listing of an parties on the summons.
     + If this attachment is used, Insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
        Attachment form is attached."

     List addlttonal parties /Check only one bqx. Use e separate page ror each fype of party.):

      0         Plainliff • ~ d a n l          D Cross-Complainanl O Cross-Defendant




                                                                                                                    Page           of
                                                                                                                                          t 1 ol 1
 fMTI Adopted lot Mancia.tort Uta
   Judicial COlll'ICII or Caf~omla           ADDITIONAL PARTIES ATTACHMENT
SUM-2-00(A)(Rev. January I, 20071                     Attachment to' Summons
          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 456 of 801



                                                                                                                       • 111111rnll lllll lllllll~I IIIII IIIII llil 11111111
                                                                                                                                       20685284
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Nllme, Sfllfll B11rn11mb11r, llnd lldd1Us):                                       FOR COURT USE ONLY
-Mary Bernstein
 3416 Deerwood Terrace, #113, Fremont, CA 94536

          TELEPHONENO,, 5)0 938 6280
 ATTORNEY FOR (NllmeJ:
                                                                   FAX NO.:
                                                                                                                        FILED
suPERIOR couR1 oF cAuFoRNIA, couNTY oF Alameda County Su?-erior Court                                          ALAMEDA coUN'fY
    srRm ,ooRess, 24405 Amador Street, Hayward Hallo Justice
       MAILING AOORESS:
       cnv,NoziPcooe, Hayward, CA 94544
                                                                                                                        MAR 19 2010
                                                                                                          ~E~K ~ SUJ"llP,,lOR ~~~
           BRANCH NM1E:
     CASE NAME:
  Bernstein v. Associa Northern California, et al.

0
       CIVIL CASE COVER SHEET
        Unlimited       Limited   D
                                                                       Complex Case Designation           CASENUMHRG     1 8 8 97 3 8 1
          (Amount          (Amount                                D       Counter     D     Jolnder
                                                                                              JUDGE:
          demanded         demanded Is          Filed with first appearance by defendant
          exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)         DEPT;
                              Items 1-6 below must be completed (seB instructions on page 21.
1. Check one box below for the case type that best describes this case:
   Auto Tort                                   Contract                                Provisionally Complex Civil Litigation
      D Auto(22)                                               D
                                                     Breach of contract/warranty {06) (Cal. Rules of Court, rules 3.400-3.403)
      D  Uninsured motorist (46)                               D
                                                           Rule 3.740 co\lectlons (09)                DAntitrust/Trade regulation (03)
   Other Pl/PD/WO (Personal Injury/Property                    D
                                                           Other collections (09)                     D
                                                                                                      Construction defect (10)
   Damage/Wrongful Death) Tort                                 D
                                                           Insurance coverage (18)                    DMass tort (40)
      D  Asbestos (04)                                         D
                                                           Olher contract (37)                        DSecurllles litigation (28)
      D  Product liability (24)                      Real Property                                    DEnvironmenta1fToxlc lort (30)
      D  Medical malpracl!ce (45)                              D
                                                           Eminent domain/Inverse                     DInsurance covera_ge claims arising from the
      0  other Pl/PD/WO (23)                               condemnation (14)                           above listed prov1slonally complex case
   Non-Pl/PO/WO (Other) Tort                                   D
                                                           Wrongful eviction (33)                      types  (41)

      D  Business tort/unfair business practice (07)           D
                                                           Other real property (26)             Enforcemenl     of Judgment
      D  Civil rights (08)                           Unlawful Detainer                                DEnforcement     of Judgment (20)
      D  Defamation (13)                                       D
                                                           Commercial (31)                      Miscellaneous Civil Complaint
      D  Fraud (16)                                            D
                                                           Residential (32)                           0RIC0(27)
                                                               D                                      D
      8
      D
         Intellectual property {19)
         Professional negligence (25)
         Other non-PIIPD/WD tort (35j
                                                           Orugs(38)
                                                     Judicial Review
                                                               D
                                                           Asset forielture (05)
                                                                                                       Other complaint (not specified above) (42)
                                                                                                Miscellaneous Civil Pelitlon
                                                                                                      DPartnership end corporate governance (21)
       loyment                                                 D
                                                           Petition re: arbitration award {11)        D
      D
      D
         Wrongful termination (36)
         Other employment (15)
                                                               D
                                                           Writ of mandate (02)
                                                               D
                                                           Other ludlcial review f39)
                                                                                                       Other petilion (not specified above) (43)


2. This case W is               LJ is not complex under rule 3.400 of the California Rules of Court If the case is complex, mark the
   factors requiring exceptional judlclal management:
    a. D     Large number of separately represented parties             d.           D
                                                                                  Large number of witnesses
      b.0    Extensive motion practice raising difficult or novel       e.           D
                                                                                  Coordina1ion with related actions pending in one or more courts
             Issues that will be tlme•consumlng to resolve                        In other counties, slates, or countries, or In a federal court
    c.    D  Substantial amount of documentary evidence                 f.           D
                                                                                   Substantial postjudgment judicial supervision
3.    Remedies sought (check all that apply): a.@ monetary b.@ nonmonetary; declaratory or injunctive relief                                   c. 0punitive
4.    Number of causes of action (specify}:
5.    This case       D Is            0
                                   is not a class action suit.           ,     -;- •                ,
6.    If there are any known related cases, file and serve a not'tce of related case. (You ma form CM-015.)
Date: March 19, 2018

                                  {'TYPE OR PRINT NAME)
                                                                                   NOTICE
     • Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.)-Fal!ure to file may result
       in sanctions.
     • File this cover sheet in addition to any cover sheet required by local court rule.
     • If this case Is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
       other parties to the action or proceeding.
     • Unless thls Is a collections case under rule 3.740 or a complex case, thls cover sheet will be used for statlstlcal purposes onlv.
                                                                                                                                                              1'1101ota
                                                                                                                                        2
Form Adopted for Mandato,y Use
  Judlcla! Council or Ca1lfomla                                CIVIL CASE COVER SHEET                       cai. Rui~~~,s~:~~~a:i~~o\c~i ~m~J~tr°;;O~~~ii,';~~
   CM-010 !Rev. July 1, 20071                                                                                                                     www.co111Unfo.c11.gov
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 457 of 801




EXHIBIT I

John 17 is the seventeenth chapter of the Gospel of John in the New Testament
of the Christian Bible. It portrays a prayer of Jesus Christ addressed to his Father,
placed in context immediately before his betrayal and crucifb:km, the events
which the gospel often refers to as his giorifkation1. The chapter is a profound
display of Jesus' love and concern for His followers, providing encouragement
for believers in the unity He desires for us and in His intercession on our behalf

Jesus Prays to Be Glorified

17 After Jesus said this, he looked toward heaven and prayed:

"Father, the hour has come. Glorify your Son, that your Son may glorify you. 2 For
you granted him authority over all people that he might give eternal life to all
those you have given him. 3 Now this is eternal life: that they know you, the only
true God, and Jesus Christ, whom you have sent. 4 I have brought you glory on
earth by finishing the work you gave me to do. 5 And now, Father, glorify me in
your presence with the glory I had with you before the world began.
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 458 of 801




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                                                                                      • '--·-- 73039165

        MARY BERNSTEIN, MSAJS ..
  1
        3416 Deerwood Terrace, #113                                             IB':ITLED
  2     Fremont, CA 94536                                                    ALAMEDA COUNTY
        (510) 938-6280
. -3     Email: mbernsteinpurple@hoimail.com                                 ..:.. JUL 23 2021
        .Plaintiff Pro Se
  4

        .SUPERIOR COURT OF CALIFORNIA
  6                                    COUNTY OF ALAMEDA
  7
        MARY BERNSTEIN,                                 Case No. HG18897381
  8
                Plaintiffs,                             DECLARATION OF ANNA SMITH-
  9                                                     FOGLTANCE IN SUPPORT OF
                vs.                                     REQUEST FOR CHANGE OF JUDGE,
10
                                                        PEREMPTORY CHALLENGE,
11      ASSOCIA NORTHERN CALIFORNJA,'a                  CHALLENGE FOR CAUSE
        California Corporation MEADOW BROOK             REASONABLE ACCOMMODATIONS
12      VILLAGE ASSOCIATION, a California •
        Corporation, MASSINGHAM &.                      [Refusal Judge Herbert to provide
13
        ASSOCIATES, a California Coi,oration;           reservation number- advised by clerk to
 14     JOHN DOE 1-50; MARY ROE 1-50; XYZ               submit motion]
        CORP 1-50; ABC LLC 1-50; The names of
 15                                           11
        the ' John Doe 1-50 "Mary Roe I-SOU, XYZ
            1                 11



 16     Corp, 1-50", and "ABC LLC, 1-50",
        defendants being fictitiou_s, and uiiknown to
 17     the Plaintiff, Amy DeJesus, William
        Schneider, Rohit Varicatt. Michael Durbin,
 18
        Vipul Ramani, Virendra Dhavale, Romulo
 19     Zafra, Ashok Agarwal, Charlie West, Laurie
        Sheaffer, Jill Buono, Sharon Daly, Linda
 20     Kramer, Marv Eryman, Susan Condio-
        Hernandez, Jeffrey Lowery, Belinda
 21
        Hollingsworth, LeAnne Ritter, Lee Molignoni,
 22     Laurie Sheaffer, Elizabeth (Liz) Hall, Wa1Ten
        Hollingsworth, Jerry Cosentino, COMMON
 23     INTEREST MANAGEMENT HOLDINGS
        LLC, a limited liability company, John
 24
         Gibson, Mona Oliver, Derc Yamasaki,
 25      Joaquin Rivera, Warwick Hoyle, Jacob
         Rivera, Che Saeturn Tanjoco, Chandan
 26      Sheath, Dawn Aquilina, Mark Simonson,
         Gurnoor Jud e, Chai Min Loke,
  27

  28     DECLARATION OF ANNA SMITH-FOGLTANCE IN SUPPORT OF REQUEST FOR
         CHANGE OF JUDGE, PEREMPTORY CHALLENGE, CHALLENGE FOR CAUSE
         REASONABLE ACCOMMODATIONS·                       •
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 459 of 801




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           Defendants.
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20    DECLARATION OF ANNA SMITH-FOGLTANCE IN SUPPORT OF REQUEST FOR
      CHANGE OF JUDGE, PEREMPTORY CHALLENGE, CHALLENGE FOR CAUSE
      REASONABLE ACCOMMODATIONS
Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 460 of 801




  Declaration Anna Smith-Fogltance



  My name is Anna Smith-Fogltance and I am the mother of Plaintiff Mary Ballard Bernstein, If called as a
                                                                       a·
  WitneSS I ·can testify as to tfie· foilOwing fact-s that occurred during tTlotion fC)r ·stay heiring·on July 2
  2021 a6d declare as follows:                                                                                     \   )
      1.   1am bedridden with congestive heart failure on oxygen.
                                                                                                                   V
      2.  I worked when younger in law firms in Washington DC, have some familiarity with legal process
          in courts, Judge to be neutral. My Father worked In the Pentagon; my mother in academia; my
          sister an accountant. l do not appreciate being treated as a second class citizen.
      3, My disabled eldest daughter Mary Ballard Bernstein has been Uterally fighting for her life for the
          past 3 ½ years in court matter Bernstein v. Associa enduring prejudice from the judge assigned
          Paul Herbert which I personally observed on July 2 2021 as well as physical threats to her person
          in the HOA Community,
      4. On July 2 20211 was on a conference cal\ bl.uejean hearing for~ motion to stay with my
          daughter Mary Ballard Ber~stein 9:00 a.m. Mary has submitted multiple reasonable
        • accommodatior:is to the court as well as doctors notes regarding her medlcal conditions ADHD,
          PTSD, Bipolar and physical matters Irritable Bowel Syndrome to this Judge as well as her doctors.
          My younger daugh.ter Elizabeth Tigano that is now diagnosed with PTSD and hospitalized also
          submitted reasonable accommodations to be patient, no waiting. 1was tci witness as well as
          other witnesses for Mary that were on the line.
      5. The Judge Paul Herbert came on stating that there were many matters on the calendar and that
          he would be taking the Berns.tein case in 15 minutes, Instead, the Judge then stated furious that
          anyone making noises would go last and he sUspected Bernstein. I am on oxygen, bedridden
          with congestive heait failure. Thfs was extremely upsetting to me to be talked to as an elderly,
          disabled person.
      6. Many many matters Were called.
      7. Carlos Jato I believe the attorney in matter called Perez v. Jechi was providing a legal citation, I
          accidentally coughed and the judge responded irrationally stating oh jesus or jeez someone
          coughed and I did not get the citation. Car_los Jato was disputing a_ legal conclusion and stated 6
          federal judges decision was _different than Paul Herbert.
      8. Stephen Kent Rose attorney bro1:1ght up a case he planned on appealing .ind the judge appeared
          to be almost threatening intimidating this man as the judge had worked in the court of appea Is.
                                   a
          I have never witnessed jl\dge posture in such a way to an attorney.
      9. These were all men that were_ arguing and the judge was for the most part respectful to all of
          them providing them with a lot of time back and forth arguing.
      10. The Judge took my daughter's dead case last afterward of which that demeanor to all of us on
          the phone four women was aggressive hostility. Presumably this was because of the coughing.
      11. The court stenographer was having difficulty as well as the Judge with equipment. I stated my
          name and they could not understand. 1'stated several times spelling it and explained that I did
                                                    ' I eat but I am bedrldden and do not wear in bed. I
          not have any teeth in. \·wear ~entures when
          was extremely tired by this point after waiting so long to testify and disappointed that we were
          not taken in 15 minutes as he.stated he would do.
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    12. The Judge several times encouraged us all to hang up and dial up on other lines. I have no idea
        as an older person how to work technological matters. My daughter makes phone calls for me,
        dials them assisting me.
    13. We had to secure restraining orders in Arizona and the Judges were extremely kind helpful. The
      • jUdg'es dial Up the per·son ·obfa'iriin'g the restralnin'g o·rde'r rattler tha·n lorig-WaitS onlinE! whereiii.
        no one can use bathroom. The court prints out complete? all restraining orders for the public
        after prellmlnary information provided online. Thi$ is a streamlined process. There are live
        hearings in Arizona not ·au<;tio calls.
    14. The judge was so hateful, c'ritlcal abrupt to women all of us again pushing a continuance.
    15. My dauBhter warited the conclusion of the matter as s~e has been unable to sleep for weeks
        due to stress from this case.
    16. My daughter Mary Ballard Bernstein is so nervous, physically sick before each court appearance
        and attempts'to present her matter to the bes·t of her ability. Mary also emailed to the Judge
        she stated several pieces of eviderice.
   _17. Judge Paul Herbert consistently interrupted Mary, angrily corrected her multiple times saying
        that she was on a tangent, ranting that he was dehying the stay. ·
    18. The Judge was courteous to these attorneys but exhibited baised, prejudicial behavior towards
        my disabled daughter not letting her state her case. The judge would not look at the emails that
        she sent, bla.med her for additional delays to the stay which was aworld pandemic, refused to
        appoint counsel to h~r as well.
    19. The Judge stated that he wo_uld not need our testimony and would not allow any witness
        testimony.                              .
    20. I was completely appalled at this behavior.· I am in another state Arion .
    21. I am disabled physically but I still have my faculties, The public expects judges to be respectful,
        neutral and not abusive. I am writing this declaration for complaint I am filing for this judge
        behavior towards me.as a v,,1itness coughin~ and In support of my daughters motio.n to recuse
        Judge.                       ·•



 Anna Smith Fogltance

 7-8-2021
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   1
          MARY BERNSTEIN,_MSAJS
          3416 Deenvood Terrace, #113
   2      Fremont, CA 94536
          (510) 938.6280                                                        JFilLED
   3• •   Email: mbernsteinpurple@hotmail.com                                ALAMEDA COl'NTV·
          Plaintiff Pro Se
   4                                                                            JUL 23 2021
  s       SUPERIOR COURT OF CALIFORNIA                                  CLERK OF THE SUPEklOR COU

   6                                      COUNTY OF ALAMEDA
                                                                        By   u,-:;w.                    • ~puly

  7
          MARY BERNSTEIN,                                Case No.   HGI 8897381
  8
                 Plaintiffs,                             DECLARATION OF JACQUELINE V.
  9
                                                         ILLERA IN SUPPORT OF REQUEST
 10
                 vs.                                     FOR CHANGE OF JUDGE,
                                                         PEREMPTORY CHALLENGE,
 11       ASSOCIA NORTHERN CALIFORNIA, a                •CHALLENGE FOR CAUSE
          California Corporation MEADOW BROOK            REASONABLE ACCOMMODATIONS
 12
          VILLAGE ASSOCIATION, a California
 13       Corporation, MASSINGHAM &                     . [Refusal Judge Herbert to provide
          ASSOCIATES, a California Corporation;           reservation number- advised by clerk to.
 14       JOI-IN DOE 1-50; MARY ROE 1-50; XYZ             submit motion]
          CORP 1-50; ABC LLC 1-50; The names of
 15
          the "John Doe 1-50" "Mary Roe 1-50", "XYZ
 16       Corp, 1-50", and "ABC LLC, 1-50",
          defendants being fictitious, and unknown to
 17       the Plaintiff, Amy DeJesus; William
          Schneider, Rohit Varicatt. Michael Durbin,
. 18
          Vipul Ramani, Virendra Dhavale, Romulo
 19       Zafra, Ashok Agarwal, Charlie West, Laurie
          Sheaffer, Jill Buono, Sharon Dall, Linda
 20       Kramer, Marv Eryman, Susan Condio-
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          Hernandez, Jeffrey Lowery, Belinda
          Hollingsworth, LeAnne Ritter, Lee Molignoni,
 22       Laurie Sheaffer, Elizabeth (Liz) Hall, Wan-en
          Hollingsworth, Jerry Cosentino, COMMON
 23       INTEREST MANAGEMENT HOLDINGS
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          LLC, a limited liability company, John
          Gibson, Mona Oliver, Derc Yamasaki,
 25       Joaquin Rivera;Warwick Hoyle, Jacoli
          Rivera, Che Saeturn.Tanjo90, Chandan
 26       Sheath, Dawn Aquilina, Mark Simonson,
          GurnoOl' Jud e, Chai Min Lake,     ' •
 27

 28       DECLARATION OF JACQUELINE V. ILLERA IN SUPPORT OF REQUEST FOR
          CHANGE OF JUDGE, PEREMPTORY CHALLENGE, CHALLENGE FOR CAUSE
          REASONABLE ACCOMMODAT!ONS
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 463 of 801




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             Defendants.
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  20     DECLARATION OF JACQUELINE V. !LLERA IN SUPPORT OF REQUEST FOR
         CHANGE OF JUDGE, PEREMPTORY CHALLENGE, CHALLENGE.FOR CAUSE·
         REASONABLE ACCOMMODATIONS ·                   ••
                                         . 2.
Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 464 of 801




  Declaration Jaqueline V. lllera ifl Support of Motion of a New Judge



   My name is Jacqueline V. lllera and I am knowledgeable about mistreatment Mary Bernstein has been
 • enduring with the Aia-meda County Superior Court Paul Herbert. I Jacqueline\/. lilera declare as follows: ••

  I attended blue jeans hearing on July 2 2021 Bernstein v. Associa as a wi'tness.

  1attended February 24 2021 hearing as a witness Bernstein v.. Associa.

  I am a n~turalized citizen from the Philllpines have been here many year~. I am an occupational
  therapist and a published children's author. I want to complain about the behavior conduct towards
  myself as a witness as well a? the experience I had before Judge Paul Herbert. .I have been a witness on
  multiple restraining order hearings concerning retaliation for filing a civil complaint against the HOA that
  she lives in. Mary has been going through corporate mobbing unbearable I have endured with her in
  HOA Community assaulted myself there. with her there when her car stalled was towed by Triple AAA.
  was in my red Mercedes when the +iarassment began my first time ~ver.at Meadow-Brook. We were
  surrounded by large crowds. Joaquin Rivera restraining order granted, John Gibson restraining order
  granted. Mtchael Durbin second civil harassment hearing pending. I was testifying February 24 2021 in
  support of Mary amending her complaint.naming these individuals and the HOA that sponsors this
  harassment of a member of the HOA community. This was a. despicable place. Mary's disabled sister
  Elizabeth Tigano has also endured harassment at the" hands. of the HOA, has witnessed abuses of Mary
  and likewise was testifying February 24 2021 for Mary to amend complaint new causes of action and
  name Doe Defendants. Mary is a functioning 1 caring adult despite all she has endured and continually is
  enduring. I have experienced it there at Meadow Brook Village condominiums. I have testified all last
  year and this year at civil harassment hearings. 1am occupational therapist am aware of physical. Mary
  is disabled physically frorTl accident her infant and her nearly killed in crOss walk while walking in cross
  walk to daycare. Mary is ex_tremely bright suffers from PTSD was a legal profession~! for ~any years.

  These people defame Mary saying she is psychotic, institutiOnalized her whole life. Mary encounters
  this ill treatment on a daily basis as does her disabled sister that Is on calls with her subjected also to the
  abuses. John Gibson directed a group of people at us July 10, 2020-circled around us in car admitted
  they were upset about lawsuit. Mary provided medical records to defens~ counsel and these residents
  are aware of private medical records provided in disc·overy ..

  July 2 2021 hearing

  I attended hearing remote was a ·witness to the dismissive attitude from the beginning. Mary's mother
  bedridden, who is prescribed oxygen with congestive heart failure also a witness. The judge began by
  scolding everyone on the calendar that date stating if anyone makes any ·noises, ruffling papers they will
  go last. The other individuals were all attorneys on the line;· we were all non attorneys. Some noise
  imniediately made and judge stated I hear noises and I think it is Bernstein. We are not on video call but
  audio. We were treated as children and made to go last des·pite Mary's reasonable accommodations
  disability and her mother's._ Mary made it known that she had witnesses including her mother oxygen
  congestive heart failure. During one of the other hearings Mary's mother coughed and the Judge
  scolded as he said he did nOt get the citation from the attorney because someone coughed. This kind of
  abuse to elderly, sick people is extremely offensive and insensitive. After 45 minutes or so we were
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  finally called and Judge began fussing at us for noise when no one was making noise. We made our
  appearances Mary's mother stated that she did not have any teeth her dentures were not in. The judge
  began suggesting we all hang up discouraging us. The judge suggested that everyone could hang up and
  dial back in he did not know why we could not. I am not familiar with bluejeanssystem; I am in Los
  An·g·e1e and Wfl haVe liVe lieilringS. Mciry's mother'is' not able fo ·aial irl log lh, medicated·paSswords· with
  technology as she Is nearly 80 years old and incapacitated. The judge refused to let any of us testify,
  continually dismissive to Mary sayl;,g she was ranting, tangent as he·has done previously which further
  destabilizes Mary a handicapped w~man unable to argue her points. This treatment was not exhibited
  to any of the other cases with attorneys. Judge Herbert very polite to the defense attorney on the
  matter.



  February 24 2021 hearing

  Paul Herbert was indifferent to all three of us on remote call hearing to begin stating that he was going
  to talk really slow and spoke to all three of us in front of others as if we possessed cognitive impairment.
  Mary stated that she wanted myself and Ellz.abeth Tigano to testify in support of motion for leave to
  amend complaint. The Judge fought this vehemently from the very.beginning any witnesses or evidence
  Mary was trying to produce. Mary asked if he wanted to see the video that I filmed demonstrating the
  large crowd harassment he refused. I had n·ot everi gotten a few words out in testimony several times
  and the insurance defense attorney Luanne Rutherford began objecting. The Judge kept interrupting
  before I could say anything. The defense cousel requested all objections for the end. The judge then
  agreed to her motion to strike from the orcll argument which was compl€tely biased, one sided all of this
  behavior. It is clear this Judge partiality and that he will not agree to anything Mary needs. This Judge
  consistently blocking Mary from making her point. This Judge c\aiins that he could not understand an
  extremely well written motion for l,t!ave and amended complaint by·a woman that was in the legal field
  her entire career with a master of scienc~ degree.



  Mary needs a new judge as this Judge Herbert biased, prejudice.ct to her,



  July 7, 2021




                                -
  Jacqueline V. lllera
         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 466 of 801




                                                                                                             CHRIS NANOS
                        Pima County Sheriff's Department
                                                                                                                  Sheriff
                        Civil Enforcement Unit
                        32 N. Stone Avenue, 16th Floor Tucson, AZ 85701-1409
                        Attention: DT-LSB16-205                                        Keeping the Peace and Serving the Community Since 1865
                        Phone 520-351-6000 Facsimile 520-351-4333
                        www.pimasheriff.org


                                               Notice of Completed Service
       Date:     9/8/2021
                                                                               Case:     C20212317
        To:      Anna SmithFogltance
                                                                               Process Number:          21-001559
                 2439 N. Ritchey Blvd
                                                                               Regarding:
                 Tucson             AZ            85716
                                                                               SMITHFOGLTANCE, ANNA
                                                                               vs.
                                                                               TUCKER, MARK
       The service for the above mentioned case is completed and considered closed. The following are fees conceming your case.
       Fees:
               5/24/2021     Mileage charge                                                                  $16.80
                                                                               Total Fees:                   $16.80

      Payments:



                                                                                Balance Due:                 $16.80

IF YOUR PAPERS HAYE BEEN SERVED YOUR BALANCE IS DUE UPON RECEIPT OF THIS NOTICE

Ifyour papers are unserved additional attempts may be made and additional charges may accrue. No payment is due at this time.

ff your papers remain unserved the total balance will be due at the expiration of your Injunction, one year from its issue date.

Payments can be made to the Sheriffs Department by mail in the form of personal check from a local bank, cashier's check, business check or
money order (please do not mail cash). Please note your Process number from this form on your check and mail to the address noted above.

You may also pay in person by check, money order or debit card at the Civil Enforcement Unit Customer Service window. Or you may pay
using a debit card by phone. If you have any questions please contact the Sheriffs Civil Enforcement Unit at (520) 351-6000.

Thank you for your attention to this matter.




                                                                                                                                       Page I of 1
R-8 Printed 9/8/2021 2:57:29 PM
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 467 of 801




                            PIMA COUNTY SHERIFF'S DEPARTMENT
                                                           O?ris Nanas, Sheriff
                             Civil Enforcement Unit, 32 North Stone Avenue, 16th Floor, Tucson, Arizona 85701-1409
                                   Phone: (520) 351-6000   •   Fax: (520) 351-4333    •   www.pimasherlff.org




Dear                                                                                              Process number: 21-001559
The Pima County Sheriffs Department's Civil Enforcement Unit processes over 5,000 service requests each year. We
hope that you are satisfied with the service recently provided. The following survey will assist us in determining the level
of service provided and your satisfaction with the personnel who provided those services. This survey is solely for the
purpose of evaluating services provided by the Civil Enforcement Unit. We would appreciate a few minutes of your time
in completing the survey below; any identifying information will be kept confidential. We strive for world class service
but realize there is always room for improvement.

                                                    Type of service provided:
181 Protection Order/ Injunction Against Harassment D Civil Papers □ Writs D Taxes
D Other:---------------------------------
                       Please rate the following from 1 (needs improvement) to 5 (excellent):
INITIAL CONT8CT WITH CIVIL ENFORCEMENT UNIT STAFF
Did they treat you with respect?                                            Not at all      01       02         03   04   os    Always
Were they polite and professional?                                          Not at all      01       02         03   04   05    Always
SERVICE PROVIDED
Are you satisfied with the service of document(s)?                          Nola/all        01       02         03   04   Os      Very
FOLLOW-UP SERVICE
Please rate any follow-up contact (phone, mail, email) with staff.               Poor       01       02         03   04   05 Exceflent
OVERALL
Was staff knowledgeable about the process and procedures?                   Not at all     01       □2          03   04   05      Very
How satisfied are you with our service overall?                             Not at all     01        02         03   04   05      Very

Additional comments and/or suggestions: (Personal information - name/ phone number/ e-mail -is optional.)




Thank you for taking the time to complete this survey and helping us to improve our customer service.

                                                                                     Sincerely,

                                                                                     Lt. fl«41e~
                                                                                     Lieutenant Juan Navarro
                                                                                     Government Security & Civil Enforcement Section

                   Please return this completed form to our office either via email or U.S. mail.
                           U.S.Mail:
                           Pima County Sheriffs Department
                           Civil Enforcement Unit
                           32 N. Stone Avenue, 16~ Floor
                           Tucson, Al. 85701-1409 DT-LSB16-205




                                                     Keeping the Peace Since 1865                                            Rev. 06/2021
                    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 468 of 801




     Aol Mail.                  Search your mail or the web                                                                                              -ft Home

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    Today on AOL                    Fw: Please contact me concerning                          Aol/lnbox   *                          Mary Helen Bernstein            a.
                                    elderly mother




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I   lnbox                10K
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    Starred
                                           To: mary bernstein
    Drafts               45

    Sent
    Spam                            From: M. Helen Bernstein MSAPC CLA
                                    Sent: Wednesday, February 3, 2021 5:05 AM
Trash                               To: help@pcoa.org <help@pcoa.org>
    "' Less                         Cc; etigano@mail.plma.edu <etlgano@mall.plma.edu>
                                    Subject: Please contact me concerning elderly mother
Views                    Hide
                                    We need some assistance for her by Plma County Council on
    Bl Contacts                     aging. My disabled younger sister needs assistance with the care
                                    it is simply too much for her.
m          Photos

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   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 469 of 801




All Courts in Arizona!NCIC#/DPS# Address, City, AZ Zip Tele hone Number

                0 Employer-Plaintiff Ir
   Plaintiff      Workphm Injunction
                                            Defendant
         Elizabeth G Tigano                                 Mission Vista
 O0n behalf of minor/person in
 need of protection named:
                                            Defendant's address
                                                                                                    ~       PETITION for:
                                             2466 N Dodge BlvdTucson, AZ 86716
                                                                                    ••
                                                               ..
                                                                                                       rder of Protection
 Agent's name (lfWorkpl11c-e Injuudion)     Defendant's phone                                    .,, Injunction Against Harassment
                                                                                                 □ ·workplace Injunction

                                                                                -=====
                                                     This is NOT a cou.-t o.-de.-.
             This petition contains PlaintiH's alleg:iUons ::ind requests. To see what the court has ordered, see ~Order"" torm.


                      DIRECTIONS: Pleaser~~, ' iff's Guide Sheet before filling out this form.

1. Defendant/Plaintiff Relationship <:..,...._~"?;p behpee1t Defendant and minor/person in need ofprotection)
          OMarl'ied (past or preAi.,..                       ORelttted as parent, gt·andparent, child,
          0 Live/lived togctir£tt!"ate                       grandchild, bl'other, sister (or inMlaw/step)
          partnel's        ~ ~y                              OLive/lived together but not as intimate partners
          0Rom3C._~I (past or present)                       ODating (but not romantic or sexual)
          O~en~ild in common                                 @0ther:Neighbors across the street Mission Vista
  ~~ ~ a r t y is pregnant by the other                      Apartments


2. c}i;efend:mt and I have 1\ pending action invoh'ing maternity, paternity, annulment, legal sepnmtion, dissolution,
  custody, parenting time, or support in                         CounQ• Superior Court, Case#.


3. Name of court, if any, in which any other protective order 1·elated to this conduct has been flied.                  ~~
                                                                                                                               ~~
4. Tell the judge what happened and why you need this order. PRINT both the dates and a ~ ~ ~ t i o n of what
   happened. If there is a contested heal'ing, a judge can consider only what you write hei.~~ lillit......)
                       NOTE: Defe11da11t will receive a copy ofthis petition when t h e ~ ~             a.


                                                                                        ~~
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     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 470 of 801




                     ,, (Do not write on lliick 01• in the mai-gin. Altach nddltlonnl paper lfneceuary,)

                      This Is an ongoing situation of hate crimes, harassment and stalking I am enduring. In April 2020 C20-2983JSC
                      Tigano v. HUD, et al. a federal complaint flied, subpoena served and the management does nothing despite this
                      case to prevent resldenti;, their children frOm taunting, harassing, assaulting me daily. I have to take paratranslt
                      and do chores. Complaint excerpts: 68,.Jn July 2004, Mission Vista Apartments the harassment began. TMM ~
                      Fatnily Services Tucson owned these apartments that were constructed in this neighborhood in 1999 or 2 ~
                      These apartments were owned by and was a the main purpose of TMM Family Services Tucson to serve~i~
                      children and families; act as a catalyst for positive change; engage congregations of all kinds t o ~               ~x
                      community outreach; and develop new and ongoing research for quality ministry. To this date,                        t_~l'rfiders,
                      Rent Cafe and Its own website advertises that It takes HUD vouchers and other subsidiary pa                             . Journals
                      logs of Plaintiff Tigano and illustrations attached depict occurrences and individuals i d e n t ~                        located
                      In Mission Vista Apartments that engage in a continual pattern of harassment. "Const ~~                           g, surveying
                      me, threatening me, defaming me, stalking followfng me to the store, harassing me                  llilf._~s bout my weight,
                      my clothing, accusing me of being prostitute, pretentious, aloof." "Tresspassing                r          , prowling, tipping
                      over chairs, threatening with assault." "They say that they hate me so much                          nt me to kill myself."
                      "lwo males have shaven heads of Mexican descent f believe 8 or 9 years."                      r white male 12 long shorts on
                      bike light bro.wn fat ass, retard several times." Baggy shirts, baggy b l u ~                g hair female 16 they will shoot
                      me where I stattd," Larger groups standing on the property Mlssiossta                   ps of older teens, young adults. I
                      was sleeping 2018 on the couch and punched the kitchen wlndo:-\                  do rbell. I saw people running away but It
                      was dark. I am a loser, not very bright. 70. PlalntiffTlflano stg,th             all me a Jessup/Jessop constantly. The
                      urban dictionary slang word defltlon, Jessup 1. (n.) A ~ o                 Eastern Pensylvanla (NEPA)-- near Scranton,
                      Carbondale, and relatively close to Wilkes Barre. A to                   e people get creepily Involved with 'holidays'
                      that involve getting sloshed and carrying vvelrd-lo                  s of saints that nobody's heard of up and down
                      hills. The only other place in the world to hold                LOO DAY aside from Gubbio, Italy. A town where
  05/06/2021
                      nobody uses proper grammar, and everyone t s I                 ey're retarded .. " "Lets go to da Jessup ta pick up dem
                      der Ubaldo Statues." https:l/www.urbans,ion                m/define.php?term=Jessup Jessop 1. An individual who
                      cares not for relationships beyond t       r         the sexual, these people sleep with many partners not caring
                      about anything save for the mom n                  . 2. An individual who Just cannot turn It libido off 3. Promiscuous
                      man/ woman 4. Someone withJJ           e •      engage in human sexual behavior at a level high enough to be
                      consl.dered cllnlca!ly signifi~..           erted or dirty Didn't go home alone again last night. What a jessopl Lee Is
                      tearing It up on the d a n s afa n, he won't leave those poor girls alone. He's such a filthy Jessop!"

                                             ~
                      https://www.urbandl                  deflne.php?tem,..Jessop "They say they want to rape me the older males,"
                      "They say g o ~ o               ntal hospital that that is my home." Plaintiff Tigano did not even know what the slang
                      terminology m          \s'   is a younger generation dialogue This evidences to doctors and famllythat they
                      encountersg             Ing causing secondary trauma. 71. Pfaintlff Tigano filed a HUD complaint as a disabled
                      pe,s~               class on August 22 2019 (Exhibit U) for quid pro quo and was Immediately dismissed by Paul
                      Smi          Re on IX August 27 2019 (August 27 2019) 5 days later without contacting Plaintiff Tigano, any
                                    ement, attempt at Investigation. (Exhibits U and V). For years Elizabeth Tigano has been taunted,
                                 as a handicapped person when coming and going to her home as well as while inside the home pestered
                              anUy by tweens, teens and young adults from low Income housing Section 8 voucher Mission Vista
                      A      ments. In 2011 neighbor threw a six week old cat at Plaintiff Bernstein's head killed cracking the skull of the
                      kitten Suzanne. Exhausting measures· letter writing, emall!ll, phone calls requesting Intervention by responsible
                      parties to speak to the management of Mission Vista to Investigate what chlldren, Individuals were doing these
                      nuisance, harassment behaviors and put an end to the suffering of Plaintiff Tigano. Plaintiff Tigano learnt of the 81
                      FR 63054 Hostile Environment and Quid Pro Quo rule put into effect in 2016 and sought relief from HUD based on
                      protected person status. Mission Vista Partners contacted Tucson Unified School District contacted December 11
                      2019

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5. The foHowing persons should also be on this order. Th,t""\~ be protected because Defendant is a danger to
   ili=•                                                ~
   Anna Smith Fogltance                            Blrthd:~►
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 471 of 801




6. Defendnnt should be ordered to staY. awn)'. from these locations at all times, even when I am not present.
   NOTE: Do not list confidential addresses here.
    ~ Residence              (confidential)
    QWork                   -:-A-=z--'---------------------:~~:-.---

      0School                        AZ
      0Other                         AZ
      □ Business
      Name/Address(lf                                                                               ~
                                                                                                ~~

7.
      wockpla<e lnjm,ctlon)


          i. 0 Defendant owns 01· carries a firearm or other weapons.   ~~
                                                                                          ...
         ii ~ Defendant should be orde1·ed NOT to possess firearms,~'?:::1er ls in effect because of the risk of
             harm to me or other protected persons,               ~....,,

8 0 Defendant should be ordered to stay a,,,ay from an. ~~~hat is owned, possessed, leased, kept or held hy me,
  Defendant, or• minor child living in either my h ~ ~ f e n d n n t ' s household.


                         The residents to refrain
                         Apartments the harasN b
                                                 f~~            m:inllmldatlng me calling me names. 68. in July 2004, Mission V,sta
                                                           . TMM Family Services Tucson owned these apartments that were
                         constructed in this•          od in 1999 or 2000. These apartments were owned by and was a the main
      Othel'             purpose of ™II.~          vices Tucson to serve at risk children and families; act as a catalyst for positive
    _ requests:          change; eng     ~1't-gatlons of all kinds to expand community outreach; and develop
9

Under penalty of p e . j   ar or affirm the above statements are true to the best of my knowledge. I request an
order or an injuncti~.ting relief as allowed by law.

                  ~~
:~lizabeth                                                   Attest:
                                                                                    Judicial Offlcor/Clea•k/Notary                  D1tto


 Eff~e: 1/1/2020
                      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 472 of 801



  10/5/24, 10:05AM                                                How We'll Know When The COVID-19 Crisis Is Over; NPR
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                               Radio




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      The Coronavirus Crisis


      How We'll Know When The COVID-19 Crisis Is Over
      JULY 10, 2021 • 8:04 AM ET

      •~ Laurel Wamsley
       (;;   ·,;



                                                             In many ways, American life is returning to
                                                             normalcy: Masks are no longer required in many
                                                             locations, schools and universities are slated to
                                                             reopen and the days of social distancing have
                                                             begun to fade as concerts and sporting events
                                                             bring spectators back.

     People relax at the Georgetown
                                                            The U.S. is now averaging 154 deaths a day from
     Waterfront Park on Monday in
     Washington, O.C. While pandemic                        COVID-19 - a tiny fraction compared with the
     restrictions have been lifted for                      coronavirus pandemic's peak - and some safety
     much of the U.S., the delta variant
     of the coronavlrus is hospitalizing                    measures and restrictions are still in place. Late
     thousands of people In the U.S. who                    pandemic American life hasn't quite returned to
     have so far not gotten vaccinated.
     Tasos Katopodis/Getty Images
                                                            the status quo, but it feels much closer to normal
                                                            than it did six months ago.


                                                                      Sponsor Message




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10/5/24, 10:05AM                                               How We'll Know When The COVID-19 Crisis ls Over: NPR




    But while we may long for authorities to give an all-clear and say the pandemic is
    history, the crisis isn't over, in the U.S. or abroad.

    The question of when the crisis will be over is a layered one - with different
    answers from local, national and global perspectives.


    There are no set-in-stone metrics for when it's over
    The U.S. declared the coronavirus a public health emergency in January 2020.

    After many months in which the U.S. led the world in coronavirus cases, the virus
    is now under much better control due to wide availability of COVID-19 vaccines.

    That federal emergency status is still in effect - it has been renewed several
    times, most recently in April. It can be extended by the secretary of health and
    human services for as long as the emergency is deemed to exist.

                                                           It's not clear whether the Centers for Disease
                                                           Control and Prevention will issue any sort of all-
                                                           clear. The CDC did not respond to NPR on the
                                                           matter.

                                                           Ali Mokdad, an epidemiologist at the University
                                                           of Washington, hopes that the CDC will
    Health care workers, first responders                  eventually give Americans that go-ahead sign. He
    and essential workers are honored
    for their service during the COVID-19                  previously served in numerous roles over nearly
    pandemic at the Hometown Heroes                        20 years at the CDC.
    ticker tape parade in Manhattan on
    Wednesday.
    Newsday Lf.C/Newsday via Getty Images
                                                          When the time comes, Mokdad tells NPR, "it's
                                                          very important for our own CDC ... to say, 'We're
                                                          out of danger right now. We should move on with
    our lives.'"


                                                                    Sponsor Message




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    He says there aren't set-in-stone metrics to determine when a pandemic is over
    because such situations are dynamic and change so fast. And the coronavirus
    itself is evolving too.

    "When you look at the genetic makeup and sequencing of the virus ... and how it
    has been changing, there's still a lot of room for it to mutate. It's not at the end of
    the mutation cycle that it can do. So that virus could still carry a lot of surprises,''
    he says.


                                                           How a pandemic officially ends
                                                           The World Health Organization declared COVID-
                                                           19 a pandemic on March 11 of last year - the
                                                           same day that life began to change dramatically
                                                           in much of the United States.

    The Foo Fighters reopened Madison                      So when the virus eventually is under control,
    Square Garden last month in New
    York City. The concert, wlth alt
                                                           will the WHO declare the pandemic over?
    attendees vaccinated, was the first
    In a New York arena to be held at                      Basically, yes.
    full capacity since March 2020.
    Kevin Mazur/Getty Images for FF
                                      When the worldwide spread of COVID-19 stops, it
                                      will no longer be considered a pandemic. "In
                                      general, if the worldwide spread of a disease is
    brought under control to a localized area, we can say that it is no longer a
    pandemic but, instead, an epidemic,'' the WHO told NPR.



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10/5/24, 10:05 AM                                             How We'll Know When The COVIO-19 Crisis Is Over: NPR

    But it emphasized that the characterization of the outbreak as a pandemic has no
    formal meaning under international law.

    !Hli~!lll;l~ THE CORONAVIRUS CRISIS
                       March 11, 2020: The Day Everything Changed




    What does have a formal meaning is a "public health emergency of international
    concern" - a status assigned to COVID-19 at the end of January 2020. That's the
    highest level of health alarm under international law.

    The WHO convenes an international committee every three months to determine if
    an outbreak should still be considered such a global health emergency. When it's
    over, the WHO says it's over. That's what it did last summer regarding an Ebola
    outbreak in Africa.

    But it will most likely be a while before that happens with COVID-19.

    As WHO Director-General Tedros Adhanom Ghebreyesus frequently states: "None
    of us will be safe until everyone is safe."


                                                                   Sponsor Message




    The U.S. is not out of the woods yet



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10/5/24, 10:05AM                                                How We'll Know When The COVID-19 Crisis Is Over: NPR

     The delta variant has spread just as fast through the U.S. as epidemiologists
     feared it would. It now accounts for more than half the cases in the U.S. and far
     more than that in certain states.

                        CORONAVIRUS UPDATES
                        Delta Is Now The Dominant Coronavirus Variant In The U.S.




    Lynn Goldman, an epidemiologist and the dean of the school of public health at
    George Washington University, says the U.S. has certain things working for it -
    and some against it.

    The good news is we've shown the ability to lower rates of transmission a,nd
    deaths from the virus. And of course, Americans have widespread acceBs to
    COVID-19 vaccines.

    The bad news is there's resistance to the two main ways to prevent transmission
    - getting vaccinated and wearing a mask.

                       SHOTS - HEALTH NEWS
                       Where Are The Newest COVID Hot Spots? Mostly Places With Low
                       Vaccination Rates

                                                                                                                       l

    ''And unfortunately, those two attributes tend to coincide within the same people
    and within the same population subgroups," Goldman says. In other words, many
    of the same people who don't want to get a vaccine also don't want to w,ear a
    mask.

    As a result, Goldman says, we're likely to see continued transmission of the virus
    in the U.S., concentrated in the areas with lowest rates of vaccination.

    The current vaccines are highly effective against COVID-19, including the delta
    variant. That means vastly different outcomes for those who are vaccinated and
    those who aren't. Last month, for example, 92 people died of COVID-1'<9 in
    Maryland. All of them were unvaccinated.


    Local numbers can tell you more than state or national ones

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                                                             The most precise indicators of progress or
                                                             problems are very local.

                                                             National and even state-level metrics for
                                                             infection or vaccination rates can be misleading,
                                                             Mokdad says. A state's overall vaccination rate
    Graduates participate in a University
    of Southern California
                                                             can disguise much lower numbers in certa'.n
    commencement ceremony at the Los                         pockets that remain highly vulnerable to
    Angeles Memorial Coliseum ln May.                        outbreaks.
    Al Seib/Los Angeles Times via Getty Images


                                                             Low vaccination rates make it easier for fast-
                                                             spreading variants to take hold.


                                                                      Sponsor Message




    While there are many ways to track progress (or not) in controlling the virus,
    Mokdad says one especially useful metric is hospitalizations.

    "There is no way to make a mistake or underreport hospitalization for COVID-19,
    because everybody who goes to a hospital right now is being tested for COVID-19,''
    says Mokdad.

                        SHOTS· HEALTH NEWS
                        How Is The COVID-19 Vaccination Campaign Going In Your State?




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     That's in contrast to the number of cases, which can go uncounted because of a
     lack of testing, and the number of deaths, which can spike weeks behind other
     indicators when an outbreak hits.


                                                               The coronavirus will likely spike again this
                                                               winter
                                                                Even though U.S. cases are very much down from
                                                                their peak, unvaccinated people will continue to
                                                                die from COVID-19 until we successfully control
     Accompanied by his family, a                               transmission.
     student gets vaccinated at a pop-up
     COVID-19 vaccination clinic on
                                       Experts say the next big challenge will come thi:,
     Tuesday in Winnetka, Calif.
     Mario Tama/Getty Images           winter. Another wave is expected as people mo•:e
                                       inside during colder months. There will likely be
                                       some outbreaks as students go back to school --
     children under 12 are not yet eligible for the vaccines.

     How dangerous the virus continues to be will depend on vaccination levels of the
     population and the lethality of the variant that's circulating when winter comes.
     How quickly a state or local government is willing to go back into restrictive
     measures - like wearing masks indoors - will play a role too.

     "For the short term, it will be seasonal, like what we see with the flu, simply
     because we don't have enough vaccine to vaccinate everybody in the world,"
     Mokdad says.

    If we do the right things, like increasing production of the vaccine, he says, it's
    possible we eventually won't have to worry about COVID-19 anymore.


    What the end of the crisis might look like in the U.S.
     Goldman sees two possible scenarios for the U.S. in the near future.

     One is that the virus evolves to more readily evade the vaccines that have been
     administered.


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10/5/24, 10:05AM                                               How We'll Know When The COVID-19 Crisis Is over: NPR




    If that happens, she says, "then we'll have to go into a whole other round of
    revaccinating everybody:• Drugmakers are already working on booster shots in
    case they become necessary,

    On the other hand, that might not happen, and the current vaccines will continue
    to be highly effective.

    In that case, Goldman believes that within the next several months, "we'll see near
    elimination of the pandemic, certainly in the United States and Europe, other
    wealthy countries, Japan, Taiwan;• while efforts will continue to immunize people
    in the rest of the world.

    It's very likely, Goldman says, that even when we can say the pandemic is over,
    transmission will continue in parts of the U.S. that have low rates of vaccination.

    But one thing is clear: No matter what happens, the effects of the pandemic -
    including long COVID, mental health issues and economic fallout - won't end
    when the official emergency does.


       Clarification
       July 12, 2021
       An earlier version of this story said the national emergency for COVID-19 that was declared on
       March 13, 2020, has been renewed several times. In fact, it is the public health emergency that was
       declared in January 2020 that has been renewed several times.



      coronavlrus        covld-19




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 CORONAVIRUS UPDATES
 CDC cuts the recommended isolation and quarantine periods for coronavirus
 infections




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 THE CORONAVIRUS CRISIS
 These numbers show just how impactful the latest COVID-19 surge is
                                                                                 ••


 SHOTS - HEALTH NEWS
 With omicron, you need a mask that means business




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 SHOTS· HEALTH NEWS
 Omicron boosters: Do I need one, and if so, when?




 SHOTS - HEALTH NEWS
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  LAW
 The Menendez brothers' murder case is getting a fresh look. Here's why




 NATIONAL
 A coal power plant demolition serves as a poignant historical moment for the Navajo




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 A controversial but effective treatment for meth addiction gains ground




 BUSINESS
 23andMe is on the brink. What happens to all its DNA data?




 MIDDLE EAST CRISIS -                 EXPLAINED
 Satellite images show dozens of Iranian missiles struck near Israeli air base




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  NATIONAL
 The historic Biltmore Estate, an Asheville icon, works to recover from Helene damage



 NPR Editors' Picks

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                                           111     Tim Walz, Vice President
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 U.S. ELECTIONS EXPLAINED                                                                                                  \
 Can someone find out who you voted for? No. Here is what you should l<bow
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 ANIMALS
 Why Massachusetts loves Nibi the beaver and is fighting to keep her ,:,ut of the wild




 SIMON SAYS
 Opinion: Political texts are pinging off the rails




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  POP CULTURE HAPPY HOUR
 This horror genre is scary as folk - and perfect October viewing




 POLITICS
 Trump is returning to Butler, the site of the 1st assassination attempt against him




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 The tricky etiquette of parenting in public

    The Coronavirus Crisis

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1015124, 10:05AM                                               How We'll Know When The COVIO-19 Crisis Is Over: NPR

    Podcasts & Shows                                                              Public Editor

                                                                                  Corrections

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EXHIBIT J

Jesus Prays for His Disciples

6 "I have revealed you[a] to those whom you gave me out of the world. They were
yours; you gave them to me and they have obeyed your word. 7 Now they know
that everything you have given me comes from you. 8 For I gave them the words
you gave me and they accepted them. They knew with certainty that I came from
you, and they believed that you sent me. 9 I pray for them. I am not praying for
the world, but for those you have given me, for they are yours. 10 All I have is
yours, and all you have is mine. And glory has come to me through them. 111 will
remain in the world no longer, but they are still in the world, and I am coming to
you. Holy Father, protect them by the power of[b] your name, the name you gave
me, so that they may be one as we are one. 12 While I was with them, I protected
them and kept them safe by[c] that name you gave me. None has been lost except
the one doomed to destruction so that Scripture would be fulfilled.

13 "I am coming to you now, but I say these things while I am still in the world, so
that they may have the full measure of my joy within them. 141 have given them
your word and the world has hated them, for they are not of the world any more
than I am of the world. 15 My prayer is not that you take them out of the world
but that you protect them from the evil one. 16 They are not of the world, even as
I am not of it. 17 Sanctify them by[d] the truth; your word is truth. 18 As you sent
me into the world, I have sent them into the world. 19 For them I sanctify myself,
that they too may be truly sanctified.
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 490 of 801




     MARY HELEN BERNSTEIN, MSAJS
 1
     3416 Deerwood Terrace, #113
 2   Fremont, CA 94536
     Email: mbemsteinpurople@hotmail.com
 3   (510) 938-6280
     Pia in tiff Pro Se
 4

 5                                           SUPERIOR COURT OF CALIFORNIA

 6                                                  COUNTY OF ALAMEDA
 7
     MARY HELEN BERNSTEIN,                                               Case No.       HG 18897381
 B
                Plaintiff,                                              DECLARATION OF MARY
 9
                                                                        BERNSTEIN IN SUPPORT OF
lC
               vs.
                                                                        MOTION TO STRIKE TAX COSTS
11   ASSOCIA NORTHERN CALIFORNIA, et                                    OPPOSITION TO MOTION FOR
     al.,                                                               ATTORNEY FEES AND
12
                                                                        OBJECTION TO MEMORANDUM
13             Defendants.                                              OF COSTS ASSOCIA NORTIIERN
                                                                        CALIFORNIA, MASSINGHAM,
14
                                                                        MEADOW BROOK VILLAGE
15                                                                      ASSOCIATION - FREMONT AND
16
                                                                        IN SUPPORT OF REPLY IN
                                                                        SUPPORT OF MOTION TO STRIKE
17
                                                                        TAX COSTS 1
18
                                                                        Date: April 2, 2024
19                                                                      Time: 2:30 pm
                                                                        Dept.: 517
2C

21

22

23

24

25

26

27
     1   So do 1101/e«r,for I am witlt yo11,·
         do not be dismayed,for I am your God.
     I will strengthen yo11 and help you,·    I will uphold you with my rlgJ,teous right hand. Isaiah 41 :10
28
     DECLARATION OF MARV BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA. MASSINOflAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

                                                                     -1-
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                                                             Oceaoskle Catlromla Ma,y llnd battf b[oltter Frankie k1 the tiometess sheller
                                                             playpan. Franll!e Oteans!de callfornla 1960.\982.
 1

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14

15
     l, Mary Bernstein, declare:
16
        I.   I am the plaintiff in this matter. I am familiar with all of the pleadings and documents filed
17
             in this case as well as discovery. His blood redeems us. There was a price against us that we
18
             could not pay, but the blood of Jesus redeemed us. 1 Peter l: 18-19 says, "Forasmuch as ye
19
             know that ye were not redeemed with corruptible things .... But with the precious blood of
2C
             Christ, as of a lamb without blemish and without spot." His blood brings us into fellowship
21
           with God.
22
        2. Attached as Exhibit A is a true and con-ect copy of Judgment against retained attonrey
23
             Kevin Horan for reimbursement ofretainer Alameda County Superior Court $10,120.00
24           executed by Chad Finke September 30, 2019. This attorney is no longer allowed to practice
25           complaint filed with State Bar of California. Notice to Consumers.
26      3. Attached as Exhibit B Notice of Motion Motion for Order Striking and Reducing Costs filed
27           by Plaintiff Mary Bernstein August 18, 2023 with attachments

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA, MASSINGHAM, MEADOW
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS

                                                      . 2.
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 492 of 801




        4. Attacued as Exhibit C Court Order January 3 I 21024 Keith Fong prohibition of filings until
 1
           Case Management Confemece held. No filings allowed in matter until Case Management
 2
           Conference held in case. Threat of sanctions or striking. Order of Recusal, Case
 3
           Reassignent.
        5. Attached as Exhibit D Ruling on Submitted matter Bumi Lee 5 16 2022.
 5
        6. Attached as Exhibit E Judgment Bumi Lee proposed submitted by Defendants Plaintiff take
 6         nothing from Defendants language.
 7      7. Attached as Exhibit F Limited Scope Kevin Horan disbarred attorney filed March 28 20 I 8.
 8      8. Attached as Exhibit G Notice of Intent to Appear by Telephone March 22 2018 Mary

 9         Bernstein.
        9. Attached as Exhbiit HNotice of Intent to Appear by Telephone April 3 2018 Kevin Horan.
lC
        I 0. Attached as Exhibit I Acknolwedgement ofSatnfaction of Judgment Kevin Horan
11
           Conservatorship January 17, 2020 ..
12
        11. Attached as Exhibit J Noice of Entry of Judgment malpractice re Kevin Horan disbarred
13
           attorney.Tamiza Hockenhull 8 29 2019
14
        12. Attached as Exhbiit K Complaint Preliminary dfisbatred attonrey Kevin Horan
15
           representation filed March 19 2018
16      13. Attached as Exhibit L Redacted combined cases bills McNamara Farmers legal invoices
17         subject of Corporate Entities Defendants Associa Northemn California, Massingham &
18         Meadoow Brook. HOA is one corporate defendant Davis Sterling; Associa/Massingham ar

19         property managers not CCR Davis Sterling.
        14. On April 25 2024 Table of collection 12 separate attempts totalling exceeding amount
2C
           attempt to obtain 11 times more the amount $63,9405.84 plus atomeys fees and costs.
21
           Is this being done to any other homeowners or are they attempting to more than double bill
22
            12
23
           bill
24

25

26

27

28
     DECLARATION OF MARV BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOC!A NORTHERN CALIFORNIA MASS!NGHAM MEADOW.
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

                                                    - 3-
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         15. The firm ofHarsuyker, Stratman & Williams Abrego flied an Answer on behafofMeadow
 1
            Brook Village Association - Fremont and Notice of Association of Counsel on April 26,
 2
            2018. Richard A. Fong, Jr. had been the attorney for the defendants and substituted out May
 3
            24, 2018. Harsuyker, Stratman & Williams Abrego filed an an answer additionally on behal
            of Associa Noarther California on May 7, 2018. An Amemded Answer was filed without
 5
            leave and untimely on June 4, 2018 additionally answered on bhealf of Massighman and
 6
            Associates. Robert Maltz was representing these dedendants. Default was entered on behal
 7          ofMassigham &Assocates at Plaintiff;s request on June 15, 2018.
 8      16. McNamara, Ney, Beatty, Slattery, Burgess & Ambacher Association of Attrneys filed 12
 9          11 2018. McNamara, Ney, Beatty, Slattery, Burgess & Ambacher Luanne Rutherford

lC          requested copies of pleadings in this matter in an email on 1 2 2019 and began represstning
            various Defendants in multiple matters of mine HUD, DFEH, Department of Justice and
11
            therafter civil harassment orders 1 2 2019. Memrandum of Costs filed lists various attorney
12
            services First Legal legal research and Pacific Coast prepatrtion of filings. There are no
13
            dates for blocked batched listings of filings prepared. This appears to be duplicative entries
14
            with attorney time. Plaintiff only learnt of these additional firms when receving
15
            Memorndum of Costs.
16      17. Fraudulent, mespresentation billings for instance 1.2 telephone call to limited scope attornes
17          whidh never occurred, motion for lavee to amend opposition which was not done until 2
18          years later, entries attributed to mutipe matters not relevaant to this summary judgment.
19          Billings listed for entire case as opposed to solely summa1y judgment costs and fees.

2C      18. No depositions were used in summaiy judgment motion. There were omly 3 taken and they
            were of a homeowner and two proerty management firm employees. The subject matter of
21
            the depoaitrion was not related at all to the summary judmgent motion or enforcement of
22
            cc&rs. The Decclaration of Luanne Rutherford August 6 2021 does not utilize any of therse
23
            exhibits or refer to portions of depostion testimony.
24
        19. I only saw invoices for the first time March 20 2024 filed by McNamra in opposition to
25
            motion to tax strike cssts I filed. Therefore I coiuld file no declaration or challenge
26
            invoices as it was simply a chart with no dates and amonts, I am a non attorney and used
27         the form to file to contest the costs memorandum.
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS

                                                      - 4-
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     UNTIMELY FILED DISCUSS IN THIS, REPLY AND OPPOSITION DA TE CALCULATOR
 1
     THIS IS IMPERATIVE THAT I HAVE TIME TO DO THOROUGH ANALYSIS AND
 2
     PREPARATION FOR THE HOA SEEKING NOT ONLY UNJUST EMERGENCY
 3
     ASSESSMENT $39,000+ BUT NOW COSTS IN THE AMOUNT OF $19,262.00 AND
 4
     ATTORNEY FEES IN THE AMOUNT OF $88,134.75 PERSONAL INJURY MA TIER
 5
     THIS COURT CONSTANT PREDETERMINED OUTCOME TO DENY ALL MOTIONS
 6   RELIEF TO PLAINTIFF, DEPT 517 NOW RESTRICTING ALL MOTION FILINGS WITHOUT
 7   LEAVE TO PLAINTIFF; HOWEVER ALLOWANCE OF MOTIONS TO BE FILED BY
 8   DEFENDANTS 3 5 2024 SCATHING ORDER FOR SANCTIONS AND RESTRICTIONS THIS

 9   JUDGE HAS A HUSBAND MANY YEARS CHRIS SCOTT, I HAVE A HUSBAND OF MANY

lC
     YEARS TERMINALLY ILL THAT WE ARE FACING HOMELESSSNESS DUE TO
     PREDATORY DISPLACEMENT BY HOA PERSONAL INJURY ACTION. I WOULD THINK
11
     THAT KEITH FONG WOULD WANT TO PROTECT HIS HUSBAND IF FACING SUCH A
12
     SITUATION HOMELESSNESS IN ILL HEALTH AS WELL DURING FINAL PERIOD OF
13
     LIFE.
14
         •   BILLINGS FRAUDULENT COSTS NO DATES SIMPLY A SPREADSHEET THIRD
15
             PARTY ATTORNEY NOT EVEN A MCNAMARA EMPLOYEE LISTED
16
         •   On a court ordered stay wherein no work by any patties to be done on this matter until stay
17           lifted April 11 2019 - November 2020.
18      •    Billing entries from separate matters that are not related to HG 18897381, Defendants
19           atttempt to lump in with this judgment.

2C      •    Not certain if some of these entries even relate to this matter for example: 2 20 2019 "receipt

21           and review Plaintiff's recorded statement." No snch recorded statement exists in this matter.
     Plaintiff has had to request fee waivers to continue in case desperately trying to save home against
22
     predatory displacement this -this HOA has attempted to render us homeless, coerce out since 2018
23
     aggressive this Court has permitted disabled family that has never missed a payment this HOA
24
     atttemptign to bankrupt us from the beginning
25
     Because a homeowner questions illegal emergency assessment with no proof out of funds, unable to
26
     make reserves, deponents stating Meadow Brook never out of funds, refusal of HOA to avail bank
27
     records to demonstrate
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNJA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPL V MOTION TO STRIKE COSTS

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     Davis Sterling HOA not created for this type of abuses with no recourse, no representation abuses
 1
     violations of disabled
 2

 3   $11,828 IN FILING FEES??? FRAUD


 5

 6       Filing (Efiling fax filing costs not   Filing Fee (Filing   Pay To                   Invoice#
         authorized only filing fees)            Fees $60 with
 7                                              the exception of
                                                      MSJ)
 8
         Filing - Answer to Complaint; Notice
                                                    $616.71          PACIFIC COAST LEGAL
 9       of                                                                                   483470
         Asociation
lC                                                                   PACI Fl C COAST LEGAL
         Filing - Sub of atty                       $30.00
                                                                     SERVICES, INC            484508
11
                                                                     PACIFIC COAST LEGAL
         Filing - Motion to Quash                   $541.75
12                                                                   SERVICES, INC            486261
                                                                     PACIFIC COAST LEGAL
13       Filing - notice to set aside default       $120.58
                                                                     SERVICES, INC            488077
14                                                                   PACIFIC COAST LEGAL
         Filing - opp, dee                          $84.72
                                                                     SERVICES, INC            490401
                                                                     PACIFIC COAST LEGAL
         Filing - Supp dee to P's mnotion to        $75,00
16                                                                   SERVICES, INC            490473
         compel

17
                                                                     PACIFIC COAST LEGAL
        Filing - Disassoc of atty                   $45.00
                                                                     SERVICES, INC            504337
18                                                                   PACI Fl C COAST LEGAL
        Filing - Notice of entry of judgment        $47.70
                                                                     SERVICES, INC            514354
19
        Filing - D's opp to P's M leave to
                                                    $47.70           PACIFIC COAST LEGAL
2C      amend the                                                                             517216
        complaint
21
        Filing - Reply x2                           $37.33           FIRST LEGAL NETWORK
                                                                                             20173044/
22                                                                   LLC
                                                                                              7757157
23
        Filing - oppostion to Motion to Stay        $S8,33           FIRST LEGAL NETWORK
                                                                                             10410123
24      Case                                                         LLC

25
        Filing - Motion for Summary                $424.03           FIRST LEGAL NETWORK
                                                                                             10422345
        Judgement                                                    LLC
26
        FIiing - Opp to Protective Order            $35.00           FIRST LEGAL NETWORK
                                                                                             10426015
27                                                                   LLC

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS

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 1       Filing - Advance Fees                      $1,476.98    FIRST LEGAL NETWORK
                                                                                       10434779
                                                                 LLC
 2
         Filing - Motion to Strike                  $125.82      FIRST LEGAL NETWORK
 3                                                                                     10434781
                                                                 LLC

         Filing - Advance fees                      $666.99      FIRST LEGAL NETWORK
                                                                                       10434782
                                                                 LLC
 5
         Filing -10 Docs                            $361.38      FIRSTLEGAL NETWORK
 6                                                                                     10447372
                                                                 LLC
 7
         Filing - Motion to Strike - Fees           $467,00      FIRST LEGAL NETWORK
                                                                                       10450811
 B
         Advanced                                                LLC
         Filing - Fees Advanced -
                                                    $1,377.15    FIRST LEGAL NETWORK
 9       MSA/DEC/PO/POS/MPA                                                            10450809
                                                                 LLC
lC
         Filing - Objection to Plaintiffs request    $32.95      FIRST LEGAL NETWORK
                                                                                       hjj1045081
11                                                               LLC
                                                                                            3
12       Filing - Dec of Lunanne Rutherford         $909.95      FIRST LEGAL NETWORK
                                                                                       10454760
                                                                 LLC
13
         Filing - D's Notice of Nonopposition        $32.95      FIRST LEGAL NETWORK
14                                                                                     10454761
                                                                 LLC
15

16         Filing - D's Notice of Nonopposition      $32.95     FIRST LEGAL NETWORK
                                                                                       10454762
                                                                         LLC
17
           Filing MSJ reply brief                    $123.50    FIRST LEGAL NETWORK
                                                                                       10458470
18                                                                       LLC

19         Filing - electronic submission            $39.95     FIRST LEGAL NETWORK
                                                                                       10458469
                                                                         LLC
2C
           Filing - Fees Advanced -
                                                     $986,15    FIRST LEGAL NETWORK
21         Memorandum of                                                               10466546
                                                                         LLC
           Points and Authorities
22
           Filing - Oppostion to Disqualify Judge    $63,14     FIRST LEGAL NETWORK
                                                                                       10418066
23                                                                       LLC

24         Filing - Demurrer with MTS                 $6.75     FIRST LEGAL NETWORK
                                                                                       10477851
                                                                         LLC
25
           FIiing - oppostion                        $40.45     FIRST LEGAL NETWORK
                                                                                       10477852
26                                                                       LLC

27         Filing - D's Notice of Nonoppositlon      $40.45     FIRST LEGAL NETWORK
                                                                                       10477850
                                                                         LLC
28
     DEC LA RATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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1         Filing - Case management statement         $40.45      FIRST LEGAL NETWORK
                                                                                          10482670
                                                                          LLC
2
          Filing - MTS - Fees advanced               $540,65     FIRST LEGAL NETWORK
                                                                                          10482658
3                                                                         LLC

 4        Filing - D's Notice of Nonopposltion       $31.95      FIRST LEGAL NETWORK
                                                                                          10487787
                                                                          LLC
 5
          Filing - Notice of Change of Firm          $23.20      FIRST LEGAL NETWORK
                                                                                          10487799
 6                                                                        LLC
          Name
 7        Filing - D's Notice of Nonopposition       $40.45      FIRST LEGAL NETWORK
                                                                                          10487793
                                                                          LLC
 8
          Filing - Case management statement         $40.45      FIRST LEGAL NETWORK
 9                                                                                        10493027
                                                                          LLC
lC                                                               FIRST LEGAL NETWORK
          Filing - Demurrer with MTS - Fees          $165.65                              10506276
          Advanced                                                        LLC
11

          Filing - Reply Briefs                      $31,95      FIRST LEGAL NETWORK
                                                                                          10511416
12
                                                                          LLC
13
          Filing - MTS - Fees advanced               $542.65     FIRST LEGAL NETWORK
                                                                                          10515918
14                                                                        LLC

          Filing - D's Reply Brief in Support        $31.95      FIRST LEGAL NETWORK
15                                                                                        10515917
                                                                          LLC
16
          Filing - MTS - Fees advanced               $90.25      FIRST LEGAL NETWORK
                                                                                          20273542
17                                                                        LLC
          Filing - Stip of the parties to Extend -
18                                                   $901.95     FIRST LEGAL NETWORK
          Fees                                                                            20273541
                                                                          LLC
19        advanced

          Filing - slip - order                      $42.70      FIRST LEGAL NETWORK
2C                                                                                        20273543
                                                                          LLC
21
          Filing - Oppsition Dec                     $110.75     FIRST LEGAL NETWORK
                                                                                          20275488
22
                                                                          LLC

          Filing - Amended CMC Statement             $90.25      FIRST LEGAL NETWORK
23                                                                                        20275493
                                                                          LLC
24

25        Filing - D's Opposition to P                  $31.95      FIRST LEGAL NETWORK
                                                                                              2027548
                                                                             LLC
26
          Filing - CM Statement                         $61.90      FIRST LEGAL NETWORK
27                                                                                            2027549,
                                                                             LLC
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJ ECTION TO MEMORANDUM OF COSTS ASSOC!A NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BRO OK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRJKE COSTS

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       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 498 of 801




 1         Filing - Dec of Andrew 5. Elliott                         $31.95                      FIRST LEGAL NETWORK
                                                                                                                                  2027606
                                                                                                          LLC
 2
           Filing - Opp; Dec                                         $28.80                      FIRST LEGAL NETWORK
 3                                                                                                                                2027606
                                                                                                          LLC
 4         TOTAL:                                                               $11,828,21

 5   DECLARATION IN SUPPORT OF REPLY MOTION TO
 6   STRIKE COSTS
 7
                                                                                                                   ©   J!I   Slp,ln   -   0   l<

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 8

                                            BUPERll)lt COURT OF CALIFORNIA, COUNlY OF ALAMEDA
 9                                                            HltN11dH1~olJ\lt~


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15                                                                                 (Dtftnd1nt)1 HUdow
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                                                                                   F,omont (Def»nd•nt):
16                                                                                 MHslnghom e. JU1odatu
                                                                                   (Ooftr.donl) on
                                                                                   09/26/i023
17

18

19
     Plaintiff has not filed anything in this case due to medical leave and scathing threats from this
2C
     Depattment 517 denial reasonable accommodations. See Order above not allowed to file anythying
21   without leave of court.
22

23

24

25

26

27

28
     DECLARATION OF MARV BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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26                           MEMORANDUM OF POINTS AND AUTHORITIES
     Jesus blood redeems us. There was a price against us that we could not pay, but the blood of Jesus
27   redeemed us. I Peter I: 18-19 says, "Forasmuch as ye know that ye were not redeemed with
     conuptible things .... But with the precious blood of Christ, as of a lamb without blemish and
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     without spot." His blood brings us into fellowship with God. The blood of Jesus, his sacrifice for
1    me protects me in all situations. The blood of Jesus has kept me going in this housing crisis all that
2
     he has done for me. I am standing on his word. The Lord is what has provided sustenance and
     protection to me during this horrific time as a disabled woman in comt fighting against concentrated
                                                                                                       2
3    power in an HOA determined to steal home from homeowner that has never missed a payment.
     Plaintiff Mary Bernstein will and hereby does move, once again in this Reply pursuant to rule
4
     3.1 ?00(b) of the California Rules of Court, for an order striking Defendants ASSOCIA
5
     NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE ASSOCIATION -FREMONT,
     AND MASSINGHAM & ASSOCIATES' Corporate Entity Defendants ("CED") Memorandum of
6    Costs dated August 14, 2023, or in the alternative, for an order taxing costs.
     CED's costs memorandum is untimely because it was not filed and served within the
7
     mandatory time period established by rule 3 .l ?00(a) of the Rules of Court. CED' s have therefore
 8   waived any right to recover costs, and the Comt should strike the Memorandum in its entirety. I
     the Court declines to strike the Memorandum in its entirety, the Court should nevertheless
 9   tax several categories of costs that are specifically excluded by Code of Civil Procedure ("CCP")
     section I 033 .5(b). The Court should also tax several other categories of costs that CED seek on
lC
     the ground that such costs were not reasonably necessary to the conduct of the litigation-at
11   most they merely served CED's convenience-and therefore are not recoverable, and/or that the

12   2 What can wash away my sin?

     Nothing but the blood of Jesus;
13
     What can make me whole again?
     Nothing but the blood of Jesus.
14   Refrain:
     Oh! precious is the flow
15   That makes me white as snow;
     No other fount I know,
16   Nothing but the blood of Jesus.
     For my pardon, this I see,
17   Nothing but the blood of Jesus;
     For my cleansing this my plea,
     Nothing but the blood of Jesus.
18
     Nothing can for sin atone,
     Nothing but the blood of Jesus;
19   Naught of good that I have done,
     Nothing but the blood of Jesus.
2C   This is all my hope and peace,
     Nothing but the blood of Jesus;
21   This is all my righteousness,
     Nothing but the blood of Jesus.
22   Now by this I'll overcome-
     Nothing but the blood of Jesus;
     Now by this I'll reach my home-
23
     Nothing but the blood of Jesus.
     Glory! Glory! This I sing-
24   Nothing but the blood of Jesus,
     All my praise for this I bring-
25   Nothing but the blood of Jesus.

26    Psalm 118:6
      The Lord is on my side; I will not fear. What can man do to me?
27
      Psalm 108:13
      With God we shall do valiantly; ii is he who will tread down ourfoes.
28    DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTlON FOR ATTORNEY FEES AND
      OBJECTlON TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSlNGHAM MEADOW
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     costs are claimed in an unreasonable amount. Specifically, the following costs should be
1
     stricken:
2    a. Item lg Excessive and Misrepresented/Fraudulent Filing Fees - Efiling/fax filing fees are not
     recoverable through third party vendor- $11,828. There are no dates rather bundled, fraudulent
3    misrepresentation filing fees. California motion fees $60.00 for standard motion fees. There is
     no fee for substitution of 11011 opposition attorney filing. Glumped together "IO documents" could
4
     be any case whatsoever. The boilerplate line item entries for filing costs
5    are insufficient to establish that any and every portion of such costs was reasonably
     necessaiy to the conduct of the litigation and/or reasonable in amount under CCP section§§
 6   1033.5(c) (2), (c) (3) (c) (4) (c) (5)     Not reasonably necessary to the conduct of the litigation
     and not helpful to trier of fact (see§§ 1033.5(c) (2), (c) (3) (c) (4) (c) (5). 3
7
     3  Outrageous fraudulent costs discrepancies:
 8
     Filing- Supp dee to P's mnotion to compel $75.00 PACIFIC COAST LEGAL SERVICES, INC
     Filing - Disassoc of atty $45.00 PACIFIC COAST LEGAL SERVICES, INC
 9   Filing - Notice of entry ofjudgment$47.70 PACIFIC COAST LEGAL SERVICES, INC
     Filing - D's opp to P's M leave to amend the
lC   complaint $47.70 PACIFIC COAST LEGAL SERVICES, INC
     Filing - Reply x2 $37.33 FIRST LEGAL NETWORK LLC
11   Filing - oppostion to Motion to Stay Case $58.33 FIRST LEGAL NETWORK LLC
     Filing - Motion for Summary Judgement $424.03 FIRST LEGAL NETWORK LLC
12   Filing - Opp to Protective Order $35.00 FIRST LEGAL NETWORK LLC
     Filing - Advance Fees $1,476.98 FIRST LEGAL NETWORK LLC
     Filing - Motion to Strike $125.82 FIRST LEGAL NETWORK LLC
13
     Filing- Advance fees $666.99 FIRST LEGAL NETWORK LLC
     Filing-10 Docs $361.38 FIRST LEGAL NETWORK LLC
14   Filing - Motion to Strike - Fees Advanced $467.00 FIRST LEGAL NETWORK LLC
     Filing- Fees Advanced - MSA/DEC/PO/POS/MPA $1,377.15 FIRST LEGAL NETWORK LLC
15   Filing - Objection to Plaintiffs request $32.95 FIRST LEGAL NETWORK LLC
     Filing - Dec ofLunanne Rutherford $909.95 FIRST LEGAL NETWORK LLC
16   Filing - D's Notice ofNonopposition $32.95 FIRST LEGAL NETWORK LLC
     Filing - D's Notice ofNonopposition $32.95 FIRST LEGAL NETWORK LLC
17   Filing MS! reply brief$123.50 FIRST LEGAL NETWORK LLC
     Filing - electronic submission $39.95 FIRST LEGAL NETWORK LLC
     Filing- Fees Advanced- Memorandum of Points
18
     and Authorities $986.15 FIRST LEGAL NETWORK LLC
     Filing - Oppostion to Disqualify Judge $63.14 FIRST LEGAL NETWORK LLC
19   Filing - Demurrer with MTS $6.75 FIRST LEGAL NETWORK LLC
     Filing - oppostion $40.45 FIRST LEGAL NETWORK LLC
2C   Filing - D's Notice ofNonopposition $40.45 FIRST LEGAL NETWORK LLC
     Filing - Case management statement $40.45 FIRST LEGAL NETWORK LLC
21   Filing - MTS - Fees advanced $540.65 FIRST LEGAL NETWORK LLC
     Filing - D's Notice ofNonopposition $31.95 FIRST LEGAL NETWORK LLC
22   Filing- Notice of Change of Firm Name $23.20 FIRST LEGAL NETWORK LLC
     Filing - D's Notice ofNonopposition $40.45 FIRST LEGAL NETWORK LLC
     Filing - Case management statement $40.45 FIRST LEGAL NETWORK LLC
23    Filing- Demurrer with MTS - Fees Advanced $165.65 FIRST LEGAL NETWORK LLC
      Filing - Reply Briefs $31.95 FIRST LEGAL NETWORK LLC
24    Filing - MTS - Fees advanced $542.65 FIRST LEGAL NETWORK LLC
      Filing- D's Reply Brief in Support $31.95 FIRST LEGAL NETWORK LLC
25    Filing - MTS - Fees advanced $90.25 FIRST LEGAL NETWORK LLC
      Filing- Stip of the parties to Extend - Fees advanced $901.95 FIRST LEGAL NETWORK LLC
26    Filing- stip - order $42.70 FIRST LEGAL NETWORK LLC
      Filing- Oppsition Dec $110.75 FIRST LEGAL NETWORK LLC
27    Filing - Amended CMC Statement $90.25 FIRST LEGAL NETWORK LLC
      Filing - D's Opposition to P $31.95 FIRST LEGAL NETWORK LLC
      Filing     CM Statement $61.90 FIRST LEGAL NETWORK LLC
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEV FEES AND
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 1
          •   Cou1t attempting to rubber stamp Eumi Lee; Keith Fong despite exclusions and
              discrepancies
 2        • Court ordered Electronic service was ordered by Paul Herbert - due to not receiving
              copies of documents claimed
 3
          • No invoices were provided dates, itemized when submitted simply vague list in bundles
 4            questionable. Fraudulent Andrew Elliot third party not an attorney with McNamara.
              Elaborate Discrepancies third party e filing, fax filing costs not recoverable as there is not
 5            a provision. Motion fees are $60.00; initial pleading $435.00 and motion for summary
              judgment $500.00. There are no filing fees for substitutions of attorney; withdrawal of
 6
              attorneys, Case Management Conference Statements filed, oppositions or replies.
 7            Misrepresentations fraudulent billings, inconsistent amounts. Ghost filings not filed on
              dates. Will be reporting to State Bar of California attempts to exploit disabled
 8            grandmother on social security disability attempting to save home, senior non attorney
     b. Item! !Bates Model - $685. Not court ordered. Not reasonably necessary to the conduct of
 9
     the litigation and not helpful to trier of fact (see§§ 1033.5(a) (13), (c) (2).
lC   c. Item 4 Deposition Transcripts Non HOA Deponents - $1484. Costs related to transcripts not
     ordered by the Court are excluded by statute (see § 1033.5(b) (5). Not court ordered Transcripts. 4
11   d. Item 16 Expert Fees - $5265. The boilerplate line item entries for expert costs
12
     are insufficient to establish that any and every portion of such costs was reasonably
     necessary to the conduct of the litigation and/or reasonable in amount. Not reasonably necessary
13   to the conduct of the litigation and not helpful to trier of fact (see§§ 1033.5(c) (2), (c) (3).
     These expert fees were not court ordered. 5 Not court ordered Experts.
14   This Reply is based upon: (1) this Reply and the Motion to Strike Tax Costs (2) the accompanying
15
     Memorandum of Points and Authorities; (3) the accompanying Declarations of Mary Bernstein and
     Elizabeth Tigano; and (4) any other evidence and argument as may be presented at or before the
16   hearing on this Motion.
                                                I. INTRODUCTION
17

18
     CED's memorandum of costs -was untimely filed and should therefore be stricken or
     denied in its entirety. Rule 3.1700 of the Rules of Court provides that memoranda of costs must be
19   filed and served "within 15 days after the date of service of the notice of entry of judgment ... by the
     clerk." Unless CED were to bting and prevail upon a motion for relief from the 15-day deadline
2C
     based upon some "mistake, inadve1tence, surprise, or excusable neglect" to excuse their untimely
21   filing (Code Civ. Proc., 473, subd. (b)), the Court should decline to award them any of their

22   Filing    Dec of Andrew S. Elliott $31,95 FIRST LEGAL NETWORK LLC                     Not McNamara lawyer third party
     fraud McNamnra - attesting to bills and costs states he is the attorney, agent or party .;vho claims these costs. See
23   signature 8 14 2023 on Memorandum of Costs- no dates etc

24   Filing   Opp; Dec $28.80 FIRST LEGAL NETWORK LLC
     4 Non Court Ordered Transcripts
25   Athala Cevallos $371
     Sharon Massingham $510
26   Tammy Fritz $603
     5 Non Court Ordered Experts

27   Expert   Expert Fee
     R. Blackseth Interests       Inc. $627.00
28
     H2 Engineers        Inc. $4637.50
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     requested costs on account of their failure to comply with the mandatmy time limit prescribed by
 1
     rule 3. I 700. Even if CED were to belatedly bring such a motion for relief, and even if the Court
 2   were to grant it-and the Plaintiff is not aware of any valid basis on which the Court could do so-
     the Court should nevertheless substantially tax plaintiffs' request for $19,262 in costs, for two main
 3   reasons.
     First, CED are seeking to recover costs that are specifically prohibited under California
     law, including efiling and fraudulent filing fee charges, expert fees, bates stamping, and charges for
 5   transcripts not ordered by the Court. (See Code Civ. Proc., S 1033.5, subd. (b).)
     Second, CED demand payment for costs that were not "reasonably necessary to the con-
 6   duct of the litigation" and were instead "merely convenient or beneficial to its preparation." (Code
 7
     Civ. Proc., 1033.5, subd.@)(2).) CED produced Bates Nos. 2374, 3519 blank pages numerous
     blank pages provided in productions as well as completely irrelevant materials.
 8   Third, multiple litigation stays instituted wherein work was not to be performed.
     A reminder that Meadow Brook Village HOA is one Defendant of CED and therefore only at most
 9   entitled to 1/3 of any amount sought. Meadow Brook Village HOA seeks to recover for all of
lC
     CED, among many other things, more than $685 for bates without court order; Deposition
     Transcripts Non HOA Deponents - $1484 not court ordered excluded by statute, over $11,828 in
11   "filing" charges, including for an attorney that is third party for union bank subpoena not with
     Farmers or McNamara and of which no filing who never made a single appearance in Court or at
12
     any deposition, as well as approximately. Dec of Andrew S. Elliott $31.95 FIRST LEGAL
13
     NETWORK LLC Not McNamara lawyer third patty fraud McNamara- attesting to bills and costs
     states he is the attorney, agent or party who claims these costs. See signature 8 14 2023 on
14   Memorandum of Costs - no dates etc. Christopher Allard was not the attorney ofrecord and not
     working on matter and cannot attest what occurred or what did not occur. A paralegal cobbled
15
     together billing from unknown sources.
16   In addition, expert fees $5265 account for large amount of Meadow Brook Village's claimed costs,
     but because not court ordered not entitled. Meadow Brook Village, CED have provided no
17   documentation to suppmt those requests (or any other requests), Plaintiff cannot assess whether
     such expenses were necessaty to the conduct of the litigation, or reasonable. This reply is
18
     voluminous because Plaintiff had none of these materials at the time of filing within statutory period
19   motion to strike. Defendants CED Meadow Brook only with opposition finally provided after the
     fact itemized potentially fabricated documents substantial request.
2C   In sum, the Court should strike CED Meadow Brook Village' Memorandum in its entirety as
     untimely. In addition the failure to provide documents until filing opposition to Plaintiff motion to
21
     strike costs after questioning validity and whether or not fabricated by vendors, CED Meadow
22   Brooks. But even if plaintiffs had timely filed their Memorandum, the Court should nevertheless
     substantially tax their requested costs as follows:
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA, MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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 1

 2
       Filing Fees   lg   $11,828             $11,828     Not reasonably necessary to the
 3                                                        conduct of the litigation and not
                                                          helpful to trier of fact
 4
                                                          (see§§ 1033.5(c) (2), (c) (3) (c) (4)
 5                                                        (c) (5)

 6                                                        Court attempting to rubber stamp
                                                          Eumi Lee; Keith Fong despite
 7                                                        exclusions and discrepancies
 8
                                                          Court ordered Electronic service Paul
 9                                                        Herbert
                                                          No invoices were provided dates,
lC                                                        itemized when submitted simply
                                                          vague list in bundles questionable.
11
                                                          Fraudulent Andrew Elliot third party
12                                                        not an attorney with McNamara.
                                                          Elaborate Discrepancies third party e
13                                                        filing, fax filing costs not recoverable
                                                          as there is not a provision. Motion
14
                                                          fees are $60.00; initial pleading
15                                                        $435,00 and motion for summary
                                                          judgment $500,00. There are no
16                                                        filing fees for substitutions of
                                                          attorney; withdrawal of attorneys,
17
                                                          Case Management Conference
                                                          Statements filed, oppositions or
18
                                                          replies. Misrepresentations
19                                                        fraudulent billings, Inconsistent
                                                          amounts. Ghost filings not filed on
2C                                                        dates. Will be reporting to State Bar
                                                          of California attempts to exploit
21
                                                          disabled grandmother on social
22                                                        security disability attempting to save
                                                          home, senior non attorney,
23     Bates         11   $685                            Not court ordered.
       Model                                              Not reasonably necessary to the
24
                                                          conduct of the litigation and not
25                                                        helpful to trier of fact
                                                          (see§§ 1033.5(a) (13), (c) (2)
26    Deposition     4    $1484                           Excluded by statute
      Transcripts                                         (see §1033.5(b) (5)
27
      Non HOA                                             Not court ordered Transcripts
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHA!\1 MEADOW
     BROOK VILLAGE ASSOCIATION - FREMOtjT AND REPLY MOTION TO STRIKE COSTS

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      Deponents
1                                                            Not reasonably necessary to the
      Expert      16        $5265
                                                             conduct of the litigation and not
2
                                                             helpful to trier of fact
3                                                            (see§§ 1033.5(c) (2), (c) (3)

4                                                            Not court ordered Experts
      TOTAL TO              $19,262.00       $19,262.00
5
      TAX
 6

 7
     Non Court Ordered Experts
 8
     Expert Expert Fee
     R. Blackseth Interests Inc. $627.00
 9   H2 Engineers Inc. $4637.50

1C   Non Court Ordered Transcripts
     Athala Cevallos $371
11
     Sharon Massingham $510
12   Tammy Fritz $603

13

14

15
                                               Court Order             20
16
      Medical Leave April     574 days
17    11 2019 - November
      4 2020 (1' t leave
18    April 11 2019-
      0ctober 2019 Order
19    extend) 2°' Leave
      (October2019-
2C    November 2020
      Order lifting leave
21    November 4 2020)
      during Pandemic
22

      Emergency Leave         83 days          Court Order             512
23
      Mother Death 12 6
24
      2021 - February 26
      2022
                                               VESCO hearing            512
25
                                               Order
      Emergency Leave         62 days
26         Injury Facial
           February 26
27         2022 -A rll

28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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            2022
 1

 2

 3    COVID Long Covid     192 days            VESCO Court        512
      Leave July 2022 -                        Orders
 4    Janua 23 2023
                           Total 911 da s
 5    March 19 2018-       Five Years
      March 19 2023
 6                                             1826 days

 7    Add 911 days to
      March 19 2023
 8
      Difference
 9
                           Result: Monday,
lC                               final

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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSJNGHAM MEADOW
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS

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           II. BACKGROUND
 2
     Defendants ASSOCIA NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE
 3   ASSOCIATION - FREMONT, AND MASSINGHAM & ASSOCIATES' Corporate Entity
     Defendants ("CED") seek to recover over $19,262.00 in costs from Mruy Bernstein Plainitf, an
     unrepresented litigant on social security disability fighting for her home. Summary judgment was
     granted in favor of some of the Defendants in this action, three corporate entity defendants
 5
     Massingham, Meadow Brook and Associa ("defendants"); however case is not over and scheduled
 6   for trial Januruy 2025.CED also seeks attorneys' fees of $88,134.75. under Civil Code section 5975
     (c). Plaintiff filed an objection to proposed judgment on July 12 2023 submimed by Defendants.
 7   Initial proposed judgment in 2022 and executed did not contain fees or costs amount. Plaintiff filed
     motion for reconsideration ofthatjudment. New counsel submitted a new Judgment entered July
 8
     17, 2023. Notice of entry of Judgment served July 28, 2023. Defendants then subsequently filed on
 9   August 14, 2023 untimely memorandum of costs in the amount of$19,262.00. This was 17 days
     later. California Rules of Court Rule 3.1700 A prevailing party who claims costs must serve
lC
     and file a memorandum of costs within 15 days after the date of service of the notice of
11   entry of judgment or dismissal by the clerk under Code of Civil Procedure section 664.5 or
     the date of service of written notice of entry of judgment or dismissal. or within 180 days after
12
     entry of judgment, whichever is first. Plaintiff filed August 18 2023 motion to strike costs
13   form as there were no invoices attached or dates simply vague lists and amounts. Plaintiff had no
     information, dates or what to dispute other than vague amount placed there. Further, California
14   Rules of Court Rule 3.1700 states the memorandum of costs must be verified by a statement of
     the party, attorney, or agent that to the best of his or her knowledge the items of cost are correct
15
     and were necessarily incuned in the case. Luanne Rutherford is the attorney that worked on the
16   matters with the law firm; Christopher Allard did not work on this matter for dates in question
     and therefore cannot engage in conjecture for another attorney that incurred these costs in the
17   case. Further, costs have disingenuously be allocated to the cost memotrandum and attorneys
     motion for fees from several other cases which Plaintiff will demonstrate. There are several
18
     restraining order matters, Department of Public Safety Attorney General, California Department
19   of Fair Employment and Housing matters, California Civil Rights matters, and U.S. Department
     of Housing and Urban Development matters of which are not this HG 18897381 Alameda
2C   County Superior Court matter at hand. Motion for attorney fees iin the amount of $88,134.75
     September 26, 2023. Plaintiff filed motion to strke tax costs fo1m as there were no invoices just a
21
     list ready to be rubber stamped by Judges Eumi Lee and granted without hearing by Judge Keith
22   Fong bankrupting disabled senior citizen.

23   CED attetmpts to obtain reimbursement of costs under Cal. Code Civ. Proc. § I 032 et seq, includini
     expenses that were not actually incurred by CED, and/or are not expressly allowed by § I 032 et seq,
24
     and/or are not allowed as discretionary costs under§ 1033.5.
25   For example, CED seeks costs for improper filings, efiling costs, deposition costs not incurred by
     CED, research, bates stamping, non court ordered transcripts, non court order expert fees, associate,
26   with other cases, other attorneys, among others that were clearly incurred as a convenience or
27
     benefit to the conduct of the litigation rather than reasonably necessary costs.
     CED has failed to meet its burden in showing both in its Memorandum of Costs
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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     ("MOC") and in its Opposition that many of these costs are allowable, and if they are allowable
 1
     or discretionmy, that the mnounts it seeks are reasonable and necessary. In its Opposition
 2   CED attempts to justify its unreasonable and unnecessary costs, but instead expressly supports
     Plaintiff Mary Bernstein's contentions that it voluntarily assumed costs including but not limited to
 3   counsels' bates stamping, legal research, non court ordered expert witness fees, non court ordered
     transcript fees, and third-party costs for its own convenience and/or benefit in
     preparation. Plaintiff on social security disablilty respectfully requests that this Court grant its
 5   motion to tax m1d reduce to zero $0 CED's MOC in addition to miy such costs the Court deems
     appropriate to tax given that CED has not adequately specified, or adequately explained the
 6   discrepancies in, costs m1d descriptions associated with filing costs, Therefore, Plaintiff's motion to
 7
     tax and reduce all of the $19,262 to $0 awarded of the total amount sought should be granted. In
     addition, Declaration of Andrew Elliott an attorney not even affiliated with McNamara but an
 8   attorney at Severson representing third parties. CED have attempted to bankrupt and take Plaintiff
     mid her fmnily's home since the beginning exploiting vulnerabilities of disabled mid elderly
 9
     homeowners. Below listing California Statewide filing fees are not excessive amounts attempted to
lC
     be reimbursed fraudulent. Initial answer or complaint $435.00; motions $60.00; $500 motion for
     summary judgment; no filing fee substitution of attorneys listed anywhere on fee schedule.
11   Published here chrome-
     extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.courts.ca.gov/documents/Statewide-
12
     Civil-F ee-Schedule-eff-0 IO 12023. pdf https ://www.courts.ca.gov/7646. him
13
     III. STANDARD OF REVIEW
     California law recognizes three types oflitigation costs: (l) allowable; (2) disallowable;
14   and (3) discretionary. Code Civ. Proc.§ 1033.5, subds. (a), (b), (c)(4). For allowable and
     discretionary costs to be recoverable, they must be both "reasonably necessary to the conduct of
15
     the litigation rather thm1 merely convenient or beneficial to its preparation" mid "reasonable in
16   mnount." Code Civ. Proc. § 1033.5 (c)(2-3). If specifically allowable under section 1033.5, the
     party challenging the costs has the burden of showing that the costs sought are not reasonable or
17   necessary. However, if the costs not specifically allowable are objected to, then the burden of
     proof lies with the requesting party to demonstrate that the costs were necessmy and reasonable.
18
     Ladas v. Cal. State Automobile Assn. (1993) 19 Cal.App.4th 761,774. Whether a cost is
19   reasonable is a question of fact. Lubetzky v. Friedman (1991) 228 Cal.App.3d 35, 39. CED
     submitted its MOC m1d Plaintiff Mary Bernstein respectfully requests that the Court tax CED's
2C   costs as set fmth below.
21
     chrome-
22   extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.courts.ca.gov/documents/Statewide-
     Civil-Fee-Schedule-eff-O IO 12023 .pdf https://www.courts.ca.gov/7646.htm
23   California Court Statewide Civil Fee Schedule
     INITIAL FILING FEES IN CIVIL CASES
24
     Answer or other first paper filed by each party other than plaintiff(amount over $25,000) (including
25   unlawful detainer) GC 70612, 70602.5, 70602.6 $ 435*
     Motion for summary judgment or for summary adjudication GC 70617(d) $ 500
26

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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINOHAM MEADOW
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28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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     UNTIMELY CALCULATE DATES
13   MATTER IS NOT CONCLUDED HAS NOT HAD TRIAL
     DID NOT HA VE INVOICES ERRONEIOUS WHEN MEMO COSTS FILED
14   JUST LISTED WITH NO DATES, NO DOCUMENTATION, BUNDLED
     Plaintiffs saw invoices for the first time with opposition as these were not filed with memorandum
15
     of costs terhrefore plaintiff a non attorney is addressing these costs now in this comprehensive reply
16   NOW WITH OPPOSITION INVOICES DRUMMED UP
     COSTS NOT ALLOWED
17   IV.ARGUMENT
18        A. MeadowBrook the HOA, CED have waived their right to recover any costs
     The Court should strike Meadow Brook Village CED Memorandum of Costs in its entirety because
19
     Meadow Brook Village
2C   failed to file and serve it within the mandatory 15-day deadline established by rule 3.1700(a) of the
     Rules of Court.
21        Rule 3. I 700's I 5-day deadline is "mandato1y." (Hydratec, Inc. v. Sun Valley 260 Orchard &
          Vineyard Co, (1990) 223 Cal.App.3d 924, 929.) And the consequence of missing the deadline is
22
          waiver of the right to recover any costs.
23        Plaintiff filed an objection to proposed judgment on July 12 2023 submittted by Defendants.
          Initial proposed judgment in 2022 and executed did not contain fees or costs amount. Plaintiff
24       filed motion for reconsideration of that judment. New counsel submitted a new Judgment
          entered July 17, 2023. Notice of entry of Judgment served July 28, 2023. Defendants then
25
          subsequently filed on August 14, 2023 untimely memorandum of costs in the amount of
26       $19,262.00. This was 17 days later. California Rules of Court Rule 3.1700 A prevailing party
         who claims costs must serve and file a memorandum of costs within 15 days after the date of
27       service of the notice of entry of judgment or dismissal by the clerk under Code of Civil
         Procedure section 664.5 or the date of service of written notice of ent,y of judgment or
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSJTION TO MOTION FOR ATTORNEY FEES AND
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         dismissal, or within 180 days after entry of judgment, whichever is first. Plaintiff filed August
 1
         18 2023 motion to strike costs form as there were no invoices attached or dates simply vague
 2       lists and amounts. Plaintiff had no information, dates or what to dispute other than vague
         amount placed there. Further, California Rules of Court Rule 3.1700 states the memorandum of
 3       costs must be verified by a statement of the party, attorney, or agent that to the best of his or her
         knowledge the items of cost are correct and were necessarily incurred in the case. Luanne
         Rutherford is the attorney that worked on the matters with the law firm; Christopher Allard did
 5       not work on this matter for dates in question and therefore cannot engage in conjecture for
         another attorney that incurred these costs in the case. Further, costs have disingenuously be
 6       allocated to the cost memotrandum and attorneys motion for fees from several other cases whic
 7
         Plaintiff will demonstrate. There are several restraining order matters, Department of Public
         Safety Attorney General, California Depa1tment of Fair Employment and Housing matters,
 8       California Civil Rights matters, and U.S. Department of Housing and Urban Development
         matters of which are not this HG 18897381 Alameda County Superior Court matter at hand.
 9
         Motion for attorney fees iin the amount of$88, 134.75 September 26, 2023. Plaintiff filed
lC       motion to strke tax costs form as there were no invoices just a list ready to be rubber stamped by
         Judges Eumi Lee and granted without hearing by Judge Keith Fong bankrupting disabled senior
11       citizen.
         I]fthe one party fails, within the time prescribed to file and serve his memorandum of costs, then
12
         he is to be conclusively deemed to have waived the costs, if any, accruing in his favor."' (Davis
13       Lumber Co. v. Hubbell (1955) 137 Cal.App.2d 148, 150.) Following this rule, courts enforce
         rule 3. l 700's mandatory time limit and strike memoranda that are un-timely served. (E.g.,
14       Sanabria v. Embrey (2001) 92 Cal.App.4th 422, 425-426 [error to award costs where
         memorandum was not filed within 15 days after service ofnotice of entty of dismissal].) The
15
         Cornt should do so here. Meadow Brook CED seemingly recognized their own untimely filing,
16       so they then attempted to cure it by submitting documentation with their opposition to Plaintiffs
         motion to strike costs. As a matter of symmetry and basic fairness, the Cornt
17       should apply the rules here strictly and find that plaintiffs' untimely costs memorandum has
         waived their right to recover costs.
18

19   B. MeadowBrook the HOA, CED may not recover certain categories of costs that are expressly
2C   precluded by section 1033.5(b).
21   If the Court does not strike Meadow Brook Village, CED's Memorandum and deny costs entirely
     due to the un-timeliness, the Court should nevertheless tax the entire amount of several categories o
22
     costs that California law expressly bars plaintiffs from recovering.
23
     "It is axiomatic that the right to recover costs is purely statutory, and, in the absence of an au-
     thorizing statute, no costs can be recovered." (Garcia v. Hyster Co. (1994) 28 Cal.App.4th 724,
24   732.)
     The authorizing statutes in this case are Code of Civil Procedure section 1033.5, which applies to
25
     civil actions generally, and section 14030 of the Elections Code, which applies to C VRA cases.
26   Section 1033.5 lists certain allowable costs (in subdivision (a)) and certain excluded costs (in
     subdivision (b)); it also gives the trial court discretion (in subdivision (c)(4)) to allow or deny any
27   other costs that are not specifically enumerated in either subdivision (a) or subdivision (b). (El Do-
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     rado Meat Co. v. Yosemite Meat & Locker Serv., Inc. (2007) I 50 Cal.App.4th 612, 616; Sci.
1
     Applica-tions Int'! Corp. v. Superior Coutt (1995) 39 Cal.App.4th 1095, 1103.) Although section
2
     1033.5(b)(l) provides that "[flees of experts not ordered by the court" "are not allowable as costs,"
     section 14030 of the Elections Code expressly provides otherwise, making recoverable "litigation
3    expenses including, but not limited to, expe1t witness fees and expenses as part of the costs."
     Elections Code section 14030 does not otherwise "expressly authorize[]" the recovery of any costs
 4
     that are "not allowable'S under subdivision (b) of section 1033.5.
 5
     Here, plaintiffs seek to recover costs that fall into several prohibited categories: (i) "bates numberin
 6   efiling expenses (this court did not have efiling until October 2022"- motion fees are standard only
     $60.00 with the exception of$435.00 initial filing fee and motion for summary judgment $500); (ii)
 7
     expe1t fees not ordered by the court"; and (iii) "Transcripts not ordered by the court." (Code Civ.
 8   Proc., 1033.5, subd.
     ''[B]ecause the right to costs is governed strictly by statute, a couit has no discretion to award
 9   costs not statutorily authorized." (Ladas, supra, 19 Cal.App.4th at p. 774, citation and italics omitted
     [collecting cases].) Costs associated with obtaining transcripts that are not ordered by the couit are
1C
     not recoverable. (Code. Civ. Proc., 1033.5, subd. (b)(5).) Meadow Brook Village is entitled to
11   recover a lesser amount for "[c]ourt reporter fees as established by
     statute" (Code Civ. Proc., 1033.5, subd. which are "an entirely different expense" from
12   transcripts.
         C. The Court should tax costs that are not reasonable in amount and/or not reasonably
13
     necessa,y to the litigation.
14
     Even if a cost is potentially allowable under section 1033.5, it does not become automatically
15
     recoverable in whatever amount a prevailing party demands. To the contrary, there are two addi-
16
     tional limitations on any request for cosib, which serve to protect against a prevailing party's abusiv
17
     demands for unnecessary costs.
18   First, "[a]llowable costs shall be reasonably necessary to the conduct of the litigation rather
19   than merely convenient or beneficial to its preparation." (Code Civ. Proc., S 1033.5, subd (c)(2); see
2C   Charton v. Harkey (2016) 247 Cal.App.4th 730, 743.) Second, "[a]llowable costs shall be

21   reasonable in amount." (Code Civ. Proc., S 1033.5, subd. (c)(3); see In re Ins; Installment Fee Cases

22
     (2012) 211 Cal.App.4th 1395, 1431, fn. 24.) The Couit thus must disallow any costs (even those
     "allowable as a matter of right") that are not "reasonably necessary" and must also reduce the
23
     amount of any allowed costs to that which is "reasonable." (Perko 's Enters., Inc. v. RRNS Enters.
24
     (1992) 4 Cal.App.4th 238, 244-245.)
25

26
      C. The Court should strike all costs as this matter personal injury not enforcment of governing
27    documents
28    DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
      OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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     The Court should strike all costs as this matter personal injmy not enforcment of governing
1
     documents as exhibited in civil cover sheet for filing and are not recoverable that are not reasonable
2
     in amount and/or not reasonably necessary to the litigation. Breach of contract one aspect of
     complaint. Plaintiff had limited scope attorney that was not eligible for practicing law, plaintiff a
3    disabled litigant not an attorney at the time of the filing of the preliminary complaint. This attorney
     can no longer practice law is in a hospice and State Bar victims compensation fund. Plaintff won a
4
     small claims trial in this matter in this Court in 2019 for reimbursement of retainer. Exhibit A to
5    Declaration of Maty Bernstein,
           D. MeadowBrook the HOA, CED must substantiate more than $5,000 in expe1t fees
 6   CED Meadow Brook Village must provide documentation to support their request for more than
     $5,000 in expert fees. With only a single line entry listing an amount for each expe1t (Mem. at
 7
     Attachment 16), Plaintiff cannot say with any certainty whether Meadow Brook CED are requesting
 8   reasonable or unreasonable amounts, or whether the charges at issue were necessary to the conduct
     of the litigation. Once objected to, the patty claiming expert fees must "produce[] sufficient
 9   documentation" enabling the "determin[ation ofl the necessity" of expert fees including a
     declaration from counsel "as well as [] the paid invoices themselves." (Jones, supra, 63 Cal.App.4th
lC
      at pp. 1266-1268; see also Levy v. Toyota Motor Sales (1992) 4 Cal.App.4th 807,816 [affirming
11    trial comt's taxation of costs where claiming party "offered no substantiation of the challenged
      charges in response to [the] objections" raised in motion to tax].)
12
     V. CONCLUSION
13
     For these reasons, the Comt should grant the Plaintiffs Motion to Strike Plaintiffs' Memorandum
14
     of Costs, as set forth in the table in the above for disabled, elderly social security litigant that
15
     filed personal injury matter not enforcement of governing documents with aid of limited attorney
16
     not qualified to practice law. State Bar rendered this attorney ineligible and this Court awarded
17
     retainer based on malpractice and ineffective assistance of attorney at small claims trial award
18
     Exhibit A Declaration of Mary Bernstein in suppo1t ofreply motion to strike costs.
19

2C

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22

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26

27

28    DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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1    DECLARATION IN SUPPORT OF OPPOSITION TO
2    MOTION FOR ATTORNEY FEES
3
                                                      INTRODUCTION
     This is an action for personal injury damages (emotional distress, violation of Civil Code Section 51
5                                                                                       6
     Unruh and Civil Code Section 54 California Disabled Persons Act) arising from this 57 year old
6
     severely disabled grandmother plaintiff, Mrs. Mary Bernstein, enduring mental anguish having been
7
     denied rights discrimination harassed in the Meadow Brook Village common interest development,
 8   in violation of the laws of the State of California, Civil Code Sections 51 and 54 and the rules and
 9   regulations of the Meadow Brook Village Homeowner's Association. Plaintiff was initially
lC   harassed by longtime HOA President Susan Condio-Hernandez and then additionally by newly

11   elected HOA President Michael Durbin, a man with a criminal past including false imprisonment of
                                                                                                                           7
     a woman in which restraining order. Plaintiff is still enduring injuries to date hyperstimulation as a
12
     result of the ongoing stress in this housing community and this litigation.
13
     Summary judgment was granted in favor of some of the Defendants in this action, !l!lli corporate
14

15
     entity defendants Massingham, Meadow Brook and Associa ("defendants"); however case is not

16   over and scheduled for trial January 2025. Defendants now seek attorneys' fees of$88,134.75.
17
     under Civil Code section 5975 (c). Plaintiff filed an objection to proposed judgment on July 12
18
     2023 submimed by Defendants. Proposed judgment and executed did not contain fees or costs
19
     amount. Judgment entered July 17, 2023. Defendants then subsequently filed untimely
2C


21   memorandum of costs in the amount of$19,262.00 August 18 2023 and motion for attorney fees iin

22   the amount of$88,134.75 September 26, 2023.
23

24

25
     6 Civil Cover sheet filed March 19, 2018 classification Tort Other PI/PD/WD (23) and on line ePortal Category: Other Personal
26
        Injury/Property Damage/Wrongful Death
     7 Hyperstimulation anxiety happens when your stress response is kicked into high gear without being given a chance to come
27
        back down. Along with feeling an increased heart rate and other signs commonly associated with stress and anxiety, many
        people will also feel the effects in their muscles.
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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                                                           ARGUMENT
1

2        I. PLAINTIFF'S ACTION IS NOT AN ACTION "TO ENFORCE" AN
              "EQUITABLE SERVITUDE," AND THEREFORE NO ATTORNEY'S FEES
3             ARE AWARDABLE UNDER CC SECTION 5975 (c)

     Plaintiffs action for personal injury damages, based in part on CC&Rs as contractual
 5
     obligations," is not the equivalent of an action in equity "to enforce" the CC&Rs as "equitable
 6
                                                                                                        8
      servitudes." The fonner is an action at law, the latter an action in equity."
 7


 8   Civil Code Section 5975 (c) limits "prevailing party" attorney fees to "any action specified in

 9   subdivision (a) to enforce the goveming documents." Subdivision (a) specifies that CC&Rs are
1C
     "enforceable equitable servitudes."
11
     Plaintiffs preliminary complaint did not seek enforcement in equity. Plaintiff sought monetary,
12
     compensatory, general, restitution and punitive damages for personal injury in prayer for relief.
13

14   Plaintiff is a non attorney and cobbled together preliminary complaint to the best of her ability as

15   a disabled and traumatized person. Plaintiff retained limited scope attorneys to assist with
16
     opposition to motion for summaty judgment. During Vesco hearing Judge Eumi Lee knew
17
     plaintiff intended to file amended complaint and stated during Vesco hearing April 22 2022 that
18

19
     she intended to allow Plaintiff to file amended complaint. Eumi Lee knew the intention of

2C   Plaintiff in CMC Statement as well as during Vesco hearing that Plaintiff would be amending
21
     complaint. Defendants had filed multiple demurrers and motions to strike. "Enforcement"
22

23   8  As stated repeatedly throughout this litigation in plaintiffs memoranda, CC&Rs may be
     interpreted as contracts. See Frances T. v. Village Green Owners Assoc. (1986) 42 Cal.3d 490, $12-513, 229 CR 456,469
24       ["Here, plaintiff's contract with defendants consists of the CCERs and the bylaws contained in the grant deed for plaintiff's
         condominium."], Diamond Bar Develop. Corp. v. Superior Court (1976) 60 CA3d 330, 333-334, 131 CR 458, 460.
25   "Plaintiff's reference to CC&Rs as "equitable servitudes" in memoranda during this litigation is descriptive of one aspect of
         CC&Rs. Plaintiff also described the CC&Rs as contractual. These descriptive references do not turn this injury case at law
26       into an equity action.
     Not every case referencing CC&Rs is an action "to enforce an equitable servitude." Frances T. v. Village Green Owners Assoc.
         (1986) 42 Cal.3d 490, 513, 229 CR 456, was a personal injury case for a criminal attack in plaintiffs unit. It was not an
27
         action to "enforce" an equitable servitude.
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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     requires an injunction or mandate. No injunction or mandate was sought by plaintiff. As stated
 1

 2   by Witkin: *]. [Sec.493] Nature and Effect of Equitable Servitude."

 3   " [E]quity will sometimes enforce the obligation against the successors of the covenantor, by an

     injunction against breach. The burden of the covenant thus becomes an 'equitable easement' or
 5
     servitude in the land of the covenantor." 4 Witkin, Summary of Law (9" ed. 1990), Real
 6

 7
     Property, Sec. 493 p. 670." 9

 8   Witkin cites Nahrstedt v. Lakeside Village Condominium Association (1994) 8 C.4th 361,

 9   33 CR2d 63, Nahrstedt states in pertinent part:
lC
     "Under the law of equitable servitudes, courts may enforce a promise about the use of land
11
     even though the person who made the promise has transferred the land to another. [Citation.] The
12

13
     underlying idea is that a landowner's promise to refrain from particular conduct pertaining to

14   land creates in the beneficiary of that promise an 'equitable interest in the land of the promisor.'
15
     [Citations] a grantee or purchaser with notice that the premises are bound by a covenant '"will be
16
     restrained from violating it." The doctrine is useful chiefly to enforce uniform building
17
     restrictions under a general plan for an entire tract of land or for a subdivision." (Emphasis
18

19   added.) 8 Cal 4th at 379, 33 CR2d at 73.'°

2C   Plaintiff retained limited scope attorney Kevin Horan to assist with preliminary injunction and
21
     complaint. This attorney was not to be practicing law unbeknownst to Plaintiff. California State
22
     Bar victims compensation fund. Plaintiff, a consumer and handicapped vulnerable was
23

24

25   9    "Although an injunction is defined by statute (C.C.P. 525, supra, Sec. 280) as a writ or order prohibiting, rather than
           compelling action, it has long been settled that a court with equitable jurisdiction may grant a mm1datory injunction." 6
26         Witkin, Procedure (4" ed. 1997), Sec. 282, p. 225. "An injunction is an order or decree of a comt either preventing
           (prohibitory injunction) or compelling (mandatory injunction) an act." 6 Witkin, Procedure (4" ed, 1997), Sec, 276 p. 219.
27
     10    *See e.g., Cabrini Villas Homeowners Association v. Haghverdian (2003) 111 Cal. App.4th 683, 4 CR 3d 192 (granted
           injunction ordering removal ofair conditioner).
28
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     victimized by member of the bar Kevin Horan. A smalls claim trial held Plaintiff awarded
1

2
     retainer; State Bar disciplinary Kevin Horan no longer practice law. Kevin Horan nursing home.

3    Plaintiff sought relief from collection of emergency lump sum payment levied at her due within a
4
     matter of weeks $33,262.00 and threatened unknown future "emergency assessments, special
5
     assessments" based on fraud malfeasance, misfeasance. Plaintiff did not seek any equity orders
 6
     of enforcement referenced in governing documents and 2) monetary damages for the harassment,
 7

 8   mental anguish and restitution damages denial of rights of pool. Plaintiff is not an attorney and

 9   cannot be faulted as a disabled person with communication disabilities for language legal jargon
lC
     and lack of assistance by limited scope attorney mentally unfit. There is no mention of pool in
11
     governing documents in CC&Rs or Bylaws. Plaintiff sought reasonable accommodations which
12
     is a matter oflaw Civil Code sections 51 and 54. Examples of such enforcement orders would
13

14   include, without limitation:(]) removal of the HOA Board President from the Board, (2)

15   ordering the association to perform some specific maintenance. Plaintiff sought prevention of
16
     collection of an illegal emergency special assessment that was voted against by majority of
17
     members, reasonable accommodations and monetary damages for personal injury.
18

19
     Reported cases regarding attorney's fees under Section 5975 (c) or known as Section 1354 (f) ar

2C   all equity actions seeking injunctive relief or mandate relating to the Association's governing
21   documents. They concern such matters as the type and size of fences, the type and color of
22                                                                                                                              12
     exterior siding, and voting rights. 11 They are not personal injury cases for monetary damages.
23
     They are not reasonable accommodation denials.
24

25
      11 See Rancho Santa Fe Ass'n v. Dolan-King (2004) 8 Cal.Rptr.3d 614, 115 Cal.App. 4% 28, rehearing denied, review filed [to
26        enforce covenant as applied to fences], Parrott v. Mooring Townhomes Ass'n, Inc., (2003) 6 Cal.Rptr.3d 116, 112 Cal. App.
          4" 873, review denied [to enforce covenant as applied to exterior siding], Kaplan v. Fairway Oaks Homeowners Ass'n
      (2002) 120 Cal Rptr.2d 158, 98 Cal.App. 4" 715, as modified [''to enforce the member's proxy and cumulative voting rights unde
27
          the bylaws" (98 CA4th at 720)], review denied, Heather Farms Homeowners Assn. vy. Rohinson (1994) 26 Cal Rptr.2d 758,
          21 Cal. App.4TM 1568, rehearing denied, review denied (to enforce rules relating to modifications to units).
28    DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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 1

     12 See Frances T. v. Village Green Owners Assoc. (l 986) 42 Cal.3d 490, 513, 229 CR 456, 469 (Personal injury case with
 2
         reference to CC&Rs) and White v. Cox (1971) 17 CA3d 824, 95 CR 259 (Personal i1rjury case with reference to association's
 3
         duty to maintain common areas under the condominium plan. The plan is noted to be an equitable servitude), 17 CA3d 828-
     829, 95 CR 259, 261-262). [T]he Association is, for all practical purposes, the Project's "landlord." And traditional tort principles
         impose on landlords, no less than on homeowner associations that function as a landlord in maintaining the common areas of
         a large condominium complex, a duty to exercise due care for the residents' safety in those areas under their control. *** As
         concluded above, the Association and the Project's residents also stand in a common law relationship, similar to that of
 5       landlord and tenant, that requires the landlord to exercise reasonable care in protecting tenants from criminal activity.*** 9.
        the Association owed a duty to plaintiff to protect her from the foreseeable criminal acts of others. (Frances T. v. Village
 6      Green.) Foreseeable Acts. Even when there is a special relationship between the parties, a duty to take affirmative action to
         control the wrongful acts of a third party will be imposed where such conduct can be reasonably anticipated. The scope of the
 7       duty is determined in part by balancing the foreseeability of the hann against the burden of the duty to be imposed. In
        circumstances where the burden of preventing future harm is great, greater foreseeability is required; where the burden is
 8
         relatively low, a lesser degree of foreseeability may be required. (Wentworth v. Sierra North Village HOA; internal cites and
        quotes deleted.) Landlords also have a duty to protect tenants from both non-tenants and other tenants where the vulnerable
        tenant has obtained a restraining order or has a copy of a police report stating that they are the victim of domestic violence,
 9      sexual assault, or stalking. CAL. CIV. CODE §§ 1941.5 - 1941.6. In California a landlord is required to provide a safe living
        environment for the tenants and the law has been established under the California Civil Code. The failure of a landlord to
lC      provide such conditions can lead to violation of the law and impose civil and, at times, even criminal liability upon the
        landlord.
11   Abba Father
     God the Father, God the Son and God the Holy Spirit
12   Amos main point: God is going to punish the northern Jewish nation oflsrael for a long list of sins - especially for exploiting the
     poor and selling justice to the highest-bidding briber. Amos 2:6-7
13
     6 Thus saith the LORD; For three transgressions oflsrael, and for four, I will not tum away the punishment thereof; because they
     sold the righteous for silver, and the poor for a pair of shoes;
14   7 That pant after the dust of the earth on the head of the poor, and turn aside the way of the meek: and a man and his father will
     go in unto the same maid, to profane my holy name:
15   Revelation 9
     King James Version
16   9 And the fifth angel sounded, and I saw a star fall from heaven unto the earth: and to him was given the key of the bottomless
     pit.
17
     2 And he opened the bottomless pit; and there arose a smoke out of the pit, as the smoke ofa great furnace; and the sun and the
18   air were darkened by reason of the smoke of the pit.

     3 And there came out of the smoke locusts upon the earth: and unto them was given power, as the scorpions of the earth have
19   power.

2C   4 And it was commanded them that they should not hurt the grass of the earth, neither any green thing, neither any tree; but only
     those men which have not the seal of God in their foreheads,
21
     5 And to them it was given that they should not kill them, but that they should be tormented five months: and their torment was
22   as the torment ofa scorpion, when he striketh a man.

23
     6 And in those days shall men seek death, and shall not find it; and shall desire to die, and death shall flee from them.

     7 And the shapes of the locusts were like unto horses prepared unto battle; and on their heads were as it were crowns like gold,
24   and their faces were as the faces of men.

25   8 And they had hair as the hair of women, and their teeth were as the teeth of lions.

26   9 And they had breastplates, as it were breastplates of iron; and the sound of their wings was as the sound of chariots of many
     horses running to battle.
27
     IO And they had tails like unto scorpions, and there were stings in their tails: and their power was to hurt men five months.
28
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     No case awarding attorney fees under Section 5975 (a) or known as Section 1354 previously has
 1

 2   been an action for personal injury damages. Such a case is not an "action specified in subdivision

 3   (a)" of Section 5975, Personal injury cases are nowhere mentioned.
 4
     Defendants seek a broad expansion of Section 5975 (c) that has no precedent. Section 5975
 s
     (c), by its reference only to actions specified in subdivision (a), is not global authority to award
 6

 7
     fees in all cases that may involve interpretation of CC&Rs.

 8   This case is not concluded, additional individual defendants remain which were agents of the

 9   Defendants. The individual defendants must be treated separately in analyzing their statutory
lC
     claims to attorney's fees, although they are represented by the same law firm. Not all causes of
11
     action relate to all three defendants. They do not stand in the same shoes. The property
12

13   management firms do not have governing documents Plaintiff. Individual defendants have

14   variable causes primarily related to personal injury.
lS   11 And they had a king over them, which is the angel of the bottomless pit, whose name in the Hebrew tongue is Abaddon, but in
     the Greek tongue hath his name Apollyon.
16
     12 One woe is past; and, behold, there come two woes more hereafter.
17
     13 And the sixth angel sounded, and l heard a voice from the four horns of the golden altar which is before God,
18
     14 Saying to the sixth angel which had the trumpet, Loose the four angels which are bound in the great river Euphrates.
19   15 And the four angels were loosed, which were prepared fur an hour, and a day, and a month, and a year, for to slay the third
     part of men.
2C
     16 And the number of the army of the horsemen were two hundred thousand thousand: and I heard the number of them.
21
     17 And thus I saw the horses in the vision, and them that sat on them, having breastplates of fire, and of jacinth, and brimstone:
22   and the heads of the horses were as the heads of lions; and out of their mouths issued fire and smoke and brimstone.

     18 By these three was the third part of men killed, by the fire, and by the smoke, and by the brimstone, which issued out of their
23
     mouths.
24   19 For their power is in their mouth, and in their tails: for their tails were like unto serpents, and had heads, and with them they
     do hurt.
25
     20 And the rest of the men which were not killed by these plagues yet repented not of the works of their hands, that they should
26   not worship devils, and idols of gold, and silver, and brass, and stone, and of wood: which neither can see, nor hear, nor walk:

27   21 Neither repented they of their murders, nor of their sorceries, nor of their fornication, nor of their thefts.

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     There is a second amended complaint that is operative with multiple additional defendants.
 1

 2   During this matter mcnamara firm has represented non board members, board members and

 3   lumped all in together as well as with multiple separate cases agencies and court.                       Judge Eumi
 4
     Lee directed Plaintiff to file amended complaint with all causes of action, all defendants in
 5
     Order. Eumi Lee directed Plaintiff to retain all causes of action in preparation of amended
 6

 7
     complaint prior to the filing of amended complaint and prior to the motion for summmy

 8   judgment hearing.
 9
     If one is going to base this motion for attorney fees based on an erroneous preliminary complaint
lC
     for personal injury as stated in cover sheet below filed in 2018 with an attorney that has been
11
     disbarred limited scope reliance and a handicapped senior citizen, then that would be e1rnneous.
12

13

14                                                                                                                             -    a     '
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                                          Bern",in v, ~1• N«1h<mC•lifoml1 ti ot



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                                                                                                                          thl/$,U
25

26   This same case in which attorney Kevin Horan discovered not qualified abandoned Mary
27
     Bernstein Plaintiff in matter and was mentally not able all along. State bar compensation victims
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 522 of 801




     rights fund and plaintiff tried and won small claims matter for non assistance improper assistance
 1

 2   in matter RS 19027257 Bernstein VS Horan Small Claims (Small Claims). Judgement below. If

 3   it had not been for the Lord Jesus, Plaintiff would never have been able to proceed in this matter
 4
     even up until this date. Attorney Kevin Horan impaired during this entire time unbeknownst to
 5
     Plaintiff.
 6
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 8           ;~~1 The State Bar ofCalifornia


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11                                       Attorney Profile
                                         Kevin Warren Horen #90534
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13   RS19027257 Bernstein VS Horan

14   Small Claims (Small Claims)
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     08/29/2019   Judgment Entered favor of Plaintiff
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEV FEES AND
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2C                                                                                                                              •nsREPRESl!.NTATION
                                                                                                                            9. BREACHOFCC4iRs AND
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26   The cause of action directly against Meadow brook ninth cause of action breach of cc&R ninth,

27   I 21h prevention of enforcement of illegal emergency assessment and third breach of contract.
2B
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     The causes of action against the Homeowner's Association Qointly with Associa Northern
1

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     California, Massingham and are the seconde (fiduciary duty), fouiih (implied covenant), fifth

3    (intentional emotional distress), Sixth (Negligence emotional distress), seventh (intentional

     misrepresnation Susan Condie Hernandez, (eighth. tenth eleventh disabled None of these seek
5
     enforcement of any CC&R as an equitable servitude nor do they require interpretation or
 6
     application of any CC&R. I. FRAUD
7

 8   2. BREACH OF FIDUCIARY DUTY

 9   3. BREACH OF CONTRACT
lC
     4. BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
11
     5. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
12
     6. NEGLIGENCE NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
13

14   7. INTENTIONAL MISREPRESENTATION

15
     8. NEGLIGENT MISREPRESENTATION
16
     9. BREACH OF CC&Rs AND BYLAWS
17
     IO. Violation of UNRUH CIVIL RIGHTS ACT
18

19   11. Violation of CALIFORNIA DISABLED PERSONS ACT

2C   12. INJUNCTIVE RELIEF
21   They are standard, common law causes of action. Consequently, there is no basis to argue that
22                                                                                                                     13
     Section 5975 (c) applies to award attorney's fees to the Homeowner's Association.
23

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26
       Assuming arguendo that this court finds that MeadowBrook is entitled to attorneys fees and the Association is not, there must
      13
27
        be an apportionment of the fees claimed by the defense attorneys, since they would not be entitled to fees for work performed
        on behalfofthe Association. Cassim v. Allstate Insurance Co, (2004) 33 C4th 780, 16 CR3d 374.
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     Charlie West Susan Hernandez Amy DeJesus case
 2
     preliminary injunction lost no attorneys fees sought -
 3
     disparity treatment
     EUMI LEE KEITH FONG exhibit discrimination towards Plaintiff did
 5
     not have motion to strike FAC filed by defendants heavy lifting
 6   admittedly did not read struck attempted to push through costs and
 7
     attorney fees without allowing plaintiff to oppose and without hearing
     ada violations and ethics
 8
     Both attempted to not allow Plaintiff adequate time to oppose and
 9
     attempted to rubber stamp outrageous fraudulent memorandum of costs
lC   and attorney fees to a elderly woman on social security disability
     Likewise, as to those same causes of action, there is no basis for defendant Meadow Brook
11

12   Village to claim attorney's fees other than stretch cause of action 3. Breach of contract and 9.

13   Breach of CC&Rs and Bylaws. Plaintiff is seeking damages not for Defendant Meadow Brook
14
     Village or others to do something or not do something. This is a jury trial for a jury to decide
15
     damages and if injuries caused. Plaintiff is not an attorney and had an unqualified, mentally ill
16

17
     attorney that should not have been practicing law advising at the time of the filing of the

18   complaint. This attorney is still in hospice care. Plaintiff a disabled senior citizen a consumer

19   was victimized. State Compensation fund. Meadow Brook did not seek attorneys fees for other
2C
     lawsuits seeking injunction that was not granted. For instance, the frivolous litigation to institute
21
     a ''New Board" filed by longtime HOA Board member Charlie West Alameda County Superior
22

23
     Court RO 18889399 January 22 2018 futile attempt at TRO, preliminary injunction all merely

24   theater for homeowners not part of the certain group but pawns in the eyes of these "certain
25
     group of homeowners." This group sought receivership as would the Susan Condio lawsuit
26
     members lawsuit filed March 28 2018 Alameda County Superior Court RO l 8898829. This was
27

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     an elaborate deception and part of the emotional distress pulled on traumatized, unsuspecting
 1

 2   homeowner Plaintiff.

 3   The other remaining causes of action are not relative to CCR. Many agents listed individually
 4
     and trial scheduled for this matter January 2025. This matter is not concluded. These all seek
 5
     personal injury damages. Although causes of action they may be based, in part, on the governing
 6

 7
     documents, none are equity actions "to enforce" the governing documents as "equitable

 8   servitudes." No mandate or injunctive relief is sought. . Nothing is to be compelled; nothing is to

 9   be prohibited. Plaintiff seeks monetary damages for personal injury.
lC
     Seeking a judicial interpretation of the CC&Rs in the course of litigation is not, in and of
11
     itself, "enforcement" of anything. One must go a step further, seeking to mandate or prohibit
12

13
     some action, in order for the suit to be "enforcement."

14   Since none of the causes are equity actions "to enforce the governing documents," attorney's
15
     fees are not awardable to Meadow Brook. The fact that plaintiffs legal arguments include an
16
     argument based on "interpreting" provisions of the governing documents does not tum the injury
17
     claim into an action "to enforce an equitable servitude." Injunctive relief and mandate are the
18

19   classic actions "to enforce' and there are no such requests here.

2C   Awarding attorney's fees in actions for personal injury damages is out of the mainstream of
21
     American law. The "American Rule" -       hornbook law -    is that each party bears their own legal
22
     fees. This court should not find a contrary intention for Civil Code Sections 5975 (a) and (c)
23
     without a clear, unambiguous declaration that the usual mle is being abrogated. Nothing in the
24

25   statuto1y scheme of common interest developments shows any legislative intent to put personal

26   injmy cases under the rubric of Section 5975 (a) and (c).
27
     If personal injury cases are included under Section 5975 (c), the right to attorney's fees would
28
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     be reciprocal - any personal injury case decided in plaintiffs favor, and based in patt on a duty
1

2
     found in CC&Rs or rules and regulations, would require that defendants pay plaintiffs fees."

3    14 One may be confident that the legislature had no such intent. If this court rules in favor of

4
     either defendant, the defendants' insurance carrier may ultimately regret its position down the
5
     road as new cases come down the pike with requests for attorney's fees.
6
     The legislative intent was surely to include only those cases involving traditional "enforcement"
7


 8   of the governing documents, i.¢., by injunctions and writs of mandate, as reflected in the cases

 9   cited in footnote 6. The code was meant to cover those cases where the Association would be
lC
     out-of-pocket for attorneys fees in defending frivolous claims from homeowners disgruntled with
11
     the Association for cetiain rules and regulations relating to such matters as paint colors, garbage
12

13
     disposal, deck constructions, paint colors, and so forth.

14   Section 5975 (c) was not intended to reimburse the Association's insurance cartier for

15
     defending a personal injury action. 15
16
     Plaintiff worked for private law firms and is familiar with billing padding, boilerplate
17
     documents, administrative tasks, billing procedures.
18

19
                        Not doing what is within their jurisdiction either
                        Outside jurisdiction remember Jeffrey brand stated we talk and advise each
2C                      other 11 2019 Paul Herbert conferring with other judges not assigned; jenna
                        Whitman not assigned dictating what to file; helping defedants
21
                        Keith fong not allowing motion filing without leave
22                      Elizabeth Riles unreasonable retaliatory for complaint denial witnesses
23
                        evidence
                        Susan Lew holding court as formal matter (cited for not having formal
24                      declaration for witness testifying, rebuked for reasonable accommodations,

25
     14 C11ses of personal injuiy against a homeowner's association are often based on failure to maintain the premises in safe
26      condition. This duty for the common areas is usually expressed in the governing documents. If such cases fall under the
        attorneys fees provision of Section 5975 (c), it is surprising that no such case awarding fees under Section 5975 (c) appears in
27      the reported decisions,
     15 Defendants did not seek attorneys' fees in the prayer for relief in their answers, motion for summary judgment, nor did their

        memorandum of costs contain such a request.
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                   criticizing for legal citations non attorney - small claims and civil harassmen
 1
                   are informal matters for the laiety) denial witnesses evidence
 2                 Elizabeth Tigano and Mary Bernstein reputations affected hy frivolous civil
                   harassment orders imposed by John Gibson and constant threats of new
 3
                   filings of retraining orders, restricting disabled persons movements
                   https://www.instice.gov/opa/pr/iustice-department-finds-alameda-county-
                   california-violates-americans-disabilities-act-and-us
 5

 6

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 9


1c   Justice Department Finds that Alameda County, California, Violates the Americans
11   with Disabilities Act and the U.S. Constitution
12                https://www.theroot.com/did-the-exclusiou-of-black-and-iewish-jurors-
                  impact-doz-1851443340
13

14

15   Did The Exclusion of Black and Jewish Jurors Impact Dozens of Death Penalty Cases?
                    https://www.Iatimes.com/california/story/2024-04-23/federal-judge-orders-
16
                   alameda-county-to-review-death-penalty-cases
17
     Federal judge orders Alameda County to review death penalty cases
18

19
                   worry that the fix is in, so to speal<.
2C


21                 Impartiality is crucial for judges, and all judges, including those at the trial
                   court level, must adhere to a higher standard. They should disclose any
22
                   potential or real conflicts of interest and maintain their impartiality.
23                 They should exhibit judicial temperament
                   https://www.ebar.com/story.php?ch=News&sc=News&id=330805
24
                   Editorial: Judicial candidate Fickes has a serious lapse in judgment
25
                  https://www.psychologytoday.com/us/blog/empathy-and-
26
                 relationships/201704/injustice-the-hands-judges-and-jnstices
27               Injustice at the Hands of Judges and Justices
     Judge Jed Rakoff discusses the injustice caused by judicial bias.
28
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     "Why mediation isn't more widely used is beyond my comprehension, as is the fact that
 1
        people would want to use retired judges with no little or no mediation training to
 2      "mediate", so they can get people to reach similar iniustices through agreements
        reached in what is really "soft-arbitration." This is particularly true with regard
 3
        to family law, where the research is very clear." Paul Herbert (misrepresentation
 4      length of settlement judge experience) and Jeffrey Brand ADR and JAMS
 5
                   httns://law.stackexchanue,com/nnestions/18900/inrors-not-allowed-to-talk-to
 6                                         each-other-dnring-the-trial

 7
                    https://btlaw.com/insights/publications/2018/dont-feel-pressured-to-settle-a-
 8                                       case-that-you-dont-want-to-settle

 9

lC   United States Federal Judicial Misconduct

11   The Judicial Conduct and Disability Act of 1980(link is external} ("Act"), 28 U.S.C. §§ 351-
12   364, and the Rules for Judicial-Conduct and Judicial-Disability Proceedings ("Rules")
     (pdt), as amended on March 12, 2019, govern this complaint process. You will likely want
13   to consult the Act and the Rules before filing a complaint. Please visit the website of the
14
     appropriate court office, as described in the Rules and in question 3, to determine whether
     local rules apply and to obtain a complaint form.
15   https://www.uscourts.gov/judges-judgeships/judicial-conduct-disability/fags-filing-judicial-
     conduct-or-disability-complaint
16

17   Who can I complain about?
           You may file a complaint about a federal judge who you have reason to believe has
18
           committed misconduct or has a disability that interferes with the performance of
19         their judicial duties. A federal judge includes a judge of a United States district
           court, a judge of a United States court of appeals (including the Court of Appeals
2C
           for the Federal Circuit), a judge of a United States bankruptcy court, a United
21         States magistrate judge, a judge of the Court of Federal Claims, and a judge of the
           Court oflnternational Trade.
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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13           The judicial couucil may take other action, such as requesting the special committee
             conduct an additional investigation.
14

15    Federal judges appointed under Article III of the U.S. Constitution (e.g., circuit and distric
      judges) hold office for life pending good behavior. Only Congress can remove an Article III
16
      judge from office. If the ,judicial council finds an Article III judge's conduct may warrant
17    impeachment, it must refer that finding to the Judicial Conference. On referral, the
      Judicial Conference will determine whether to certify the matter to Congress, which will
18    then decide whether to initiate impeachment proceedings.
19
      Judicial Conference Committee on Judicial Conduct and Disability
2C    Attn: Office of the General Counsel
21
      Administrative Office of the United States Courts
      One Columbus Circle, NE
22    Washington, D.C. 20544
23
      https://www.legalmatch.com/Iaw-library/article/judicial-misconduct,html
24    Legal Match describes judicial misconduct
25    What is Judicial Misconduct?
26
      The definition of judicial misconduct is a serious deviation from the accepted practices of a
27    judge in the judicial profession. Misconduct is defined as conduct which is prejudicial to the
      effective and expeditious administration of the business ofthe courts.
28
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     The rules regarding official judicial misconduct also include rules concerning a judge's
 1
     disability, which may be a temporary or permanent co11ditio11 which renders the judge unable
 2   to discharge the duties of their judicial office. 28 USC§§ 351 -364 provides that any
     individual may complain about a federal judge whom they believe has committed judicial
 3   misconduct.

     What are Some Types of Judicial Misconduct?
 5   A judicial misconduct case begins when an individual files a complaint regarding the conduct of
     a judge. Examples of conduct which may constitute judicial misconduct may include when the
 6   judge:
 7
        •   Uses their office to obtain special treatment for relatives or friends;
 8      •   Accepts bribes, gifts, or other personal favors which are related to their office;
        •   Engages in improper ex parte communication with a party or counsel for one side of a
 9
            case;
1C      •   Engages in partisan political activity or makes an inappropriately partisan statement;
        •   Solicits funds for organizations;
11
        •   Violates rules or standards which pettain to restrictions on outside income or knowingly
12
            violates a requirement for financial disclosure;
        •   Engages in offensive, abusive, or unwanted sexual conduct, which includes sexual
13          harassment or sexual assault;
        •   Treats attorneys, litigants, judicial employees, or other individuals in a
14
            demonstrably hostile and egregious manner;
15      •   Creates a hostile work environment for judicial employees;
        •   lntentionaliy discriminates based on one of more of the following:
16
        •   Race;
17      •   Color;
        •   Sex;
18
        •   Gender;
19      •   Gender entity;
        •   Pregnancy;
2C      •   Sexual orientation;
21
        •   Religion;
        •   National origin;
22      •   Age; or
        •   Disability;
23
        •   Retaliates against individuals who participate in the judicial conduct and disability
24          complaint process or report or disclose judicial misconduct or disability, which may
            include:
25           ►      Complainants;
             ►      Witnesses;
26
             ►      Judicial employees; or
27           ►      Other individuals;

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        •    Refuses to cooperate in an investigation of a judicial conduct or disability complaint
 1
             or the enforcement of a decision under the Rules without good cause; or
 2       • Fails to call to the attention of the relevant district chief judge or circuit chief judge
             any reliable information which is reasonably likely to constitute judicial misconduct
 3
             or disability,
 4
     This list does not constitute all of the possible grounds for a complaint. An individual is not
     permitted to use the complaint process to obtain an automatic disqualification of a judge which is
 5   presiding over a case.
 6
     Additionally, the process cannot be used to challenge the correctness of the judge's decision in a
 7
     case. A judicial decision which is unfavorable to an individual does not, by itself, establish
     misconduct or a disability.
 8
     How Can Judges Break the Law Inside the Courtroom?
 9
     There are certain ways in which a judge may abuse the law they are supposed to uphold. This
lC   may include if a judge ignores the law in court. It may also include if a judge:

11      •    Lies under oath - It is important to note that a judge is always under oath in the
             courtroom;
12
         • Cites invalid laws or precedents - This may be hard to catch if an individual is not
13           prepared to discuss these topics;
         • Ignores certain laws or precedents -This is uncommon because a judge typically cannot
14           ignore a law without explaining their reasoning. In this case, the judge would have to
15           break two rules.
         • Can I Ask a Judge to Recuse Himself if! Believe He Is Biased?
16   An individual may request a judge to recuse themselves ifthere is a conflict of interest. A
     recusal, also called a judicial disqualification, is a request for a judge presiding over a case to
17
     remove themselves from that case so a new judge can be chosen.
18
     A recusal is requested by a motion, which the presiding judge may sustain or dismiss. Because o
19   this, the motion should include substantial evidence showing the judicial conflict of interest. If
     the judge improperly dismisses the motion, the issue may be appealed after the conclusion of the
2C
     trial.
21
     Title 28 of the Judicial Code, or the United States Code, provides the standards for judicial
22   recusal or disqualification. A judge is required to recuse themselves in any proceeding in which
     it would be reasonable to question their impartiality.
23

24   Both state and federal laws provide that iudges are required to recuse themselves ifgrounds
     exist to do so. A iudge may be subiect to punishment for not recusing themselves, depending on
25   fhe circumstances.
26
     Examples of situations in which a conflict of interest may exist where a judge should likely
27   recuse themselves include:
28
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     A personal connection to a party in a case;
1
     Personal knowledge of the facts of a case;
2    A familial relationship to one of the attorneys; and
     A financial interest in the outcome of the case.
3    Any party to the case, including the plaintiff or the defendant, may make the motion to request
     the judge recuse themselves from the case. There is not likely to be a penalty if the judge
     accidentally does not recuse themself, such as in cases where the judge is not aware that proper
 5   grounds for recusal exist. However, if proper grounds for recusal did exist, and the judge was
     aware, there may be penalties levied against the judge for not doing so.
 6
     What are Some Examples of Judicial Misconduct?
 7
     A specific example of a judge breaking the law involved a Catoosa County Magistrate Judge in
 8   Georgia. This judge engaged in several behaviors which were considered misconduct, including:

 9   Smoking marijuana at least once a week;
     Using the office to advance the personal interests of a family member, specifically a sister-in-
lC
     law;
11   Inappropriately pointing a firearm at other individuals in the courthouse; and
     Providing the identity of a confidential informant on a television show.
12   There are a limited number of examples such as these because, thankfully, they are rare.
     However, there are likely many instances of misconduct that go unreported because individuals
13
     are unaware that the behavior constitutes judicial misconduct or they fear the complaint process.
14
     How Can 1 Prove Judicial Misconduct?
15   Judicial misconduct may be difficult to prove if an individual does not know all of the rules.
     Having a basic familiarity with these rules may help prove judicial misconduct because the
16
     individual will be aware of what conduct to look for.
17
     It is also impo1tant to review the examples listed above. This will help an individual be aware of
18   conduct which is considered judicial misconduct. Other helpful actions may include:
19
     Taking note of everything possible in writing;
2C   Requesting a court reporter;
     Bringing other court watchers to any hearings; and
21
     Having as many issues on paper as possible.
22   When Can I Complain About Judicial Misconduct?
     Any individual is permitted to complain about a federal judge pursuant to 28 USC§§ 351 - 364
23   if that judge:
24
     Engaged in conduct that is damaging to the effective administration of a court; or
25   Becomes unable to discharge their duties because of a mental or physical disability.
     As noted above, an individual does not have the right to complain about judicial misconduct if a
26   wrong or poor decision is made by a federal judge. The remedy in this situation is the right to
27
     appeal.

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     How Does a Judicial Misconduct Complaint Work?
 1
     The judicial misconduct complaint process follows a step-by-step procedure. The steps include:
 2
     The individual bringing the complaint must obtain a pre-established form used for complaints
 3   regarding judicial misconduct from the clerk of the court;
 4
     The complaint is then filed with the clerk of the court and provided to the Chief Judge in that
     district;
 5   The Chief Judge reviews the complaint to determine ifit requires further investigation or should
     be dismissed;
 6   If the Chief Judge determines that an investigation is necessary, they will appoint a special
 7
     committee to investigate it;
     The special committee will then investigate the claim and take the findings of their investigation
 8   and submit a report to the pre-established Judicial Council in the district; and
     Lastly, the Judicial Council will make a decision regarding the steps that should be taken to
 9
     remedy the judicial misconduct.
lC   Do I Need an Attorney to File a Judicial Misconduct Complaint?
     Yes, it is very important to have the assistance of a government lawyer if you believe judicial
11   misconduct has occurred. Your attorney can guide you through each step of the complaint
     process, explain the relevant issues, and help you defend your complaint.
12

13

14
     Judicial Commission of California
15

16   https://cip.ca.gov/ The California Commission on Judicial Performance states:

17   The Commission on Judicial Performance, established in 1960, is the independent state agency
      responsible for investigating complaints of judicial misconduct and judicial incapacity and for
18
     disciplining judges, pursuant to article VI, section 18 of the California Constitntion.
19   The commission's mandate is to protect the public, enforce rigorous standards of judicial
     conduct and maintain public confidence in the integrity and independence of the judicial system.
2C   While the majority of California's judges are committed to maintaining the high standards
     expected of the judiciary, an effective method of disciplining judges who engage in misconduct
21
     is essential to the functioning of our judicial system. Commission proceedings provide a fair and
22   appropriate mechanism to preserve the integrity of the judicial process.
     The commission's jurisdiction includes all judges of California's superior courts and the justices
23   of the Court of Appeal and Supreme Court. The commission also has jurisdiction over former
24
     judges for conduct prior to retirement or resignation. Additionally, the commission shares
     authority with the superior courts for the oversight of court commissioners and referees. The
25   Director-Chief Counsel of the commission is designated as the Supreme Court's investigator for
     complaints involving the judges of the State Bar Court. The commission does not have authority
26   over federal judges, judges pro tern or private judges. In addition to its disciplinary function, the
27
     commission is responsible for handling judges' applications for disability retirement.

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     The commission's authority is limited to investigating allegations of judicial misconduct and, if
 1
     warranted, imposing discipline. Judicial misconduct usually involves conduct in conflict with the
 2   standards set forth in the Code of Judicial Ethics. The commission cannot change a decision
     made by any judicial officer; this is a function of the state's appellate courts. After investigation,
 3   and in some cases a public hearing, the commission may impose sanctions ranging from
 4
     confidential discipline to removal from office.
     Anyone may submit a complaint to the commission. See Filing a Complaint and Overview
 5   of Commission Proceedings.
     LAST UPDATED: 07/16/24.
 6

 7
     OVERVIEW OF THE COMPLAINT PROCESS THE AUTHORITY OF THE COMMISSION
 8   ON JUDICIAL PERFORMANCE The Commission on Judicial Performance is the independent
     state agency responsible for investigating complaints of judicial misconduct and judicial
 9
     incapacity and for disciplining judges (pursuant to article VI, section I 8 of the California
lC   Constitution). Its jurisdiction includes all active California judges. The commission also has
     authority to impose certain discipline on former judges, and the commission has shared authority
11   with local courts over court commissioners and referees. In addition, the Director-Chief Counsel
     of the commission is designated as the Supreme Court's investigator for complaints involving
12
     State Bar Coutt judges. The commission does not have authority over temporary judges (also
13   called judges pro tern) or private judges. In addition to its disciplinary functions, the commission
     is responsible for handling judges' applications for disability retirement. This section describes
14   the commission's handling and disposition of complaints involving judges. The rules and
     procedures for complaints involving commissioners and referees, and statistics concerning those
15
     matters for 2023, are discussed in Section V, Subordinate Judicial Officers. HOW MATTERS
16   ARE BROUGHT BEFORE THE COMMISSION Anyone may make a complaint to the
     commission. Complaints must be in writing (see complaint form in Appendix 3). The
17   commission also considers complaints made anonymously and matters it learns of in other ways,
     such as from news articles or from information received in the course of a commission
18
     investigation. JUDICIAL MISCONDUCT The commission's authority is limited to investigating
19   alleged judicial misconduct and, if warranted, imposing discipline. Judicial misconduct usually
     involves conduct in conflict with the standards set forth in the Code of Judicial Ethics (see
2C   Appendix 2). Examples of judicial misconduct include intemperate courtroom conduct (such as
     yelling, rudeness, or profanity), improper communication with only one of the parties in a case,
21
     failure to disqualify in cases in which the judge has or appears to have a financial or personal
22   interest in the outcome, delay in performing judicial duties, and public comment about a pending
     case. Judicial misconduct also may involve improper off-the-bench conduct such as substance
23   abuse, using comt resources for personal business, or misuse of the judicial title.
24
     Judges do engage in discrimination and other misconduct or there would not be cases such as
25   these:

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                          REPORT I.
 7                      • OJ/30/ll I Pru• Relu1e 1- Commr,slon announi:e< electi'on of MW chairperson,,
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                         SHORE, Howard H. San Ol,go County Superior Co~rt
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16                      , 1Z/30J2l I Pr.H~.Rtluu !- Comml!-$11)(1 adopts amended ru!~. Setl l'ulttk R,p_ort l ! Lrg,!Authodty
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                         S!IDRE, Howard ll. San olt10 county Sup•rlor Court
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                         , l2/1l/2J ( Pr••• Reluu ). Comm)u!on L,sue, oecl1lon and Ordef lmp<>sing Sever~ Public Censure Pumrant
                           to Stipulation on Judge Howard ll. Shof'1, SI'<' ( O.EC!S!.D.N ).
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                         SPEAR, Emily T, Lo• An&•le• County suptrlor eou,1

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                           Emily T.Sp,ar. Seel DECISION I.

                         VlAVlANOS, Rld11rllA. San J<>11~11ln Coun\y superior court
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25   The public is also allowed to file civil lawsuits against judges.

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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA, MASSINGHAM MEADOW
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 1   https ://www.ttb.org/programs/the-5-year-study
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 9   RG19034687 BERNSTEIN MARY 9/11/2019
lC   Bernstein VS Durbin
11
     CH-100 Request for Orders to Stop Harassment (Civil
     Harassment)
12
     RG19035648 BERNSTEIN MARY 9/19/2019
13   Bernstein VS Gibson
14   CH-100 Request for Orders to Stop Harassment (Civil
15
     Harassment)
     RG19036528 BERNSTEIN MARY 9/25/2019
16
     Bernstein VS Hernandez
17   CH-100 Request for Orders to Stop Harassment (Civil
18   Harassment)
19
     RG19037125 BERNSTEIN MARY 9/30/2019
     Bernstein VS Simonson
2C
     CH-100 Request for Orders to Stop Harassment (Civil
21
     Harassment)
22
     Civil Harassment Petition filed
23

24   Case Number: RG20057366

25   Title: Bernstein VS Rivera
26
     Case Type: Civil
27
     Complaint Type: CH-100 Request for Orders to
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     Stop Harassment (Civil Harassment)
 1

 2   Case Number: HG20057369

 3   Title: Bernstein VS Rivera
 4
     Case Type: Civil
 5
     Complaint Type: CH-100 Request for Orders to
 6

 7
     Stop Harassment (Civil Harassment)

 8   ATTORNEY TIME RECORDS CHALLENGED

 9   Case Number: HG20067974
lC
     Title: Bernstein VS Gibson
11
     Case Type: Civil
12

13
     Case Number: HG20068279

14   Title: Bernstein VS Durbin
15
     Case Type: Civil
16
     Jacky restraining order
17
     John Gibson restraining order
18

19   Gibson Third 08 HG

2C   Mona Oliver 13 HG
21
     03/08/2022
22
     HG21110708
23
     Bernstein VS Oliver
24

25   Civil Harassment

26   05/19/2022
27
     Yes
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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 3   Bernstein VS Gibson
 4
     Civil Harassment
 5
     05/19/2022
 6

 7
     No

 8   04/05/2022

 9   HG20068279
lC
     Bernstein VS Durbin
11
     Civil Harassment
12

13
     06/02/2022

14   21CV000668 GIBSON vs BERNSTEIN
15
     Civil Unlimited (Civil Harassment)
16
     Filed: 10/21/2021 Disposed: 05/19/2022 Court Finding - (Granted)
17

18

19   23CV03 l 593 GIBSON vs TIGANO
2C
     Civil Unlimited (Civil Harassment) Hayward Hall of Justice/ DEPT 519 - HON. Mark Fickes
21
     Filed: 04/24/2023
22

23
     HG20068279 Bernstein VS Durbin

24   DFEH DFEH CASE NUMBER: 201810-03850210
25
     HUD MATTERS case numbers HUD CASE NUMBER: 09-19-4260-8
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA, MASSINGHAM ME,)l)Q'l,c
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     DOJ matter case number CALIFORNIA DEPARTMENT OF JUSTICE

 2
     CASE NO. PIU 806129
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     DECLARA110N OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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13
     Luanne Rutherford c1aimed reviewed p1ainitff motion for
14
     1eave to fi1e first amended comp1aint on September 3
15   2019, and c1aimed to prepare opposition to motion for
16
     leave to fi1e first amended compaint on September 16
     2019 for 4.10 hours. This is fraudu1ent for P1aintiff
17   on medica1 1eave unti1 November 2020 and comp1ete stay
18
     in effect. The motion for 1eave to fi1e amended
     compaint which was not prepared and filed unti1 January
19
     28 2021. Again, P1aintiff was on medica1 1eave until
2C   November 4 2020. The on1y documents to be prepared
     during stay were the renewed motion to extend stay by
21
     plainitff fi1ed September 11 2019 and case management
22   statement fi1ed by p1aintiff September 11 2019. The
23
     purpose was for October 11 2019 CMC schedu1ed by Pau1
     Herbert in Apri1 2019 to revisit and determine if stay
24   lifted or if renewed. Luanne Rutherford claimed to
25
     prepare and file opposition to motion for leave to file
     first amended Complete stay Apri 2019 - October 2019
26   First stay 6 months - no legal work to be peformed and
27   no filngs by plaintiff or defense see court docket
     below - padding bills lying on bills fraud
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     misrepreentation. This is one of many fraudlent,
 1
     erroneous cases applied to, phantom billings that
 2   disabled Plaintiff has burden identifying.  Scratched
 3
     out billing entries that defendants McNamara must avail
     to Plaintiff.  Judges Eumi Lee and Keith Fong attempted
 4   to grant fraudulent billings withou Plainitff
 5   opportunity to oppose and without hearing in attempt to
     bankrupt disabled plainitff and predatory displacement
 6
     entire family.
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     Motion to amend complaint filed January 28 2021 by Plaintiff Rutherford prepred
13
     and filed opposition to motion for leave to amend complaint years later February 9
14   2021. This type of fraudulent, duplicative billing Plainitff is reporting to the state
15   bar of California McNamara firm state bar compaint Luanne Rutherford and
     Christopher Allard.after stay lifted. Ethics violations. Judges Eumi Lee and Keith
16
     Fong attempting to suppress and issue judgment of such fraudulent billings on
17   disabled senior citizen in effort to bankrupt plaintiff. Plaintiff filed the
     HG18897381 case personal injury mental anguish suffering in housing crisis.
18
     Plaintiff is on social security and retaliatory judges denial reasonable
19   accommodations and attempt to make plainitff and her family disabled homeless.
2C   Predatory displacement.
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28    DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     McNamara law firm directing HOA members to harass evade service contributing to abuses of
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     Mary Bernstein and Elizabeth Tigano Luanne Rutherford - directing John Gibson to file

16   restraining order HUD complaint filed for harassment August 2021 husband stroke emergency
17
     room Plaintiff destabilized August 23 2021 John Gibson driving over guns in vehicle right when
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     plaintiff.pulled into carport parking right in front of unit #113 terrorizing - John Gibson had
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     criminal felony charges for pulling gun on delivery driver in February 2021 on probation.
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21   Plaintiff was aware of gun ownership and violence. John Gibson taunting taking pictures of

22   Plaintiff terrorizing in front ofunit. Plaintiff thought she was going to be shot and killed on the
23
     spot. 21CR003653 People of the State of California v. John Gibson case number Alameda
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     County Superior Court. Judges Bumi Lee and Keith Fong aware of John Gibson case in
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     Alameda County Superior Court criminal matter.
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM, MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     HUD matter counseling non client John Gibson below. Luanne Rutherford counseling members
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 2   of HOA for years abuses Mary Bernstein demonstrated in billings discussion strategies inciting

 3   harassment against disabled senior citizen and famiily.
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA. MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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28    DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     John Gibson served November 5 2021 Luanne communication service of process complaint-
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 2   john Gibson had been evading service of complaint for weeks - was called to Alameda County

 3   Sheriff to come and pick up
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     BROOK VILLAGE ASSOCIATION ~ FREMONT AND REPLY MOTION TO STRIKE COSTS

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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASS!NGHAM MEADOW
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS

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     Only one entry on billings redacted 2 25 2022 fabricated erroneous billings for entire case -
25
     misrepresentations fabrications by both Luanne Rutherford and Christopher Allard for billing in
26   case abuse of discretion judges eumi lee and keith fong denial extensions attempt by Fong to
     thrwart filing of opposition to motion for attorney fees, reply costs memorandum and to make
27   decision ruling under submission without hearing corruption abuses of discretion abuse of
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     disabled plaintiff and witness elizabeth tigano court allowing abuses by defendants and defense
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     counsel disparity treatment
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15   Once Lnanne Rutherford no longer with fim1 none of the "redacted" entries any longer
     demonstration John Gibson advisory harassment and others in case which will be proven at trial
16
     and in federal case which judges have allowed
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2C                                              This is not ONLY                                  HUD/Depar                4.2            Beginreview andanalysisof
                                                billing for                                       tment Fair                              claimfile documentsfrom
21                                              HG 18897381 this                                  Housing/D                               Farmers,
                                                case and not eligible                             OJ                                      includingDFEH,DOJ
22                                              -would need to be                                                                         andA!amedaSuperiorCounCompl
                                                a ortioned                                                                                aints
23            2.         12/4/201               This is not this                                  DOJ                      .20            Telephonecall to HOA's
                         8                      HG18897381 case                                                                           personalcounselat Berding Weil
24                                                                                                                                        re ardin DOJ Com laint
              3.         12/4/201               This is not this                                  DOJ                      1.0            Telephone conference with HOA
25                       8                      HG18897381 case                                                                           Board President Mike Durbin
                                                                                                                                          regardingDOJ
26                                                                                                                                        Complaintandresponseto known
                                                                                                                                          claims
27                       12/4/201               This is not this                                                           .5             Telephoneconferencewith
              4.
                         8                      HG l 8897381 case                                                                         BobMaltzre ardin various
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSJNGHAM MEADOW
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                               specified                                complaintsfiled by plaintiff
 1                                                                      andresoonsesto the same
            5.     12/5/201    Administrative - This   Admin     .5
 2
                               is not billing for
                   8           HG 18897381 this
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                               case and not eligible
                               - would need to be
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                               annot1ioned
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            10.    1/2/2019    This is not this        HUD       .2
lC                             HG 18897381 case        DFEH
            11.    1/2/2019    This is not this        HUD       .2
11
                               HG1889738 l case        DFEH
12
            12,

13          13,    1/17/201    This is not this        HUD       .30    Telephoneconferencewith carrier
                   9           I·IGl8897381 case       DFEH             regardingupcomingmediation
14                                                                      with DFEH
            14,    1/17/201    This is not this        HUD       ,30    Exchangeemailswith DFEH
15                 9           HG18897381 case         DFEH             regardingscopeofmediationand
                                                                        attendees
16          15,    1/17/201    This is not this        HUD       .30    Telephonecall to
                   9           HG18897381 case         DFEH             insuredregardingmediationwith
17                                                                      DFEH (Luanne canceled
                                                                        mediation) ELISE CHU
18          16,    1/21/201    This is not this        HUD       4.80   Begin review andanalysisof all
                   9           HG 18897381 case        DFEH             complaints,availablemotions,
19                                                                      CC&Rs, CC&Rs Rules and
                                                                        Guidelines, and Declarations
2C                                                                      from the
                                                                        Bernsteins
21                 1/22/20 I   This is not this        HUD       5.6    Further review of all complaints,
            17,
                   9           HG18897381 case         DFEH             available motions, CC&Rs,
22                                                                      CC&Rs Rules and Guidelines,
                                                                        and Declarations from the
23                                                                      Bemsteins and begin preparation
                                                                        of DFEH mediation brief
24                 1/22/201    This is not this        HUD              Telephone conference with
            18,                                                  .40
                   9           HGI8897381 case         DFEH             DFEH mediator Elise Chu
25
                                                                        regarding
                                                                        reasons for canceling mediation
26
            I 9.   1/22/201    This is not this        HUD       .30    Exchangeemailswith DFEH
                   9           HG18897381 case         DFEH             regardingscopeofmcdiationand
27
                                                                        attendees
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     DECLARAT!ON OF MARY BERNSTEIN IN SUPPORT OF OPPOS!TION TO MOTION FOR ATTORNEY FEES AND
     OB JECT!ON TO MEMORANDUM OE COSTS ASSQCIA NORTHERN CALlfORNJA Mt',SS!NOHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRlKE COSTS

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 2          21.                                                   November 2022 strange entry on
                                                                  date) recreated billings out of
 3                                                                thin air

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            23,
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            25,             This is not this        HUD           Review and analyze portions of
 8                                                                the over 50,000 pages of
                            HG 18897381 case        DFEH          documentsprovidedby coM
 9                                                                counselfor purposesof preparing
                            (documents were not                   responseto DFEH Complaint
IC                          provided relative to                   fraud
                            this matter; unrelatd
11                          to task) mostly
                            consisting of blank
12                          pages and unrelated
                            response to discovery
13                          52 pickup, Plaintiff
                            has the binders
14

15
            26.             This is not this        HUD            Review andanalysisof
16                                                                 depositiontestimonyofTammy
                            HG18897381 case         DFEH           Fritz and
17                                                                 SharonMassinghamandotherrelate
                            (deposition review                     ddocuments,in preparation
18                          not related to                         of finalizingresponsesto DFEH
                            mediation                              Complaint(281 pages)
19                                                                 fraud

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            27.
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            28.   2/20/20   This is not this        Not            Receipt and review plaintiffs
22                                                                 recorded statement
                            HG18897381 case                        Fraud
                  19                                certain if     Plaintiff on emergency leave in
23
                            No such recorded                      Arizona for Mother's Death - not
24                                                  this is        even in area
                            statement in this
25                                                  even
26                          matter on this
                                                    applicabl
27

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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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                            date                  e to any
 1

 2                                                matters

 3          29.   3/12/20   There are multiple                    Review and analyze voluminous
                                                                  documents from co-counsel
 4                                                                relatingto plaintiffs
                  19        cases - this is not                   claims,includingpleadings,corresp
 5                                                                ondence,
                            relable to this                       discoveryanddocumentsprovidedb
 6                                                                y plaintiff andthe HOA,
                            matter solely                          including HOA records
 7
                                                                  fraud billing padding
 8
                                                                   lumping
 9
            30.   3/18/20   There are multiple                    Review of file for purposesof
lC                                                                Round Table with Fanners and
                                                                   prepare Memo with summary of
11                19        cases - this is not                    case
                                                                  fraud billing padding
12                          relable to this
13
                            matter solely
14
                            HUDDFEHDOJ
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            31.   3/19/20   There are multiple                    Participate in Round Table with
16                                                                 Farmers
                                                                   Hours
17                19        cases - this is not

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                            matter solely
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            36.             There are multiple               .3   Telephoneconferencewith
27                                                                Fanncrsregardingstatusof 3
                                                                   different
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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                          cases - this is not                     claims
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2                         relable to this

3                         matter solely

                          HUDDFEHDOJ
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                     Court ordered stay no
27                   legal work
                     Tenanc issues nOt
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATIORNEY FEES AND
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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION·- FREMONT AND REPLY MOTION TO STRIKE COSTS
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 566 of 801




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     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADO);'.
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 567 of 801




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     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS
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     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 569 of 801




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     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 570 of 801




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     BROOK VILLAGE ASSOCIATION FREMOt!T AND REPLY MOTION TO STRIKE COSTS

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       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 571 of 801




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     BROOK VILL.:,GE ASSOCIATION -FREMONT AND REPLY MOTION TO STRIKE COSTS

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       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 572 of 801




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     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE CQSTS

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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OB JECTION TO MEMORANDUM OF COSTS ASSOCIA NQRTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     BR OOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     BROOK VILLAGE ASSOCIATION FREMONT At,!D REPLY MOTION TO SIRIKE CQSTS

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     BRDOK VILLAGE ASSOCIATION-· FREMONT AND REPLY MOTION TO STRIKE COSTS

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     BRDOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS
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     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS

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     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS

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     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
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     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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     NO PREVAILING PARTY CASE IS NOT CONCLUDED AGENTS HOA BOARD
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2    MEMBERS INVOLVED DEFENDANTS IN MATTER INCONCLUSIVE

3    Memorandum of Costs (Worksheet)
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     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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      Filing                        Answer to Complaint;
2                                       Notice of Asoclation $616.71
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3                                       SERVICES, INC
      Filing                             Sub of atty $30.00 PACIFIC
                                        COAST LEGAL SERVICES, INC
 5    Filing                             Motion to Quash $541.75
                                        PACIFIC COAST LEGAL
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 9                                      COAST LEGAL SERVICES, INC
     Filing - Supp dee to P's mnotion to compel $75.00 PACIFIC COASTLEGAL SERVICES, INC
lC   Filing - Disassoc of atty $45.00 PACIFIC COAST LEGAL SERVICES, INC
11
     Filing - Notice of entry of judgment $47.70 PACIFIC COAST LEGAL SERVICES, INC
     Filing - D's opp to P's M leave to amend the
12   complaint $47.70 PACIFIC COAST LEGAL SERVICES, INC
     Filing - Reply x2 $37.33 FIRST LEGAL NETWORK LLC
13   Filing - oppostion to Motion to Stay Case $58.33 FIRST LEGAL NETWORK LLC
     Filing - Motion for Summary Judgement $424.03 FIRSTLEGAL NETWORK LLC
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     Filing - Opp to Protective Order $35.00 FIRST LEGAL NETWORK LLC
15   Filing -Advance Fees $1,476.98 FIRST LEGAL NETWORK LLC
     Filing - Motion to Strike $125.82 FIRST LEGAL NETWORK LLC
16   Filing - Advance fees $666.99 FIRST LEGAL NETWORK LLC
     Filing - 10 Docs $361.38 Fl RST LEGAL NETWORK LLC
17
     Filing - Motion to Strike - Fees Advanced $467.00 FIRST LEGAL NETWORK LLC
18   Filing - Fees Advanced - MSA/DEC/PO/POS/MPA $1,377.15 FIRST LEGAL NETWORK LLC
     Filing - Objection to Plaintiffs request $32.95 FIRST LEGAL NETWORK LLC
19   Filing - Dec of Lunanne Rutherford $909.95 FIRST LEGAL NETWORK LLC
     Filing - D's Notice of Nonopposition $32.95 FIRST LEGAL NETWORK LLC
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21   Filing MSJ reply brief $123.50 FIRST LEGAL NETWORK LLC
     Filing - electronic submission $39.95 FIRST LEGAL NETWORK LLC
22   Filing - Fees Advanced - Memorandum of Points
     and Authorities $986.15 FIRST LEGAL NETWORK LLC
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     Filing- Oppostion to Disqualify Judge $63.14 FIRST LEGAL NETWORK LLC
     Filing - Demurrer with MTS $6.75 FIRST LEGAL NETWORK LLC
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     Filing - oppostion $40.45 FIRST LEGAL NETWORK LLC
25   Filing - D's Notice of Nonopposition $40.45 FIRST LEGAL NETWORK LLC
     Filing - Case management statement $40.45 FIRST LEGAL NETWORK LLC
26   Filing - MTS - Fees advanced $540.65 FIRST LEGAL NETWORK LLC
     Filing - D's Notice of Nonopposition $31.95 FIRST LEGAL NETWORK LLC
27
     Filing - Notice of Change of Firm Name $23.20 FIRST LEGAL NETWORK LLC
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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     Filing - D's Notice of Nonopposition $40.45 FIRST LEGAL NETWORK LLC
1
     Filing - Case management statement $40.45 FIRST LEGAL NETWORK LLC
     Filing- Demurrer with MTS - Fees Advanced $165.65 FIRST LEGAL NETWORK LLC
2
     Filing - Reply Briefs $31.95 FIRST LEGAL NETWORK LLC
3    Filing - MTS - Fees advanced $542.65 FIRST LEGAL NETWORK LLC
     Filing- D's Reply Brief In Support $31.95 FIRST LEGAL NETWORK LLC
4    Filing - MTS - Fees advanced $90.25 FIRST LEGAL NETWORK LLC
     FIiing - Stip of the parties to Extend - Fees advanced $901.95 FIRST LEGAL NETWORK LLC
5
     Filing- stip- order $42.70 FIRST LEGAL NETWORK LLC
6

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28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOS!T!ON TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSJNGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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 1
      Filing- Oppsition Dec $110.75 FIRST LEGAL NETWORK LLC
 2    Filing -Amended CMC Statement $90.25 FIRST LEGAL NETWORK LLC
      Filing - D's Opposition to P $31.95 FIRST LEGAL NETWORK LLC
 3     Filing                              CM Statement $61.90 FIRST
                                          LEGAL NETWORK LLC
 4
       Filing                              Dec of Andrew S. Elliott  Not McNamara lawyer third
 5                                        $31.95 FIRST LEGAL NETWORK party fraud McNamara -
                                          LLC                        attesting to bills and costs
 6                                                                        states he is the attorney,
                                                                          agent or party who claims
 7
                                                                          th.ese costs, See signature 8
 8
                                                                          14 2023 on Memorandum of
                                                                          Costs - no .dates etc
 9
        Filing                              Opp; Dec $28.80 FIRST LEGAL
lC
                                            NETWORK LLC
11   TOTAL: $11,828.21

12

13
     Memorandum of Costs (Worksheet)
14   Attachment 16

15      Expert
        R. Blackseth Interests                        Inc. $627.00
16
        H2 Engineers                                  Inc. $4637.50
17
     TOTAL: $5,264.50
18

19

2c   Tolling trial date 5

21   years

22
                                                         Court Order           20
23   Medical Leave April 11      574 days

24   2019 - November 4

25   2020 (1" leave April

26   112019-0ctober

27   2019 Order extend)

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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 1   2"' Leave (October

 2   2019- November

 3   2020 Order lifting

 4   leave November 4

 5   2020) during

 6   Pandemic

 7


 8
     Emergency Leave        83 days                Court Order      512
 9
     Mother Death 12 6
lC
     2021 - February 26
11
     2022
12
                                                   VESCO hearing    512
13   Emergency Leave        62 days                Order
14          Injury Facial

15          February 26

16          2022-April

17          2022

18

19
     COVID Long Covid       192 days               VESCO Court      512
2C
     Leave July 2022 -                             Orders
21
     January 23 2023
22
                            Total 911 days
23
     March 19 2018-         Five Years
24                                                 1826 days
     March 19 2023
25

26
     Add 911 days to
27
     March 19 2023
2B
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK YILLAGE ASSQCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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 1   Difference
 2
                             Result: Monday, final

 3
                                    September 15,

                                    2025

 5                           Within five years trial
 6

 7


 B

 9

lC

11                                 CONCLUSION FOR ARGUMENT 1
12
     Each defendant's claim to attorney's fees must be considered separately. Plaintiffs complaint
13
     is a personal injury action stated under various legal theories in separate causes of action. Not all
14

15
     apply to each defendant.

16   According to Legal Match hosted at https://www.legalmatch.com/law-library/article/equitable-

17
     servitudes.html Equitable Servitude is defined as:
18
           What Is an Equitable Servitude?
19         Equitable servitude is a concept in property law that restricts the use of property in a
           manner that benefits another property, and it is enforceable in equity. These
2C         restrictions, typically outlined in the form of contracts or agreements, are designed
21         to ensure that the property is used or developed in a way consistent with the
           interests and intentions of the parties involved.
22

23
         1. What Are Some Examples of an Equitable Servitude?
24
     Some common examples of equitable servitudes include:
25

26

27

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA, MASSINGHAM MEADOW
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         2. Restrictions on building height or architectural style: A property owner may be
 1

 2           required to maintain a certain building height or adhere to a specific architectural style to

 3           preserve the aesthetic value of a neighborhood.
 4
         3. Prohibitions on commercial use: In some residential communities, an equitable
 5
             servitude may prevent property owners from conducting commercial activities on their
 6

 7
             property to maintain the residential character of the area.

 8       4. Maintenance requirements: A property owner may be required to maintain certain
 9
             common areas, such as landscaping or shared facilities, as part of an equitable servitude
lC
             within a homeowners' association.
11
         5. Environmental restrictions: An equitable servitude may restrict certain activities, such
12

13           as tree removal or alteration of natural features, to protect the environment or preserve

14          the natural beauty of the area.
15
     Equitable servitudes are similar to real covenants in that both involve agreements that restrict the
16
     use of property and run with the land, meaning they bind future owners of the property.
17

18
     Equitable Servitude

19
     An equitable servitude is a restriction on property use that is enforceable in equity. This
2C
     case does not involve any restriction on property use.
21

22
     Defendants in case HG18897381 fraudulent billings submitted, costs without invoices as
23   well as the case not involving egnitiable servitude for reimbursement of attorney fees.

24
     Equitable servitudes may apply to both residential and commercial properties, and they often
25

26   address issues such as land use, building restrictions, and maintenance responsibilities. Plaintiff

27   did not breach any maintenance responsibilities for unit, no restrict any use by defendants.
28
     DECLARATION OF MARV BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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     None of the causes as to any defendants is an equity action to enforce the CC&Rs or
 1

 2   Association rules as "equitable servitudes," No relief by way of injunction or mandate is

 3   requested as against any defendant. Section 5975 (c) was not intended to apply to personal

     injury actions. Consequently, the provisions for attorney's fees under Civil Code Section 5975
 5
     (c) do not apply. Defendants' motion should be denied as to each defendant.
 6

 7
     II. REDUCTION OF ATTORNEY'S FEES BY APPORTIONMENT

 8   There are individual defendants that served on the HOA Board and individual non-board

 9
     members in this matter. Assuming arguendo that the court finds that one or all three defendants
1C
     are entitled to attorney's fees, there remain issues of apportionment:
11
     1. 1f only one corporate defendant is entitled to an attorney's fees award, then the fees claimed by
12

13   defense counsel, who represented the three corporate defendants jointly, must be apportioned

14   between the defendants. Counsel cannot recover attorney's fees for that portion of the work,
15
     pertaining to the defendant who is not entitled to a fee award. Likewise, counsel
16
     representing individual HOA members in this action is not entitled to a fee award. Many
17
     entries in the invoices submitted are not applicable to this HG18897381 matter in which
18

19   judgment. Further, some actions involved Plaintiff sister that is not a homeowner and not

2C   a party to this action. Plaintiff's sister has had and has separate actions against
21
     defendants. The billing time is applicable to agency matters HUD, Attorney General,
22
     California Department of Fair Housing, individual restraining orders etc. This judgment.
23
     matter did not encompass every matter for the past several years. The award if any would
24

25   be applicable only to this action.

26   For example, if only Meadow Brook Association is entitled to attorney's fees, and 33% of the
27
     work was on behalf of Associa and 33% on behalf of Massigham, then the fee claim must be
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMO3ANDUM OF COSTS ASSOCIA ]'!ORTHERN CALIFORNIA MASSINGHAt,,1 MEADOW
     BROOK VILLAGEASSQCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     reduced by 66%. No contract existed or CCRm between Associa Northern California,
1

2
     Massigham or individual HOA community defendants and Plaintiff. Therefore, fee award

3    equitiable services not applicable to these parties. If the work was on behalf of individual
4
     defendants, the fee claim must be even further. For example, non represented John Gibson an
5
     individual defendant and others. Many billing entries redacted; if defendants make the argument
6
     for fees, defendants are required to avail this redacted billing entries for Plaintiff to address. 2.
7

 8   Ifthe court finds that attommey's fees are awardable under some, but not all, of the causes of

 9   action, then the work must be apportioned and the fees reduced accordingly.
lC
     Defendants have failed to provide any information regarding apportionment in their moving
11
     papers. Without such apportionment, the fees on their face are excessive and
12

13   the request must be denied.
14                                                                                                                        16
     Defendants claim that was a flat fee until October 2022 and then now on an hourly fee.                                    It is
15
     clear that billing entries were recreated as Plaintiff will show in oral argument phantom dates and
16

17
     work that was clearly never done. In addition, Plaintiff's limited scope attorneys will testify that

18   no such telephone conference ever occurred between Lloyd Winter and Luanne

19   Rutherford or Christopher Allard which Christopher Allard attests to that all of these entries are
2C
     true invoices and billing entries. A state bar complaint is being filed against Luanne Rutherford
21
     and Christopher Allard for fraud.
22

23   In this case, defendants Massignahm, Associa Northern California, individual HOA community

24   defendants and defendant Meadow Brook Association were all and are still all represented by the
25

26    16   Defendants were initially represented by in-house counsel Robert Maltz, Esq. ofHartsuyker, Stratman, Williams-Abrego. In
           December 2018, Luanne Rutherford, Esq. of McNamara, Ambacher, Wheeler, Hirsig & Gray substituted in as counsel of
           record. In July 2022, Christopher B. Allard of McNamara, Ambacher, Wheeler, Hirsig & Gray took over as counsel of record
27
           for defendants. In October 2022, this matter was converted from a flat fee case to an hourly case. [Allard Deel., ~7] MPA pg.
28
           8, 12.
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     same attorneys. The demurrers and the summary judgment motion filed on their behalf were
 1

 2   joint documents. All costs incurred, other than the filing fees for the answers, were jointly

 3   incurred. Deposition attorney time and costs were incurred jointly. Court appearance fees were
 4
     incurred jointly. Legal research and drafting time was incurred jointly.
 5
     On its face, then, not all of the attorney time, and therefore fees, can be claimed to have heen
 6

 7
     incurred on behalf of one or the other.

 8   These issues are similar to those in Cassim v. Allstate Ins. Co, (2004) 33 Cal.4th 780, 16
 9
     CR2d 3 74, considering apportionment of attorneys fees between a contract cause of action and a
lC
     tort cause of action. The plaintiff was entitled only to fees incurred in the contract matter. As
11
     stated in Cassim:
12

13   "The fees recoverable, however, may not exceed the amount attributable ta
     the attorney's efforts to obtain the rejected payment due on the insurance contract.
14   Fees attributable to obtaining any portion of the plaintiffs award which exceeds the
     amount due under the policy are not recoverable."" 33 Cal.4th at 807, 16 CR3d at 393,
15
     quoting from Brandt v. Superior Court (1985) 37 Cal.3d 813 at 819, 210 CR 211.
16   "To detennine the percentage of the legal fees attributable to the contract
     recovery, the trial court should determine the total number of hours an attorney spent
17   on the case and then determine how many hours were spent working exclusively on
     the contract recovery. Hours spent working on issues jointly related to both the tort
18
     and contract should be apportioned, with some hours assigned to the contract and
19   some to the tort." 33 Cal.4th at 812,16 CR3d at 397.

2C   The party who claims the attorney's fees has the burden of proof on apportionment when fees
21
     have been incurred jointly with one not entitled to fees. See Cassim, supra, 33 Cal.4th at
22
     813, 16 CR3d at 398 0.16. See also Fennessy v. DeLeww-Cather Corp. 218 CA3d 1192, 1196,
23

     267 CR 772, 774:
24

25   ("(T)t was undisputed that all defendants were represented by the same connsel, who

26   took depositions and performed other tasks that benefitted all defendants. Once
27
     [plaintiff] questioned [defendant's] entitlement to costs incurred by the six
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA, MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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     defendants nothing more needed to be or could have been added by additional
 1

 2   declarations or affidavits [from plaintiff]." 218 CA3d at 1196, 267 CR at 774)

 3   Ill. REDUCTION OF FEES BECAUSE OF DUPLICATIVE WORK BY ATTORNEYS
     NOT OF RECORD

 5
     As stated in Mix v. Tumanjan Development Corp. (2002) 102 CA 4" 1318, 1324, 126 CR2d
 6


 7
     267,272:

 8   "Tt is not unusual for a litigant to be represented by more than one attorney.

 9   For example, a litigant may be represented by both privately retained counsel and in house
lC
     counsel. [Cases cited.] In those cases, a litigant entitled to an attorney fee
11
     award may recover attorney fees for both private counsel and in-house counsel,
12

13
     provided the legal services are not unnecessarily du11licative." (Emphasis added).

14   Only reasonable attorneys' fees are awardable. The fees requested here are unreasonable,
15
     and duplicative, for the reasons set forth below.
16
     The firms of Hartsuyker, Stratman & Williams-Abrego now Law Offices of Scott C Stratman
17
     and McNamara, Ney, Beatty, Slattery, Borges & Ambacher LLP now McNamara, Ambacher,
18

19   Wheeler, et al. have been paid already by Farmers Insurance under insurance policy insurance

2C   defense and now seek double billing, duplicative payment of legal services. Christopher Bernard
21
     Allard #264842, Robert Mark Maltz #143078 and Luanne Rutherford #153336 firms seek
22
     further enrichment in an attempt to predatorily displace and bankrupt disabled plaintiff. In
23
     addition, Meadow Brook HOA has attempted to block, thwart any attempts to refinance to pay
24

25   amounts by holding up, refusing to provide documentation to lenders in dispute during the

26   summer of2024 to insure displacement and homelessness ofa disabled family.
27

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOC IA TJON FREMONT AND REPLY MOTION TO STRIKE COSTS

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     Robert Malz initially the attorney and then Luanne Rutherford added. An invoice memorandum
 1

 2   of costs Anderw Elliott Andrew Spencer Elliott #254757 for preparation reference for third

 3   party attorney Severson listed not even with either law firm demonstrating attempt to throw each
 4
     and every billing and stick to this matter. On its face it seems an unreasonable that defenddants
 5
     attempt to impose unrelated costs and bills for this personal injury case." 17
 6

 7
     The summary judgment motion was prepared by Luanne Rutherford. Christopher Allard did not

 8   work on the motion for summary judgment at all. The unfortunate

 9   part of him coming into the case so "late in the game" is that, unlike defense counsel Mr. Allard
lC
     is in no position to attest to what fees and costs were incurred as he has had no familiarity with
11
     the facts, the legal issues, the depositions, the interrogatories, and the demutters. Therefore,
12

13
     recreating the billings and attesting to their authenticity a declaration on behalf of another

14   attorney that is no longer with the firm is fraudulent, misrepresenting and deceitful.
15
     Had Mr. Allard prepared the motions, appeared at court hearings, he would be in a position to
16
     attest to the time and preparation. A declaration is a statement under oath to the truth. The court
17
     will note that the demurrers prepared by Luanne Rutherford contain most, if not all, of the same
18

19   arguments and case law ultimately finding their way into the summary judgment motion

2C   prepared by Luanne Rutherford boilerplate changing names only billings.
21

22

23
     17   There is only one plaintiff. There were 3 depositions no meadow brook hoa depositions and defense counsel
24
          refused to provide for depositions despite all of the third parties served with subpoenas. The Court did not
25
          enforce subpoena deposition compliance. None of the depositions were referenced in Defendants motion for
26
          summary judgment,
27

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     There has been considerable duplicative work for the defense. The law is clear that attorney's
 1

 2   fees are not awardable for duplicative work or unnecessary work; that only reasonable fees are

 3   recoverable.
 4
     IV. DISCRETION TO DETERMINE NO PREVAILING PARTY FOR PURPOSES OF
 5   ATTORNEY'S FEE AW ARD.

 6

 7
     Fair Housing Rights. People do not elect to purchase a property in an HOA with varying

 8   terms and conditions, no tenancy rights, no protection. This wonld be enslavement and
 9
     bondage. To be subjected to abuses, denial of accommodations, outrageous assessments
lC
     imposed at whim, intimidation, dominination and manipulation, abuses, exploitation, social
11
     isolation and alienation
12

13   Finally, the court has discretion in equity to detennine that for purposes of attorney's fees

14   there is no "prevailing party." As stated in Kytasty v, Godwin (1980) 102 CA3d 762, 162 CR
15
     556:
16
     "The judgment as well as this opinion must be considered good news and bad news to each
17
     of the parties, and in good conscience we cannot say attorneys' fees should be awarded to either
18

19   for the trial or for this appeal." 102 CA3d at 774, 162 CR at 563.

2C   In this case, if one considers the actual impact of this court's rnling to the individual
21
     homeowners of the complex, rather than the insurance carrier, the decision surely is mixed. lt
22
     may actually be viewed as detrimental to the Homeowners' Association in the long run.
23

24
     The end result of the court's decision, urged upon the court by insurance defense counsel,

25   is that the homeowners have less protection from tenant's acts and omissions than otherwise

26   would be the case. A landlord homeowner (absentee who rents out his unit) is not liable for his
27
     tenants acts or omissions in the common areas, despite the language of the CC&Rs stating that
28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA, MASSINGHAM MEADOW
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     the homeowter shall be "fully responsible" for the acts or omissions of his tenant in the common
 1

 2   areas.

 3   There appears to be a conflict of interest between defendants Associa, Massingham individual

     defendants HOA community and the Meadow Brook Homeowners' Association. If defendants
 5
     Associa, Massignham, individual hoa community defendants and the Meadow 111
 6

 7
     Brook Homeowner's Association were not insured by the same

 8   cartier and were not represented by the same defense counsel, one may reasonably conclude their

 9   positions would have been different.
lC
     The Meadow Brook Homeowner's Association would likely have cross-complained against
11
     Associa, Massingham concerning issues pointing fingers. Likewise individual defendants in the
12

13
     community so harassing Plaintiff had to obtain restraining orders and file complaintis with HUD,

14   Cal Dfeh. Meadow Brook for instance was so unhappy with Associa that it retained a different
15
     property manager, Common Interest just prior to the filing of this Complaint. On another note,
16
     one would believe that a homeowners association in a different scenario other than Meadow
17
     Broook whould have sided with a disabled plaintiff and her family on the argument that for
18

19   instance John Gibson, Mona Oliver and others liable. There is no logical reason that the

2C   Association would want to permit Mona Oliver or any other homeowner to have irresponsible
21
     tenants, who are irresponsible and engage in violence and harassing conduct of the disabled. The
22
     only reason the argument was made by insurance defense counsel is that it benefits the insurance
23
     carrier in this pmticular case.
24

25   On the basis of the foregoing, this court may exercise its discretion and determine that there

26   is both "good news" and "bad news"to each of the actual parties in the case (not the carrier) and,
27

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     on that basis, find in the court's discretion that for the pumoses of an award of attorneys'
 1

 2   fees, there is no "prevailing party." Aytasty v. Godwin (I 980) I 02 CA3d 762, 162 CR 556.

 3   V. DISHONEST FALSIFIED, FRAUD, BOGUS ATTORNEY BILLING INFLATED;
     COSTS NOT AUTHORIZED, ATTORNEYS AT ANOTHER FIRM CLAIMED-
     DOCUMENTS NEVER PREPARED AND FILED; DOCUMENTS CLAIMED TO BE
 5   FILED TWO YEARS PRIOR TO FILING, BLOCKED BATCHED UNDATED COSTS
     EXCESSIVE UNAUTHORIZED EXPERT WITNESS OTHER COSTS TO LEAD TO
 6   LITIGATION
 7
     State Bar complaints underway against Christopher B. Allard and Luanne Rutherford, fraud
 8   Claims of speaking with limited scopes attorneys at length when no such telephone conference
     ever occurred - there are many examples of fraudulent mistaken billing in invoices. Plaintiff
 9
     limited scope attorneys confirmed no such telephonic conference occurred between defense
lC   counsel and limited scope attorneys retained by plaintiff for opposition o motion for summaiy
     judgment.
11

12

13
     V, MULTIPLE CASES RESTRAINING ORDER, HUD CASES NOT QUALIFIED
     APPLICABLE FOR THIS CLAIM FOR ATTORNEY'S FEES; OTHER DEFENDANTS
14   INDIVIDUAL NOT QUALIFIED TO BE CLAIMED UNDER THESE THREE
     CORPORATE ENTTITY DFENDANTS
15

16   Multiple cases bundled into these motion for atroney fees as exhibited by invoices provided,
     padded - State Bar Complaint filed for fraud and exploitation oif disabled litigation take
17   advantage
18
        •    Several HUD DFEH matters
19      •    John Gibson restraining order

2C
        •    Michael Durbin restraining order
        •    Susan Hernandez restraining order
21      •    Mark Simonsen restraining order

22
        •    DOJ

23      • Emails to community to seek "declarations" against disabled Plaintiff inciting harassme1,t
             on premises in billing entries
24
     CONCLUSION
25
     Based on all of the foregoing, defendants' motion for attorneys' fees and costs should be denied
26   since
27

28
     DECLARATION OF MARV BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAJ:,1 MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPL V MOTION TO S'[RIKE COSTS

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     this lawsuit was not "to e11force" an "equitable servitude" as those tenns are used in Civil Code
 1
     Sec.
 2
     5975,
 3
     Alternatively, said fees should be apportioned a11d reduced. If attorney's fees are to be
 4
     awarded, plaintiffsubmits that $4500 would be a reasonable sum for the summary Judgment
 5
     motion.
 6   Added to the claim of Mr. Peterson for $3500, total fees should not exceed $8000.
 7   If one apportions the attorneys' work 50/50 between the two defendants, the11 if the court
 8   finds that only one is entitled to attorneys' fees, that sum should be $4000.
 9

lC

11

12

13   _ _ _ _MARY BERNSTEIN
14
     https://www.tcd.ie/library/early-irish-mss/how-the-four-evangelists-became-
15         gospel-writers-and-acguired-their-
16
           symbols/#:~:text=ln%20his%20Commentary%20on %20the,and%20John
           %20is%20the%20Eagle.
17

18

19   Numerous accounts of Christ's life were written in the centuries following his death, yet
     only four became accepted as canonical, or authentic, by the institution of the Christian
2C
     Church. , These Gospels were identified first by the second century Gallic Bishop
21   lrenaeus.2
     Nature confirmed that the number four was appropriate because, as lrenaeus observed,
22   the Earth had four zones where people lived and there were also four winds. lrenaeus
23
     thus identified the Evangelists, Matthew, Mark, Luke and John, as the four pillars of the
     Church, the four authors of the true Gospels.
24

25

26

27

28
     DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION~ FREMONT AND REPLY MOTION TO STRIKE COSTS

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     lrenaeus went on to compare the Evangelists with the mystical creatures who appeared
1
     at the beginning of John's vision of the apocalypse. The book of Revelation (4.7) records
2    that surrounding Christ's throne in heaven were beings that resembled a man, a lion, a
     calf, and an eagle (fig. 1). John's 'living creatures' were in turn a reference to the four
3    cherubim holding aloft the throne of God in the vision of the Old Testament prophet
     Ezekiel (1.4-11). The beings in Ezekiel's vision had the features of all four creatures and
     four wings each as well.
 5

 6

 7


 B
     Abba Father
 9


lC
     The word of God infuses me with faith, hope and strength which is getting me
          through this horrific situation.
11

12
     Psalm 341,11hl

13   Of David. When he pretended to be insane before Abimelek, who drove him
14         away, and he left.
     1 I will extol the LORD at all times;
15
      his praise will always be on my lips.
16   2 I will glory in the LORD;
      let the afflicted hear and rejoice.
17
     3 Glorify the LORD with me;

18    let us exalt his name together.
     4 I sought the LORD, and he answered me;
19    he delivered me from all my fears.
     5 Those who look to him are radiant;
2C
      their faces are never covered with shame.
21   6 This poor man called, and the LORD heard him;
      he saved him out of all his troubles.
22   7 The angel of the LORD encamps around those who fear him,

23
      and he delivers them.
     8 Taste and see that the LORD is good;
24    blessed is the one who takes refuge in him.
     9 Fear the LORD, you his holy people,
25
      for those who fear him lack nothing.
     10 The lions may grow weak and hungry,
26
      but those who seek the LORD lack no good thing.
27   11 Come, my children, listen to me;
      I will teach you the fear of the LORD.
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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     12 Whoever of you loves Iife
1
      and desires to see many good days,
2
     13 keep your tongue from evil
      and your lips from telling lies.
3    14 Turn from evil and do good;

      seek peace and pursue it.
     15 The eyes of the LORD are on the righteous,

 5    and his ears are attentive to their cry;
     16 but the face of the LORD is against those who do evil,
 6    to blot out their name from the eatth.
     17 The righteous cry out, and the LORD hears them;
 7
       he delivers them from all their troubles.
     18 The LORD is close to the brokenheatted
 8
       and saves those who are crushed in spirit.
 9   19 The righteous person may have many troubles,

       but the LORD delivers him from them all;
lC
     20 he protects all his bones,
11     not one of them will be broken.
     21 Evil will slay the wicked;
12     the foes of the righteous will be condemned.
     22 The LORD will rescue his servants;
13
       no one who takes refuge in him will be condemned.
14
     129 Many a time have they afflicted me from my youth, may Israel now say:
15
     2 Many a time have they afflicted me from my youth: yet they have not prevailed against me.
16

17   3The plowers plowed upon my back: they made long their furrows.

18   4 The LORD is righteous: he hath cut asunder the cords of the wicked.

19
     5 Let them all be confounded and turned back that hate Zion.
2C
     6 Let them be as the grass upon the housetops, which withereth afore it groweth up:
21

     7 Wherewith the mower filleth not his hand; nor he that bindetl1 sheaves his bosom.
22

23   8Neither do they which go by say, The blessing of the LORD be upon you: we bless you in the
24
     name of the LORD.

25

26

27

28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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1    Isaiah 40
2    New International Version
3
     Comfort for God's People
4

5
     40 Comfort, comfort my people,
      says your God.
 6
     2 Speak tenderly to Jerusalem,
 7
      and proclaim to her
 8
     that her hard service has been completed,
 9
      that her sin has been paid for,
lC   that she has received from the LORD's hand
11    double for all her sins.
12   3 A voice of one calling:


13   "In the wilderness prepare

14
      the way for the LORD"';
     make straight in the desert
15
      a highway for our God.'"
16
     4 Every valley shall be raised up,
17
      every mountain and hill made low;
18
     the rough ground shall become level,
19    the rugged places a plain.
2C   5 And the glory of the LORD will be revealed,


21    and all people will see it together.

22   For the mouth of the LORD has spoken."
     6 A voice says, "Cry out."
23
      And I said, "What shall I cry?"
24
     "All people are like grass,
25
      and all their faithfulness is like the flowers of the field.
26
     7 The grass withers and the flowers fall,

27
      because the breath of the LORD blows on them.
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSJTION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
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1     Surely the people are gr~ss.
     8 The grass withers and the flowers fall,
2
      but the word of our God endures forever."
3
     9 You who bring good news to Zion,

      go up on a high mountain.
5
     You who bring good news to Jerusalem,w
 6
      lift up your voice with a shout,
 7
     lift it up, do not be afraid;
 8    say to the towns of Judah,
 9    "Here is your God!"
     10 See, the Sovereign LORD comes with power,
lC

11
      and he rules with a mighty arm.
     See, his reward is with him,
12
      and his recompense accompanies him.
13
     11 He tends his flock like a shepherd:
14
      He gathers the lambs in his arms
15
     and carries them close to his heart;
16    he gently leads those that have young.
17   12 Who has measured the waters in the hollow of his hand,

18    or with the breadth of his hand marked off the heavens?

19   Who has held the dust of the earth in a basket,

2C
      or weighed the mountains on the scales
      and the hills in a balance?
21
     13 Who can fathom the Spirit@ of the LORD,
22
      or instruct the LORD as his counselor?
23
     14 Whom did the LORD consult to enlighten him,

24
       and who taught him the right way?
25   Who was it that taught him knowledge,
26     or showed him the path of understanding?
27

28    DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
      OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
      BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRlKE COSTS

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     15 Surely the nations are like a drop in a bucket;
1

2    they are regarded as dust on the scales;
      he weighs the islands as though they were fine dust.
3
     16 Lebanon is not sufficient for altar fires,
4
      nor its animals enough for burnt offerings.
5
     17 Before him all the nations are as nothing;
6
      they are regarded by him as worthless
7
      and less than nothing.
 8   18 With whom, then, will you compare God?

 9    To what image will you liken him?
     19 As for an idol, a metalworker casts it,
lC

11
      and a goldsmith overlays it with gold
      and fashions silver chains for it.
12
     20 A person too poor to present such an offering
13
      selects wood that will not rot;
14
     they look for a skilled worker
15
      to set up an idol that will not topple.
16   21 Do you not know?

17    Have you not heard?
18   Has it not been told you from the beginning?

19    Have you not understood since the earth was founded?
     22 He sits enthroned above the circle of the earth,
2C
      and its people are like grasshoppers.
21
     He stretches out the heavens like a canopy,
22
      and spreads them out like a tent to live in.
23
     23 He brings princes to naught

24
      and reduces the rulers of this world to nothing.
25   24 No sooner are they planted,

26    no sooner are they sown,
27    no sooner do they take root in the ground,

28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

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1    than he blows on them and they wither,

2     and a whirlwind sweeps them away like chaff.
     25 "To whom will you compare me?
3
      Or who is my equal?" says the Holy One.
     26 Lift up your eyes and look to the heavens:
 5
      Who created all these?
 6
     He who brings out the starry host one by one
 7
      and calls forth each of them by name.
 8   Because of his great power and mighty strength,
 9    not one of them is missing.
     27 Why do you complain, Jacob?
lC

11    Why do you say, Israel,
     "My way is hidden from the LORD;
12
      my cause is disregarded by my God"?
13
     28 Do you not know?
14
      Have you not heard?
15
     The LORD is the everlasting God,
16    the Creator of the ends of the earth.
17   He will not grow tired or weary,
18    and his understanding no one can fathom.
     29 He gives strength to the weary
19

2C
      and increases the power of the weak.
     30 Even youths grow tired and weary,
21
      and young men stumble and fall;
22
     31 but those who hope in the LORD
23
      will renew their strength.
24
     They will soar on wings like eagles;
25    they will run and not grow weary,
26    they will walk and not be faint.
27

28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS
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1    Footnotes
2
        a.   Isaiah 40:3 Or A voice ofone calling in the wilderness: I "Prepare the way for the LORD
3
        b.   Isaiah 40:3 Hebrew; Septuagint make straight the paths ofour God
4       c.   Isaiah 40:9 Or Zion, bringer ofgood news, I go up on a high mountain. I Jernsa/em, bringer ofgood news

5       d.   Isaiah 40: 13 Or mind

 6
     Revelation 9
7
     New International Version
 8

 9   9 The fifth angel sounded his trumpet, and I saw a star that had fallen from the sky to the
lC   earth. The star was given the key to the shaft of the Abyss. 2 When he opened the Abyss, smoke
11   rose from it like the smoke from a gigantic furnace. The sun and sky were darkened by the

12
     smoke from the Abyss. 3 And out of the smoke locusts came down on the earth and were given
     power like that of scorpions of the earth. 4 They were told not to harm the grass of the earth or
13
     any plant or tree, but only those people who did not have the seal of God on their
14
     foreheads. 5 They were not allowed to kill them but only to torture them for five months. And the
15
     agony they suffered was like that of the sting of a scorpion when it strikes. 6 During those days
16
     people will seek death but will not find it; they will long to die, but death will elude them.
17
     7 The locusts looked like horses prepared for battle. On their heads they wore something like
18
     crowns of gold, and their faces resembled human faces. 8 Their hair was like women's hair, and
19
     their teeth were like lions' teeth. 9 They had breastplates like breastplates of iron, and the sound
2C                                                                                                                    10
     of their wings was like the thundering of many horses and chariots rushing into battle.                               They
21
     had tails with stingers, like scorpions, and in their tails they had power to torment people for five
22
     months. 11 They had as king over them the angel of the Abyss, whose name in Hebrew is
23
     Abaddon and in Greek is Apollyon (that is, Destroyer).
24
     12 The first woe is past; two other woes are yet to come.
25

26   13 The sixth angel sounded his trumpet, and I heard a voice coming from the four horns of the

27   golden altar that is before God. 14 It said to the sixth angel who had the trumpet, "Release the
28   DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
     OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
     BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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1    four angels who are bound at the great river Euphrates." 15 And the four angels who had been

2
     kept ready for this very hour and day and month and year were released to kill a third of
     mankind. 16 The number of the mounted troops was twice ten thousand times ten thousand. 1
3
     heard their number.
4

5    17 The horses and riders I saw in my vision looked like this: Their breastplates were fiery red,

 6   dark blue, and yellow as sulfur. The heads of the horses resembled the heads of lions, and out of
 7   their mouths came fire, smoke and sulfur. 18 A third of mankind was killed by the three plagues

 8
     of fire, smoke and sulfur that came out of their mouths. 19 The power of the horses was in their
     mouths and in their tails; for their tails were like snakes, having heads with which they inflict
 9
     injury.
lC

11   20 The rest of mankind who were not killed by these plagues still did not repent of the work of

12   their hands; they did not stop worshiping demons, and idols of gold, silver, bronze, stone and

13   wood-idols that cannot see or hear or walk. 21 Nor did they repent of their murders, their magic

14   arts, their sexual immorality or their thefts.

15

16   Executed on August 12, 2024, at Fremont, California.
17

18

19

2C
     ---~MARY BERNSTEIN
21

22

23

24

25

26

27

28    DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION FOR ATTORNEY FEES AND
      OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA MASSINGHAM MEADOW
      BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

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     MARY BERNSTEIN
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     Email: mbernsteinpurple@hotmail.com
 3   (510) 938-6280
     Plaintiff Pro Se

 5

 6                                      SUPERIOR COURT OF CALIFORNIA
 7
                                                  COUNTY OF ALAMEDA
 8
     MARY BERNSTEIN,                                                    Case No.   HGl8897381
 9

                Plaintiffs,                                             DECLARATION OF ELIZABETH
lC
                                                                        TIGANO IN SUPPORT OF
11              vs.                                                     OPPOSITION TO MOTION FOR
                                                                        ATTORNEY FEES DEFENDANTS
12                                                                      ASSOCIA NORTHERN CALIFORNIA,
     ASSOC!A NORTHERN CALIFORNIA, et
13   al.,                                                               MEADOW BROOK VILLAGE
                                                                        ASSOCIATION - FREMONT, AND
14              Defendants.                                             MASSINGHAM & ASSOCIATES'
                                                                        MOTION
                                                                        FOR ATTORNEY'S FEES AND REPLY
16
                                                                        PLAINTIFF'S MOTION TO STRIKE
                                                                        TAXCOSTS 1
17

18
                                                                        DATE:
19                                                                      TIME:
                                                                        DEPT:
2C                                                                      JUDGE: Keith Wong
21

22

23

24

25

26
     1 So do 1wtfear,for I am with you;
27     do 1101 be tlismayed,for I am your God.
     /will stre11gthe11 you a11d help yo11,·
28
         I will 11phold you with my righteous right hand Isaiah 41:10



               ~ 1- DECLARATION OF ELIZABETH TIGANO IN SUPPORT OF Opposition to Motion for Attorney Fees
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                                                             O<:eaMkleCaUforfl\a, Ma,y lind bab)' brother Fran!<le Ill Ule hOrnetess sneltec
lC                                                           playpen. Frankie {)(:eanside Callf«nla 1960-1982


11

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19

2C
     I, Elizabeth Tigano, declare:
21
         •   His blood redeems us. There was a price against us that we could not pay, but
22           the blood of Jesus redeemed us. 1 Peter 1:18-19 says, "Forasmuch as ye know
             that ye were not redeemed with corruptible things .... But with the precious blood
23
             of Christ, as of a lamb without blemish and without spot." His blood brings us
24           into fellowship with God.
25

     1. I am a witness in this action.
26
     2. I have personal knowledge of the facts stated below. I am competent to testify to these
27
     facts and will do so in court if called as a witness.
28




             - 2 - DECLARATION OF ELIZABETH TIGANO IN SUPPORT OF Opposition to Motion for Attorney Fees
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 616 of 801




     3. I reside at 3416 Deerwood Terrace # 113 Fremont California 94536 since 2022 after my mother
 1
     died. This is a terrible dysfunctional place.
 2
     4. I am a resident tenant here and am entitled to use the premises and entitled to enjoyment. My
 3
     safety and welfare is to be protected here. My family members have are also constantly traumatized
     by this John Gibson.
 5
     5. The HOA now trying to make us bankrupt destroy us when we are on social security paying to
 6   stay here is criminal. We cannot even go out with harassment. The attorneys and the HOA now
 7   trhying to get attorney fees because we filed a complaint to prevent being homeless is absurd.
 8   These are horrific things we are going through in this Court And in this place. The attorney fees an

 9   costs should not be allowed because we filed to try top save our house for impotiant reasons. This is

lC
     not a frivolous case but safety and welfare
     I declare under penalty ofperjmy that the foregoing is true and c01Tect. Executed on August 270,
11
     2024 at Fremont, California.
12

13

14
                                                             ELIZABETH TIGANO
15

16

17

18

19

2C

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22

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28




            - 3 - DECLARATION OF ELIZABETH TIGANO IN SUPPORT OF Opposition to Motion for Attorney Pees
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 617 of 801




EXHIBIT K

Jesus Prays for All Believers

20 "My prayer is not for them alone. I pray also for those who will believe in me
through their message, 21 that all of them may be one, Father, just as you are in
me and I am in you. May they also be in us so that the world may believe that you
have sent me. 22 I have given them the glory that you gave me, that they may be
one as we are one- 23 I in them and you in me-so that they may be brought to
complete unity. Then the world will know that you sent me and have loved them
even as you have loved me.



24 "Father; I want those you have given me to be with me where I arn, and to see
rny glory, the glory you have given me because you loved me before the creation
of the world.

25 "Righteous Father, though the world does not know you, I know you, and they
know that you have sent me. 26 I have made you[e] known to them, and will
continue to make you known in order that the love you have for me may be in
them and that I myself may be in them."
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     MARY HELEN BERNSTEIN, MSAJS
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4

 5                                     SUPERIOR COURT OF CALIFORNIA

 6                                               COUNTY OF ALAMEDA
 7
     MARY HELEN BERNSTEIN,                                  Case No.      HG18897381
 B
               Plaintiff,                                   PLAINTIFF MARY BERNSTEIN'S
 9
                                                            REPLY IN SUPPORT OF MOTION
lC
               vs.                                          TO STRIKE TAX COSTS
11   ASSOCIA NORTHERN CALIFORNIA, et                        AGAINST DEFENDANTS
     al.,                                                   ASSOCIA NORTHERN
12                                                          CALIFORNIA,
13
               Defendants.                                  MEADOW BROOK VILLAGE
                                                            ASSOCIATION - FREMONT, AND
14
                                                            MASSINGHAM & ASSOCIATES'
15                                                          MEMORANDUM OF COSTS 1
                                                            Date: April 2, 2024
16
                                                            Time: 2:30 pm
17                                                          Dept.: 517

18

19

2C

21

22

23

24

25

26

27   1   So do 110/fear,for I am with you;
         do not be dismayed,Jor I am your God.
28   I will strengthen you aud fle{p you;
       I will uphold you witIt my righteous rig/,/ lta11d Isaiah 41: 10
      REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

                                                          -1 -
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                                                                     Oceill'lSK!e. Ca~romla Maiy iiJl!I bat)o/ brother Franl<le bl me homeless shetter
lC                                                                   playpen. Frankie Oteansk!e Callf«nla 1980-1982


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19

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                                                            "3"
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     92 Cal.App.4th 422 .......................... .
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     Sci. Applications Int'! Corp. v. Superior Court (1995)
 2
     39 Cal.App.4th 1095 .................................... .
 3
     Seever v. Copley Press, Inc.
 4
     (2006)
 5
     141 Cal.App.4th .
 6   Statutes
 7   Code Civ. Proc.,
 8   Code Civ. Proc.,

 9   Code Civ. Proc.,

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     Code Civ. Proc.,
     Code Civ. Proc.,
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     Code Civ. Proc.,
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     Code Civ. Proc.,
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     Code Civ. Proc.,
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     Code Civ. Proc.,
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     Code Civ. Proc.,
16   Code Civ. Proc.,
17   Rules
18   Rules of Court,

19   Rules of Court,

2C   ss 1013 ••••••••••••••••••••• ••
     1033.50) ..
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     ...... 1,3,9, 10, 12
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     rule 3.1700 ...... .
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     rule 3 .1700 , ..
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     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

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         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 622 of 801




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     Plaintiff has not filed anything in this case due to medical leave and scathing threats from this
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     Department 517 denial reasonable accommodations. See Order above not allowed to file anythying
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     without leave of court.
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     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

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        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 623 of 801




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     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

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          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 624 of 801




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26
                              MEMORANDUM OF POINTS AND AUTHORITIES
     Jesus blood redeems us. There was a price against us that we could not pay, but the blood of Jesus
27   redeemed us. 1 Peter 1:18-19 says, "Forasmuch as ye know that ye were not redeemed with
     conuptible things ... , But with the precious blood of Christ, as of a lamb without blemish and
28
     without spot." His blood brings us into fellowship with God. The blood of Jesus, his sacrifice for
     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS
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     me protects me in all situations. The blood of Jesus has kept me going in this housing crisis all that
 1
     he has done for me. I am standing on his word. The Lord is what has provided sustenance and
 2   protection to me during this horrific time as a disabled woman in court fighting against concentrated
     power in an HOA determined to steal home from homeowner that has never missed a payment.2
 3   Plaintiff Mary Bernstein will and hereby does move, once again in this Reply pursuant to rule
     3.1700(b) of the California Rules of Court, for an order striking Defendants ASSOClA
     NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE ASSOCJATION - FREMONT,
 5   AND MASSINGHAM & ASSOCIATES' Corporate Entity Defendants ("CED') Memorandum of
     Costs dated August 14, 2023, or in the alternative, for an order taxing costs.
 6   CED's costs memorandum is untimely because it was not filed and served within the
     mandatory time period established by rule 3. l 700(a) of the Rules of Court. CED's have therefore
 7
     waived any right to recover costs, and the Court should strike the Memorandum in its entirety. I
 8   the Court declines to strike the Memorandum in its entirety, the Court should nevertheless
     tax several categories of costs that are specifically excluded by Code of Civil Procedure ("CCP")
 9   section 1033.S(b). The Court should also tax several other categories of costs that CED seek on
lC
     the ground that such costs were not reasonably necessary to the conduct of the litigation-at
     most they merely served CED's convenience-and therefore are not recoverable, and/or that the
11   costs are claimed in an unreasonable amount. Specifically, the following costs should be
     stricken:
12

13   2 What can wash away my sin?
     Nothing but the blood of Jesus;
14   What can make me whole again?
     Nothing but the blood of Jesus.
15   Refrain:
     Oh! precious is the flow
16   That makes me white as snow;
     No other fount l know,
     Nothing but the blood of Jesus.
17
     For my pardon, this I see,
     Nothing but the blood of Jesus;
18   For my cleansing this my plea,
     Nothing but the blood of Jesus.
19   Nothing can for sin atone,
     Nothing but the blood of Jesus;
2C   Naught of good that I have done,
     Nothing but the blood of Jesus.
21   This is all my hope and peace,
     Nothing but the blood of Jesus;
     This is all my righteousness,
22
     Nothing but the blood of Jesus.
     Now by this I'll overcome-
23   Nothing but the blood of Jesus;
     Now by this I'll reach my home-
24   Nothing but the blood of Jesus.
     Gloiy! Glory! This I sing-
25   Nothing but the blood of Jesus,
     All my praise for this I bring-
26   Nothing but the blood of Jesus.

     Psalm 118:6
27
     The Lord is 011 my side; 1 will not fear. What can man do lo me?
28   Psalm 108:13
     With God we shall do valiantly; ii is he who will tread down ourfoes.
     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

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     a. Item lg Excessive and Misrepresented/Fraudulent Filing Fees- Efiling/fax filing fees are not
 1
     recoverable through third party vendor- $11,828. There are no dates rather bundled, fraudulent
 2   misrepresentation filing fees. California motion fees $60.00 for standard motion fees. There is
     no fee for substitution of non opposition attorney filing. Glumped together "10 documents" coul
 3   be any case whatsoever. The boilerplate line item entries for filing costs
     are insufficient to establish that any and every portion of such costs was reasonably
 4
     necessary to the conduct of the litigation and/or reasonable in amount under CCP section§§
 5   1033.S(c) (2), (c) (3) (c) (4) (c) (5)     Not reasonably necessary to the conduct of the litigation
     and not helpful to trier of fact (see§§ 1033.5(c)(2), (c )(3)(c )(4 )(c)(S). 3
 6

 7   3 Outrageous fraudulent costs discrepancies:

     Filing - Supp dee to P's mnotion to compel $75.00 PACIFIC COAST LEGAL SERVICES, INC
 8   Filing - Disassoc of atty $45.00 PACIFIC COAST LEGAL SERVICES, INC
     Filing - Notice of entry of judgment $47.70 PACIFIC COAST LEGAL SERVICES, INC
 9   Filing - D's opp to P's M leave to amend the
     complaint $47.70 PACIFIC COAST LEGAL SERVICES, INC
lC   Filing - Reply x2 $37,33 FIRST LEGAL NETWORK LLC
     Filing - oppostion to Motion to Stay Case $58.33 FIRST LEGAL NETWORK LLC
11   Filing - Motion for Summary Judgement $424.03 FIRST LEGAL NETWORK LLC
     Filing - Opp to Protective Order $35.00 FIRST LEGAL NETWORK LLC
     Filing - Advance Fees $1,476.98 FIRST LEGAL NETWORK LLC
12
     Filing - Motion to Strike $125,82 FIRST LEGAL NETWORK LLC
     Filing - Advance fees $666.99 FIRST LEGAL NETWORK LLC
13   Filing- 10 Docs $361.38 FIRST LEGAL NETWORK LLC
     Filing - Motion to Strike - Fees Advanced $467.00 FIRST LEGAL NETWORK LLC
14   Filing- Fees Advanced- MSA/DEC/PO/POS/MPA $1,377.15 FIRST LEGAL NETWORK LLC
     Filing - Objection to Plaintiffs request $32.95 FIRST LEGAL NETWORK LLC
15   Filing - Dec of Lunanne Rutherford $909.95 FIRST LEGAL NETWORK LLC
     Filing - D's Notice ofNonopposition $32.95 FIRST LEGAL NETWORK LLC
16   Filing- D's Notice ofNonopposition $32.95 FIRST LEGAL NETWORK LLC
     Filing MSJ reply brief$\23.50 FIRST LEGAL NETWORK LLC
     Filing - electronic submission $39.95 FIRST LEGAL NETWORK LLC
17
     Filing - Fees Advanced- Memorandum of Points
     and Authorities $986.15 FIRST LEGAL NETWORK LLC
18   Filing- Oppostion to Disqualify Judge $63. 14 FIRST LEGAL NETWORK LLC
     Filing - Demurrer with MTS $6. 75 FIRST LEGAL NETWORK LLC
19   Filing - oppostion $40.45 FIRST LEGAL NETWORK LLC
     Filing - D's Notice ofNonopposition $40.45 FIRST LEGAL NETWORK LLC
2C   Filing - Case management statement $40.45 FIRST LEGAL NETWORK LLC
     Filing - MTS - Fees advanced $540.65 FIRST LEGAL NETWORK LLC
21   Filing - D's Notice ofNonopposition $31.95 FIRST LEGAL NETWORK LLC
     Filing- Notice of Change of Firm Name $23.20 FIRST LEGAL NETWORK LLC
     Filing - D's Notice ofNonopposition $40.45 FIRST LEGAL NETWORK LLC
22
     Filing - Case management statement $40.45 FIRST LEGAL NETWORK LLC
     Filing - Demurrer with MTS. Fees Advanced $165.65 FIRST LEGAL NETWORK LLC
23   Filing- Reply Briefs $31.95 FIRST LEGAL NETWORK LLC
     Filing - MTS - Fees advanced $542.65 FIRST LEGAL NETWORK LLC
24   Filing- D's Reply Brief in Support $31.95 FIRST LEGAL NETWORK LLC
     Filing - MTS - Fees advanced $90.25 FIRST LEGAL NETWORK LLC
25   Filing- Stip of the parties to Extend - Fees advanced $901.95 FIRST LEGAL NETWORK LLC
     Filing - stip - order $42.70 FIRST LEGAL NETWORK LLC
26   Filing-Oppsition Dec $110.75 FIRST LEGAL NETWORK LLC
     Filing - Amended CMC Statement $90.25 FIRST LEGAL NETWORK LLC
     Filing- D's Opposition to P $31.95 FIRST LEGAL NETWORK LLC
27
     Filing      CM Statement $61.90 FIRST LEGAL NETWORK LLC
     Filing      Dec of Andrew S. Elliott $31,95 FIRST LEGAL NETWORK LLC                  Not McNamarn lawyer third party
28   fraud McNamara - attesting to bills and costs states he is the attorney, agent or party who claims these costs, See
     signature 8 14 2023 on Memorandum of Costs - no dates etc
     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

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 1
         •    Court attempting to rubber stamp Eumi Lee; Keith Fong despite exclusions and
              discrepancies
 2        • Court ordered Electronic service was ordered by Paul Herbert- due to not receiving·
              copies of documents claimed
 3
          • No invoices were provided dates, itemized when submitted simply vague list in bundles
              questionable. Fraudulent Andrew Elliot third party not an attorney with McNamara.
              Elaborate Discrepancies third party e filing, fax filing costs not recoverable as there is not
 5            a provision. Motion fees are $60.00; initial pleading $435.00 and motion for summary
              judgment $500.00. There are no filing fees for substitutions of attorney; withdrawal of
 6
              attorneys, Case Management Conference Statements filed, oppositions or replies.
 7            Misrepresentations fraudulent billings, inconsistent amounts. Ghost filings not filed on
              dates. Will be reporting to State Bar of California attempts to exploit disabled
 8            grandmother on social security disability attempting to save home, senior non attorney
     b. Item 11 Bates Model - $685. Not court ordered. Not reasonably necessary to the conduct of
 9
     the litigation and not helpful to trier of fact (see§§ 1033.5(a) (13), (c) (2).
lC   c. Item 4 Deposition Transcripts Non HOA Deponents - $1484. Costs related to transcripts not
     ordered by the Court are excluded by statute (see §1033.5(b) (5). Not court ordered Transcripts. 4
11   d. Item 16 Expert Fees - $5265. The boilerplate line item entries for expert costs
     are insufficient to establish that any and every portion of such costs was reasonably
12
     necessary to the conduct of the litigation and/or reasonable in amount. Not reasonably necessary
13   to the conduct of the litigation and not helpful to trier of fact (see§§ 1033.5(c) (2), (c) (3).
     These expert fees were not court ordered. 5 Not court ordered Experts.
14   This Reply is based upon: (1) this Reply and the Motion to Strike Tax Costs (2) the accompanying
15
     Memorandum of Points and Authorities; (3) the accompanying Declarations of Mary Bernstein and
     Elizabeth Tigano; and (4) any other evidence and argument as may be presented at or before the
16   hearing on this Motion.
                                                I. INTRODUCTION
17

18
     CED's memorandum of costs -was untimely filed and should therefore be stricken or
     denied in its entirety. Rule 3.1700 of the Rules of Comt provides that memoranda of costs must be
19   filed and served "within 15 days after the date of service of the notice of entry of judgment ... by the
     clerk." Unless CED were to bring and prevail upon a motion for relief from the 15-day deadline
2C   based upon some "mistake, inadve1tence, surprise, or excusable neglect" to excuse their untimely
21   filing (Code Civ. Proc., 473, subd. (b)), the Court should decline to award them any of their
     requested costs on account of their failure to comply with the mandatory time limit prescribed by
22   rule 3.1700. Even if CED were to belatedly bring such a motion for relief, and even if the Comt
     were to grant it-and the Plaintiff is not aware of any valid basis on which the Court could do so-
23
     the Cou,t should nevertheless substantially tax plaintiffs' request for $19,262 in costs, for two main
24
     Filing  Opp: Dec $28.80 FIRST LEGAL NETWORK LLC
25
     4 Non Court Ordered Transcripts

26   Athala Cevallos $371
     Sharon Massingham $510
     Tammy Fritz $603
27   5 Non Court Ordered Experts

     Expert Expert Fee
28   R. Blackseth Interests     Inc. $627.00
     H2 Engineers  Inc. $4637.50
     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

                                                      - 10 -
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     reasons.
 1
     First, CED are seeking to recover costs that are specifically prohibited under California
 2   law, including efiling and fraudulent filing fee charges, expert fees, bates stamping, and charges for
     transcripts not ordered by the Court. (See Code Civ. Proc., S 1033.5, subd. (b).)
 3   Second, CED demand payment for costs that were not "reasonably necessary to the con-
     duct of the litigation" and were instead "merely convenient or beneficial to its preparation." (Code
 4
     Civ. Proc., 1033.5, subd. @)(2).) CED produced Bates Nos. 2374, 3519 blank pages numerous
 5   blank pages provided in productions as well as completely irrelevant materials.
     Third, multiple litigation stays instituted wherein work was not to be performed.
 6   A reminder that Meadow Brook Village HOA is one Defendant of CED and therefore only at most
     entitled to 1/3 of any amount sought. Meadow Brook Village HOA seeks to recover for all of
 7
     CED, among many other things, more than $685 for bates without court order; Deposition
 8   Transcripts Non HOA Deponents - $1484 not court ordered excluded by statute, over $11,828 in
     "filing" charges, including for an attorney that is third party for union bank subpoena not with
 9   Farmers or McNamara and of which no filing who never made a single appearance in Court or at
lC
     any deposition, as well as approximately. Dec of Andrew S. Elliott $31.95 FIRST LEGAL
     NETWORK LLC Not McNamara lawyer third party fraud McNamara- attesting to bills and costs
11   states he is the attorney, agent or party who claims these costs. See signature 8 14 2023 on
     Memorandum of Costs - no dates etc. Christopher Allard was not the attorney of record and not
12   working on matter and cannot attest what occurred or what did not occur. A paralegal cobbled
13
     together billing from unknown sources.
     In addition, expert fees $5265 account for large amount of Meadow Brook Village's claimed costs,
14   but because not court ordered not entitled. Meadow Brook Village, CED have provided no
     documentation to support those requests (or any other requests), Plaintiff cannot assess whether
15
     such expenses were necessary to the conduct of the litigation, or reasonable. This reply is
16   voluminous because Plaintiff had none of these materials at the time of filing within statutory period
     motion to sttike. Defendants CED Meadow Brook only with opposition finally provided after the
17   fact itemized potentially fabricated documents substantial request. •
     In sum, the Court should strike CED Meadow Brook Village' Memorandum in its entirety as
18
     untimely. In addition the failure to provide documents until filing opposition to Plaintiff motion to
19   strike costs after questioning validity and whether or not fabricated by vendors, CED Meadow
     Brooks. But even if plaintiffs had timely filed their Memorandum, the Court should nevertheless
2C   substantially tax their requested costs as follows:
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     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

                                                     - 11 -
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 629 of 801




 1

 2
       Filing Fees   lg   $11,828               $11,828     Not reasonably necessary to the
 3                                                          conduct of the litigation and not
                                                            helpful to trier of fact
                                                            (see§§ 1033.5(c) (2), (c) (3) (c) (4)
 5                                                          (c) (5)

 6                                                          Court attempting to rubber stamp
                                                            Eumi Lee; Keith Fong despite
 7
                                                            exclusions and discrepancies
 8
                                                            Court ordered Electronic service Paul
 9                                                          Herbert
                                                            No invoices were provided dates,
1C                                                          itemized when submitted simply
                                                            vague list in bundles questionable.
11
                                                            Fraudulent Andrew Elliot third party
12                                                          not an attorney with McNamara.
                                                            Elaborate Discrepancies third party e
13                                                          filing, fax filing costs not recoverable
                                                            as there is not a provision. Motion
14
                                                            fees are $60.00; initial pleading
15                                                          $435.00 and motion for summary
                                                            judgment $500.00. There are no
16                                                          filing fees for substitutions of
                                                            attorney; withdrawal of attorneys,
17
                                                            Case Management Conference
18
                                                            Statements filed, oppositions or
                                                            replies. Misrepresentations
19                                                          fraudulent billings, inconsistent
                                                            amounts. Ghost filings not filed on
2C                                                          dates. Will be reporting to State Bar
                                                            of California attempts to exploit
21
                                                            disabled grandmother on social
22                                                          security disability attempting to save
                                                            home, senior non attorney,
23                   11   $685                              Not court ordered.
       Bates
       Model                                                Not reasonably necessary to the
24
                                                            conduct of the litigation and not
25                                                          helpful to trier of fact
                                                            (see§§ 1033.5(a) (13), (c) (2)
26     Deposition    4    $1484                             Excluded by statute
       Transcripts                                          (see §1033,5(b) (5)
27
       Non HOA                                              Not court ordered Transcripts
28     Deponents


     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

                                                 - 12 -
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       Expert       16      $5265                              Not reasonably necessary to the
 1
                                                               conduct of the litigation and not
 2                                                             helpful to trier of fact
                                                               (see§§ 1033.5(c) (2), (c) (3)
 3
                                                               Not court ordered Experts
 4
       TOTAL TO             $19,262.00          $19,262.00
 5     TAX

 6
      Non Court Ordered Experts
 7
      Expert Expert Fee
 8
      R. Blackseth Interests Inc. $627.00
      HZ Engineers Inc. $4637.50
 9
     Non Court Ordered Transcripts
lC   Athala Cevallos $371
     Sharon Massingham $510
11
     Tammy Fritz $603
12
     MEDICAL STAYS WORK NOT TO BE PERFORMED
13

14

15                                               Court Order             20

16    Medical Leave April     574 days
      11 2019 - November
17    4 2020 (1'1 leave
      April 11 2019 -
18    October 2019 Order
      extend) 2"" Leave
19    (October 2019 -
      November 2020
2C    Order lifting leave
      November 4 2020)
21    during Pandemic

22                                               Court Order             512
      Emergency Leave         83 days
      Mother Death 12 6
23
      2021 - February 26
      2022
24
                                                VESCO hearing            512
                                                Order
25    Emergency Leave         62 days
           Injury Facial
26         February 26
           2022-April
27         2022

28


     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 631 of 801




      COVID Long Covid      192 days             VESCO Court    512
 1    Leave July 2022 -                          Orders
      Janua 23 2023
 2
                            Total 911 da s
      March 19 2018-        Five Years
 3
      March 19 2023
                                                 1826 days
 4
      Add 911 days to
 5
      March 19 2023
 6
       Difference
 7                          Result: Monday,
                                  final
 8

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     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

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          II. BACKGROUND
 1
     Defendants ASSOCIA NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE
 2   ASSOCIATION - FREMONT, AND MASSINGHAM & ASSOCIATES' Corporate Entity
     Defendants ("CED") seek to recover over $19,262.00 in costs from Mary Bernstein Plainitf, an
 3   unrepresented litigant on social security disability fighting for her home. Summary judgment was
 4
     granted in favor of some of the Defendants in this action, three corporate entity defendants
     Massingham, Meadow Brook and Associa ("defendants"); however case is not over and scheduled
 5   for trial January 2025.CED also seeks attorneys' fees of$88,134.75. nnder Civil Code section 5975
     (c). Plaintiff filed an objection to proposed judgment on July 12 2023 submimed by Defendants.
 6   Initial proposed judgment in 2022 and executed did not contain fees or costs amount. Plaintiff filed
 7
     motion for reconsideration ofthatjudment. New counsel submitted a new Judgment entered July
     17, 2023. Notice of entry of Judgment served July 28, 2023. Defendants then subsequently filed on
 8   August 14, 2023 untimely memorandum of costs in the amount of$19,262.00. This was 17 days
     later. California Rules of Court Rule 3.1700 A prevailing party who claims costs must serve
 9
     and file a memorandum of costs within 15 days after the date of service of the notice of
lC   entry of judgment or dismissal by the clerk under Code of Civil Procedure section 664.5 or
     the date of service of written notice of entry of jndgment or dismissal, or within 180 days after
11
     entry of judgment, whichever is first. Plaintiff filed August 18 2023 motion to strike costs
12   form as there were no invoices attached or dates simply vague lists and amounts. Plaintiff had no
     information, dates or what to dispute other than vague amount placed there. Further, California
13   Rules of Court Rule 3.1700 states the memorandum of costs must be verified by a statement of
14
     the party, attorney, or agent that to the best of his or her knowledge the items of cost are correct
     and were necessarily incurred in the case. Luanne Rutherford is the attorney that worked on the
15   matters with the law firm; Christopher Allard did not work on this matter for dates in question
     and therefore cannot engage in conjecture for another attorney that incurred these costs in the
16   case. Further, costs have disingenuously be allocated to the cost memotrandum and attorneys
17
     motion for fees from several other cases which Plaintiff will demonstrate. There are several
     restraining order matters, Department of Public Safety Attorney General, California Department
18   of Fair Employment and Housing matters, California Civil Rights matters, and U.S. Department
     of Housing and Urban Development matters of which are not this HG 18897381 Alameda
19   County Superior Court matter at hand. Motion for attorney fees iin the amount of $88,134.75
2C
     September 26, 2023. Plaintiff filed motion to strke tax costs form as there were no invoices just a
     list ready to be rubber stamped by Judges Eumi Lee and granted without hearing by Judge Keith
21   Fong bankrupting disabled senior citizen.
22
     CED attetmpts to obtain reimbursement of costs under Cal. Code Civ. Proc.§ 1032 et seq, includin1
23
     expenses that were not actually incurred by CED, and/or are not expressly allowed by § l 032 et seq,
     and/or are not allowed as discretionary costs under§ 1033.5.
24   For example, CED seeks costs for improper filings, efiling costs, deposition costs not incurred by
     CED, research, bates stamping, non court ordered transcripts, non court order expert fees, associated
25
     with other cases, other attorneys, among others that were clearly incurred as a convenience or
26   benefit to the conduct of the litigation rather than reasonably necessary costs.
     CED has failed to meet its burden in showing both in its Memorandum of Costs
27   ("MOC") and in its Opposition that many of these costs are allowable, and if they are allowable
     or discretionary, that the amounts it seeks are reasonable and necessary. In its Opposition
28
     CED attempts to justify its unreasonable and unnecessary costs, but instead expressly supports
     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 633 of 801




     PlaintiffMaiy Bernstein's contentions that it voluntarily assumed costs including but not limited to
 1
     counsels' bates stamping, legal research, non court ordered expert witness fees, non cout1 ordered
 2   transcript fees, and third-party costs for its own convenience and/or benefit in
     preparation. Plaintiff on social security disablilty respectfully requests that this Court grant its
 3   motion to tax and reduce to zero $0 CED's MOC in addition to any such costs the Court deems
 4
     appropriate to tax given that CED has not adequately specified, or adequately explained the
     discrepancies in, costs and descriptions associated with filing costs, Therefore, Plaintiffs motion to
 5   tax and reduce all of the $19,262 to $0 awarded of the total amount sought should be granted. In
     addition, Declaration of Andrew Elliott an attorney not even affiliated with McNamara but an
 6   attorney at Severson representing third pai1ies. CED have attempted to bankrupt and take Plaintiff
 7
     ai1d her fainily's home since the beginning exploiting vulnerabilities of disabled ai1d elderly
     homeowners. Below listing California Statewide filing fees are not excessive amounts attempted to
 8   be reimbursed fraudulent. Initial answer or complaint $435.00; motions $60.00; $500 motion for
     summary judgment; no filing fee substitution of attorneys listed anywhere on fee schedule.
 9
     Published here chrome-
lC   extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.courts.ca.gov/documents/Statewide-
     Civil-Fee-Schedule-eff-O 1012023. pdf https ://www.courts.ca.gov/7646.htm
11   III. STANDARD OF REVIEW
     California law recognizes three types of litigation costs: (I) allowable; (2) disallowable;
12
     and (3) discretionaiy. Code Civ. Proc.§ 1033.5, subds. (a), (b), (c)(4). For allowable and
13   discretionary costs to be recoverable, they must be both "reasonably necessary to the conduct of
     the litigation rather thai1 merely convenient or be11eficial to its preparation" a11d "reasonable in
14   ainount." Code Civ. Proc.§ 1033.5 (c)(2-3). If specifically allowable under section 1033.5, the
     party challenging the costs has the burden of showing that the costs sought are not reasonable or
15
     necessaiy. However, if the costs not specifically allowable are objected to, then the burden of
16   proof lies with the requesting party to demonstrate that the costs were necessary and reasonable.
     Ladas v. Cal. State Automobile Assn. (1993) 19 Cal.App.4th 761,774. Whether a cost is
17   reasonable is a question of fact. Lubetzky v. Friedman (1991) 228 Cal.App.3d 35, 39. CED
     submitted its MOC and Plaintiff Mary Bernstein respectfully requests that the Court tax CED's
18
     costs as set forth below.
19
     chrome-
2C   extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.courts.ca.gov/documents/Statewide-
     Civil-Fee-Schedule-eff-O IO 12023 .pdf https://www.courts.ca.gov/7 646.htm
21
     California Couit Statewide Civil Fee Schedule
22   INITIAL FILING FEES IN CIVIL CASES
     Answer or other first paper filed by each pai1y other than plaintiff(amount over $25,000) (including
23   unlawful detainer) GC 70612, 70602.5, 70602.6 $ 435*
     Motion for summary judgment or for summary adjudication GC 706 I 7(d) $ 500
24

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     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

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     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS
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     UNTIMELY CALCULATE DA TES
13   MATTER IS NOT CONCLUDED HAS NOT HAD TRIAL
     DID NOT HAVE INVOICES ERRONEIOUS WHEN MEMO COSTS FILED
14   JUST LISTED WITH NO DATES, NO DOCUMENTATION, BUNDLED
     Plaintiffs saw invoices for the first time with opposition as these were not filed with memorandum
15
     of costs terhrefore plaintiff a non attorney is addressing these costs now in this comprehensive reply
16   NOW WITH OPPOSITION INVOICES DRUMMED UP
     COSTS NOT ALLOWED
17   IV.ARGUMENT
18        A. MeadowBrook the HOA, CED have waived their right to recover any costs
     The Court should strike Meadow Brook Village CED Memorandum of Costs in its entirety because
19
     Meadow Brook Village
2C
     failed to file and serve it within the mandatory 15-day deadline established by rule 3. I 700(a) of the
     Rules of Court.
21        Rule 3. l 700's 15-day deadline is "mandatory." (Hydratec, Inc. v. Sun Valley 260 Orchard &
          Vineyard Co, (1990) 223 Cal.App.3d 924, 929.) And the consequence of missing the deadline is
22
          waiver of the right to recover any costs.
23        Plaintiff filed an objection to proposed judgment on July 12 2023 submittted by Defendants.
          Initial proposed judgment in 2022 and executed did not contain fees or costs amount. Plaintiff
24        filed motion for reconsideration of that judment. New counsel submitted a new Judgment
          entered July 17, 2023. Notice of entry of Judgment served July 28, 2023. Defendants then
25
          subsequently filed on August 14, 2023 untimely memorandum of costs in the amount of
26        $19,262.00. This was 17 days later. California Rules of Court Rule 3. 1700 A prevailing party
          who claims costs must serve and file a memorandum of costs within 15 days after the date of
27        service of the notice of entry of judgment or dismissal by the clerk under Code of Civil
          Procedure section 664.5 or the date of service of written notice of entry of judgment or
28
          dismissal, or within 180 days after entry of judgment, whichever is first. Plaintiff filed August
     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS
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         18 2023 motion to strike costs fonn as there were no invoices attached or dates simply vague
 1
         lists and amounts. Plaintiff had no information, dates or what to dispute other than vague
 2       amount placed there. Further, California Rules of Court Rule 3.1700 states the memorandum of
         costs must be verified by a statement of the party, attorney, or agent that to the best of his or her
 3       knowledge the items of cost are correct and were necessarily incurred in the case. Luanne
 4
         Rutherford is the attorney that worked on the matters with the law firm; Christopher Allard did
         not work on this matter for dates in question and therefore cannot engage in conjecture for
 5       another attorney that incurred these costs in the case. Further, costs have disingenuously be
         allocated to the cost memotrandum and attorneys motion for fees from several other cases whic
 6       Plaintiff will demonstrate. There are several restraining order matters, Department of Public
 7
         Safety Attorney General, California Depattment of Fair Employment and Housing matters,
         California Civil Rights matters, and U.S. Department of Housing and Urban Development
 8       matters of which are not this HG 1889738 l Alameda County Superior Court matter at hand.
         Motion for attorney fees iin the atnount of $88,134.75 September 26, 2023. Plaintiff filed
 9
         motion to strke tax costs form as there were no invoices just a list ready to be rubber stamped by
lC
         Judges Eumi Lee and granted without hearing by Judge Keith Fong bankrupting disabled senior
         citizen.
11       l]fthe one party fails, within the time prescribed to file and serve his memorandum of costs, then
         he is to be conclusively deemed to have waived the costs, if any, accruing in his favor.'" (Davis
12
         Lumber Co. v. Hubbell (1955) 137 Cal.App.2d 148, 150.) Following this rule, courts enforce
13       rule 3. l 700's mandatory time limit and strike memoranda that are un-timely served. (E.g.,
         Sanabria v. Embrey (2001) 92 Cal.App.4th 422, 425~426 [error to award costs where
14       memorandum was not filed within 15 days after service of notice of entry of dismissal].) The
         Court should do so here. Meadow Brook CED seemingly recognized their own untimely filing,
15
         so they then attempted to cure it by submitting documentation with their opposition to Plaintiffs
16       motion to strike costs. As a matter of symmetry and basic fairness, the Court
         should apply the rules here strictly and find that plaintiffs' untimely costs memorandum has
17       waived their right to recover costs.
18
     B. MeadowBrook the HOA, CED may not recover certain categories of costs that are expressly
19
     precluded by section 1033.5(b).
2C
     If the Court does not strike Meadow Brook Village, CED's Memorandum and deny costs entirely
21   due to the un-timeliness, the Court should nevertheless tax the entire amount of several categories o
     costs that California law expressly bars plaintiffs from recovering.
22
     "It is axiomatic that the right to recover costs is purely statutory, and, in the absence of an au-
23   thorizing statute, no costs can be recovered." (Garcia v. Hyster Co. (1994) 28 Cal.App.4th 724,
     732.)
24   The authorizing statutes in this case are Code of Civil Procedure section 1033.5, which applies to
     civil actions generally, and section 14030 of the Elections Code, which applies to C VRA cases.
25
     Section 1033.5 lists certain allowable costs (in subdivision (a)) and certain excluded costs (in
26   subdivision (b)); it also gives the trial comt discretion (in subdivision (c)(4)) to allow or deny any
     other costs that are not specifically enumerated in either subdivision (a) or subdivision (b). (El Do-
27   rado Meat Co. v. Yosemite Meat & Locker Serv., Inc. (2007) 150 Cal.App.4th 612,616; Sci.
     Applica-tions lnt'l Corp. v. Superior Court (1995) 39 Cal.App.4th 1095, 1103.) Although section
28
     1033.5(b)(l) provides that "(flees of experts not ordered by the court" "are not allowable as costs,"
     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 637 of 801




     section 14030 of the Elections Code expressly provides otherwise, making recoverable "litigation
 1
     expenses including, but not limited to, expert witness fees and expenses as part of the costs."
 2   Elections Code section 14030 does not otherwise "expressly authorize[]" the recovery of any costs
     that are "not allowable'S under subdivision (b) of section 1033.5.
 3
     Here, plaintiffs seek to recover costs that fall into several prohibited categories: (i) "bates numberin
 4
     efiling expenses (this court did not have efiling until October 2022"- motion fees are standard only
 5   $60.00 with the exception of$435.00 initial filing fee and motion for summary judgment $500); (ii)
     expert fees not ordered by the court"; and (iii) "Transcripts not ordered by the court." (Code Civ.
 6
     Proc., 1033.5, subd.
 7
     ''[B]ecause the right to costs is governed strictly by statute, a court has no discretion to award
     costs not statutorily authorized." (Ladas, supra, 19 Cal.App.4th at p. 774, citation and italics omitted
 8   [collecting cases].) Costs associated with obtaining transcripts that are not ordered by the court are
     not recoverable. (Code. Civ. Proc., 1033.5, subd. (b)(5).) Meadow Brook Village is entitled to
 9   recover a lesser amount for "[c]ourt reporter fees as established by
lC
     statute" (Code Civ. Proc., 1033.5, subd. which are "an entirely different expense" from
     transcripts.
11       C. The Court should tax costs that are not reasonable in amount and/or not reasonably
12   necessa,y to the litigation.

13   Even if a cost is potentially allowable under section 1033.5, it does not become automatically
     recoverable in whatever amount a prevailing patty demands. To the contrary, there are two addi-
14
     tional limitations on any request for cosib, which serve to protect against a prevailing patty's abusiv
15
     demands for unnecessaty costs.
16
     First, "[a]llowable costs shall be reasonably necessa1y to the conduct of the litigation rather
17
     than merely convenient or beneficial to its preparation." (Code Civ. Proc., S 1033.5, subd (c)(2); see
18
     Charton v. Harkey (2016) 247 Cal.App.4th 730, 743.) Second, "[a]llowable costs shall be
19   reasonable in amount." (Code Civ. Proc., S 1033.5, subd. (c)(3); see In re Ins; Installment Fee Cases
2C   (2012) 211 Cal.App.4th 1395, 1431, fn. 24.) The Court thus must disallow any costs (even those
21   "allowable as a matter of right") that are not "reasonably necessary" and must also reduce the

22   amount of any allowed costs to that which is "reasonable." (Perko 's Enters., Inc. v. RRNS Enters.

23   (1992) 4 Cal.App.4th 238, 244-245.)

24
     C. The Court should strike all costs as this matter personal injury not enforcment of governing
25
     documents
26   The Court should strike all costs as this matter personal injury not enforcment of governing
     documents as exhibited in civil cover sheet for filing and are not recoverable that are not reasonable
27   in amount and/or not reasonably necessary to the litigation. Breach of contract one aspect of
     complaint. Plaintiff had limited scope attorney that was not eligible for practicing law, plaintiff a
28
     disabled litigant not an attorney at the time of the filing of the preliminary complaint. This attorney
     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

                                                       - 20 -
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 638 of 801




     can no longer practice law is in a hospice and State Bar victims compensation fund. Plaintff won a
 1
     small claims trial in this matter in this Court in 2019 for reimbursement ofretainer. Exhibit A to
 2   Declaration of Mary Bernstein,
          D. MeadowBrook the HOA, CED must substantiate more than $5,000 in expert fees
 3   CED Meadow Brook Village must provide documentation to support their request for more than
     $5,000 in expert fees. With only a single line entry listing an amount for each expert (Mem. at
     Attachment 16), Plaintiff cannot say with any certainty whether Meadow Brook CED are requesting
 5   reasonable or unreasonable amounts, or whether the charges at issue were necessary to the conduct
     of the litigation. Once objected to, the party claiming expert fees must "produce[] sufficient
 6   documentation" enabling the "determin[ation oft the necessity" of expert fees including a
 7
     declaration from counsel "as well as [] the paid invoices themselves." (Jones, supra, 63 Cal.App.4th
     at pp. 1266-1268; see also Levy v. Toyota Motor Sales (l 992) 4 Cal.App.4th 807, 816 [affirming
 8   trial coutt's taxation of costs where claiming party "offered no substantiation of the challenged
     charges in response to [the] objections" raised in motion to tax].)
 9
     V. CONCLUSION
lC
     For these reasons, the Court should grant the Plaintiffs Motion to Strike Plaintiffs' Memorandum
11
     of Costs, as set forth in the table in the above for disabled, elderly social security litigant that
12
     filed personal injury matter not enforcement of governing documents with aid of limited attorney
13
     not qualified to practice law. State Bar rendered this attorney ineligible and this Court awarded
14
     retainer based on malpractice and ineffective assistance of attorney at small claims trial award
15
     Exhibit A Declaration of Mary Bernstein in support of reply motion to strike costs.
16
     DA TED: September 3 2024
17

18

19

2C   _ _ _ _M.ARY BERNSTEIN
21

22                                               PROOF OF SERVICE
23

24                   On September l, 2023, I served the following document(s) by email:
25

26

27   Christopher Allard
28   Email: christopher.allard@mcnamaralaw.com

     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

                                                       - 21 -
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 639 of 801




 1

 2

          I declare under penalty of perjury that the foregoing is correct.
 3

          Executed on September I, 2023, at Fremont, California,

 5

 6

 7

 8
     11
          ____          .MARY BERNSTEIN
 9

lC

11                                                    PROOF OF SERVICE
12                       On November 10, 2023, I served the following document(s) by email:
13

14

15

16                                                        Aarti Thakur
          Christopher Allard
                                                          Ashkok Agaral
17                                                        Associa Northern California
          Email: christopher.allard@mcnamaralaw.com
18
                                                          Bay Area Property Services, Inc
                                                          Belinda Hollingsworth
19                                                        BJ Management Solutions
                                                          Chandan Sheath
2C
                                                          Charlie West
21                                                        Estate of Charlie West
                                                          COMMON INTEREST MANAGEMENT
22                                                        SERVICES, INC
23
                                                          Daisy Zafra
                                                          Derc Yamasaki
24                                                        Elizabeth Hall
                                                          Geraldine Linares
25
                                                          Jeffrey Lowery
26                                                        Jerry Cosentino
                                                          Jill Buono
27
                                                          Joseph Morrison Brody
28                                                        Laurie Sheaffer

          REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

                                                            - 22 -
        Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 640 of 801




                                                                  LeAnne Ritter
 1
                                                                  Lee Molignoni
 2                                                                Linda Kramer
                                                                  Mark Simonson
 3
                                                                  Marv Fryman
                                                                  Massingham & Associates
                                                                  Meadow Brook
 5                                                                Mike Durbin
 6
                                                                  Rohit Varicatt
                                                                  Romulo Zafra
 7                                                                Sharon Daly
                                                                  Susan Candia-Hernandez
 8
                                                                  Tilak D. Hodge
 9                                                                Vipul Ramani
                                                                  Virenda Dhavale
lC
                                                                  William Schneider
11   I declare under penalty of perjury that the foregoing is correct.


12   Executed on November 10, 2023, at Fremont, California

13

14

15                                                                          MARY BERNSTEIN

16

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2C

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     REPLY IN SUPPORT OF PLAINTIFFS MOTION TO STRKE TAX COSTS

                                                                     -23-
                  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 641 of 801




     ATTORNEY OR PARlY WITHOUT ATTORNEY (neme end Address):                        TELEPHONE NO.: (510) 938-8280             FOR COURT USE ONLY
     MARY BERNSTEIN, MSAJS
     3416 Deerwood Terrace, #113
     Fremont, CA 94536
     Emall: mbem!leinpurple@hotmall.com




                                                                                                                        J  FILED
     ATTORNEY FOR (Name):

     SUPERIOR COURT OF CALIFORNIA, COUNTY.OF ALAMEDA                                                                   ALAMEDA COUNTY
     STREET ADDRESS                                                                                                           ij
     MAILING ADDRESS:

•~c1_T_v_A_N_D_z_1p_c_o_D_E_,
r BRANCH NAME:
                             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--1BryL~
                                                                     ~·-
     PLAINTIFF/PETITIONER:             Mary Bernstein


     DEFENDANT/RESPONDENT: As<ior.ia, et al,



              NOTICE OF MOTION/ MOTION FOR ORDER                                                                   CASE NUMBER: HG18897381
                STRIKING AND/OR Rl;:DUCING COSTS                                                                   filli~&ati!l11 Number
                TAX NG COSTS C.R:C. Rule 3.1700 b                                                                  647344049157
H_c11ri11g n~te:           :;)0")..':(       Time:           .s,.--   Courtroom:__,.~""/_.:)..--<-----
J'iling Datc ofOrigiual Cn11111lai11t or Petition In this Case: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

I.           My/nm nrnne(s) is/:1re                      Mary Bernstein_.
2.           I/we rnn/nre 1h,·         Plnintiff(s)/Petitione,r(s) D Dcfendant(s)/Respondent(s),
3.           I/we "111/nn· :\.ski:•:' I he COllrt for a'l onf~r striking and/or reducing costs requested by the other side in the
D Request lo Enter J)c,l:1:ilr lll!lpostjud~ent Memorandum of Costs dated 8/14/2023                       and
served D in person        h\' crnail,'on (dale,ofservlce)   8/14/2023             in this case,
4.     D I/we rcq11est 11,,,, Ihe c~rrrt strike the following items from the O 'Request to Enter Default D post
judgment Mernonrndu,11 • ' Cosls: ALL·."                                    ,,'
              lll!ltem 1'111111    •ei' • 1 ._..   _J.::.1.!i '   '·       fc\r II attorneys' fees        ■deposition costs     II! expert witness fees
             II filing f'i•(•~ !'.<-'-- "1hf'I' (de,,.crihe): _ _~ - - - - - - - - - ~ - - - - - - - - - - - - -
5.           The i-e:1snn !',1 1• .'•::in!.' !hc:-;e cost.iitems are:
             ■ there was 110 '""1trnct or statute that provided for attorneys' fees.
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      Ill th,, ,·,p,•1·1 ,, • ••··ss l~es cannot be recovered in lhis case because I made a written offer to settle under
Code of Ci,.,:: :·,,.·,•,I,      ,1in11 ')'.)8 which the'other· side refused, and the other side did not get a better award.

             [J the lawsuil , , " ! h:ive been brbught.in small claims court but was not (See CCI' § I 033(b)(l)).
             [I llw plni<11 i      •r !'·: • ,.I to inform the' defe11dant in writing thut a lawsuit would be filed and that the lawsuit
could result i,: ti+ 1 ',: ' • 1vi11g lo pay cci'ur\ costs and/or attorne.ys,' fees (See CCP § 1033(b)(2)).
             0 01li,_•r (d1·s,·1f/,                                    •                          • ...

6,      D 111 the: ;ilr,:r•·: • ,,. if' 1hc comi aoes 'not stl'ikc the cost items, D I/we requc.st that the court reduce
the followirn, ilc,"" r,, .,., : :<' 1·1 Request to Enter Default 'ill post judgment Memornndrnn of Costs:
             11! ll•'!ll '"""'•'·"           -c~l:16                               he reduced from $._____ to$                     o _ _ _~

respectively.
ldP'flr>rihPI •
                Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 642 of 801




  Bernstein v. ;\:;sncia. l'l nl                                                                                          HG18897381
  Short Title                                                                                                             Case Number
5.         The 1·cnfion 1: q            1 1
                                              cing tl-•ese cost items are:
           D this case wu:; I,". collec'tion of money or unlawful detainer,./he judgment was by default, and the
           attorneys' fees,,,,. ,nnre than-the amount allowed in Rule 21.01 ofthe Ventura Rules of Court.
           D the atlnrn,•v'•· 1>"s arc 1110,·e than the amount the plaintiff asked for in the complaint.
         Ill the cxpn' "                ''i   ·ss (1wme ofexpert)    R. Blackseth Interests, Inc} H2 Engineers, Inc. was not appointed by
the court nnd liis/1\('1 r                    ,.,, ahnve the allowed per diem and mileage fees and should not be charged as an item
of cost in this case.
         II other (ilesaif1<'f • __ _j_~_ki_i.I.1.liff has a fe~' waivel' is on socii1 I security and should not be pe1rn1i7...<;:;_Q_J9r bringing litigation
personal ini~~O". l'or cnu:;~•~ 111 1,·1i1m_byhJIOA trying to take home
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                                                                             DECLAR1\TION
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     8. Ill II has 1w,., •                   •irnn I] 15 days since I was personally served 020 days since I was served by mail
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     9. Ill This in,,,,"'' •                  .,.,,,<[ 011 0 an account            D 11,·n1,iissory note O contract other/describe)_____
     ~''""' i1,i111".                               ________ lhat di<.! not includ,e language for reimbursement of attorneys'
     fees.
     10. 0 !/we allnw,                    ,,,,1 111,lt jndgrnent in this case ba,-.·rl 011 the $______ amo1111I the
     plaint i l'li'pet i! ir qi . ·1    ,,,,·,;111d in the complaint for[I nllorneys' fees D other costs,
     11. [_I Tlw r_1,,,, ,,.                    l,11·s [] other costs awarded to plaintiff/petitioner are$                        - - - - more than
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     12, 1¥ i 1w~· t:,''."<•;'             ,,.,I " written offer to comprn,ni·,c (settlement offer) l!l1dcr Code of Civil Procedure
     section ()')8 Cl I•! .i.,,             ·r sidP f!Ot a r~S~ frwornhle judi!mcnt than the offer I/we reeeivl·'d.
     13. ■ !/we :,;c!-v1·• 1 •             l't"<'r In ,·nmpri;mise 11nde1· Cnd,• of Civil Procedure section 908 before the winning
     party i11,·111Te'I 11-                  I/we· ,11·e usk(11g be stricken nr rn.lllced, and the judgment t1wnr·ded in this case was
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     Date:
               Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 643 of 801




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          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 644 of 801



                                                       , ',on Brody


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                                                         '', Associates




                                                        "-Hernandez




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          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 645 of 801




                                                                                                                                                                                       MC-010
                                                                                                                                  '
    ATTORNEY OR PARTY WITHOUT ATTORNEV;                                           STATE BAR NUMBER;                                                       FOR COURT USE OHL V
                     B. Allard (SBN 264842)
    ""'' Christopher
           McNamara, Ambacher, Wheeler, Hirsig & Gray
    F1l'u.01M1E.
               3 4 8 Q Buskirk Ave'#250
    ilTREeT I\ODRES_S.
      Pleasant Hill
    CIT'!'.                             STATE.CA ZIPCODE: 94523
  mEPHONENO., (925) 939-5330 . ,  .- FAXNO.,               •
    E.fMlLADORESS.       christophe:r. ai1a,l;',9'@mcnamaralaw .• com"
  ATTORNEYFOR/nam,):        Associa ;North~:frn CalifOrnia et· al.
    SUPERIOR COURT OF CALIFORNIA, COUNT'( OF A LAME DA •
                                                                                                                                  .,.
    STREET N>ORESS. 24405 Amador s-ereet
                                                                                                                                      ..
    MAlltliG ADDRESS.                                          _ :·t;•                                                          ~·- .
    C1TYAN0Z1Pcooe; Hayward,               CA 94-.fi~4
         aRANCHNAME:      Havward Hall 9tf;;-Justi.Ce
       PLAINTIFF; Mary Bernstein:,··:';
      DEFENDANT:Associa Northe1;h                                             Calitornia, et al. •
                                                    .•.       ,..                                                                          CASE NUMBER;
                              MEMORANDl.!M (!F COSTS ~1.UMMARY)                                                                   ·,.,
                                                  . ·~                           ' :   .                                    ,:c            HG18897381
 The following costs are requGsted(''',.                                                                                                                                  TOTALS
 1. Filing and motion fees                          ,,•,;,\~.,                     .. •                                                               $                         11,828
 2, Jury fees                                                                                                                                         $

 3. Jury food and lodging                             ::)                                                                                            $
 4, Deposition costs
                                                      '·:,;,                                                                                         $                           1,484
                                                              , ' lf
                                                      •. j,
 6, Service of process                                    '     .......                                                                               $
 6, Attachment expenses
                                                          :,                                                                                         $
                                                   . ~s'·
 7, Surety bond premiums
                                                    '.                                                .           , : ,,_   ''/
                                                              ....
                                                          , ,.,· ...                                      "
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                                                                                                                   • i/
                                                                                                                       ,"ir'.
                                                                                                                                                     $
 8. Witness fees                                      . , • ,::..                                                 ,'- ; ,                             $
 9, Court-ordered transcripts          .• ,·_)-\                                 _,, .                                                               $
                                       ' ••◄· '                               ,· .,,
10. Attorney fees (enter here ,r contrecttial·or statutory leas are flxedWlthduf.pacesslty of a court
    detetmfnation,· otherw/$e a noticed m.~ Is requfied)                            ·•,•                                                              $
11. Court reporter fees es estebll~~ed tSyi~tut8 •                                                                                                   $
                                      ~ ...,,n.   .
12. Models, enlargements, and ptioto~pi~fof exhibits                                                                                                 $                                 685
13. Interpreter fees                                                                                                                                  $
14. Fees for electronic flllng or service ,'.:'.               jf                                                                                    $

15, Fees for hosting electronic docu~e~~,                                                                                                            $

16. Other                                         • :,-.;,:'°'!,.                                                                                    $                           5,265

ITOTAL COSTS                                         _::~1·                                                                                          $                          19' 262

I am the attorney, agent. or pa~ who ¢1~!~~ the~e costs, To the best of my knowli,dge and belrefthls memorandum of costs Is correct
and theH costs were neceHarlly inCut03dJ~'thls ease,                 •      ,                          ·
                                                    ...          '
Date: Pi11gnst 14                 2023·                       '•


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                                                                          MEMORANDUM OF COSTS (!l\lMMARY)                                                                   Codo or Clv~ Proi::edue,
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          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 646 of 801




                                                                                                                                                                            MC-011
   SHORT TITLE                                                        0
                                                                                                                                             CASE NUMBER:
   Bernstein v. Meadow Brook Villaige HOA                                                                                                    HG18897381
                                                                 ,,-         ._~         -l


                                                          : fylF,MORANDUM OF COSTS (WORKSHEET)
                                                            ;-'1,              •



1. Flllng and motion fees
                                           Paper filed'.                                                                              flllrw..ln
     a       See      Attachment 1g                                                                                            $ ---~J~J-,..,.8~2~8~

     b.                                                                                                                        $ -------
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     C.
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     d.

     e.


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            IX] Information ·about addltionaffillng and 'motion fees is contalnEid In:Attechment 1g.
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                                                     ·,.: : '                                                      . . r.                     TOTAL 1. 1~$_ _ _ _1_1~
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2. Juryfees                                          ~ :,:,.,
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                                !lfil!!                                                              Fee &Oilleaae
     a.                                                                                $ _ _ _ _ _ _ _ _ _ _ _ __

     b.
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     o,                                                                                .:l-----'--r'------
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     d.                                                                                '$ _ _ _ _ _~ ~ - - - - -
                                                     •'     •             ,.,,r                                          •
     e,     □ Information about addltlo~I f{cy feel Is contained I~ Attachni'erl\ ~e .
                                           . ':,,-.,i: ·,·_                                          .         ', •:.(
                                                          • ,'I~                                          .....                              TOTAL 2.      :::1$=====~al
3. □ Juror food;"----~-'-'--·~- and lodging:$                                                                                                TOTAL 3.      "'\$_ _ _ _ _--'-Jal
4. (XI Deposition costs

                 Name of deoonent                                                             Trens0 d~lcia •                      Iwfil           Vldeotaolna       ~
                                                    - :     \',!
     a.     Atba]a Aev:allbs                          ~ ,,'                              $ ---3~7~J~<,____ _ __ $                                                $        32]

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     c.     T      Fritz                       '.', :·$ _ _ _ __ $                                       603 $ '                              $                  $        603
                                                                                                                         ."•tt
                                                                                                                               .,.·
    d.                                                                                   $                                                    $                  $
                                                .          ,           .        .-
    ••      □ Information about Bddltiona~deposltlon costs Is contained In At:ta~hmerlt 4e.
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                                                                                                                  ·.,,f
                                               .:,, ./r~:t                                                        ,• ✓                       TOTAL 4,
                                         ':.· .~::ft~.      . (Conun·ued_oll reve~S9Y,'-·•                                                             Page          of
,.m ,.,,.... ,. ""'""' UH
JwldalOoutu:llolc.tlibmia       cm· 1ffl n11a1'. ••. ~EMORANOUM OF. COSTS (WORK_SHEET)
                                          1H         •· ,                          ,             .        •        ••
MC-011 [Rtv. Stl)ltmbW 1, 20m   -.com • Formr •. :i ••                                         _ / • .:' ·~: ... !'            '             CBA

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           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 647 of 801




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   SHORT TITLE                                                                                                      CASE NUMBER:
    Bernstein v. Meadow Brook Village HOA                                                                           HG18897381

 5. Service of prooe&S
                                                                                Reaistered
                 Name of oeraon served            pybllp officer                 ~                    PubllcaUon                           OJher {speciM
      a.     _________ $                        -~---!------~---$ - - - - - - - - - - - - -
             _______ $                                                     $_ _ _ _ $_ _ _ _ $ _ _ _ _ _ _ _ _ _ __
      b.
             _ _ _ _ _ _ _ $_                                          ·$ _ _ _ _'$ _ _ _ _ $ - - - - - - - - - - -

      d.     □ Information about addltlonel. costs for service of process Js ~1J(,~ In Attachment 5d.
                                                                                              _:':'    •           TOTAL          s. :='$======o~I
6. Attachment expenses (specify):                                                                                                 6.        ~j$_ _ _ _ _ _ _      ~J


                                                           ·'


                                                                           •'
7, Surety bond premiums (itemize bonc/s ahd Bmoimts):                                                                        7.            !=$_ _ _ _ ____,
                                                • ,'•     ••               t
                                                  ·,    ,,'',




                                                   ..                                                      •
8, a. Ordinary witness feea
                                               ', ';•
                      Name of witness                           Dai~y fee                                          MIieage                             Total
                                                :~· :.'
           (1) - - - - - - - - - - + , - d a y s ""------$!d_ay,-,--mlles el _ _ ¢/mlle:                                                         $                   oj
                                               . 'i•'
           (2) - - - - - - - - - . ~ d a y s a                                               $1gay_·,_-_mlles at _ _ ¢/mile:                     $                   oJ
                                   ..,,                                                 .    :. ::: ,.,.,,
           (3) _ _ _ _ _ _ _ _ _ _ _,_days a                                                .-$/day____ mllesat _ _ ¢/mile:                      $                   al
           (4)                                   _._._days a
                                               • 0:,'
                                                                                             $idaY,.,-mlles at _ _ ¢/mlle:                       $                   ol
           (5) _ _ _ _ _ _ _ _ _ _ _ _ da¥5 ••~----$/day_ _
                                                          - _miles at _ _ ¢/mile:                                                                $                   oj
           (6) □
                                                                                        "
                                                 ' ordlna.ry.wltness fees Is c:ont~l~ed·'· In Attachment 8b{6),
                        Information about-addltlonal
                                                                                                                                       •



                                                                                                               SUBTOTAL 8a. ' ~ $ - - - - - - ~                 al
                                                       ., ~;nttnued on next page)
MC-011 !Aev. Soplenbe, 1, 20171                    MEMORA}UM OF COSTS (o/ORKSHEET)                                           Page, _ __              of
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             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 648 of 801




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      SHORT TITLE                                                                                               CASE NUMBER:
      Bernstein V. Meadow BrooK •Vil:1ilg'e HOA                 '•'-
                                                                                                                HG18897381


    8. b. Expert fees (per Cade of Clvif Procedure .section 998)                        .:;~:I,
                             Name of witness .,                                    Fee
               (1)                                                   hours at$                            1hr                               0

                                                                                                                       Ii
               (2)                                                   hours et$                            1hr                               0
               (3)                                                   hours at$          ,,                1hr                               0
               (4)                                                   hours at$                            /hr                               0
               (5) □ Information about additional expert fees Is contained In Attac~~·eiJ~ 8b(5).

        C,     Court-ordered expert feaa
                                                                                                      SUBTOTAL Bb.     /$                   o1
                             Name of witness                                       Fee
               (1)                                                       hours at$.                       /hr                               0



                                                                                                                                            ~,
               (2)                                                       holirs at$                       /hr          1:                   0
               (3)   D Information abo,ut additional court-ordered expert fees·ls con~i~~ In Attachment 8c(3).
                                                                                            1
                                               •                               .    ..: : _.::'° ):  SUBTOTAL Sc.

    9, Court-ordered transcripts (specify):
                                                                                           . 10TAL (8a, 8b, & 8c) 8.
                                                                                                                  9.   Ii
    10. Attorney fees (enter hara If contraqtual ot statutory fees aro fixed witho,;t necessity of a. court      10. "$'---------'
       determfnatfon; otherwise a noticed m9tlon fs required):


    11. Model&, enlargements, and photoca;pl~a ofexhlblts (specify):                                             11, )$                68 5     I
       Bates Stamping of Exhibits                                                                                      ~-------~
                           •,
    12. Court reporter feee. (as establlsh8d by Statute)
        a. (Name of reporter): - - - - - - - , - - - - - fees:$ _.c.._ _ _ __
        b, /Nameofreporler}: _ _ _ _ _ _ _ _ _ _ Fees:$ _ _ _ _ _ _ TOTAL 12. !$                         0                                      I
        c. □ Information about addlttonal COurt-reporter fees ts contained In Attachment 12c. "--------"-"
13. Interpreter fees
       a, Fees of a certlfled or registered Interpreter for the deposition of a, party or witness
          (Name of Interpreter): _ _ _ _ _ _ _ _ _ _ Fees·:$ _ _ _ _ _ __
          (Nameoflnteq:irater): •                                    Fees:$ _ _ _ _ _ __
       b, Fees for a qualified court Interpreter authorized by the court for an Indigent
          person represented by a qualified legal services project or 8 Pro bono attorney
          (Name of Interpreter): - - - ~ - - - - - - Fees:$ _ _ _ _ _ __
          (Name of Interpreter): - - - - - - - - - - Fees:$ _ _ _ _ _ _ _ TOTAL 13. /$                    0 l
       c. □ Information about addltlohal court-reporter fees Is contained In Attachment 13c.      ~-------~
14. Fees for electronic filing or service of documen·te through an el_eclronlc fi!Jng service provider
    (enter here If required or ordered by the court):                                                14. ~ $ ' - - - - - - - - - J
15. Fifi$ ·tor M&tlng ,1,ct,,onlc dOc.1,Hnel)bJ thr0ugh an $1e~_troni~fillng ter'vle~ pr<Jvl(ler (en,ter t}~re
    If required or ordered by the court):                                                                   15,        ~$=====;;:=;;:;:;:;
16. Other(specify): Expert fees - See Attachment 16                                                              16.   ($           5 1 265 /

ITOTALCOSTS                                                                                                            !$          19,262 1      !
                                                   (Additlonal information may be supplied on the reverse)
MC-011 [Rev, SGPl~llf 1, 20171                        MEMORANDUM OF COSTS (WORKSHEET)                            Page       _ _ _ of _ __
C-EB"I-·'                                                                                                CBA
-            )!]I:!!!!!!!"




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         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 649 of 801




                                           Memorandum of Costs (Worksheet)
                                                  Attachment lg

Flllng                                                            FIiing Fee   • Pay To

FIHng - Answer to Complaint; Notice of Asotlation                 $616,71       PACIFIC COAST LEGAL SERVICES, INC

FIiing - Sub of attv                                              $30.00         PACIFIC COAST LEGAL SERVICES, INC
Fllln• - Motion to Quash                                          $541.75        PACIFIC COAST LEGAL SERVICES, INC
Filing - notice to set aside default                              $120.58        PACIFIC COASTLEGAL SERVICES, INC
FIiing - opp, dee                                                 $84.72         PACIFIC COAST LEGAL SERVICES, INC
FIiing - Suon dee to P's mnotlon to compel                        $7S.OO       / PACIFIC COAST LEGAL SERVICES, INC
FIiing - Dlsassoc of attv
FIiing - Notice of entrv of Judgment
                                                 .. ...
                                                    '


                                                        ,
                                                                  $45.00
                                                                 ·$47.70
                                                                                 PACIFIC COAST LEGAL SERVICES, INC
                                                                                 PACIFIC COASTLEGAL SERVICES, INC
Filing - D's opp to P's M leave to amend the
                                                                  $47.70        PACIFIC COAST LEGAL SERVICES, INC
complaint
FIiing - Replv x2                                                 $37.33        FIRST LEGAL NETWORK LLC
Fllinll - onnostlon to Motion to Stay Case                        $58.33        FIRST LEGAL NETWORK LLC
Filing - Motion for Summarv Judgement                             $424.03       FIRST LEGAL NETWORK LLC
FIiing - Oon to Protective Order                                  $35.00        FIRST LEGAL NETWORK LLC
Filing - Advance Fees                                             $1,476.98     FIRST LEGAL NETWORK LLC
Filing - Motion to Strike                                         $125.82       FIRST LEGAL NETWORK LLC
FIiing - Advance fees                                             $666.99       FIRSTLEGAL NETWORK LLC
Filln• - 10 Docs                                                  $361.38       FIRST LEGAL NETWORK LLC
Fllin• • Motion to Strike - Fees Advanced                         $467.00       FIRST LEGAL NETWORK LLC

FIiing - Fees Advanced - MSA/DEC/PO/POS/MPA                       $1,377.15     FIRST LEGAL NETWORK LLC

Fllln• - Objection to Plaintiff's request                         $32.95        FIRST LEGAL NETWORK LLC
Filing• Dec of Lunanne Rutherford                                 $909.95       FIRST LEGAL NETWORK LLC
Filing - D's Notice of Nonoooosltlon                              $32.95        FIRST LEGAL NETWORK LLC
Filing - 0 1s Notice of Nonormositlon                             $32.95        FIRST LEGAL NETWORK LLC
Fllln• MSJ reolv brief                                      "     $123.50       FIRST LEGAL NETWORK LLC
FIiing - electronic submission                                    $39.95        FIRST LEGAL NETWORK LLC
Flllng - Fees Advanced - Memorandum of Points'
                                                                  $986.15       FIRST LEGAL NETWORK LLC
and Authorities
Filln• • Oppostlon to Disaualify Judge                              $63.14      FIRST LEGAL NETWORK LLC
Flline - Demurrer with MTS                                          $6.75       FIRST LEGAL NETWORK LLC
Filing - oppostlon                                                  $40.45      FIRST LEGAL NETWORK LLC
Fillna - D's Notice of Nonopoosltlon                                $40.45      FIRST LEGAL NETWORK LLC
Filing - Case management statement                              , . $40.45      FIRST LEGAL NETWORK LLC
Filin• - MTS - Fees advanced                                        $540.65     FIRST LEGAL NETWORK LLC
Filing - D's Notice of Nonoooosltlon                                $31.95      FIRST LEGAL NETWORK LLC
FIiing - Notice of Change of Firm Name                              $23.20      FIRST LEGAL NETWORK LLC
FIiing - D's Notice of Nonoooosltion                                $40.45      FIRST LEGAL NETWORK LLC
Flllng -Case management statement                                   $40.45      FIRST LEGAL NETWORK LLC
FIiing - Demurrer with MTS - Fees Advanced                          $165.65     FIRST LEGAL NETWORK LLC
Fllin• - Replv Briefs                                               $31.95      FIRST LEGAL NETWORK LLC
FIiing - MTS - Fees advanced                                        $542,65     FIRST LEGAL NETWORK LLC
Filimz - D's Reolv Brief in Sunnort                                 $31.95      FIRST LEGAL NETWORK LLC
Fllln, - MTS - Fees advanced                                        $90.25      FIRST LEGAL NETWORK LLC


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      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 650 of 801




                                            Memorandum of Costs (Worksheet)
                                                          Attachment lg

FIiing - Stlp of the parties to Extend - Fees advanced    $901.95         FIRST LEGAL NETWORK LLC

Filing - stlo - order                                     $42.70          FIRST LEGAL NETWORK LLC
Flllng - Onnsltlon Dec                                    $110.75         FIRST LEGAL NETWORK LLC
Flllng - Amended CMC Statement                            $90,25          FIRST LEGAL NETWORK LLC
Flllng - D's Onnosltlon to P                              $31.95          FIRST LEGAL NETWORK LLC
                                                   ;' J
FIiing - CM Statement                                     $61.90          FIRST LEGAL NETWORK LLC
Filing - Dec of Andrew S. Elliott                         $31.95          FIRST LEGAL NETWORK LLC
Filing - Ono; Dec                                         $28.80          FIRST LEGAL NETWORK LLC
TOTAL:                                                    $11,828.21




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         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 651 of 801




                               Memorandum of Costs (Worksheet)
                                       Attachment 16
                                         ..
Expert                               Expert Fee
R. Blackseth Interests, Inc.             $627.00
H2 Engineers, Inc.                    $4,637.50
TOTAL:                                $5,264.50
             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 652 of 801




                                                          .. \"


                                                   CERTIFICATE OF SERV19E VIA E-MAIL.
                  2           I hereby declare that I am ,l citizen of the United States, am over the age of eighteen years,
                  3   and not a party to the within action.
                  4           My electronic notification address is: deboraj,.sanchez@mcnarnaralaw.com.
                  5           On this date, I e!'ectron_i~ally served the foregoing
                  6   DEFENDANTS ASSOCIA NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE
                  7   ASSOCIATION -FREMONT, AND MASSINGHAM & ASSOCIATES'S MEMORANDUM
                      OF COSTS (SUMMARY) AND MEMORANDUM OF COSTS (WORKSHEET)
                  8

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                              based on a court ord,er or an agreement of the parties to accept service by e-mail or
~ •
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                      electronic transmission, I caused the documents to be sent to the persons at the e-mail addresses
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                      listed below. I did not receive, within a reasonabl~ time after the transmission, any electronic
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                      message or other indication th_~i the transmission was unsuccessful.
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ra~o~            14    Plaintiff in Pro Per:
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i:,I: ~::!iii          Ms, Mary Bernstein                                  Richard Fong, Jr.
~ llil5  z       15
1Ll0(1)0               3416 Deerwood Terrace, #113 ,                       Fong & Pong APC
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0 <OW            16    Fremont, CA 94536        ' .•                       2161 Harbor Bay Parkway
< ffi~                                                                     Alameda, CA 94502
~ >"             17    Phone:510-938-6280
< <                    E"mail: mhelenbernsteln@yahoo.com                   Phone:510-748-6800
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                 18    E-mail: mbemsteinpurple@hotmail.com                 Email: rfong@fonglaw.com
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l      M
                 20
                             I declare under penalty of perjury under the laws of the State of California that the foregoiog
                 21   is true and correct ·and that this declaration was executed on August 14, 2023 at Pleasant Hill,
                 22
                      California.
                 23
                 24                                                    Deborah Sanchez
                 25
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                                                                  PROOF OF SERVICE
    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 653 of 801




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         Mory Bernstein                                                            ·.
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•      "-HORNEY FOR J'lYMltJ.'
      SUPERIOR COURT OF CAUFOIUIIA, COUNTYOF Alll!lledJI
          lri~Elt.DOR!l,&li:
           w.1UNGA0DRUS:        1225 Fa.lion Street
          crrv ANO zjp cooe: Oakland CA 94612
              8/WtCII~

              PlAtNTIF"F~ 'Mary Bernstein
             DEFENDANT: Assotla Northern 'CaUfornla, et ~I.
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         □ ACCEPTANCE! UliDl:R CODE OF CI\/IL PRO(l~DURE SECTION 9ft                                                     _HGJ8$9738I

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           of Civil p19*U,;. Melion.998 ln favor of tha p1Jlnijff and agal_nst (,:,8JM' of th& ~funda»Q:
            Meadow B~OQk Vll{ago Assa.elation• Fr~mont, Mass(nsham &Assoclatei/Assoo1a ~orthom California
    2. The Judgment li'lobo (check and comp/elf" drb/
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                        Plus 00118 ijnder Code of CiVP P/ooedwnel.tlon 1032.
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           b, (1J es follOw< (desatba ths terms •rid conditions of the Judgmenl):
                       by S:00 pm January 24 2019
              [Zl COntlnutiJ In attachment2b.                  ,
    Date: January 22 2019                                                               ~
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                                                               ,ACCEPTANCE OF OFFER
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                                                   VNDER CODE OF CIVIL PROCEDURE SECTION' 9B8
    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 654 of 801




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                                         ATTACHMENT                        is
                          REwsirtJ DEMANOJ,JST INCQRPO.RA'rlNG.AU. AC.no •5
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Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 655 of 801




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         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 656 of 801




               Superior Court of Alameda County Public Portal


    Make a ReseJvation
     Bernstein VS Associa Northern California
      Case Number: HG18897381 Case Type: Civil Unlimited Category: Other Personal Injury/Property
    : Damage/Wrongful Death
      Date Filed: 2018-03-19 location: HayWa/d Hall of Justice- Department 512



     Reservation
, Case Name:                                                          Case Number:
    i Bernstein VS Associa Northern California                        HG18897381
: Type:                                                               Status:
; Motion to Tax Costs                                                 RESERVED
     FIiing Party:                                                    Location:
     Mary BPrnstein (Plc1intHf)                                       Hayward Hall of Justice-Department 512

     Date/Time:                                                       Number ofMotlons:
     03/01/2024 9:00 N4                                               1
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: 647344049157                                                        CR-FGR8I5WFG3RF2OXRI


    Fees
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l Court Technology Fee o+ Fees Exempted by Fee Waiver•••                                               1.00           1                  0.00 •
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      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 657 of 801




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Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 658 of 801




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    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 661 of 801




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Pricing



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  SAN JOSE AREA                             • $75.00                    $90.00 & up        1 $110.00 & up


  SANTA CLARA COUNTY                        • $~~.00 ••• $96.~~~~~--~·                   -t   $115.00 & up


  OUT OF SANTA CLARA
                                            ' $90.00                    $105.00 & up          $125.00 & up
  COUNTY
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      Outside of California..................        $100 & up (call for accurate pricing)

      Area surcharge (rural/ mountainous areas)............. $10.00 & up

      Mailing Declaration (when substitute service is effected)............ $1 o.oo & up
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 662 of 801


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        Stakeout (1 hour minimum then billed by½ hr)'. ... ;: ......... .' ........ $55.00 / l1our & up
(usually a 2hr. minimum)

          Infield Locate ........................ : ...................................-.,. $25.00

          File Proof of Service ......................................................             $15.00 & up

          Notarize Proof of Service .............................. :.................              $15.00

          Additional Entities (Served same time I address)....................                       $25.00 & up

          Additional attempts within same day ... '..............................                  $25.00 & up

Routine Service: Once an order has been placed it is en!~ in our work log. Once the
paper work is received it Is assigned Id one of our registered process servers. First attempt is
usually made within 72 hours. Allow us 5 days: before inquiring on an update or proof of
service. If your deadline is limited, try our Rush Service. • •

Rush/ Same Day Service: On.ce we receive your paper work ii is immedlalrdy 011lnred and
will be attempted the same day it is received and once dally there afler.

**note** Deadline for Samf/1 Day ServiceJs 2:00pm PST

On Demand Service: Our Jast line of defense for our clients. Once your order is received, we
enter it in our work log and service is i:ittempted within one hour.

 **note•1

Note:S.        @                                   .,

        Deadlines and pricing are subject to change without notice.

        Every Service of Process is limlr~d to 5 attempts before additional fees are incurred.


Court Filing - California

Standard First 25 Pages Santa Clara County..........................                           $ 35.00

Electronic Filing ............................................... : .... ,, ...... $20 & up

                    Each page after 25..............................................               $0.25 ea.

Area surcharge .. ·, ........................ ::, ......................... ,.....       $10 & up

One Demand fee ........................... :: ......................          L....      $20.00 & up

Courtesy Copy ........................ : .. : ..•....................... ,:......        $10.00
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     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 663 of 801




Photocopies..................................................................                                               $0.25 oa.

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Exhibit tabs & document preparat,ion ....... , ................. ,........
                                 .                                                                      .                   $2 & up

Fee advance................................................................                                               5%-10%

Court FIiing- Nationwide...... ,..............................................                                                      C;ill for pricing

Monthly retainer- documents are either picked up by 11 :00am and filed same day or picked
up late In the afternoon and filed next day- $100,00 & up·

Document Retrieval:

       Document Retrieval/ Court Research .............................. ..                                                                same as court filing
fees above

Extensive court/ research time .......... , .......................... ..                                                  $45.00 I hour

         Area Surcharge ...,. ..................................................... .                                                   $10 - $45
                                             i
         Certification Fee........................................................                                                    Actual Cost

         Copies .......................... .'............ :............................                                              Actual Cost
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         Fee Advance ..................... :., ........................ :...........                                                  5%-10% - $2.00 min.

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         Area Surcharge .... :.................. :...................... :............. $20.00 & up

         On Demand .......................................... ,..................... $30.00 & up

Skip tracing:

         Locate an Individual. ....................................... ,............. $~ D & , 1p
         Locate Business/Principal of business ....................................'H 9 & up

         Real Property- California .......... ::............................. .-....... $55.00

         Real Property- Nationwide............................................... $5G 0rJ

• All prices subject to change without notice
   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 664 of 801


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 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 665 of 801




EXHIBIT L
        Revelation 3:10 KJV: Because thou hast kept the word of my patience, I also
will keep thee from the hour of temptation, which shall come upon all the world,
to try them that dwell upon the earth.

12 And because lawlessness will abound, the love of many will grow cold. 13 But
he who endures to the end shall be saved. 14 And this gospel of the kingdom will
be preached in all the world as a witness to all the nations, and then the end will
come.

   A. Do not fret because of those who are evil
         or be envious of those who do wrong;
      2
        for like the grass they will soon wither,
             like green plants they will soon die away.
        3
   B.       Trust in the Lord and do good;
             dwell in the land and enjoy safe pasture.
        4
            Take delight in the Lord,
             and he will give you the desires of your heart.
        5
   C.     Commit your way to the Lord;
           trust in him and he will do this:
        6
          He will make your righteous reward shine like the dawn,
             your vindication like the noonday sun.
        39
   D.        The salvation of the righteous comes from the Lord;
             he is their stronghold in time of trouble.
        40
             The Lord helps them and delivers them;
             he delivers them from the wicked and saves them,
             because they take refuge in him.
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 666 of 801




                                                                                                 (21~CR-003653_ _ _ -                    -   -,
                                                                                                 t GOM
                                    .                                                            ' Clerks Docket end Mlnuloa


1. WT: Active       PO:     SUPERIORD:1~~~~;
2. DocketName:GIBSON, JOHN JOSEPH
                                                    ~~~:::::~:~fsf::::~::::::
                                             CEN: 1367431
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                                                                                                '--'--·- .. --, __ ,,,._____ ,
                                                                                          Docket: 21-CR-003653
                                                                                                                                                  1




3. HG Type: Recall Bench Warran!
  HG Comment&: Counsel requested add on
                                             PFN: AOX864

                                           I flM  6 ..3.d'• ~                   ".,rrRb1ti~n:
                                                                          .()'l(~c.,,
4. CHARGES:             5 charge(&)          BAC:
001: PC25850(a)-F: CARRYING A LOADED FIREARM ON ONE'S PERSON IN A CITY
001-E01: PC25650(c)(6},F: SPECIAL ALLEG~TION-LOADED FIREARM ?UNREGISTERED (Enhancement)
002: PC25400(a)(1)-F: CARRYING CONCEALED FIREARM WITHIN VEHICLE
002·E01: PC25400(c)(6}-F: SPECIAL ALLEGATION-CONCEALED FIREARM WITH AMMUNITION (Enhancement)
003: PC417(a)(2)(A)-M: BRANDISHING A FIREARM IN PUB~IC {Firearms Relinquishment)   •     .'




5. Ball: $50,000.00                                           Bond Status I Amount:
  Time Waiver:

                                                   P~CEEDING                                             ,1
6. Judicial Officer: Hing, Stuart              _..,Pfi'deo Dep, DA:           ~0 \<e,, ~~                              faeo
7. Dep Clerk: LI, Jin                              □Video         Del. Atty:'"11;, ,    ~"'     f ~ tr A.,_ Oft , ..a111deo
8. Reporter: Pandolfo, Lisa                            deo        Other:       \YllJ/h.41l>     ~ W\~c>'I ti
DEFENDANT: □ Video                                                            ...;<,:;;
□Present □In Custody DEFT/C □Pro Per~resent .□Excused ~~~~-&Mile □Failed to Appear DEFTA
□ Interpreter INTR:                                present □ Certified □ Sworn Language Interpreted:_ _ _ __
□ Duly Arraigned ARR □ Advise
                            as to Constitutional Rights □ Advisement of Rights Flied
           .         Walv~,&if';igll~tFAW [                                                     •
Defendant/ torney erve.ae--~---=<+,1--'-Q-,~1----11t:Omplalnlr Information/ Indictment/ Petition
                                                                          .                          .
Protective Order (PC 136.2) CPO: □ Issued   □ Modified    □Terminated CPOT □ Served          □ Do Not Harass
□ Stay Away from:                                                                            □at l ? a ~ yards      A...L,. _
□ Referred to Public DefenderPDRfF □ PD Flies Conflict DCI □ Financially Ineligible □PD Appolnteg..;.n,rivate A t ~ eiJffe,'I ~
□W I      of Rig        lea Form Flied PLF □ Plea Withdrawn      □ Change of Plea     □ Plea In Absentia
        ntered: Not Guilt /Guilty/ No Contest □ Convicted Guilty/ No Contest as to Count(s,__ _ _ _ _ __
 I       lesser i     e reasonably related offense: □ Guilty/ No Contest of Count(s) __•_ _ _ _ _ _ _ _ __
 To the charge of:                                                  •

Clauses~ied           □Admitted _ _ _ _ _ _ □ Dismissed _ _ _ _ _ _ _ □Stricken Sentenclng·purposes Only
Priors:   □Denied      □Admitted _ _ _ _ _ _ □ Dismissed _ _ _ _ _ _ _ □Stricken Sentencing Purposes Only
Referred to: □ Probatlon-F REFP □ Probatlon-M RPM □ Re-Referred to Probation RfFP·□ Financlal Hearing Officer REFFHO

Time Waived TW:         □Trial □Sentence
                                   ~ i n a r y Exa 10 and 60 days                   □Preliminary
                                                                                Exam 10 day only TW10
No Time Waiver NTW: □ Trial, due:             □ Sentence     . ,me aiver Withdrawn TWWD
   □ Preliminary Exam 10 days NTWPXlOdue:._____ □ Preliminary Exam 60 days NTWPX60 du•~·_ _ __

                                                                      .                     -
Ball: □ Ball Set at $_ _ _ _ _ _ _ _ _ _ _ _.BS □ BF Set 'Aside BFSA □ Reinstated BREI □ Exonerated BBEX
□ Forfeited In Open Court While Court Was in Session BBFF □Summary Judgment Entered SJE
□ Deft OR'd ROR □Cruz Waiver CRUZ        □ Released this Action Only RTA □ Deft Remanded REMC

Warrant: □Bench Warrant Issued $._ _ _ _ _ _ __.,WI □Warrant Maintained WM       r/4rrant Recalled WRC
□Bench Warrant Held BWH $            □BW Withdrawn BWW □OR Revoked OREV □ No Ci(.'ii~l~ase □Night Service


                                                                                                                                    Page1     ~
          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 667 of 801




                             SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                       CLERKS DOCKET AND MINUTES
Docket Name: GIBSON, JOHN JOSEPH                                                                     Docket: 2l·CR-0036S3

□Petition/ Motion by _ _ _ _ _ _ _ for/to _ _ _ _ _ _ _ _ _ _ □Granted □ Denied □Withdrawn


Probation: □Court CP □ Formal FP Granted for _ _ years/ months □See attached conditions □Denied PRO
Prob. Violation: □ Revoked PRREV □ Summarily Revoked PSR □Denies Violation □ Admits Violation APV
□ Matter Submitted □ Hrg Waived □ Found In Violation FPV □ Not Found NPV   □ Reinstated PRREI
□ Continue Same Terms & Conditions □ Modified   □ Extended to _ _ _ _ _ _ EXTP        □ Terminated PRTERM


Community Supervision: □ Revoked CSREV □ Denies Violation □ Admits Violation
□ Matter Submitted □ Hrg Waived □ Found In Violation □ Not Found NPV
□ Restored and Modified CSRM □ Restored Same Terms & CondltlonsCSRSTC □TerminatedCSTERM

Parole Supervision: □ Revoked PREV □ Denies Violation □Admits Violation
□ Matter Submitted  □ Hrg Waived □ Found In Violation □ Not Found NPV
□ Restored & Modified PREM □ Restored Same Terms & ConditlonsPSTC □ Terminated PST


Mandatory Supervision: □ Revoked MSRV □ Denies Violation □Admits Violation
□ Matter Submitted □ Hrg Waived □ found In Violation □ Not Found NPV
□ Restored & Modified MSRS □ Restored Same Terms & Conditions MSSTC □Terminated MST

Firearms Relinquishment: □ Compliant FAC □ Non-Compliant NFAC

□ Doubt Declared 13680      □ Criminal Proceedings Suspended CPS       □ Criminal Proceedings Reinstated CPREI

□ Burks Waiver BKW




Future Hearings:




Continued:   □Office   to Send Notice     □Deft   to be Booked FIOEN   j   fv-.' •
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             Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 668 of 801




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                           2000 Stevenson Blvl.l., P.O. Box 5007, Fremont, CA 94537 -5007
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                                                   FREMONT POLICE DEPARTMENT                                 March 18, 2021
                                                                                                    CLERK OF THE SUPERIOR COURT
                                                      County of Alameda, State of Callfornla

                                                         Agreement to Appear In Court                         vpons
                                                                                                    BY _ _ _ _ _ _ _ _ __
                                                           Penal Code SecUon 853.6

Name:     GIBSON,JOHN JOSEPH                                        PFN:      AOX864                            CEN: 1367431

Address: 3416 DEERWOOD TR #314                                      Phone:
             FREMONT, CA 94536


~ East County Hall of Justice           5151 Gleaaon Dr1ve, Dublln, CA 94568                                    Phone: 925 227-6700




 Signature
                      I       .
 Court Information:                   Warrant Number:
                                      Agency Holding Warren!:

 Charge(s):
    Section: PC417(A)(2)                      LEI: 1367431




If l fall to appear and am apprehended outside the State of Callfornla, I hearby waive all proceedings and documents necessary for my
extradition from the state of my apprehension to the State of California, and hereby consent to be returned to the State of California In
the custody of and by any peace officer from the State of Callfornla

I understand that a judge may at any time require ball to be posted and rescind my release on my own recognizance.

This agreement is executed pursuant to the provisions of Section 827. 1 and/or 836,6 Penal Code of the State of California, Section
853.6, Penal Code, California. Any peace officer may release from custody, Instead of taking such person before a magistrate, ·any
person arrested without a warrant whenever: The person arrested was arrested for a mlsdeameanor and has signed an agreement to
appear In court or before a magistrate at a lace and time designated as provided in this code.

Section 853. 71 Penal Code, Californla Failure to obey written promise to appear. Any person who WIiifuliy violates his written promise
to appear in court is guilty of a misde eifoor, regardless of the disposition of the charge upon which he was or!glnally arrested.


By: _ _ _ _ _-<                                                                                Sunday, February 28, 2021                5:10:28PM

                                                                                                                Report Number: 210228018
           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 669 of 801




                   ,,,,                                      County of Alameda
                      '                                Request for Out of Custody Complaint
   •:1_11'_9~'.'                                          Declaration of Probable Cause
                          Arres1ee1Suspecl                        Dvo                Sex                                rm

                          JOHN GIBSON                          04/25/1966            M                               AOX854
                               Race                                         CDL                                    Agency Report 1r
                             WHITE                                   N2614837 CA                                    210228018
                          Arres!lng Agency                               Dec1aranl                   Agency rhone                Agency Fax
             FREMONT PD (CA0010500)                                     Malina Sam                 (51 O) 790-6722
          Arrest Dale                        Arrest Time                                      Anesi location
                                                             2000 MOWRY AV FREMONT CA
                               MO! S                                                       Arrestee nome Aodress
                                                             3416 DEERWOOD TR, ##314 FREMONT CA
ChargesMotalions
PC 417(A)(2) M(1 Counts)

USE THIS SUMMARY FOR CHARGING
NOTIFICATION:
On 02/28/21, at about 1500 hours, I, Ole. M, GIifoy, was wearing a full police uniform and driving a marked ratrol vehicle,
was dispatched to a brandishing a firearm invesllgat!on on Brldgewood Terrace. FPD Dispatch relayed tha the victim,
Christopher McCallster, was delivering lnstaCart and the suspect, John Gibson, pulled a gun on him because he wanted
Christopher to move his vehicle.




He works for lnstaCart and he just finished his delivery. He was walkin~ back to his vehicle when ha heard his horn
honking. The suspect, John Gibson, was honking Christopher's vehicles horn through the open driver's side window. John
said, "Move your fucking car, Nlgger 11. John pulled a gun from his trunk 1 pointed it at Christopher, and asked, 11 D0 you want
to die today?" John replied, "You caught the right one, go ahead and shoot me." John went to the passenger, later
identified as Mona Oliver, In John's vehlcle, and spoke to her. John came back to Christopher, pointed the gun at him again
and said, 11 Move your fucking car. 11 Christopher replied, 11 You can move It perfectly flne. 11 John went back to his car and left
the area.
                    can Identify John If he saw him again. John was a white male adult last seen wearing a blue cap and jeans,
                   tall and about 150-175 pounds, The gun was a black semi-automatic pistol. The passenger In John's vehicle
                       Asian woman with a mask. Christopher wished to pursue prosecution of John Gibson for brandishin~}•.:..

Suspect-
I contacted John In the WTH ER parking lot. I read him his Miranda Rights form my department Issued card and I asked
him if he understood. John replied, 11 Yes", and told me the following in essence:
His wife, Mona Oliver, was at the Union City Mall and was bit by a dog at the Starbucks. He was trying to get her to the
hospital, but there was a car In the way. John honked the horn on the car and Christopher came over. John told
Christopher he needed to move, so John could get to the hospital. Christopher said, "Fuck you, Fuck you" and came
towards John. John pulled his gun out of the trunk, pointed It at Christopher, and told him to get back. When asked if he
called Christopher an N-word, John replied that he said, "Get the fuck out of the driveway, Nigger." He only pointed the gun
at Christopher once.
I asked him to clarify when he used the N-word. John told me Christopher was walking up on him and John said, "Get the
fuck back, Get bacl< Nigger", Christopher also said, "Fuck you, White motherlucker" at some point In the argument.
John pointed the gun at Christopher because he felt scared, threatened, and feared for his and his wife's Ille, The
magazine was not In the gun per John. He had the gun because of the crime In Fremont. They were going to Target after
the hospital, so he brought the gun.


                                                                  Page 1 of 3
Documenl II: PCD659542
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 670 of 801




Person #1- Mona Oliver:
Mona was In the WTH ER to be treated for the dog bite. She told me the following In essence:
She was at the Union Landing Starbucks and a dog bit her when she tried to pet It. She came home and John was kind of
upset. They went to their car and a truck was blocking them. John told her he showed him, (Christopher), the ~un. Mona
never saw the gun, She thought Christopher had an atlltude, She heard John call him a Nigger and heard Christopher
say, 11 Go ahead and shoot me. 11 John sometimes carries a gun in the car.
Refer to WatchGuard video for my contacts In their entirety.
IN-FIELD LINE UP:
Cover units located John at the Washington Township Hospital, WTH, Emergency Room, ER, parking lot.
I read Christopher the ln-lleld line up admonishment from my department issued card. Christopher replied that he
understood the admonishment. I transported Christopher to the WTH ER parking lot. Christopher saw John and stated,
"It's definitely him", I provided Christopher with the report number and my card and he was transported back to his vehicle.
ARREST AND BOOKING:
I arrested John Gibson for PC417(a)(2)(A)· brandishing a llrearm In public and transported him to the FPO Jail for booking.
EVIDENCE:
Excerpt from Ofc. O'Neal's report:
Notification:
On Sunday, 02/28/2021, at approximately 1500 hours I (D. O'Neal #14281) was dispatched to 3'" Brldgewood Terr. on the
report of a hand gun being brandished. While enroute Ff>D dispatch notified me that the male with the handgun was at
Washington Hospital.
Firearm:
Upon arrival I observed a male, later Identified as John Gibson standing outside his vehicle with Ofc. Haugh and Ofc.
Wilson. I heard Ofc. Wilson ask Gibson if the firearm was in his vehicle and Gibson said It was. Ole. Wilson asked Gibson If
we could retrieve It and Gibson said we could. I located a black Springfield XO (SN: XD629596) handgun and a magazine
with ten bullets inside of It. The gun and magazine were inside of a brownd·acket In the trunk. I took a digital photograph of
the gun and collected It. I later gave possession of the gun, magazine, an ten bullets to Ofc. Gilfoy. Refer to his original
report for further details, I later uploaded the photograph Into the CIMAGE digital evidence system.
Nothing further from this officer.
Ofc. O'Neal completed the property receipt, John signed it, and I provided John with a copy.
I booked the firearm, magazine, and 10 .45cal. rounds into evidence at FPD.
John texted me a picture he took of Christopher and Christopher's vehicle. I booked the picture Into CIMAGE.
ATTACHMENTS:
I placed the property receipt into attachments.
DISPOSITION:
I recommend this case be lorwarded to the ODA for review and charging of John Gibson for PC417(a)(2)(A)· Brandishing a
firearm in public,
CC:DDA



I declare under penalty of perjury that the above Information was obtained through official police channels and is contained
In the above-mentioned police report. Executed in the County of Alameda, State of California. Identity and signature of
declarant verified by GRIMS.
Date: 03/02/2021 13:57:08                       Declarant: Malina Sam                            Badge: 15118




                                                      Page 2 of 3
Oocumenl /I: PC0659542
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 671 of 801




Reviewed and approved,
Date: 03/03/2021 08:45:20   Supervisor: Jason Franchi   Badge: 11190




                                    Page 3 of 3
Document#; PCD659542
          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 672 of 801




                                                                                              Dept No.           712
                                                                                                          05/28/2021

                       SUPERJOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                                                                                       FILED
                                                                                                    ALAMEDA COUNTY
PEOPLE OF THE STATE OF CALIFORNIA                     NO. 21-CR-003653                                 3/18/20212:28:18 PM

v.                                                                                                  RK OFlllE '°ERIOR COURT
                                                      COMPLAINT
JOHN JOSEPH GIBSON                                    PFN:AOX854                CEN:I367431 BY i!iigned: ~612:-::SJ PM

                                  Defend1ml(s}
                                                                                                       DEPUTY




The undersigned, being sworn says, on information and belief, that JOHN JOSEPH GIBSON did, in the County
 of Alameda, on or about February 28, 2021, commit a FELONY, to wit: CARRYING A LOADED FIREARM
 ON ONE'S PERSON IN A CITY, a violation of section 25850(a) of the PENAL CODE of California, in that said
defendant(s) did unlawfully carry a loaded firearm within a vehicle while in a public place and on a public street
 in an incorporated city, to wit, Fremont, CA.
                   SPECIAL ALLEGATION-LOADED FIREARM -UNREGISTERED AS TO
                                       DEFENDANT JOHN JOSEPH GIBSON
It is further alleged, pursuant to section 25850(c)(6), that the defendant was not listed with the Department of Justice
as the registered owner of the pistol, revolver, and other firearm capable of being concealed upon the person.
                        NOTICE PROVISION-RE STATE PRISON ELIGIBILITY AS TO
                                       DEFENDANT JOHN JOSEPH GIBSON
The defendant is hereby notified that the above felony offense is not governed by Penal Code section 1 ! 70(h) and
that an executed sentence for the offenses herein charged shall be served in the state prison pursuant to Penal Code
section 1170. l(a).
                                                  SECOND COUNT
The undersigned further deposes and says on information and belief, that said JOHN JOSEPH GIBSON did, in the
County of Alameda, on or about February 28, 2021, commit a FELONY, to wit: CARRYING CONCEALED
FIREARM WITHIN VEHICLE, a violation of section 25400(a)(l) of the PENAL CODE of California, in that said
defendant(s) did unlawfully carry concealed within a vehicle under said defendant's control a pistol, revolver and
firearm capable of being concealed upon the person.
              SPECIAL ALLEGATION-CONCEALED FIREARM WITH AMMUNITION AS TO
                                       DEFENDANT JOHN JOSEPH GIBSON
It is further alleged pursuant to section 25400(c)(6) that the firearm was loaded and that the defendant was not listed
with the Department of Justice pursuant to paragraph (I) of subdivision (c) of Section 11106 as the registered owner.
                        NOTICE PROVISION-RE STATE PRISON ELIGIBILITY AS TO
                                       DEFENDANT JOHN JOSEPH GIBSON
The defendant is hereby notified that the above felony offense is not governed by Penal Code section I 170(h) and
that an executed sentence for the offenses herein charged shall be served in the state prison pursuant to Penal Code
section l 170.I(a).
         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 673 of 801




                                                 THIR.D COUNT

The undersigned further deposes and says on information and belief, that said JOHN JOSEPH GIBSON did, in the
County of Alameda, on or about February 28, 2021, commit a MISDEMEANOR, to wit: BRANDISHING A
FIREARM IN PUBLIC, a violation of section 417(a)(2)(A) of the PENAL CODE of California, in that said
defendant(s) did unlawfully in the presence of another person, to wit, Christopher McCalister, draw and exhibit a
firearm in a rude, angry, and threatening manner. It is further alleged that, pursuant to Penal Code section 1203.095
and 417, there a presumptive minimal jail/probation period applies to this charge.


Pursuant to Penal Code Section 1054.5(b), the People are hereby informally requesting that defendant's counsel
provide discovery to the People as required by Penal Code Section 1054.3.

Subscribed and sworn to before me,                           This document was filed electronically in
Thursday, March 18, 2021                                     compliance with Penal Code section 959.1




SCOTT SWISHER                                                FPD 210228018
DEPUTY DISTRICT ATTORNEY
State Bar#l21271
Alameda County, California
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 674 of 801




                                                                                               (21~c.:ooie63___ -                   -   -,
                                                                                               I COM




1· WT: Active       PO:    SUPERIORD::.~~=~: !~~:::::A~:Jfsf:::2
2. Dockal Name: GIBSON, JOHN JOSEPH          CEN: 1367431
                                                                                 :~:::::i       , t~i,,~i11ii11~i~1ii1~i,ii1111!1
                                                                                             '-'---·-. -
                                                                                       Docket: 21-CR-003653
                                                                                                            __ . _ _                _,,
3. HG Type. Recall Bench Warrant             PFN: AOX854
                                                                   o/         " ,f'rjlb~ti~n:
  HG Comments: Counsel requested add on
4. CHARGES:                5 charge(s)
                                           I   ~
                                                        BAC:
                                                            ,9 ..io•  ~    ~ "7(~v

001: PC25850(e)-F: CARRYING A LOADED FIREARM ON ONE'S PERSON IN A CITY
001·E01: PC25650(c){6}-F: SPECIAL ALLEO~TION,LOAOEO FIREARM ?UNREGISTERED (Enhancement)
002: PC25400(e)(1)-F: CARRYING CONCEALED FIREARM WITHIN VEHICLE
002-E01: PC25400(c)(6}-F: SPECIAL ALLEGATION-CONCEALED FIREARM WITH AMMUNITION (Enhancement)
003: PC417(a)(2}(A)-M: BRANDISHING A FIREARM IN PUB½IC {Firearms Relinquishment)   '     ·'




5. Ball: $50,000.00                                            Bond Status I Amount:
  Time Waiver:

                                                P~CEEDING                                              ,1
6. Judicial Officer: Hing, Stuart              ~deo  Dep, DA:                  ~0~ ~~ flldeo
7. Dep Clerk: LI, Jin                              □Video         Def, Atty:"';tt;, • ~r., I ~ tr A- bfl ,..,a,:iraeo
8. Reporter: Pandolfo, Lisa                                       Other:     IVtlJ/h4-.:, re:, lll\~171 II
DEFENDANT:       □ Video
□Present □In Custody DEFTIC □Pro Per~resent □Excused~Mmle □Failed to Appear DEFTA
□ Interpreter INTR:                                present □ Certified □ Sworn Language Interpreted:_ _ _ __
□ Duly Arraigned AIIR □ Advise
                            as to Constitutional Rights □ Advisement of Rights Filed
           .         Walv"if91f"MIJig!l~tFAW t                                                  •
Defendant/ torney ervei:l<l:r
                           ~---='+-,1--'CJ-i~f-----Vtomplaint} _Information/ Indictment/ Petition

Protective Order (PC 136.2) CPO: □ Issued   □ Modified     □Terminated CPDT □ Served         □ Do Not Harass
□Stay Away from:                                                                             □at l~a~~ yards         .,J_,, _
□ Referred to Public DefenderPD/IEF □ PD Flies Conflict DC/ □ Financially Ineligible □PD Appolnte<!,)<!Prlvate A t ~    elf~        en«
□W •      of Rig        lea Form Flied PLF □Plea Withdrawn □Change of Plea □ Plea In Absentia
        ntered: Not Guilt /Guilty/ No Contest □ Convicted Guilty/ No Contest as to Count(s.,_~------
 lea t   lesser I     e reasonably related offense: □ Guilty/ No Contest of Count(s) __•_ _ _ _ _ _ _ _ __
 Toh~.~                                                              '

Clauses~;Jed         □Admitted _ _ _ _ _ _ □ Dismissed _ _ _ _ _ _ _ □Strlcl:en Sentenclng·Purposes Only
Priors:   □ Denied    □ Admitted _ _ _ _ _ _ □ Dismissed _ _ _ _ _ _ _ □ Stricken Sentencing Purposes Only
Referred to: □Probatlon-F REFP □ Probatlon-M 11PM □ Re-Referred to Probatlon/lEFP•□ Financial Hearing Officer REFFHD

Time Waived TW:         □Trial □Sentence
                                      ~ i n a r y Exa 10 and 60 days              □Preliminary
                                                                                   Exam 10 day only TWlO
No Time Waiver NTW: □Trial, due:                 □Sentence       ,me aiver Withdrawn TWWD
   □ Preliminary Exam 10 days NTWPX10 due:_____ □ Preliminary Exam 60 days NTWPX60 due:._ _ _ __
                                                                      .                  .
Ball: □ Bail Set at $_ _ _ _ _ _ _ _ _ _ __cBS □ BF Set 'Aside BFSA □ Reinstated BREI □ Exonerated BBEX
□ Forfeited In Open Court While Court Was in Session BBFF □Summary Judgment Entered SJE
□ Deft OR'd RDR □Cruz Waiver CRUZ        □Released this Action Only RTA □ Deft Remanded REMC

Warrant: □Bench Warrant Issued $_ _ _ _ _ _ _ _.BWI □Warrant Maintained WM     cief.rrant Recalled WRC
□Bench Warrant Held BWH $           DBW Withdrawn BWW DOR Revoked OREV □No c1f.R~-l~ase □Night Service



                                                                                                                               Page1     ~
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 675 of 801




                                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                            CLERKS DOCKET AND MINUTES
Docket Name: GIBSON, JOHN JOSEPH                                                                         Docket: 21-CR-003653

□ Petition/ Motion by _ _ _ _ _ _ _ for/to _ _ _ _ _ _ _ _ _ _ □ Granted □ Denied □ Withdrawn


Probation: □Court CP □ Formal FP Granted for _ _ years/ months □See attached conditions □ Denied PRO
Prob, Violation: □Revoked PRREV □Summarily Revoked PSR □ Denies Violation □Admits Violation APV
□Matter Submitted □ Hrg Waived □ Found In Violation FPV □ Not Found NPV   □ Reinstated PRREI
□Continue Same Terms & Conditions □ Modified  □ Extended to _ _ _ _ _ _ EXTP        □ Terminated PRTERM


Community Supervision: □ Revoked CSREV □ Denies Violation □Admits Violation
□ Matter Submitted □ Hrg Waived □ Found In Violation □ Not Found NPV
□ Restored and Modified CSRM □ Restored Same Terms & CondltlonsCSRSTC □TerminatedCSTERM

Parole Supervision: □ Revoked PREV □ Denies Violation □Admits Violation
□ Matter Submitted □ Hrg Waived □ Found In Violation □ Not Found NPV
□ Restored & Modified PREM □ Restored Same Terms & Conditions PSTC □Terminated PST

Mandatory Supervision: □ Revoked MSRV □Denies Violation □Admits Violation
□ Matter Submitted □Hrg Waived □ Found In Violation □ Not Found NPV
□ Restored & Modified MSRS □ Restored Same Terms & CondltlonsMSSTC □Terminated MST


Firearms Relinquishment: □ Compliant FAC □ Non-Compliant NFAC

□ Doubt Declared 1368D            □Criminal Proceedings Suspended CPS       □Criminal Proceedings Reinstated CPREI

□ Burks Waiver BKW




Future Hearings:




Continued:   □Office        to Send Notice    □Deft   to be Booked FIDEN   /('v-,., • •
Date   8"
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Date,_ _ _ _ _ _ _ _ Tlme,_ _ _ _ _Dept         Proc,_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Date                 Time          Dept         Proc._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Date                 Time          Dep.__ _ _ _ Pro,c__ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                                       Page2
          Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 676 of 801




          Superior Court of Alameda County Public Portal


21CV000668 GIBSON vs BERNSTEIN
                                         Hayward Hall of Justice/ DEPT 519 -
Civil Unlimited (Civil Harassment)
                                         HON. Mark Fickes
                                                                               Document Download
Filed: 10/21/2021 Disposed: 05/19/2022
Court Finding - (Granted)

Case Summary



     Register of Actions                 Related Cases(~).
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 677 of 801




Date          Message                                                                  Category     Download

10/21/2021    Petition Civil Harassment                                                Document
              Filed by: John Gibson (Petitioner)



10/21/2021 Case assigned to Hon. Tamiza Hockenhull In Department 519 Hayward Hall of   Assignment
             Justice



10/21/2021 CH-110 Temporary Restraining Order (Clvll Harassment)                       Document
           Pending in WQ by:


10/22/2021 Civll Harassment Restralning Order Hearing scheduled for 12/09/2021 at      Event
             09:00AM in Hayward Hall of Justice at Department 519



10/22/2021   Updated --CH-110Temporary Restraining Order (Civil Harassment):           Document
             Status Date changed from 10/21/2021 to 10/22/2021
             Result: Granted
             Status changed from Pending in WQ to Issued and Filed



11/12/2021 CH-200 Proof of Personal Service (Clvil Harassment)                         Document
             Filed by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)
             Service Type: Personal



12/06/2021   Notice of Case Rescheduling or Relocation                                 Document
             Filed by: Clerk


12/06/2021 CH-116 Order on Request to Continue Hearing                                 Document
           Issued and Filed by: Clerk


12/06/2021 Pursuant to the request of plaintiff, Civil Harassment Restraining Order    Event
           Hearing scheduled for 12/09/2021 at 09:00AM in Hayward Hall of Justice at
             Department 519 Not Held -Continued - Court's Motion was rescheduled to
             02/22/2022 09:00 AM



01/31/2022   Declaration Of Marilyn J. Fogltance in Support of Mary Bernstein          Document
             Filed by: Mary Bernstein (Respondent)



01/31/2022   Declaration of Frank K. Tigano In Support of Mary Bernstein               Document
             Flied by; Mary Bernstein (Respondent)



02/09/2022 CH-120 Response to Request for Civil Harassment Restraining.Orders          Document
             Filed by: Mary Bernstein (Respondent)



02/09/2022   Declaration of Elizabeth G. Tigano                                        Document
             Filed by: Mary Bernstein (Respondent)
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 678 of 801




Date         Message                                                                      Category       Download

02/09/2022   CH-250 Proof of Service of Response By Mail (Civil Harassment)               Document
             Filed by: Mary Bernstein (Respondent)
             As to: John Gibson (Petitioner)



02/14/2022   CH~115 Request to Continue Court Hearing                                     Document
             Filed by; John Gibson (Petitioner)
             As to: John Gibson (Petitioner)



02/14/2022   Updated --CH-115 Request to Contlnue Court Hearing:                          Document
             As To Parties changed from John Gibson (Petitioner) to John Gibson
             (Petitioner)



02/15/2022   Updated --CH-116 Order on Request to Continue Hearlng:                       Document
             Status Date changed from 02/15/2022 to 02/15/2022
             Result: Request to Continue Granted with TRO
             Status changed from Pending in WQ to Issued and Filed



02/15/2022   CH-116 Order on Request to Continue Hearing                                  Document
             Pending in WQ by:



02/17/2022   On the Court's own motion, Civil Harassment Restraining Order Hearing        Event
             scheduled for 02/22/2022 at09:00 AM in Hayward Hall of Justice at
             Department 519 Not Held -Continued - Court's Motion was rescheduled to
             03/22/2022 09:00 AM



02/28/2022   CH-200 Proof of Personal Service (Civil Harassment)                          Document
             Filed by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)
             Service Type: Personal



03/08/2022   Case numbers 21CV000668, HG21110708 are related; case number                 Case
             HG21110708 is the lead case.



03/08/2022   Case numbers 21CV000668, HG21110713 are related; case number                 Case
             21CV000668 is the lead case,



03/08/2022   CH-116 Order on Request to Continue Hearing                                  Document
             Issued and Filed by; Clerk



03/08/2022   Minute Order (Court Order)                                                   Minute Order



03/08/2022   Civil Harassment Restraining Order Hearing scheduled for 03/22/2022 at       Event
             09:00 AM in Hayward Hall of Justice at Deparbnent 519 Not Held - Continued
             -Court's Motion was rescheduled to 04/28/2022 09:00 AM
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 679 of 801




Date         Message                                                                        Category     Download

04/05/2022   Case numbers HG20068279, 21CV000668 are related; case number                   Case
             HG20068279 is the lead case.



04/13/2022   Case reassigned to Hayward Hall of Justice in Department 519 - Hon. Bentrish   Assignment
             Satarzadeh
             Reason: Other



04/27/2022   CH-115 Request to Continue Court Hearing                                       Document
             Flied by: John Gibson (Petitlonerj
             As to: Mary Bernstein (Respondent)



04/27/2022   Updated --CH-115 Request to Continue Court Hearing:                            Document
             As To Parties changed from Mary Bernstein (Respondent) to Mary Bernstein
             (Respondent)



04/27/2022   Updated --CH-116 Order on Request to Continue Hearing:                         Document
             Status Date changed from 04/27/2022 to 04/27/2022
             Result: Request to Continue Granted with TRO
             Status changed from Pending in WQ to Issued and Filed



04/27/2022   Amended CH-116 Order on Request to Continue Hearing                            Document
             Issued and Flied by: Clerk



04/27/2022   Amended CH-116 Order on Request to Continue Hearing                            Document
             Issued and Filed by: Clerk



04/27/2022   CH-116 Order on Request to Continue Hearing                                    Document
             Pending in WQ by:



04/27/2022   Civil Harassment Restraining Order Hearing scheduled for 04/28/2022 at         Event
             09:00AM in Hayward Hall of Justice at Department 519 Not Held-Continued
             - Court's Motion was rescheduled to 06/09/2022 09:00 AM



04/28/2022   Civil Harassment Restraining Order Hearing scheduled for 06/09/2022 at         Event
             09:00 AM in Hayward Hall of Justice at Department 519 Not Held -Continued
             - Court's Motion was rescheduled to 05/19/2022 09:00 AM



04/29/2022   Correspondence Re: Objections to Postponement                                  Document
             Filed by: Mary Bernstein (Respondent)



05/04/2022   Proof of Personal Service                                                      Document
             Filed by; John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)
             Service Cost Waived: No
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 680 of 801




Date         Message                                                                         Category       Download

05/17/2022   Proof of Personal Service                                                       Document
             Filed by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)
             Service Date: 05/02/2022
             Service Cost: 0.00
             Service Cost Waived: Yes



05/19/2022   CH-130 Restraining Order After Hearing (Civil Harassment)                       Document
             Issued and Filed by: Clerk



05/19/2022   Certificate of Malling for [CH-130 Restraining Order After Hearing (Civil       Document
             Harassment)]
             Issued by: Clerk



05/19/2022   Minute Order (Civil Harassment Restraining Order Hearing)                       Minute Order



05/19/2022   Civil Harassment Restraining Order Hearing scheduled for 05/19/2022 at          Event
             09:00 AM in Hayward Hall of Justice at Department 519 updated:
             Result Date to 05/19/2022
             ResultType to Held



04/24/2023   CH-700 Request to Renew Restraining Order                                       Document
             Filed by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)



04/24/2023   Case reassigned to Hayward Hall of Justice in Department 519 - Hon. Elizabeth   Assignment
             Riles
             Reason: Other



04/24/2023   Civil Harassment Restraining Order Hearing scheduled for 05/16/2023 at          Event
             09:00 AM in Hayward Hall of Justice at Department 519



04/25/2023   CH-710 Notice of Hearing to Renew Restraining Order                             Document
             Pending in WQ by:



04/26/2023   Updated --CH-710 Notice of Hearing to Renew Restraining Order:                  Document
             Status Date changed from 04/25/2023 to 04/26/2023
             Status changed from Pending in WQ to Issued and Filed



05/15/2023   Affidavit of Unsuccessful Service                                               Document
             Filed by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)


05/16/2023   CH-710 Notice of Hearing to Renew Restraining Order                             Document
             Issued and Filed by: Clerk
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 681 of 801



Date          Message                                                                      Category       Download

05/16/2023    Minute Order (Civil Harassment Restraining Order Hearing)                    Minute Order



05/16/2023    Civil Harassment Restraining Order Hearing scheduled for 05/16/2023 at       Event
              09:00AM in Hayward Hall of Justice at Department 519



06/07/2023 Civil Harassment Restraining Order Hearing scheduled for 06/07/2023 at          Event
           09:00AM in Hayward Hall of Justfce at Department 519



06/07/2023    CH-116 Order on Request to Continue Hearing                                  Document
              Issued and Flied by: Clerk



06/07/2023    Civil Harassment Restrahing Order Hearing scheduled for 07/05/2023 at        Event
              09:00AM In Hayward Hall of Justice at Department 519



06/07/2023    Amended CH-710 Notice of Hearing to Renew Restraining Order                  Document
              Issued and Filed by: Clerk



06/07/2023    Minute Order (Civil Harassment Restraining Order Hearing)                    Minute Order



06/07/2023   Civil Harassment Restraining Order Hearing scheduled for 06/07/2023 at        Event
             09:00AM in Hayward Hall of Justice at Department 519 Held-Continued was
             rescheduled to 07/05/202309:00 AM



06/14/2023 Application for Order for Alternative Service of Clvll Harassment Temporary     Document
           Restraining Order CCP Sec, 527.6(m)(2)
             Filed by: John Gibson (Petitioner)
             Type: Without Hearing



06/14/2023   Updated --Application for Order for Alternative Service of Civil Harassment   Document
             Temporary Restraining Order CCP Sec, 527,6(m)(2):
             Result: Granted
             Result Date: 06/14/2023



06/21/2023   Order Re: Appllcation for Alternative Service of Civil Harassment             Document
             Filed by: Clerk



07/03/2023   Proof of Service by Substituted Service                                       Document
             Filed by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)
             Proof of Mailing Date: 06/21/2023
             Service Cost: 120.00
             Service Cost Waived: No
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 682 of 801




Date         Message                                                                       Category       Download

07/03/2023   Proof of Service by Mall                                                      Document
             Filed by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)
             After Substituted Service of Summons and Complaint?: No



07/03/2023   Declaration of Mailing                                                        Document
             Flied by: John Gibson (Petitioner)



07/05/2023   CH-730 Order to RenewClvil Harassment Restraining Order                       Document
             Issued and Filed by: Clerk



07/05/2023   Minute Order (Civil Harassment Restraining Order Hearing)                     Minute Order



07/05/2023   Civil Harassment Restraining Order Hearing scheduled for 07/05/2023 at        Event
             09:00 AM in Hayward Hall of Justice at HHJ / Department 519 updated:
             Result Date to 07/05/2023
             ResultType to Held



07/12/2023   CH-600 Request to Modify/fermlnate Civil Harassment Restraining Order         Document
             Filed by: Mary Bernstein (Respondent)
             As to: John Gibson (Petitioner)



07/12/2023   CH-610 Notice of Hearing on Request to Modify/fermin·ate Civil Harrassment    Document
             Restraining Order
             Filed by: Mary Bernstein (Respondent)
             As to: John Gibson (Petltion·er)

                                        --   --   -----


07/17/2023   Civi'l Harassment Restraining Order Hearing Notice of Hearing on Request to   Event
             Terminate CH Restraining Order scheduled for 08/03/2023 at 09:00 AM ln
             Hayward Hall of Justice at HHJ / Department 519



07/17/2023   Updated --CH-610 Notice of Hearing on Request to Modify/ferminate Civil       Document
             Harrassment Restraining Order:
             Status Date changed from 07/12/2023 to 07/17/2023



07/26/2023   Proof of Service of CH-600, CH-610, CH-620                                    Document
             Filed by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)



07/31/2023   Proof of Personal Service                                                     Document
             Flied by: Mary Bernstein (Respondent)
             As to: John Gibson (Petitioner}
             Service Cost Waived: No



08/03/2023   Minute Order (Civil Harassment Restraining Order Hearing Notice of Hearing    Minute Order
             ..
             , )
Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 683 of 801




Date         Message                                                                      Category   Download

08/03/2023   Order re: Civil Harassment Restraining Order Hearing Notice of Hearing on    Document
             Request to Terminate CH Restraining Order
             Signed and Flied by: Clerk



08/10/2023   Civil Harassment Restraining Order Hearing Notice of Hearing on Request to   Event
             Terminate CH Restraining Order scheduled for 08/03/2023 at 09:00 AM in
             Hayward Hall of Justice at Department 519 updated:
             Result Date to 08/03/2023
             ResultType to Held



04/11/2024   CH-700 Request to Renew Restraining Order                                    Document
             Filed by; John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)



04/11/2024   CH-710 Notice of Hearing to Renew Restraining Order                          Document
             Received from: John Gibson (Petitioner)



04/11/2024   Civil Harassment Restraining Order Hearing scheduled for 05/08/2024 at       Event
             09:00AM in Hayward Hall of Justice at Department 519



04/11/2024   Updated --CH-710 Notice of Hearing to Renew Restraining Order:               Document
             Status Date changed from 04/11/2024 to 04/11/2024
             Status changed from Pending in WQ to Issued and Flied



04/11/2024   CH-710 Notice of Hearing to Renew Restraining Order                          Document
             Pending In WQ by:



05/06/2024   CH-715 Request to Reschedule Hearing to Renew Restraining Order              Document
             Filed by: John Gibson (Petitioner)



05/06/2024   CH-716 Order to Reschedule Hearing to Renew Restraining Order (CLETS)        Document
             Received from: John Gibson (Petitioner)



05/06/2024   Declaration Evidence                                                         Document
             Filed by: John Gibson (Petitioner)



05/06/2024   Affidavit of Unsuccessful Service                                            Document
             Filed by: John Gibson (Petitioner)



05/06/2024   CH-716 Order to Reschedule Hearing to Renew Restraining Order (CLETS)        Document
             Pending in WQ by:
Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 684 of 801




Date         Message                                                                        Category   Download

05/07/2024   Updated --CH-716 Order to Reschedule Hearing to Renew Restraining Order        Document
             (CLETS):
             Status Date changed from 05/06/2024 to 05/07/2024
             Result: Granted
             Status changed from Pending in WQ to Issued and Flied



05/07/2024   Civil Harassment Restraining Order Hearing scheduled for 05/08/2024 at         Event
             09:00AM ln Hayward Hall of Justice at Department 519 Not Held -Continued
             - Party's Motion was rescheduled to 05/29/2024 09:00 AM



05/28/2024   CH-715 Request to Reschedule Hearing to Renew Restr·aining Order               Document
             Flied by: John Gibson (Petitioner)
             As to: Mary Bernstein (Respondent)



05/28/2024   CH-716 Order to Reschedule Hearing to Renew Restraining Order (CLETS)          Document
             Received from: John Gibson (Petitioner)



05/28/2024   Updated --CH-716 Order to Reschedule Hearing to Renew Restraining Order        Document
             (CLETS):
             Status Date changed from 05/28/2024 to 05/28/2024
             Result: Granted
             Status changed from Pending ln WQ to Issued and Filed



05/28/2024   CH-716 Order to Reschedule Hearing to Renew Restraining Order (CLETS)          Document
             Pending in WQ by:



05/28/2024   Civil Harassment Restraining Order Hearlng scheduled for 05/29/2024 at         Event
             09:00AM in Hayward Hall of Justice at Department 519 Not Held-Continued
             - Party's Motion was rescheduled to 06/18/2024 09:00 AM



05/29/2024   Ex Parte Application Application for Order for Alternative Service of Civil    Document
             Harassment Temporary Restraining Order CCP Sec. 527.6(m)(2)
             Filed by: John Gibson (Petitioner)
             Type: Without Hearing



05/29/2024   Order Alternate Service                                                        Document
             Received from: John Gibson (Petitioner)



05/29/2024   Updated -- Ex ParteApplication Application for Order for Alternative Service   Document
             of Civil Harassment Temporary Restraining Order CCP Sec. 527.6(m)(2):
             Result: Denied
             Result Date: 05/29/2024



05/29/2024   Order Alternate Service                                                        Document
             Signed and Filed by: John Gibson· (Petitioner)
            Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 685 of 801




            Date          Message                                                                 Category       Download

            06/13/2024 CH-200 Proof of Personal Service (Civil Harassment}                        Document
                       Filed by: John Gibson (Petitioner)
                       As to: Mary Bernstein (Respondent)



            06/18/2024 CH-730 Order to Renew Clvll Harassment Restraining Order                   Document
                       Issued and Flied by: Clerk


           06/18/2024    Minute Order (Civil Harassment Restraining Order Hearing filed by John   Minute Order
                         Glbs ...)


            06/18/2024 Civil Harassment Restraining Order Hearing scheduled for 06/18/2024 at     Event
                       09:00 AM in Hayward Hall of Justice at Department 519 updated:
                       Result Date to06/18/2024
                       ResultType to Held




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23CV031593 GIBSON vs TIGANO
Civil Unlimited (Civil Harassment) Hayward Hall of Justice/ DEPT 519 - HON. Mark Fickes
Filed: 04/24/2023                                                                         J   Document Download ]

Case Summary



     Register of Actions    Partici12ants
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 687 of 801




Date         Message                                                                   Category       Download

04/24/2023   CH-100 Request for Civil Harassment Restraining Order                     Document
             Filed by: John J. Gibson (Petitioner)
             As to: Elizabeth G, Tigano (Respondent)



04/24/2023   Case assigned to Hon. Elizabeth Riles in Department 519 Hayward Hall of   Assignment
             Justice



04/24/2023   Civil Harassment Restraining Order Hearing scheduled for 05/16/2023 at    Event
             09:00AM in Hayward Hall of Justice at Department 519



04/24/2023   Updated --CH-110Temporary Restraining Order (Civil Harassment):           Document
             Status Date changed from 04/24/2023 to 04/24/2023
             Result: Granted
             Status changed from Pending in WQ to Issued and Filed



04/24/2023   CH-110 Temporary Restraining Order (Civil Harassment)                     Document
             Pending in WQ by:



04/25/2023   Amended CH-110 Temporary Restraining Order (Civil Harassment)             Document
             Issued and Filed by: Clerk



05/15/2023   Affidavit of Unsuccessful Service                                         Document
             Filed by: John J. Gibson (Petitioner)
             As to: Elizabeth G. Tigano (Respondent)



05/16/2023   CH-116 Order on Request to Continue Hearing                               Document
             Issued and Filed by: Clerk



05/16/2023   Minute Order (Clvil Harassment Restraining Order Hearing)                 Minute Order



05/16/2023   Civil Harassment Restraining Order Hearing scheduled for 05/16/2023 at    Event
             09:00 AM in Hayward Hall of Justice at Department '519



06/07/2023   Civil Harassment Restraining Order Hearing scheduled for 06/07/2023 at    Event
             09:00AM in Hayward Hall of Justice at Department 519



06/07/2023   CH~116 Order on Request to Continue Hearing                               Document
             Issued and Filed by: Clerk



06/07/2023   Civil Harassment Restraining Order Hearing scheduled for 07/05/2023 at    Event
             09:00AM in Hayward Hall of Justice at Department 519



06/07/2023   Minute Order (Civil Harassment Restraining Order Hearing)                 Minute Order
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Date         Message                                                                         Category       Download

06/07/2023 Civil Harassment Restraining Order Hearing scheduled for 06/07/2023 at            Event
           09:00 AM In Hayward Hall of Justice at Department 519 Held - Continued was
           rescheduled to 07/05/2023 09:00 AM



06/14/2023   Ex Parte Application Application for Order for Alternative Service of Civil     Document
             Harassment
             Filed by: John J, Gibson (Petitioner)
             As to: Elizabeth G. Tlgano (Respondent)
             Type: With Hearing


06/14/2023   Updated -- Ex Parte Applicatlon Application for Order for Alternative Service   Document
             of Civil Harassment:
             Result: Granted
             Result Date: 06/14/2023



06/21/2023   Order Re: Application for Alternatlve Service of Civil Harassment               Document
             Filed by: Clerk



07/03/2023   Proof of Service by Substituted Service                                         Document
             Filed by: John J, Gibson (Petitioner)
             As to: Elizabeth G. Tigano (Respondent)
             Proof of Mailing Date: 06/21/2023
             Service Cost: 120.00
             Service Cost Waived: No


07/03/2023   Proof of Service by Mail                                                        Document
             Filed by: John J, Gibson (Petitioner)
             As to: Elizabeth G, Tigano (Respondent)
             After Substituted Service of Summons.and Complaint?: No



07/03/2023   Declaration of Malling                                                          Document
             Filed by: John J, Gibson (Petitioner)



07/05/2023 CH-730 Order to Renew Civil Harassment Restraining Order                          Document
           Issued and Flied by: Clerk



07/05/2023   Minute Order (Civil Harassment Restraining Order Hearing)                       Minute Order



07/05/2023 Civil Harassment Restraining Order Hearing scheduled for 07/05/2023 at            Event
           09:00AM In Hayward Hall of Justice at HHJ /Department 519 updated:
           Result Date to 07/05/2023
           ResultType to Held
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EXHIBIT M

23 The lord is my shepherd; I shall not want.
2
  He maketh me to lie down in green pastures: he
leadeth me beside the still waters.
3
 He restoreth my soul: he ieadeth me in the paths
of righteousness for his name's sake.
4
 Yea, though I walk through the valley of the
shadow of death, I will fear no evil: for thou art with
me; thy rod and thy staff they comfort me.
5
 Thou preparest a table before me in the presence
of mine enemies: thou anointest my head with oil;
my cup runneth over.
6 Surely goodness and mercy shall follow me all the

days of my life: and I will dwell in the house of
the Lord for ever.
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 691 of 801




                                                         D/6/TAL FILM AR.TS&.




    •   We felt so small we felt so undermined not able to see the faces the remarks we felt completely
        overpowered
    •   My sister on 114 2020 said about Luanne Rutherford attacking the disabled not going to
        tolerate, that she is not attacking Luanne about issues, the judge said nothing

My sister said at the CMC on 114 2020 she is not going to stand for abuse against the disabled any
longer her or witnesses. Luanne Rutherford papers mock always pointing out mary disabilities. I am
disabled and I do not want to be cut down by this attorney. I am a disabled student and I have rights to
be treated with respect as a witness. I am a person and not some sort of a freak simply because I have
endured traumas and have disorders as a result of others behaviors. Emotional disorders does not
mean that you are inhuman or subhuman. I attend college work with disabled counselors and they treat
me with respect, they demand teachers and students treat me with respect. I am not on trial. My sister
is not on trial. We did nothing wrong and we will not tolerate being criminalized for disabilities. We will
not tolerate heckling, criticsm, sneering and jeering at how we present testimony and evidence.
Smirking, rolling eyes or other disrespect is not to be tolerated. it is surprising that it comes from a
"professional attorney 11 woman that is so much older than we are. We expect civility in a formal
courtroom setting and in legal writings, I am a mother, a responsible person and I have overcome many
obstacles. I do not deserve to be discredited because of my disabilities by an attorney that has an issue
with disabled people.
  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 692 of 801




Jaqueline lllera
Occupational Therapist
Children's Book Author Do Re Me ET for Fun
15934 Sunburst Street
North Hills, CA 91343
916545 0095
Email: japple444@outlook.com


Declaration Jacqueline lllera Occupational Therapist Children's Book
Author

Luanne Rutherford State Bar Complaint

My name is Jacqueline V. lllera and I am knowledgeable about mistreatment Mary Bernstein has been
enduring. Mary has been going through corporate mobbing unbearable I have endured with her in HOA
Community assaulted myself there with her. Home sales judge assisting them in transcript I read FHA
guiding these Insurance defense counsel,

I am a naturalized citizen have been in court and the judge is not supposed to assist a side but is to act
as referee, I am a naturalized American. I do not deserve to be discredited because I am a foreigner and
naturalized citizen. I am a published author and occupational therapist.

Mary is a functioning, caring adult despite ail she has endured and continually is enduring. Proof Luanne
is consulting all homeowners on individual matters against Mary and directing their behavior to gaslight
Mary as a tactic based on circumstantial evidence. Reasonable basis to believe that this attorney is
directing this behavior. Luanne not retained In other matters yet footprints, hand prints all over the
standard, similar responses, Non attorneys, uneducated using legal language in emails. I am
occupational therapist am aware of physical. Mary is disabled physically from accident her infant and
her nearly killed In cross walk while walking in cross walk to daycare. Mary is extremely bright suffers
from PTSD was a legal professional for many years.

Home sale real estate the exact same language used in Mona Oliver1 Derc Yamasak John Gibson
Warwick Hoyle say same thing that Luanne said in 10 9 2019 transcript opposition to extend stay
demonstrating that Luanne is counseling them all against Mary. These people defame Mary saying she
is psychotic, institutionalized her whole life. John Gibson directed a group of people at us July 10, 2020
circled around us in car admitted they were upset about lawsuit. Mary provided medical records to
defense counsel and these residents are aware of private medical records provided in discovery.

January 8 2021




                             -
Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 693 of 801




EXHIBIT N
 E.   7 Be still before the Lord

           and wait patiently for him;
      do not fret when people succeed in their ways,
        when they carry out their wicked schemes.
      8
 F.       Refrain from anger and turn from wrath;
           do not fret-it leads only to evil.
      9
          For those who are evil will be destroyed,
           but those who hope in the Lord will inherit the land.
      10
 G.        A little while, and the wicked will be no more;
           though you look for them, they will not be found.
      11 But the meek will inherit the land

           and enjoy peace and prosperity.
      12
 H.        The wicked plot against the righteous
           and gnash their teeth at them;
      13 but the Lord laughs at the wicked,

           for he knows their day is coming.
 I.   14 The wicked draw the sword

        and bend the bow
      to bring down the poor and needy,
           to slay those whose ways are upright.
      15 But their swords will pierce their own hearts,

           and their bows will be broken.
      16
 J.        Better the little that the righteous have
           than the wealth of many wicked;
      17 for the power of the wicked will be broken,

           but the Lord upholds the righteous.
 K.   18 The blameless spend their days under the Lord's care,

           and their inheritance will endure forever.
      19 In times of disaster they will not wither;

           in days of famine they will enjoy plenty.
      20
 L.        But the wicked will perish:
           Though the Lord's enemies are like the flowers of the field,
       they will be consumed, they will go up in smoke.
 M. 21 The wicked borrow and do not repay,
           but the righteous give generously;
      22 those the Lord blesses will inherit the land,

           but those he curses will be destroyed.
           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 694 of 801




 ATTORNEY OR PAATYWITHOUT ATTORNEY         •            STATE BAR NUMBER:
 NMte: Jody Winter#249592/Jennifer Panlcker #258656/Sean Fredin #315513
FIRM NAME: LloydWlnter, P.C.
                                                                                              •                    1111111111111111111111111111111111111111111111111111111

                                                                                                               FOR COURT use ONL y
                                                                                                                                  240761204



STREET AOORESS: 1724 Broadway St., #6                                                                        FILED
CITY: Fresno                                            STATE: CA     ZIP CODE: 93721                     ALAMEDA COUNTY
TELEPHONE NO., (559) 233-3636                          FA>< No., (559) 385-2000
 E-MAlL ADoRess: lwi nter@lloydwintertaw.comfjpanicKer@lloydwlnterlaw.com                                      SEP 2 4 2021
ATTORNEY FOR fna""'t Plainllff Mary Bernstein

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda                                                   CLERK~ SU~l<Kl\JR COURT
  STREET ADDRESS: 2233 Shoreline Drive                                                             By                • a. !{i,.&i
 MAil.iNG ADDRESS: 2233 Shoreline Drive
                                                                                                                                                Deputy
CITY /\NO z1r, cooe: Alameda 94501
     BRANCH NAME; Civil Unlimited

   PLAINTIFF: Mary Bernstein
 DEFENDANT: Associa Northern California et al. (See attachmenl one)                             CASE NUMaER;

     OTHER: Third Party MUFG Union Bank, N.A.                                                    HG18897381

                          NOTICE OF LIMITED SCOPE REPRESENTATION                                JUOGE:    ~aul D, Herbert
                          D   Amended                                                           O'EPT.:   20

                  (Note: This fonn Is for use In i:;lvll cases other than family law. For family law cases, use fonn FL-950.]

1, Attorney (name): UoydWlnter, P.C.
   and party (name): Mary Bernstein
   who is lhe        m
                    pelilioner/plaintiff        D   respondenUdelendant      D      other (describe):
     have an agreement that the attorney will provide limited scope representation in this case to the party.

2. The attomey wlll represent the party
     a, IT] at lhe hearing on (date): October 29, 2021
        []J and at any continuance of that hearing
          CJ until submission of the order after hearing
     b.   D at the trial on (data):
          CJ and at any continuance of that trial
          D until judgment
     c.   [E] other (specify nature and duration of representation):
                   The attorney will file an Opposition to Defendants Associa Northern Califofnia, Meadow Brook Village Association -
                   Fr.emont and Massingham & Associates' Motion for summary Judgment and supporting documents on behalf of Mary
                   Bernstein,




3. By signing this form, the party agrees to sign Substitution of Attomey-Clvlf (form MC-050} at the completion of the representation                                        e21
   described above.
                                                                                                                                                                             ........
                                                                                                                                                                              fu
                                                                                                                                                                               "'
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CIV•150{Rav. S11ptembll11\ 20181
           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 695 of 801




  PLAINTIFF: Mary Bernstein                   •
DEFENDANT: Assocla Northam California et al. (See attaGhment one)
     OTHER: Third Party MUFG Union Bank, N.A.
                                                                                           • CASE NUMBER:
                                                                                             HG18897381
                                                                                                                                   CIV-150




4. During the limited scope representation, parties and the court must serve papers on both the attomey named above and dlrectty on
    the party. (Cal. Rules of Court, rule 3.36.) The party's name and address for purpose of service are as follows:

    Name: Mary Bernstein
    Address (for the purpose of service):
     3416 Deeiwood Terrace #113
     Fremont, CA 94536


    Telephone: (510) 938-6280
    Fax: none




This notice accuratety states all current matters and Issues on which the attorney has agreed to serve as an attorney for the party in this
case. The Information provided on this form Is not Intended to state all of the tenns and conditions of the agreement between the party
and the attorney for limited scope representation,




Date: September 14 , 2021

 Mary Bernstein
                        (TYPE OR PRINT NAME OF PARTYI                                                       (S!GNAlURE OFPAA.lY)




 Date: September 17 , 2021

 Jennifer J, Panlcker
                      (TYPE OR PRINT NAME oF ATTORNEY}                                                 (SIGNATURE OF ATTORNEY)




                                                                                                                                    Page ll of3
 CIV•ISO [Rov.Septembar 1, 2018}                    NOTICE OF LIMITED SCOPE REPRESENTATION
       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 696 of 801




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    PIJl!l{flFI': Mary a.n,,..1n     ·   ·.
                                          . .      ·       . · . .                                   CASi NUMBER:
 OEFENliANT: -               Nallhem ca~a .. al. (S.. ahaGlm>enlorio)                                HG16897381
        OlHER: TI1\~Part)IMUFO.µn\011.Banl<,,NJ\,                       . •

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      Fresno, CA 9-3-721

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                  cot«Se al business with !he United StafEs Pos1sl Sef'lice.        •        •
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     a, on (date): September 17; 2021
     b. lrom (city and stale): Fresno, CA
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  b, N&,mltafpe'fSonS8Ned:::       •             • • •                             .c:. Nam a of pB{SD~. served:
          Luanne Rulherford, Esq-'                .
          sueei aadreu.: 3480 .eual<lft< AV•, n2sli •                                   street: addreal!
          City: Pleasant HIii
          State. and zip code; CA. 94523.                                               State add :rip cad'e:

     b, Name af parson serv~d.:·                                                   ··d. Na~e. of~_eman ~ed: ·.

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          City:                                                                         C(ty:
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Donna M. f(ennbon                                                                               ►    PttiUl,<2,Mt. r / ~ , i ,
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For)", p.utectlon 111mtfl'WaCT, ~'prisr,-ttre-c•
This fo,m bult.o1'alb!r you have p,tntod the foffn. •
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 697 of 801




 SH0RTTITlE:
                                    •
- Ma,y Bernstein v. Associa Northern California et al.
                                                                                          •             HG1f897381
                                                                                                                          MC-025




                                                       ATTACHMENT (Number/: .::O~NE::,:..._ __
                                     (TIiis Attachment mey be used v.111> any Jud/c/91 COUnc/1 fumt.)
Defendant ABC LLC I: COMMON ITEREST MANAGEMENT ROWINGS LLC
OefendantAGARWAL,ASHOK
Defendant AQUILINA, DAWN
Defendant BUONO, JILL
Defendant CONDIO-HERNANDEZ, SUSAN
Defendant COSENTINO, JERRY
DefendantCOUNfY OF ALAMEDA
Defendant DALY, SHARON
Defendant DEJESUS,AMY
Defendant DHAVALE, VIRENDRA
Defendant DURBIN, MICHAEL
Defendant ERYMAN, MARY
Defendant GIBSON, JOHN
Defendant HALL, ELIZABBTII (LIZ)
Defendant HOLLINGSWOR.llf, BELINDA
Defendant HOLLINGSWORTH, WARREN
Defendant HOYLE, WARWICK
Defendant JUDGE, GURNOOR
Defendant KRAMER, LINDA
Defendant LINARES, GERALDINE
DefendaotLOKE, CHAI MlN
Defendant LOWERY, IBFFRBY
Defendant MASSINGHAM & ASSOCIATES
Defendant MEADOW BROOK VILLAGE ASSOCIATION • FREMONT
DefendantMOLJGNONI, LEB
Defendant MOR.RISON, JOEY
Defendant OLIVER, MONA
Defendant RAMAN!, VIPUL
Defendant IUTI'ER, LEANNE
Defendant RIVERA, JACOB
Defendant RIVERA, JOAQUIN
Defendant SCHNEIDER, WILLIAM
Defendant SHEAFFER, LAURIE
Defendant SHEATH, CHANDAN
Defendant SIMONSON, MARK
Defendant STATE OF CALIFORNIA
Defendant TANJOCO, CHE SAE'FUR.N
Defendant THAKUR, AARTI
Defendant VARICATT, ROHIT
Defendant WEST, CHARLIB




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 Alfllchmont a,v made under penally of pe,jury,)                                                           (Allri pages•• ,vqu/,vd)
                                                          ATTACHMENT
                                                     to Judlclal Councll Form
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           SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                              Hayward Hall of Justice


 [vlary Bernstein                                        No.       HG18897381
 •                  Plaintlff/Petltloner(s)
                vs.                                      Date:     05/16/2022
 Associa Northern California et al                       Time:     8:36 AM
                    DefendanURespondent(s)
                                                         Dept:     512
                                                         Judge:    Eumf Lee

                                                           ORDER re: Ruling on Submitted Matter


·The Court, having taken the matter under submission on 05/06/2022, now rules as follows: The
 tnolion of defendants Associa Northern California, Meadow Brook Village Association -
 Fremont, and Massingham Associates ("Defendants") move for summary judgment is
 GRANTED, as set forth below.

 REQUEST FOR JUDICIAL NOTICE

'Defendants' request for judicial notice of the Declaration of Covenants, Conditions and
: Restrictions for Meadow Brook Village - Fremont, recorded in Alameda County Clerk- .
. -Recorder's Office on November 9, 1982, and the November 9, 2020 order regarding Defendants'
   motion to deem requests admitted, is GRANTED, (Evid.C.§§452(d), 452(h).) [The Cou1t notes
  .that the November 9, 2020 order submitted by Defendants as Exhibit 6 denied rather than
  granted that motion, but ordered Plaintiff to provide verified, code-compliant responses to
   ))efendants' reqttests for admissions by February 11, 2021, to be reviewed by the Cotli"t for
  ,compliance  at a later Case Management Conference,]

 BVIDENTIARY OBJECTJONS

• Plaintiffs responsive separate statement asserts objections to nearly all of Defendants' evidence,
  but Plaintiff has not filed evidentiary objections that comply in form or content with the
  t'equirements of CRC 3.1354, so the Court is unable to rule on them.               •
  l                                                                                        '
 Defendants' reply to the statement of additional facts filed by Plaintiff in support of her
 bpposition contends that many of the facts are irrelevant and/or inadmissible. However,
 Pefendants have not filed evidentiary objections that comply in form or content with<;:RC
 \l.1354, so the Court is unable to 1ule on them.

 9THERPROCEDURALISSUES
 '
 Plaintiffs request to deny the motion on the ground that Defendants' separate statement fails to
 fomply with CRC 3.1350 is denied,                                                            '· '
 ,·(.:
 l\t the hearing on this motion, Plaintiff argued that any deficiencies in Defendants' separate
 ~tatement were cause for denial of the motion, citing Parkview Villas Assn,, Inc, v. State Farm

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Fire & Casualty Co. (2005) 133 Cal.App.4th 1197 (trial court erred in granting summary
judgment based on plaintiffs submission of defective separate statement). Defen,dants' separate
statement substantially complies with the requirements of the CRC. Plaintiff was able to oppose
!lie motion on its merits and was also able to respond to Defendants' 23-page separate statement
with a 137-page responsive separate statement, which included 153 additional facts as applied to
each of Plaintiff's twelve causes of action. Plaintiff was afforded due process on this motion.

None of the disputed or additional facts were cited in the brief, which refers only to portions of
Plaintiff's declaration. Nevertheless, the Court reviewed and considered the parties' briefs,     •
separate statements, and evidence, and concludes that Plaintiffs opposition failed to r?ise a
triable issue of material fact on any issue raised by the moving papers.

CONTINUANCE UNDER CCP §437c(h)
'
At the hearing, Plaintiff moved orally for further discovery under CCP section 437c(h). In ! ' '
~bpport of this request, Plaintiff cited the last paragraph of her opposition brief, which states that
where discovery is not complete, "summary judgment is not appropriate absent clear and
lincontroverted legal bases that would preclude the plaintiff from recovering on any legal theory
~t trial." (Plaintiff's Memorandum of Points and Authorities, p.11.)

This request is untimely. Defendants filed this motion on August I0, 2021. The hearing was
continued by the Court from October 28, to January 7, 2022, and again to May 6, 2022. In·
becember 2021, Plaintiff retained counsel to prepare her opposition papers, which do not request
a continuance or submit an affidavit stating that facts "essential to justify opposition may exist
but cannot, for reasons stated, be presented." (CCP §437c(h).) Plaintiffs declaration states that
\he has not completed discovery (see Bernstein Deel., par.14), but she fails to explain why the
6'utstanding discovery is "essential" to the opposition, or has not been completed 'in light ofthe
ract that this case has been pending since March 19, 20.\8.                                     • •
V

1Tl]t is not sufficient under the statute merely to indicate further discovery or investigation'is
contemplated. The statute makes it a condition that the party moving for a continuance show
'facts essential to justify opposition may exist.' " (Bahl v. Bank of America (2001) 89
Cal.App.4th 389, 397.) The purpose of the affidavit is "to inform the court of outstanding
discovery which is necessary to resist the summary judgment motion." (Ibid.) Absent such an
affidavit or explanation, the Court does not find good cause to continue the hearing pursuant to
~ection 437c(h).

LEGAL STANDARD ON SUMMARY JUDGMENT

¥-. moving party defendant has met its burden of showing that a cause of action has no merit if
the party has shown that one or more elements cannot be established, or that there is a .complete
!lefense to the cause of action. Once the defendant has met that burden, the burden shil"is to the
plaintiff to show that a triable issue of material fact exists as to the cause of action or a defense
thereto. (CCP §437c(p)(1 ).) The motion for summary judgment shall be granted if all'the papers
submitted show that there is no triable issue as to any material fact and that the moving pa1ty is
bntitled to a judgment as a matter oflaw. (CCP §437c(c); DeCastro West Chodorow & Burns,
Inc. v. Superior Court (1996) 47 Cal.App.4th 410, 422.)
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A defendant moving for summary judgment on the ground that the plaintiff does not possess, and
cannot reasonably obtain, needed evidence, must support the motion with evidence, including
;'affidavits, declarations, admissions, answers to interrogatories, depositions, and matters of ••
which judicial notice" must or may "be taken." (CCP §437c, subd. (b).) (Aguilar v. Atlantic
Richfield Co. (2001) 25 Cal.4th 826, 855.)

DISCUSSION

plaintiffs complaint, filed on March 19, 2018, concerns property located at 3416 Deerwoqd
Terrace, Unit 113, in Fremont. The unit is part ofa condominium complex that includes two

pools for use by the HOA members. Plaintiff alleges that Defendants made misrepresentations to
her regarding ihe pool to induce her to purchase the unit; failed to provide a heated pool year- ··'
round; and restricted her access to the pools, which violated her rights as a disabled person and
diminished her ownership value, She also alleges Defendants imposed an illegal Emergency
Assessment on the members in November 2017, which breached the HOA's obligations under
the Covenants, Conditions and Restrictions ("CC&Rs"). Plaintiff alleges that she experienced
harassment, discrimination, and retaliation based on her disabilities.

'The operative complaint contains twelve causes of action: (1) fraud and embezzlement, (2) ,
ifreach of fiduciary duty, (3) breach of contract, (4) breach of the implied covenant of good faith
and fair dealing, (5) intentional infliction of emotional distress, (6) negligent infliction of
emotional distress, (7) intentional misrepresentation, (8) negligent misrepresentation, (9) breach
pf the CC&Rsand bylaws, (10) violation of the Unruh Civil Rights Act (Civ.C.§51 et seq.), (l l)'
:,,iolations of the California Disabled Persons Act (Civ.C.§54 et seq.), and (12) injunctive and
Ueclaratory relief. Defendants move for summary judgment, or in the alternative, surr\h1ary
adjudication as to each cause of action.

I\. Fraud and Embezzlement (Issue One - First Cause of Action)
'
''The elements of fraud, which give rise to the tort action for deceit, are (a) misrepresentation
(false representation, concealment, or nondisclosure); (b) knowledge of falsity (or 'scienter'); (c)
\),tent to defraud, i.e., to induce reliance; (d) justifiable reliance; and (e) resulting damage.'':'' "
~Lazar v. Superior Ct. (1996) 12 Cal.4th 631, 638.) In California, fraud must be pied specifically;
~eneral and conclusory allegations do not suffice. "This particularity requirement' necessitates
pleading facts which 'show how, when, where, to whom, and by what means the representations
were tendered,"' (Id. at 645.) "A plaintiffs burden in asserting a fraud claim against a corporate
bmployer is even greater. In such a case, the plaintiff must '"allege the names of the persons who
\;nade the allegedly fraudulent representations, their authority to speak, to whom they. spoke, what
they said or wrote, and when it was said or written."' (Id.) Embezzlement is a criminal offense
defined as "the fraudulent appropriation of property by a person to whom it has been intrusted."
~Pen.C.§503.)

~laintiffs first cause of action for "fraud and embezzlement" alleges Defendants'colii1ded t6 take
~roperty from owners by imposing unreasonably high assessments, failed to advise Plaintiff
when she moved into the property that she would not enjoy the full benefit and privileges for a •
~                                                                                           •-       .
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majority of the year, and "suppressed and concealed certain material facts." (Complaiht, par.45-
48.)

Defendants argue that Plaintiff has failed to properly plead a cause of action for fraud, and has
railed to identify any evidence in support of this claim. Plaintiff's allegations failto satisfy the
heightened pleading standard for fraud because Plaintiff omits facts showing when, whe1-e, or by
whom the alleged statements were made. Despite the deficiencies in the complaint, the Court
considers the allegations in the opposition.

Plaintiffs opposition to this motion fails to create any triable issues of material fact as to the
fraud claim. Plaintiff contends that Defendants represented that the members' vote on the

Emergency Assessment would be binding, but then ignored the results of the vote (Bernstein
Deel., par,6, 36, 38, 39); that Defendants concealed material information about pool access when
she purchased the home (Id., par.19-26); that at some point Defendants lied about the reason for
not offering greater pool access (Id., par. I, 25); that at some point Defendants told Pthintiff that .
~omeone would come to open the pool, intending to induce her to wait, when they knew no'tine .
would come (Id., par.28); and that Defendants reported at some point that the special assessmerii
was necessary due to wear and tear oi· tenant damage, when this was not true (Id., par. 35). :
C

The above allegations in Plaintiffs declaration are the sole evidence offered in support of these
arguments. Plaintiff provides no basis for her personal knowledge sun·ounding the Board's
approval of the Emergency Assessment in November 2017. In addition, the Board was
authorized under Civil Code section 5610(b) to approve an Emergency Assessment as a matter of
.law without member approval in an "emergency situation." Under the statute, an "emergency
situation" includes "[a]n extraordinary expense necessary to repair or maintain the common
interest development or any part of it for which the association is responsible where .a threat to
personal safety on the property is discovered." (Civ.C.§5610(b).) Thus, a later vote tb·approve or
llisapprove the 2017 Emergency Assessment has no clear legal effect on the legality of the ,
Assessment, nor does Plaintiff identify any evidence supporting her apparent contention that
\here was no "emergency situation" necessitating an Emergency Assessment in 2017.

Plaintiffs statements about needing pool access and Defendants' alleged material concealment
to induce her to purchase the property do not m-eate a triable issue of fact as to fraud ..The
complaint alleges that Plaintiff acquired title from her father-in-law, not that she purchased the
property from the Defendants. (See Complaint, par.11.) Plaintiffs declaration does not establish:
that Defendants knew that there would be limited pool access at the time Plaintiff acquired title
to the property in 2006. Plaintiffs contention that the pools cannot be made available year-round
or properly heated due to cost are "not true," and that the damage giving rise to the Emergency
Assessment was the result of "Defendants' negligent property maintenance," are'bnsupported by
~ny foundation or evidence.
~
                                                                                     '             '
                                                                                                     .

None of the cited portions of Plaintiffs declaration concern embezzlement.

Defendants' separate statement identifies Plaintiffs deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
·statement partially disputes many of the material acts identified in support of this issue, but the
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disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
discovery, and has not completed discovery herself. She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs responses in the separate statement do not create triable issues of fact.

At the hearing, Plaintiff argued that the 2018 Notice and Order of Abatement creates an
''.inference" that triable issues exist as to the first, second, and ninth causes of action because it
tlemonstrated Defendants' failure to manage and maintain the HOA, based on the Health at\c\
$afety Code violations, and demonstrated mismanagement of the HOA dues. This argument is an
entirely different theory for Plaintiffs claims for fraud, breach of fiduciary duty, and breach of
the CC&Rs and bylaws than what is alleged in the Complaint. When pressed, Plaintiffs counsel
cited to paragraphs 17, 18, and 22 of the Complaint, which allege some maintenance problems
(par.I 7, 18) and reference the HOA dues amounts paid by membe1·s (par.22), but fail to tie these
allegations to the above claims.

In connection with this argument, Plaintiff also cited paragraphs 33 to 35 of her declaration,
which state conclusorily and with no evidentiary basis, that "Defendants have mismanaged
funding and are mismanaging the pools to the harm and detriment of residents, including me"
(Bernstein Deel., par.33); that "[t]he premises are negligently maintained and dainagcid·due io the
Inaction and behavior of the defendants' representatives, including but not limited to Susan·
Hernandez, and citing examples like inadequate roof repairs, rodent infestation, and other
fuaintenance issues (Id., par.34); and that "Defendants have negligently maintained the prope1ty
·in violation of the law, Bylaws, and CC&Rs and have thereby caused the damage noted int his ·l
complaint and in the city's noiice regarding the dilapidated and uninhabitable state of the
community" (Id., par.35). These statements are allegations, and not evidence. Plaintiff has not :·
raised a triable issue of material fact as to these claims by citing these paragraphs in her
declaration.

Defendants are entitled to summary judgment on the first cause of action.

)3. Breach of Fiduciary Duty (Second Cause of Action)
Plaintiffs second cause of action appears to allege that Defendants breached a fiduciary duty to
Plaintiff by engaging in self-dealing and imposing "unreasonable assessments" on her...
(Complaint, par.62.)

Defendants argue there is no evidence of self-dealing or breach, but to the extent this claim is
based on the imposition of the Emergency Assessment in 2017, it was authorized to do so under
Civil Code section 5610(b), following the City of Fremont's issuance ofa Notice and Order to
Abate Nuisance on September 18, 2017.

Plaintiff argues that the Emergency Assessment was "egregious and not eligible for the Civil
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Code section 56 l0(b) exception," and that this.is a factual issue for the jury. Plaintiff offers no
evidence for this contention in paragrnphs 38 and 39 of her declaration, the sole evidentiary
support cited.for this argument. Paragraph 38 states that the residents opposed an Emergency
Assessment in January 2018, but Defendants imposed it anyway, and contends that the
assessment "violates the CC&Rs, Bylaws, and the applicable law" and is "extreme and
excessive." Paragraph 39 accuses Defendants of"passing off their fine/monetary liability for
their negligent maintenance of the prope1ty to innocent homeowners like myself." These
statements are conclusory and lack foundation, and fail to raise a triable issue of disputed fact as

to whether Defendants breached a fiduciary duty to Plaintiff by imposing an Emergency
Assessment under Civil Code section 561 0.

Defendants' separate statement identifies Plaintiff's deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiff's responsive separate
statement partially disputes many of the material acts identified in support of this issue, but the
disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint dr
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to ,::
discovery, and has not completed discovery herself. She cites generally to her own discove1y
i:esponses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs respon~es in the separate statement do not create triable issues of fact.

The Court incorporates the above analysis regarding the Plaintiff's argument at the hearing that
the 2018 Notice and Order of Abatement creates an "inference" that triable issues exist as to the
first, second, and ninth causes of action.

Defendants are entitled to summary judgment on the second cause of action.

C. Breach of Contract (Third Cause of Action)
:Plaintiffs third cause of action alleges that in February 2006, Plaintiff entered into an
unidentified agreement with the HOA, and that Defendants breached that agreement in February
2017 by placing padlocks around the pool areas, and by failing in May 2017 to heat the pool
during the summer. (Complaint, par.70-71.)

Defendants argue that Plaintiff has never produced the alleged agreement, and that hei· discovery
responses fail to identify any evidence in support of this claim.

In opposition, Plaintiff argues the parties are bound by the CC&Rs, and that Defendants have
"_breached their obligation by failing to follow protocol for levying the special assessment, failing
\o maintain the pool heated and available, failing to permit Plaintiff enjoyment of her home,
failing to maintain the premises, failing to properly notice or conduct meetings, and failing to
send annual reports or allow document inspection." In support of this argument, Plaintiff cites
paragraphs 6, 8, 19-26, 28, 35, 36, 38, 42, and 43 of her declaration, and certain provisions of
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Exhibit 5 (Bylaws) and Exhibit 6 (CC&Rs) thereto.

The complaint frames the issues in the case and for purposes of summary judgment. (Hutton v.
Fidelity National Title Company (2013) 213 Cal.App.4th 486, 493.) The complaint does not
allege what the alleged "agreement" is. Fmihe1more, the opposition papers significantly broaden
the allegations in the complaint regarding this cause of action to encompass not only issues
related to pool access, but also procedural, notice, and voting requirements under the CC&Rs
and/or the Bylaws. The portions of Plaintiff's declaration cited in support of these new

contentions exceed the scope of the allegations in the complaint, and the portions of the
declaration that do pertain to pool access (par.19-26) fail to create a triable issue of material fact
regarding breach of contract, because it is not clear what agreement was allegedly breached by
placing padlocks around the pool areas cir failing to heat the pool.

Defendants' separate statement identifies Plaintiffs deficient discovery responses in'support of
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
statement partially disputes many of the material acts identified in support of this issue, buithe '·
disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
discovery, and has not completed discovery herself, She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs responses in the separate statement do not create triable issues of fact.

Defendants are entitled to summary judgment on the third cause of action.

D. Breach of Implied Covenant of Good Faith and Fair Dealing (Fourth Cause of Action)·

A breach of the implied covenant of good faith and fair dealing "involves something beyond
breach of the contractual duty itself." (Careau & Co. v. Sec. Pac. Bus. Credit, Inc. (1990) 222
Cal.App.3d 1371, 1394.) "[A]llegations which assert such a claim must show that the conduct of
the defendant, whether or not it also constitutes a breach ofa consensual contract te1in, •
demonstrates a failure or refusal to discharge contractual responsibilities, prompted not by an
honest mistake, bad judgment or negligence but rather by a conscious and deliberate act, which
unfairly frustrates the agreed common purposes and disappoints the reasonable expectations of
the other party thereby depriving that party of the benefits of the agreement. Just what conduct
will meet this criteria must be determined on a case by case basis and will depend on the
contractual purposes and reasonably justified expectations of the parties." (Id. at 1395.)

Plaintiff's fourth cause of action alleges that in February 2006, Plaintiff entered into an
agreement with the HOA, the essential terms of which are "Monthly Assessment payments for
maintenance of property and use of common interest areas including pool area." (Complaint,
par.75.) The complaint alleges Defendants breached that agreement in November 2016 by
completely closing the pool area for winter and not reopening until Spring 2017, by not
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adequately heating the pool, and by closing the pool and failing to open the pool area
consistently. (Id., par.77.) The complaint alleges, "The CC&Rs, bylaws, disclosure statements or
loan documents do not state the pool is a seasonal privilege or that the pool is to be unheated."
(Id.)

Defendants argue the complaint fails to state a claim for breach of the implied covenant because
it simply re-states the Plaintiff's breach of contract claim, and otherwise argues that Plaintiff has
not produced any evidence to support the claim.

In her opposition brief, Plaintiff states conclusorily that "Defendants acted with malice in failing
to perform their contractual obligations, with the intent to retaliate against and harm Plaintif[" ln
suppo11 of this allegation, Plaintiff cites paragraphs 8-10, 20, 25, 28, 29, 30, 37-39, and 47 of her
declaration.                                                                                    •

Plaintiff has failed to identify any triable issue of fact as to her breach of contract claim, and her
conclusory statement regarding malice similarly fails to establish any triable issue as to whether ·
Defendants intentionally refused to discharge some contractual duty that deprived Plaintiff of the
benefit of that contract.

Defendants' separate statement identifies Plaintiffs deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
statement partially disputes many of the material acts identified in support of this· issue, but the L
disputes appear to be based on incomplete evidentiary objections (see the Court's preliminai'y L:
statement regarding evidentiary objections), the formatting of the separate statement, or            :,
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to·
discovery, and has not completed discovery herself. She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.                      •

Plaintiffs responses in the separate statement do not create triable issues of fact.

Defendants are entitled to summary judgment on the fourth cause of action.

E. Intentional Infliction of Emotional Distress ("IIED") (Fifth Cause of Action)

"A cause of action for IIED requires proof of: (1) extreme and outrageous conduct by the
defendant with the intention of causing, or reckless disregard of the probability of causing,
emotional distress; (2) the plaintiff suffered severe emotional distress; and (3) the defendant's
extreme and outrageous conduct was the actual and proximate cause of the severe emotional
distress." (Crouch v. Trinity Christian Ctr. of Santa Ana, Inc. (2019) 39 Cal.App.5th 995, 1007.)
A defendant's conduct is considered to be outrageous if "it is so extreme as to exceed all bounds
of that usually tolerated in a civilized community." (Id. (internal quotations omitted).) To find
liability, the conduct at issue must be "so outrageous in character, and so extreme in degree, as to
go beyond all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable
in a civilized community." (Id.)


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Plaintiffs fifth cause of action alleges, "[a]s a result of Defendants agents [sic]
misrepresentations that pool facilities are too expensive to maintain and that Plaintiff should join
a country club, Plaintiff has suffered depression. As a result, Plaintiff incurred loss of enjoyment
of benefits. I have physical and emotional consequences result of [sic] conduct of Defendant
employees and agents. The entire ownership process at Meadow Brook devalued [sic] leaving
me in a position with no ownership benefits and immense debt emergency assessment in the

amount of$33,262 and more emergency assessments forthcoming. I have physical and emotional
consequences as a result of conduct of Defendants." (Complaint, par.82.)

Defendants argue that the alleged conduct and the additional actions described in Plaintiff's
discovery responses fail to rise to the level of"extreme and outrageous" necessary to prove this
claim.            •

Plaintiffs opposition expands the allegations to include additional conduct such as retaliation
and discrimination, denial of access to the pool despite knowing she is disabled and suffers
physical pain, and knowing concealment of information regarding the Emergency Assessment,
and argues this is a jury question.

fo support of the allegations in the opposition, Plaintiff cites paragraphs 6, 19-26, 28-30, 40, 47/.
48, and SI of her own declaration. These portions of her declaration contain allegations and
unsupported legal conclusions, including assertions that the HOA did not give notice of the
Emergency Assessment in accordance with the law, that Defendants intentionally concealed facts
regarding the pool at the time she purchased the unit, that Defendants refused to give her a·
padlock key to access the pool "to harm and retaliate against me," that Defendants' behavior "is
so extreme that it exceeds all bounds of that usually tolerated in a civilized community," and
other statements that do not reflect extreme and outrageous conduct by Defendants, such as that
Richard Fong told her that there were security cameras installed on the premises. These portions.
of Plaintiff's declaration do not raise a triable issue of fact as to the IIED claim.

Pefendants' separate statement identifies Plaintiffs deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate          •
'statement partially disputes many of the material acts identified in support of this issue; but the
disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or   •
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
discovery, and has not completed discovery herself. She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs responses in the separate statement do not create triable issues of fact.

Defendants are entitled to summary judgment on the fifth cause of action,

F. Negligent Infliction of Emotional Distress ("NIED") (Sixth Cause of Action)


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                                     Hayward Hall of Justice
A claim for NIED is not an independent tort, but a claim for negligence, to which the "traditional
elements of duty, ·breach of duty, causation, and damages apply." (Eriksson v. Nunnink (2015)
233 Cal.App.4th 708, 729.) In considering the existence of a duty towards the plaintiff, the cou11
considers factors such as "the foreseeability of harm to the plaintiff, the degree of certainty that •
plaintiff suffered injury, the closeness of the connection between the defendant's conduct and the
injury suffered, the moral blame attached to the defendant's conduct, the policy of preventing

future harm, the extent of the burden to the defendant and consequences to the community of
imposing a duty to exercise care with resulting liability for breach, and the availability, cost, and
prevalence of insurance for the risk involved." (Id.)

Plaintiff's sixth cause of action contains allegations identical to the IIED claim,

Pefendants argue the complaint fails to state a claim for NIED because it does not allege a '¢I ear
duty or breach, that no duty exists by an HOA to its members to prevent the infliction of
emotional distress, and that Plaintiff has failed to produce any evidence to support this claim.

Plaintiff argues Defendants owe her a fiduciary duty as an HOA member (see Golden Eagle
Land Investment, LP v. Rancho Santa Fe Assn. (2018) 19 Cal.App.5th 399,425 ("Generally,
fiduciary duties owed by a homeowners association to its members are limited to those arising
from its governing documents and relevant statutory requirements")), but cites no other legal
authority in support of the existence ofa general duty owed by an HOA to its members, and no
evidence that would raise a triable issue of fact with respect to any of the elements ofa
negligence claim.

Defendants' separate statement identifies Plaintiffs deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
statement partially disputes many of the material acts identified in support of this issue, bu( the
disputes appear to be based on incomplete evidentiary objections (see the Cami's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
discovery, and has not completed discovery herself. She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs responses in the separate statement do not create triable issues of fact.

Defendants are entitled to summary judgment on the sixth cause of action.

G. Intentional Misrepresentation (Seventh Cause of Action)

As noted above, the elements of a claim for fraud based on intentional misrepresentation are (a) a
misrepresentation, (b) knowledge of falsity, (c) the intent to defraud, (d) justifiable reliance, and
(e) resulting damage. (Lazar v. Superior Ct., supra, 12 Cal.4th at 638.) In California, fraud must
be pied specifically, which "necessitates pleading facts which 'show how, when, where, to
whom, and by what means the representations were tendered.'" (Id. at 645.)

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The seventh cause of action alleges that Defendants "stated in the emergency assessment that the
reserves have been underfunded for years," that she acted in justifiable reliance on that
representation, that the statement was intended to and did deceive Plaintiff, and that the
"rationale for the fraud was their desire to obtain payment for unreasonable assessments and not
provide Plaintiff with the benefits represented," (Complaint, par.86,) The complaint also alleges
numerous statements and actions by HOA board member Susan Hernandez regarding the pool.
(Id.)

Defendants argue the complaint fails to state a claim for fraud based on intentional
misrepresentation because it does not allege that Defendants knew the representation was false or
how Plaintiff was harmed. Defendants also argue that Plaintiff's discovery responses provide no
evidence to support this claim.

The complaint frames the issues in the case and for purposes of summary judgment. (Hutton v. •
Fidelity National Title Company (2013) 213 Cal.App.4th 486, 493.) The opposition papers
significantly broaden the allegations in the complaint regarding this cause of action.

Nevertheless, as with the first cause of action for fraud, Plaintiff's opposition fails to create any
triable issues of material fact as to the claim for intentional misrepresentation. Plaintiff again
argues, citing the same portions of her own declaration as evidence, that Defendants represented
that the members' vote on the Emergency Assessment would be binding, but ignored the results
of a vote on the issue (Bernstein Deel., par.6, 36, 38, 39); that Defendants concealed material
information about pool access when she purchased the home (Id., par.19-26); that at some point
Defendants lied about the reason for not offering greater pool access (Id., par. I, 25); that at some
point Defendants have told Plaintiff that someone would come to open the pool, intending to
induce her to wait, when they knew no one would come (Id., par.28); and that Defendants
reported at some point in time that the special assessment was necessary due to wear and tear or
tenant damage, when this was not true (Id., par.35). Plaintiff also argues that Richard Fong's
"claims about recording residents," if untrue, also constitutes an intentional misrepresentation
(Id., par.40.)

The same analysis set forth above with respect to the first cause of action for fraud applies to the
seventh cause of action.

Defendants' separate statement identifies Plaintiffs deficient discovery responses in suppo1t or
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
statement partially disputes many of the material acts identified in support of this issue, but the
disputes appear to be based on incomplete evidentiary objections (see the Comt's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. Plaintiff fully disputes Material Fact No. 46, which contends Susan
Hernandez did not make the alleged statements, but the cited portions of Plaintiffs declaration
(par. 7 and 8) state conclusorily that Hernandez knew the statements were not true, and that the
pool was closed in the winter "due to retaliation and poor money management by Defendants," •
but provide no factual support for these assertions. In response to certain facts, Plaintiff cites to
the complaint, or paragraphs 12-14 of her own declaration, which state that she was unable to

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      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
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fully respond to discovery, and has not completed discovery herself. She cites generally to her
own discovery responses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs responses in the separate statement do not create triable issues of fact.

Defendants are entitled to summary judgment on the seventh cause of action.

H. Negligent Misrepresentation (Eighth Cause of Action)

"The elements of negligent misrepresentation are '(I) the misrepresentation ofa past or existing
material fact, (2) without reasonable ground for believing it to be true, (3) with intent to induce
another's reliance on the fact misrepresented, (4) justifiable reliance on the misrepresentation,
and (5) resulting damage.' While there is some conflict in the case·law discussing the precise
degree of particularity required in the pleading of a claim for negligent misrepresentation, there
is a consensus that the causal elements, particularly the allegations of reliance, must be
specifically pleaded. (Nat'! Union Fire Ins. Co. of Pittsburgh, PA v. Cambridge Integrated Servs.
Grp., Inc. (2009) 171 Cal.App.4th 35, 50 (internal citation omitted).)

The eighth cause of action alleges that "Susan Hernandez stated they could not afford to heat the
pool," "that if people wanted to use the pool year round they needed to join a country club," and
.that Hernandez "caused the pool area to be closed entirely for 3 months during 2016-2017
winter." (Complaint, par.88.) Plaintiff alleges she "believed that it was contained in the CC&Rs
that the pools one of them constantly closed in the winter and not heated fully," though she also
alleges, "[r]eview of the CC&Rs which Plaintiff did not possess or see recently does riot reflect
any such agreement." (Id.) Plaintiff also alleges, "Defendants stated in the emergency assessment
that the reserves have been underfunded for years." (Id.)

Defendants argue the complaint fails to state a claim for negligent misrepresentation because it
does not allege that Hernandez made a false statement without reasonable ground for believing it
to be true with the intent to induce reliance or that Plaintiff suffered any damage. Defendants
also argue Plaintiff has not in fact suffered any hann because she did not pay the Emergency
Assessment. Defendants argue that Plaintiff's discovery responses provide no evidence to
support this claim.

In opposition, Plaintiff states that "Defendants made multiple misrepresentations to Plaintiff'
(citing paragraphs 7, 21, 28, and 40 of Plaintiffs declaration), and states conclusorily that
Defendants have not meet their burden on this issue, and that there are "several material facts iti''
dispute that should be presented to the trier of fact."

The cited portions of Plaintiff's declarations contain conclusions and unsupported assertions, and
otherwise fail to raise a triable issue as to whether Hernandez or any other person made untrue
statements without reasonable grounds to believe they were true, with the intent to induce
Plaintiff's reliance.

 Defendants' separate statement identifies Plaintiff's deficient discovery responses in support of
 their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
 statement partially disputes many of the material acts identified in support of this issue, but the

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       SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
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disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. Plaintiff again disputes Material Fact No. 46, which contends Susan

Hernandez did not make the alleged statements, but the cited portions of Plaintiffs declaration
(par.7 and 8) state conclusorily that Hernandez knew the statements were not true, and that the
pool was closed in the winter "due to retaliation and poor money management by Defendants,"
but provide no foundation for these assertions. In response to certain facts, Plaintiff cites to the
complaint, or paragraphs 12-14 of her own declaration, which state that she was unable to .fully
respond to discovery, and has not completed discove1y herself. She cites generally to her own
discovery responses, but fails to identify any disputed issues of fact raised by them .

.Plaintiffs responses in the separate statement do not create triable issues of fact.

Defendants are entitled to summary judgment on the eighth cause of action.

i. Breach of CC&Rs and Bylaws (Ninth Cause of Action)
The ninth cause of action alleges that Defendants breached the CC&Rs and Bylaws "by causing
a forfeiture and or abridgement ofowner's right to the full use and enjoyment of the residence
and common areas despite no judgment of a court of competent jurisdiction, arbitration decision,
failure to pay assessments; foreclosure or sale under a power of sale page 6 of the Bylaws," and
"by attempting to circumvent maximum annual 20% increase in assessments through a
'preliminary' $33,262 'emergency assessment' to be followed by unknown additional
.'emergency assessments' with no end in sight." (Complaint, par.91-92,)

Defendants argue Plaintiff has failed to identify any provision of the CC&Rs that was breached
by the HOA, and has produced no evidence to support this claim.

The complaint frames the issues in the case and for purposes of summary judgment. (Hutton v.
Fidelity National Title Company (2013) 213 Cal.App.4th 486, 493.)

The opposition papers significantly broadens the allegations in the complaint regarding this
cause of action by arguing that "Defendants have breached their obligation by failing to follow
protocol for levying the special assessment, failing to maintain the pool heated and available,
failing to permit Plaintiff enjoyment of her home, failing to maintain the premises, failing to
properly notice or conduct meetings, and failing to send annual repo1ts or allow document
inspection." In support of this argument, Plaintiff cites paragraphs 6, 8, 19-26, 28, 35, 36, 38, 42,
43 of her declaration, and Exhibits 5 (Bylaws) and 6 (CC&Rs) thereto.

Defendants' separate statement identifies Plaintiffs deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
statement partially disputes many of the material acts identified in support of this issue, but the
disputes appear to be based on incomplete evidentiary objections (see the Comt's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
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objecting to its contents. In response to certain facts, Plaintiff cites to the complaint, or
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
discovery, and has not completed discovery herself. She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs responses in the separate statement do not create triable issues of fact.

As discussed above, although Article III of the CC&Rs sets forth the procedures and purposes
for levying regular assessments, special assessments, capital improvement assessments,
reconstruction assessments, and uniform assessments on HOA members, the HOA was also .
authorized as a matter of law to approve an Emergency Assessment without member approval in·
an "emergency situation," which includes "[a]n extraordinary expense necessary to repair or
inaintain the common interest development or any part of it for which the association is        .
responsible where a threat to personal safety on the property is discovered." (Civ.C.§5610(b).)
Plaintiff identifies no evidence supporting her apparent contention that the HOA was required to
follow the protocols in the CC&Rs when it levied the Emergency Assessment in 2017.

The Court incorporates the above analysis regarding the Plaintiffs argument at the hearing that
the 2018 Notice and Order of Abatement creates an "inference" that triable issues exist as to the
first, second, and ninth causes of action.

Defendants are entitled to summary judgment on the ninth cause of action.

J. Violation of Civil Code section 51 (Unruh Civil Rights Act) (Tenth Cause of Action) and Civil
Code section 54 (California Disabled Persons Act) (Eleventh Cause of Action)

The Unruh Civil Rights Act is a public accommodation statute that was designed to prevent
discrimination by covered entities, including business establishments. Civil Code section 51 (b)
states, "All persons within the jurisdiction of this state are free and equal, and no matter what
their sex, race, color, religion, ancestry, national origin, disability, medical condition, genetic
information, marital status, sexual orientation, citizenship, primary language, or immigration
status are entitled to the full and equal accommodations, advantages, facilities, privileges, or
services in all business establishments of every kind whatsoever."

The tenth cause of action for violation of the Unruh Act alleges that Plaintiff is a person with a
disability, that moving party Defendants are business establishments within the meaning of the "
Unruh Act, and that despite being on notice that "the lack of accommodation for use of the pool
area hot tub and heated pool excludes disabled plaintiff of medical treatment and ,·elaxation
much or the benefits that she pays for monthly through association dues," Plaintiff "has been
denied full and equal access to ownership benefits," which have caused Plaintiff to suffer harm,
in violation of the Unruh Act. (Complaint, par.97-102.)

"Under applicable provisions of the Disabled Persons Act (Civ.Code, § 54 et seq.), "[i]ndividuals
with disabilities shall be entitled to full and equal access, as other members of the general public,
to ... places of public accommodation, amusement, or resort, and other places to which the
general public is invited .... " (Civ.Code, § 54.1, subd. (a)(!), see also§ 54, subd. (a) ["Individuals
with disabilities or medical conditions have the same right as the general public to the full and
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free use of the streets, highways, sidewalks, walkways, public buildings, ... public facilities, and
other public places"].)" (Carolyn v. Orange Park Cmty. Assn. (2009) 177 Cal.App.4th I090,
1098.)

The eleventh cause of action for violation of the California Disabled Persons Act ("CDP A")
alleges that Defendants violated Plaintiff's rights by denying her full and equal access to the pool
area year around, and consistently during posted hours. (Complaint, par. 109.)

"Purely residential areas of a common interest development are not public accommodations."
(Carolyn v. Orange Park Cmty. Assn., supra, 177 Cal.App.4th at 1099 (citing Coronado v.
Cobblestone Village Community Rentals, LP (2008) 163 Cal.App.4th 83 I (disapproved on other
grounds in Munson v. Del Taco, Inc. (2009) 46 Cal.4th 661, 678).) In Carolyn, the Fourth
District Court of Appeal held that recreational trails maintained by the Orange Park Community
Association, a homeowners' association and common interest development, also failed to qualify
as "public accommodation" within the meaning of the California Disabled Persons Act or the·
Unruh Act. (Id. at 1104.) The Court stated that although recreational common areas within
common interest developments can be classified as public accommodations in appropriate
circumstances," they were not appropriately classified as such in that case because the
association "actively excluded the general public from using the trails." (Id.)

 Article XII of the CC&Rs ("Rights of Enjoyment") states, in relevant part: "Every Member shall
have a nonexclusive easement for use and enjoyment in and to the Common Area and such right
shall be appurtenant to and shall pass with the interest required to be an Owner to every
Residence, subject to all of the easements, covenants, conditions, restrictions and other
provisions contained in this Declarntion, including without limitation, the following provisions:
(a) The right of the Association to limit the number of guests of Members, and to limit the use of
the recreation facilities, if any, on the Common Area by persons not in possession of a
Residence, but owing a portion for the interest in a residence required for membership."
'(Rutherford Deel., Exh.2, Article XII, Section I.)

The Court infers from this language that common areas within the HOA property are subject to
the right of the HOA to exclude the general public.

Plaintiff argues that whether the community at issue here is the type of residential facility
excluded from the coverage of the Unruh Act and the CDPA is a question of fact to be
determined by the jury. The opposition cites no evidence to create a disputed issue of fact about
whether the HOA pools are public accommodations subject to the Act.

Defendants are entitled to summary judgment on the tenth and eleventh causes of action.

K. Injunctive Relief/ Declaratory Relief(Twelfth Cause of Action)

The twelfth cause of action for injunctive relief/declaratory relief states only, "PRELIMINARY
INJUNCTION TO PREVENT THE ENFORCEMENT, COLLECTION OF THE
EMERGENCY ASSESSMENT DUE APRIL 2, 2018 and subsequent emergency assessments •
levied during the pendency of this trial." (Complaint, par.I IS.)

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"Injunctive and declaratory relief are equitable remedies, not causes of action." (Faunce v. Cate
(2013) 222 Cal.App.4th 166, 173.) To qualify for declaratory relief, a party must demonstrate
that the action presents two essential elements:"(!) a proper subject of declaratory relief, and (2)

an actual controversy involving justiciable questions relating to the parties' rights or obligations.
(Wilson & Wilson v. City Council of Redwood City (2011) 191 Cal.App.4th 1559, 1582.)

Plaintiff argues in the opposition brief that the assessment "was egregious and not eligible for the
Civil Code section 5610(b) exception," and cites paragraphs 38 and 39 of her declaration. These
portions of her declarat.ion assert that the assessment was extreme and excessive, and improperly
levied. These are allegations and conclusions that do not create a triable issue of fact under the
CC&Rs. In her responsive separate statement, she disputes that the Emergency Assessment .was
lawfully imposed under section 561 0(b) by citing paragraph 6·of her own declaration, which
states conclusotily that the Emergency Assessment packet was not properly approved. by the
Board, and "was not prepared, approved, or noticed in accordance with the requirements of the •
law." This statement is unsupported by any foundation or evidence, and fails to create a triable •
issue of fact on this claim,

To the extent the complaint may be construed to allege an actual controversy between the parties
regarding their respective rights and obligations under the CC&Rs, and the Plaintiff's right to
injunctive relief in some respect, there appears to be no evidence indicating the existence of a
triable issue of material fact with respect to Plaintiff's right to a declaratory judgment or
injunctive relief with respect to the CC&Rs.

Defendants are entitled to summary judgment on the twelfth cause of action.

Defendants Associa Northern California, Meadow Brook Village Association - Fremont, and
Massingham Associates' motion for summary judgment is GRANTED. Defendants are to
prepare a proposed judgment and file it within 30 days of this Order, emailing a courtesy copy in
Word to dept5l2@alameda.courts.ca.gov.

Clerk is directed to serve endorsed-filed copies of this order, with proof of service, to counsel
and to self-represented parties of record by mail.

Dated: 05/16/2022



                                                       Euml Lee I Judge




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                                                                     Fremont and Massihgham Associates' motion for
                                                                     summary judgment. This proposed Judgement is being
                                                                     provided pursuant to California Rules of Court, Rule
                                                                     3.1312. Accordingly, please provide your response In
                                                                     accordance with that Rule of Court by signing and
                                                                     returning it approved as to form, or providing a
                                                                     compliant response.

                                                                     Luanne Rutherford
                                                                     Partner


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                               christopher.allard@mcnamaralaw.com                                       County of .Alameda
                         2     McNAMARA, AMBACHER, WHEELER,                                                07/17/2023
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                               Pleasant Hill, CA 94523                                       By. ,         ,      •      J·    O,puty
                         4     Telephone: (925) 939-5330                                                       '; • , fieg,-
                               Facsimile: (925) 939-0203
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                               Attomeys for Defendants
                     6         ASSOCIA NORTHERN CALIFORNIA, a California
                               Corporation; MEADOW BROOK VILLAGE ASSOCIATION -
                     7         FREMONT, a Califomia Corporation; MASSINGHAM &
                               ASSOCIATES, a California Corporation; LEANNE RITTER;
                     8         AARTI THAKUR; MARK SIMONSON; ROMULO ZAFRA;
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                               ELIZABETH HALL; GERALDINE LINARES; CHARLIE
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                    10         JUDGE; LAURA SHEAFFER; JILL BUONO; DERC
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j "el               18        ASSOCIA NORTHERN CALIFORNIA, et                  ASSOCIA NORTHERN CALIFORNIA,
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                              al.,                                             MEADOW BROOK VILLAGE
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                    19                                                         ASSOCIATION - FREMONT, AND
:." '"•             20
                                             Defendants,                       MASSINGHAM & ASSOCIATES;
                                                                               DISMISSAL WITH PREJUDICE

                    21
                                                                               Complaint Filed: 3/19/2018
                    22

                    23              On May 16, 2022, the Honorable Eumi Lee, Judge of the Superior Court, issued an order

                    24       granting the motion for summary judgment by defendants Associa Northern California, Meadow

                    25       Brook Village Association - Fremont, and Massingham Associates ("Defendants") under Section

                    26.      437c of the Code of Civil Procedure. A copy of the Order is attached hereto as Exhibit A. In

                    27       accordance with that order,

                    28              IT IS ORDERED, ADJUDGED, AND DECREED (hat:

                               [PROPOSED] JUDGMENT IN FAVOR OF ASSOCIA NORTHERN CALIFOR"l!A, MEADOW BROOK VILLAGE
                                   ASSOCIATION - FREMONT, AND MASSINGHAM & ASSOCIATES: DISMISSAL WITH PREJUDICE
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                                                                                             1.


                                        1.        Judgment is entered in favor of defendants Associa Northern California, Meadow

                           2     Brook Village Association - Fremont, and Massingham Associates, and against plaintiff Mary

                           3     Bernstein, and Mary Bei;nstein shall take nothing from these Defendants by her Complaint. As

                           4     prevailing parties, Defendants are entitled to recover their costs from plaintiff pursuan~t.!;/11

                           5     authorized by Code of Civil Procedure §§ I 032 and l033,$.,-}ma ~FS@y's f@@a piirsu•n\ ta --.)

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                                                                            fWV.U.~~ ~ C :                4   IJ;~t •
                                                  Defendants Associa Northern California, Meadow Brook Village Association -

                           8     Fremont, and Massingham Associates are dismissed from this action with prejudice.

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                                   [PROPOSED] JUDGMENT IN FAVOR OF ASSOCIA NORTHERN CALIFORNIA, MEADOW BROOK VILLAGE
                                       ASSOCIATION - FREMONT, AND MASSINGHAM & ASSOCIATES; DISMISSAL WITH PREJUDICE
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                      EXHIBIT A
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'i
        SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                        Hayward Hall of Justice


 Mary Bernstein                                     No,        HG18897381
 •               Pla!ntlff/Petlt!oner(s)
                   vs.                              Date:      05/16/2022
 Associa Northern California et al                  Time:      8:36AM
                 DefendanVRespondent(s)
                                                    Dept:      512
                                                   Judge:      Euml Lee
 ,.;
                                                     ORDER re: Ruling on Submitted Matter


.. The Court, having taken the matter under submission on 05/06/2022, now rules as follows: The
   inotion of defendants Associa Northern California, Meadow Brook Village Association -
   Fremont, and Massingham Associates ("Defendants") move for summary judgment is
   GRANTED, as set forth below,

: REQUEST FOR JUDICIAL NOTICE

' Defendants' request for judicial notice of the Declaration of Covenants, Conditions and
: Restrictions for Meadow Brook Village - Fremont, recorded in Alameda County \;(erk- ..
•. -Recorder's Office on November 9, 1982, and the November 9, 2020 order regarding Defendants'
   !]lotion to deem requests admitted, is GRANTED, (Evid,C,§§452(d), 452(h),) [The Court notes
   Jhat the November 9, 2020 order submitted by Defendants as Exhibit 6 denied rather than
    granted that motion, but ordered Plaintiff to provide verified, code-compliant responses to
   befendants•· requests for a1missions by February 11, 2021, to be reviewed by the Coh'i't for
    bompliance at a later Case Management Conference,]
 '
 EVIDENTIARY OBJECTIONS
 I•
• Plaintiff's responsive separate statement asserts objections to nearly all of Defendants' evidence,
, but Plain1iffhas not filed evidentiary objections that comply in form or content with the
  t'equirements of CRC 3, 1354, so the Court is unable to rule on them,
 (:

 Defendants' reply to the statement of additional facts filed by Plaintiff in support of her
 ~pposition contends that many of the facts are irrelevant and/or inadmissible. However,
 Pefendants have not flied evidentiary objections that comply in form or content with C::RC
 ~- I354, so the Court is unable to rule on them.                                         '

 9THER PROCEDURAL ISSUES
 '
 Plaintiff's request to deny the motion on the ground that Defendants' separate statement fails to
 ~omply with CRC 3.1350 is denied,                                                          '' ,·.
 C
 ,:
 ~t the hearing on this motion, Plaintiff argued that any deficiencies in befendants' separate
 ~tatement were cause for denial of the motion, citing Parkview Villas Assn,, Jnc, v, State Farm

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        SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
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Fire & Casualty Co, (2005) 133 Cal.App.4th 1197 (trial court erred in granting summary
judgment based on p.laintitfs submission of defective separate statement), Defendant?' separnte
statement substantially complies with the requirements of the CRC. Plaintiff was.able to oppose
\he motion on its merits and was also able to respond to Defendants' 23-page separate statemen.t
\vith a l 37-page responsive separate statement, which included 153 additional facts as applied to
each of Plaintiff's twelve causes of action, Plaintiff was afforded due process on this motion,

None of the disputed or additional facts were cited in the brief, which refers only to portions of
Plaintiff's declaration. Nevertheless, the Court reviewed and considered the parties' b'riefs,     •
?eparate statements, and evidence, and concludes that Plaintiffs opposition failed to r~ise a
triable issue of material fact on any issue raised by the moving papers,

 !'.;ONTINUANCE UNDER CCP §437c(h)
.i
 l\t the hearing, Plaintiff moved orally for further discovery under CCP section 437c(li), In i-' ..'
 ~6pport of this request, Plaintiff cited the last paragraph of her opposition brief, which stat~_~thi/t.
where discovery is not complete, "summary judgment is not appropriate absent clear and • ••
lincontroverted legal bases that would preclude the plaintiff from recovering on any legal theory
 ~t trial," (Plaintiff's Memorandum of Points and Authorities, p. J J,)

This request is untimely, Defendants flied this motion on August l 0, 2021. The hearing V.:as
continued by the Court from October 28, to January 7, 2022, and again to May 6, 2022, In •
 becember 2021, Plaintiff retained counsel to prepare her opposition papers, which do not request
 a continuance or submit an affidavit stating that facts "essential to justify opposition may exist
 but cannot, for reasons stated, be presented." (CCP §437c(h).) Plaintiff's declaration slates that
·she has not completed discovery (see Bernstein Deel., par.14), but she fails to exiilai~ why the .
 5utstanding discovery is "essential" to the opposition, or has not been completed 'In light ofthe
 fact that this case has been pending since March l 9, 2018,                                   • '' ':,
,,
1;[I]t is not sufficient under the statute merely to indicate further discovery or investigation'is
contemplated. The statute makes it a condition that the party moving for a continuance show
'facts essential to justify opposition may exist.'" (Bahl v. Bank of America (2001) 89
Cal.App.4th 389, 397.) The purpose of the affidavit is "to inform the court of outstanding
~iscovery which·is necessary lo resist the summary judgment motion." (Ibid.) Absent such an
affidavit or explanation, the Court does not find good cause to continue the hearing pursuanno
~ection 437c(h),
'                                                                                     iJ '
LEGAL STANDARD ON SUMMARY JUDGMENT
{:~
:½>. moving party defendant has met its burden of showing that a cause of action has no merit if
ihe party bas shown that one or more elements cannot be established, or that there is •.~omplete
defense to the cause of action. Once the defendant has met that burden, the burden shifts to the
plaintiff to show that a triable issue of material fact exists as to the cause of action or a defense
thereto. (CCP §437c(p)(1).) The motion for summary judgment shall be granted ifall'the papers
submitted show that there is no triable issue as to any material fact and that the moving party is
bntitled to a judgment as a matter of law. (CCP §437c(c); DeCastro West Chodorow "& Bums,
Inc. v, Superior Court (1996) 47 Cal.App.4th 4 J0, 422.)
ORDER re: Ruling on Submltted'Matter                                                        • Page 2 of 16
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"'      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
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'A defendant moving for summary judgment on the ground that the plaintiff does not possess, and
cannot reasonably obtain, needed evidence, must support the motion with evidence, inclu\ling
;'affidavits, declarations, admissions, answers to interrogatories, depositions, and matters of
which judicial notice" must or may "be taken," (CCP §437c, subd. (6).) (Aguilar v. Atlantic
)lichfield Co. (2001) 25 Cal.4th 826, 855.)

DISCUSSION

Plaintiff's complaint, filed on March 19, 2018, concerns property located at 34 l ;; Deerwo~d
1'errace, Unit 113, in Fremont. The unit is part of a condominium complex that includes two

pools for use by the HOA members. Plaintiff alleges that Defendants made misrepresentations to
 _her regarding ihe poo·1 to induce her to purchase the unit; failed to provide a heated pool year- •
found; and restricted her access to the pools, which violated her rights as a disabled person and
diminished her ownership value. She also alleges Defendants imposed an illegal Emergency
Assessment on the members in November 2017, which breached the HOA 's obligations under
the Covenants, Conditions and Restrictions ("CC&Rs"), Plaintiff alleges that she experienced
.harassment, discrimination, and retaliation based on her disabilities.
j

'.The operative complaint contains twelve causes of action: (!) fraud and embezzlement, (2)
£reach of fiduciary duty, (3) breach of contract, (4) breach of the implied covenant of good faith
ind fair dealing, (5) intentional infliction of emotional distress, (6) negligent infliction of
~motional distress, (7) intentional misrepresentation, (8) negligent misrepresentation, (9) breach
pf the CC&Rs.and bylaws, (10) violation of the Unruh Civil Rights Act (Civ,C.§51 et seq.), (11)'
~iolations of the California Disabled Persons Act (Civ.C.§54 et seq,), and (12) injunctive and
tleclaratory relief. Defendants move for summary judgment, or in the alternative, sunHnary
adjudication as to each cause of action.

!A, Fraud and Embezzlement (Issue One - First Cause of Action)
I
'.'The elements of fraud, which give rise to the tort action for deceit, are (a) misrepresentation
/false representation, concealment, or nondisclosure); (b) knowledge of falsity (cir 'scrente,;'); (c)
(btent lo defraud, i.e., to induce reliance; (d) justifiable reliance; and (e) resulting damage?.'' •:
eLazar v. Superior Ct. (1996) 12 Cal.4th 631, 638.) In California, fraud must be pied specifically;
~eneral and conclusory allegations do not suffice. "This particularity requiremenf necessitates .
pleading facts which 'show how, when, where, lo whom, and by what means the representations
were tendered."' (Id, at 645.) "A plaintiffs burden in asserting a fraud claim against a co111orate
bmployer is even greater. In such a case, the plaintiff must "'allege the names of the persons who
\nade the allegedly fraudulent representations, their authority to speak, to whom they. spoke, what
ihey said or wrote, and when it was said or written."' (Id,) Embezzlement is a criminal offense
~efined as "the fraudulent appropriation of property by a person to whom it has been intrusted."
(Pen.C.§503.)

!1laintiff's first cause of action for "fraud and embezzlement" alleges Defendants:co1i;1ded tb ta~e
Hroperty from ow;1ers by imposing unreasonably high a~sessments, failed to advis,e ;laintiff ,
\;,hen she moved
I!                ,
                     into the property that she would not enJoy the full benefit and pnv1leges
                                                                                            .
                                                                                               for
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                                                                                                   a ''
PRDER re: Ruling on Submitted Matter                                                      Page3of16
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       SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                     Hayward Hall of Justice
 majority of the year, and "suppressed and concealed certain material facts." (Complaiht, par.45-
 48.)

 Defendants argue that Plaintiff has failed to properly plead a cause of action for fraud, and has ,
 failed to identify any evidence in support of this claim. Plaintiffs allegations fail Jo satisfy the ••
 heightened pleading standard for fraud because Plaintiff omits facts showing when, where, or by
 whom the alleged statements were made. Despite the deficiencies in the complaint, the Court
 considers the allegations in the opposition.

Plaintiffs opposition to this motion fails to create any triable issues of material fact as to the
fraud claim. Plaintiff contends that Defendants represented that the members' vote on the

Emergency Assessment would be binding, but then ignored the results of the vote (B~instein
Deel., par.6, 36, 38, 39); that Defendants concealed material information about pool access when
she purchased the home (Id., par.19-26); that at some point Defendants lied abo\lt the reason for
~ot offering greater pool access (Id., par.I, 25); that at some point Defendants toltl Plhintiffthat.
~·omeone would come to open the pool, intending to induce her to wait, when they knew no·bne •
\vould come (Id., par.28); and that Defendants reported at some point that the special assessment
was necessary due to wear and tear or tenant damage, when this was not true (Id., par.35). •:
C

The above allegations in Plaintiffs declaration are the sole evidence offered in support of these
arguments. Plaintiff provides no basis for her personal knowledge surrounding the Board's
approval of the Emergency Assessment in November 2017. In addition, the Board was
authorized under Civil Code section 5610(b) to approve an Emergency Assessment as.a matter of
)aw without member approval in an "emergency situation." Under the statute, an "emergency
situation" includes "[a]n extraordinary expense necessary to repair or maintain th.e common
interest development or any part of it for which the associat.ion is responsible where .a threat to
personal-safety on the property is discovered." (Civ.C.§5610(6).) Thus, a later vote tb·approve or
a1sapprove the 2017 Emergency Assessment has no clear legal effect on th.e legality 6f the ' :
Assessment, nor does Plaintiff identify any evidence supporting her apparent contention thli! ''
there was no "emergency situation" necessitating an Emergency Assessment in 2017.               •

 Plaintiff's statements about needing pool access and Defendants' alleged material concealment
to induce her to purchase the property do not create a triable issue of fact as to fraud. The
·complaint alleges that Plaintiff acquired title from her father-in-law·, not that she pmchased the
 property from the Defendants. (See Complaint, par.! 1.) Plaintiffs declaration does not establish:
 that Defendants knew that there would be limited pool access at the time Plaintiff acquired title
.to the property in 2006. Plaintiffs contention that the pools cannot be made available year-round
or properly heated due to cost are "not trne," and that the damage giving rise to the Emergency
~ssessment was the result of "Defendants' negligent property maintenance," are;unsupported by'
h_ny foundation or evidence,

None of the cited portions of Plaintiff's declaration concern embezzlement.

Defendants' separate statement identifies Plaintifrs deficient discovery responses in support of
·their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
·statement partially disputes many of the material acts identified in support of this issue, but the
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 disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
 statement regarding evidentiary objections), the formatting of the separate statement, or
 "disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
 objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or ....
 paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
 discovery, and has not completed discovery herself. She cites generally to her own discovery
 responses, but fails to identify any disputed issues of fact raised by them.

 Plaintiff's responses in the separate statement do not create triable issues of fact.

 At the hearing, Plaintiff argued that the 2018 Notice and Order of Abatement create~:an
 ",inference" that triable issues exist as to the first, second, and ninth causes of action because it
 8emonstrated Defendants' failure to manage and maintain the HOA, based on the Health and
 Safety Code' violations, and demonstrated mismanagement of the HOA dues. This argument is an
 entirely different theory for Plaintiff's claims for fraud, breach of fiduciary duty, and breach of
 (he CC&Rs and bylaws than what is alleged in the Complaint. When pressed, Plaintiff's counsel
 cited to paragraphs 17, 18, and 22 of the Complaint, which allege some maintenance problems
 (par.17, 18) and reference the HOA dues amounts paid by members (par,22), but fail to tie these
 allegations to the above claims.

 In connection with this argument, Plaintiff also cited paragraphs 33 to 35 of her declaration,
 which state conclusorily and with no evidentiary basis, that "Defendants have mismanaged
 funding and are mismanaging the pools to the harm and detriment of residents, including me"
(Bemstein Deel., par.33); that "[t]he premises are negligently maintained and daruilg~d·dueto the
 \hllction and behavior of the defendants' representatives, including but not limited to Susan·
llernandez, and citing examples like inadequate roof repairs, rodent infestation, and other ,. ''·
fuaintenance issues (Id., par,3.4); and that "Defendants have negligently maintained the prope1ty
\n violation of the law, Bylaws, and CC&Rs and have thereby caused the dnmoge noted int his.,
complaint and in the city's noiice regarding the dilapidated and uninhabitable state of the
'community" (Id., par.35), These statements are allegations, and not evidence. Plaintiff has not
 raised a triable issue of material fact as to these claims by citing these paragraphs in her
declaration.

•Defendants are entitled to summary judgment on the first cause of action.

B, Breach of Fiduciary Duty (Second Cause of Action)
Plaintiff's second cause of action appears to allege that Defendants breached a fiduciary duty to·
)'lain tiff by engaging in self-dealing and imposing "unreasonable assessments" on her..
(Complaint, par.62.)

Defendants argue there is no evidence of self-dealing or breach, but to the extent this.claim is
based on the imposltion of the Emergency Assessment in 2017, it was authorized to do so under
Civil Code section 56I0(b), following the City of Fremont's issuance ofa Notice and Order to
Abate Nuisance on September 18, 2017.

Plaintiff argues that the Emergency Assessment was "egregious and not eligible for the Civil
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       SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
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Code section 561 0(b) exception," and that this is a factual issue for the jury, Plaintiff offers no
evidence for this contention in paragraphs 38 and 39 of her declaration, the sole evidentiary .
support cited.for this argument. Paragraph 38 states that the residents opposed an Emergency
Assessment in January 2018, but Defendants imposed it anyway, and contends that the
assessment "violates the CC&Rs, Bylaws, and the applicable law" and is "extreme and
excessive." Paragraph 39 accuses Defendants of"passing off their fine/monetary liability for
their negligent maintenance of the prope1ty to innocent homeowners like myself." These
statements are conclusory and lack foundation, arid fail to raise a triable issue of disputed fact as

to whether Defendants breached a fiduciary duty to Plaintiff by imposing an Emergency
Assessment under Civil Code section 5610. .

Defendants' separate statement identifies Plaintiff's deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintifrs responsive separate
statement partially disputes many of the material acts identified in support of this issue, but the
disputes appear to be based on·incomplete evidentiary objections (see the Court's prelimina1y
statement regarding evidentlnry objections), the fonnatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, l'laintiff cites to the complaint dr
paragraphs 12-14 of her ow·n declaration, which state that she was unable to fully respond to'
discovery, and has not completed discovery herself. She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs respon~es in the separate statement do not create triable issues of fact.

The Court incorporates the above analysis regarding the Plaintiff's argument at the hearing that
the 2018 Notice. and Order of Abatement creates an "inference" that triable issues exist as to tho
first, second, and ninth causes of action.

Defendants are entitled to summary judgment on the second cause of action.

~· Breach of Contract (Third Cause of Action)

Plaintiff's third cause of action alleges that in February 2006, Plaintiff entered into an
unidentified agreement with the HOA, and that Defendants breached that agreement in February
20 l7 by placing padlocks around the pool areas, and by failing in May 2017 to heat the pool
during the swnmer. (Complaint, par.70-71.)

·Defendants argue that Plaintiff has never produced the alleged agreement, and that hiii' discove1y
responses fail to identify any evidence in support of this claim.

In opposition, Plaintiff argues the parties are bound by the CC&Rs, and that Defendants have
.''.breached their obligation by failing to follow protocol for levying the special assessment, failing
fo maintain the pool heated and available, failing to permit Plaintiff enjoyment of her home,
falling to maintain the premises, failing to properly notice or conduct meetings, and failing to
send annual reports or allow document inspection." In support of this argument, Plaintiff cites
paragraphs 6, 8, 19-26, 28, 35, 36, 38, 42, and 43 of her declaration, and certain provisions of
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 Exhibit 5 (Bylaws) and Exhibit 6 (CC&Rs) thereto,

 The complaint frames the issues in the case and for purposes of summary judgment, (Ht1tton v,
 Fidelity National Title Company (2013) 213 Cal.App.4th 486, 493,) The complaint does not         .
 allege what the alleged "agreement" is, Furthermore, the opposition papers significantly broaden
 the allegations in the complaint regarding this cause of action to encompass not only issues
 related to pool access, but also procedural, notice, and voting requirements under the CC&Rs
 and/or the Bylaws. The portions of Plaintiffs declaration cited in support of these new

 contentions exceed the scope of the allegations in the complaint, and the portions of the
 declaration that do pertain to pool access (par.19-26) fail to create a triable issue of material fact
 regarding breach of contract, because it is not clear what agreement was allegedly breached by
 placing padlocks around the pool areas cir failing to heat the pool.

 Defendants' separate statement identifies Plaintiffs deficient discovery responses in•support of
 their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
i!tatement partially disputes many of the material acts identified in support of this Issue, buhhe"
disputes appear to be based on incompl,te evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itse.lf," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
discovery, and has not completed discovery herself. She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.

Plaintiffs responses in the separate statement do not create triable issues of fact,

Defendants are entitled to summary judgment on the third cause of action.

D. Breach of!mplied Covenant of Good Faith and Fair Dealing (Fourth Cause of Action)·

A breach of the implied covenant of good faith and fair dealing "involves something beyond
breach of the contractual duty itself." (Careau & Co. v. Sec, Pac. Bus. Credit, Inc. (1990) 222
Cal.App,3d 1371, 1394.) "[A)llegations which assert such a claim must show that the conduct of
the defendant, whether or not it also constitutes a breach ofa consensual contract term,·
demonstrates a failure or refusal to discharge contractual responsibilities, prompted not by an
honest mistake, bad judgment or negligence but rather by a conscious and deliberate act, which
unfairly frustrates the agreed common purposes and disappoints the reasonable expectations of
the other party thereby depriving that party of the benefits of the agreement, Just what conduct
will meet this criteria must be determined on a case by case basis and will depend on the
contractual purposes and reasonably justified expectations of the parties." (Id. at 1395,)

Plaintiffs fourth cause of action alleges that in February 2006, Plaintiff entered into an
agreement with the HOA, the essential terms of which are "Monthly Assessment payments for
maintenance of property and use of common interest areas including pool area," (Complaint,
par, 75,) The complaint alleges Defendants breached that agreement in November 2016 by
completely closing the pool area for winter and not reopening until Spring 2017, by not
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adequately heating the pool, and by closing the pool and failing to open the pool area            •!
consistently. (Id., par.??.) The complaint alleges, "The CC&Rs, bylaws, disclosure statements or
loan document~ do not slate the pool is a seasonal privilege or that the pool is lo be unheated."
(Id,)

Defendants argue the complaint fails to state a claim for breach of the implied covenant because
it simply re-states the Plaintiff's breach of contract claim, and otherwise argues that Plaintiff bas
not produced any evidence to support the claim.

In her opposition brief, Plaintiff states conclusorily that "Defendants acted with noalice in failing
to perform their contractual obligations, with the intent lo retaliate against and harm Plaintiff." li1
support of this allegation, Plaintiff cites paragraphs 8-10, 20, 25, 28, 29, 30, 37-39, and 47 of her
iJeclaration.
                                                                                                     .,
Plaintiff has failed to identify any triable issue of fact as to her breach of contract claim, and her
bonclusory statement regarding malice similarly fails to establish any triable issue as to whether ·
Defendants intentionally refused to discharge some contractual duty that deprived Plaintiff of the
benefit of that contract.

 Defendants' separate statement identifies Plaintiffs deficien.t discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate
statement partially disputes many of the material acts identified in support of this' iss11e, but the G
disputes appear to be based on incomplete evidentiary objections (see the Court's preliminai'y l,:
'statement regarding evidentiary objections), the formatting of the separate statement, or            "
.''disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to·
discovery, and has not completed discovery herself. She cites generally to her own discove1y
responses, but fails to identify any disputed issues of fact raised by them.                       ' '

Plaintiffs responses in the separate statement do not create triable issues of fact.

Defendants are entitled to summary judgment on the fourth cause of action.

E. Intentional Infliction of Emotional Distress ("IIED") (Fifth Cause of Action)

"A cause of action for IIED requires proof of: (I) extreme and outrageous conduct by the
defendant with the intention ofcausing, or reckless disregard of the probability of causing,
emotional distress; (2) the plaintiff suffered severe emotional distress; and (3) the defendant's
extreme and outrageous conduct was the actual and proximate cause of the severe emotional
distress." (Crouch v. Trinity Christian Ctr. of Santa Ana, Inc. (2019) 39 Cal.App.5th 995, l 007.)
A defendant's conduct is considered to be outrageous if "it is so extreme as to exceed all bounds
of that usually tolerated in a civilized community." (Id. (internal quotations omitted).) To find
liability, the conduct at issue must be "so outrageous in character, and so extreme in degree, as to
go beyond all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable
in a civilized community." (Id.)

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Plaintiffs fifth cause of action alleges, "[a]s a result of Defendants agents [sic]
misrepresentations that pool facilities are too expensive to maintain and that Plaintiff should join
a country club, Plaintiff has suffered depression. As a result, Plaintiff incurred loss of enjoyment
of benefits. 1 have physical and emotional consequences result of [sic] conduct of Defendant ;,:
employees and agents. The entire ownership process at Meadow Brook devalued [sic] leaving
me fo a position with no ownership benefits and immense debt emergency assessment in the

amount of$33,262 and more emergency assessments forthcoming. I have physical and emotional
consequences as a result of conduct of Defendants." (Complaint, par.82.)

Defendants argue that the alleged conduct and the additional. actions described in Plaintiffs
discovery responses fail to rise to the level of"extreme and outrageous" necessary to prove this
claim.            •                                    •

Plaintiff's opposition expands the allegations to include additional conduct such as retaliation
and discrimination, denial of access to the pool despite knowing she is disabled and suffers
physical pain, and knowing concealment of information regarding the Emergency Assessment,
and argues this is a jury question.

fn support of the allegations in the opposition, Plaintiff cites paragraphs 6, 19-26, 28-30, 40, 47;<°
~8, and 5 l of her own declaration. These portions of her declaration contain allegations and
unsupported legal conclusions, including assertions that the HOA did not give notice of the
Emergency Assessment in accordance with the law, that Defendants intentionally concealed facts
regarding the pool at the time she purchased the unit, that Defendants refused to give her a'
padlock key to access the pool "tq harm and retaliate against me," that Defendants' behavior "is
so extreme that it exceeds all bounds of that usually tolerated in a civilized community," and
other statements that do not reflect extreme and outrageous conduct by Defendants, such as that .
Richard Fong told her that there were security cameras installed on the premises. These portions:
of Plaintiffs declaration do not raise a triable issue of fact a_s to the l!ED claim..

J.)efendants' separate statement identifies Plaintiff's deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiffs responsive separate , •
Statement partially disputes many of the material acts identified in support of this issue; bllt the
disputes appear to be oased on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents. In response to certain facts, Plaintiff cites to the complaint or
parngraphs 12-14 of her own declaration, which state that she was unable to fully respond to
~iscovery, and has not completed discovery herself. She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.              ,.

l'laintiff's responses in the separate statement do not create triable issues of fact.

Defendants are entitled to summary judgment on the fifth cause of action.

F. Negligent Infliction of Emotional Distress ("NIED") (Sixth Cause of Action)

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 A claim for NIED is not an independent to1t, but a claim for negligence, to which the "traditional
 elements of duty, 'breach of duty, causation, and damages apply," (Eriksson v. Nunn ink (20 l 5)
 233 Cal.App.4th 708, 729.) In considering the existence of a duty towards the plaintiff, the court
 considers factors such as "the foreseeability of harm to the plaintiff, the degree of certainty that ·:
 plaintiff suffered injury, the closeness of the connection between the defendant's conduct and the
 injury suffered, the moral blame attached to the defendant's conduct, the policy of preventing

 future harm, the extent of the burden to the defendant and consequences to the community of
 imposing a duty to exercise care with resulting liability for breach, and the availability, cost, and
 prevalence of insurance for the risk involved." (Id.)

 Plaintiff's sixth cause of action contains allegations identical to the IIED claim,

Pe fondants argue the complaint fails to state a claim for NIED because it does not allege a ·clea,·
duty or breach, that no duty exists by an HOA to its members to prevent the infliction of
emotional distress, and that Plaintiff has failed to produce any evidence to support this claim,

Plaintiff argues Defendants owe her a fiduciary duty as an HOA member (see Golden Eagle
Land Investment, LP v. Rancho Santa Fe Assn, (2018) 19 Cal.App.5th 399,425 ("Generally,
fiduciary duties owed by a homeowners association to its members are limited to those arising
from its governing documents and relevant statutory requirements")), but cites no other legal
authority in support of the existence of a general duty owed by an HOA to its members, and no
evidence that would raise a triable issue of fact with respect to any of the elements of a
negligence claim.

Defendants' separate statement identifies Plaintiff's deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiff's responsive separate'
statement partially disputes many of the material acts identified in support of this issue, but'the
disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents, In response to certain facts, Plaintiff cites to the complaint or
paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
discovery, and has not completed discovery herself, She cites generally to her own discovery
responses, but fails to identify any disputed issues of fact raised by them.

Plaintiff's responses in the separate statement do not create triable issues of fact..

Defendants are entitled to summary judgment on the sixth cause of action,

G. Intentional. Misrepresentation (Seventh Cause of Action)

As noted above, the elements of a claim for fraud based on intentional misrepresentation are (a) a
misrepresentation, (b) knowledge of falsity, (c) the intent to defraud, (d)justifiable reliance, and
(e) resulting damage, (Lazar v, Superior Ct., supra, 12 Cal.4th at 638.) In California, fraud must
be pied specifically, which "necessitates pleading facts which 'show how, when, where, to
whom, and by what means the representations were tendered,"' (Id, at 645,)
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 The seventh cause of action alleges that Defendants "stated in the emergency assessment that the
 reserves have been underfunded for years," that she acted in justifiable reliance on that
 representation, that the statement was intended to and did deceive Plaintiff, and that the
 "rationale for the fraud was their desire to obtain payment for unreasonable assessments and not
 provide Plaintiff with the benefits represented." (Complaint, par.86.) The complaint also al\eges
 numerous statements and actions by HOA board member Susan Hernandez regarding the pool.
 (Id.)

 Defendants argue the complaint fails to state a claim for fraud based on intentional
 misrepresentation because it does not allege that .Defendants knew the representation was false or
 how Plaintiff was banned. Defendants also argue that Plaintiffs discovery responses provide no
 ~vidence to suppo1t this claim.

 The complaint frames the issues in the case and for purposes of summary judgment. (Hutton v. •
 Fidelity National Title Company (2013) 213 Cal.App.4th 486, 493.) The opposition papers
 significantly broaden the allegations in the complaint regarding this cause of action.

 Nevertheless, as with the first cause of action for fraud, Plaintiff's opposition fails to create any
 triable issues of material fact as to the claim for intentional misrepresentation. Plaintiff again
 argues, citing the same portions of her own declaration as evidence, that Defendants represented
 that the members' vote on the Emergency Assessment would be binding, but ignored the results
 of a vote on the issue (Bernstein Deel., par,6, 36, 38, 39); that Defendants concealed material •
 information about pool access when she purchased the home (Id., par.19-26); that at some point'
 Defendants lied about the reason for not offering greater pool access (Id., par. i, 25); that at som,
 point Defendants have told Plaintiff that someone would come to open the pool, intending to
 induce her to wait, when they knew no one would come (Id., par.28); and that Defendants
 reported at some point in time that the special assessment was necessary due to wear and tear or
 tenant damage, when this was not true (Id., par.35) ..Plaintiff also argues that Richard Fang's
 "claims about recording residents," if untrue, also constitutes an intentional misrepresentation
 (Jd., par.40.)

'fhe same analysis set forth above with respect to the first cause of action for fraud applies to the
seventh cause of action.

  Defendants' separate statement identifies Plaintiffs deficient discovery responses in support of
  their argument that Plaintiff lacks evidence for her claims. Plaintiff's responsive separate          ·-
. statement partially disputes many of the material acts identified in support of this issue, but the
  disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
  statement regarding evidentiary objections), the formatting of the separate statement, or
  "disputing" a fact on the ground that the documentary evidence "speaks for itself,'' but not
  objecting to its contents. Plaintiff fully disputes Material Fact No. 46, which contends Susan
  Hernandez did not make the alleged statements, but the cited portions of Plaintiff's declaration
  (par. 7 and 8) state conclusorily that Hernandez knew the statements were not true, and that the
 pool was closed in the winter "due to retaliation and poor money management by Defendants," •
  but provide no factual support for these assertions, In response to certain facts, Plaintiff cites to
  the complain~ or paragraphs l 2-14 of her own declaration, which state that she was unable to ,
ORDER re: Ruling on Submitted Matter                                                        Page 11 of 16
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fully respond to discovery, and bas not completed discove1y herself, She cites generally to her
own discovery responses, but fails to identify any disputed issues of fact raised by them,

Plaintiff's responses in the separate statement do not create triable issues of fact,

Defendants are entitled to summary judgment on the seventh cause of action,

H. Neg! igent Misrepresentation (Eighth Cause of Action)

"The elements of negligent misrepresentation are '(l) the misrepresentation of a past or existing
material fact, (2) without reasonable ground for believing it to be true, (3) with intent to induce
another's reliance on the fact misrepresented, (4) justifiable reliance on the misrepresentation,
and (S)tesulting damage,' Whikthere is some conflict in the case· law discussing the precise
degree of particularity required in the pleading ofa claim for negligent misrepresentation, there
is a consensus that the causal elements, particularly the allegations· of reliance, must be
specifically pleaded, (Nat'! Union Fire lns, Co. of Pittsburgh, PA v. Cambridge Integrated Servs,
Grp., Inc, (2009) 171 Cal.App.4th 35, 50 (internal citation omitted),)

The eighth cause of action alleges that "Susan Hernandez stated they could not afford to heat the
pool," "that if people wanted to use the pool year round they needed to join a country club,'' nnd
_that Hernandez "caused the pool area to be closed entirely for 3 months during 2016·201?
winter." (Complaint, par.88,) Plaintiff alleges she "believed that it was contained in the CC&Rs·
that the pools one of them constantly closed in the winter and not heated fully," though she also
alleges, "[r]eview of the CC&Rs which Plaintiff did not possess or see recently does riot reflect
any such agreement," ([d,) Plaintiff also alleges, "Defendants stated in the emergency assessment
that the reserves have been underfunded for years," (Id.)

Defendants argue the complaint fails to state a claim for negligent misrepresentation because it
does not allege that Hernandez made a false statement without reasonable ground for believing it
to be true with the intent to induce reliance or that Plaintiff suffered any damage. Defendants
also argue Plaintiff has not in fact suffered any hann because she did not pay the Emergency
Assessment. Defendants argue that Plaintiff's discovery responses provide no evidence to
support this claim,

In opposition, Plaintiff states that "Defendants made multiple misrepresentations to Plaintiff'
(citing paragraphs 7, 21, 28, and 40 of Plaintiff's declaration), and statesconelusorily that       .
Defendants have not meet their burden on this issue, and that there are."several material facts iri''
dispute that should be presented to the trier of fact."

The cited portions of Plaintiff's declarations contain conclusions and unsupported assertions, and
otherwise fail to raise a triable issue as to whether Hernandez or any other person made untrue
statements without reasonable grounds to believe they were true, with the intent to induce
Plaintiff's reliance.

Defendants' separate statement identities Plaintiff's deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiff's responsive separate
statement partially disputes many of the material acts identified in support of this issue, but the
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disputes appear to be based on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement, or.
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
objecting to its contents, Plaintiff again disputes Material Fact No, 46, which contends Susa_n

Hernandez did not make the alleged statements, but the cited portions of Plaintifrs declaration
(par. 7 and 8) state conclusorily that Hernandez knew the statements were not true, and that the
pool was closed in the winter "due to retaliation and poor money management by Defendants,"
but provide no foundation for these assertions. In tCllponse to certain facts, Plaintiff cites to the
complaint, or paragraphs 12-14 of her own declaration, which state that she was unable to fully
respond to discovery, and has not completed discovery herself, She cites generally to her own
discovery response_s, but fails to identify any disputed issues of fact raised by them.

Plaintiff's responses in the separate s·tatement do not create triable issues of fact,

Defendants are entitled to summary judgment on the eighth cause of action.

t. Breach of CC&Rs and Bylaws (Ninth Cause of Action)
The ninth cause of action alleges that Defendants breached the CC&Rs and Bylaws "by causing
a forfeiture and or abridgement of owner's right to the full use and enjoyment of the residence
and common areas despite no judgment of a court of competent jurisdiction, arbitration decision,
failure to pay assessments; foreclosure or sale under a power of sale page 6 of the Bylaws," and •
"by attempting to circumvent maximum annual 20% increase in assessments through a
'preliminary' $33,262 'emergency assessment' to pe followed by unknown additional
.'emergency assessments' with no end in sight." (Complaint, par.91-92.)

Defendants argue Plaintiff has failed to identify any provision of the CC&Rs that was breached
by the HOA, and has produced no evidence to st1pport this claim.

The complaint frames the issues in the case and for purposes of summary judgment. (Hutton v,
Fidelity National Title Company (2013) 213 Cal.App.4th 486, 493.)

The opposition papers significantly broadens the allegations in the complaint regarding this
_cause of action by arguing that "Defendants have breached their obligation by failing lo follow
protocol for levying the special assessment, failing to maintain the pool heated and available,
failing to permit Plaintiff enjoyment of her home, failing to maintain the premises, failing to
properly notice or conduct meetings, and foiling to send annual reports or allow document
inspection," In support of this argument, Plaintiff cites paragraphs 6, 8, 19-26, 28, 35, 36, 38, 4_2,
43 of her declaration, and Exhibits 5 (Bylaws) and 6 (CC&Rs) thereto,

Defendants' separate statement identifies Plaintifrs deficient discovery responses in support of
their argument that Plaintiff lacks evidence for her claims. Plaintiff's responsive separate
statement partially disputes many of the material acts identified in support of this issue, but the
disputM appear to be based on incomplete evidentiary objections (see the Court's preliminary
statement regarding evidentiary objections), the formatting of the separate statement,or
"disputing" a fact on the ground that the documentary evidence "speaks for itself," but not
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 objecting to its contents. In response to certain facts, Plaintiff cites to the complaint, or
 paragraphs 12-14 of her own declaration, which state that she was unable to fully respond to
 discovery, and has not completed discovery herself. She cites generally to her own discovery
 responses, but fails to identify any disputed issues of fact raised by them.

 Plaintiffs responses in the separate statement do not create triable issues of fact.

 As discussed above, although Article Ill of the CC&Rs sets forth the procedures and purposes
 for levying regular assessments, special assessments, capital improvement assessments,
 reconstruction assessments, and unifonn assessments on HOA members, the HOA w~s also ..
 authodzed as a matter of law to approve an Emergency Assessment without member approval in·
 an "emergency situation," which includes "[a]n extraordinary expense necessary to repair or
 maintain the common interest development or any part ofit for which the association is
 responsible where a threat to personal safety on the property is discovered." (Civ.C,§56 l0(b).)
 Plaintiff identifies no evidence supporting her apparent contention that the HOA was required to
 follow the protocols in the CC&Rs when it levied the Emergency Assessment in 2017.

 The Court incorporates the above analysis regarding the Plaintiff's argument at the hearing that
 the 2018 Notice and Order of Abatement creates an "inference" that triable issues exist as to the
 first, second, and ninth causes of action.

 Defendants are entitled to summary judgment on the ninth cause of action.

 :l, Violation of Civil Code section 51 (Unruh Civil Rights Act) (Tenth Cause of Action) and Civil
 Code section 54 (California Disabled Persons Act) (Eleventh Cause of Action)

  The Unruh Civil Rights Act is a public accommodation statute that was designed to prevent
  discrimination by covered entities, including business establishments. Civil Code section 51 (b)
  states, "All persons within the jurisdiction of this state are free and equal, and no matter what
  their sex, race, color, religion, ancestry, national origin, disability, medical condition, genetic
  infonnation, marital status, sexual orientation, citizenship, primary language, or immigration
  status are entitled to the full and equal accommodations, advantages, facilities, privileges, or
. services in ~ll business establishments of every kind whatsoever."

The tenth cause of action for violation of the Unruh Act alleges that Plaintiff is a person with a
disability, that moving party Defendants are business establishments within the meaning of the 1•
Unruh Act, and that despite being on notice that "the lack of accommodation for use of the pool
area hot tub and heated pool excludes disabled plaintiff of medical treatment and relaxation
much of the benefits that she pays for monthly through association dues," Plaintiff"has been
denied full and equal access to ownership benefits," which have caused Plaintiff to suffer harm,
in violation of the Unruh Act. (Complaint, par.97-102.)

"Under applicable provisions of the Disabled Persons Act (Civ.Code, § 54 et seq.), "[i)ndividuals
with disabilities shall be entitled to full and equal access, as other members of the general public,
to ... places of public accommodation, amusement, or resort, and other places to which the
general public is invited ...." (Civ.Code, § 54.1, subd. (a)(!), see also§ 54, subd. (a) ["Individuals
with disabilities or medical conditions have the same right as the general public to the full and
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free use of the streets, highways, sidewalks, walkways, public buildings, ... public facilities, and
other public places").)" (Carolyn v. Orange Park Cmty. Assn. (2009) 177 Cal.App.4th 1090,
1098.)

The eleventh cause of action for violation of the California Disabled Persons Act ("CDPA")
alleges that Defendants violated Plaintiffs rights by denying her full and equal access to the pool
area year around, and consistently_ during posted hours. (Complaint, par. 109.)

"Purely residential areas of a common interest development are not public accommodations."
(Carolyn v, Orange Park Cmty. Assn., supra, 177 Cal.App.4th at 1099 (citing Coronado v.
Cobblestone Village Community Rentals, LP (2008) 163 Cal.App.4th 831 (disapproved on other
grounds in Munson v. Del Taco, Inc. (2009) 46 Cal.4th 661, 678).) In Carolyn, the Fourth
District Court.of Appeal held that recreational trails maintained by the Orange Park Community
 Association, a homeowners' ass·ociation and co1nmon interest development, also failed to qualify
as "public accommodation" within the meaning oithe California Disabled Persons Act or the·
.Unruh Act. (Id. at 1104.) The Court stated that although recreational common areas within
common interest developments can be classified as public accommodations in appropriate
circumstances," they were not appropriately classified as such in that case because the
~ssociation "actively excluded the general public from using the trails." (Id.)

Article XII of the CC&Rs ("Rights of Enjoyment") states, in relevant part: "Every Member shall
have a nonexclusive easement for use and enjoyment in and to the Common Area and such right
shall be appurtenant to and shall pass with the interest required to be an Owner to every
Residence, subject to all of the easements, covenants, conditions, restrictions and other
provisions contained in this Declaration, including without limitation, the following provisions:
(a) The right of the Association to limit the number of guests of Members, and to limit the use of
 the recreation facilities, if any, on the Common Area by persons not in possession ofa
Residence, but owing a portion for the interest in a residence required for membership."
'(Rutherford Deel., Exh.2, Article XI!, Section 1.)

The Court infers from this language that common areas within the HOA property are subject to
the right of the HOA to exclude the general public.
                                                                                                   "
Plaintiff argues that whether the community at issue here is the type of residential facility
excluded from the coverage of the Unruh Act and the COPA is a question of fact to be
determined by the jury. The opposition cites no evidence to create a disputed issue of fact about
whether the HOA pools are public accommodations subject to the Act.

Defendants are entitled to summary judgment on the tenth and eleventh causes of action.

K. Injunctive Relief/ Declaratory Relief(Twelfth Cause of Action)

The twelfth cause of action for injunctive relief/declaratory relief states only, "PRELIMINARY
INJUNCTION TO PREVENT THE ENFORCEMENT, COLLECTION OF THE
EMERGENCY ASSESSMENT DUE APRIL 2, 2018 and subsequent emergency assessments •
levied during the pendency of this trial." (Complaint, par.115.)

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.   '   ,, '

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                                               Hayward Hall of Justice
          "Injunctive and declaratory relief are equitable remedies, not causes of action .... (Faunce v. Cate
          (2013) 222 Cal.App.4th 166, 173,) To qualify for declaratory relief, a party must demonstrate
          that the action presents two essential elements:"(!) a proper subject of declaratory relief, and (2)

          an actual controversy involving justiciable questions relating to the parties' rights or obligations•.'
          (Wilson & Wilson v. City Council of Redwood City (2011) 191 Cal.App.4th 1559, 1582.)

          Plaintiff argues in the opposition brief that the assessment "was egregious and not eligible for the
         Civil Code section 5610(b) exception," and cites paragraphs 38 and 39 of her declaration, These
          portions of her declaration assert that the assessment was extreme and excessive, and improperly
          levied, These are allegations and conclusions that do not create a triable issue of fact lmder the
         CC&Rs. ln her responsive separate Rtatement, she disputes that the Emergency Assessment was
          lawfully imposed under section 561 0(b) by citing paragraph 6-of her own declaration, which
         'states conclusorl ly that the Emergency Assessmettt packet was not properly approved by the
         Board, and "was not prepared, approved, or noticed in accordance with ·the requirements of the ,
          law," This statement is unsupported by any foundation or evidence, and fails to create a triable •
         issue of fact on·this claim.

         To the extent the complaint may be constmed to allege an actual controve!'sy between the parties
         regarding their respective rights and obligations under the CC&Rs, and the P.laintiff's right to
         ·injunctive relief in some respect, there appears to be no evidence indicating the existence of a
         triable issue of material fact with respect to Plaintiff's right to a declaratory judgment or
         injunctive relief with respect to the CC&Rs.

         Defendants are entitled to summary judgment on the twelfth cause of action.

         Defendants Associa Northern California, Meadow Brook Village Association- Fremont, and
         Massingham Associates' motion for summary judgment is GRANTED. Defendants are to
         prepare a proposed judgment and flle it within 30 days of this Order, emailing a courtesy copy in
         Word to dept5l2@alameda.courts.ca.gov.

         Clerk is directed to serve endorsed-filed copies of this order, with proof of service, to counsel
         and to self-represented parties ofrecord by mail.

         Dated: 05/16/2022



                                                                  Euml lee I Judge




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  EXHIBIT 0
 23
      The Lord makes firm the steps
      of the one who delights in him;
 24
      though he may stumble, he will not fall,
      for the Lord upholds him with his hand.

 N. zs I was young and now I am old,
            yet I have never seen the righteous forsaken
            or their children begging bread.
       26
            They are always generous and lend freely;
            their children will be a blessing.illl
       27
 0.         Turn from evil and do good;
            then you will dwell in the land forever.
       28
            For the Lord loves the just
            and will not forsake his faithful ones.
 P. Wrongdoers will be completely destroyedllJ;
            the offspring of the wicked will perish.
       29
            The righteous will inherit the land
            and dwell in it forever.
       30
 Q.         The mouths of the righteous utter wisdom,
            and their tongues speak what is just.
       31
            The law of their God is in their hearts;
            their feet do not slip.
       32
 R.         The wicked lie in wait for the righteous,
            intent on putting them to death;
       33
       but the Lord will not leave them in the power of the wicked
       or let them be condemned when brought to trial.
 S. 34 Hope in the Lord
       and keep his way.
       He will exalt you to inherit the land;
         when the wicked are destroyed, you will see it.
 T.    35 I have seen a wicked and ruthless man

            flourishing like a luxuriant native tree,
       36
            but he soon passed away and was no more;
            though I looked for him, he could not be found.
       37
 U.         Consider the blameless, observe the upright;
            a future awaits those who seek peace.lJ!J
       38
            But all sinners will be destroyed;
            there will be no futureiJ,J for the wicked.
 V.
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""w       M          9
          ~              Attorneys for Defendants
"'
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         ~
         ~
                    10   ASSOCIA NORTHERN CALIFORNIA, a California          .
"':;:< <u.s              Corporation, MEADOW BROOK VILLAGE ASSOCIATION -
,.       ,!         11   FREMONT, a California Corporation, and MASSINGHAM &
                         AS SOCIATES, a California Corporation
"'       ,..
         ~

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                    13                SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
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                    17                 Plaintiff,                    ASSIGNED FOR ALL PURPOSES TO HON.
,:                                                                   PAUL D. HERBERT, DEPT. 20
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""z :,"';;;
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                    18          vs.
                                                                     DECLARATION OF LUANNE
<        ~
                    19   ASSOCIA NORTHERN CALIFORNIA, a              RUTHERFORD IN SUPPORT OF EX
"':;:<   0
         ~
         ~
         M               California Corporation MEADOW •             PARTE APPLICATION TO ADVANCE
<                   20   BROOK VILLAGE ASSOCIATION -                 HEARING DATES ON MOTION TO
z
:;:"                     FREMONT, a California Corporation,          COMPEL RESPONSES AND MOTION TO
                    21   MASSINGHAM & ASSOCIATES, a                  HAVE REQUESTS FOR ADMISSION BE
                         California Corporation JOHN DOE 1-50; ·     DEEMED ADMITTED
                    22   MARY ROE 1-50; XYZ CORP 1-50; ABC
                         LLC 1-50; The names of the "John Doe 1-     Date: April 8, 2019
                    23   50" "Mary Roe 1-50", "XYZCorp, 1-50",       Time: 10:00 a.m.
                         and "ABC LLC, 1-50", defendants being       Dept: 20
                    24   fictitious, and unknown to the Plaintiff,   Trial Date:   10/15/2019
                                                                     Action Filed: 3/19/2018
                    25                 Defendants.

                    26

                    27

                    28


                                         DEC ISO EXPARTEAPPLICATIONTO ADVANCE HEARING DATES
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                             1           I, Luanne Rutherford, declare:

                             2           1.       I am an attorney at law licensed to practice in the State of California. I am a partner
                             3   at the law firm of McNamara, Ney, Beatty, Slattery, Borges & Ambacher LLP, attorneys of record

                             4   for Defendants Associa Northern California, Meadow Brook Village Association - Fremont and

                             5   Massingham & Associates in the above-captioned matter. I have personal knowledge of the facts

                             6   stated herein and could competently testify thereto if called as a witness.

                             7           2.       Trial in this matter is set for October 15, 2019. A Mandatory Settlement Conference

...,..,                      8   i_s set for September 13, 2019. Discovery closes in this matter as of September 13, 2019 .

 "'                          9           3.       On August, 1, 218, the HOA served Ms. Bernstein with Form Interrogatories, Set
u" .
Ul           M
             N
             ~



.,< <u       ~
                            10   One, and Request for Production of Documents, Set One via U.S. Mail. Pursuant to Code of Civil
;:;:
< ..r                       11   Procedure sections 2030.260 and 2031.260, verified responses to said discovery requests were due
<j
   =
"' "'...
Ul
"            ,: 0
                            12   on or before September 4, 2018. As of the date of the herein motion, despite having served Ms.
i:i:::        <~
0 ~ ~ '7
i::Q      < J,1l       0\   13   Bernstein with the herein mentioned motion, Ms. Bernstein still has not provided any responses to
     • ...l ...:i:;:
>-- i,-, 0.. .-.
~ < 0                  :q   14   the discovery.
Ill Ill
!-<     N °'
    >,o "' ,_.
!-< Ul J.1l ·•
-<  z 1-< r.,:i
,-l 0:: .... z              15          4.        On October 22, 2018, the HOA served Mary Bernstein with Form Interrogatories,
r.no~o
        .:i::
     •f-<
>-, 1-<Ul 0..
!-< < ::> J,1l
....         z..,           16   Set Two, and Requests for Admission, Set One. Pursuant to Code of Civil Procedure sections
.,< "'"'
Ul  > >-
    <                       17   2030.260, verified responses to the discovery were due on or before November 26, 2018. As of the
,:           ";;;;"'
Ul                          18   date of the herein motion, Ms. Bernstein has not provided any responses to Form Interrogatories,
z
  .
< "';,
  .
"';:;:< a:
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             M
                            19   Set Two or to Request for Admission, Set One.

z0                          20          5.        On February 6, 2019, the HOA filed a Motion to Compel Discovery Responses and
;:;:
                            21   a Motion to Have Requests for Admission Be Deemed Admitted.
                            22          6.        The court initially set the hearings for these motion on May 2, 2019.

                            23          7.        Thereafter, the court continued the hearings to August 29, 2019.

                            24          8.        The HOA intends to file a motion for summary judgment in this matter.

                            25          9.        Defendants will be prejudiced if the hearings on their discovery motions are not

                            26   advanced to an earlier date.

                            27          10.       Ms. Bernstein's Motion for Protective Order and Motion Compelling Compliance

                            28   with Subpoena are set for May 14, 2019 at 3:30 p.m. in Department 20 of the herein Court.

                                                                                     2
                                                     DEC ISO BX PARTB APPLICATION TO ADV ANCB HEARING DATES
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 737 of 801




 1              11.       Ms. Bernstein is in propia persona.
 2              12.       On April 2, 2019 at 9: 11 p.m., I notified Ms. Bernstein via email that I would present
 3   this Court with an Ex Parte Application to Advance the Hearing Dates on Defendants Motion to

 4   Compel Discovery Responses and Motion to Have Requests for Admission Deemed Admitted in

 5   Department 20 of the Alameda County Superior Court, on April 4, 2019 at 3:30 p.m. Attached to

 6   that email was a copy of the Defendants' Ex Parte papers that will be filed with the court. A copy
 7   of said email is attached hereto as Exhibit A.

 8              13.       Thereafter, the court moved the Ex Parte Hearing to April 8, 2019 at 10:00 a.m. in

 9   Department 20 of the Alameda County Superior Court. All patties and counsel, including Ms.
10   Bernstein, were included on the email from the clerk in Department 20. A copy of the clerk's email
11   is attached hereto as Exhibit B.
12             14.        As of the time of completing this Declaration, I have not received a response from
13   Ms. Bernstein.
14             I declare under penalty of perjury that the foregoing is true and correct. Executed this 4 th
15   day of April, 2019, at Pleasant Hill, California.
16

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18
19

20   K:\FRM\1837 - Bernstein v, Meadowbrook\Motions\Ex Pnrte to Advance Hrgs Dates\De.claration.docx

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                                                                        3
                              DEC ISO EX PARIB APPLICATION TO ADVANCE HEARING DATES
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 738 of 801




                                 CERTIFICATE OF SERVICE VIA E-MAIL

 2           I hereby declare that I am a citizen of the United States, am over the age of eighteen years,
 3   and   not    a party to     the   within action.       My electronic notification       address   is:
 4   laura.selling@mcnamaralaw.com.
 5           Qn this date, I electronically served the foregoing DECLARATION OF LUANNE
 6   RUTHERFORD IN SUPPORT OF EX PARTE APPLICATION TO ADVANCE

 7   HEARING DATES ON MOTION TO COMPEL RESPONSES AND MOTION TO HAVE

 8   REQUESTS FOR ADMISSION BE DEEMED ADMITTED based on a court order or an

 9   agreement of the parties to accept service by e-mail or electronic transmission, I caused the

10   documents to be sent to the persons at the e-mail addresses listed below. I did not receive, within
II   a reasonable time after the transmission, any electronic message or other indication that the

12   transmission was unsuccessful.

13
14   Plaintiff in Pro Per:                              Attorneys for Defs. ASSOCIA NORTHERN
                                                        CALIFORNIA, a California Corporation,
15   Ms. Mary Bernstein                                 MEADOW BROOK VILLAGE
     3416 Deerwood Terrace, #113                        ASSOCIATION - FREMONT, a California
16   Fremont, CA 94536                                  Corporation, and MASSINGHAM &
                                                        ASSOCIATES, a California Corporation;
17   Phone: 510-938-6280
     E-Mail: mhelenbernstein@yahoo.com                  Robert M. Maltz, Esq.
18                                                      Hartsuyker, Stratman & Williams-Abrego
                                                        P.O. Box 258829
19                                                      Oklahoma City, OK 73125-8829
20                                                      Phone: 510-457-3440
                                                        Fax: 510-238-8968
21                                                      E-Mail: robert,maltz@farrnersinsurance.com
22
23
             I declare under penalty of p·erjury under the laws of the State of California that the
24
     foregoing is true and correct and that this declaration was executed on April 4, 2019 at Pleasant
25
     Hill, California.
26
27
28                                                 Laura Selling                \
                      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 739 of 801




                                              PROOF OF SERVICE BY MAIL (C.C.P. §§ 1013a, 2015.5)

                      2           I hereby declare that I am a citizen of the United States, am over the age of eighteen years,

                      3   and not a party to the within action; my business address is 3480 Buskirk Avenue, Suite 250,

                      4   Pleasant Hill, CA 94523.

                      5           On this date, I served the foregoing DECLARATION OF LUANNE RUTHERFORD

                      6   IN SUPPORT OF EX PARTE APPLICATION TO ADVANCE HEARING DATES ON

                      7   MOTION TO COMPEL RESPONSES AND MOTION TO HAVE REQUESTS FOR

..,..,
O<                    8   ADMISSION BE DEEMED ADMITTED on the parties in said action, by placing a true copy

                      9   thereof enclosed in a sealed envelope addressed as listed below for mailing. I am readily familiar
"'""
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".,<
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                     10   with this firm's practice of collection and processing correspondence for mailing. Under that
             <
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<            ..,J'   11   practice, it would be deposited with the United States Postal Service on that same day with
<l           ;;
"'           ~
                     12   postage thereon fully prepaid, in the United States Post Office mail box at Pleasant Hill,
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                     13   California, addressed as follows:
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t.Il >,              14   Plaintiff in Pro Per:                              Attorneys for Defs. ASSOCIA NORTHERN
!-<      M ....,
I-< Ill Ill ..                                                               CALIFORNIA, a California Corporation,
<zi--11.l
~ t><:   :z: 5       15   Ms. Mary Bernstein                                 MEADOW BROOK VILLAGE
Cll O VJ 0
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}, r' Ill ci.
                          3416 Deerwood Terrace, #113                        ASSOCIATION· FREMONT, a California
f--< <( ~Ill
...          z..,    16   Fremont, CA 94536                                  Corporation, and MASSINGHAM &
<            "'""                                                            ASSOCIATES, a California Corporation:
.,
"'           >~
             <       17   Phone: 510-938-6280
:,:          ~
                          E-Mail: mhelenbernstein@yahoo.com                   Robert M. Maltz, Esq.
"'z "'               18
< .,"'       "
             ~

                     19
                                                                              Hattsuyker, Stratman & Williams-Abrego
                                                                              P.O. Box 258829
                                                                              Oklahoma City, OK 73125-8829
"':,:<       0
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             ~
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z<
 0
                     20                                                       Phone: 510-457-3440
:,:                                                                           Fax: 510-238-8968
                     21                                                       E-Mail: robert.maltz@farmersinsurance.com
                     22
                     23
                                  I declare under penalty of perjury under the laws of the State of California that the
                     24
                          foregoing is true and correct and that this declaration was executed on April 4, 2019 at Pleasant
                     25
                          Hill, California.
                     26
                     27
                     28                                                 Laura Selling               "
                   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 740 of 801




Laura Selling

From:                                                           Luanne Rutherford
Sent:                                                           Tuesday, April 2, 2019 9:11 AM
To:                                                             Mary HelenBernstein
Cc:                                                             Robert Maltz
Subject:                                                        Bernstein v. Associa Northern California


Dear Ms. Bernstein:

        This email will serve to provide you with notice that we will be seeking an ex parte order to advance the hearing
dates on defendants' Motion to Compel Discovery Responses and Motion to Have Requests for Admission to be Deem.ed
Admitted. The Ex Pa rte hearing will be on April 4, 2019 at 3:30 pm In Department 20 of the Alameda County Superior
Court.

               We will provide you with a copy of our ex parte papers as soon as they are ready,

               Please advise if you intend to oppose the ex pa rte application.

Very truly,
Luanne Rutherford
Partner



3480 Buskirk Avenue, Suite250
Pleasant Hill, CA 94523
925.939.5330
925.939.0203 Fax
www.mcpamaralaw com



This em1U communl,1t1on may eonta!n CONFIDENTIAt INFORMATION WHICH Ats0 MAY BE LEGAllY PRIVILEGED •nd Is !nlendtd only for tho we of 1h11 lnlendul reclplurts lct.ntlfied al!ova, lf'joU are not tha lnl<>nded
r~tlpltnt of tht, eommunlc1ttori. you ~re hereby nollfiad th~t a11y 1.1n1u1horlUd ,,view, wt, d!n•mln;illvn, dlilributron, downlo~lns, or eopyl11g ofthis comm.., katlon Is $\rlctly prohibited, If you ~re not the lnlended
1ociplent and have H«.lvod this ,;ommun!cillon In em>1, plnse lmrnedlalely notify U$ by r"Plv ,m~u, delela the communleiitlon and dn\roy ~11 eopleJ,




                                                                                                                1                                                       EXHf BIT '• A"
           Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 741 of 801




Luanne Rutherford
From:                     Dept. 20, Superior Court <dept20@alameda.courts.ca.gov>
Sent:                     Wednesday, April 03, 2019 9:42 AM    •
To:                       Laura Selling
Cc:                       mhelenbernsteln@yahoo.com; robert.maltz@farmersinsurance.com; Luanne Rutherford
SubJect:                  Re: BERNSTEIN v. ASSOCIA NORTHERN CALIFORNIA; Case No. HG18897381


Counsel and Ms. Bernstein,

The ex pa rte set for 04/08/19 at 03:30 p.m. has been moved from 3:30 p.m. to 04/08/19 at 10:00 a.m. to
accommodate Ms. Bernstein's previously submitted ADA request. Please file the originals at the filing clerk's
office and send a hard courtesy copy to Dept. 20 before the hearing. Also ensure that the clerk's office routes
the application to Judge Herbert's work queue. No reservation numbers are given for ex partes.

Judge Herbert has also set a CMC on 04/08/19 at 10:00 a.m. ( Notices have been mailed out today). Case
Management Statement are not required for this upcoming CMC.

Counsel and Ms. Bernstein are welcome to appear by court call.



Reshma Mishra
Courtroom Clerk II
Clerk to the Honorable Judge Paul D. Herbert
Superior Court of California, County of Alameda
Department 20
Administration Building (4th Floor)
1221 Oak Street
Oakland, CA 94612
Department email : dept20@alameda.courts.ca.gov
Alameda County Superior Court website : www.alameda.courts.ca.gov
DOMAIN web: https://publicrecords.alameda.courts.ca.gov/prs

PLEASE NOTE:
~Effective June 4, 2012, the court will not provide a court reporter for law and motion hearings, or any other
hearing or trial, in civil and probate departments. See amend.ed Local Rule 3.95 for details.



***Email is the preferred method of communicating with court staff in Department 20, particularly for
scheduling of law and motion, ex parte application, and case management events. Telephone communications
are possible, but use of email will greatly facilitate a prompt response to your inquiries.
***Paper courtesy copies of all documents filed must be delivered directly to Department 20 or dropped off in
the drop box provided outside Department 20 as close to the time of filing as practicable.




                                                        1
                   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 742 of 801




 From: Laura Selling <Laura.Selling@McNamaraLaw.com>
 Sent: Tuesday, April 2, 2019 4:00 PM
 To: Dept. 20, Superior Court
 Cc: mhelenbernstein@yahoo.com; robert.maltz@farmersinsurance.com; Luanne Rutherford
 Subject: RE: BERNSTEIN v. ASSOCIA NORTHERN CALIFORNIA; Case No. HG18897381

 Please schedule the ex pa rte for 4/8/19 at 3:30 p.m. Thank you.

 Laura Selling
 Secretary to Paul B. Walsh and Luann!;! RutherfOrd
 McNamara, Ney, Beatty, Slattery, Borges & Ambacher LLP


 Thi! emall communication m~ycontalnCONFIOENTIALINFORMATION WHICHAlSO MAY BE tEGAtLYPRIVllEGEO and 1,tnttnded onlyfortlle use of the !nl8nded recipients Identified ibove, lfyou are not the intended
 recipient ol this communication, you are hreby notified thet any una11thorlnd review, UH; dine ml nation, dlJ!rlbutlon, down!o1dlns, <1r copying of this: communkatlon !, strictly prohibited, lf you ara not the Jntondecl
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 From: Dept. 20, Superior Court [mailto:dept20@alameda.courts.ca.gov]
 Sent: Tuesday, April 2, 2019 3:43 PM
 To: Laura Selling <Laura.Selling@McNamaraLaw.com>
 Cc: mhelenbernstein@yahoo.com; robert.maltz@farmerslnsurance.com; Luanne Rutherford
 <Luanne.Rutherford@McNamaraLaw.com>
 Subject: Re: BERNSTEIN v. ASSOCJA NORTHERN CALIFORNIA; Case No. HG18897381

 04/04/19 is not available, the first available date for an ex parte is 04/08/19 at 3:30 p.m. Please confirm date
 and time.

  Reshma Mishra
  Courtroom Clerk 11
  Clerk to the Honorable Judge Paul D. Herbert
  Superior Court of California, County of Alameda
  Department 20
  Administration Building (4th Floor)
  1221 Oak Street
  Oakland, CA 94612
  Department email : dept20@alameda:courts.ca.gov
  Alameda County Superior Court website : www.alameda.courts.ca.gov
• DOMAIN web: https://publicrecords.alameda.courts.ca.gov/prs

 PLEASE NOTE:
 ~Effective June 4, 2012, the court will not provide a court reporter for law and motion hearings, or any other
 hearing or trial, in civil and probate departments. See amended Local Rule 3.95 for details.



 ***Email ls the preferred method of communicating with court staff in Department 20, particularly for
 scheduling of law and motion, ex parte application, and case management events. Telephone communications
 are possible, but use of email will greatly facilitate a prompt response to your inquiries.
 ***Paper courtesy copies of all aocuments filed must be delivered directly to Department 20 or dropped off in
 the drop box provided outside Department 20 as close to the time of filing as practicable.

                                                                                                                2
                  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 743 of 801




From: Laura Selling <Laura.Selllng@McNamaraLaw.com>
Sent: Tuesday, April 2, 2019 9:16:21 AM
To: Dept. 20, Superior Court·
Cc: mhelenbernsteln@yahoo.com: robert.maltz@farmersinsurance.com: Luanne Rutherford
Subject: BERNSTEIN v. ASSOCIA NORTHERN CALIFORNIA; Case No, HG18897381

Good morning:

      On April 4, 2019 at'3:30 p.m. in Dept. 20, Luanne Rutherford will be appearing ex pa rte for an order to
advance the hearing date on Meadow Brooks' Motion to Compel and Motion to Deem R·equest for Admissions
Deemed Admitted.



,.
Laura Selling
Secrei to Paul B, Walsh and Luanne Rutherford

3480 Buskirk Avenue, Suite 250
Pleasant Hill, CA 94523
925.939.5330
925.939.0203 Fax
www.mcnamaralaw,com

vCan1
This em all commun!nUon m1v contain CONF!OENTIAL INFORMATION WHICH ALSO MAY IIE tEGAllV l'RIVltEGfO and Is Intended only for the use or lhe Intended re,lp!enls ld11ntillod above. If you are not 1h11 Intended
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    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 744 of 801




          EXHIBIT P
Jesus Predicts the Destruction of the Temple

The Signs of the Times and the End of the Age
3
 Now as He sat on the Mount of Olives, the disciples came to Him privately, saying, "Tell
us, when will these things be? And what will be the sign of Your coming, and of the end
of the age?"

4
 And Jesus answered and said to them: "Take heed that no one deceives
you. 5 For many will come in My name, saying, 'I am the Christ,' and will deceive
many. 6 And you will hear of wars and rumors of wars. See that you are not troubled;
for "'all these things must come to pass, but the end is not yet. 7 For nation will rise
against nation, and kingdom against kingdom. And there will be famines, "'pestilences,
and earthquakes in various places. 8 All these are the beginning of sorrows.

9
 "Then they will deliver you up to tribulation and kill you, and you will be hated by all
nations for My name's sake. 10 And then many will be offended, will betray one another,
and will hate one another. 11 Then many false prophets will rise up and deceive
many. 12 And because lawlessness will abound, the love of many will grow cold. 13 But he
who endures to the end shall be saved. 14 And this gospel of the kingdom will be
preached in all the world as a witness to all the nations, and then the end will come.

          39
     A.        The salvation of the righteous comes from the Lord;
               he is their stronghold in time of trouble.
          40
               The Lord helps them and delivers them;
               he delivers them from the wicked and saves them,
               because they take refuge in him.
Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 745 of 801




                       In the Matter Of:
MARY BERSTEIN vs ASSOCIA NORTHERN CALIFORNIA, et al.,




                   BERNSTEIN HEARING
                        October 09, 2019




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       Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 746 of 801




 1              SUPERIOR COURT OF THE STATE OF CALIFORNIA
 2                             COUNTY OF ALAMEDA

 3

 4   MARY BERNSTEIN,

 5               Plaintiff,

 6        vs.                                  Case No. HG18897381

 7   ASSOCIA NORTHERN CALIFORNIA,
     et al.,
 8
                 Defendants.
 9   _______________ !
10

11

12

13

14                Reporter's Transcript of Proceedings
15                     Wednesday, October 9,       2019
16

17

18                   1221 Oak Street, Department 20

19                        Oakland, California

20

21

22

23

24              Reported By:    Sheila Pham, CSR No. 13293

25
         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 747 of 801




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                                                            Page 2                                                           Page4

    '
    2
                            APPEARANCES OF COUNSEL                    1 request for a further stay of the action, but I am
    3   For Plaintiff In Pro Per,
                                                                      2 trying to get a better understanding of what period of
    4            MARY BERNSTEIN                                       3 time would be appropriate under the circumstances, and
                 3416 Deerwood Terrace, »113                          4 what you think is going to change, you know, X number of
    5            Fremont, CA 94536
                                                                      5 nPnth.s in the future.
                 {510)    938-6280
    6            rnbernsteinpurple@hotmail.com                        6             MS. BERNSTEIN: Okay. First of all, I gave --
    7                                                                 7 I 1 m sorry, I forget the name, Reshma or Mishra. I can't
        For Defendants,                                               8 remember. Okay? It's one or the other, the first and
                                                                      9 last name.
                 MCNAMARA, DODGE, NEY, BEATTY, SLATIERY, BORGES
    9            & AMBACHER                                          10             'IHE CLERK: 'That's fine.
                 BY, DREW ~!ILLIAMS, ESQ, (via CourtCall)            11            MS. BERNSTEIN: This is for you to follow along
                 3480 Buskirk Avenue, Suite 250
"                Pleasant Hill, CA 94523
                                                                     12 with me.
                                                                     13            'IRE O'.)IJRT: Yes, rra'am.
n                (925)    939-5330
                drew.williams@mcnamaralaw.com                        14            MS. BERNSTEIN: One of the first items there, I
                                                                     15 e-mailed a lot of stuff ttat you probably couldn't go
"
"
14
                                                                     16 through all of it, which is the confidential
'5                                                                   17 declaration, wh.3.t we did, and this is all part of it I'm
                                                                     18 going to walk you through, but I'm not going to orotate
"
"
>B
                                                                     19 (sic) because it's between you and I, okay, but I'm
                                                                     20 going to p:>int you to it. Okay?
'9
,0                                                                   21            'IRE OJURT: I just want you to slow down for
n                                                                    22 our court reporter.
22
                                                                     23            MS. BERNSTEIN: Yes. Okay, Sorry.
23
24
                                                                     24            I'm sorry. If I'm going too fast, let me know
25                                                                   25 too. Okay? Thanks.

                                                            Page 3                                                           Page 5
 1          oakland, California, Wednesday, October 9, 2019           1One of the documents you have there is a letter
 2                     10:06 a.m. - 11:12 a.m.             2 from my doctor, and you've got two of them that said
  3                                                        3 this is critical for six m::mths, okay, because of the
 4          THE OJURT: Good morning, Ms. Bernstein.        4 aggravation. And I want to get a lot on this record
 5          MS. BERNSTEIN: Good morning, sir.              5 about what I went through because I tried to not rave to
 6          THE COURT: Let me call the matter to order.    6 come back in here again. I gave the other side lots of
 7 Calling Bernstein versus Associa Northern califomia,    7 time without coming in because I felt like that was
 8 A-S-S-0-C-I-A Northern california.                      8 their strategy, I'm sorry. And I might need a lot of
 9          Ms. Bernstein, if you could please state your  9 breaks. 'Ibis is going to be very enotional, just so you
10 name for the record.                                   10 Jmow. Okay? So if I get too oound up in about 15
11          MS. BERNSTEIN: This is Mary Bernstein, the    11 minutes, I might need to take a break. I'm perspiring
12 plaintiff in the matter.                               12 and I'm really stressed.
13          THE OJURT: Thank you, ma'am.                  13          THE COURT: Let me just say this: We've got
14          And could I have appearance from defense      14 plenty of time.
15 counsel.                                               15          MS. BERNSTEIN: Thank you.
16          MR. WILLIAMS: Yes, Your Honor. This is Drew   16          'IHE O'.)IJRT: There's no rush.
17 Williams appearing for attorney of record, Luanne      17          MS. BERNSTEIN: It's my conditions.
18 Rutherford, on behalf of defendants.                   18          'IHE COURI': I understand. Because we're trying
19          THE COURT: Thank you, Counsel.                19 to make a record and because the court reporter needs us
20          So, Ms. Bernstein, did you have a chance to   20 to speak slowly so she can get it all down, it's
21 look at the Court 1s tentative ruling in this matter?  21 particularly important for you to breathe and take the
22          MS. BERNSI'EIN: Uh-huh. I did, yes. Yes. I'm 22 time you need so ttat we can get a good record. All
23 sorry.                                                 23 right, ma'am?
24          THE COURT: 'Thank you, ma'am. As I mentioned  24          MS. BERNSTEIN: Right. Okay. So where was I?
25 in my tentative ruling, I'm inclined to grant the      25 Okay. My doctor - - my main therapist gave two letters,


877.451.1580                                                                                           www.aikenwelch.com
                                           BERNSTEIN HEARING                  10/09/2019
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 748 of 801




                                                                                                                     Page 6 .. 9

                                                         Page6                                                           Page 8
 1 one that talked atx>ut the stay for your matter for six        1 years ago to my diagnosis -- or my designation of the
 2 11K>nths.   That was e-mailed in which you may or may not      2   permanent disability, okay, and tell you a little bit
 3 have a copy of. But you h3.ve that there and I've got it       3 about my life.   Okay?
 4 in the binder for you as well as one she just did the          4           I h3.d a very traurratic childhoc:d, multiple
 5 other day. Because as a result of the stress and what          5 assaults as a child, and couldn't go to school or
 6 was going on there, I had to file four restraining order       6 anything because of such e11otional problems, the ADHI).
 7 requests. So I've had to -- because these people would         7 And probably h3.d PTSD even as a child, but they didn't
 8 not leave me alone. Okay?                                      8 diagnose me until later with that.
 9          So she's also -- I 1 m sorry, he because I have a     9           So I was a teenage rrother and I got married. I
10 doctor that is a psychiatrist, a woman. He, Shai, the         10 had a career in the legal field for many years and went
11 male, said that there are no proceedings for me for six       11 on to get a master's degree despite all of my
12 months. And I'm going to proceed to tell you \olhat has       12 disabilities. I lived a very decent life, okay, despite
13 occurred during this time and how I ve been driven -- my
                                         1
                                                                 13 all of the obstacles.
14 doctors -- am I going okay? My cbctors have alnPSt            14           And about 2015, I reentered -- I started having
15 decided to put me in Crisis Residential because the           15 problems, first of all, with the census. Let me go back
16 harassment to get me to drop this case has been so            16 to that. And I apologize. It's going to be like a
17 severe. Although, they didn't file written motions,           17 labyrinth because of everything that I have going on and
18 they did everything in their power to torment me there.       18 my conditions.
19          And I'm going to proceed to tell you what that       19           Luanne Rutherford, I want to address that.
20 is. I have had to go to Senators' offices. I've had to        20 'lhat was a very dramatic hearirJ3 I went through just the
21 -- the HUD conplaint was already in place so that they        21 other day, okay, in case I'm going around in different
22 would stop. '!hey didn t. I pleaded to HUD to help me.
                            1
                                                                 22 places. Tnis is the Michael Durbin (phonetic) guy.
23 Tney said that that wasn't something that they could do.      23 'Ihis man, I didn't know very well, but he's now the
24 Okay? That wasn't within the scope of their power to          24 president on the board. Okay? I didn't know him very
25 tell them to stop doing this. So again, I was told by         25 well, but I was a supervisor on the census,
                                                        Page 7                                                           Page 9
 1 law enforcement and the Senators to get restraining            1      And when they started having all of these
 2 orders, which I had to, okay, because it was so intense.  2 problems with the prq:ierty, I had not been in any kind
 3          Okay. So let's begin. Can you locate, with       3 of therapy or anything for a couple of years because I
 4 the couple of documents that I gave you, you'll see some 4 was maintaining it. And the pictures of the black
 5 pictures of people. I'm going to paint the picture for    5 people, what my therapist then at the time, Dr. Traci
 6 you. I need to catch my breath. 'Ihere should be a        6 Barisciano, had me do was -- because I was so used to
 7 letter there, I think, from the doctor, Shai. If not,     7 being very busy in the legal field and from being a
 8 I've got -- I thought I put it there. Do you see one?     8 paralegal, then I went on to represent people in social
 9          THE C'OURT: Just a moment. Yes,                  9 security hearings as an advocate, a representative, and
10          MS. BERNS'I'Elli: Okay. And it should be dated, 10 get them awarded social security as well as before the
11 like, a couple of days ago.                              11 labor Board, Okay? But I started deteriorating
12          TIIE C'OURT: Yes. 'Ihis was dated October the   12 probably just from the stress of life and such at tha.t
13 7th.                                                     13 point. 2010 was when I had done the census and I met
14          MS. BERNS'I'EIN: Yes. 'That's the one that says 14 the Micha.el Durbin guy. We were only on the project for
15 because the 'IROs are only held in the afternoons and    15 a short time that I was directly over him. He seemed
16 because of my medication, I don't ha.ve the presence of  16 nice enough, so I didn't really know him.
17 mind in the afternoons, we cannot have those. But the    17           When he got appointed on this toard recently,
18 restraining orders, we still want in place for my peace 18 he came -- he was outside my door at the carport, and I
19 of mind.                                                 19 didn't think anything of it.
20          I mdry mouth from all of the m9.dication, but
                1
                                                            20           And I said, 11 Hello,"
21 I'm going to attempt to do this. And this is a lot of    21           And he said, "Hi."
22 stuff to talk atout. Okay? I'm going to switch to my     22           And I said, 11 1 know that you 1re new on the
23 reading glasses.                                         23 t:oard, I guess, 11 And he was the treasurer then, I
24          There are some pictures of some African people 24 think, or secretary, or some position.
25 that you see there. I'm going to go back in time a few 25             And he said, "Yes. 11


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 1          I said, 11This is terrible what's going on here           1 so this Mike Durbin was on that.
 2 in our condominiums. 11                                            2           And as I learned later on, then I found out the
 3          And he said, 11 Yes. 11 And he said, 11 To be             3 "new board" or people that filed this petition, it was
 4 honest, I just got on the board so I could find out                4 actually a splintered version of the old board created
 5 what 1 sgoingon."                                                  5 to create, like, a distraction or a controlled
 6           And so I thought, "Okay, well, there's an                6 opposition, Okay? So Charlie West had been on it
 7 ally."                                                             7 18 years. It was really on this new petition. And then
 8           Because there seemed to be a division, There             8 another woman that created -- that was -- the one that
 9 was an old board, and then a group of people filed a               9 tormented me that was the board, and her minions were on
10 complaint to have this petition to recall the Board               10 that one, Susan candell (phonetic). Okay?
11 which preswnably ostensibly seemed like it was for a new          11            So they pretended it was two opposing things.
12 board to get rid of these huge emergency assessments,             12 Again, until you 1 re delving into it, you don't notice
13 number one, and investigate what happened.                        13 this on the surface, Okay? So I didn't notice it until
14            So we believed that. OkaY? And we went                 14 I got into the discovery and depositions and learned of
15   through a hearing on January 24th, and people were very         15 it.
16   angry. 'Ibis was leading up to this for months of the           16            But Susan had been on the board for 14 years
17   preceding year where I ended up having to go back into          17 and Charlie West had been on 18 years, So they had a
18   therapy because I was d:>ing this activism, d:>ing letters      18 responsibility and accountability because these people
19   for these people to keep my mind occupied so I wouldn't         19 were on it for a very long time, Not people th3.t were
20   go stir crazy in my room because now I 1 mon the disabled       20 just like revolving doors, like chess pieces for a year
21   status, Right?                                                  21 here and a year there, I cbn't blame them. They didn't
22            And so it was fine, I was d:>ing the swimming          22 know, But for these two, their lies and culpability --
23   when I could when the pool wasn't locked. 'lhat was             23 I 1 m sorry.
24   something that I was frustrated by because there was no         24            Back to Michael Durbin, So, anyway, that's the
25   reason that the locks were on it. I had to fight to get         25 frame of mind. So, again, I felt relieved because we
                                                          Page 11                                                          Page 13
 1 my own key for it. So some people had their own keys               1 were all at this hearing. I had actually been
 2 and -- besides the ll'ain key that we had,                         2 hospitalized July 20th because I knew this thing was
 3             So there was all of these power strugJles that         3 coming --
 4 had been going on, And again, with a homeowners board,             4           'lllE COURI': July 20th of this year?
 5 it's not like I defer to you, it's big "you," little               5           MS. BrnNSTEIN: No, 2017, before this
 6 "1 1 11 that you are my boss. We are all homeowners, but           6 January 24th hearing for this special assessment. They
 7 they've elected to be a volunteer in that capacity,                7 wanted it to be rrore than the 33. They wanted it
 8             But that doesn't mean that I 1 rn beholden to you,     8 doubled for 70 grand. So we were fighting against that,
 9 that I have to defer to you, that you're my Pharaoh,               9 We really didn't want any of it, okay, but that's what
10 that I'm your subject, that I can't nove without                  10 it ended up being.
11 permission. It means that you just elected to be a                11           But none of us wanted to pay it because we
12 fiduciary, to look out for all of the interests of                12 didn't feel we were obligated to, We never had missed
13 everyone. Okay? Not that you're to be power-hungry,               13 our own payments, It caused tremencbus stress. 'Ibere' s
14 power-placed, and then give privileges to some people,            14 different nationalities in there that don't completely
15 create a divisive and acrimonious situation that's so             15 even understand, there's elderly, the disabled, there's
16 frustrating for everybody to live in. And furthernore,            16 families, people that just moved in for a rronth or two
17 there's supposed to be some voting, not that you're just          17 or bought now were obligated to pay 33 grand, or
18 going to tell us how this is g::>ing to be, like the ruler        18 potentially 70 grand. So people were very upset. They
19 and the ruled like we're subjects. 'Ibis is very                  19 didn't know what they were even walking into.
20 frightening.                                                      20           So, again, I was -- he mJ.de it appear that he
21             And so on the appearance level, it seemed like,       21 was -- that this new board and that he, in particular 1

22 okay, this was   M-  this was the case that, okay, well, we       22 because there was a rapport because he knew me, he said
23 want the old board gone. The new board, they say                  23 something that didn't really register, is that -- he
24 they're going to help us, And llPSt of us, we don't want          24 said, "If I had known it was you, I would h:lve been over
25 to be bothered with it, okay, so we voted for them. And           25 to your house in a minute. 11 He said, 11 Give me a hug."

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 1            And it didn't even register. I lllt:!an, I did         1 on that, and I've got new doctors now.       I've gotten some
 2 that knowingly because I was rrolested as a child.                2 females ones.     I went to male doctors, okay, because of
 3 There 1 s a grooming where you automatically alrrost 00           3   that. Because I said, "I didn't say I was going to
 4 this, You're almost autorratically sucked into this               4   C0111Uit suicide, but I could lll1derstand, I guess, why you
 5 stuff , Okay?                                                     5   felt that way, you know." And they have to do it as a
 6          And so I just didn't even think about it or              6   precaution.
 7 wtat the remark was. But I had told him, "Yes, there's            7              And so we heard a little bit here and there,
 8 a Richard Fong," and there was confusion. You heard               8   and I never really socialized rm.tch with any of the
 9 that hearing back then. 'Ihey claimed that they didn't            9   neighbors. There was a man named John Gibson that 1 1 ve
10 know that he was on the board, but then I located stuff          10   got a restraining order against that just IIDUld come
11 that sh:Jws that they were deceiving me, that they knew          11   talk to us about cats or would gossip atxiut everything.
12   he was on it. They were behind this.    And so this is         12   But we were not buddy-buddy with anybcx:ly. We were a
13   what went on.                                                  13   private family.
14              So at that January 24th hearing, and I'm going      14               I'm going to have you start turning in the big
15   back before then with the hospitalization. The June --         15   notebook now so I can guide you through some of those,
16   July 20th of 2017. I guess it had been about a llPnth of       16   okay, the story about how I rroved there too. Okay?
17   a hlll1dred people on the property that were doing this        17   You 1 ll see pictures to the left. That's my eldest son
18   analysis for the property. They had told us that it had        18   and his children, okay, my grandchildren, which I want
19   been condemned by the City of Fremont.                         19   protected. And the picture -- the top one is my son who
20              And so we were all frightened by this. Okay?        20   is now 26 that lives with us. The abrasions are on his
21   We were frightened. We didn't lmow what was going on,          21   face because we were in a very traumatic accident in San
22   but they were telling us, we've got to do whatever it          22   Francisco which caused us - -
23   takes or we' re all going to lose our lximes. And we were      23              'IllE COURI': Which tab are you looking at?
24   terrified.                                                     24              MS. BERNS':rnrn: I'm looking at the top one
25              I was in my house and doing the pool. 'Ihe pool     25   right now. Do you see that one?
                                                         Page 15                                                              Page 17
 1 was locked half the time. I was going through                     1           'IHE COURI': Yes.
 2 menopause. I was going through a lot of stuff. And I              2           MS. BERNSTErn: We llPVed to this condominium
 3 was trying to get a loan from my master's degree                  3 development because my father-in-law lived there and
 4 discharged because I could no longer work. That was               4 because we went through t\lU very, very traumatic
 5 going to be in jeopardy if it wasn't signed off on by             5 experiences within each other. Okay? We had gone
 6 the doctors that I had. It had taken me three years of            6 through that. The child and I were nearly killed in a
 7 fighting that with the government, and if it wasn't done          7 pedestrian-vehicle accident. Him right there, he's
 8 within a certain llPnth of time, then I was going to have         8 recovering. He• s got abrasions on his face. Okay?
 9 to start all over again, which is very frustrating.               9           And if you turn to the next page, you'll see
10           So I had contacted my doctors and they had             10 that as well. We were at Scott and Bush Street on the
11 dropped the ball. And I had stated that this is enough           11 way to the daycare when a car drove right into us, and
12 to drive anybody to suicide. Okay? So they                       12 it threw me 15 feet. 'I11at's where I sustained all of
13 th:>ught that -- you know, that I was going to conmit            13 the injuries to the leg.
14 suicide or something because I was driven to that point.         14          And we thought that he was killed on the scene,
15 And lo and behold, with all of the stress and                    15 the child. Okay? He was in a stroller that flipped
16 everything, I got taken to John George for a couple of           16 over. Okay? And I didn't even feel the injuries from
17 days for an observation. Because with all of the                 17 my leg because it was so traumatic. I was 27 then, and
18 stimuli, they had cameras looking in our windows, all of         18 I was in the legal field. I was in shock.
19 the people, all of the noises, the fear because I was a          19           So my husband came and got the child, and then
20 child that had been abused, my llPther neglected me, all         20 I went back down to my litigation job for about an hour,
21 of this, I'm going through a secondary trauma with all           21 did a statement with my then boss, Harvey Elam. He
22 of this right now.                                               22 helped me get an attorney, Lori Fisher, that died during
23           And then I had to reenter the treatment again,         23 representation for me. But I couldn't focus and I was
24 okay, and it just escalated from there. Okay? So then            24 on disability for a while. Okay?
25 I had to get -- I'm very angry at my doctors for calling         25          So the next night ~- if you turn the page,


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 1 you 111 see the child also walking in the hallway in the         1 all work together on it. You know, we don't need to be
 2 big white txx:>k. Okay?                                          2 conquered by somebody that I s telling us we have to pay
 3           TIIE OJURT:   Just a moment.                           3 all of these huge amounts when we've done nothing.
 4           MR. BERNSTEIN:    You see him?                         4 We've seen no evidence that they even are out of rroney.
 5           THE C'OURT: Yes .                                      5 So, you know, how can we be expected to pay this?"
 6           MS. BERNSTEIN: That• s on railroad slats.              6          And then the next day, the tlll1e changed. I
 7 Okay?                                                            7 could still walk then. I went up the three levels to
 8           THE o:>URT:  Yes, ma'am.                          8       his house. I brought him, I think, something from the
 9           MS. BERNSI'EIN: You tum the next page, that       9       Court or Richard Fong. The time frame gets a little
10   building that we were in, there was an explosion that    10       shifty then. It 1 s probably I filed your case in April
11   blew out our windows and nearly killed us the second     11       or March and you heard it in April, protective order.
12   night. Okay? June 1st, we were hit by the car.           12       'lhen this is probably May or June. I think it was May
13   June 2nd, this killed three people across the street and 13       because I don't think the documents were quite
14   blew out our windows. Okay? So we were highly            14       requested.
15   traumatized.                                             15                 But I told Michael Durbin that I had a limited
16            And the next page talks about my husband giving 16       scope attorney and that we were in the process of
17   the interview in this article. I had just taken, I       17       getting these cbcuments since at these meetings that
18   think, a pain pill and I was on my feet all night with   18       they had and the voting sessions, the new board that was
19   the child, and we were evacuated until 2:00 in the       19       running said nobody would give them any documents. They
20   oorning. It says, 11 Mystery Blast Kills Three in SF. "  20       needed help. 'Ibis is where I got conscripted.
21   This was highly traurratic.                              21                 So my husband said, "Well, we' 11 file a case "
22            And so I told my husband, "We can't live with   22       She knows how to do all of this stuff. 11
23   here with children. " I had my older son as well from    23                 And so that's what -- everybody said, "Yes,
24   the previous marriage that 1«iuld come out with me at    24       yes. 11 A lot of them, a large number.
25   times. And I said, "We can't live here. 'This is highly 25                  And I said, "Yes, I'll get them. I know how to
                                                         Page 19                                                           Page 21
 1 traumatic. 11                                                    1 get them, but it's got to be by subpoena. They're
  2         So he called his father-in-law that was a               2 supposed to give them, according to the Civil Code
 3 retired engineer at Stanford that says, "I'm going to            3 section, but if they oon't, then we can subpoena all of
 4 look right away for a realtor. It would be beneficial            4 the things that we need to find out to save our homes."
 5 for you to live here with the children than" -- you              5            And they were all agreeable. But the tune
 6 know, "out of the busy city and in Meac:bwbrook."                6 changed when I went upstairs, and then I saw a different
 7          And we'd visited there before, so we liked it.          7 side of him. There was a OHL nan that was coming to
 8 It had two pools. And they had told me because of my             8 deliver something. And he thundered down the stairs
 9 injuries, I'm going to have very bad ostearthritis as I          9 barefoot, and he said he loves a good fight, and he
10 age and that the only way to prevent that is to keep it         10 yelled at this man. And suddenly, I became fearful of
11 going. Okay?                                                    11 him.
12          So I 1 m going to get to some more of the              12            And he had gone back up. Where I was standing
13 exhibits. The next page you 1 ll see is my child and I in       13 -- this is a big biker nan. This is, like, 6 1 711 1 okay,
14 the pool there. And now we're going to get to the               14 guns and everything. And so this was frightening to me,
15 listing of the exhibit numbers. Okay? And I'm going to          15 this, 0 I love a good fight." He had a wife in there,
16 have to put on my other glasses for that.                       16 and then he had told the wife, he said, "I'm alrrost done
17          The Mike Durbin guy that changed on me right           17 with her" about me. And so I -- I'm sorry.
18 after that, I'm going back to when we were talking about        18           'IHE C'OURI': '!bat's okay. can I interrupt you
19 when he was outside my door, which now I realize that           19 for a second?
20 that wasn't just by chance. '!bat he was there probably         20           MS. BERNSTEIN: Yes.
21 waiting for me to talk to me, but to make it appear as          21           'IHE COOR!': Just because I understand and --
22 it was just happenstance. So I was thrilled because I           22           MS. BERNSTEIN: I'm going to show the fact that
23 thought, well, we were going to have a team of people           23 they've lied about stuff on some of these things.
24 working on this. Okay?                                          24           'IHE C'OURI': Well, here's what I need to know,
25          So I said, "Yes. I've got this case. We can            25 because today's proceeding is really much narrower than


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 1 all the merits of the things that you're telling me.           1          And so it's just something you need to
 2          MS. BERNSI'Elli, Right. Okay.                         2 understand. If he says that -- based on his letter that
 3          THE C'OURT: Obviously, you've provided me with        3 six nonths is the appropriate time period for this next
 4 a letter, and I just want to nake a record of the date         4 stay, then that 1 s probably wrat I'll do because now I
 5 and so forth of the letter. This is a letter dated          5 have a basis because he's obvious!y familiar with your
 6 October 7, 2019, fran Shai, S-H-A- I, T-S-U-R.   And this   6 condition and has indicated that he believes six months
 7 is regarding -- this particular person is one of your       7 is the appropriate time frame.
 8 mental health therapists. And I read that letter. I've 8                So my intention, Ms. Bernstein, would be to go
 9 also seen a letter in your binder which is Exhibit G to     9 ahead and grant a further stay for the six months, set a
10 your binder 1 which is a letter dated August 26th.         10 hearing in six months to have you come back, and we'll
11            MS, BERNSI'EIN: Let me go to G so I can         11 see where you are at that time. And that will give you
12 remember it.                                               12 time to work with him on your therapy, and then we can
13            THE COURT: Yes, 110 'am .                       13 deal with it at that time.
14            MS. BERNSI'EIN: 'That I s why I need the books  14           I do want you to understand that because you
15 here. Thank you.                                           15 are the plaintiff in the case and you brought the case
16            THE C'OURT: AUgust 26, 2019, also from the same 16 and you also have legal training from your history, you
17 person, Shai --                                            17 understand that it's important for me to monitor the
18            MS. BERNSTEIN: Yeah. I think it's --            18 progress of the lawsuit.
19            THE C'OURT: -- T-S-U-R. 'Ibis is a letter to    19          MS. BERNSTEIN: Yes,
20 both Judge Brand and to myself.                            20          'IHE C'OURT: And that I can't -- I'm going to
21            MS. BERN'1rEru, Uh-huh.                         21 have to check in with you from time to time to see how
22            THE C'OURT: And describing, again, some of your 22 you're doing, see how it's progressing.
23 symptOfllS and explaining your condition to me. And        23          'Ibe defendants in the case also have rights and
24 that's helpful. There's also -- and I've been looking      24 they have rights -- you know, I can't let the stay go
25 through some of the other exhibits that you've provided 25 forever, but I can let it go -- I can take pericxlic
                                                      Page 23                                                           Page 25
 1 which include some of your medical records and so forth.       1 assessments and see where it's going. You have to
 2 I want to just finish one thing.                               2 understand that at some point, you know, the defendants
  3          And the issue is: Wh3.t I'm trying to figure         3 are also entitled to have -- they have due process
 4 out today, as I indicated in my ruling, is what period         4 rights as well, and they're entitled to have the
 5 of time I should extend the stay. And based on the             5 proceeding, you know, move ahead.
  6 letter I see from -- I ap:>logize. I don't know how to        6            But I feel comfortable that I can grant the
 7 pronounce it.                                                  7 stay for an additional six months and then we'll pick it
  8          MS. BERNSTEIN: Shai Tsur.                            8 up at that time.
 9           THE C'OURT: Tsur .                                   9            Yes, ma 1am?
10           MS, BERNSI'EIN: Yes.                                10            MS. BERNSTEIN: Yes. Okay. Tha.t's fine. But
11           THE C'OURT: -- from Shai Tsur of October the        11 there 1 s other stuff I want to cover. And that's fine.
12 7th. And I can't -- is SMi a nan or a woman?                  12 I'm very grateful. Okay? What I want is for it to be
13           MS. BERNSTEIN: He's a ll'an.                        13 spelled out. Because they didn't let me have six months
14           THE C'OURT: He's a man. I want to use the           14 to rehabilitate. 'Ibey aggravated me.
15 right pronoun. He indicates, and I'm just going to read       15            And there's a subpoena now for the John Gibson
16 a portion of the letter into the record. It says, 11 It       16 natter for the WhatsApp because I learned through - - and
17 is my opinion that a stay from all legal proceedings for      17 I sent you pictures of the gentleman that was disabled,
18 at least six m::mths would allow Mary time for both           18 okay, and some other people that have come forward that
19 medical and mental health rehabilitation. 11 And that's       19 told me that this is circulating, and that's why it was
20 what he's indicated in his letter.                            20 -- trying to gaslight me. When I go out to get a walk,
21           So that's what I needed to understand because       21 people are looking and texting and all of that, which is
22 you need -- I want you to understand, I need -- I can         22 messing with my head. Okay?
23 grant these proceedings, but I have to check in from          23            So the thing is: I need the order this time to
24 time to time. I can't grant you an indefinite stay. I         24 spell it out to them that that means to leave her alone.
25 can't grant an indefinite stay.                               25 Okay? I don't want to have to do restraining orders. I


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 1 want these people to stay away from me. And it's clear          1 spiteful and said, 11 No1 we're not going to accOlllTIOOate
 2 that they're directing them to do some of this with the         2 you because you got a stay and you asked for the stay,
 3 WlntsApp.                                                       3 so deal with it. "
 4          So with the Michael Durbin, the John Gibson,           4            'Ihen that came further. Even th::>ugh we're
 S the Susan candell, and the Mark Siironson, they are very        5 paying for assessments, we've been ignored, She brought
 6 aggressive people. But other people have aggravated,            6 that up in the hearing. She said, 11 She's well enough.
 7 and I can't do things about them, but I don't want these        7 She I s e-mailing people about tenancy requests O because I
 8 people pestering me, That means just let me be. We              8 said, "It may come to the point where I may need a
 9 don't socialize with any -- my husband is disabled which        9 ramp. 11 Okay? Because there 1s three steps at my door
10 is why he 1 s not here. My son is desperately trying to        10 and I don't know if I'm going to further depreciate, if
11 finish his computer science. He was inpaired by this           11 this is my new baseline. We don't know. We I re trying
12 accident. That's why it's taken him until 2016 to get          12 to gauge that.
13 that done.                                                     13            And nothing -- I'd heard that they were going
14          But, again, I love that son. And he 1s stressed       14 to look into it. And I asked them, I said, you know,
15 out and they are very stressed out from this. So I             15 "Is there easements, 11 or whatever the documents, they
16 don't know how you can spell it out in the order that          16 didn't get back to me. She again pointed me out to that
17   this means a stay for me to be able to rehabilitate. If      17 judge, darkening the waters. I never even got to say a
18   they aggravate me, we 1 re going to be right back here       18 word in that hearing. It wasn't heard, but it was
19   again. Okay?                                                 19 continued, but the judge was trying to get a feel for
20            And for the Luanne Rutherford, defense counsel,     20 it. Ben Tram (phonetic) sanething or oth:!r, that was
21   to imply that I'm doing this to string it along when I'm     21 the judge.
22   the one that very a93t°essively got discovery going in a     22           And she was portraying me as sorriebody that
23   year and a half, did so much oork, substantive work, to      23 targeted this innocent huge biker for no reason, and
24   get this done before my health failed, okay, or              24 that if I was well enough to e-mail tenancy requests,
25   terrorizing me, I don't point out the fact that she has      25 then I could handle all of these cases without problems.
                                                       Page 27                                                            Page 29
 1 multiple aliases or that she has bad credit, so she             1 'Ihe tenancy is completely separate from the litigation.
 2 shouldn't be attacking me for my disability. Okay?              2 'Ihe medical things and I need a ramp, that doesn't have
 3           So I just wanted -- with the stay being               3 anything to do if I have a stay or not. If I need to
 4 granted, I want the caveat, something about the order           4 use the pool witOOut a step, that has nothing to do with
 5 that this means tMt they 1 re not to bother me. Luanne          5 -- and I should not been penalized for getting a stay
 6 Rutherford, also in that hearing, brought it up to the          6 because my health deteriorated. I cannot help that.
  7 judge that I was perfectly capable becaUBe I was issuing       7           'll:IE 0'.)00: Here's what I want you to
 8 tenancy requests. Okay?                                         8 understand. I don 1t have unlimited jurisdiction.
 9           And I've explained to these people, because           9           MS. BERNSTEIN: I understand. Okay.
10 they retaliated on me if111\ediately. When you were            10            'IBE C'OURI': My jurisdiction is over this
11 gracioUB enough to give me that order last time and we         11 particular case and the proceedings in this particular
12 had the understanding, I gave you transcripts of that.         12 case.
13 It was that, yes, if they let me rehabilitate, and my          13           MS. BrnNSTEIN, Right.
14 exercise in the pool and everything, then that will help       14           'll:IE COURr: I don't have jurisdiction over
15 me because we didn I t know wrat my new baseline was going     15 those individuals that you've named.
16 to be since my knee fell, 'They immediately retaliated.        16           MS. BrnNSTEIN, Okay.
17           I sent you a copy of that e-mail dated               17           'll:IE C'OURI': I don't get to tell them wMt they
18 April 16th. our hearing was April 11th. I forgot that          18 can and can't do.
19 there were two different pools, and one had a step and         19           MS. BERNSTEIN: So that's why we rave that,
20 one didn't. Okay. And because my leg had become so             20 then, for those judges, okay, the restraining orders.
21 weakened from the stress with my mother and from not           21           'IHE C'OURI': So you need to understand all I can
22 utilizing it, I had stated to them, 11 Please 1 just switch    22 do is give you relief from having to deal with discovery
23 over to the other one heated. It doesn 1 t have a step.        23 and so forth in this case.
24 Okay? It's very difficult for me to leave it. 11               24           MS. BrnNSTEIN, Okay.
25          And they either feigned ignorance or were being       25           'll:IE COURI': And, of course, then I'm g:,ing to


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1 have to check back with you periodically to see how           1 president of the Board.
2 you're doing.                                                 2           So that is trawnatic. I've been hit by a
 3          MS. BERNSJ.'EIN, Right.                             3 vehicle in -- there, you've read it. I was beaten for
 4          THE O)URT: And then, you know, you also             4 four years by my stepfather, thrown against walls.
 5 understand that the lawsuit can t -- you know, I don't
                                     1                          5 People upstairs slamming furniture, I understand. Okay?
 6 know what's g::iing to happen in the future. I'm g::iing to 6 But these are my conditions. And living in this, okay,
 7 just take it one step at a time.                             7 and not even being able to think or even put my tOOughts
 8          MS. BERNSTEIN: Well, that's all I can 00 too.       8 together to call, to meet someone, okay, I can't. And
 9          TIIE CQURT: Right. But you understand that at       9 it 1s a very primitive, Neanderthal way to operate.
10 sane p:>int, you know, the defendants are also entitled     10 Okay?
11 to due process, and they're entitled to not have this       11           And I realize that this president of the Board
12 lawsuit on the books and have me tell them that they        12 is only a mechanic, but he's got some sense because he
13 can't bring any motions, they can't --                      13 works for the United States postal office and they have
14           MS. BERNSI'EIN: I understand.                     14 harassment training, sexual harassment training, all of
15           THE COURT: Do you see what I'm saying?            15 it. I worked for the federal government as a clerk.
16           MS. BERNSJ.'EIN,  I do.                           16 I've also, you know, been in the private sector. And
17           THE O)URT: At some point, you know, you're        17 any big ccxupanies -- everybody knows what it is.
18 going to need to try to !lake other arrangements, maybe     18           And if you didn't spell it out, first of all,
19 to have someone help you with the iawsuit. I'm not          19 he knew that I was uncomfortable with him in front of my
20 saying this has to happen right now.                        20 place because of how his tune changed. I went all the
21           MS. BERNSTEIN:    You saw about Kevin Horan too,  21 way out of the way to avoid you. He said, 11 1 am going
22 the medical conditions; right? You saw that; correct?       22 to be here a lot, so get used to it." I don't have to.
23           THE O'.:>URT: Yes, but I want you to understand   23 I'm not that child again. I don't have to have people
24 that at some point, you need to be starting to think        24 touching me, on me, touching my property anyrrore without
25 about maybe can you get some help so that you --            25 some type of pushback or consequences. I don't have to.
                                                      Page 31                                                        Page 33

 1          MS. BERNSTEIN: I understand,                        1 Okay?
 2          THE COURT: -- can just become a party and not        2          And when he's driving around and I'm not
 3 necessarily the party --                                      3 smiling or waving, and you see the terror on my face, he
 4          MS. BERNSTEIN: Well, I understand.                   4 knows what he's doing to me. And so out of complete
 5          THE COURT: The person that's driving the whole       5 frustration because it wasn't enough, the body language,
 6 thing.                                                        6 the words, I had to do this. Okay?
 7          MS. BERNSTElli: Right. And I understand that.        7          And with the defense counsel acting --
 8 And that's what we were doing with Kevin, and another         8 vilifying me, stating that she brought this because of
 9 trial attorney is going to come on later. So that's           9 absolute terror I this man has four guns. The other one
10 exactly what we were doing. Okay?                            10 on the other side has guns. They're looking at me.
11          But, again, if they don't allow me to even          11 They're glaring at me because they're upset or they've
12 gather my wits, this was all stuff I had no control          12 been fed disinformation about this case or what have
13 over, and I understand it, but they do have control. I       13 you. 'Ihey can all do whatever they want regarding their
14 have been diplomatic and civil and they can likewise be      14 property. I have a right to investigate and protect my
15 that. They are "the Board, and they can tell the
                               11                               15 own. And I don't rave to defer to these people there.
16 people, which I wrote to the property manager which is       16           'IHE COURI': All right, ma'am. Well, I
17 the mouthpiece for the Board to stop having people           17 understand, but as I said earlier --
18 bother me. Stop trying to get me to dismiss the case         18           MS. BERNSTEIN: I understand.
19 like a nafiosi or thugs. Okay? This is going to go           19           'IHE COURI': -- I don't have unlimited
20 through a process. Okay? I have a constitutional right       20 jurisdiction --
21 for a lawsuit, okay, and it's going to be done.              21           MS. BERNSTEIN: I understand.
22           So if you keep aggravating me, if the man, the     22           'll!E COURr, -- to tell people, you know, to
23 TR.0 the gentleman was driving in his truck after me
       1
                                                                23 stay away and so forth. TI'K>se are things, as you
24 waving bye bye, bye, by roocking me, and the walker
           11
                1
                          11                                    24 understand, you can try to seek that relief in other
25 and all of this, this messes with my head. This is the       25 types of proceedings. It's not part of this lawsuit.


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 1           MS. BERNSTEIN:   No, it•s not.                     1 person.
 2            THE CDURT: The best I can do --                   2             So th3.t is not being heard today. And I
 3            MS. BERNSI'Eill: I understand.                    3 understand the procedures about the proposed am::!nded --
 4            THE COURT: -- right now is to grant your stay     4 I mean, the proposed amended complaint. And so all I
 5 for an additional six rronth.s.                              5 W"dS merely letting the Court know and them know is:
 6            MS. BERNSTEIN: Yes.                               6 This is wh3.t 1 s going to be in the works. Of course, I
 7            THE COURT: Let's set up a hearing time for you 7 h3.ven't written that yet. That will be written. Okay?
 8 to come back six nonths - -                                  8            But, yes, I'm going to need time to do that,
 9            MS. BERNSI'EIN: Perfect,                          9 and that 1 s not going to be done during the six nonths
10            THE C'OURT: -- and see where we are. Okay?       10 rehabilitation. But I'm looking at that filing -- if
11 That I s the best I can 00 for you today.                   11 you' re going to be granting until, say, June the
12            MS. BERNSTEIN: I understand. And you saw --      12 parameter of time for this stay, then probably July or
13            MR. WILLIAMS: Your Honor,                        13 August, I would probably submit that amended con-plaint
14            THE C'OURT: JU.9t a lllOmE!nt, Counsel.          14 immediately thereafter.
15            MR. WILLIAMS: Your Honor --                      15            'IHE O'.)lJRI': Let me hear from counsel for the
16            THE COURT: Just a moment, Counsel.               16 defendants. Go ahead, Counsel. And, Counsel, just
17            Ma'am, he can't see me.                          17 speak up and speak slowly so the court reporter can get
18            MS. BERNSI'EIN: I have one irore thing.          18 a full record of what you want to tell me.
19            THE C'OURT: And I'm going to let you say one     19           MR. WILLIAMS: Yes. 'Ihank you, Your Honor.
20 more thing, but I want him to understand I I m going to     20            So I just need to point out several of our
21 let you finish that, and then I'm going to hear from        21 grounds for our stringent objections that we have to
22 him, and then we're going to nove forward.                  22 continuing the stay in this natter.
23            What is the additional one thing you wanted to 23              First of all, we are unable to fully evaluate
24 tell me?                                                    24 the grounds on which the plaintiff is contending that
25            MS. BERNSTEIN: 'Ihey misunderstocd -- I wasn I t 25 she needs a stay if we are not provided with the

                                                       Page 35                                                            Page 37
 1  certain OOw to do this because even though I oorked in         1 evidence that she has submitted.     And we understand that
  2 the legal field, I didn't do every single legal                2 this is medical inforwation or includes medical
 3 procedure or what have you. Okay?                               3 infonnation, but this lawsuit includes claims that
 4           So with the stay, because I wanted to get my          4 directly relate to the same type of medical infornation
 5 CMC filed and let everybooy know what I was going to be         5 and which are going to be explored and need to be
  6 doing rather than the element of surprise here,                6 explored in discovery.
  7 disappearing on the 7th, Monday, and just saying, Hey,
                                                       11
                                                                   7           So as we are inevitably going to be getting
  8 I'm going to need six nore nonths, 11 I wanted to let          8 into these issues, it's unreasonable for us to be unable
  9 everybody know to give them their chance to opi:ose it.        9 to see all of the grounds upon which plaintiff is asking
10 Okay?                                                          10 for a stay.
11           And also, I mentioned then -- and like I said,       11           'lllE COURI': Let me ask you a question about
12 I am disabled, but I was letting them know that I'm            12 that. I'm taking notes. And I'm looking through the
13 moving for a notion to amend the complaint. Okay? I            13 file, but perhaps you can tell me, has a protective
14 will be incorporating these people in this. 'Ihat's not        14 order been issued in this case? Have you requested a
15 today, but we can set up that time frame if you wanted         15 protective order that would allow for the sharing, you
16 to today, or we can come back and set that up. But             16 know, of certain kinds of confidential infornation
17 hopefully, they let me have my rest, I'm able to               17 within the context of a court proceeding?
18 recover, and we move like lighting speed next time when        18          MR. WILLIAMS: Have we filed a protective
19 I come back.                                                   19 order? Is that your question, Your Honor?
20           And so I'm going to be amending that complaint,      20          'lllE 0'.)00: Well, yeah. It's not so much
21 though. That 1 s probably the first order of business          21 sought one, but the idea is -- you know, when a case
22 because then they 1 re going to be able to also do more        22 involves confidential infonnation, one of the things the
23 discovery or whatever they want to do, file an answer          23 parties can do is prepa.re an appropriate protective
24 with that. But that is the first thing. That these             24 order that governs the inforrration that is part of the
25 four people are being added to that and one other              25 case process.


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                                                                               Page 38                                                                          Page 40
 1           And so I'm wondering whether th3.t 1s somethirg    1 sounds like an argument regarding prejudice, but I
 2      I don't recall any such order has yet been requested    2 haven I t actually seen you guys provide me with any
 3 or entered in this case. And I'm asking you if you are       3 factual support for that particular claim.
 4 aware of whether one has been entered in this matter.       4                So do you have any factual support for that;
 5           MR. WILLIAMS: Not to my knowledge. However,        5 and if so, can you get it ready so that I can consider
 6 my understanding is that the plaintiff has filed a           6 it the next time she requests a further stay?
 7 motion for a protective -- per the Court 1 s docket that    7                MR. WILLIAMS: We can absolutely go and seek
 8 I 1m looking at on the computer, it looks as if plaintiff 8 the factual support that you I re asking for from the
 9 filed for a protective order back in February, but we        9 membership.
10 were never served with any papers about a protective      10               [f.ffi[;:~ffi£®j;~f,:,i1m'~hij,t:ills(Y<?U:: t~u .fie. is;;
11 order. If th3.t was what that was for, then that is why ~*;~2_~,~i11JJnwi\/Iwlitf¥I11n\l•i©:09,t@ii(feadi.ng·. t.li•
12 1 1 munaware of it.                                       -iicf~ffefW~LWN¾ff})((f?¾PU?~AA'i,tf::¥~Xt·:: Iµ_ie_:,:'.i/•:ypµ 'haven I~
13           But I <bn't know if that was for that purpose   ~5;~y~~PI~~~1it\@!~5Jiitlfr~~c~1@J:/fact~1·.-suppor~:· to
14 or for another purpose. I would have irragined that had iJ\f"11PP<#\f.i;h;lt,\cislm~
15 to 00 with the discovery dispute that we were in before 1?fiiifI~:~1fi:t:J~'.,fwtL~~-{{ ~Wei\<b/~t>'ye~. .iiaVe·, .for ·exaiple,
16 the initial stay was initiated.                           ~'.</f"de,Cl~M:J<:#(Jiqn\"°jn~~rs~J~Yirlg;t~f':_they. haVe
17           THE: COURT: Yeah. I'm talking about -- I        17}~jtte:ti\'>~\~4':l:)e~lfifuial>l~'[t<icio'.-~iS. ·HoWeVer, ·we· are
18 understand. I'm talking rrore about --                    ,~a;~J,~li~-~ez@t;s'Jti_iS':'iS~·--a~·thµig':'tha_t cannoi:._::o~ur ··as a
19           MR. WILLIAMS: sure.                             ~9/ g~~r;,i!•ma_l:l;ii; .j
20           THE C'OURT: -- a protective order that just     2f ;,;•••::cR;;;;iijj{E .OlllRl'::i /<lLr:ight, ,, f-1)Jldeistand.
21 governs potentially confidential information and so       ~t :f('()ntJrli'.~t{;r~t:aY}'Pill'jl~,¢>arglimailt?
22 forth that could be shared throughout the proceeding,     22                 MR. WILLIAMS: Additionally, it is -- it seems
23 not a protective order prohibiting some particular        23 clear to us that the plaintiff has been able to take
24 individualized form of discovery.                         24 steps in furtherance of the litigation or issues related
25           All right. You've answered my question. I'll 25 to the litigation notwithstanding the stay. For
                                                                               Page 39                                                                          Page 41
 1 let you continue.             I've g::it point number one, and you                     1 example, as she stated, '~~r~AH.ed}.{or_:@lltipie
 2 nay continue.                                                                         fu.!\~:~~@ii\ijij,i£?~1~\]iii,9::;P,l!t;fqg~J;.fi~W."riaP_~iw9t~i .r~a~~ to
 3                MR. WILLIAMS:         'Ibank you, Your Honor.                          ;,J!r~fubi~~~-~i<i~!)ii\g;,2x\lmi,irl\l•A~~wdod:(h@CJJigs,re'l.ateq
 4                W~/aJJ1,i~_P/?~Itff~tSF1iY¥:~tµiife~rn?'.i~~~                          E'.4~z:1~;tQQl~Jt~@t~\filtj.g,;;9!(1e~"E:Ifilie.IS\.'~iiiO::~·ent:.wr1_tten
\ 5 ~iS~~~~~~1nU~;;{~tjy;ge:_1;~@fffli?ti,th_t3~llJl?~rW02_filti~                        f[!10~~~t';;tj:iL~li~fW2i?!~dffiivP~t't:YT-~\lE!ger::SE!J~ing'_·tb
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1.0.\.1,his;( <i,nd. •,fie½i>avi;(g; qJ~\,;(~~;:1;I,@il)1'pqwmfl.al~Y~rfi l<fJcprgq~~}{@Cf_We)lljJ,fi_l(wi'i:'(e~µi~~ the claim that a stay
~Il@E:Jfi1i-e·:J~'::'1ifi9jp;_Qi!J991!19?9~i:0WJµ,chf"~~~~\;~                            11 is necessary at this point in time.
i2::-.Jg\ll.ru,ru,&. 6lilJfi.rlg,~.ffJ?i~,;:~ii~S.iwffl'!iit~cKel;1-.f°!iel~ 12           Furtherrrore, from the fact that plaintiff is
h ;propei:ty;'                                                               13 also filing to seek to amend the complaint, that's
                                     that this natter has been stayed
                                                              14 another thing that she seems perfectly able to do, but
15 and that Your Honor has indicated a willingness to         15 now claims that there needs to be a stay. And it seems,
16   continue staying it causes serious prejudice and         16 I guess, implicitly -- to imply that the stay should not
17   hardships to the membership who are unable to do these   17 encompass this particular rrotion, just everything else.
18   things because we are unable to get the case resolved.   18           'IllE CQURI': 'Ihat's not what she said. She said
19            THE COURT: Let me ask you about that because I 19 she I s giyinq me a preview of Wffit she expects to happen
20   saw that in your papers, but all I really saw was        20 in the fµture, She hasn't said she's seeking leave to
21   argument about that. I didn't really see any facts or, 21 amend her complaint now. She hasn't even prepared the
22   you know, evidence of things that have actually happened 22 proposed amended complaint. And I think she understands
23   or problems that have arisen as a result of litigation. 23 that she can't have her cake and eat it too. In other
24            I understand the position from sort of a -- you 24 words, haye a stay and also prosecute the lawsuit
25   know, from an argumentative standpoint as to-~ that      25 herself during the pericd when the stay is ongoing.


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                                                                                                                                          Page 42 ..45

                                                                          Page 42                                                               Page 44
 1                  With r~ard tQ YQur statements r~ardj;ng Qer                      1 her disabilities. And so, you know, what factual basis
 1   r§!;llJ!i'!§t t2r r!i\s~r,gjning: 2rd~r~ gJJd §Q fQJ:tll M)et §he'§             2 can you provide me to support a stay of a shorter period
 l   told -- fit:f;t Q{ g,J 1 th~e ro;:oc§:edings ijr~ not bg:{Qt!i\                 3 of time?
 ~ me OO<l tbey' re not oort of an~hing I 'Ill gging to lli1                         4          MR. WILLIAMS, Well, Your Honor, having not
 2 issuing an order on. };filt as j:QU heat:Q her ~ress                              5 been provided with that letter or any other
   hers~lf this rroming, Qer bel,1ef is that contacts from                           6   d::>cumentation that describes the plaintiff 1s factual
 '
 1 Cfil:taiJJ t.Qlk§ on the !:l:oot:Q gJJQ §O fQrtb ~r~ gr!i\venting
 1 her trom re~eiving the benefit of the stsi that I've
                                                                                     7
                                                                                     8
                                                                                         basis for this request, I confess, I'm unprepared to
                                                                                         atteffq?t to come up with an opposing factual basis at
 2 manted UJi to this :22;int. In other ~rds, snowing he:i:;:                        9   this point.
1Q tg r~beQilitate her S:l!lJl2tQ!M! smd so tg;i;:th a~ {.!he roo~es                10               'IIIE COURT, Okg:t fie]l ~jn, :f:OU t,QQW, !00~
11 fot:i:lst:d,                                                                     11   l!QU {.!hgylQ think ~ut or r~sea;i;:ch whether :tQU QQulQ
12              So that's what she's telling me. Now, I'm not                       12   grQQQ§e tl:@t a grotective o:i;:der be rut in glace in this
ll r@KiJJg an):'. t ind;i.ngs oog I ' m not making !Ifi ruling on the               13   ca{.!e that would give the Court ru:eater latitude so that
H st9:i:: ~ed Qn tl:)Q{.!e stat~~nta b~ he( ~caU§e tl]~g are                        14   Y.Qll ggulQ b§ ~igeg ~itb ~Qllle of the,:;!e [ll,att~rs t!]gt
lo not Qef2i:;:e me in tbis grQ;;;egd;!,ng, mlt e t l've )Je~u;:d                   JS   are being gr~sented b:t: Ms Bernstein, You're going to
1§ her saj'. is that she believes that the conduct ot some of                       16   have to look up the law on that because, you know, we
11 thes~ folks is tending to exa£er@te her s~tQI!)§ m)d                             17   basically have competing interests that I am going to
li not allo~;!,ng ber to ;i;:e£QEr tram t)Je sl1It!:tQ[!§ that s!:Je'§              18   have to be focusing on. We've got her interests, her
lj been emeriencing.                                                                19   personal -- her privacy interests related to her claims
20              So, YQ.J.! know, I beve no control over -- I don't                  20   for disability and for acconurodation and then, of
2J [!ay:g ~trQJ QYf.!r t~e folk§: be~f:! t~• re not bgfQre                          21   course, your due process rights to be provided with
22 me 9Qd tOOsg i§ijUe§ st:~ DQt gres§llteg here in this ca{.!g                     22   information you need so that you can adequately advocate
2l nQr go I haye an:t Qgsi§ to gr~luge !}gr fmm seeking                             23   on behalf of your clients.
21 othe:i;: relief frQ!!l1 j'.OU know, Qther means including                        24               And I respect all of those concerns. I'm
25 restraining orggrs, I don't have that                   --
                                                        those are not               25   thinking that perhaps some briefing, research, ooy need
                                                                         eao~J4~-                                                               Page 45
 1 before me today.                                                                  1 to be put together on your part so that the Court can
 2          ~ii~'illi±JJ!ljif'{.tfii!{I,111!~\ll~w~!§ill~~;~                         2 then hopefully, ~t.Jt 1 ~ appropri_ate, put in place a
Flfl:"aohJ'~l:_ag1Jei~iltn'L~Wli9ltl'!,~f@\ff~1'J.b9J?lli~fJJiff!                    3 _prOteci:ive otder- that will allO\\' thEl Court to be able to
; 4 ?~lli'Ja",!f;tpa.W~co~,liiflJlglll\J1,J,~Jl!Piill!~§§ilfgl/fil:.9SL\::triM       4 p:i;ovide _you- and sh:are "'with you ooroo of the information
~$/ ,'~p~1qil"~~~i~Jr)yt9iQ~<i~l~2~9tHJ1i&E®i1£ggp_~qp]                                           a
                                                                                     5 that she I piOVideci. to me.
;F6-_, 2ft~tetQI~·-;-;,:;j~T:S~',~~t$lP'f-ZPThii¢~$.TII~1~W®Jt'<N;                   6           MR. WILLIAMS, I understand, Your Honor. I
'it\J'haf;a½i~ :--f0f'.],ig~\ly'.4,~-~~j;t She's basically                           7 suppose my belief and understanding was: 'Ihe standard
 8 looking at - - as the devil's advocate, she's basically                           8 is -- or the burden is on the other -- it is presumed
 9 trying to get the people on your end to give her the six  9                           that anything that is filed with the Court must be
10 months of relief that she needs to get her feet under    10                           filed -- nust be also presented to the other side. And
11 her with regard to bringing this matter forward.         11                           then that the burden would be on the plaintiff to
12          So I'm just rest,:x)llding to your argument. Go 12                           support why scmething must be withheld from us and why
13 ahead.    I'll tum the floor back over to you.                                   13   it should simply be given to the Court witOOut -- and
14            MR. WILLIAMS, '!tank you, Your Honor.                                 14   argued Ut,:x)ll without the benefit of our being able to see
15            The last thing I'd just like to say is: If                            15   it.
16   Your Honor is inclined to grant a further stay that Your                       16              'IIIE COURT, i.,,t 1"' just --
17   Honor consider a shorter pericd than the six rronths                           17              MR. WILLIAMS, As Your Honor's request -    -
18   requested so that we can reevaluate the situation and                          18              'IIIE COURT, I was going to say, what I want you
19   readdress these issues sooner than six RPnths cbwn the                         19   to understand is and look into is that with regard to a
20   road.                                                                          20   request for acconmodation, certain privacy rules apply
21            'IIIE COURT, Okay. Well, what's the basis for                         21   that limit -- you know, they'd have to be handled --
22   that? I've got -- the medical professional from the                            22   specially handled. And I'm limited -- tased on my
23   Peroonente Medical Group has told me in this letter that                       23   Ulldersl:andin9 until you can persuade me otherwise based
24   he believes that six months is going to be the pericd of                       24   on your own research, I'm limited in what I can share
25   time necessary for her to make progress with regard to                         25   with you regarding those requests, yet I still have to


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                                                          Page 46                                                            Page 48
 1 COilsider them.                                                   1         MS. BERNSTEIN: 'Ihe part trat he's stating that
 2            So, again, you know, I'm.not -- Pmjust                 2 the property -- they can't get anybc<ly because of my
 3 _suggesting to you that this ·1s_an_area where I_~elieve            3 "litigation." This is the deplorable condition. And I
 4 research is ·going to need to be_ done· because we have·            4 have a statement to nake -- give that to you for you to
 5 cOffipetfog interests aiid I'm ultinatE!iy going .to have tO        S look at {handing), compared to what it was a few years
 6 balance those interes_ts, And ·so r_would just suggest to 6 ago myself there. 'Thank you. It can be part of the
 7 you you would want to look i,nto that because .i_ -"am_             7 record or it doesn't have to be part of the transcript.
 8 limited -in what I  .can    share with You ·When-_she.p"rovi_des    8 It's just for you to see. But it's not privileged. And
 9 infor_matlon tO me as pait" of_ a reqlleSt •f6r                     9 they've seen these documents before over and over.
10 aCcomrrodatiOns.                                                   10 Okay?
11             MR. WILLIAMS: I Uilderstand; _Yoiir.Honor, And         11           'IllE COURI': Let me just describe for the record
12 if Your Honor wallts··furthE!r_ briefing·o~ thiS isSue, we         12 what you're giving me so Counsel can understand.
13 will C"ertainl)' pl:'ovide if.                                     13 Basically, I'm being handed photographs of --
14             THE ·COURTi WE!ll, -I think_ that 1s probably          14           MS. BERNSTEIN: Tue property.
15 something that's-going to be important $en we take uP              15           'IllE O)URI': Certain aspects -- certain parts of
16 t_his issue again the llext time·i_t comes Up, You_know, l 16 the property, areas around the pool, the chaise lounges
17 think you 1 re gD:iJlg to wallt_to look_into·tha~,- and-I'm        17 around the pool and -- let me see what else we've got,
18 goillg to" need you folk.S to do some· research on_· ttat.         18 Grass -- grassy areas that are dying or don I t appear
19             And maybe there•s -- ·yoii" kriOW, I'm hoping          19 particularly healthy and debris on pathways.
20 there's __ -- 61;iviously, _I'm going--to haVe •to balancie _.thEl 20           Basically, you know, these are things
21 1_ntere1;1ts1 but·- I think the CoUrt Would_ certainly benefit 21 suggesting that the property is not being well
22 from research done   ·on    this particular,_ shall we say,        22 rraintained is kind of what I take from this, I'm not
23 competing interes_ts issue,                                        23 quite sure what these other photographs are about.
24             MR, WILLIAMS: Understood, Your Honor.                  24           MS. BERNSTEIN: '!hat's me when I was younger
25             THE O)URT: Okay. Is there anything else you            25 and my son there and how it was. It was very nice. I'm
                                                          Page 47                                                            Page 49
 1   wanted to share with me before I take the matter under          1   showing you wrat it looked like.
 2   submission?                                                     2             W.E COURI': Oh, okay. So in contrast, she's
 3            MR. WILLIAMS: I believe I've stated our                3   provided some photographs showing --
 4   objections and their grounds, Your Honor.                       4             MS. BERNSTEIN: 'Ihe property.
 5            THE O'.)URT: Okay, Counsel. 'Thanks so much. I         5             'lflE O)URT: -- the property some years ago when
 6   appreciate it.                                                  6   it was in better condition.
 7            Yes, Ms. Bernstein, a brief reply.                     7              I'm not sure that I need these right now,
 8            MS. BERNSTEIN: Yeah,                                   8   rra'am.
 9            THE O)URT: Because I cbn' t have unlimited             9             MS. BERNSTEIN: You may not.
10   time.                                                          10             'IllE COURI': I understand the point you're
11            MS. BERNSTEIN: Yes, I understand, a brief             11   rraking, but he's making a different point. His point is
12   reply. I'm going to go ahead and address Resh!ra. These        12   that the lawsuit -- the existence of the lawsuit creates
13   can be made part of the deposition. Okay -- I'm sorry,         13   issues that might make it, might, and I'm emphasizing
14   the transcript.                                                14   the word 11 might, 11 might make it difficult or affect
15            THE COURT: Which parts?                               15   people's ability to sell or otherwise. But that's not
16            MS. BERNSTEIN: I'm going to give these to her.        16   really before me today.
17   You haven't seen these yet, as exhibits.                       17             MS. BERNSTEIN: Right. I understand.
18            THE OJURT: Well, I just want to be sure.              18             W.E COURI': I'm not going to get into that.
19   You're asking me to -- the things you're going to hand         19             MS. BERNSTEIN: I'm just attacking -- I'm
20   to the clerk, you want to be rrade part of the record and      20   rebutting wrat he said, and 1 1 11 rrake it very brief.
21   put into the reoord?                                           21             So that's trat. Okay. There are patios that
22            MS. BERNSTEIN: I would like to. But this is           22   are conpletely missing. Tue new board, they've "had
23   not medical stuff. 'lllis is property stuff. I'm               23   this money for about two years." None of it has been
24   attacking what he's saying right now. Okay?                    24   done. There's one building that's been worked on. So I
25            THE OJURT: What part of it are you attacking?         25   cbn't buy that and trat•s not it at all. And I have a


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 1 right to a lawsuit, number one.                               1 have to do any of this. 'Ihe last thing I like is coming
 2          The protective order you're talking about,           2 into court with any of it.
 3 absolutely, because this is why in the John Gibson case,      3          So to make it seem like this is something that
 4 I had to subpoena because there's stuff circulating       4       I just decided to have four restraining orders, I had to
 5 about me with the WhatsApp.   'Ihe last thing I want is my5       do these things. I had to deal with the Kevin Horan
 6 private medical things circulated and discussed.          6       natter to get another attorney. Okay? These are things
 7 Everybody already knows a lot, but I want some flKXlicum  7       I had to do. 1hey 1 re statute of limitations. So,
 8 of privacy left.                                          8       again, this is something that he's failing to understand
 9          The fire sprinklers, I called because the        9       or won't. Or the insensitivity towards the disabled
10 TRO -- they had stated ttat that never even happened.    10       with the Board and the defense counsel is just
11 So I called NorCal. They said -- again, with the         11       objectionable, really. Okay?
12 urgency, why they made me go through and other people go 12                  'JllE COURI': All right. Thank you, rra'am.
13 through that inspection under threat of a 250-dollar         13              MS. BERNSTEIN: It really is.
14 fine with Mike Durbin, that it had to be done              14                 'IHE COURI': I appreciate everyone's arguments.
15 inmediately. None of those repairs have been OOne for      15     I I m prepared to take the natter under submission. My
16 alnnst two years.                                          16     inclination is to grant the stay for the further six
17            'JllE COURT: Ma'am, he didn't bring that up. I  17     rronths, and I'll set out a hearing date in the future.
18   need you to focus on whatever arguments he nade that you 18                Let me do the nath in my head briefly, ma'am.
19   want to rebut.                                           19     We're talking -- let me pause for a moment. We're
20            MS. BERNSTEIN: He mentioned about the tenancy 20       really talking about March would be the next time I'd
21   things, that that means that I'm perfectly able to be an 21     probably see you. March or April would be six rronths
22   attorney, to come into court all the time with things    22     from now.
23   just because I'm asking for a ramp or tenancy things.    23                MS. BERNSTEIN: This is October.
24   No, I'm not. Okay? I'm not catatonic just because I am 24                  'IHE COURI': This is October. So if we go
25   disabled. Okay? I'm still able to conm.micate and        25     November, December, January, February, March, April, six
                                                      Page 51                                                                Page 53
 1 function, but I can't function of that - - what I             1   tronths.   So I '1-.uuld set a proceeding in Iipri 1.
 2 nornally can and under the stress. That's why I don't         2           And then in the meantime, I'm happy for folks
 3 work as a paralegal or an advocate anynpre because I          3 to research and provide the Court with a proposed
 4 can't do it all of the time. I can do one day with you        4 protective order that would govern the confidential
 5 here, and this is very traunatic, and then it's going to      5 information that needs to be provided in the course of
 6 be three days of dealing with nothing.                        6 the litigation so that we can take care of that issue
 7           So, again, for them to say well, because she's      7 and --
 8 breathing or she's doing this, then she certainly can do      8           MS. BERNSTEIN: For attorneys' eyes only or
 9 all of this fine, I'm allowed to file a complaint. When       9 something?
10 I worked in the legal field, I would see sometimes           10          'll:IE COURI': Well, you've seen them before and
11 attorneys filed 16 amended complaints, okay, and so on       11 there's mcx:lel ones --
12 and so forth, So that's neither here nor there. I'm          12           MS. BERNSTEIN: Pm not going to do it. They
13 entitled to trat,                                            13 can draft that,
14           There's a pattern of abuse with them. I've         14          'IHE COURI': Well, I understand, but it
15 sent them a copy of the protective order they talked         15 obviously needs to be customized to take into account
16 about. And then, like you talked a,bout, this Drew           16 the issues that are involved in this particular
17 gentleman is doing the same thing that LUanne tried to       17 proceeding.
18 do when you granted the order last time. Let's give her      18          MS. BERNSTEIN: Right. Exactly.
19 the stay but with the caveat that she could be working       19          'IHE COURI': Okay I folks. I want to thank you
20 during the stay. She wanted to do discovery during the       20 all for your arguments. I apprecia~e them very much.
21 stay. How is that mentally recuperating?                     21 I'm taking the matter under submission, and I will issue
22           And he -- 11Well, why can't we work around         22 an order in the next day or so.
23 that? Not really six months, but six months. "Okay.
         11
                                                                23          'Ihank you.
24 She got a stay, but then she'll do depositions and           24          MS. BERNSTEIN: 'Ihctnk you,
25 she' 11 do this and that. 11 And, again, I didn't want to    25           (Proceedings concluded at 11:12 a.m.)


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                       REPORTER'S CERTIFICATION
 '
 2
 3        I, Sheila Pham, a certified Shorthand Reporter, do
 4   hereby certify,
 5        That the foregoing proceedings were taken before m~
 6   at the time and place therein set forth, that the
 7   proceedings were reported stenographically by me and
 8   were thereafter transcribed under my direction and
 9   supervision, and that the foregoing pages contain a
10   full, true and accurate record of all proceedings and
11   testimony to the best of my skill and ability.
12        In witness Whereof, I have subscribed my name.

"
'4
15   Dated,


"
'7
'8



                             Sheila Pham
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"
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EXHIBIT Q
The Great Tribulation

15
  "Therefore when you see the 'abomination of desolation,' spoken of by Daniel the
prophet, standing in the holy place" (whoever reads, let him understand), 16 "then let
those who are in Judea flee to the mountains. 17 Let him who is on the housetop not go
down to take anything out of his house. 18 And let him who is in the field not go back to
get his clothes. 19 But woe to those who are pregnant and to those who are nursing
babies in those days! 20 And pray that your flight may not be in winter or on the
Sabbath. 21 For then there will be great tribulation, such as has not been since the
beginning of the world until this time, no, nor ever shall be. 22 And unless those days
were shortened, no flesh would be saved; but for the welect's sake those days will be
shortened.

23
  "Then if anyone says to you, 'Look, here is the Christ!' or 'There!' do not
believe it. 24 For false christs and false prophets will rise and show great signs and
wonders to deceive, if possible, even the elect. 25 See, I have told you beforehand.

26
     "Therefore if they say to you, 'Look, He is in the desert!' do not go out; or 'Look, He
is in the inner rooms!' do not believe it. 27 For as the lightning comes from the east and
flashes to the west, so also will the coming of the Son of Man be. 28 For wherever the
carcass is, there the eagles will be gathered together.
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EXHIBIT R
The Coming of the Son of Man

29 "Immediately after the tribulation of those days the sun will be darkened, and the

moon will not give its light; the stars will fall from heaven, and the powers of the
heavens will be shaken. 30 Then the sign of the Son of Man will appear in heaven, and
then all the tribes of the earth will mourn, and they will see the Son of Man coming on
the clouds of heaven with power and great glory. 31 And He will send His angels with a
great sound of a trumpet, and they will gather together His "elect from the four winds,
from one end of heaven to the other.

The Parable of the Fig Tree

32 "Now learn this parable from the fig tree: When its branch has already become tender

and puts forth leaves, you know that summer is near. 33 So you also, when you see all
these things, know that wit is near-at the doors! 34 Assuredly, I say to you, this
generation will by no means pass away till all these things take place. 35 Heaven and
earth will pass away, but My words will by no means pass away.

No One Knows the Day or Hour

36 "But of that day and hour no one knows, not even the angels of mheaven, but My

Father only. 37 But as the days of Noah were, so also will the coming of the Son of Man
be. 38 For as in the days before the flood, they were eating and drinking, marrying and
giving in marriage, until the day that Noah entered the ark, 39 and did not know until the
flood came and took them all away, so also will the coming of the Son of Man
be. 40 Then two men will be in the field: one will be taken and the other
left. 41 Two women will be grinding at the mill: one will be taken and the other
                                                                                 43
left. 42 Watch therefore, for you do not know what "'hour your Lord is coming. But
know this, that if the master of the house had known what ""hour the thief would come,
he would have watched and not allowed his house to be broken into. 44 Therefore you
also be ready, for the Son of Man is coming at an hour you do not expect.
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EXHIBITS
The Faithful Servant and the Evil Servant

45 "Who then is a faithful and wise servant, whom his master made ruler over his household, to

give them food Win due season? 46 Blessed is that servant whom his master, when he comes, will
                                                                                         48
find so doing. 47 Assuredly, I say to you that he will make him ruler over all his goods. But if
that evil servant says in his heart, 'My master is delaying Whis coming,' 49 and begins to
beat his fellow servants, and to eat and drink with the drunkards, so the master of that servant
will come on a day when he is not looking for him and at an hour that he is not aware of, 51 and
will cut him in two and appoint him his portion with the hypocrites. There shall be weeping and
gnashing of teeth.

The Seventh Seal and the Golden Censer

8 When he opened the seventh seal, there was silence in heaven for about half an hour.
2 And I saw the seven angels who stand before God, and seven trumpets were given to them.


3Another angel, who had a golden censer1 came and stood at the altar. He was given much incense to
offer, with the prayers of all God's people, on the golden altar in front of the throne. 4 The smoke of the
incense, together with the prayers of God's people, went up before God from the angel's hand. 'Then
the angel took the censer, filled it with fire from the altar, and hurled it on the earth; and there came
peals of thunder, rumblings, flashes of lightning and an earthquake.

The Trumpets

'Then the seven angels who had the seven trumpets prepared to sound them.
7 The first angel sounded his trumpet, and there came hail and fire mixed with blood, and it was hurled

down on the earth. A third of the earth was burned up, a third of the trees were burned up, and all the
green grass was burned up.

'The second angel sounded his trumpet, and something like a huge mountain, all ablaze, was thrown
into the sea. A third of the sea turned into blood, 9 a third of the living creatures in the sea died, and a
third of the ships were destroyed.
10 The third angel sounded his trumpet, and a great star, blazing like a torch, fell from the sky on a third of

the rivers and on the springs of water- 11 the name of the star is Wormwood.I,] A third of the waters
turned bitter, and many people died from the waters that had become bitter.

"The fourth angel sounded his trumpet, and a third of the sun was struck, a third of the moon, and a
third of the stars, so that a third of them turned dark. A third of the day was without light, and also a
third of the night. 13 As I watched, i heard an eagle that was flying in midair call out in a loud voice:
"Woe I Woe! Woe to the inhabitants of the earth, because of the trumpet blasts about to be sounded by
the other three angels!"
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      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                           Hayward Hall of Justice



Mary Bernstein                                        No.        HG18897381
                 Plaintiff/Petitioner(s)
                   vs.                                Date:      03/04/2022
Associa Northern California el al
                 Defendant/Respondent(s)
                                                      Time:      9:00 AM
                                                      Dept:      512
                                                      Judge:     Eumi Lee

                                                        ORDER re: Hearing on Motion to Quash
                                                                     Service of Summons



No appearance from the Plaintiff. The Court continued the hearing on the motion to quash
service of summons to 3/25/22 at 9:00 AM in Department 512.

The Court orders the deadlines for Fanners Group, Inc.'s discovery responses remained tolled,
and will be extended until 30 days after the issuance of the order on the motio11 to quash.

The Heari11g on Motion to Quash Service of Summons scheduled for 03/04/2022 is continued to
03/25/2022 at 09:00 AM in Department 512 at Hayward Hall of Justice.

The Court orders counsel to obtain a copy of this order from the eCourt portal.



Dated: 03/04/2022




                                                         Eumi Lee I Judge




ORDER re: Hearing on Motion to Quash Service of Summons                               Page 1 of 1
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EXHIBITT
The Woman and the Dragon

12 A great sign appeared in heaven: a woman clothed with the sun, with the moon under her feet and a
crown of twelve stars on her head. 2 She was pregnant and cried out in pain as she was about to give
birth. 'Then another sign appeared In heaven: an enormous red dragon with seven heads and ten
horns and seven crowns on its heads. 4 its tail swept a third of the stars out of the sky and flung them to
the earth. The dragon stood in front of the woman who was about to give birth, so that it might devour
her child the moment he was born. 'She gave birth to a son, a male child, who "will rule ail the nations
with an iron scepter."t,J And her child was snatched up to God and to his throne. 'The woman fled into
the wilderness to a place prepared for her by God, where she might be taken care of for 1,260 days.

'Then war broke out In heaven. Michael and his angels fought against the dragon, and the dragon and
his angels fought back. 8 But he was not strong enough, and they lost their place in heaven. 'The great
dragon was hurled down-that ancient serpent called the devil, or Satan, who leads the whole world
astray. He was hurled to the earth, and his angels with him.
10
     Then I heard a loud voice in heaven say:

"Now have come the salvation and the power
    and the kingdom ofour God,
   and the authority of his Messiah.
For the accuser of our brothers and sisters,
   who accuses them before our God day and night,
    has been hurled down.
11
   They triumphed over him
   by the blood of the Lamb
   and by the word of their testimony;
they did not love their lives so much
   as to shrink from death.
12
   Therefore rejoice, you heavens
   and you who dwell in them I
But woe to the earth and the sea,
   because the devil has gone down to you I
He is filled with fury,
   because he knows that his time is short.11

"When the dragon saw that he had been hurled to the earth, he pursued the woman who had given
birth to the male child. 14 The woman was given the two wings of a great eagle, so that she might fly to
the place prepared for her in the wilderness, where she would be taken care of for a time, times and half
a time1 out of the serpent's reach. 15 Then from his mouth the serpent spewed water like a river, to
overtake the woman and sweep her away with the torrent. 16 But the earth helped the woman by
opening its mouth and swallowing the river that the dragon had spewed out of his mouth. 17 Then the
dragon was enraged at the woman and went off to wage war against the rest of her offspring-those
who keep God's commands and hold fast their testimony about Jesus.
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      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                          Hayward Hall of Justice, Department 512
                    JUDICIAL OFFICER: HONORABLE EUMI LEE

Courtroom Clerk: Melvyn Gonzales                                                   CSR: Coral Corey


HG18897381                                                                              March 4, 2022
                                                                                             9:00 AM
Bernstein VS Associa Northern California



                                           MINUTES
APPEARANCES:

No Appeara11ces

NATURE OF PROCEEDINGS: Case Management Conference

ORDER RE: CASE MANAGEMENT

The Court has ordered the following after review of the case.

No appearance from the Plaintiff. The Court continued the case management conference to
3/25/22 at 9:00 AM in Department 512.

The Case Management Conference scheduled for 03/04/2022 is continued to 03/25/2022 at 09:00
AM in Department 512 at Hayward Hall of Justice.

The Court orders counsel to obtain a copy of this order from the eCourt portal.




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                                                          By:            M:Gc11Znle~,-De1J.ityClei-k
                                                                                 Minutes of: 03/04/2022
                                                                                 Entered on: 03/04/2022
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EXHIBIT U
The Beast out of the Earth
11
  Then I saw a second beast, coming out of the earth. It had two horns like a lamb, but it spoke like a
dragon. 12 It exercised all the authority of the first beast on its behalf, and made the earth and its
inhabitants worship the first beast, whose fatal wound had been healed. 13 And it performed great
signs, even causing fire to come down from heaven to the earth in full view of the people. 14 Because of
the signs it was given power to perform on behalf of the first beast, it deceived the inhabitants of the
earth, It ordered them to set up an image in honor of the beast who was wounded by the sword and yet
lived. 15 The second beast was given power to give breath to the image of the first beast, so that the
image could speak and cause all who refused to worship the image to be killed. 16 It also forced all
people 1 great and smal11 rich and poor, free and slave, to receive a mark on their right hands or on their
foreheads, 17 so that they could not buy or sell unless they had the mark, which is the name of the beast
or the number of Its name.
18
 This calls for wisdom, Let the person who has insight calculate the number of the beast, for it is the
number of a man.W That number Is 666,

Exodus 12:23

The Exodus

31 During the night Pharaoh summoned Moses and Aaron and said, "Up! Leave my people, you and the
Israelites I Go, worship the Lord as you have requested, 32 Take your flocks and herds, as you have said,
and go. And also bless me."



33 The Egyptians urged the people to hurry and leave the country. "For otherwise," they said, "we will all
die I" 34 So the people took their dough before the yeast was added, and carried it on their shoulders in
kneading troughs wrapped in clothing. 35 The Israelites did as Moses instructed and asked the Egyptians
for articles of silver and gold and for clothing. 36 The Lord had made the Egyptians favorably disposed
toward the people, and they gave them what they asked for; so they plundered the Egyptians.
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       SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                            Hayward Hall of Justice


Mary Bernstein                                         No.        HG18897381
                 Plaintiff/Petitioner( s)
             vs.                                       Date:      05/02/2024
Associa Northern California et                         Time:      9:08 AM
al                                                     Dept:      517
                 Defendant/Respondent
(s)                                                    Judge:     Keith Fong

                                                         ORDER re: Vacating Order to Show
                                                                      Cause


In view of Plaintiff's accommodation request, the Order to Show Cause issued on 03/05/2024 is
vacated.

The Order to Show Canse Re: Failure to Appear scheduled for 05/07/2024 is vacated .

Clerk is directed to serve copies of this order, with proof of service, to counsel and to self-
represented parties ofrecord.




Dated : 05/02/2024
                                                                14c
                                                          Keith Fong l.lldge




ORDER re: Vacating Order to Show Cause                                                     Page 1 of 1
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                COUNTY OF ALAMEDA
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                                                                            Ck.id . F. llk!·.-.:S,~¼;••010, COU1
Mary Bernstein                                                               8\(   (             -.              Daputy
DEFENDANT/RESPONDENT:                                                                         S. Clark

Associa Northern California et al
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              HG18897381

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the attached document upon each party or counsel
named below by placing the document for collection and malling so as to cause it to be deposited in the
United States mail at the courthouse in Hayward, California, one copy of the original filed/entered herein in
a separate sealed envelope to each address as shown below with the postage thereon fully prepaid, in
accordance with standard court practices.




   Chandon Sheath                                              WELLS FARGO BANK, NA
   1208 Albacore Terrace                                       595 Market Street
   Fremont, CA 94536                                           San Francisco, CA 94105




                                                     Chad Finke, Executive Officer / Clerk of the Court

Dated: 05/02/2024                                     By:




                                     CERTIFICATE OF MAILING
  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 786 of 801




EXHIBIT V
Psalm 91
1 Whoever dwells in the shelter of the Most High
   will rest in the shadow of the Almighty.[a]
2 I will say of the Lord, "He is my refuge and my fortress,
   my God, in whom I trust."

3 Surely he will save you
  from the fowler's snare
  and from the deadly pestilence.
4 He wil I cover you with his feathers,
  and under his wings you will find refuge;
  his faithfulness will be your shield and rampart.
5 You will not fear the terror of night,
  nor the arrow that flies by day,
6 nor the pestilence that stalks in the darkness,
  nor the plague that destroys at midday.
7 A thousand may fall at your side,
  ten thousand at your right hand,
  but it will not come near you.
8 You will only observe with your eyes
  and see the punishment of the wicked.

9 If you say, "The Lord is my refuge,"
   and you make the Most High your dwelling,
10 no harm will overtake you,
   no disaster will come near your tent.
11 For he will command his angels concerning you
  to guard you in all your ways;
12 they will lift you up in their hands,
  so that you will not strike your foot against a stone.
13 You will tread on the lion and the cobra;
  you will trample the great lion and the serpent.

14 "Because he[b] loves me/' says the Lord, "I will rescue him;
  I will protect him, for he acknowledges my name.
15 He will call on me, and I will answer him;
  I will be with him in trouble,
  I will deliver him and honor him.
16 With long life I will satisfy him
  and show him my salvation."
Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 787 of 801




       SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                           Hayward Hall of Justice, Department 517
                   JUDICIAL OFFICER: HONORABLE KEITH FONG

Courtroom Clerk: Samantha Clark                                                           CSR: None


HG18897381                                                                               May 2, 2024
                                                                                            9:06 AM
Bernstein VS Associa Northern California



                                             MINUTES
APPEARANCES:

No Appearances

NATURE OF PROCEEDINGS: Vacating Order to Show Cause

In view of Plaintiff's accommodation request, the Order to Show Cause issued on 03/05/2024 is
vacated.

The Order to Show Cause Re: Failure to Appear scheduled for 05/07/2024 is vacated.

Clerk is directed to serve copies of this order, with proof of service, to counsel and to self-
represented parties of record.




                                                             By:         S. C.wk, D,p"ty C:J.,·k
                                                                                  Minutes of: 05/02/2024
                                                                                   Entered on: 05/02/2024
     Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 788 of 801




                                                                                          Reserved for Clerk's File Stamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:                                                                                FILED
Hayward Hall of Justice                                                                  Superio1 Court of California
                                                                                              County of Alameda
24405 Amador Street, Hayward, CA 94544
                                                                                               05/02/2024
PLAINTIFF/PETITIONER:
                                                                                 Ci•.·.·. l • k ~ s ~ · , ~ ! l i i o1fie C0H1
Mary Bernstein                                                                     By:   (.          (;{!         ·    Deputy
DEFENDANT/RESPONDENT:                                                                               S. Clan<
Associa Northern California et al
     CERTIFICATE OF ELECTRONIC SERVICE CODE OF CIVIL                             CASE NUMBER:

                    PROCEDURE 1010.6                                             HG18897381


I, the below named Executive Officer/Clerk of Court of the above-entitled court, do hereby certify that I am
not a party to the cause herein, and that on this date I served one copy of the Order re: Vacating Order to
Show Cause entered herein upon each party or counsel of record in the above entitled action, by
electronically serving the document(s) from my place of business, in accordance with standard court
practices.




    Andrew S. Elliot                                            Christopher Bernard Allard
    SEVERSON & WERSON                                           McNamara, Ambacher, Wheeler, Hirsig & Gray LLP
    ase@severson.com                                            christopher.allard@mcnamaralaw.com




   Julie Elizabeth Hayashida                                    Mary Bernstein
   BHC Law Group LLP                                            mbernsteinpurple@hotmail.com
   jhayashl da@bhc. Iaw




                                                      Chad Finke, Executive Officer/ Clerk oflhe Court

Dated: 05/02/2024                                     By:



                                                                   S. Clarlt; Dep\\ty Cledt




                                    CERTIFICATE OF ELECTRONIC SERVICE
                                      CODE OF CIVIL PROCEDURE 1010.6
    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 789 of 801




EXHIBIT W
Psalm 83 is a supplication for God's help against Israel's enemies 1234 , It is the last of the Psalms of
Asaph, a collection of psalms that mainly use the title Elohim for God". The psalm describes the
situation of Israel being surrounded and threatened by various nations that plot its destruction 123 . The
psalmist prays to God to intervene and defeat these enemies, as he did in the past, and to make them
acknowledge his sovereignty




Psalm g3W
A song. A psalm of Asaph.
1
  O God, do not remain silent;
   do not turn a deaf ear,
   do not stand aloof, 0 God.
2
  See how your enemies growl,
   how your foes rear their heads.
3
  With cunning they conspire against your people;
   they plot against those you cherish.
4 "Come," they say, "let us destroy them as a nation,

   so that Israel's name is remembered no more."
5 With one mind they plot together;

   they form an alliance against you-
6
  the tents of Edom and the lshmaelites,
   of Moab and the Hagrites,
7
  Byblos, Ammon and Amalek,
   Philistia, with the people of Tyre.
8 Even Assyria has joined them

   to reinforce Lot's descendants. l.!11
   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 790 of 801




03/28/2018           08:10                510-742-0307                                FEDEX OFFICE              5185                             PAGE        04




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        KevjnHoran                   SBN90534                                                                    March 28, 2018
    -   1697 S.orenson P,civ"                                                                                  CLERK OF
                                                                                                         --HE SUPERIOR CO µRT
        Lincoln CA.9~648                                                                                 By Alicia Espinoza, C eputy
                   """"""'"o., 916-599-0084    FAXr«J.::

                   ""'-""-·"' kwhoranlaw@gmail.oom                                                       GASE NUMBER:
             ATTOR»lfYF~~               Plaintiff                                                              HG18897381
         SU PERIDI\ COURT OF tAl.lFORNtA, COUNTY OF                    Alameda
             STJ\l,Ef ADlllt!!M!:    24405 Amador St
             flWLINl1Ali;OF$S&:
          ClTYH{O~FCl'.lb!!:·        Hayward, CA 94544
                 aJW.ICWN,11.MI;!

             PLAINTiff/PETlllONER: Ma,y Helen Bemstein                                                       CASl'!Hl1Jt11flift

                                                                                                                                  HGl8897381
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                                                                                                              .IU09RI Hon Colwell
                             NOTICE OF UMITcO SCOPE REPRESENTAJION
     c:J Anwr11Jed                                                                                           "'""' Sll
                        tNote: Thi~ form hi for usa In 1a1)v1J cases other than ~l~ law. i'!Qt family la)IW' ~o~h uv& fann FL"'9$0,J

    1. Attol)lay (name:): Kevin. Horan
       end party (name); Mary Helen Bernstein
        whO ls the 0                petitioner/platntfft'   CJ respondent(defendant CJ .other (dest:ribe):
        h~ve.Bll a.g_reem&nt 1:t1at the attorney will pn:;iv{d,e limil8d scope reprQsentatlon In lhls C9S9 to the pany.
    2, Th~ a.ttomey will represent th(l pa.Tty
       •· 0 0\ I~• hearing on (dote): April 5, 2018
              m and at•BllY continuance of \hat r.~nn1:1
          CJ until sUbni!p.ion at the order ~fter heartt1U
        ~. CJ attn!:ll t({al.on (dalt,l);
           CJ ·and. at any continui.tnooQ"fthat trl<'1
              D        ..int!l Judgment

        o.    0        other (6P"lfY natu~ $110: d11ffJtian of rep~aanlation):
                      Assistance to client with inult\plo disability issue, for i)eating on Ex Parle Appli'"!tion re:
                       Enforcement of Emergency As$"88fllent




    3. By 11!9nh19 t.hfi, ftim, the psr\y :iigree.s-t,:i Glgn Suh.t;l.ltub'"oll ofAt;tama.Y-ClviJ (farm MC-0~) al the e0mP1etio11 Qt
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                                                            NOTICE OF LIMITED SCOPE REPRESENTATION
   Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 791 of 801




03/28/2018        08:10           510-742-0307                                      FEDEX OFFICE                 5185                               PAGE     05




                                                                                                                                                   Ml1-S50
    -      PLJ\lNTIFFIPCTITJOl)ICR; Ma.ty Helen Bep1.stein
        DEFENDAflTfRESPONol.!NT: Associa Northern California
                                                                                                                           H0l889738\
                           0THEJ:t:

    4. Ourlng tM limited s,oopo representation, partiBS. and the 1,:0urt n'lll$t sel'V& papa13 ol\ both th$ attQmey named ehove and directly
       on the party. {Ce!. Rules of Court, n.1113' 3,36.) Tti~ party's nam~ ;;mcl _address for purpose uf .servtee. :cl.!'$ as follows:


         Name: Mary Helen Bems~ein
         Address (for th!' purpose (Jf servioo):
         3416 Dcc1wood Terraee#ll3
         Fremont,CA 94536


         Telephone: 510-938-6280                                                       Fax:




    This nc>tk:e aacurately ,i;it,gles a!i current matters and l,sln1es on which the 111tt.omey has agtel;\d to set'\19 as en iil.tlomeY for the party
    !n this case, The, lnfontiatlon provided on this form Is not intended to state all of the terms arid conditions of the agreenisnt
    betw1;1en the pa,rty Brld- tM attorney 1orlimlted scope ropresen1ation.



    DIM:
    Mary Helen Bornstein

    D.ato;
   Kevin l{~rfl.n
                                                                                              7               {!OONATUIIB Ci' ATfQ~




                                                i'IOJICE OF LIMITED :;cop~·RllPRlaSENTATION
    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 792 of 801




EXHIBIT X
9
  Do to them as you did to Midi an,
   as you did to Sisera and Jabin at the river Kishon,
10
   who perished at Endor
   and became like dung on the ground.
11
   Make their nobles like Oreb and Zeeb,
   all their princes like Zebah and Zalmunna,
12
   who said, "Let us take possession
   of the pasturelands of God."
13
   Make them like tumbleweed, my God,
   like chaff before the wind.
14
   As fire consumes the forest
   or a flame sets the mountains ablaze,
15
   so pursue them with your tempest
   and terrify them with your storm.
16 Cover their faces with shame, Lord,

   so that they will seek your name.
17
   May they ever be ashamed and dismayed;
   may they perish in disgrace.
18
   Let them know that you, whose name is the Lord-
   that you alone are the Most High over all the earth.
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 793 of 801




8/21/24, 2:13 PM                                                    Kevin Warren Horan# 90534 ~ Attorney Licensee Search




 •       The State Bar of California

 Kevin Warren Horan #90534
 License Status: Nol Eligible to Practice Law

  CONSUMER ALERT
   his attorney is suspended frorn the practice of law. As a result, the attorney is ineligible to practice law in California. The State
  Bar posts consumer alerts online when attorneys are suspended from practice. Anyone who believes they have been the victim
  of attorney misconduct is urged to file a complaint with the State Bar.

 Address: 1697 Sorenson Dr, Lincoln, CA 95648
 Phone: 916-599-0084 I Fax: Not Available
 Email: kwhoranlaw@gmail.com I Website: Not Available

 More about This Attorney ,..

  All changes of license status due to nondisciplinary administrative matters and disciplinary actions.

 Date                License Status 0                                            Discipline@              Administrative Action 0
 Present             Nol. eligible to practice law in CA
                               ------   -- ---   -----

 12/26/2019          Not eligible to practice law in CA                          Ordered inactive
                                                                                                                      --
 7/2/2019            Not eligible to practice law in CA                                                   Suspended, failed to pay fees
                                  -                 -
 11/29/1979          Admitted to the State Bar of California


     Here is what you need to know to access discipline documents in public cases:

     Documents are added to the State Bar Court's on line docket as events occur.

                                                         To search for a case, please copy the case number displayed above and click Search
                                                         for a Case. In the search box, paste the complete case number. If the case number
                                                         begins with "19" or higher, you must add the prefix SBC to the case number, e.g., SBC
                                                         [CASE NUMBER). If a case number begins with 18 or lower, there's no need to add
                                                         SBC.

     Most public case records since 2000 are available through search. Older case records are available on request. The State
     Bar Court began posting public discipline documents online in 2005.

     NOTE: Only Published Opinions may be cited or relied on as precedent in State Bar Court proceedings.

     DISCLAIMER: Any posted Notice of Disciplinary Charges, Conviction Transmittal or other initiating document, contains only
     allegations of professional misconduct. The licensee is presumed to be innocent of any misconduct warranting discipline
     until the charges have been proven.


 Additional Information:
    • About the disciplinary system



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https:l/apps.calbar.ca.gov/attorney/Ucensee/DetaiV90534                                                                                          112
              Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 794 of 801




8/21/24, 2:13 PM                                          Kevin Warren Horan# 90534 • Attorney Licensee Search




htlps:/fapps.calbar.ca.gov/attorney/Ucensee/DelaiV90534                                                          212
    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 795 of 801




EXHIBIT Y
Psalm 27
Of David.
1
 The Lord is my light and my salvation-
  whom shall I fear?
The Lord is the stronghold of my life-
  of whom shall I be afraid?
2
    When the wicked advance against me
    to devour!;!.] me,
it is my enemies and my foes
    who will stumble and fall.
3
  Though an army besiege me,
    my heart will not fear;
though war break out against me,
    even then I will be confident.
4
  One thing I ask from the Lord,
   this only do I seek:
that I may dwell in the house of the Lord
   all the days of my life,
to gaze on the beauty of the Lord
   and to seek him in his temple.
5
  For in the day of trouble
   he will keep me safe in his dwelling;
he will hide me in the shelter of his sacred tent
   and set me high upon a rock.
         Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 796 of 801




     MARY HELEN BERNSTEIN, MSAJS
 1
     3416 Deerwood Terrace, #113
 2   Fremont, CA 94536
     Email: m bernsteinpurople@hotmaiI.com
 3   (510) 938-6280
     Plaintiff Pro Se
 4

 5                                SUPERIOR COURT OF CALIFORNIA

 6                                        COUNTY OF ALAMEDA
 7
     MARY HELEN BERNSTEIN,                                Case No.     HGJ8897381
 8
             Plaintiff,
 9                                                        SUPPLEMENTAL
             vs.                                          DECLARATION OF MARY
10
                                                          BERNSTEIN IN SUPPORT OF
11   ASSOCIA NORTHERN CALIFORNIA, et                      MOTION TO STRIKE TAX COSTS
     al.,                                                 OPPOSITION TO MOTION FOR
12
                                                          ATTORNEY FEES AND
13           Defendants.
                                                          OBJECTION TO MEMORANDUM
14                                                        OF COSTS ASSOCIA NORTHERN
                                                          CALIFORNIA, MASSINGHAM,
15
                                                          MEADOW BROOK VILLAGE
16                                                        ASSOCIATION-FREMONT AND
                                                          IN SUPPORT OF REPLY IN
17
                                                          SUPPORT OF MOTION TO STRIKE
18                                                        TAX COSTS 1
19
                                                          Date: April 2, 2024
20
                                                          Time: 2:30 pm
                                                          Dept.: 517
21

22

23

24
     1  So do 11otfear,for 1 am with you;
25
        do not be tlismayed,for I am your God,
     I will stre1tgtlle11 you «ltd /1e/p you; I will uphold you with my righteous right l1a11d. Isaiah 41 :10
26
     https: //WWW. you tube. com/watch?v-AEa2QHOwYQc When God's patience runs out PT 1
27   https: / /www. you tube. com/watch?v~HsiNGEDRcyq          When God's patience runs out PT 2
28   SUPPLEMENTAL DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION
     FOR ATTORNEY FEES AND OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA
     MASS INGHAM, MEADOW BROOK VILLAGE ASSOCIATION FREMONT AND REPLY MOTION TO STRIKE COSTS

                                                       -1-
      Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 797 of 801




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15
     l, Mary Bernstein, declare:
16       1. I am the plaintiff in this matter. I am familiar with all of the pleadings and documents filed
            in this case as well as discovery. His blood redeems us. There was a price against us that we
17
            could not pay, but the blood of Jesus redeemed us. 1 Peter 1: 18-19 says, "Forasmuch as ye
18          know that ye were not redeemed with corruptible things .... But with the precious blood of
            Christ, as of a lamb without blemish and without spot." His blood brings us into fellowship
19          with God. Senate judiciary act of 1789 specifically gave people to right represent in court.
            Two cases haines v kerner 404 US 519 (1972) Erickson v Pardus 551 US 89 (2007). This
20
            is a pro se declaration motion entitled to a liberal reading and less stringent standards as this
21          declaration motion was re ared without:-;, the assistance of le al counsel.

22

23

24
        2. The film ofHarsuyker, Stratman & Williams Abrego flied an Answer on behaf of Meadow
25
           Brook Village Association - Fremont and Notice of Association of Counsel on April 26,
26         2018. Richard A. Fong, Jr. had been the attorney for the defendants and substituted out May
           24, 2018. Harsuyker, Stratman & Williams Abrego filed an an answer additionally on behal
27         of Associa Noarther California on May 7, 2018. An Amemded Answer was filed without
28   SUPPLEMENTAL DECLARATION OF MARY BERNSTEIN IN SUPPORT OF OPPOSITION TO MOTION
     FOR ATTORNEY FEES AND OBJECTION TO MEMORANDUM OF COSTS ASSOCIA NORTHERN CALIFORNIA.
     MASSINGHAM, MEADOW BROOK VILLAGE ASSOCIATION - FREMONT AND REPLY MOTION TO STRIKE COSTS

                                                       -2-
    Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 798 of 801




EXHIBIT Z
6
 Then my head will be exalted
   above the enemies who surround me;
at his sacred tent I will sacrifice with shouts of joy;
   I will sing and make music to the Lord.
7
  Hear my voice when I call, Lord;
   be merciful to me and answer me.
8
  My heart says of you, "Seek his face!"
   Your face, Lord, I will seek.
9
  Do not hide your face from me,
   do not turn your servant away in anger;
   you have been my helper.
Do not reject me or forsake me,
   God my Savior.
10
   Though my father and mother forsake me,
   the Lord will receive me.
11 Teach me your way, Lord;

   lead me in a straight path
   because of my oppressors.
12 Do not turn me over to the desire of my foes,

   for false witnesses rise up against me,
   spouting malicious accusations.
13
   1remain confident of this:
   I will see the goodness of the Lord
   in the land of the living.
14 Wait for the Lord;

   be strong and take heart
   and wait for the Lord.
 Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 799 of 801




MARY BERNSTEIN, MSAJS
3416 Deerwood Terrace, #113
Fremont, CA 94536                                                     I am a disabled litigant that has
Email: mbemsteinpurple@hotmail.com                                    spent over $70,000 on case for
(510) 938-6280
                                                                      trial. I receive social security am
October 5 2024                                                        senior citizen and caregiver for
                                                                      disabled family members. I am
Via USPS & Email                                                      from Washington DC.
george.cardona@calbm:ca.gov
leaht.wilson(tiJ.calbar.ca.gov                                       In August 2021 my husband had
drew.aresca@calbar.ca. gov                                           stroke and in November 2021
                                                                     my late Mother passed away.
George Cm·dona                                                       My Mother had been the
Chief Trial Counsel                                                  caretaker for my severely
The State Bar of California
                                                                     disabled younger sister of which
845 South Figueroa Street
                                                                     I am now the caretaker. The
Los Angeles, California 90017-2515
                                                                     stress of the litigation housing
Leah T. Wilson                                                       crisis, my own medical issues
Executive Director                                                   and the stress of caring for
The State Bar of California                                          disabled family members has
845 South Figueroa Street                                            taken a toll on me requiring
Los Angeles, California 90017-2515
                                                                      medical stays and continuances.
DrewAresca                                                           This attorney Christopher Allard
The State Bar of California                                          has now attempted to bankrupt
Office of the Chief Trial Counsel                                    me with fraudulent recreated
180 Howard Street                                                    billing entries submitted on
San Francisco, CA 94105                                              behalf of an attorney that is no
                                                                     longer with the firm which I am
Re: Christopher Bernard Allard# #264842 Follow up per your
                                                                     exposing and bogus inflated
request
                                                                     costs in motion for attorney fees
State Bar Complaint Christopher Bernm·d Allard Case No. 24-0-
13046#                                                               and memorandum of costs.
                                                                     Farmers carrier insurance
                                                                     waived pursuing fees and costs
Dear Mr. Cardona, Ms. Wilson and Mr. Aresca:                         however this attorney
In 2019 your office assisted me regarding abuses suffered by my      McNamara law firm pursuing.


         "Once is an accident, twice is a coincidence, three time~/s~,,;~em."TheJdea
         is that people apen up to the possibility that something/splcmsib/e by seeing .
         relevant elements happen enough times that we decide a pattern is believable.
         It's kind of a "conception through perception" game.


attorney and ordered inactive Kevin Horan victims compensation fund. I conducted small claims trial if
you recall and won judgment retainer returned. This is another instance wherein I am being abused by



1\Page
  Case 5:24-cv-07001-VKD Document 1 Filed 10/07/24 Page 800 of 801




counsel insurance company. We have a Farmers' Insurance master policy to protect homeowners in the
common development.
My family and I own a unit in Meadow Brook Village, have since 1988 never missing a payment. We just
paid a special assessment September 2024. We are insured by Fmmers Insurance under a master
insurance policy covering the property. We are clients of Farmers Insurance, I am a client ofFmmers
Insurance that has been victimized by this attorney.
I have been very ill for some time and am finally able to address my sister and I both extremely ill
hospitalizations

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                                            @ The State Bar of California
                                                    Attorney Misconduct Complaint
                                              Q YH           G) No
                                            An'f°"OOl~Otoo(I
                                              OYu             G)No




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"Once is a coincidence and twice is a pattern"
Once An Accident, Twice A Coincidence. Three Times A Pattern

      •       5 20 2022 email agreement fanners to waive attorneys fees and costs invoice entry #522
              McNamara attempted to get paid twice duplicate billing has been paid by fam1ers.

      •       No protective order filed 011 11 5 2020 #128 for attorney to review

      •       No lengthy hearing travel time attending hearing 11 9 2020 #131 for 4.9 hours - no
              commute time as covid remote blue jean hearings

      •       Plaintiff's limited scope attorneys will testify that no such telephone conference ever
              occurred between Lloyd Winter and Luanne
      •       Rutherford or Christopher Allard which Christopher Allard attests to that all of these
              entries are true invoices and billing entries.


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  •   #296 no third motion for recusal ever filed 9 13 2021

  •   #304 no telephone call occurred 9 28 201 for 1.2 hours with my limited scope attorneys
      they will testify

  •   Multiple cases all intertwined with this HG18897381 judgment over reach




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